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                                        O’MELVENY & MYERSthLLP
                                2       400 South Hope Street, 18 Floor                              HEARING DATE: March 27, 2024
                                        Los Angeles, California 90071                                HEARING TIME: 10:00 A.M.
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                                        Email: bbollinger@buchalter.com
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                          15            *Admitted Pro Hac Vice
                          16            Counsel to Debtors and Debtors in
                                        Possession
                          17
                                                                UNITED STATES BANKRUPTCY COURT
                          18                                    EASTERN DISTRICT OF WASHINGTON
                          19 In re:                                                                       Chapter 11
                          20 ICAP ENTERPRISES, INC., et al.,                                              Lead Case No. 23-01243-WLH11
                                                                                                          Jointly Administered
                          21                                                   Debtors. 1
                          22
                                    1
                                      The Debtors (along with their case numbers) are iCap Enterprises, Inc. (23-01243-11); iCap Pacific NW Management, LLC (23-
                          23        01261-11); iCap Vault Management, LLC (23-01258-11); iCap Vault, LLC (23-01256-11); iCap Vault 1, LLC (23-01257-11); Vault
                                    Holding 1, LLC (23-01265-11); iCap Investments, LLC (23-01255-11); iCap Pacific Northwest Opportunity and Income Fund, LLC
                          24        (23-01248-11); iCap Equity, LLC (23-01247-11); iCap Pacific Income 4 Fund, LLC (23-01251-11); iCap Pacific Income 5 Fund, LLC
                                    (23-01249-11); iCap Northwest Opportunity Fund, LLC (23-01253-11); 725 Broadway, LLC (23-01245-11); Senza Kenmore, LLC
                          25        (23-01254-11); iCap Campbell Way, LLC (23-01250-11); UW 17th Ave, LLC (23-01267-11); iCap Broadway, LLC (23-01252-11);
                                    VH 1121 14th LLC (23-01264-11); VH Senior Care LLC (23-01266-11); VH Willows Townhomes LLC (23-01262-11); iCap @ UW,
                          26        LLC (23-01244-11); VH 2nd Street Office, LLC (23-01259-11); VH Pioneer Village LLC (23-01263-11); iCap Funding LLC (23-
                                    01246-11); iCap Management LLC (23-01268-11); iCap Realty, LLC (23-01260-11); Vault Holding, LLC (23-01270-11); iCap Pacific
                          27        Development LLC (23-01271-11); iCap Holding LLC (23-01272-11); iCap Holding 5 LLC (23-01273-11); iCap Holding 6 LLC (23-
                                    01274-11); Colpitts Sunset, LLC (23-01432-11); CS2 Real Estate Development LLC (23-01434-11); and iCap International
                          28        Investments, LLC (23-01464-11).
      BUCHALTER
A PROFES SION AL CORPORAT ION
                                    SUPPLEMENTAL DECLARATION OF JEFFREY H. KINRICH IN                                                  BUCHALTER
          SE AT TL E                SUPPORT OF POSTPETITION FINANCING AND RELATED                                                 1420 FIFTH AVENUE, SUITE 3100
                                                                                                                                    SEATTLE, WA 98101-1337
                                    RELIEF PURSUANT TO FED. R. CIV. PRO. 26(A)(2)(B) AND 7026                                       TELEPHONE: 206.319.7052

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                                1
                                                                                   SUPPLEMENTAL
                                2                                                  DECLARATION OF JEFFREY H.
                                                                                   KINRICH IN SUPPORT OF
                                3                                                  POSTPETITION FINANCING
                                                                                   AND RELATED RELIEF
                                4                                                  PURSUANT TO FED. R. CIV.
                                                                                   PRO. 26(A)(2)(B) AND
                                5                                                  BANKRUPTCY RULE 7026
                                6
                                7                   DECLARATION OF JEFFREY H. KINRICH
                                8         I, Jeffrey H. Kinrich, hereby declare as follows:
                                9         1.    I have been engaged by counsel for the above-captioned Debtors and
                          10 Debtors-in-Possession to provide expert testimony in the above-captioned jointly
                          11 administered bankruptcy cases. Specifically, I have been asked to provide an opinion
                          12 as to whether the Debtors’ prepetition transactions with their investors have the
                          13 economic and financial indicia of a Ponzi scheme.
                          14              2.    As an expert consultant, I am providing my written report in compliance
                          15 with Federal Rules of Civil Procedure 26(a)(2)(B) and Bankruptcy Rule 7026.
                          16              3.    The opinions contained in my report are based on materials reviewed or
                          17 considered as of the date of my report. Discovery in this action is not complete. I
                          18 reserve the right to supplement my opinions or express additional opinions should
                          19 additional and/or presently unknown information about this matter become known to
                          20 me at or before trial.
                          21              4.    I am a Certified Public Accountant (CPA) and Managing Principal at
                          22 Analysis Group, an economic consulting firm with over 1,000 employees across the
                          23 United States and around the world. I can be contacted through Julian I. Gurule and
                          24 David E. Mark, counsel for the Debtors.
                          25              5.    Attached hereto as Exhibit 1 is a true and correct copy of the Expert
                          26 Report of Jeffrey H. Kinrich, dated February 23, 2024, which I prepared on behalf of
                          27 the Debtors pursuant to Federal Rules of Civil Procedure 26(a)(2)(B) and Bankruptcy
                          28
      BUCHALTER
A PROFES SION AL CORPORAT ION
                                    SUPPLEMENTAL DECLARATION OF JEFFREY H. KINRICH                      BUCHALTER
          SE AT TL E                IN SUPPORT OF POSTPETITION FINANCING AND RELATED                1420 FIFTH AVENUE, SUITE 3100
                                                                                                      SEATTLE, WA 98101-1337
                                    RELIEF PURSUANT TO FED. R. CIV. PRO. 26(A)(2)(B) AND 7026         TELEPHONE: 206.319.7052

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                                1 Rule 7026. Exhibit 1 includes a copy of my curriculum vitae and a list of materials
                                2 I considered in formulating my opinions in this matter.
                                3         I declare under penalty of perjury under the laws of the United States that the
                                4 foregoing is true and correct and that this declaration is executed on February 23,
                                5 2024, in Los Angeles, California.
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      BUCHALTER
A PROFES SION AL CORPORAT ION
                                    SUPPLEMENTAL DECLARATION OF JEFFREY H. KINRICH                      BUCHALTER
          SE AT TL E                IN SUPPORT OF POSTPETITION FINANCING AND RELATED                1420 FIFTH AVENUE, SUITE 3100
                                                                                                      SEATTLE, WA 98101-1337
                                    RELIEF PURSUANT TO FED. R. CIV. PRO. 26(A)(2)(B) AND 7026         TELEPHONE: 206.319.7052

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                                 Exhibit 




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                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF WASHINGTON




 In re:                                       Chapter 11

 ICAP ENTERPRISES, INC., et al.,              Lead Case No. 23-01243-WLH11

              Debtor.




  EXPERT REPORT OF JEFFREY H. KINRICH PURSUANT TO FED. R. CIV. PRO.
                        26(A)(2)(B) AND 7026
                        FEBRUARY 23, 2024




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I.     INTRODUCTION AND QUALIFICATIONS

       A.      Assignment

       1.      I have been engaged by counsel for the above-captioned Debtors and Debtors-in-

Possession to provide expert testimony in the matter of In re iCAP Enterprises, Inc., et al.,

pending in the United States Bankruptcy Court for the Eastern District of Washington under

Case No. 23-01243-WLH11. Specifically, I have been asked to provide an opinion as to whether

the iCAP Enterprises, Inc.’s (“iCAP” or “Debtors”) transactions with their investors have the

economic and financial indicia of a Ponzi scheme.

       2.      As an expert consultant, I am providing this written report in compliance with

Federal Rules of Civil Procedure 26(a)(2)(B) and 7026.

       3.      The opinions contained in this report are based on materials reviewed or

considered as of the date of this report. Discovery in this action is not complete. I reserve the

right to supplement my opinions or express additional opinions should additional and/or

presently unknown information about this matter become known to me at or before trial.


       B.      Qualifications

       4.      I am a Certified Public Accountant (CPA) and Managing Principal at Analysis

Group, an economic consulting firm with over 1000 employees across the United States and

around the world. I have testified at trial, arbitration, or deposition on financial and economic

issues over 400 times. A copy of my CV, together with a list of the trial and deposition testimony

I have given in the last six years, is attached as Appendix A. Analysis Group is compensated at

the rate of $985 per hour for my time. Research and analysis for this declaration was also



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performed by other Analysis Group personnel under my direction and guidance. Neither my

compensation nor that of Analysis Group is contingent upon my findings, the testimony I may

give, or the outcome of this litigation.


        C.       Facts and Data Considered

        5.       In forming my opinions, I have reviewed documents and other materials provided

to me by the Debtors and their professionals, or obtained from publicly available sources. These

sources include data from Accounting Seed (the accounting platform within Salesforce that iCAP

utilized for its operational accounting), iCAP bank statements and bank production, iCAP

financial statements, and internal iCAP spreadsheets, among others. The sources on which I rely

are identified in this report or in Appendix B. Should additional relevant documents or

information be made available to me, I may adjust or supplement my opinions as appropriate.


II.     BACKGROUND

        A.       Overview of iCAP Enterprises, Inc.

        6.       iCAP was founded to invest in real estate opportunities in the Pacific Northwest

region of the United States (“U.S.”). iCAP operated two divisions with different investment

strategies: the “Portfolio Business” and the “Vault Business.” The Portfolio Business raised its

first fund in 2014 and ostensibly focused on multifamily real estate projects with development

potential, ranging from completely new construction to improving existing structures. The

Portfolio Business operated under the entity iCAP Equity, LLC, and various subsidiaries. 1




1
  Declaration of Lance Miller in Support of First Day Motions (“Miller First Day Declaration”), ¶¶ 5-8. Attached
hereto as Exhibit 7 is a copy of the Miller First Day Declaration.



                                                         2

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            7.       iCAP started its “Vault Business” in 2018. The Vault Business ostensibly focused

 on investing in real estate that already was or had the potential to be cash flow positive. 2 The

 Vault Business was primarily operated under the entity iCAP Vault, LLC as well as various

 subsidiaries such as iCAP Vault 1 (“Vault 1”), LLC, an SEC registered entity, with cash flows in

 and out of the entity made via a Vault 1 bank account held with Umpqua Bank. 3

            8.       Both the Portfolio Business and the Vault Business operated under iCAP

 Enterprises, Inc. (“iCAP Enterprises”) in the organization’s corporate structure; their properties

 were held by various single purpose entities (SPE’s). 4 iCAP Enterprises operated as the parent

 for all entities (other than iCAP Investments, LLC) that directly owned equity in the various

 SPEs. Chris Christensen was the sole shareholder of both iCAP Enterprises and iCAP

 Investments, LLC. 5

            9.       iCAP funded its operations by raising debt capital from investors and from cash

 flows from business operations. 6 iCAP primarily relied on private placements to fund its

 investments. 7 For example, the Portfolio Business was funded through private placements of

 debentures and promissory notes under which investors were promised interest rates ranging

 from 6% to 15% to the investors. 8 Similarly, the Vault Business financed its operations through



 2
     Miller First Day Declaration, ¶ 9.
 3
  The iCAP Vault 1 account with Umpqua Bank is bank account number xxxxxx4804. See e.g., Umpqua Bank,
 iCAP Vault 1 LLC, December 31, 2020 account statement; see also, Miller First Day Declaration, ¶¶ 9, 14. Attached
 hereto as Exhibit 8 is a copy of the iCAP Vault 1 Umpqua Bank account statement from December 2020.
 4
     Miller First Day Declaration, ¶ 10.
 5
  iCAP Organizational Chart_v5 092223.pptx. Attached hereto as Exhibit 9 is a copy of the iCAP Organizational
 Chart.
 6
     Miller First Day Declaration, ¶ 15.
 7
     Miller First Day Declaration, ¶¶ 17-19.
 8
     Miller First Day Declaration, ¶ 17.



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 Private Placement Notes and Public Demand notes. 9 In 2018, iCAP initiated a private placement

 of up to $500M to fund the Vault Business. In the same year, Vault 1 authorized up to $500

 million in Variable Denomination Floating Rate Demand Notes that accrued interest at a floating

 rate equal to the Average Savings Account Rate posted by the FDIC plus a 2% premium, which

 was reset every quarter. Both businesses had investors from the United States and abroad,

 including China, Taiwan, the United Kingdom, and the British Virgin Islands. 10


            B.       Relevant Timeframe of Financial Records

            10.      In 2014, iCAP raised its first fund, the iCAP Pacific Northwest Opportunity and

 Income Fund, LLC (“Fund 1”). To date, I have received investor trackers for various funds,

 including Fund 1, that track money to and from individual subscribers. These trackers do not

 contain information on internal accounting transactions at iCAP or any indication as to

 transactions involving its real estate business. 11

            11.      I have more complete iCAP accounting data from its Accounting Seed database

 for the period October 2018 to September 2023, as well as various iCAP entity monthly bank

 statements for the period November 2019 to September 2023, as discussed further below.

 Accordingly, certain analyses in this Declaration are limited to the period for which I have the

 necessary data.




 9
     Miller First Day Declaration, ¶ 19-20.
 10
      Miller First Day Declaration, ¶¶ 20, 22.
 11
    I understand iCAP initially used QuickBooks as its accounting software, but switched to Accounting Seed around
 October 2018. As of this filing, iCAP has been unable to gain access to the QuickBooks.



                                                           4

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        C.        Accounting and Transaction Data Relied Upon

        12.       I understand iCAP used Accounting Seed to house its accounting data from at

 least October 2018 to September 2023. I have been provided with summary financial statements

 and transaction detail from Accounting Seed for this timeframe.

        13.       I have also been provided with iCAP entity bank statements and related records

 for November 2019 to September 2023. Within these bank statements, I have identified 56

 unique iCAP bank accounts -- 49 of which are with Umpqua Bank -- with at least one monthly

 statement during this period. As discussed further below, I primarily rely on these bank records

 to cross-check the accuracy of the Accounting Seed data and to identify cashflows in and out of

 iCAP entities.


 III.   SUMMARY OF OPINIONS

        14.       On the basis of my review of the information identified herein, I have reached the

 following opinions:

              a. The majority of iCAP’s funds from October 2018 to September 2023 were from

                  fund subscribers and loans from third parties, rather than cash generated from its

                  business operations. See Exhibit 1.1.

              b. The majority of iCAP’s funds from October 2018 to September 2023 were used to

                  make interest and principal payments to subscribers rather than investing in real

                  estate and related operations. See Exhibit 1.1.

              c. iCAP’s real estate business from 2014 through 2022 did not generate sufficient

                  cash flow to meet its interest and principal obligations to subscribers.




                                                    5

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               d. There were several large dollar transfers between iCAP entities from October

                  2018 to September 2023, indicating that subscriber funds from one entity were

                  used to pay subscribers in another entity. This is indicative of commingling.

               e. iCAP could only meet its obligations to repay its subscribers using proceeds from

                  its real estate business if its real estate investments generated unrealistic (and

                  unrealized) returns.

               f. iCAP failed to invest subscribers’ funds in the promised investments or as

                  otherwise represented to subscribers.

               g. Later investors in iCAP received lower returns than earlier investors.


 IV.     PONZI SCHEME DEFINED

         A.       General Factors of a Ponzi Scheme

         15.      A Ponzi scheme is an investor fraud scheme in which some or all of the returns

 generated from an investment are not legitimate and are merely transfers of funds from new

 investors to existing investors. 12 The SEC identifies this as the primary determinant of a Ponzi

 scheme. In a Ponzi scheme, new investors are often encouraged to invest through the promise of

 high returns with low risk. Some or all of these funds are not invested in legitimate businesses,

 resulting in little to no legitimate returns. 13 In the absence of legitimate returns, these funds rely


 12
   “Ponzi Scheme,” Investor.gov, U.S. Securities and Exchange Commission, accessed on January 12, 2024,
 available at: https://www.investor.gov/protect-your-investments/fraud/types-fraud/ponzi-scheme; “Investor
 Protection Guide: Ponzi Scheme,” Legal Information Institute, Cornell Law School, accessed on January 12, 2024,
 available at: https://www.law.cornell.edu/wex/investor_protection_guide_ponzi_scheme; “Ponzi Schemes,”
 Michigan Consumer Protection,” accessed on January 12, 2024, available at:
 https://www.michigan.gov/consumerprotection/protect-yourself/consumer-alerts/invest/ponzi. Attached hereto as
 Exhibit 10, Exhibit 11, and Exhibit 12, respectively, are downloaded copies of these three websites.
 13
    “Ponzi Scheme,” Investor.gov, U.S. Securities and Exchange Commission, accessed on January 12, 2024,
 available at: https://www.investor.gov/protect-your-investments/fraud/types-fraud/ponzi-scheme.



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 on the recruitment of new investors to pay existing investors in order to sustain the scheme. As a

 result, the early investors usually get relatively higher returns compared to the later investors,

 and particularly those that subscribe near the collapse of the scheme, suffer either partial or

 complete loss of their investments. 14 While Ponzi schemes manifest in different forms, they

 generally exhibit the following characteristics: 15


                  1.       Deposits were made by investors;

                  2.       Unrealistic returns promised to investors with little or no risk;

                  3.       The company operating the Ponzi scheme conducted little or no legitimate
                           business operations as represented to investors;

                  4.       Purported business operations of the Ponzi scheme entity produced little
                           or no profits or earnings;

                  5.       Source of payments to investors was not obtained by any business venture
                           of the Ponzi scheme entity but was taken from cash infused by new
                           investors;

                  6.       Investors’ funds cannot be traced to a specific investment;

                  7.       The Ponzi scheme entity failed to invest all of the investors’ funds in
                           promised investments;

                  8.       The Ponzi scheme entity used investor funds for non-investor purposes;


 14
   “Ponzi Schemes,” Michigan Consumer Protection,” accessed on January 12, 2024, available at:
 https://www.michigan.gov/consumerprotection/protect-yourself/consumer-alerts/invest/ponzi.
 15
   Rieser v. Hayslip (In re Canyon Sys. Corp.), 343 B.R. 615, 630 (Bankr. S.D. Ohio 2006)); Fisher v. Sellas (In re
 Lake States Commodities, Inc.), 272 B.R. 233, 242 (Bankr.N.D.Ill.2002) (citing Floyd v. Dunson (In re Ramirez
 Rodriguez), 209 B.R. 424, 431 (Bankr.S.D.Tex.1997), aff'd sub nom. Fisher v. Page, 2002 WL 31749262 (N.D. Ill.
 Dec. 3, 2002); see also Scholes v. Lehman, 56 F.3d 750, 757 (7th Cir. 1995); O’Halloran v. First Union Nat’l Bank
 of Fla., 350 F.3d 1197, 1199 (11th Cir. 2003); United States v. Benson, 79 Fed. App’x 813, 817 (6th Cir. 2003); In
 re Taubman, 160 B.R. 964, 978 (Bankr. S.D. Ohio 1993); Wing v. Williams, 2011 U.S. Dist. LEXIS 25607, at *10
 (D. Utah Mar. 11, 2011); Cuthill v. Greenmark, LLC (In re World Vision Entm’t, Inc.), 275 B.R. 641, 656-57
 (Bankr. M.D. Fla. 2002); Smith v. Suarez (In re IFS Fin. Corp.), 417 B.R. 419, 440 (Bankr. S.D. Tex.
 2009); Emerson v. Maples (In re Mark Benskin & Co.), 161 B.R. 664, 650 (Bankr. W.D. Tenn. 1993); Wing v.
 Dockstader, 2010 U.S. Dist. LEXIS 128571, at *11 (D. Utah Dec. 3, 2010).



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                     9.       Later investors in the Ponzi scheme entity received lower returns than
                              earlier investors; and

                     10.      Money was transferred between related entities within the Ponzi scheme
                              entity for no business purpose.

 V.         DEVELOPMENT OF THE SOURCES & USES OF FUNDS

            16.      Several of the Ponzi Scheme characteristics listed above can be investigated at

 least in part through a Sources and Uses analysis. A Sources and Uses analysis attempts to

 identify and categorize all money coming into an entity (sources), and all money being

 withdrawn from an entity (uses). Generally, in a Ponzi Scheme, the Sources and Uses analysis

 would find that the cash inflows and outflows were more focused on investor activity rather than

 on the stated business purpose (in iCAP’s case, real estate investment and related operations).

            17.      To develop a Sources and Uses analysis, I reviewed iCAP’s Accounting Seed

 “Consolidated Funds Cash Detail” data (“Accounting Seed Data”), which contains transaction

 data on cash deposits and withdrawals from October 2018 through September 2023. 16 I

 understand that Debtors used their bank accounts at Umpqua bank to conduct their ordinary

 course of business, and that the Accounting Seed Data reflects this cash activity. 17 In particular, I

 reviewed the cash transaction activity recorded in the “1000-Checking:Umpqua” account in the

 Accounting Seed Data, which appears to have been used to conduct the ordinary course of




 16
    Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx and other Accounting Seed data for individual iCAP
 entities. Due to the volume of transactions in these files and resulting document size, these documents are not
 attached as an exhibit to this declaration, but can be produced upon request.
 17
      Miller First Day Declaration, ¶ 14.



                                                           8

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 business of all major entities within iCAP.18 This dataset contains over 75,000 records of cash

 activity.

         18.      As a check on the reliability of the Accounting Seed Data, I compared the dollar

 value of deposits and withdrawals to the iCAP bank statements produced to me. As discussed,

 the monthly bank account statements are in PDF format and cover the period November 2019 to

 September 2023. To make the comparison easier, I converted the PDF bank statements to a

 structured Excel database, which allowed me to easily calculate totals across multiple months

 and years. Filtering the Accounting Seed Data for transactions occurring during the same period

 as the provided bank statements results in the amounts in the table below.

 Table 1: Comparison of Deposits and Withdrawals in iCAP Accounting Seed Data to iCAP
                                    Bank Statements

                                                 Total Deposits                     Total Withdrawals


   iCAP Accounting Seed Data                     $537.4 million                       $546.4 million


      iCAP Bank Statements                       $556.7 million                       $553.8 million


      Percentage Difference                          (3.5%)                                (1.3%)




         19.      As presented in Table 1 above, while not an exact match, the deposits and

 withdrawals per the Accounting Seed Data, as compared to the iCAP bank statements are

 similar, with the difference in deposits being approximately 3.5% and the difference in



 18
    Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx and other Accounting Seed data for individual iCAP
 entities.



                                                         9

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 withdrawals being 1.3%. As such, the available data provides a reliable basis for these Ponzi

 scheme related analyses, including the Sources and Uses analysis.

         20.      I first considered iCAP as a whole, without consideration of individual entities.

 Exhibit 1.1 provides a summary of the Sources and Uses of iCAP’s funds per the Accounting

 Seed Data. To determine the appropriate category for deposits and withdrawals, I relied on three

 main data elements from the Accounting Seed Data: (1) the name of the entity involved (referred

 to as “Entity (GLAV1)” in the Accounting Seed Data), (2) the name of the counter-party

 involved in the transaction (referred to as “Account: Account Name” in the Accounting Seed

 Data), and (3) the description of the transaction (referred to as “Source Reference” in the

 Accounting Seed Data). Certain transactions were also informed by the subscriber number

 contained in the “Subscription: Subscription Name” column and the entity name contained in the

 “Fund Project for Report” column. 19

         21.      The results of the Sources and Uses analysis are shown in Exhibit 1.1. In

 summary, I identified four categories of deposits: (1) “Investments from Subscribers,” (2)

 “Loans Obtained from Third Party Lenders,” (3) “Money Received from Business Operations,”

 and (4) “Intercompany Transfers.” The deposits are further subdivided into sub-categories based

 on the nature of the deposits identified using the descriptions of the deposits as well as the parties

 involved in the deposits.

         22.      Similarly, I identified seven categories of withdrawals: (1) “Returns to

 Subscribers,” (2) “Commission Payments,” (3) “Real Estate Acquisition, Development, and




 19
    Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx and other Accounting Seed data for individual iCAP
 entities.



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 Investment,” (4) “Loan Repayment,” (5) “General, Operating, and Admin Expenses,” (6)

 “Money to Owner,” and (7) “Intercompany Transfers.” 20

            23.      Of note, both the deposits and withdrawals sections of the Sources and Uses

 analysis contain a category called “Intercompany Transfers.” This element is necessary to

 account for all deposits and withdrawals into and out of the company accounts, and it is relevant

 when analyzing individual funds. However, it should be (and will be) eliminated when

 considering the company as a whole, as discussed below.

            24.      The results of the Sources and Uses analysis are relied on in conducting several of

 the analyses discussed below.


 VI.        ANALYSIS AND OPINIONS

            A.       Analysis of iCAP’s Sources and Uses of Funds

                     1.       Deposits and Receipts

            25.      As discussed above in Section V, several indicators of a Ponzi scheme can be

 observed in a Sources and Uses analysis. The summary of the consolidated iCAP Sources and

 Uses, including deposits and receipts, per the Accounting Seed data is shown in Exhibit 1.1. The

 analysis indicates that approximately 84% of the amounts deposited to iCAP bank accounts from

 October 2018 to September 2023 were related to either investments from subscribers or

 intercompany transfers. Specifically, deposits and receipts totaled $580.2 million. Of this

 amount, $286.8 million, or 49.4%, was related to investments from subscribers. 21



 20
      For additional detail on the Sources and Uses categorizations, see Exhibit 1.2.
 21
    Included in this amount is $21.7 million, or 3.7% of total deposits, of subscriber funds that were reallocated to
 other funds and are not necessarily “new” investments from subscribers.



                                                             11

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        26.     The next largest category of cash deposits is intercompany transfers, totaling

 $202.6 million, or 34.9% of total deposits. This category is not “new” money to iCAP, as it is

 money moving between iCAP entity accounts. Although it is not “new” money being deposited,

 the volume of transfers is still instructive in comparison to other deposit amounts. The purpose of

 these transfers is also important, as it could be for iCAP’s stated business purpose (i.e., investing

 in real estate) or for a non-business purpose (i.e., returning money to investors). In this case,

 most intercompany transfers were not for business purposes, but funded payments to investors.

        27.     The third category of deposits is loans iCAP obtained from third party lenders.

 My understanding is that these were typically mortgage loans. This category totaled $55.8

 million, or 9.6% of total deposits.

        28.     The fourth category of deposits is from iCAP’s business operations. This category

 totaled $34.9 million, or 6.0%, of total deposits.

        29.     Thus, deposits to iCAP entities were largely comprised of money from

 subscribers (49.4%), intercompany transfers (34.9%), and third-party loans (9.6%), more so than

 from business operations (6.0%). In other words, only approximately 6% of deposits were from

 iCAP’s business operations. Taken by itself, this could have an innocent explanation; for

 example, the business could be in an investment mode where investments were not yet paying

 off. A look at the disbursements of cash (below), however, shows this is not the case.

        30.     As another check, I remove the intercompany transfer amounts and compare the

 investments from subscribers and money received from iCAP’s business operations, as these are

 the deposits that iCAP received from external sources. The results indicate that iCAP received

 76.0% of its funds from subscribers, 14.8% from third party lenders, and 9.2% from business

 operations. See Exhibit 2. That is, even when excluding intercompany transfers, the majority of


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 funds received by iCAP were from subscribers and external lenders rather than business

 operations.

        31.     The Sources and Uses analyses described thus far incorporate cash flows from

 both funds that subscribers were directly investing in as well as special purpose entities created

 for specific projects that iCAP invested in. As a further check on iCAP’s Sources and Uses, and

 to better determine how iCAP was using cash received directly from subscribers, I isolate the

 funds that subscribers invested in and develop a consolidated Sources and Uses for these funds. I

 understand that these entities are Funds 1 through 5, iCAP Funding, iCAP Investments, and

 iCAP Vault. The consolidated Sources and Uses for these funds is shown in Exhibit 3. The

 results indicate that 65.6% of deposits to these funds were investments from subscribers, 29.4%

 were intercompany transfers, and 4.1% were from business operations. Thus, 95.0% of the cash

 deposited to these funds were either from subscribers or other iCAP entities.

        32.     Again, the relatively low amount of deposits from business activity could be

 reasonable if iCAP was in a real estate investment phase and was using the cash from subscribers

 to invest in the possibility of future cash flows from operations. The disbursements discussed

 below, however, indicate this is not the case, which in turn indicates that the deposits being

 mainly comprised of cash from subscribers and intercompany transfers are indicative of a Ponzi

 scheme.


                2.      Disbursements and Withdrawals

        33.     If iCAP’s disbursements and withdrawals were to fund its investments, then

 perhaps its operations might make sense. But they were not. The majority of disbursements and




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 withdrawals from iCAP entities were returns to subscribers and intercompany transfers. See

 Exhibit 1.1.

         34.    In total, the Sources and Uses Analysis indicates that $584.8 million was

 withdrawn from iCAP accounts from October 2018 to September 2023. Of this, $236.1 million,

 or 40.4%, was returned to subscribers and $205.2 million, or 35.1%, was intercompany transfers.

 That is, transactions related to returns to subscribers and intercompany transfers comprised

 75.5% of total withdrawals.

         35.    Certain withdrawals from iCAP were related to real estate acquisition,

 development, and investment. These withdrawals totaled just $78.9 million, or 13.5% of the

 total. Other transactions, while not specifically related to real estate, involved withdrawals for

 iCAP’s general, operating, and administrative expenses. These withdrawals totaled $45.0

 million, or 7.7% of the total. Combining the two, withdrawal transactions related to real estate or

 the operation of iCAP comprised just 21.2% of total withdrawals.

         36.    Thus, similar to deposits, withdrawals from iCAP entities were largely comprised

 of money paid to subscribers (40.4%) and intercompany transfers (35.1%), more so than for real

 estate investment activities (13.5%) and business operations (7.7%).

         37.    Alternatively, I once again excluded intercompany transfers and compared the

 remaining withdrawal amounts. Returns to subscribers comprise 62.2% of total withdrawals,

 with real estate acquisition, development, and investment (20.8%), and general, operating, and

 administrative (11.8%), totaling 32.6% combined. See Exhibit 2. Thus, after removing

 intercompany transfers, more than half of withdrawals were returns to subscribers, with

 approximately one-third of withdrawals related to the real estate and business operations side of

 iCAP.


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        38.     Combining the results of the Sources and Uses analysis, with intercompany

 transfers excluded, I find that 76.0% of sources were from investors, and only 9.2% were from

 business operations. Similarly, 62.2% of the funds were used to repay investors, while only

 20.8% were used to make real estate investments (other amounts were used to pay for business

 operations, commissions, etc.). Combined, this is highly indicative of a Ponzi scheme.

        39.     In addition to these analyses, I once again consider the Sources and Uses for only

 the funds that subscribers invested in, Funds 1-5, iCAP Funding, iCAP Investments, and iCAP

 Vault. See Exhibit 3. The results indicate that 51.3% of withdrawals were returns to subscribers,

 35.3% were intercompany transfers, 5.3% were related to real estate acquisition, development,

 and investment, and 4.1% were related to general, operating, and administrative expenses. Thus,

 86.6% of withdrawals were returns to subscribers or intercompany transfers while only 5.3%

 were related to real estate activity. Taken together with the deposit activity in Exhibit 3, this is

 again indicative of a Ponzi scheme.


                3.      Analysis of Individual Fund Sources & Uses

        40.     The analysis above is based on the Sources and Uses of funds for the consolidated

 iCAP entity and certain aggregated iCAP entities. Similar analyses can be conducted at the

 individual fund level. To do this, the Accounting Seed Data can be filtered for the individual

 fund name in the field “Entity (GLAV1).” The resulting transactions can be used to prepare a

 fund-level Sources and Uses schedule for iCAP funds 1 through 5, iCAP Funding, iCAP

 Investments, and iCAP Vault. See Exhibits 4.1-4.8 for the results.

        41.     The iCAP Equity (Fund 3) Sources and Uses analysis, for example, indicates

 almost no real estate activity. See Exhibit 4.3. Deposits total $81.6 million, of which $36.3



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 million, or 44.4%, are investments from subscribers and $44.5 million, or 54.5%, are

 intercompany transfers received from other iCAP entities. Only $0.9 million, or 1.1%, is money

 received from business operations.

        42.     Withdrawals from iCAP Equity total $85.3 million. Returns to subscribers total

 $18.8 million, or 22.0%, with intercompany transfers to other iCAP entities totaling $58.6

 million, or 68.6%. General, operating, and administrative expenses total $3.5 million, or 4.1%,

 while real estate acquisition, development, and investment total only $229 thousand, or 0.3% of

 total withdrawals. Thus, for both deposits and withdrawals, iCAP Equity (Fund 3) has almost no

 real estate related activity and the deposits and withdrawals are mostly money from and to

 subscribers, along with intercompany transfers. These data are highly indicative of a Ponzi

 scheme.

        43.     The iCAP Pacific Northwest Opportunity & Income Fund (Fund 1) tells a similar

 story. See Exhibit 4.1. Total deposits to the fund were $17.5 million. As this fund was raised in

 2014, there were almost no investments received from subscribers during the Accounting Seed

 Data period (October 2018 to September 2023). Instead, the fund received $16.0 million, or

 91.0%, of its cash inflows via intercompany transfers from other iCAP entities. Only $1.5

 million, or 8.7%, was received from business operations. Again, these data are highly indicative

 of a Ponzi scheme.

        44.     Total withdrawals from iCAP Pacific Northwest Opportunity & Income Fund

 (Fund 1) were $19.8 million. Of this, returns to subscribers were $18.1 million, or 91.4%.

 Another $1.3 million, or 6.6%, was for general, operating, and administrative expenses, while

 only $65 thousand, or 0.3%, of withdrawals were for real estate acquisition, development, and

 investment. Thus, for both deposits and withdrawals, Fund 1 had almost no real estate related


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 activity. In fact, the analysis indicates that Fund 1 primarily received funds from other entities

 (91.0% of sources) and used that money to pay Fund 1 subscribers (91.4% of uses). These data

 are highly indicative of a Ponzi scheme.

        45.     iCAP Vault 1 is similar to Fund 1. See Exhibit 4.8. Deposits totaled $208.7

 million, of which $193.1 million, or 92.5%, were investments from subscribers. Another $12.7

 million, or 6.1%, was transferred from other iCAP entities. Thus, approximately 98.6% of iCAP

 Vault 1’s funds were from subscribers or other iCAP entities. Withdrawals from iCAP Vault 1

 totaled $204.2 million. Of this, $142.3 million, or 69.7%, was returned to subscribers and $39.6

 million, or 19.4%, was transferred to other iCAP entities. Only $16.4 million, or 8.1%, was used

 for real estate acquisition, development, and investment.

        46.     iCAP Funding tells more of the same story. See Exhibit 4.6. Total deposits to the

 fund were $12.4 million, of which $11.5 million, or 92.8%, were investments from subscribers

 and $0.6 million (5.1%) were intercompany transfers from other iCAP entities. Withdrawals

 from iCAP Funding total $12.4 million. Returns to subscribers totaled $5.5 million, or 44.4%,

 with intercompany transfers to other iCAP entities totaling $4.7 million, or 37.9%. Another $1.7

 million, or 13.8%, was for commissions. There was no real estate activity. These data are highly

 indicative of a Ponzi scheme.

        47.     Lastly, iCAP Investments had $38.3 million in total deposits. See Exhibit 4.7. Of

 this amount, $20.6 million, or 54.0%, was investments from subscribers, with another $12.6

 million or, 33.0%, in intercompany transfers. This is compared to the $4.3 million, or 11.1%, in

 deposits from business operations.

        48.     iCAP Investments had $38.2 million in total withdrawals. This was mostly

 comprised of returns to subscribers, $7.5 million or 19.7% and intercompany transfers, $21.5


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 million or 56.3%. This fund also had $2.0 million or 5.3% in general, operating, and

 administrative expenses and $1.9 million or 5.0% in commissions, with only $0.9 million or

 2.3% in real estate disbursements. These data are highly indicative of a Ponzi scheme.

          49.      To summarize, taken both at the consolidated level and the individual fund level,

 iCAP’s sources of funds were primarily investments from subscribers and intercompany

 transfers and its uses of funds were returns to subscribers and intercompany transfers, with

 relatively little cash generated or invested in real estate activity. See Exhibits 1, 3 and 4.1-4.8.

 This pattern follows the characteristics discussed in Section IV and is highly indicative of a

 Ponzi scheme. 22


          B.       Analysis of iCAP’s Real Estate Business

          50.      I next turn to a review of the performance of iCAP’s real estate business.

          51.      There are two primary ways iCAP can generate revenue from its real estate

 business: (1) selling owned properties and (2) earning rental revenue and other revenue on a

 property while it is owned. As to selling properties, a schedule has been produced that provides

 detail on all properties invested in by iCAP from September 2013 through December 2020. 23

 The schedule indicates that iCAP invested $103.4 million in total across these properties. The

 schedule also provides an exit date when iCAP sold the property or otherwise exited its

 investment and the net gain or loss on the exit. The schedule indicates that iCAP generated a




 22
    I note that Chris Christensen himself, in an email to Jim Christensen on October 9, 2019, included a bullet point in
 an agenda that stated, “Address Ponzi idea.” See Attached hereto as Exhibit 13 is a copy of an October 2019 email
 with the title, “Delegation List.”
 23
    Project Divestitures.xlsx, tab “Completed Project Investments.” Attached hereto as Exhibit 14 is a copy of this
 document.



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           cumulative net gain of $1.4 million from sales on its $103.4 million in real estate investments. 24

           This relatively low cumulative net gain of 1.3% across an over seven-year investment period

           indicates that iCAP would not be able to rely on its real estate investments appreciating in value

           in order to make its required payments to subscribers.

                      52.       To evaluate rental revenue and other revenue earned while iCAP owned

           properties, I reviewed the revenue detail as reported in Accounting Seed for the years 2018 to

           2023. I understand based on my review of the data and discussions with iCAP personnel that a

           majority of the revenue booked by iCAP was revenue earned by one iCAP entity for services

           performed for another iCAP entity. That is, the revenue earned was not from external sources,

           but rather intercompany revenue and expenses. As such, I exclude these revenue categories from

           my calculation. 25

                      53.       To determine whether iCAP was generating enough revenue to meet its

           obligations to its subscribers, I combined the revenue earned by iCAP while owning its

           properties and the net gain or loss upon exiting its properties. I then compare this amount to the

           payments made to subscribers during the same year. The results are as follows:

            Table 2: Comparison of iCAP Annual Revenue and Net Gains/Losses on Property Sales to
                                 Payments Made to Subscribers, 2018 to 2023
                                  2018           2019            2020                2021           2022            2023            Total
Rental Revenue and Net        ($6,303,071)   ($3,417,638)      $340,492           $1,056,418    ($2,284,304)      $251,106      ($10,356,996)    A=
Gain/Loss on Property Sales                                                                                                                      B+C+D
   Rental Revenue               $97,035        $55,480         $198,411           $596,774       $1,745,312       $251,106        $2,944,118     B
   Other Revenue                   –               –              –               $146,000        $90,667            –             $236,667      C
   Net Gain/Loss on           ($6,400,106)   ($3,473,118)      $142,081           $313,644      ($4,120,282)         –          ($13,537,780)    D
Property Sales
Returns to Subscribers        ($2,766,135)   ($24,480,866)   ($19,264,741)    ($54,630,918)    ($112,580,636)   ($22,404,658)   ($236,127,953)   E
Net Amount Required           ($9,069,206)   ($27,898,504)   ($18,924,248)    ($53,574,500)    ($114,864,940)   ($22,153,551)   ($246,484,944)   F=A+E
from Other Sources


           24
                Project Divestitures.xlsx, tab “Completed Project Investments.”
           25
             I understand that Rental Income and certain Interest Income amounts are the only revenue sources that iCAP
           earned from external sources. Excluded revenue categories include Professional Service Fee Income, Management
           Fee Income, Construction Income, Commissions Income, and Miscellaneous Income. Discussion with Nickisha
           Haine, internal accountant for iCAP.



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         54.      As shown in Table 2 above, from October 2018 through September 2023, iCAP

 earned $3.2 million in rental and other revenue from external sources and lost $13.5 million on

 the sale of properties, while returning $236.1 million to subscribers. This indicates that iCAP’s

 business operations were insufficient to make its payments to subscribers. iCAP’s only other

 sources of funds according to the Accounting Seed Data were third party loans, approximately

 $55.8 million (see Exhibit 1.1), and subscribers’ money used to pay other subscribers—in other

 words, a Ponzi scheme.

         55.      iCAP’s internal communications call into question whether the purported

 investments were being recorded correctly. In an email from October 6, 2022, Jim Christensen,

 iCAP President, circulated a spreadsheet for an upcoming “Finance Leadership Meeting”

 containing information on iCAP’s real estate investments. Neil Peritz, iCAP’s Vice President of

 Finance, responded saying that certain numbers were “not even in the ball park” of what iCAP

 was showing on its consolidated balance sheet. Mr. Peritz then added, “UW and 725 Broadway

 numbers make no sense to me. UW hasn’t started development and 725 Broadway is a parking

 garage we are demolishing soon to develop so how [do] you get $19.3 [million] in equity on that

 one?” 26

         56.      In addition to internal numbers not matching, iCAP’s subscribers also questioned

 iCAP’s investment choices. In an email dated June 26, 2018, Michael Norvet of Evolution Real

 Estate communicated to Chris Christensen and others at iCAP that (1) they were not properly



 26
    Attached hereto as Exhibit 15 is a copy of an October 2022 email chain with the title, “iCap Summary
 Spreadsheet – Finance Leadership Meeting.”



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 informed of pending real estate transactions and (2) if they were, they would not have accepted

 the sales price that Mr. Christensen agreed to. Mr. Norvet then noted that the estimated loss of

 $500 thousand on the transaction was “completely unacceptable” and that “we reserve the right

 to take the necessary steps to cancel the sales contracts.” Mr. Norvet then requested certain

 documents and a plan to return investor money, further stating “this affair has shaken our trust in

 ICAP.” 27

         57.      Thus, data indicates that iCAP’s real estate business did not generate sufficient

 returns, while internal communications and communications from subscribers call into question

 the reporting of the state of the business and the business decisions being made.


         C.       Analysis of Intercompany Transfers and Evidence of Commingling

         58.      Two common characteristics of a Ponzi scheme are (1) lack of profits from the

 purported business operations and (2) transfer of funds from later investors to early investors.

 This implies that in the absence of profits generated from the purported businesses, investors are

 paid through an infusion of additional cash from new investors. Because of these transfers of

 funds from one set of investors to another, investors’ funds cannot be traced to specific business

 operations. Therefore, in a typical Ponzi scheme, one would expect large transfers of funds

 among businesses, often unrelated to business-related operations or investments, to sustain the

 scheme. Evidence from the iCAP Sources and Uses analysis indicates that intercompany

 transfers made up a large share of the overall cash activity, and that there was commingling of

 funds. Commingling of investor funds is evidence of a Ponzi scheme because the funds are




 27
   Attached hereto as Exhibit 16 is a copy of a June and July 2018 email chain with the title, “Lakeview and
 Brislawn.”



                                                         21

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 pooled in one common fund, thereby making it impossible to trace. When a company

 commingles funds and operates at a loss while continuing to pay the old investors, the money to

 pay the old investors necessarily comes from new investments. 28

            59.      As discussed in Section VI.A, the analysis of Sources and Uses of iCAP’s funds

 shows that intercompany transfers accounted for 34.9% of deposits and 35.1% of withdrawals.

 See Exhibit 1.1. The relatively large amount of intercompany transfers is confirmed by iCAP

 internal communications. Neil Peritz, Vice President of Finance at iCAP, stated in an email from

 October 24, 2022, that “there are still intercompany entries going all over the place and nobody

 seems to know what’s up… The [balance sheet] has intercompany balances that don’t eliminate

 and not sure why, but the debt makes sense at over $200 [million].” 29

            60.      An analysis of these intercompany transfers provides further evidence for

 commingling of funds. For example, Exhibit 4.1 shows the Sources and Uses analysis for iCAP

 Pacific Northwest Opportunity and Income Fund (Fund 1). As discussed above, from October

 2018 through September 2023, Fund 1 obtained 91.0% of its deposits via intercompany transfers.

 The majority of these funds were received from iCAP Equity, LLC. While it is theoretically

 possible that some of these funds may have had a business purpose, the accounting records show

 otherwise. iCAP's accounting records show these transfers as intercompany loans without any

 indication of the purpose for such transfers. Further, during the same period, 91.4% percent of

 Fund 1’s withdrawals were used to pay subscribers. In this instance, all or most of the transfers




 28
  Miller v. Wulf, 84 F. Supp. 3d 1266, 1273–74 (D. Utah), aff’d, 632 F. App’x 937 (10th Cir. 2015); see also In re
 Hedged–Invs. Assocs., Inc., 48 F.3d 470, 474 (10th Cir. 1995).
 29
      Attached hereto as Exhibit 17 is a copy of an October 2022 email chain titled, “Combined F/S.”



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 from iCAP Equity, LLC were used to pay off investors of Fund 1. This is highly indicative of

 both the commingling of funds among iCAP’s entities and a Ponzi scheme.

        61.     iCAP Northwest Fund (Fund 2) is another example of a fund that was infused

 with cash from iCAP Equity, LLC, primarily to pay off investors. See Exhibit 4.2. Fund 2’s

 Sources and Uses analysis indicates that $22.9 million, or 68.8% of deposits, were from

 intercompany transfers, with $10.4 million, or 31.1%, of deposits from business operations. Fund

 2’s withdrawals were then comprised of $20.2 million, or 55.2%, in returns to subscribers and

 $11.8 million, or 32.3%, in intercompany transfers. Again, this is highly indicative of

 commingling and the use of other funds’ subscriber investments to make payments to Fund 2’s

 subscribers.

        62.     The Sources and Uses analysis of iCAP Pacific Income Fund 4 (Fund 4) raises

 similar concerns. Exhibit 4.4 shows that the fund received $23.9 million in deposits, of which

 51.9%, or $12.4 million, was from subscribers and 47.9% percent, or $11.4 million, was from

 intercompany transfers. Meanwhile, Fund 4 generated only $41 thousand in deposits from

 business operations. A total of $22.6 million was withdrawn from the fund’s account. $9.5

 million, or 42.1%, was transferred to other iCAP entities while $2.2 million, or 9.7%, was used

 for “Real Estate Acquisition, Development, and Investment” as well as $3.0 million, or 13.1%, to

 pay “General, Operating, and Admin Expenses.” Approximately $4.9 million, or 21.6%, was

 returned to investors. Thus, this fund barely generated any net revenue, but paid almost $5

 million to subscribers, expensed over $3.0 million in general, operating, and admin expenses,

 while also redistributing $9.5 million to other entities within the organization.




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            63.      To further illustrate, certain internal email communications provide evidence of

 requests for fund transfers between iCAP entities and indicate that those transfers were necessary

 to return money to subscribers of the fund receiving the transfer.

            64.      As a first example, below is an email from Chris Christensen dated April 14,

 2022. In the email, Mr. Christensen indicates that transfers are made between funds “two times

 each month” and that “The 15th of the month is the big one for the interest payments.” The email

 then goes on to state that “iCAP Equity is covering a big portion of the expenses from funds we

 have raised” and that Senza Kenmore was transferring $285 thousand “to Fund 4 to cover Fund 4

 investor payoffs.” The schedule included in the email then indicates that iCAP Investment was

 transferring $885 thousand to iCAP Equity, which was then transferring that money to several

 funds, including Fund 1, Fund 2, and Fund 5. 30




 30
      Attached hereto as Exhibit 18 is a copy of an April 2022 email titled, “Cash Follow Up.”



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                                                                                           Pg 311,ofPage
                                                                                                     630 31
          65.      In another email dated December 22, 2022, Vera Rohlfing, Accounting Manager

 at iCAP, emailed a proposed list of transfers to Chris Christensen. The email indicated that in

 order for iCAP International to make a disbursement to a subscriber, money needed to be

 transferred from other iCAP entities. In this case, the proposed transfer included $500 thousand

 from iCAP Investments. iCAP Investments, however, first received this $500 thousand from 725

 Broadway as an intercompany loan. 725 Broadway in turn received this money from iCAP Vault

 in the form of an intercompany loan repayment. 31




 31
    Attached hereto as Exhibit 19 is a copy of a December 2022 email chain with the title, “Jinan wiring instruction –
 transfers and wire are ready for approval in Umpqua.”



                                                          25

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            66.      Cindy Fang, iCAP Director of International Markets, emailed Chris Christensen

 on February 9, 2023, “we will have 1.6 [million] in Vault today or tomorrow that you can

 leverage to pay back [a subscriber.]” Mr. Christensen responded the same day, “if you can

 somehow bring in $2 [million] more by Tuesday, we could pay a special amount. It would only

 need to stay for about 1-month.” Ms. Fang responded by stating that two subscribers had

 resumed making investments, and that they could potentially obtain “a couple million” from

 another subscriber.” 32

            67.      In another email from March 27, 2023, Cindy Fang, now with a title of Project

 Consultant, updated Chris Christensen on the status of several transfers, including an indication

 that one subscriber’s withdrawal request for $940 thousand would be paid from newly received



 32
      Attached hereto as Exhibit 20 is a copy of a February 2023 email chain titled, “Steve’s mom’s payback.”



                                                           26

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 funds from other subscribers. 33 The next month, on April 21, 2023, Chris Christensen sent an

 email to Cindy Fang and others at iCAP providing a proposed payment schedule to the

 subscriber. Cindy Fang responded three days later indicating that they were expecting $600

 thousand in subscriber deposits that week, and that $100 thousand could go to this subscriber’s

 request. The other $500 thousand would go to one of two other subscribers, depending on

 whether they were able to “negotiate a deal” with one of the subscribers. 34

            68.      As another example, a series of emails in March 2023 show Cindy Fang

 communicating with other iCAP employees that $200 thousand was expected from the

 subscriber Yulan Ren. Once the $200 thousand was received, it would then be combined with

 money from two other subscribers to pay $900 thousand back to a different subscriber. 35

            69.      In an internal email chain on May 17, 2019, a Senior Accountant at iCAP

 questioned why $200 thousand was transferred to Fund 1, to which the Chief Financial Officer,

 TD Croshaw, responded “I transferred it to cover the interest payment.” 36

            70.      In another internal email chain in July 2022, Jian Lu, accountant at iCAP,

 provided Chris Christensen with a schedule of forecasted payments to investors. The email

 includes the question “Please review and advise on where we can transfer money to cover the

 month end pay run.” The email chain then indicates that $210 thousand would be transferred

 from iCAP Investments to iCAP Equity to iCAP Enterprise, along with a “short-term” loan from

 iCAP @ UW to cover the required payments. The final email from Tatiana Pantchenko, iCAP’s


 33
    Attached hereto as Exhibit 21 is a copy of a March 2023 email chain with the title, “This week’s withdrawal
 requests.”
 34
      Attached hereto as Exhibit 22 is a copy of an April 2023 email chain titled, “Evergreen.”
 35
      Attached hereto as Exhibit 23 is a copy of a March 2023 email chain titled, “Incoming wire.”
 36
      Attached hereto as Exhibit 24 is a copy of a May 2019 email chain titled, “$200K Transfer into Fund 1 on 5/13.”



                                                            27

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 Director of Accounting, states that iCAP Equity received $182 thousand in checks and that this

 “should help” cover the payments. 37

            71.      Taken together, the Sources and Uses analyses of these funds, along with internal

 iCAP communications, provide a strong indication that iCAP was sustaining a Ponzi scheme

 through these intercompany transfers and commingling of funds. Further, there is a strong

 indication that these intercompany transfers were largely made to repay subscribers in the fund

 receiving the transfer.


            D.       Analysis of the Unrealistic Returns Required for iCAP to Make its Promised
                     Payments to Subscribers

            72.      Another characteristic of a Ponzi scheme is the promise of consistent

 unrealistically high returns to investors. These consistent high returns are key to attracting new

 investors that eventually help sustain a Ponzi Scheme. 38 These returns are unrealistic because the

 returns promised are not commensurate with the business operations underlying the investments.

 In Ponzi schemes, Debtors either do not operate legitimate business operations or do not generate

 profits high enough to pay back the investors and are reliant on attracting new investors to pay

 off older investors. A review of iCAP’s financial records shows that its funds promised

 consistent high returns to its subscribers while failing to generate enough profits to service such

 payments.




 37
      Attached hereto as Exhibit 25 is a copy of a July 2022 email chain titled, “7/15/2022 Cash Forecast for review.”
 38
   “Ponzi Scheme,” Investor.gov, U.S. Securities and Exchange Commission, accessed on January 12, 2024,
 available at: https://www.investor.gov/protect-your-investments/fraud/types-fraud/ponzi-scheme; “Investor
 Protection Guide: Ponzi Scheme,” Legal Information Institute, Cornell Law School, accessed on January 12, 2024,
 available at: https://www.law.cornell.edu/wex/investor_protection_guide_ponzi_scheme; “Ponzi Schemes,”
 Michigan Consumer Protection,” accessed on January 12, 2024, available at:
 https://www.michigan.gov/consumerprotection/protect-yourself/consumer-alerts/invest/ponzi.



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         73.      The entities under iCAP’s Portfolio Business primarily raised capital through

 Debentures or Promissory Note offerings that offered to pay subscribers between 6 percent and

 15 percent in annual interest. 39 A review of Private Placement Memorandums (“PPM”) of the

 Portfolio Business’s various debentures and promissory note-offerings shows that majority of the

 offerings promised between 9 and 12 percent annual interest rates that were payable monthly

 immediately after the closing of the loan. Certain offerings also included a “payoff premium,” a

 one-time additional payment (i.e., 5% of the subscriber’s investment) on the date of principal

 repayment. 40 The primary investment strategy for Portfolio Businesses, including Fund 1, Fund

 2, and Fund 3, as stated in the PPMs, was to invest these funds to acquire preferred equity in the

 form of joint ventures with qualified builders and developers, and required payoffs within 12 to

 18 months from the time of original investment. 41 These funds were invested with the objective

 of generating approximately a 12 percent rate of return, in addition to an exit fee which ranged

 from 3 percent to 5 percent. 42

         74.      A review of term sheets on a handful of real estate investments (preferred equity)

 made from Fund 1 confirmed that investments were made with a 12% annual return plus closing



 39
  I understand the Portfolio Business to include iCAP Equity, LLC and all of its subsidiaries. See Miller First Day
 Declaration, ¶¶ 8, 17.
 40
   See e.g. Private Placement Memorandum for iCAP Equity, LLC’s $50 million offering of Senior Promissory
 Notes, July 1, 2020, p. 2, Exhibit B, Section 3(c)(ii); Private Placement Memorandum for iCAP Northwest
 Opportunity Fund, LLC’s $30 million offering of 10% Senior Secured Debentures, April 20, 2015, p. 1; Private
 Placement Memorandum for iCAP Northwest Opportunity and Income Fund, LLC.’s $30 million offering of 12%
 Senior Secured Debentures, December 19, 2013, p. 1; Private Placement Memorandum for iCAP Pacific Income
 Fund 4, LLC’s $50 million offering of 10% Secured Promissory Notes, October 1, 2018, p. 2; Private Placement
 Memorandum for iCAP Pacific Income Fund 5, LLC’s $50 million offering of 9% Secured Promissory Notes,
 September 5, 2019, p. 2. Attached hereto as Exhibit 26, Exhibit 27, Exhibit 28, Exhibit 29, and Exhibit 30,
 respectively, are copies of the five PPMs.
 41
    Private Placement Memorandum for iCAP Equity, LLC.’s $50 million offering of Senior Promissory Notes, July
 1, 2020, pp. 8-9.
 42
    Private Placement Memorandum for iCAP Equity, LLC.’s $50 million offering of Senior Promissory Notes, July
 1, 2020, pp. 8-9.



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 fees of 3% as well as an exit fee determined by the overall proceeds of the project and dependent

 upon the borrower’s successful divestiture of the underlying property. Turning these investments

 quickly and deploying capital just as quickly was critical in order for the iCAP funds to generate

 sufficient returns to cover subscriber interest and principal.

            75.      I reviewed a schedule prepared by iCAP in November 2016 reflecting data on the

 42 investments made by Fund 1 & Fund 2 up to that date. 43 This schedule reflects that 22

 investments had been realized (sold) by the fund. Of these exited investments, three were repaid

 within six months of loan origination, with another six properties exiting within one year of loan

 origination. The average loan period for these 22 exited properties was 443 days. This schedule

 also included data on twenty additional investments made (totaling $19.5M) that were still

 outstanding at the time. At the date of this schedule (November 2016), the average outstanding

 period for these twenty investments was 708 days. This schedule alone shows that iCAP’s

 investments as a whole never generated sufficient returns to service the indenture interest and

 ultimate principal, indicating that iCAP would need to obtain funding for its returns to investors

 from other sources.

            76.      To this end, iCAP’s investment strategy for iCAP’s various Portfolio Businesses

 did not align with the terms of the debt instruments they issued to raise capital from subscribers.

 First, almost all of the debentures and promissory notes issued by iCAP’s Portfolio Businesses

 offered the option of monthly interest payments to subscribers immediately after the closing of

 the loan. 44 Considering the fund primarily invested in new real estate developments, iCAP's


 43
      Fund Buyout Projection 2017 – Fund 1 & 2.xlsx. Attached hereto as Exhibit 31 is a copy of this document.
 44
  See e.g. Private Placement Memorandum for iCAP Equity, LLC.’s $50 million offering of Senior Promissory
 Notes, July 1, 2020, p. 2, Exhibit B Section2(c)(ii); Private Placement Memorandum for iCAP Northwest
 Opportunity Fund, LLC.’s $30 million offering of 10% Senior Secured Debentures, April 20, 2015, p. 1; Private



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 representation that it could begin generating near-immediate returns on such real estate was

 unrealistic and misleading.

            77.      Even assuming that all their investments would be fully paid off within 12 to 18

 months, it is unclear how the funds would service the monthly interest payments promised to the

 subscribers without generating any ongoing revenue from such investments. iCAP could have

 addressed this concern by setting up interest reserve accounts; the PPMs of iCAP’s debt

 offerings even state that some of the capital may be deposited into interest reserve accounts or

 that the funds “will maintain cash reserves to meet interest payments [].” 45 I understand that

 there is no indication that any such cash and interest reserves were ever utilized. 46 Even if they

 were, establishing such reserves would decrease the net capital available for iCAP to invest in

 real estate projects, thereby requiring the remaining investable funds to generate even higher

 returns to pay off the loan.

            78.      iCAP internal projections as early as January 2017 shed light on the company’s

 cash flow concerns. TD Croshaw, iCAP Controller, provided a management budget to Chris

 Christensen on January 24, 2017, and stated “we are going to be in a significant deficit at the end

 of February and the first of March… January was a bad month for us.” 47 Later than year, Mr.

 Croshaw provided another management budget to Mr. Christensen in an email dated November


 Placement Memorandum for iCAP Northwest Opportunity and Income Fund, LLC.’s $30 million offering of 12%
 Senior Secured Debentures, December 19, 2013, p. 1; Private Placement Memorandum for iCAP Pacific Income
 Fund 4, LLC.’s $50 million offering of Secured Promissory Notes, October 1, 2018, p. 2; Private Placement
 Memorandum for iCAP Pacific Income Fund 5, LLC.’s $50 million offering of 9% Secured Promissory Notes,
 September 5, 2019, p. 1.
 45
  See e.g. Private Placement Memorandum for iCAP Equity, LLC.’s $50 million offering of Senior Promissory
 Notes, July 1, 2020, p. 14.
 46
   I have reviewed the balance sheets of the various funds and see no indication of any interest reserves. See, e.g.,
 2019 – Balance Sheet by Entity by Period-2023-12-19-16-03-13.xlsx. Attached hereto as Exhibit 32 is a copy of
 this document.
 47
      Attached hereto as Exhibit 33 is a copy of a January 2017 email titled, “2017 Budget.”



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 10, 2017. In the email, Mr. Croshaw stated “as you can see we are significantly in the Red for

 [November and December 2017].” Mr. Croshaw went on to state that iCAP would “need to come

 up with” $320 thousand in order to make its November and December 2017 payroll payments. 48

            79.      Mr. Christensen failed to acknowledge these concerns publicly. In a call with

 Fund 2 investors in November 2018, in response to a question about the sources of funds that

 iCAP relies on to pay the investors, Mr. Christensen represented that interest payments were

 carved out of payoffs from real estate projects and that such payments were not serviced using

 funds received from other investors. 49 However, based on the Sources and Uses analyses of

 iCAP’s funds, Mr. Christensen’s statement was false. For example, Exhibit 4.2 shows that

 between October 2018 and September 2023, Fund 2 paid out a sum of $20.2 million to its

 subscribers. However, during the same period, the fund generated only $10.4 million in funds

 from business operations including rent and project payoff, which, even before accounting for

 $1.7 million in general, operating, and administrative expenses during the same period, is

 approximately half of what was paid out to subscribers. The fund also received $22.9 million in

 intercompany transfers and transferred $11.8 million to other entities.

            80.      Even assuming the funds’ investments in real estate development projects

 happened to be unique in generating ongoing returns immediately upon closing, the funds would

 need to generate very high annual returns to service the interest payments as well as make the

 final principal payment. For example, iCAP Pacific Northwest Opportunity and Income Fund,

 LLC (Fund 1) raised capital in December 2013 through a private placement of senior debentures



 48
      Attached hereto as Exhibit 34 is a copy of a November 2017 email titled, “Budget.”
 49
    Investor Call Audio Clip, November 21, 2018. As this document is an audio clip, it is not attached as an exhibit to
 this Declaration.



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 that matured in December 2016. 50 The terms of the offering stated that investors were entitled to

 12% annual simple interest paid monthly. 51 As part of the offering, the fund expected to incur

 13% in commissions and administrative fees related to the offering, which brought down the

 overall proceeds from investors that would be available for investment to about 87% of the total

 proceeds. 52 In addition, Fund 1 owed a 2% management fee annually and an up to 3%

 origination fee on every investment made. 53 Assuming a 36-month term on the loan, the fund

 would need a 17.6% annual return on their overall investment to service the interest payments

 and pay the principal at maturity. See Exhibit 5.1. A review of Fund 1’s project divestitures

 shows that the fund did not generate nearly as much as the 17.6% in annual returns it needed to

 pay its investors. In fact, Fund 1 made a total net gain of only $1.3 million on the total $44.1

 million that the fund invested in various real estate projects from March 2014 (date of first

 investment) to January 2022 (date of most recent exit), or an average return of 0.4% per year. 54

            81.      Similarly, iCAP Northwest Opportunity Fund, LLC (Fund 2) raised capital

 through a private placement of Senior Secured Debentures at 10 percent annual interest rate, paid

 monthly. 55 Given the terms of this offering, the fund would need to generate 16.4% annual

 returns to pay its investors. See Exhibit 5.2. A review of the real estate project divestitures for




 50
   Private Placement Memorandum for iCAP Pacific Northwest Opportunity and Income Fund, LLC.’s $30 million
 offering of 12% Senior Secured Debentures, December 19, 2013, p. 1.
 51
   Private Placement Memorandum for iCAP Pacific Northwest Opportunity and Income Fund, LLC.’s $30 million
 offering of 12% Senior Secured Debentures, December 19, 2013, pp. 1, 30.
 52
   Private Placement Memorandum for iCAP Pacific Northwest Opportunity and Income Fund, LLC.’s $30 million
 offering of 12% Senior Secured Debentures, December 19, 2013, p. 5.
 53
   Private Placement Memorandum for iCAP Pacific Northwest Opportunity and Income Fund, LLC.’s $30 million
 offering of 12% Senior Secured Debentures, December 19, 2013, p. 4.
 54
      (($1.3 million + $44.1 million)/$44.1 million)^(1/7.75 years)-1 = 0.4%. Project Divestitures.xlsx.
 55
    Private Placement Memorandum for iCAP Northwest Opportunity Fund, LLC.’s $30 million offering of 10%
 Senior Secured Debentures, April 20, 2015, p. 1.



                                                             33

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 this fund shows that the fund invested $40.4 million in real estate projects from May 2015

 through December 2018, and generated a total return of $2.7 million upon exiting these

 properties from October 2015 to July 2022, or an average return of 0.9% per year. 56

            82.      In total, iCAP invested $103 million in real estate projects from 2013 to 2022

 across its Portfolio Businesses and received approximately $104.4 million in total upon exiting

 the projects, an astonishingly low total net return of only $1.4 million. This extremely low return

 implies that iCAP would not have been able to pay off the investors from the appreciation in its

 real estate investments, but had to use funds raised from others. This is highly indicative of a

 Ponzi scheme.

            83.      iCAP’s internal communications indicate the unrealistic nature of its required

 returns. In an analysis of a potential Fund 6, Andy Willett, iCAP Director of Capital Markets,

 concluded that in order to meet the repayment demand of raising between $310 million and $470

 million, iCAP would have to invest in between 959 projects and 1,056 projects. This is in stark

 contrast to produced data indicating that iCAP only made 87 investments from September 2013

 through December 2020, which it then exited from January 2014 through December 2022. 57 Mr.

 Willett concluded that “the numbers look daunting to me” and that iCAP would need to have

 most or all of the Fund 1 and Fund 2 investors roll over to Fund 6, while agreeing to not receive

 a monthly interest payment. 58




 56
      (($2.7 million + $40.4 million)/$40.4 million)^(1/7 years)-1 = 0.9%. Project Divestitures.xlsx.
 57
   This includes multiple iCAP funds investing in the same property, so the number of “unique” projects invested in
 and exited during this period is less than 87. See Project Divestitures.xlsx.
 58
      Attached hereto as Exhibit 35 is a copy of a May 2020 email chain titled, “Fund 6 Financial Model.”



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         E.      Analysis of Other Ponzi Scheme Factors

                 1.       Organizer failed to invest (all of) the investors’ funds in promised
                          investments

         84.     In a Ponzi Scheme, the organizer often fails to invest the investors’ funds in

 promised investments. This is particularly true for the investments from later investors, whose

 funds are either transferred to earlier investors or are used to cover costs of the purported

 underlying business operations. This appears to have been the case for iCAP’s later funds.

         85.     A review of PPMs of iCAP’s offerings and the Sources and Uses analyses of its

 funds reveals that the capital invested in some of iCAP’s funds – especially the latter funds such

 as iCAP Pacific Income Fund 4 (Fund 4) – was not invested in accordance with the

 representations in the PPMs. For example, Fund 4 sought to raise $50 million in capital through

 an offering of Secured Promissory Notes in October 2018. 59 The promissory notes had a

 maturity of 20 years but allowed the subscribers to redeem their investments in full after 3 years.

 The PPM for this offering states that “the primary purpose of the Company is to acquire real

 estate investments in the United States and provide a rate of return to its investors.” 60 The PPM

 also makes representations about the potential use of the funds. In particular, the PPM states that

 the “proceeds [] will be used to pay expenses related to its formation and operations and for this

 Offering, and to purchase and manage preferred equity real estate positions through Portfolio

 SPEs. The proceeds will be used to cover costs associated with this process[].” 61 The PPM also



 59
   Private Placement Memorandum for iCAP Pacific Income Fund 4, LLC.’s $50 million offering of Secured
 Promissory Notes, October 1, 2018, p. 1.
 60
   Private Placement Memorandum for iCAP Pacific Income Fund 4, LLC.’s $50 million offering of Secured
 Promissory Notes, October 1, 2018, p. 1.
 61
    Private Placement Memorandum for iCAP Pacific Income Fund 4, LLC.’s $50 million offering of Secured
 Promissory Notes, October 1, 2018, p. 11.



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 made provisions for organizational expenses approximating $250,000 as well as additional

 expenses of approximately $200,000 in addition to commission charges for placement agents. 62

         86.     A comparison of these representations with the actual allocation of funds as

 shown by the Sources and Uses analysis for this fund reveals that the funds received from

 subscribers were not allocated in accordance with the PPM. Exhibit 4.4 shows that, for Fund 4, a

 total of $23.9 million was deposited into the fund’s account between October 2018 and

 September 2023. Of these deposits, $12.4 million were funds from subscribers and $11.4 million

 were intercompany transfers, with almost no funds from other sources. Fund 4 then disbursed

 $4.9 million to subscribers and transferred $9.5 million to other iCAP entities, while only using

 $2.2 million for real estate acquisition, development, and investment. This means only 9.7% of

 Fund 4’s withdrawals were for investments in real estate projects even though raising capital for

 new real estate investments was the primary objective of this fund. Furthermore, while the PPM

 does make provisions for expenses and commissions, the fund allocated more money to expenses

 and commissions than to investments in real estate projects.


                 2.       Later investors received lower returns than earlier investors.

         87.     In a Ponzi Scheme, companies typically are incapable of generating adequate

 revenue to fulfill the promised returns to their investors. Consequently, they resort to using funds

 from later investors to pay off earlier investors. Thus, one of the characteristics of Ponzi schemes

 is that later investors tend to receive lower returns compared to their earlier counterparts.




 62
    Private Placement Memorandum for iCAP Pacific Income Fund 4, LLC.’s $50 million offering of Secured
 Promissory Notes, October 1, 2018, p. 11.



                                                      36

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        88.     This is exactly what happened to iCAP subscribers, as only subscribers who

 invested in Fund 1 received distributions in excess of their investments on average, while

 subsequent fund subscribers on average received less than they invested. See Exhibit 6. That is,

 Fund 1 on average managed to achieve 12% distributions in excess of investments, while Funds

 2 through 5, iCAP Vault, iCAP Investments, and iCAP Funding all returned less than the original

 investment. These amounts returned for Funds 2 through 5, iCAP Vault, iCAP Investments, and

 iCAP Funding ranged from 8% to 81% less than the original investment amount. This pattern

 aligns with the characteristic commonly associated with Ponzi schemes, where later investors

 typically receive lower returns compared to the earlier investors.

                                                ***

 Signed on the 23rd day of February, 2024, at Los Angeles, CA.




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                                           JEFFREY H. KINRICH
                                             Managing Principal

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 jeff.kinrich@analysisgroup.com                                                       Los Angeles, CA 90071

 Jeff Kinrich has over four decades of litigation consulting experience with business clients and individuals on
 engagements involving applications of financial and economic analysis, accounting, business valuation and
 statistics. He specializes in damage quantification and valuation in the areas of commercial litigation and
 intellectual property. Mr. Kinrich has testified frequently on damages, valuation, and accounting issues in
 numerous state and federal courts. He is a Certified Public Accountant and holds an Accreditation in Business
 Valuation.

 EDUCATION
 1980             M.B.A., Finance and Quantitative Methods (with honors, first in class), University of
                  Maryland
 1977             M.S., Statistics, Stanford University
 1976             B.A., Mathematics (summa cum laude, Phi Beta Kappa, first in class), Pomona College

 PROFESSIONAL EXPERIENCE
 2001–Present     Analysis Group, Inc.
                  Managing Principal
 1981–2001        PricewaterhouseCoopers LLP
                  Partner, Financial Advisory Services
 1978–1980        BDM Corporation
                  Statistical Analyst
 1977–1978        Lawrence Livermore Laboratory
                  Statistician

 AWARDS
 Elijah Watts Sells Silver Medal for second highest score in the US on CPA Examination
 Forbes Gold Medal for the highest CPA examination score in California
 Volunteer of the Year, AICPA Forensic and Litigation Services


 PROFESSIONAL AND BUSINESS AFFILIATIONS
 Certified Public Accountant
 Member of the American Institute of Certified Public Accountants and the California Society of Certified
 Public Accountants




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 Accredited in Business Valuation (ABV)
 Certified in Financial Forensics (CFF)
 California Society of CPAs Litigation Sections, Steering Committee
 American Institute of CPAs, Forensic and Litigation Services Committee (former)
 Phi Beta Kappa
 Board of Directors and Chair of Audit Committee, Bet Tzedek Legal Services
 Board of Directors and Chair of Audit Committee, Jewish Community Foundation, Los Angeles

 SELECTED EXPERIENCE
 Commercial Damages
    Evaluated lost profits damages for hundreds of commercial litigation engagements, including breach
     of contract, employment, and business tort matters. Matters involved dozens of different industries.
    Analyzed revenue, cost, profit, and typicality issues in connection with consumer class actions.
     Evaluated class action damages, including actual loss to plaintiffs and unjust enrichment to
     defendants.
    Evaluated impact of mergers on value of combined firms; computed damages resulting from failed or
     improperly implemented mergers.
    Measured losses due to business interruption.
    Determined damages from breach of distribution and franchising agreements.
    Valued assets and evaluated accounting issues in connection with merger and purchase price disputes.
    Conducted several forensic accounting analyses involving large volumes of transaction-level data to
     address issues of causation and damages in matters involving misappropriation of funds, corporate
     fraud, and collectability of a potential judgment.
    Conducted several alter ego studies. Searched for commingling of funds, violation of corporate
     formalities, and other improper transactions between the company and shareholder/parent.
    Analyzed and testified about Generally Accepted Accounting Principles, cost accounting issues,
     accounting records, and related matters.
    Computed damages from loss of individual earnings in connection with wrongful termination,
     employment, and personal injury claims. Such claims included loss of wages, commissions, and
     bonuses. Considered issues of mitigation and discounting.
    Provided technical consulting on many applications of statistics to litigation, including statistical
     sampling, regression analysis, time series, probability theory, and survey design.
    Served as an arbitrator or court-appointed special master in several commercial disputes.

 Intellectual Property
    Analyzed patent infringement damages under both lost profits and reasonable royalty approaches for
     a wide variety of patents. Industries include medical and surgical products, semiconductors, digital




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     and optical switches, HIV diagnostic test kits, cable television, cell phones, smart phones, aircraft
     engine housings, telephone equipment, toys, computer printer cartridges, disposable diapers,
     automobile components and accessories, cigarette lighters, photographic equipment, oil tools, satellite
     antenna feeds, water coolers, athletic shoes, contact lenses, sprinkler systems, computer disks,
     magnetic insoles, robotic surgery equipment, compact disk cases, superconducting amplifiers, food
     products, bottle inspection machinery, molded dog houses, landscape lighting systems, disposable
     respirators, airport security equipment, smart watches, communications networks, and bicycle seats.
    Measured patent damages for business method patents, including stock/security management
     software, insurance processing systems, space orbital trajectories, encryption algorithms, and farming
     methods.
    Negotiated a reasonable royalty in settlement of a patent dispute.
    Measured damages from various trademark, false advertising, and copyright infringement matters,
     including consumer and industrial products, software, and entertainment properties. Apportioned
     profits between infringing and non-infringing elements.
    Computed damages for trade secrets and non-compete agreements. Issues involved theft of customer
     lists, business plans, technology, and manufacturing methods and technologies.
    Assessed compliance with royalty agreements in connection with computer sales, pharmaceuticals,
     medical devices, semiconductors, online gaming, and music licensing agreements, and other
     industries.

 Technology/Computers
    Conducted numerous damage studies related to high tech intellectual property, including
     semiconductors, space systems, computers, printers, medical products, and search engine design.
     Computed both lost profits and reasonable royalties.
    Measured damages in connection with several Internet issues, including cybersquatting,
     communications protocols, and misuse of website names.
    Computed lost profits and disgorgement from sale of counterfeit software.
    Testified as to the value of a software VAR agreement.
    Conducted international transfer pricing analysis for computer manufacturer.
    Determined damages from breach of a software/firmware development agreement.
 Real Estate/Construction/Environmental
    On several matters, measured the diminution in value and lost rents due to a construction delay claims
     resulting from, among other things, contractor non-performance, construction defects, and
     environmental contamination.
    Evaluated statistical methods for invasive testing of construction defects.
    Performed and critiqued statistical sampling and extrapolation in connection with construction defects
     litigation.
    Opined about appropriate expenditures by homeowner’s associations in connection with maintenance
     and capital expenditures.




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    Testified for a construction contractor as to the amount due in a breach of contract dispute, and
     provided opinion on alter ego issues.

 Business Valuation
    Valued numerous businesses in connection with commercial or personal disputes.
    Valued intangibles, including patents, trademarks, copyrights, trade secrets, and business protocols.
    Assessed issues of fair market value, minority discounts, control premiums, and other important
     valuation concepts.
    Appraised businesses in connection with corporate mergers, acquisitions, shareholder disputes,
     minority shareholder buyouts, and personal divorces.
    Valued numerous businesses in connection with commercial or personal disputes.

 Entertainment
    Determined royalties owed to entertainers and managers.
    Computed damages for copyright and breach of contract issues related to infomercial sales.
    Measured actual losses and disgorgement of profits from copyright infringement related to scripts,
     story ideas, photographic images, video, and software.
    Assessed damages from a breach of contract in connection with the development of a major
     videogame franchise.
    Assisted numerous entertainment executives and performers in valuing personal, professional, and
     entertainment assets.
    Computed lost profits from a breach of an agreement to lease movie projection equipment.
    Valued the overseas rights to a catalog of films.
    Estimated damages related to failure to execute a film financing guarantee.
    Analyzed cost savings and antitrust issues resulting from selling box-lot quantities of recorded music
     at a discounted price.
    Evaluated the likely impact of a new video distribution technology.
    Measured value of broadcast and publicity rights.
    Computed damages related to breach of radio advertising sales contract.
    Evaluated reasonable fees to be paid for a broadcast television series.
    Computed royalties due for film rights distributed through various media.
    Measured unjust enrichment and disgorgement from misappropriation of the Academy Award® of
     Merit Oscar statuette image.
    Valued movie download rights in connection with a distribution deal.

 Employment
    Measured statistical likelihood of differential results in employment decisions.




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    Conducted numerous employment-related damages analyses, including assessing claims for lost
     wages, lost commissions, and loss associated with alleged inadequate expense reimbursements.
    Conducted analyses in connection with both class action and individual claims.

 Telecommunications
    Conducted a lost profits study for a major telecommunications antitrust suit.
    Measured damages in connection with various telecommunications patents and trade secrets.
    Testified as to damages from alleged below cost pricing of telecommunications services.
    Critiqued plaintiff’s claim in an offshore telecom litigation.
    Worked for a cellular telephone service provider defending against breach of contract claims from a
     former agent.
    Testified concerning the value of stock in two privately held communications companies in
     conjunction with a purchase price dispute.
    Analyzed claim of predatory pricing in the cellular industry.
    Acted as arbitrator in a telecommunications contract dispute.

 Automobile Industry
    Conducted various damages analyses involving automobile dealership disputes, including dealer
     terminations, dealer relocations, and failure to award a dealership. Analyzed deal financial records
     and other economic information to quantify the value of automobile dealerships.
    Analyzed losses from a breach of an acquisition/sale agreement for an automobile parts manufacturer.
    Computed damages for patent infringement of an automobile parts manufacturing patent.
    Conducted transfer pricing study for automobile importer.
    Investigated alternative causes for failure of auto dealerships. Searched for diverted funds.
    Acted as a neutral arbitrator in dispute between automobile manufacturer and insurer over extended
     warranty payments.
    Assisted automobile manufacturer in investigating fraud and diversion of funds in connection with a
     collection dispute.
    Analyzed accounting issues in connection with the sale of a dealer network.

 Class Action/Class Certification
    Provided financial and statistical analyses in opposition to class certification and class damage
     computations in late fee cases filed by consumers against various companies.
    Worked on behalf of a major car rental company in a class action matter alleging failure to comply
     with the law in advertising rental rates.
    Evaluated whether the alleged violations had common impact across class members and whether a
     common damages methodology could be applied in a matter concerning overcharges.




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    Worked on class action suits alleging false advertising related to various consumer products including
     collectable dolls and energy drinks.
    Addressed class certification in an action brought by consumers alleging false advertising related to a
     consumer hygiene product.
    Worked with several companies in defending wage and hour class action matters.

 Family and Partnership Law
    Conducted valuations of numerous private businesses.
    Performed analyses of lifestyle and cash available for support.
    Valued professional practices, including law firms and accounting firms. Performed valuations for
     divorce purposes and to wrap up partnerships under Jewel v. Boxer.
    Determined community portion of earnings and assets under various circumstances. Apportioned and
     valued stock options and profit participations.
    Traced and valued separate vs. community property. Conducted Pereira-Van Camp analyses of pre-
     marital property (as well as conducted similar tracings in connection with commercial litigation).
 Tax Disputes
    Conducted transfer pricing studies for an automobile importer, semiconductor manufacturer,
     computer maker, and consumer electronics manufacturer.
    Designed sampling methodology to evaluate customs duty drawback claims.
    Measured damages from improper conversion from an S-Corp. to a C-Corp.

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 Lost Profits Damages: Principles, Methods, and Applications, 2nd edition, co-edited with Everett P.
 Harry, Valuation Products and Services (2022)
 “Analysis of Cost Behavior,” with Elizabeth Eccher and James Rosberg, Chapter 12 of Lost Profits
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 “Analysis of Cost Behavior When Calculating Damages,” Parts 1 and 2, Business Law Today, American
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 Issue 7 (Summer 2012)
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 Law Seminars International (2009)
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 Practice Aid 04-1,” coauthor, American Institute of Certified Public Accountants (2004)
 “Trademark Misuse,” Litigation Support Report Writing: Accounting, Finance, and Economic Issues,
 Friedman and Weil, eds., John Wiley & Sons (2003)
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 2001, Practising Law Institute (2001)
 “Cost Estimation,” Litigation Services Handbook: The Role of the Accountant as Expert Witness, 3rd ed.,
 Weil, Wagner, and Frank, eds., John Wiley (2001)
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 “Conflicting Rulings About Conflicts,” coauthor, The Witness Chair, California Society of CPAs (Fall
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 “Damage Measures in Patent Infringement Actions,” coauthor, Second Annual Institute for Intellectual
 Property Law, Practising Law Institute (1996)
 “Damages on the Internet,” Proceedings of the AIPLA Winter Conference, AIPLA (1996)
 “Section 482 and Technology Transfers,” coauthor, Price Waterhouse, Intellectual Property Conference
 (1993)
 “Dull Witnesses,” Litigation, American Bar Association, Vol. 19, No. 3 (Spring 1993)
 “Economic Damages in Patent Infringement Cases,” coauthor, Patent Litigation 1991, Practising Law
 Institute (1991)
 “Forensic Accounting and Litigation Consulting Services,” coauthor, The Accountant's Handbook, 7th
 ed., John Wiley (1990)




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 MATTER                                YEAR            COURT             DEPOSITION     TRIAL



                                                   California Superior
 4 Corners v Nazarian                    2017                               X
                                                   Court, Los Angeles

                                                   California Superior
 Cone v Causeway                         2017                               X
                                                   Court, Los Angeles

                                                   California Superior
 Kaufman v Blue Shield                   2017                                           X
                                                   Court, Los Angeles

                                                   California Superior
 Kennedy v Regency Outdoor               2017                               X
                                                   Court, Los Angeles

                                        2017,      California Superior
 Craven v Centex                                                            X           X
                                        2018       Court, Orange

                                                   Federal District
 UM Corp v Tsuburaya                     2017                               X
                                                   Court, Los Angeles

                                                   American
 Simkhai & Grindr Holdings Co v KL
                                         2017      Arbitration              X
 Grindr et al
                                                   Association

 The Mark Condominium Owners Assoc.                California Superior
                                         2017                               X         X (402)
 v Hensel Phelps et al                             Court, San Diego

                                                   Federal District
 ICSOP v County of San Bernardino        2017      Court, Central           X
                                                   District of California

 Alstatt v Centex Homes                  2017      Nevada State Court       X


                                                   California Superior
 SwiftAir v Row44 and Southwest Air      2017                               X
                                                   Court, Los Angeles


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                                                        Federal District
 Toyo Tire v Atturo Tire                      2017                               X
                                                        Court, ND of Illinois


 Carducci v Centex Homes                      2018      Nevada State Court       X

                                                        Federal District
 ALS Scan v Cloudflare                        2018      Court, ND of             X
                                                        California

 Sarkisian v University of Southern
                                              2018      Arbitration              X         X
 California

                                                        Federal District
 Lincoln Electric v Harbor Freight Tools      2018                               X
                                                        Court, ND of Ohio

                                             2018,      California Superior
 Estate of Chui                                                                  X
                                             2019       Court, Los Angeles


 Scopely v Kung Fu Factory                    2018      JAMS                     X


 Golden, as trustee for Aletheia v.
                                              2018      Phillips ADR             X         X
 O'Melveny & Myers

                                                        Federal District
 Solid 21 v Hublot                            2018      Court, Central           X
                                                        District of California
                                                        Federal District
 Newmark Realty Capital v BGC
                                              2018      Court, Northern          X
 Partners, Newmark & Co., et al.
                                                        District of California
                                                        Federal District
                                             2018,
 Jet Edge v Schembari                                   Court, Central           X         X
                                             2019
                                                        District of California


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                                                       Federal District
 Kjaer Weis v Kimsaprincess                  2018      Court, Central           X
                                                       District of California
                                                       Federal District
 Wi-LAN v Vizio                              2018      Court, District of       X
                                                       Delaware

                                            2018,      California Superior
 Marriage of Stoddard & Treacy                                                  X         X
                                            2019       Court; Los Angeles

                                                       California Superior
 Marriage of Bower                           2018                               X         X
                                                       Court, San Diego

                                                       California Superior
                                            2018,
 Tempic Five v Kingsco                                 Court, Orange            X         X
                                            2019
                                                       County
                                                       Federal District
 Safinia v Voltage Pictures                  2018      Court, Central           X
                                                       District of California

 Ballet Beauty v Lionsgate                   2019      JAMS Arbitration         X


                                                       California Superior
 Sanchez v CalPERS                           2019                               X
                                                       Court, Los Angeles

                                                       Federal District
 Disney et al v VidAngel                     2019      Court, Central           X         X
                                                       District of California

                                                       California Superior
 Menendez v Seterus                          2019                               X
                                                       Court, Los Angeles


 Obagi v ZO                                  2019      JAMS Arbitration         X         X



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                                                         California Superior
 Marriage of Temmerman                         2019                               X         X
                                                         Court, Santa Clara

                                                         Federal District
 Tesla v Tripp                                 2019      Court, District of       X
                                                         Nevada
                                                         Federal District
 Manchester v Sivantos                         2019      Court, Central           X
                                                         District of California

 Applied Medical Resources v Southern                    California Superior
                                               2019                               X
 California Edison                                       Court, Orange

 Siena at Sorrento HOA v Toll Brothers et                JAMS Arbitration,
                                               2019                               X         X
 al.                                                     Walnut Creek

                                              2019,      California Superior
 Fantasy Cookie v Bar Bakers                                                      X         X
                                              2020       Court, Los Angeles

 Saxco International v Anchor Glass           2019,      AAA Arbitration,
                                                                                  X         X
 Container Corp.                              2020       Philadelphia

                                                         JAMS Arbitration,
 MRC v Spacey                                  2020                               X         X
                                                         Los Angeles

                                                         JAMS Arbitration,
 Amalfi at Sorrento v Toll Brothers            2020                               X
                                                         Walnut Creek

                                                         California Superior
 Yu v Forest Surgical                          2020                               X
                                                         Court, San Francisco

                                                         Federal District
 Network-1 Technologies, Inc. v Google,                  Court, Southern
                                               2020                               X
 Inc and YouTube LLC                                     District of New
                                                         York

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                                                         Federal District
 Altair v Telebrands                           2020      Court, Central            X
                                                         District of California

                                                         JAMS Arbitration,
 Sorrento at Dublin Ranch v Toll Brothers      2020                                X
                                                         Walnut Creek

                                                         AAA Arbitration,
 Cardinal v Gregory                            2020                                          X
                                                         Dallas TX

                                                         AAA Arbitration,
 Kessler v Wollmuth Maher & Deutsch            2020                                          X
                                                         New York, NY

                                                         International Centre
                                                         for Dispute
 Karpiuk et al v Wargaming World, Ltd.         2020                                          X
                                                         Resolution, Nicosia,
                                                         Cyprus

 Get Kaisered, Inc. v AKT Franchise,                     Federal District
                                               2020                                X
 LLC                                                     Court, Delaware

                                                         Federal District
 SPS Technologies, LLC d/b/a PB
                                               2020      Court, Central            X
 Fasteners v. Briles Aerospace, Inc.
                                                         District of California

 QC Manufacturing, Inc. v Solatube                       JAMS Arbitration,
                                               2020                                          X
 International                                           Los Angeles

                                                         Utah Alternative
                                              2020,
 Miner v. Olsen & Larson                                 Dispute Resolution        X         X
                                              2021
                                                         Services

                                                         Federal District
 Workspot v Citrix                             2021                                X
                                                         Court, Delaware

                                                         Federal District
 Zeitlin v Bank of America                     2021                                X
                                                         Court, Nevada


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 RevPAR Collective dba Stash Rewards v                California Superior
                                            2021                               X
 Synchrony Bank                                       Court, San Francisco

                                                      Federal District
 CP III Rincon Towers v Richard Cohen       2021      Court, SD of New         X
                                                      York

 JTS Communities v ZB dba California                  California Superior
                                            2021                               X
 Bank & Trust                                         Court, Sacramento

                                                      Federal District
 Skyhawke v GolfzonDeca                     2021      Court, CD of             X
                                                      California

 Fahrenheit Homeowners Ass'n v                        California Superior
                                            2021                               X
 CityMark Fahrenheit LLC                              Court, San Diego


 PGA v Trump National Bedminster            2021      JAMS Arbitration         X

                                                      Federal District
 Microvention, Inc. v Balt                  2021      Court, Central           X
                                                      District of California
                                                      Federal District
 Honey Bum v Fashion Nova                   2021      Court, Central           X
                                                      District of California

 Level 1 HOA v Taylor Morrison              2021      JAMS Arbitration         X         X

                                                      Federal District
 Aramark & HPSI v Borgquist, Beacon
                                            2021      Court, Central                     X
 Holdings
                                                      District of California
                                                      Federal District
 Honda Trading America v BASF               2021      Court, Central           X
                                                      District of California


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                                                         California Superior
 Marriage of Temmerman (II)                    2022                               X
                                                         Court, Santa Clara

                                                         Federal District
                                                                                       X (privilege
 USA v Bychak (Amobee)                         2022      Court, Southern
                                                                                        hearing)
                                                         District of California
                                                         Federal District
 USA ex rel Stahl, et al. v Orthopedic
                                               2022      Court, Central           X
 Alliance, LLC et al.
                                                         District of California
                                                         Gwinnett County
 InComm Holdings v Quality Investment                    Superior Court,
                                               2022                               X
 Properties Suwanee LLP                                  Georgia

                                                         Federal District
                                                         Court, Southern
 SEC v Yin                                     2022                               X
                                                         District of New
                                                         York
                                                         Federal District
 American Career College et al. v Pronto,
                                               2022      Court, Central           X
 Medina et al.
                                                         District of California
                                                         American
                                              2022,
 Gilead v Royalty Pharma Trust                           Arbitration Ass’n,       X         X
                                              2023
                                                         Atlanta, GA

                                                         California Superior
 Wedding v CalPERS                             2022                               X
                                                         Court, Los Angeles

                                                         American
                                              2022,
 PennyMac v BlackKnight                                  Arbitration Ass’n,       X         X
                                              2023
                                                         Jacksonville, FL
                                                         Federal District
 Masimo v Apple                                2023      Court, Central           X         X
                                                         District of California




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 Ryan Martin v Agency for the                           California Superior
                                              2023                               X         X
 Performing Arts                                        Court, Los Angeles

                                                        California Superior
 BVK Gaming v Polvora                         2023                               X
                                                        Court, Napa

                                                        Federal District
 Wisk Aero LLC v Archer Aviation              2023      Court, Northern          X
                                                        District of California

                                                        JAMS Arbitration,
 Guild Mortgage v Flowers                     2023                               X         X
                                                        Seattle

                                                        California Superior
 Krafton v NetEase                            2023                               X         X
                                                        Court, San Mateo

                                                        Federal District
 County of San Bernardino v ICSOP             2023      Court, Central           X
                                                        District of California

                                                        California Superior
 CCSCLA v Astroturf                           2023                               X
                                                        Court, Los Angeles

                                                        Federal District
 Rensselaer Polytechnic Institute and CF                Court, Northern
                                              2023                               X
 Dynamic Advances LLC v Amazon.com                      District of New
                                                        York

 Modern Ice Owners Association v Taylor                 California Superior
                                              2023                               X         X
 Morrison of California                                 Court, Santa Clara

                                                        ADR Services
 Rinsch & Home VFX v Netflix                  2023                                         X
                                                        Arbitration

 In the Matter of The Donald W.                         California Superior
 Callender Family Trust (Ammerman &           2023      Court, Orange            X
 Feldmar)                                               County

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 Yucaipa Companies LLC, et al. v
                                                     California Superior
 Lantern Asset Management GP, LLC, et      2024                               X
                                                     Court, Los Angeles
 al.

                                                     JAMS Arbitration,
 loanDepot.com, LLC v Johnson              2024                               X         X
                                                     Washington, DC




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                                                                    Documents Relied Upon
iCAP Internal Documents and Data
2019 – Balance Sheet by Entity by Period-2023-12-19-16-03-13.xlsx.
Accounting Seed Data for iCAP entities: Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx and other individual fund Accounting Seed data.
Declaration of Lance Miller in Support of First Day Motion, In Re Icap Enterprises, INC., et al., Debtor , Case No. 23-01243-WLH11, Dated October 3, 2023.
Fund Buyout Projection 2017 – Fund 1 & 2.xlsx.
iCAP Organizational Chart_v5 092223.pptx.
Investor Call Audio Clip, November 21, 2018.
Investor Tracker for iCAP Fund 1, Fund 2, Fund 3, Fund 4, Fund 5, Funding, Investments, and Vault.
Private Placement Memorandum for iCAP Equity, LLC.’s $50 million offering of Senior Promissory Notes, July 1, 2020.
Private Placement Memorandum for iCAP Pacific Northwest Opportunity and Income Fund, LLC.’s $30 million offering of 12% Senior Secured Debentures, December
19, 2013.
Private Placement Memorandum for iCAP Northwest Opportunity Fund, LLC.’s $30 million offering of 10% Senior Secured Debentures, April 20, 2015.
Private Placement Memorandum for iCAP Pacific Income Fund 4, LLC.’s $50 million offering of Secured Promissory Notes, October 1, 2018, p. 2.
Private Placement Memorandum for iCAP Pacific Income Fund 5, LLC.’s $50 million offering of 9% Secured Promissory Notes, September 5, 2019, p. 1.
Project Divestitures.xlsx.

Bank Statements
iCAP Bank Statements Produced from 11.1.2019 to 9.20.2023: Sources from Umpqua Bank, EastWest Bank, Seaside National Bank & Trust, Wells Fargo, JPMorgan
Chase Bank, N.A.

Emails and Attachments
January 2017 email titled, “2017 Budget."
November 2017 email titled, “Budget."
June and July 2018 email chain with the title, “Lakeview and Brislawn."
May 2019 email chain titled, “$200K Transfer into Fund 1 on 5/13."
October 2019 email with the title, "Delegation List."
May 2020 email chain titled, “Fund 6 Financial Model.”
April 2022 email titled, “Cash Follow Up."
July 2022 email chain titled, “7/15/2022 Cash Forecast for review.”
October 2022 email chain titled, “Combined F/S."
October 2022 email chain with the title, “iCap Summary Spreadsheet – Finance Leadership Meeting.”
December 2022 email chain with the title, “Jinan wiring instruction – transfers and wire are ready for approval in Umpqua."
February 2023 email chain titled, “Steve’s mom’s payback."
March 2023 email chain titled, “Incoming wire."
March 2023 email chain with the title, “This week’s withdrawal requests."
April 2023 email chain titled, “Evergreen."

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“Investor Protection Guide: Ponzi Scheme,” Legal Information Institute, Cornell Law School, accessed on January 12, 2024, available at:
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(Bankr.S.D.Tex.1997), aff'd sub nom. Fisher v. Page , 2002 WL 31749262 (N.D. Ill. Dec. 3, 2002).
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O’Halloran v. First Union Nat’l Bank of Fla., 350 F.3d 1197, 1199 (11th Cir. 2003).
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             23-01243-WLH11                  Doc 469          Filed 02/23/24             Entered 02/23/24 19:45:30                        Pg 61 Exhibit
                                                                                                                                                of 630  1, Page 61
                                                                                                              Exhibit 1.1
                                                                           Consolidated iCAP Sources and Uses by Category, Including Intercompany Transfers
                                                                                                                         10.1.2018 – 9.30.2023
                            Deposits                                                                   2018             2019               2020              2021                  2022           2023               Total          % Total
                            Investments from Subscribers                                               $1,675,573      $29,253,165        $27,652,816       $85,278,426          $120,563,913    $22,423,557      $286,847,450         49.4%
                                Funds from Subscribers                                                    $1,486.0       $26,976.3          $26,464.0       $75,458,033           $97,755,454      $21,856.8      $249,996,675         43.1%
                                Wire Fees                                                                        –               –               $655            $1,625                $3,075         $1,285            $6,640          0.0%




23-01243-WLH11
                                Reinvestment of Investor Interest                                         $14,910          $36,819           $142,850        $1,446,572            $3,903,392       $511,058        $6,055,601          1.0%
                                Reinvestment from Other iCAP Entities                                            –        $104,724           $384,877          $105,923                     –              –          $595,524          0.1%
                                Subscriber Reallocation                                                          –      $1,028,536           $361,279        $4,256,510           $16,054,077              –       $21,700,401          3.7%
                                Reinvestment of Commissions                                               $52,623         $637,258           $260,900        $1,922,749            $2,393,437        $43,000        $5,309,967          0.9%
                                Other                                                                    $122,014         $469,513            $38,210        $2,087,014              $454,478        $11,413        $3,182,642          0.5%
                            Loans Obtained from Third Party Lenders




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                                                                                                                 –      $2,390,664         $5,375,334       $20,145,328           $24,885,146     $2,994,563       $55,791,035          9.6%
                                Loan Related                                                                     –      $2,390,664         $5,375,334        $7,446,220           $13,139,255     $2,000,000       $30,351,472          5.2%
                                Draw Deposit                                                                     –               –                  –       $12,699,108           $11,745,891      $994,563        $25,439,562          4.4%
                            Money Received from Business Operations                                    $5,066,010      $10,042,189         $1,829,207        $5,647,557            $9,167,188     $3,157,567       $34,909,718          6.0%
                                Revenue: Rent & Project Payoff                                         $1,217,986       $8,358,263         $1,224,496        $5,106,054            $8,292,905       $1,412.1       $25,611,759          4.4%
                                Interest Credit                                                           $75,370            $103               $492              $595                  $635             $76           $77,271          0.0%
                                Refund/Reimbursement                                                      $45,447        $163,665           $110,102          $216,197              $845,574         $55,890        $1,436,876          0.2%
                                Escrow Deposit                                                                   –               –                  –                 –                     –     $1,283,768        $1,283,768          0.2%




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                                Account Close                                                            $527,805         $383,600                  –              $100                $2,288              –          $913,793          0.2%
                                Other                                                                  $3,199,402       $1,136,557           $494,117          $324,611               $25,786       $405,778        $5,586,251          1.0%
                            Intercompany Transfers                                                     $1,570,636      $13,212,683        $23,912,135       $37,894,862          $106,721,387    $19,298,366      $202,610,068         34.9%
                            Total Deposits                                                             $8,312,219      $54,898,701        $58,769,491      $148,966,173          $261,337,634    $47,874,053      $580,158,272        100.0%
                            Withdrawals
                            Returns to Subscribers                                                    ($2,766,135)    ($24,480,866)     ($19,264,741)     ($54,630,918)     ($112,580,636)      ($22,404,658)     ($236,127,953)       40.4%
                                Subscriber Interest Payments, Principal Payments, & Other             ($2,766,135)    ($23,991,632)     ($18,287,453)     ($49,757,779)      ($84,619,255)      ($21,903,328)    ($201,325,580)        34.4%
                                Subscriber Reallocation                                                          –        ($489,235)        ($976,553)     ($4,872,289)      ($15,921,310)                   –     ($22,259,387)        3.8%
                                Wire Fees                                                                        –                 –            ($735)            ($850)           ($2,635)           ($1,285)           ($5,505)       0.0%
                            Commission Payments                                                          ($91,012)      ($1,152,927)      ($1,412,564)      ($3,314,558)       ($3,047,257)         ($332,999)       ($9,351,317)       1.6%
                            Real Estate Acquisition, Development, and Investment                        ($926,014)      ($7,693,951)      ($8,963,969)    ($28,201,002)      ($30,745,134)        ($2,327,421)      ($78,857,492)      13.5%
                            Loan Repayment                                                              ($199,191)        ($406,072)      ($2,033,731)         ($32,500)         ($500,000)       ($1,155,048)       ($4,326,541)       0.7%
                            General, Operating, and Admin Expenses                                    ($2,119,743)      ($8,056,901)      ($7,747,026)    ($10,712,552)      ($12,658,772)        ($3,669,754)      ($44,964,748)       7.7%
                            Money to Owner                                                                 ($9,320)     ($1,139,550)      ($2,434,063)        ($951,275)       ($1,109,146)         ($337,597)       ($5,980,951)       1.0%




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                            Intercompany Transfers                                                    ($1,269,160)    ($11,992,857)     ($23,995,374)     ($40,383,239)     ($107,096,096)      ($20,466,380)     ($205,203,106)       35.1%
                            Total Withdrawals                                                         ($7,380,574)    ($54,923,125)     ($65,851,469)    ($138,226,044)     ($267,737,040)      ($50,693,856)     ($584,812,108)      100.0%

                            Sources:
                            [A] Accounting Seed Data for iCAP entity transactions: Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx.
                            [B] Declaration of Lance Miller in support of First Day Motion, In Re Icap Enterprises, INC., et al., Debtor, No. 23-01243-WLH11, October 3, 2023.

                            Note:




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                            [1] Please refer to Exhibit 1.2 for the descriptions of the line items.




                                                                                                                                                                                                             Exhibit 1, Page 62
                                                                                                                 Exhibit 1.2
                                                                                                  iCAP Sources and Uses Category Description
                                                                                                                     10.1.2018 – 9.30.2023
                                                            Category                                                                                                Description
                            Deposits                                                                    Funds transferred to iCAP entities
                            Investments from Subscribers                                                Funds received from investor subscription
                                Funds from Subscribers                                                  Funds received as additional investments to iCAP entities




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                                Wire Fees                                                               Wire or bank service fees related to the investment transactions
                                Reinvestment of Investor Interest                                       Interest payment made to a subscriber that has been reinvested in iCAP entities
                                Reinvestment from Other iCAP Entities                                   Reinvestment of funds from one iCAP entity to another
                                Subscriber Reallocation                                                 Reallocation of funds from one subscription number to another
                                Reinvestment of Commissions                                             Commissions paid that were reinvested by the subscriber receiving the commissions




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                                Other                                                                   Investments made for general or unspecified purposes, such as consulting fee, refund, bonus, etc.
                            Loans Obtained from Third Party Lenders                                     Funds borrowed by iCAP from third party entities
                                Loan Related                                                            Loan received from third party financing agencies
                                Draw Deposit                                                            Loan Draws related to Colpitts Sunset property
                            Money Received from Business Operationss                                    Funds deposited in iCAP entity accounts for Business Operationss or real estate investment activities
                                Revenue: Rent & Project Payoff                                          iCAP entity revenues from real estate investments, including rent, sale of a unit, etc.
                                Interest Credit                                                         Interest received from iCAP deposits in third party agencies
                                Refund/Reimbursement                                                    Refund/Reimbursement for Business Operationss activities, such as payroll, utility, maintenance, service fee, etc.




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                                Escrow Deposit                                                          Escrow deposits related to assets owned by iCAP entities
                                Account Close                                                           Transfers received due to bank account closure
                                Other                                                                   Money received for general or unspecified purposes, such as call down payment, cash adjustment, etc.
                            Intercompany Transfers                                                      Transfers from one iCAP entity to another iCAP entity/property

                            Withdrawals                                                                 Funds withdrawn by iCAP entities
                            Returns to Subscribers                                                      Withdrawals from an iCAP entity to a subscriber
                                Subscriber Interest Payments, Principal Payments, & Other               Transfers from one iCAP entity to a subscriber account for various payments, mostly interest and principal payback
                                Wire Fees                                                               Wire fees associated with withdrawals from one iCAP entity to a subscriber account
                                Subscriber Reallocation                                                 Reallocation of funds from one subscription number to another
                            Commission Payments                                                         Withdrawals from an iCAP entity to an investment broker or other party
                            Real Estate Acquisition, Development, and Investment                        Withdrawals from an iCAP entity to a third party related to a real estate transaction
                            Loan Repayment                                                              Withdrawals from an iCAP entity to a third party related to loan payments
                            General, Operating, and Admin Expenses                                      Withdrawals from an iCAP entity to a third party for general, operating, and administrative expenses




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                            Money to Owner                                                              Transfers from iCAP entities to Chris Christensen
                            Intercompany Transfers                                                      Transfers from one iCAP entity to another iCAP entity/property

                            Sources:
                            [A] Accounting Seed Data for iCAP entity transactions: Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx.
                            [B] Declaration of Lance Miller in support of First Day Motion, In Re Icap Enterprises, INC., et al., Debtor, No. 23-01243-WLH11, October 3, 2023.




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                                                                                                                                                                                                             Exhibit 1, Page 63
                                                                                                            Exhibit 2
                                                                        Consolidated iCAP Sources and Uses by Category, Excluding Intercompany Transfers
                                                                                                                     10.1.2018 – 9.30.2023
                        Deposits                                                                   2018               2019              2020               2021                 2022             2023               Total          % Total
                        Investments from Subscribers                                               $1,675,573        $29,253,165       $27,652,816        $85,278,426         $120,563,913      $22,423,557      $286,847,450         76.0%
                            Funds from Subscribers                                                    $1,486.0         $26,976.3         $26,464.0        $75,458,033          $97,755,454        $21,856.8      $249,996,675         66.2%
                            Wire Fees                                                                        –                 –              $655             $1,625               $3,075           $1,285            $6,640          0.0%




23-01243-WLH11
                            Reinvestment of Investor Interest                                         $14,910            $36,819          $142,850         $1,446,572           $3,903,392         $511,058        $6,055,601          1.6%
                            Reinvestment from Other iCAP Entities                                            –          $104,724          $384,877           $105,923                    –                –          $595,524          0.2%
                            Subscriber Reallocation                                                          –        $1,028,536          $361,279         $4,256,510          $16,054,077                –       $21,700,401          5.7%
                            Reinvestment of Commissions                                               $52,623           $637,258          $260,900         $1,922,749           $2,393,437          $43,000        $5,309,967          1.4%
                            Other                                                                    $122,014           $469,513           $38,210         $2,087,014             $454,478          $11,413        $3,182,642          0.8%
                        Loans Obtained from Third Party Lenders




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                                                                                                             –        $2,390,664        $5,375,334        $20,145,328          $24,885,146       $2,994,563       $55,791,035         14.8%
                            Loan Related                                                                     –        $2,390,664        $5,375,334         $7,446,220          $13,139,255       $2,000,000       $30,351,472          8.0%
                            Draw Deposit                                                                     –                 –                 –        $12,699,108          $11,745,891        $994,563        $25,439,562          6.7%
                        Money Received from Business Operations                                    $5,066,010        $10,042,189        $1,829,207         $5,647,557           $9,167,188       $3,157,567       $34,909,718          9.2%
                            Revenue: Rent & Project Payoff                                         $1,217,986         $8,358,263        $1,224,496         $5,106,054           $8,292,905         $1,412.1       $25,611,759          6.8%
                            Interest Credit                                                           $75,370              $103              $492               $595                 $635               $76           $77,271          0.0%
                            Refund/Reimbursement                                                      $45,447          $163,665          $110,102           $216,197             $845,574           $55,890        $1,436,876          0.4%
                            Escrow Deposit                                                                   –                 –                 –                  –                    –       $1,283,768        $1,283,768          0.3%




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                            Account Close                                                            $527,805           $383,600                 –               $0.1                 $2.3                –          $913,793          0.2%
                            Other                                                                  $3,199,402         $1,136,557          $494,117           $324,611              $25,786         $405,778        $5,586,251          1.5%
                        Total Deposits                                                             $6,741,584        $41,686,018       $34,857,357       $111,071,311         $154,616,247      $28,575,688      $377,548,203        100.0%
                        Withdrawals
                        Returns to Subscribers                                                    ($2,766,135)     ($24,480,866)     ($19,264,741)      ($54,630,918)        ($112,580,636)    ($22,404,658)     ($236,127,953)       62.2%
                            Subscriber Interest Payments, Principal Payments, & Other             ($2,766,135)     ($23,991,632)     ($18,287,453)      ($49,757,779)         ($84,619,255)    ($21,903,328)    ($201,325,580)        53.0%
                            Subscriber Reallocation                                                          –         ($489,235)        ($976,553)      ($4,872,289)         ($15,921,310)                 –     ($22,259,387)        5.9%
                            Wire Fees                                                                        –                  –            ($735)             ($850)              ($2,635)         ($1,285)           ($5,505)       0.0%
                        Commission Payments                                                          ($91,012)       ($1,152,927)      ($1,412,564)       ($3,314,558)          ($3,047,257)       ($332,999)       ($9,351,317)       2.5%
                        Real Estate Acquisition, Development, and Investment                        ($926,014)       ($7,693,951)      ($8,963,969)     ($28,201,002)         ($30,745,134)      ($2,327,421)     ($78,857,492)       20.8%
                        Loan Repayment                                                              ($199,191)         ($406,072)      ($2,033,731)          ($32,500)            ($500,000)     ($1,155,048)       ($4,326,541)       1.1%
                        General, Operating, and Admin Expenses                                    ($2,119,743)       ($8,056,901)      ($7,747,026)     ($10,712,552)         ($12,658,772)      ($3,669,754)     ($44,964,748)       11.8%
                        Money to Owner                                                                 ($9,320)      ($1,139,550)      ($2,434,063)         ($951,275)          ($1,109,146)       ($337,597)       ($5,980,951)       1.6%
                        Total Withdrawals                                                         ($6,111,414)     ($42,930,268)     ($41,856,095)      ($97,842,805)        ($160,640,944)    ($30,227,476)    ($379,609,001)       100.0%




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                        Sources:
                        [A] Accounting Seed Data for iCAP entity transactions: Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx.
                        [B] Declaration of Lance Miller in support of First Day Motion, In Re Icap Enterprises, INC., et al., Debtor, No. 23-01243-WLH11, October 3, 2023.
                        Note:
                        [1] Please refer to Exhibit 1.2 for the descriptions of the line items.




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                                                                                                                                                                                                            Exhibit 1, Page 64
                                                                                                         Exhibit 3
                                                              Consolidated iCAP Sources and Uses For Funds 1-5, iCAP Funding, iCAP Investments, and iCAP Vault
                                                                                                                          2018.10.1 – 2023.9.30
                            Deposits                                                                    2018              2019               2020               2021                2022             2023             Total          % Total
                            Investments from Subscribers                                                $1,675,573       $29,253,165        $26,402,869        $85,278,426        $111,992,870      $22,423,557     $277,026,461        65.6%
                                Funds from Subscribers                                                  $1,486,026       $26,976,314        $25,214,098        $75,458,033         $95,273,954      $21,856,802     $246,265,228        58.4%
                                Wire Fees                                                                        –                 –               $655             $1,625              $3,075           $1,285           $6,640         0.0%
                                Reinvestment of Investor Interest                                          $14,910           $36,819          $142,850          $1,446,572          $3,903,392        $511,058        $6,055,601         1.4%




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                                Reinvestment from Other iCAP Entities                                            –          $104,724          $384,877            $105,923                   –                –         $595,524         0.1%
                                Subscriber Reallocation                                                          –        $1,028,536          $361,279          $4,256,510          $9,964,534                –      $15,610,859         3.7%
                                Reinvestment of Commissions                                                $52,623          $637,258          $260,900          $1,922,749          $2,393,437          $43,000       $5,309,967         1.3%
                                Other                                                                     $122,014          $469,513            $38,210         $2,087,014            $454,478          $11,413       $3,182,642         0.8%
                            Loans Obtained from Third Party Lenders                                              –                 –           $717,097         $1,077,380          $1,862,000                –       $3,656,477         0.9%




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                                Loan Related                                                                     –                 –          $717,097          $1,077,380          $1,862,000                –       $3,656,477         0.9%
                                Draw Deposit                                                                     –                 –                  –                  –                   –                –                –         0.0%
                            Money Received from Business Operations                                     $4,234,935        $5,770,323         $1,057,827         $5,037,626            $881,525         $332,329      $17,314,564         4.1%
                                Revenue: Rent & Project Payoff                                          $1,003,680        $4,673,612          $967,993          $4,607,583             $45,872                –      $11,298,740         2.7%
                                Interest Credit                                                            $75,370              $101               $470              $585                $600               $27          $77,152         0.0%
                                Refund/Reimbursement                                                       $30,506           $45,003            $12,607          $132,609            $822,758           $38,932       $1,082,414         0.3%
                                Escrow Deposit                                                                   –                 –                  –                  –                   –         $143,500         $143,500         0.0%




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                                Account Close                                                             $252,690          $383,600                  –               $100              $2,288                –         $638,678         0.2%
                                Other                                                                   $2,872,689          $668,008            $76,757           $296,749             $10,007        $149,870        $4,074,081         1.0%
                            Intercompany Transfers                                                         $10,225        $8,978,790        $13,771,355        $29,014,710         $60,693,485      $11,544,171     $124,012,735        29.4%
                            Total Deposits                                                              $5,920,733       $44,002,279        $41,949,147       $120,408,142        $175,429,880      $34,300,057     $422,010,237       100.0%
                            Withdrawals
                            Returns to Subscribers                                                    ($2,766,135)      ($24,480,866)      ($19,264,741)      ($54,534,305)       ($95,486,112)    ($21,762,688)   ($218,294,847)       51.3%
                                Subscriber Interest Payments, Principal Payments, & Other             ($2,766,135)      ($23,991,632)      ($18,287,453)      ($49,661,166)       ($83,024,927)    ($21,761,403)   ($199,492,714)       46.9%
                                Subscriber Reallocation                                                          –          ($489,235)         ($976,553)      ($4,872,289)       ($15,421,310)                –    ($21,759,387)        5.1%
                                Wire Fees                                                                        –                   –             ($735)             ($850)            ($2,635)        ($1,285)          ($5,505)       0.0%
                            Commission Payments                                                          ($91,012)        ($1,152,927)       ($1,412,564)       ($3,314,558)        ($2,404,406)      ($289,999)      ($8,665,466)       2.0%
                            Real Estate Acquisition, Development, and Investment                        ($569,266)        ($3,421,516)         ($443,144)       ($7,147,566)      ($10,974,200)           ($794)     ($22,556,487)       5.3%
                            Loan Repayment                                                               ($64,250)          ($373,970)       ($1,998,731)           ($7,500)          ($500,000)               –      ($2,944,452)       0.7%
                            General, Operating, and Admin Expenses                                      ($561,534)        ($3,975,135)       ($3,707,705)       ($5,602,264)        ($3,246,663)      ($376,329)     ($17,469,630)       4.1%




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                            Money to Owner                                                                 ($7,320)         ($829,000)       ($2,420,365)         ($690,275)          ($902,225)      ($259,740)      ($5,108,924)       1.2%
                            Intercompany Transfers                                                      ($921,490)        ($9,779,367)     ($19,739,480)      ($38,389,931)       ($68,829,245)    ($12,666,332)   ($150,325,846)       35.3%
                            Total Withdrawals                                                         ($4,981,006)      ($44,012,783)      ($48,986,730)     ($109,686,399)      ($182,342,852)    ($35,355,882)   ($425,365,651)      100.0%
                            Sources:
                            [A] Accounting Seed Data for iCAP entity transactions: Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx.
                            [B] Declaration of Lance Miller in support of First Day Motion, In Re Icap Enterprises, INC., et al., Debtor, No. 23-01243-WLH11, October 3, 2023.

                            Note:




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                            [1] Please refer to Exhibit 1.2 for the descriptions of the line items.




                                                                                                                                                                                                                   Exhibit 1, Page 65
                                                                                                               Exhibit 4.1
                                                                                iCAP Pacific Northwest Opportunity & Income Fund - Fund 1 Sources and Uses
                                                                                                                          2018.10.1 – 2023.9.30
                            Deposits                                                                    2018               2019               2020               2021             2022          2023              Total         % Total
                            Investments from Subscribers                                                    $1,000            $26,514               $500                  –          $22,634        $2,000           $52,648        0.3%
                                Funds from Subscribers                                                           –                  –                  –                  –                –             –                 –        0.0%
                                Wire Fees                                                                        –                  –                  –                  –                –             –                 –        0.0%
                                Reinvestment of Investor Interest                                                –               $500                  –                  –                –             –              $500        0.0%




23-01243-WLH11
                                Reinvestment from Other iCAP Entities                                            –                  –                  –                  –                –             –                 –        0.0%
                                Subscriber Reallocation                                                          –                  –                  –                  –                –             –                 –        0.0%
                                Reinvestment of Commissions                                                      –                  –                  –                  –                –             –                 –        0.0%
                                Other                                                                       $1,000            $26,014              $500                   –         $22,634         $2,000           $52,148        0.3%
                            Loans Obtained from Third Party Lenders                                              –                  –                  –                  –                –             –                 –        0.0%




Doc 469
                                Loan Related                                                                     –                  –                  –                  –                –             –                 –        0.0%
                                Draw Deposit                                                                     –                  –                  –                  –                –             –                 –        0.0%
                            Money Received from Business Operations                                       $279,769           $971,608            $11,315            $70,011          $31,940      $152,389        $1,517,033        8.7%
                                Revenue: Rent & Project Payoff                                                   –          $940,615                   –           $70,000          $30,000              –        $1,040,615        5.9%
                                Interest Credit                                                                  –                 $5                $19               $11               $22            $3               $59        0.0%
                                Refund/Reimbursement                                                       $30,506             $9,468              $978                   –           $1,919        $8,887           $51,757        0.3%
                                Escrow Deposit                                                                   –                  –                  –                  –                –     $143,500           $143,500        0.8%




Filed 02/23/24
                                Account Close                                                            $238,568                $100                  –                  –                –             –          $238,668        1.4%
                                Other                                                                      $10,695            $21,420           $10,319                   –                –             –           $42,434        0.2%
                            Intercompany Transfers                                                          $5,000         $3,056,994         $4,340,800         $4,033,611       $3,791,150      $726,467       $15,954,022       91.0%
                            Total Deposits                                                                $285,769         $4,055,116         $4,352,615         $4,103,622       $3,845,724      $880,856       $17,523,703      100.0%
                            Withdrawals
                            Returns to Subscribers                                                    ($1,142,111)       ($4,419,547)       ($4,387,982)       ($3,824,539)      ($3,603,565)   ($705,134)      ($18,082,879)      91.4%
                                Subscriber Interest Payments, Principal Payments, & Other             ($1,142,111)       ($4,419,547)       ($4,387,982)       ($3,824,539)      ($3,603,565)   ($705,134)     ($18,082,879)       91.4%
                                Subscriber Reallocation                                                          –                  –                  –                  –                 –            –                 –        0.0%
                                Wire Fees                                                                        –                  –                  –                  –                 –            –                 –        0.0%
                            Commission Payments                                                                  –                  –                   –                 –                 –             –                 –       0.0%
                            Real Estate Acquisition, Development, and Investment                         ($42,145)          ($18,917)            ($3,740)                 –                 –             –         ($64,802)       0.3%
                            Loan Repayment                                                                       –                  –                   –                 –                 –             –                 –       0.0%
                            General, Operating, and Admin Expenses                                      ($151,137)         ($323,580)         ($294,763)         ($252,975)        ($229,320)     ($44,994)      ($1,296,768)       6.6%




Entered 02/23/24 19:45:30
                            Money to Owner                                                                       –                  –                   –                 –                 –             –                 –       0.0%
                            Intercompany Transfers                                                          ($244)          ($19,590)         ($120,056)                  –         ($20,691)   ($170,622)         ($331,202)       1.7%
                            Total Withdrawals                                                         ($1,335,637)       ($4,781,634)       ($4,806,540)       ($4,077,514)      ($3,853,576)   ($920,751)      ($19,775,652)     100.0%
                            Sources:
                            [A] Accounting Seed Data for iCAP entity transactions: Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx.
                            [B] Declaration of Lance Miller in support of First Day Motion, In Re Icap Enterprises, INC., et al., Debtor, No. 23-01243-WLH11, October 3, 2023.

                            Note:




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                            [1] Please refer to Exhibit 1.2 for the descriptions of the line items.




                                                                                                                                                                                                              Exhibit 1, Page 66
                                                                                                                       Exhibit 4.2
                                                                                                      iCAP Northwest Fund - Fund 2 Sources and Uses
                                                                                                                          2018.10.1 – 2023.9.30
                            Deposits                                                                    2018               2019               2020              2021              2022           2023              Total          % Total
                            Investments from Subscribers                                                    $7,544             $7,379             $5,491            $3,536            $2,750              –           $26,701         0.1%
                                Funds from Subscribers                                                     $4,583                   –                  –                 –                 –              –           $4,583          0.0%
                                Wire Fees                                                                        –                  –                  –                 –                 –              –                 –         0.0%
                                Reinvestment of Investor Interest                                                –                  –                  –                 –                 –              –                 –         0.0%




23-01243-WLH11
                                Reinvestment from Other iCAP Entities                                            –                  –                  –                 –                 –              –                 –         0.0%
                                Subscriber Reallocation                                                          –                  –                  –                 –                 –              –                 –         0.0%
                                Reinvestment of Commissions                                                      –                  –                  –                 –                 –              –                 –         0.0%
                                Other                                                                       $2,961             $7,379             $5,491            $3,536            $2,750              –           $22,117         0.1%
                            Loans Obtained from Third Party Lenders                                              –                  –             $7,250                 –                 –              –            $7,250         0.0%




Doc 469
                                Loan Related                                                                     –                  –             $7,250                 –                 –              –            $7,250         0.0%
                                Draw Deposit                                                                     –                  –                  –                 –                 –              –                 –         0.0%
                            Money Received from Business Operations                                     $3,916,524         $4,029,064           $826,639        $1,587,306                $6             $1       $10,359,540        31.1%
                                Revenue: Rent & Project Payoff                                          $1,003,680           $3,613.2          $800,000         $1,519,887                 –              –        $6,936,754        20.8%
                                Interest Credit                                                            $75,370                $12                $22               $18                $6             $1           $75,429         0.2%
                                Refund/Reimbursement                                                             –             $3,873             $6,014           $67,370                 –              –           $77,257         0.2%
                                Escrow Deposit                                                                   –                  –                  –                 –                 –              –                 –         0.0%




Filed 02/23/24
                                Account Close                                                              $14,122                  –                  –                 –                 –              –           $14,122         0.0%
                                Other                                                                   $2,823,353          $411,993             $20,602               $30                 –              –        $3,255,978         9.8%
                            Intercompany Transfers                                                               –         $4,280,331         $3,360,865        $5,779,632        $8,380,047     $1,121,209       $22,922,084        68.8%
                            Total Deposits                                                              $3,924,069         $8,316,775         $4,200,244        $7,370,474        $8,382,804     $1,121,210       $33,315,575       100.0%
                            Withdrawals
                            Returns to Subscribers                                                     ($1,298,775)      ($5,306,261)       ($5,141,367)       ($4,005,663)      ($3,868,785)     ($603,649)      ($20,224,500)      55.2%
                                Subscriber Interest Payments, Principal Payments, & Other              ($1,298,775)      ($5,306,261)       ($5,141,367)       ($4,005,663)      ($3,868,785)     ($603,649)     ($20,224,500)       55.2%
                                Subscriber Reallocation                                                           –                 –                  –                  –                 –              –                 –        0.0%
                                Wire Fees                                                                         –                 –                  –                  –                 –              –                 –        0.0%
                            Commission Payments                                                                   –                 –                  –                  –                 –               –                 –       0.0%
                            Real Estate Acquisition, Development, and Investment                         ($486,130)      ($2,018,127)          ($25,934)             ($320)                 –               –      ($2,530,510)       6.9%
                            Loan Repayment                                                                ($64,250)        ($246,433)          ($52,750)                  –                 –               –        ($363,433)       1.0%
                            General, Operating, and Admin Expenses                                       ($188,196)      ($1,202,579)         ($256,024)          ($35,199)         ($38,867)            ($0)      ($1,720,865)       4.7%




Entered 02/23/24 19:45:30
                            Money to Owner                                                                        –                 –                  –                  –                 –               –                 –       0.0%
                            Intercompany Transfers                                                       ($750,247)      ($1,980,968)         ($752,098)       ($3,323,236)      ($4,482,492)     ($536,278)     ($11,825,318)       32.3%
                            Total Withdrawals                                                          ($2,787,598)     ($10,754,367)       ($6,228,172)       ($7,364,418)      ($8,390,144)   ($1,139,927)      ($36,664,627)     100.0%
                            Sources:
                            [A] Accounting Seed Data for iCAP entity transactions: Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx.
                            [B] Declaration of Lance Miller in support of First Day Motion, In Re Icap Enterprises, INC., et al., Debtor, No. 23-01243-WLH11, October 3, 2023.

                            Note:




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                            [1] Please refer to Exhibit 1.2 for the descriptions of the line items.




                                                                                                                                                                                                                Exhibit 1, Page 67
                                                                                                                     Exhibit 4.3
                                                                                                      iCAP Equity, LLC - Fund 3 Sources and Uses
                                                                                                                          2018.10.1 – 2023.9.30
                            Deposits                                                                    2018               2019              2020                2021              2022            2023            Total           % Total
                            Investments from Subscribers                                                  $552,527         $4,916,738       $10,596,592          $9,362,562       $10,318,217        $514,584     $36,261,220         44.4%
                                Funds from Subscribers                                                   $552,527         $4,736,738       $10,367,592          $9,012,562       $10,198,405        $514,584     $35,382,408          43.3%
                                Wire Fees                                                                        –                  –                 –                   –                 –               –               –          0.0%
                                Reinvestment of Investor Interest                                                –                  –         $140,000                    –                 –               –       $140,000           0.2%




23-01243-WLH11
                                Reinvestment from Other iCAP Entities                                            –                  –                 –                   –                 –               –               –          0.0%
                                Subscriber Reallocation                                                          –            $80,000           $89,000           $350,000          $112,500                –       $631,500           0.8%
                                Reinvestment of Commissions                                                      –                  –                 –                   –                 –               –               –          0.0%
                                Other                                                                            –          $100,000                  –                   –            $7,312               –       $107,312           0.1%
                            Loans Obtained from Third Party Lenders                                              –                  –                 –                   –                 –               –               –          0.0%




Doc 469
                                Loan Related                                                                     –                  –                 –                   –                 –               –               –          0.0%
                                Draw Deposit                                                                     –                  –                 –                   –                 –               –               –          0.0%
                            Money Received from Business Operations                                        $38,551           $611,662           $43,898            $110,537           $24,011         $48,167        $876,826          1.1%
                                Revenue: Rent & Project Payoff                                                   –                  –                 –                   –                 –               –               –          0.0%
                                Interest Credit                                                                  –                $13               $74                 $29               $38              $6            $160          0.0%
                                Refund/Reimbursement                                                             –             $1,732                 –             $15,968           $11,786         $26,200         $55,685          0.1%
                                Escrow Deposit                                                                   –                  –                 –                   –                 –               –               –          0.0%




Filed 02/23/24
                                Account Close                                                                    –          $383,500                  –                $100            $2,188               –          $385.8          0.5%
                                Other                                                                      $38,551          $226,417            $43,824             $94,440           $10,000         $21,961       $435,193           0.5%
                            Intercompany Transfers                                                               –        $1,251,264        $3,722,570         $12,939,690       $20,606,530      $5,986,050      $44,506,103         54.5%
                            Total Deposits                                                                $591,078         $6,779,664       $14,363,060         $22,412,789       $30,948,758      $6,548,801     $81,644,150        100.0%
                            Withdrawals
                            Returns to Subscribers                                                      ($243,901)       ($1,148,297)       ($1,673,240)       ($6,472,119)      ($7,987,764)    ($1,270,048)     ($18,795,369)       22.0%
                                Subscriber Interest Payments, Principal Payments, & Other               ($243,901)       ($1,137,598)       ($1,673,240)       ($6,472,119)      ($7,987,664)    ($1,270,048)    ($18,784,570)        22.0%
                                Subscriber Reallocation                                                          –          ($10,699)                  –                  –            ($100)               –         ($10,799)        0.0%
                                Wire Fees                                                                        –                  –                  –                  –                 –               –                 –        0.0%
                            Commission Payments                                                           ($59,512)        ($506,092)       ($1,255,713)       ($1,408,610)                                        ($4,212,245)        4.9%
                            Real Estate Acquisition, Development, and Investment                          ($40,990)        ($156,637)          ($31,134)             ($870)                  –              –        ($229,631)        0.3%
                            Loan Repayment                                                                        –         ($50,000)                  –                  –                  –              –         ($50,000)        0.1%
                            General, Operating, and Admin Expenses                                      ($195,701)         ($753,927)         ($931,437)       ($1,059,171)         ($441,276)      ($95,649)      ($3,477,160)        4.1%




Entered 02/23/24 19:45:30
                            Money to Owner                                                                 ($7,320)                 –              ($40)                  –                  –              –           ($7,359)       0.0%
                            Intercompany Transfers                                                      ($171,000)       ($5,731,171)      ($11,958,575)      ($13,962,930)      ($21,687,072)   ($5,045,726)    ($58,556,473)        68.6%
                            Total Withdrawals                                                           ($718,423)       ($8,346,124)      ($15,850,139)      ($22,903,700)      ($30,829,931)   ($6,679,921)     ($85,328,238)      100.0%
                            Sources:
                            [A] Accounting Seed Data for iCAP entity transactions: Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx.
                            [B] Declaration of Lance Miller in support of First Day Motion, In Re Icap Enterprises, INC., et al., Debtor, No. 23-01243-WLH11, October 3, 2023.

                            Note:




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                            [1] Please refer to Exhibit 1.2 for the descriptions of the line items.




                                                                                                                                                                                                                Exhibit 1, Page 68
                                                                                                                       Exhibit 4.4
                                                                                                      iCAP Pacific Income - Fund 4 Sources and Uses
                                                                                                                          2018.10.1 – 2023.9.30
                            Deposits                                                                    2018               2019               2020               2021             2022          2023             Total          % Total
                            Investments from Subscribers                                                  $749,959         $8,447,373         $1,575,482         $1,175,000         $457,405            –       $12,405,218        51.9%
                                Funds from Subscribers                                                   $709,959         $7,697,373         $1,525,000           $899,975         $420,000             –      $11,252,307         47.1%
                                Wire Fees                                                                        –                  –                  –                  –                –            –                 –         0.0%
                                Reinvestment of Investor Interest                                                –                  –               $263                  –                –            –              $263         0.0%




23-01243-WLH11
                                Reinvestment from Other iCAP Entities                                            –                  –                  –                  –                –            –                 –         0.0%
                                Subscriber Reallocation                                                          –          $750,000             $50,000           $275,025                –            –        $1,075,025         4.5%
                                Reinvestment of Commissions                                                      –                  –                  –                  –                –            –                 –         0.0%
                                Other                                                                      $40,000                  –               $219                  –          $37,405            –           $77,624         0.3%
                            Loans Obtained from Third Party Lenders                                              –                  –                  –                  –                –            –                 –         0.0%




Doc 469
                                Loan Related                                                                     –                  –                  –                  –                –            –                 –         0.0%
                                Draw Deposit                                                                     –                  –                  –                  –                –            –                 –         0.0%
                            Money Received from Business Operations                                              –            $32,429             $3,414             $2,267           $2,580        $306            $40,996         0.2%
                                Revenue: Rent & Project Payoff                                                   –                  –             $2,526             $2,096           $2,570            –            $7,191         0.0%
                                Interest Credit                                                                  –                $44              $144                  $7              $10           $0              $205         0.0%
                                Refund/Reimbursement                                                             –            $29,930              $250               $164                 –        $306            $30,649         0.1%
                                Escrow Deposit                                                                   –                  –                  –                  –                –            –                 –         0.0%




Filed 02/23/24
                                Account Close                                                                    –                  –                  –                  –                –            –                 –         0.0%
                                Other                                                                            –             $2,455               $495                  –                –            –            $2,950         0.0%
                            Intercompany Transfers                                                            $100                  –           $515,063         $3,647,051       $6,811,596     $473,045       $11,446,855        47.9%
                            Total Deposits                                                                $750,059         $8,479,802         $2,093,959         $4,824,318       $7,271,581     $473,351       $23,893,070       100.0%
                            Withdrawals
                            Returns to Subscribers                                                       ($40,347)         ($323,502)         ($943,935)       ($1,056,952)      ($2,043,067)   ($478,516)       ($4,886,320)      21.6%
                                Subscriber Interest Payments, Principal Payments, & Other                ($40,347)         ($323,502)         ($943,935)       ($1,056,952)      ($1,975,522)   ($478,516)      ($4,818,775)       21.3%
                                Subscriber Reallocation                                                          –                  –                  –                  –         ($67,500)            –          ($67,500)       0.3%
                                Wire Fees                                                                        –                  –                  –                  –             ($45)            –              ($45)       0.0%
                            Commission Payments                                                          ($31,500)         ($646,835)            ($4,000)         ($80,000)         ($53,600)             –        ($815,935)       3.6%
                            Real Estate Acquisition, Development, and Investment                                 –       ($1,227,835)         ($159,143)         ($432,449)        ($373,628)             –      ($2,193,055)       9.7%
                            Loan Repayment                                                                       –           ($77,537)      ($1,945,981)            ($7,500)                –             –     ($2,031,018)        9.0%
                            General, Operating, and Admin Expenses                                       ($26,500)       ($1,553,729)         ($212,132)         ($553,258)        ($615,577)             –     ($2,961,197)       13.1%




Entered 02/23/24 19:45:30
                            Money to Owner                                                                       –                   –        ($180,250)                   –                –             –        ($180,250)       0.8%
                            Intercompany Transfers                                                               –       ($1,988,488)         ($512,014)       ($2,211,459)      ($4,802,764)      ($1,000)     ($9,515,726)       42.1%
                            Total Withdrawals                                                            ($98,347)       ($5,817,927)       ($3,957,456)       ($4,341,618)      ($7,888,637)   ($479,516)     ($22,583,501)      100.0%
                            Sources:
                            [A] Accounting Seed Data for iCAP entity transactions: Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx.
                            [B] Declaration of Lance Miller in support of First Day Motion, In Re Icap Enterprises, INC., et al., Debtor, No. 23-01243-WLH11, October 3, 2023.

                            Note:




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                            [1] Please refer to Exhibit 1.2 for the descriptions of the line items.




                                                                                                                                                                                                              Exhibit 1, Page 69
                                                                                                                       Exhibit 4.5
                                                                                                      iCAP Pacific Income - Fund 5 Sources and Uses
                                                                                                                          2018.10.1 – 2023.9.30
                            Deposits                                                                    2018               2019               2020               2021            2022           2023              Total          % Total
                            Investments from Subscribers                                                         –        $1,646,732         $1,356,398               $563            $563         $1,688         $3,005,943        48.2%
                                Funds from Subscribers                                                           –        $1,646,732         $1,356,398                   –               –             –        $3,003,130         48.2%
                                Wire Fees                                                                        –                  –                  –                  –               –             –                  –         0.0%
                                Reinvestment of Investor Interest                                                –                  –                  –                  –               –             –                  –         0.0%




23-01243-WLH11
                                Reinvestment from Other iCAP Entities                                            –                  –                  –                  –               –             –                  –         0.0%
                                Subscriber Reallocation                                                          –                  –                  –                  –               –             –                  –         0.0%
                                Reinvestment of Commissions                                                      –                  –                  –                  –               –             –                  –         0.0%
                                Other                                                                            –                  –                  –              $563            $563         $1,688             $2,813         0.0%
                            Loans Obtained from Third Party Lenders                                              –                  –                  –                  –               –              –                 –         0.0%




Doc 469
                                Loan Related                                                                     –                  –                  –                  –               –             –                  –         0.0%
                                Draw Deposit                                                                     –                  –                  –                  –               –             –                  –         0.0%
                            Money Received from Business Operations                                              –                $16             $1,631             $4,623         $18,250          $758            $25,277         0.4%
                                Revenue: Rent & Project Payoff                                                   –                  –                  –                  –               –             –                  –         0.0%
                                Interest Credit                                                                  –                $16              $115                  $3              $1            $0               $135         0.0%
                                Refund/Reimbursement                                                             –                  –                  –            $4,620         $18,249           $758            $23,627         0.4%
                                Escrow Deposit                                                                   –                  –                  –                  –               –             –                  –         0.0%




Filed 02/23/24
                                Account Close                                                                    –                  –                  –                  –               –             –                  –         0.0%
                                Other                                                                            –                 $0             $1,516                  –               –             –             $1,516         0.0%
                            Intercompany Transfers                                                               –              $200                   –        $1,691,567        $346,946     $1,167,000         $3,205,713        51.4%
                            Total Deposits                                                                       –        $1,646,948         $1,358,029         $1,696,752        $365,759     $1,169,445         $6,236,933       100.0%
                            Withdrawals
                            Returns to Subscribers                                                                –         ($12,266)         ($274,639)         ($330,279)      ($327,789)       ($56,100)       ($1,001,074)      16.1%
                                Subscriber Interest Payments, Principal Payments, & Other                         –         ($12,266)         ($274,639)         ($330,279)      ($327,789)       ($56,100)      ($1,001,074)       16.1%
                                Subscriber Reallocation                                                           –                 –                  –                  –               –               –                 –        0.0%
                                Wire Fees                                                                         –                 –                  –                  –               –               –                 –        0.0%
                            Commission Payments                                                                   –                 –                  –                  –                –               –                 –       0.0%
                            Real Estate Acquisition, Development, and Investment                                  –                 –         ($216,000)                  –           ($307)          ($794)        ($217,101)       3.5%
                            Loan Repayment                                                                        –                 –                  –                  –               –               –                 –        0.0%
                            General, Operating, and Admin Expenses                                                –         ($30,040)         ($520,035)         ($149,289)        ($21,281)        ($2,000)        ($722,645)      11.6%




Entered 02/23/24 19:45:30
                            Money to Owner                                                                        –                 –                  –                  –                –               –                 –       0.0%
                            Intercompany Transfers                                                                –         ($59,151)       ($1,782,817)       ($1,287,277)        ($55,233)   ($1,110,000)      ($4,294,478)       68.9%
                            Total Withdrawals                                                                     –        ($101,458)       ($2,793,491)       ($1,766,846)      ($404,609)    ($1,168,895)       ($6,235,299)     100.0%
                            Sources:
                            [A] Accounting Seed Data for iCAP entity transactions: Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx.
                            [B] Declaration of Lance Miller in support of First Day Motion, In Re Icap Enterprises, INC., et al., Debtor, No. 23-01243-WLH11, October 3, 2023.

                            Note:




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                            [1] Please refer to Exhibit 1.2 for the descriptions of the line items.




                                                                                                                                                                                                               Exhibit 1, Page 70
                                                                                                                      Exhibit 4.6
                                                                                                           iCAP Funding, LLC Sources and Uses
                                                                                                                          2018.10.1 – 2023.9.30
                            Deposits                                                                    2018               2019               2020               2021             2022          2023            Total          % Total
                            Investments from Subscribers                                                         –                  –                  –         $9,136,650       $2,400,017             –     $11,536,667        92.8%
                                Funds from Subscribers                                                           –                  –                  –        $8,137,625       $1,799,983             –      $9,937,608         80.0%
                                Wire Fees                                                                        –                  –                  –                  –                –            –                –         0.0%
                                Reinvestment of Investor Interest                                                –                  –                  –                  –                –            –                –         0.0%




23-01243-WLH11
                                Reinvestment from Other iCAP Entities                                            –                  –                  –                  –                –            –                –         0.0%
                                Subscriber Reallocation                                                          –                  –                  –          $999,025         $600,034             –       $1,599,059        12.9%
                                Reinvestment of Commissions                                                      –                  –                  –                  –                –            –                –         0.0%
                                Other                                                                            –                  –                  –                  –                –            –                –         0.0%
                            Loans Obtained from Third Party Lenders                                              –                  –                  –                  –         $262,000             –        $262,000         2.1%




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                                Loan Related                                                                     –                  –                  –                  –        $262,000             –        $262,000          2.1%
                                Draw Deposit                                                                     –                  –                  –                  –                –            –                –         0.0%
                            Money Received from Business Operations                                              –                  –                  –                  –                 –            –               –         0.0%
                                Revenue: Rent & Project Payoff                                                   –                  –                  –                  –                –            –                –         0.0%
                                Interest Credit                                                                  –                  –                  –                  –                –            –                –         0.0%
                                Refund/Reimbursement                                                             –                  –                  –                  –                –            –                –         0.0%
                                Escrow Deposit                                                                   –                  –                  –                  –                –            –                –         0.0%




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                                Account Close                                                                    –                  –                  –                  –                –            –                –         0.0%
                                Other                                                                            –                  –                  –                  –                –            –                –         0.0%
                            Intercompany Transfers                                                               –                  –                  –                  –        $567,100       $62,000         $629,100         5.1%
                            Total Deposits                                                                       –                  –                  –           $9,136.6          $3,229.1        $62.0     $12,427,767       100.0%
                            Withdrawals
                            Returns to Subscribers                                                                –                 –                  –       ($3,743,385)      ($1,709,195)    ($63,122)      ($5,515,702)      44.4%
                                Subscriber Interest Payments, Principal Payments, & Other                         –                 –                  –       ($3,743,385)      ($1,709,195)    ($63,122)     ($5,515,702)       44.4%
                                Subscriber Reallocation                                                           –                 –                  –                  –                 –            –                –        0.0%
                                Wire Fees                                                                         –                 –                  –                  –                 –            –                –        0.0%
                            Commission Payments                                                                   –                 –                  –       ($1,199,749)        ($517,500)            –     ($1,717,249)       13.8%
                            Real Estate Acquisition, Development, and Investment                                  –                 –                  –                  –                 –            –                 –       0.0%
                            Loan Repayment                                                                        –                 –                  –                  –                 –            –                 –       0.0%
                            General, Operating, and Admin Expenses                                                –                 –                  –                  –            ($425)            –            ($425)       0.0%




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                            Money to Owner                                                                        –                 –                  –         ($250,000)        ($240,000)            –        ($490,000)       3.9%
                            Intercompany Transfers                                                                –                 –                  –       ($2,872,489)      ($1,831,563)            –     ($4,704,052)       37.9%
                            Total Withdrawals                                                                     –                 –                  –       ($8,065,623)      ($4,298,683)    ($63,122)    ($12,427,428)      100.0%
                            Sources:
                            [A] Accounting Seed Data for iCAP entity transactions: Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx.
                            [B] Declaration of Lance Miller in support of First Day Motion, In Re Icap Enterprises, INC., et al., Debtor, No. 23-01243-WLH11, October 3, 2023.

                            Note:




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                            [1] Please refer to Exhibit 1.2 for the descriptions of the line items.




                                                                                                                                                                                                             Exhibit 1, Page 71
                                                                                                                          Exhibit 4.7
                                                                                                               iCAP Investments Sources and Uses
                                                                                                                          2018.10.1 – 2023.9.30
                            Deposits                                                                    2018               2019               2020              2021               2022           2023             Total          % Total
                            Investments from Subscribers                                                          –          $325,000         $4,842,250        $6,125,000         $9,350,000              –      $20,642,250        54.0%
                                Funds from Subscribers                                                            –                 –        $4,633,500        $3,625,000         $1,150,000               –      $9,408,500         24.6%
                                Wire Fees                                                                         –                 –                  –                 –                  –              –                –         0.0%
                                Reinvestment of Investor Interest                                                 –                 –                  –                 –                  –              –                –         0.0%




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                                Reinvestment from Other iCAP Entities                                             –                 –                  –                 –                  –              –                –         0.0%
                                Subscriber Reallocation                                                           –           $70,000             $130.0        $2,500,000         $8,200,000              –      $10,900,000        28.5%
                                Reinvestment of Commissions                                                       –                 –            $78,750                 –                  –              –          $78,750         0.2%
                                Other                                                                             –         $255,000                   –                 –                  –              –         $255,000         0.7%
                            Loans Obtained from Third Party Lenders                                               –                 –           $709,847            $4,113                  –              –         $713,960         1.9%




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                                Loan Related                                                                      –                 –          $709,847             $4,113                  –              –         $713,960         1.9%
                                Draw Deposit                                                                      –                 –                  –                 –                  –              –                –         0.0%
                            Money Received from Business Operations                                             $90          $119,810           $168,284        $3,230,538           $740,817         $1,997       $4,261,534        11.1%
                                Revenue: Rent & Project Payoff                                                    –         $119,809           $165,468         $2,988,794                  –              –       $3,274,071         8.6%
                                Interest Credit                                                                   –                $0                $23               $38                $54             $0             $116         0.0%
                                Refund/Reimbursement                                                              –                 –             $2,793           $41,705          $740,663          $1,997        $787,157          2.1%
                                Escrow Deposit                                                                    –                 –                  –                 –                  –              –                –         0.0%




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                                Account Close                                                                     –                 –                  –                 –               $100              –             $100         0.0%
                                Other                                                                           $90                 –                  –          $200,000                  –              –         $200,090         0.5%
                            Intercompany Transfers                                                                –         $390,000           $675,000          $752,759         $9,254,911     $1,567,000       $12,639,670        33.0%
                            Total Deposits                                                                      $90          $834,810         $6,395,381       $10,112,409        $19,345,728     $1,568,997      $38,257,414       100.0%
                            Withdrawals
                            Returns to Subscribers                                                                –                 –         ($147,110)         ($920,830)       ($6,077,684)    ($375,133)       ($7,520,758)      19.7%
                                Subscriber Interest Payments, Principal Payments, & Other                         –                –          ($121,351)         ($828,637)       ($4,756,851)    ($375,133)      ($6,081,972)       15.9%
                                Subscriber Reallocation                                                           –                –           ($25,759)                          ($1,320,833)             –      ($1,438,786)        3.8%
                                Wire Fees                                                                         –                –                   –                 –                   –             –                 –        0.0%
                            Commission Payments                                                                   –                 –         ($152,851)         ($626,200)       ($1,119,486)             –       ($1,898,537)       5.0%
                            Real Estate Acquisition, Development, and Investment                                  –                 –            ($7,194)         ($15,725)         ($851,234)             –         ($874,153)       2.3%
                            Loan Repayment                                                                        –                 –                   –                 –                  –             –                 –        0.0%
                            General, Operating, and Admin Expenses                                                –          ($5,000)         ($432,494)         ($451,222)       ($1,038,418)                    ($2,027,571)        5.3%




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                            Money to Owner                                                                        –        ($829,000)       ($2,240,075)         ($440,275)         ($662,225)     ($200,150)     ($4,371,725)       11.4%
                            Intercompany Transfers                                                                –                 –       ($3,327,300)       ($7,732,497)       ($9,543,003)     ($895,000)    ($21,497,800)       56.3%
                            Total Withdrawals                                                                     –        ($834,000)       ($6,307,024)      ($10,186,748)      ($19,292,051)   ($1,570,721)    ($38,190,544)      100.0%
                            Sources:
                            [A] Accounting Seed Data for iCAP entity transactions: Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx.
                            [B] Declaration of Lance Miller in support of First Day Motion, In Re Icap Enterprises, INC., et al., Debtor, No. 23-01243-WLH11, October 3, 2023.

                            Note:




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                            [1] Please refer to Exhibit 1.2 for the descriptions of the line items.




                                                                                                                                                                                                                Exhibit 1, Page 72
                                                                                                                         Exhibit 4.8
                                                                                                                 iCAP Vault I Sources and Uses
                                                                                                                          2018.10.1 – 2023.9.30
                            Deposits                                                                    2018               2019               2020              2021                2022             2023               Total          % Total
                            Investments from Subscribers                                                  $364,543        $13,883,430         $8,026,157       $59,475,115         $89,441,285      $21,905,285       $193,095,814        92.5%
                                Funds from Subscribers                                                   $218,957        $12,895,472         $7,331,609       $53,782,871         $81,705,566      $21,342,217       $177,276,692         84.9%
                                Wire Fees                                                                        –                  –               $655            $1,625              $3,075           $1,285             $6,640         0.0%
                                Reinvestment of Investor Interest                                          $14,910            $36,319             $2,588        $1,446,572          $3,903,392        $511,058          $5,914,838         2.8%




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                                Reinvestment from Other iCAP Entities                                            –          $104,724           $384,877           $105,923                   –                –           $595,524         0.3%
                                Subscriber Reallocation                                                          –          $128,536             $92,279          $132,460          $1,052,000                –         $1,405,275         0.7%
                                Reinvestment of Commissions                                                $52,623          $637,258           $182,150         $1,922,749          $2,393,437          $43,000         $5,231,217         2.5%
                                Other                                                                      $78,054            $81,120            $32,000        $2,082,915            $383,815           $7,725         $2,665,629         1.3%
                            Loans Obtained from Third Party Lenders                                              –                  –                  –        $1,073,267          $1,600,000                –         $2,673,267         1.3%




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                                Loan Related                                                                     –                  –                  –        $1,073,267          $1,600,000                –         $2,673,267         1.3%
                                Draw Deposit                                                                     –                  –                  –                 –                   –                –                  –         0.0%
                            Money Received from Business Operations                                              –             $5,734             $2,646           $32,345             $63,920         $128,712           $233,357         0.1%
                                Revenue: Rent & Project Payoff                                                   –                  –                  –           $26,805             $13,302                –            $40,108         0.0%
                                Interest Credit                                                                  –                $11                $72              $479                $469              $17             $1,048         0.0%
                                Refund/Reimbursement                                                             –                  –             $2,572            $2,782             $50,142            $786             $56,282         0.0%
                                Escrow Deposit                                                                   –                  –                  –                 –                   –                –                  –         0.0%




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                                Account Close                                                                    –                  –                  –                 –                   –                –                  –         0.0%
                                Other                                                                            –             $5,723                 $2            $2,279                  $7        $127,909            $135,920         0.1%
                            Intercompany Transfers                                                          $5,125                  –         $1,157,058          $170,400         $10,935,204         $441,400        $12,709,186         6.1%
                            Total Deposits                                                                $369,668        $13,889,164         $9,185,860       $60,751,128        $102,040,409      $22,475,397       $208,711,625       100.0%
                            Withdrawals
                            Returns to Subscribers                                                       ($41,000)      ($13,270,994)       ($6,696,467)     ($34,180,537)        ($69,868,262)    ($18,210,986)     ($142,268,245)       69.7%
                                Subscriber Interest Payments, Principal Payments, & Other                ($41,000)      ($12,792,457)       ($5,744,939)     ($29,399,591)        ($58,795,555)    ($18,209,701)    ($124,983,242)        61.2%
                                Subscriber Reallocation                                                          –         ($478,536)         ($950,793)      ($4,780,096)        ($14,032,877)                 –     ($20,242,302)        9.9%
                                Wire Fees                                                                        –                  –             ($735)             ($850)             ($2,590)         ($1,285)           ($5,460)       0.0%
                            Commission Payments                                                                  –                  –                  –                  –                    –        ($21,500)          ($21,500)       0.0%
                            Real Estate Acquisition, Development, and Investment                                 –                  –                  –       ($6,698,202)         ($9,749,031)                –     ($16,447,234)        8.1%
                            Loan Repayment                                                                       –                  –                  –                  –           ($500,000)                –         ($500,000)       0.2%
                            General, Operating, and Admin Expenses                                               –         ($106,280)       ($1,060,821)       ($3,101,150)           ($861,500)       ($133,247)       ($5,262,999)       2.6%




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                            Money to Owner                                                                       –                  –                  –                  –                    –        ($59,590)          ($59,590)       0.0%
                            Intercompany Transfers                                                               –                  –       ($1,286,620)       ($7,000,042)       ($26,406,427)      ($4,907,706)     ($39,600,795)       19.4%
                            Total Withdrawals                                                            ($41,000)      ($13,377,273)       ($9,043,908)     ($50,979,931)       ($107,385,220)    ($23,333,029)     ($204,160,363)      100.0%
                            Sources:
                            [A] Accounting Seed Data for iCAP entity transactions: Consolidated Funds Cash Detail - 10.1.18-9.30.23.xlsx.
                            [B] Declaration of Lance Miller in support of First Day Motion, In Re Icap Enterprises, INC., et al., Debtor, No. 23-01243-WLH11, October 3, 2023.

                            Note:




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                            [1] Please refer to Exhibit 1.2 for the descriptions of the line items.




                                                                                                                                                                                                                    Exhibit 1, Page 73
                                                                                       Exhibit 5.1
                                                 Amortization Schedule For iCAP Pacific Northwest Opportunity and Income Fund (Fund 1)

                                    Initial Gross Investment per PPM            Less Fees (13%)              Net Amount to Invest          Annual Rate of Return Required
                                                     $30,000,000                        ($3,900,000)                 $26,100,000                               17.61%

                                    Monthly Interest Payment @12%
                                        Simple Annual Interest         Required Monthly Investment Returns   Net Monthly Returns               Net Investment Balance




23-01243-WLH11
                            Month                 [A]                                 [B]                        [C]=[B]-[A]                             [D]
                                                                     –                                   –                             –                         $26,100,000
                            1                               ($300,000)                           $383,001                       $83,001                          $26,183,001
                            2                               ($300,000)                           $384,219                       $84,219                          $26,267,220




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                            3                               ($300,000)                           $385,455                       $85,455                          $26,352,675
                            4                               ($300,000)                           $386,709                       $86,709                          $26,439,384
                            5                               ($300,000)                           $387,981                       $87,981                          $26,527,365
                            6                               ($300,000)                           $389,272                       $89,272                          $26,616,637
                            7                               ($300,000)                           $390,582                       $90,582                          $26,707,219
                            8                               ($300,000)                           $391,912                       $91,912                          $26,799,131
                            9                               ($300,000)                           $393,260                       $93,260                          $26,892,391
                            10                              ($300,000)                           $394,629                       $94,629                          $26,987,020




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                            11                              ($300,000)                           $396,017                       $96,017                          $27,083,038
                            12                              ($300,000)                           $397,426                       $97,426                          $27,180,464
                            13                              ($300,000)                           $398,856                       $98,856                          $27,279,320
                            14                              ($300,000)                           $400,307                      $100,307                          $27,379,627
                            15                              ($300,000)                           $401,779                      $101,779                          $27,481,406
                            16                              ($300,000)                           $403,272                      $103,272                          $27,584,678
                            17                              ($300,000)                           $404,788                      $104,788                          $27,689,466
                            18                              ($300,000)                           $406,325                      $106,325                          $27,795,791
                            19                              ($300,000)                           $407,886                      $107,886                          $27,903,677
                            20                              ($300,000)                           $409,469                      $109,469                          $28,013,145
                            21                              ($300,000)                           $411,075                      $111,075                          $28,124,221
                            22                              ($300,000)                           $412,705                      $112,705                          $28,236,926
                            23                              ($300,000)                           $414,359                      $114,359                          $28,351,285




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                            24                              ($300,000)                           $416,037                      $116,037                          $28,467,322
                            25                              ($300,000)                           $417,740                      $117,740                          $28,585,062
                            26                              ($300,000)                           $419,468                      $119,468                          $28,704,530
                            27                              ($300,000)                           $421,221                      $121,221                          $28,825,750
                            28                              ($300,000)                           $423,000                      $123,000                          $28,948,750
                            29                              ($300,000)                           $424,805                      $124,805                          $29,073,555
                            30                              ($300,000)                           $426,636                      $126,636                          $29,200,191




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                            31                              ($300,000)                           $428,494                      $128,494                          $29,328,685




                                                                                                                                                        Exhibit 1, Page 74
                                                                                                Exhibit 5.1
                                                          Amortization Schedule For iCAP Pacific Northwest Opportunity and Income Fund (Fund 1)

                                         Initial Gross Investment per PPM                         Less Fees (13%)                             Net Amount to Invest                   Annual Rate of Return Required
                                                          $30,000,000                                     ($3,900,000)                                $26,100,000                                        17.61%

                                         Monthly Interest Payment @12%
                                             Simple Annual Interest         Required Monthly Investment Returns                               Net Monthly Returns                          Net Investment Balance




23-01243-WLH11
                            Month                      [A]                                 [B]                                                    [C]=[B]-[A]                                        [D]
                            32                                   ($300,000)                           $430,380                                                  $130,380                                     $29,459,065
                            33                                   ($300,000)                           $432,293                                                  $132,293                                     $29,591,358
                            34                                   ($300,000)                           $434,234                                                  $134,234                                     $29,725,593




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                            35                                   ($300,000)                           $436,204                                                  $136,204                                     $29,861,797
                            36                                   ($300,000)                           $438,203                                                  $138,203                                     $30,000,000

                            Source:
                            [A] iCAP Pacific Northwest Opportunity and Income Fund PPM.
                            Notes:
                            [1] Investors are entitled to receive 12% per annum simple interest rate on their investment, paid monthly. Monthly interest payments are calculated as (12%÷12) × $30,000,000.
                            [2] Required monthly returns are the monthly returns required to service the monthly interest payments as well as to generate enough returns to pay back the initial principal amount borrowed from




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                            the investors in 36 months. Total loan term is calcualated as the number of months between December 19, 2013, the date of the PPM, and December 31, 2016, the date on which the debetentures in
                            this offering matured. An annual return rate of 17.61% is required to generate enough returns each month to service the monthly interest payments as well as to generate enough returns to pay back
                            initial principal amount borrowed. Required Monthly Investment Returns is calculated as (17.61% ÷ 12) × Ending Invested Balance as of the prior month.
                            [3] Net monthly returns are calculated by subtracting monthly interest payments from the total monthly returns generated on the net principal balance invested.
                            [4] The Net Investment Balance is calculated as the previous month's balance less the monthly interest payment plus the monthly returns. The calculation assumes that both interest payments and
                            returns start the month after the Fund 1 PPM issuance. The calculation ignores the Fund Level Management Fee, equal to 2.0% of the outstanding aggregate principal balance each year, and an up to
                            3% origination fee on every investment made. Including the management fees and origination fees would increase the required rate of return.




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                                                                                                                                                                                                       Exhibit 1, Page 75
                                                                                       Exhibit 5.2
                                                        Amortization Schedule For iCAP Pacific Northwest Opportunity Fund (Fund 2)
                                    Intital Gross Investment per PPM           Less Fees (13.67%)            Net Amount to Invest            Rate of Return Required
                                                       $30,000,000                         ($4,101,000)                $25,899,000                             16.36%

                                    Monthly Interest Payment @10%
                                        Annual Simple Interest         Required Monthly Investment Returns   Net Monthly Returns             Net Investment Balance




23-01243-WLH11
                            Month                 [A]                                 [B]                        [C]=[B]-[A]                           [D]
                                                                     –                                   –                             – $                      25,899,000
                            1                               ($250,000)                           $353,086                      $103,086                        $26,002,086
                            2                               ($250,000)                           $354,491                      $104,491                        $26,106,577
                            3                               ($250,000)                           $355,916                      $105,916                        $26,212,492




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                            4                               ($250,000)                           $357,360                      $107,360                        $26,319,852
                            5                               ($250,000)                           $358,823                      $108,823                        $26,428,675
                            6                               ($250,000)                           $360,307                      $110,307                        $26,538,982
                            7                               ($250,000)                           $361,811                      $111,811                        $26,650,792
                            8                               ($250,000)                           $363,335                      $113,335                        $26,764,127
                            9                               ($250,000)                           $364,880                      $114,880                        $26,879,007
                            10                              ($250,000)                           $366,446                      $116,446                        $26,995,453




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                            11                              ($250,000)                           $368,034                      $118,034                        $27,113,487
                            12                              ($250,000)                           $369,643                      $119,643                        $27,233,130
                            13                              ($250,000)                           $371,274                      $121,274                        $27,354,404
                            14                              ($250,000)                           $372,927                      $122,927                        $27,477,332
                            15                              ($250,000)                           $374,603                      $124,603                        $27,601,935
                            16                              ($250,000)                           $376,302                      $126,302                        $27,728,237
                            17                              ($250,000)                           $378,024                      $128,024                        $27,856,261
                            18                              ($250,000)                           $379,769                      $129,769                        $27,986,030
                            19                              ($250,000)                           $381,538                      $131,538                        $28,117,569
                            20                              ($250,000)                           $383,332                      $133,332                        $28,250,900
                            21                              ($250,000)                           $385,149                      $135,149                        $28,386,050
                            22                              ($250,000)                           $386,992                      $136,992                        $28,523,042




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                            23                              ($250,000)                           $388,860                      $138,860                        $28,661,902
                            24                              ($250,000)                           $390,753                      $140,753                        $28,802,654
                            25                              ($250,000)                           $392,672                      $142,672                        $28,945,326
                            26                              ($250,000)                           $394,617                      $144,617                        $29,089,943
                            27                              ($250,000)                           $396,588                      $146,588                        $29,236,531
                            28                              ($250,000)                           $398,587                      $148,587                        $29,385,118
                            29                              ($250,000)                           $400,612                      $150,612                        $29,535,730




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                            30                              ($250,000)                           $402,666                      $152,666                        $29,688,396




                                                                                                                                                       Exhibit 1, Page 76
                                                                                                  Exhibit 5.2
                                                                   Amortization Schedule For iCAP Pacific Northwest Opportunity Fund (Fund 2)
                                         Intital Gross Investment per PPM                        Less Fees (13.67%)                            Net Amount to Invest                         Rate of Return Required
                                                            $30,000,000                                      ($4,101,000)                                $25,899,000                                          16.36%

                                         Monthly Interest Payment @10%
                                             Annual Simple Interest         Required Monthly Investment Returns                                Net Monthly Returns                           Net Investment Balance




23-01243-WLH11
                            Month                      [A]                                 [B]                                                     [C]=[B]-[A]                                         [D]
                            31                                   ($250,000)                           $404,747                                                   $154,747                                      $29,843,143
                            32                                   ($250,000)                           $406,857                                                   $156,857                                      $30,000,000

                            Source:




Doc 469
                            [A] iCAP Pacific Northwest Opportunity and Income Fund PPM.
                            Notes:
                            [A] Investors are entitled to receive 10% per annum simple interest rate on their investment, per month. Monthly interest payments are calculated as (10% ÷ 12) × $30,000,000.
                            [B] Required monthly returns are the monthly returns required to service the monthly interest payments as well as to generate enough returns to pay back the initial principal amount borrowed from
                            the investors in 32 months. Total loan term is calcualated as the number of months between April 15, 2015, the date of the PPM, and December 31, 2017, the date on which the debentures in this
                            offering matured. An annual return rate of 16.36% is required to generate enough returns each month to service the monthly interest payments as well as to generate enough returns to pay back initial
                            principal amount borrowed. Required Monthly Investment Returns is calculated as (16.36% ÷ 12) × Ending Invested Balance as of the prior month.




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                            [C] Net monthly returns are calculated by subtracting monthly interest payments from the total monthly returns generated on the net principal balance invested.
                            [D] The Net Investment Balance is calculated as the previous month's balance less the monthly interest payment plus the monthly returns. The calculation assumes that both interest payments and
                            returns start the month after the Fund 2 PPM issuance. The calculation ignores the Fund Level Management Fee, equal to 1.85% of the outstanding aggregate principal balance each year, and an
                            origination fee of up to 3% of each investment made. Including the management fees and origination fees would increase the required rate of return.




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                                                                                                                                                                                                         Exhibit 1, Page 77
                                                                                                                     Exhibit 6
                                                                                                   Summary of Distributions to Subscribers by Fund
                                                                                                                         As of Feburary 20, 2024

                                                                                                                                                                                     Total Distribution to           Distributions in Excess of
                            Fund                                        Range of Investment Date            Number of Subscriptions               Investment Amount                      Subscribers                (or Less Than) Investments1
                            iCAP Fund 1                                                  2014-2020                                 470                        $46,922,364                          $52,738,879                                12%
                               Stayed in Fund 1                                          2014-2020                                408                         $42,752,159                          $49,214,420                                15%




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                               Transferred to Fund 3 2                                   2014-2020                                  62                         $4,170,205                            $4,279,349                                3%
                            iCAP Fund 2                                                  2015-2022                                 646                        $48,551,746                          $32,908,177                               -32%
                               Stayed in Fund 2                                          2015-2022                                456                         $34,699,699                          $25,388,493                               -27%
                               Transferred To Fund 3 2                                   2015-2020                                190                         $13,852,047                          $10,121,773                               -27%
                            Fund 3-iCAP Equity                                           2020-2023                                 863




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                               Started and Stayed in Fund 3 3                            2017-2023                                647                            $17,688,282                        $10,345,393                                -42%
                            iCAP Fund 4                                                  2018-2021                                  49                           $12,325,446                        $11,361,291                                 -8%
                            iCAP Fund 5                                                  2019-2021                                  51                            $3,552,518                         $1,024,759                                -71%
                            iCAP Vault 1 Fund                                                  N/A                                 234                          $237,781,135                       $206,822,907                                -13%
                            iCAP Investments                                             2020-2022                                  56                           $26,888,690                         $9,502,934                                -65%
                            iCAP Funding                                                 2021-2022                                  40                           $11,649,512                         $2,212,109                                -81%
                            Source:
                            [A] Investor Tracker for iCAP Fund 1, Fund 2, Fund 3, Fund 4, Fund 5, Vault, Investments, and Funding.




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                            Notes:
                            [1] Distributions in Excess of (or Less Than) Investments is calculated as (principal repayment + interest repayment) / total investment amount - 1.
                            [2] Certain subscribers in Fund 1 and 2 had investments rolled over to Fund 3. For the rolled over investments, the investors continued to receive interest payment in Fund 3 after the invesments were transferred. The
                            calculations include a cumulative return from cross-funds, from Fund 1 to Fund 3 and Fund 2 to Fund 3, in which a subcriber has invested. Proration methodology (Interest Amount * O/S Balance of Fund 1 or 2 / O/S
                            Balance of Fund 3) is applied when the outstanding balance does not match across funds.
                            [3] Started and Stayed in Fund 3 are the subscriptions not rolled over from Fund 1 and Fund 2.




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 1    Dakota Pearce (WSBA #57011)                                    HONORABLE WHITMAN L. HOLT
      BUCHALTER
 2    1420 5th Avenue, Suite 3100                                    HEARING DATE: October 4, 2023
      Seattle, Washington 98101
 3    Telephone: (206) 319-7052                                      HEARING TIME: 2:00 p.m. PST
      Email: dpearce@buchalter.com                                   RESPONSE DUE: At Hearing
 4                                                                   LOCATION: TELEPHONIC
      Bernard D. Bollinger, Jr. (pro hac vice
 5    pending) (CA SBN: 132817)
      Julian I. Gurule (pro hac vice pending)
 6    (CA SBN: 251260)
      Khaled Tarazi (pro hac vice pending)
 7    (AZ SBN: 032446)
      BUCHALTER
 8    1000 Wilshire Blvd., Suite 1500
      Los Angeles, California 90017
 9    Telephone: (213) 891-0700
      Email: jgurule@buchalter.com
10
      Proposed Counsel to Debtors and
11    Debtors in Possession
12                                UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF WASHINGTON
13
     In re:                                                         Chapter 11
14
     ICAP ENTERPRISES, INC., et al.,                                Lead Case No. 23-01243-WLH11
15                                                                  Jointly Administered
                                                Debtor.1
16
                                                                    DECLARATION OF LANCE
17                                                                  MILLER IN SUPPORT OF FIRST
                                                                    DAY MOTIONS
18
19
20
21   1
       The Debtors (along with their case numbers) are iCap Enterprises, Inc. (23-01243-11); iCap Pacific NW Management, LLC (23-
     01261-11); iCap Vault Management, LLC (23-01258-11); iCap Vault, LLC (23-01256-11); iCap Vault 1, LLC (23-01257-11); Vault
22   Holding 1, LLC (23-01256-11); iCap Investments, LLC (23-01255-11); iCap Pacific Northwest Opportunity and Income Fund, LLC
     (23-01253-11); iCap Equity, LLC (23-01247-11); iCap Pacific Income 4 Fund, LLC (23-01251-11); iCap Pacific Income 5 Fund, LLC
23   (23-01249-11); iCap Northwest Opportunity Fund, LLC (23-01253-11); 725 Broadway, LLC (23-01245-11); Senza Kenmore, LLC (23-
     01254-11); iCap Campbell Way, LLC (23-01250-11); UW 17th Ave, LLC (23-01267-11); iCap Broadway, LLC (23-01252-11); VH
24   1121 14th LLC (23-01264-11); VH Senior Care LLC (23-01266-11); VH Willows Townhomes LLC (23-01262-11); iCap @ UW, LLC
     (23-01244-11); VH 2nd Street Office, LLC (23-01259-11); VH Pioneer Village LLC (23-01263-11); iCap Funding LLC (23-01246-
25   11); iCap Management LLC (23-01268-11); iCap Realty, LLC (23-01260-11) ; Vault Holding, LLC (23-01270-11); iCap Pacific
     Development LLC (23-01271-11); iCap Holding LLC (23-01272-11); iCap Holding 5 LLC (23-01273-11); and iCap Holding 6 LLC
26   (23-01274-11).



      DECLARATION OF LANCE MILLER IN SUPPORT OF FIRST                                                BUCHALTER
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 1           I, Lance Miller, declare under penalty of perjury that the following is true and
 2   correct to the best of my knowledge, information, and belief.
 3           1.       I am the Chief Restructuring Officer and Manager, as applicable, of the
 4   above-captioned debtors and debtors in possession (together, the “Debtors”). I am
 5   generally familiar with the Debtors’ business and financial affairs, and books and
 6   records. I am above 18 years of age and I am competent to testify.
 7           2.       I am a Partner at Paladin Management Group (“Paladin”), a financial
 8   advisory firm with an office located at 633 West 5th Street, 28th Floor, Los Angeles,
 9   California, 90071. Paladin provides a broad range of corporate advisory services to its
10   clients including, without limitation, restructuring, strategic and transaction advisory,
11   and strategic communications services. As a partner at Paladin, I have extensive
12   experience in the reorganization and restructuring of troubled companies, both out-of-
13   court and in chapter 11 proceedings. My experience includes representations in the
14   following matters, among other things: In re PP Group, LLC, Case No. 20-10910
15   (Bankr. D. Del.); In re Easterday Ranches, Inc., Case No. 21-00141 (Bankr. E.D.
16   Wash.); In re MD America Energy, LLC, Case No. 20-34966 (Bankr. S.D. Tex.); In re
17   Yogaworks, Inc., Case No. 20-12599 (Bankr. D. Del.); In re Chesapeake Energy Corp.,
18   Case No. 20-32333 (Bankr. S.D. Tex.); In re Lear Capital, Inc., Case No. 22-10165
19   (Bankr. D. Del.); In re CalPlant I Holdco, LLC, Case No. 21-11302 (Bankr. D. Del.).
20   Prior to joining Paladin, I was the general counsel and chief restructuring officer at
21   Sugarfina, Inc., and general counsel at American Apparel, Inc. I earned a B.A. degree
22   from the University of California, San Diego, and a juris doctor degree from Boston
23   University School of Law. I have approximately 18 years of experience as an advisor
24   and investor in corporate restructurings and distressed situations. I have advised
25   companies, creditors, shareholders, and other stakeholders regarding restructurings and
26   recapitalizations, chapter 11 reorganizations, and mergers and acquisitions.

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 1           3.       I am authorized to submit this declaration on behalf of the Debtors. Except
 2   as otherwise indicated, all facts set forth in this declaration are based upon my personal
 3   knowledge of the Debtors’ operations and finances, information learned from my
 4   review of relevant documents, and information I have received from the Debtors’
 5   advisors. If I were called upon to testify, I could and would testify competently to the
 6   facts set forth herein on that basis.
 7           4.       This Declaration is divided into three sections. Section I provides an
 8   introduction, a brief overview of the Debtors’ business operations, and a discussion of
 9   the Debtors’ capital structure. Section II contains a discussion of the events giving rise
10   to these cases. Finally, Section III provides the factual and evidentiary basis for the
11   emergency and other relief that the Debtors have requested from the Court pursuant to
12   the First Day Motions.
13                                            SECTION I
14                                            Background
15           5.       The Debtors were founded beginning in 2007 by Chris Christensen
16   (“Christensen”) to invest in real estate opportunities in the Pacific Northwest.
17   Beginning in 2014, the Debtors grew quickly, raising more than $245 million in capital
18   and deploying those funds toward real estate investments. By early 2023, the Debtors
19   employed more than 35 employees in its headquarters based in Bellevue, Washington.
20           6.       On September 28, 2023, Christensen resigned all positions at the Debtors
21   and I was appointed Chief Restructuring Officer and Manager, as applicable, with full
22   and exclusive control and authority over the Debtors and the prosecution of these
23   chapter 11 cases (the “Chapter 11 Cases”).
24           Business Divisions and Organization
25           7.       The Debtors invested in two categories of real estate, across two divisions
26   of operations known as the “Portfolio Business” and the “Vault Business.”

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 1            8.       The Portfolio Business is the oldest of the Debtors’ business lines. It
 2   operates under Debtor iCap Equity, LLC and various subsidiaries. The Portfolio
 3   Business focused on development opportunities for multifamily real estate projects. In
 4   some cases, these projects started with raw and unentitled land, and in other cases the
 5   projects began with building permits in place or the improvement of existing structures.
 6            9.       The Vault Business was started in 2018 for the purpose of investing in
 7   standalone real estate investments that have the potential to be or already were cash
 8   flow positive. The Vault Business operates under Debtor iCap Vault, LLC and various
 9   subsidiaries. Among these subsidiaries, iCap Vault 1, LLC (“Vault 1”), is registered
10   with the U.S. Securities and Exchange Commission and issued publicly registered, non-
11   traded debt under CIK # 1800199.
12            10.      Both Businesses exist under iCap Enterprises, Inc. (“Enterprises”) in the
13   Debtors’ corporate structure. Properties within both Businesses are held by single
14   purpose entities (the “SPE Debtors”). The Debtors’ organizational structure is reflected
15   in Exhibit A attached hereto.
16            11.      Enterprises maintained the Debtors’ headquarters and retained the majority
17   of the Debtors’ employees.
18            Real Estate Assets
19            12.      On the Petition Date, 2 the Debtors owned or controlled the real estate
20   properties set forth in the table below, spread across both Businesses. Many of these
21   properties are subject to mortgages or other first deeds of trust. The table reflects the
22   Debtors’ property assets,3 and estimated third-party, first-position mortgage balances:
23
24   2
       Twenty-six of the Debtors filed their chapter 11 bankruptcy petitions on September 29, 2023. An additional five of the
     Debtors filed their petitions on September 30, 2023. “Petition Date” as used herein refers to either of the petition dates, as
25   applicable.
     3
       The Debtor entities marked with * are non-Debtor entities that are controlled by the Debtors. The Mortgage Lender
26   marked with ^ is the Debtors’ proposed DIP lender. These liens were granted to the DIP lender in connection with a


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 1                                                                                      Appx. 1st
                                                                                        Position
 2                                                                                      Mortgage          Mortgage
      Debtor Owner                           Address                   City/State        Debt             Lender
 3
      725 Broadway, LLC                      715-775 Broadway          Tacoma,             $500,000       Serene
 4                                                                     WA                                 Investment
                                                                                                          Management^
 5
      CS2 Real Estate Development,           18416 Bothell             Bothell,          $8,870,000       Broadmark –
 6    LLC*                                   Everett Hwy               WA                                 Ready Capital

 7    iCap Campbell Way LLC                  1231 Campbell Way         Bremerton,          $500,000       Serene
                                                                       WA                                 Investment
 8                                                                                                        Management^

 9    Lofts @ Camas Meadows                  4525 NW Camas             Camas,              $650,000       Alera
      Phase I, LLC* and Lofts @              Meadows Dr.               WA
10    Camas Meadows Phase II,
      LLC*
11
      Senza Kenmore, LLC                     15550 84th Ave SE         Kenmore,             N/A           N/A
12                                                                     WA
13    UW 17th Ave, LLC                       4740 17th Ave NE          Seattle,             N/A           N/A
                                                                       WA
14
15    VH 1121 14th LLC                       1117 A 14th Ave.          Seattle,          $3,000,000       Lima One
                                             1117 B 14th Ave.          WA                                 Capital, LLC
16                                           1119 A 14th Ave.
                                             1119 B 14th Ave.
17                                           1121 14th Ave.
18
      VH 2nd Street Office LLC               2818 E. 2nd St.           Vancouver,        $3,000,000       Socotra REIT 1,
19                                                                     WA                                 LLC

20    VH Pioneer Village LLC                 4318 S. Settler Dr.       Ridgefield,       $2,000,000       Tritalent
                                                                       WA                                 Funding Group,
21                                                                                                        Inc.

22    VH Senior Care LLC                     302 SE 146th St.          Burien,             $612,800       Redmond
                                                                       WA                                 Funding Group
23
      VH Senior Care LLC                     1226 160th St. SW         Lynwood,          $1,041,400       Redmond
24                                                                     WA                                 Funding Group

25
26   prepetition bridge loan, which the Debtors are proposing to roll up as part of their DIP financing motion.


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 1                                                                      Appx. 1st
                                                                        Position
 2                                                                      Mortgage        Mortgage
      Debtor Owner                    Address              City/State    Debt           Lender
 3
      VH Willows Townhomes LLC        4906 A, Willow St.   Seattle,     $1,492,500      Lima One
 4                                                         WA                           Capital, LLC
                                      4910 B Willow St.
 5
                                      4912 B Willow St.
 6
      VH Willows Townhomes LLC        4918 C Willow St.    Seattle,      $336,235       Lima One
 7                                                         WA                           Capital, LLC

 8
             13.       As referenced above, the Debtors hold ownership or other interests in other
 9
     projects, along with other investors. For example, the Debtors hold a 15% interest in a
10
     non-Debtor entity named CS2 Real Estate Development LLC (“CS2”), which, in turn,
11
     owns real property currently under development in Bothell, Washington. Under the
12
     operating agreement for this project, whereas the Debtors only own 15% of the
13
     ownership in CS2, the Debtors serve as the entity’s Manager and are entitled to a larger
14
     portion of property proceeds following a sale. Similarly, the Debtors own the Class B
15
     membership interests and serve as Manager in Senza Kenmore, LLC, which, in turn,
16
     owns real property currently under development in Kenmore, Washington.
17
                      The Debtors’ Bank Accounts and Cash Management System
18
             14.       The Debtors maintain bank accounts at Umpqua Bank and Axos Bank.
19
     The Debtors historically used the bank accounts at Umpqua Bank to conduct their
20
     business in the ordinary course. In early September, the Debtors opened the bank
21
     accounts at Axos Bank. The Debtors understand that Axos Bank is on the United States
22
     Trustee’s list of approved depository institutions. As of the Petition Date, the Debtors
23
     intend to utilize the new Axos Bank accounts to process postpetition payments and
24
     otherwise abide by the US Trustee’s Guidelines with respect to their bank accounts and,
25
     accordingly, do not currently intend to seek any “first day” cash management relief.
26

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 1   A.      The Debtors’ Capital Structure
 2           15.      The Debtors funded their operations with a combination of cash flow from
 3   business operations and funded indebtedness.
 4           Property-Level Secured Obligations
 5           16.      Various of the SPE Debtors and their real estate properties are subject to
 6   deeds of trust for mortgages and other secured debt arising from the acquisition,
 7   development, and/or ownership of real property. These obligations are generally owed
 8   by the SPE Debtor that owns the property at issue.
 9           Portfolio Notes
10           17.      The Debtors raised debt financing in connection with the Portfolio
11   Business through private placements of debentures and promissory notes issued by
12   various Debtors (the “Portfolio Notes”). The Portfolio Notes provided for interest rates
13   ranging from 6% to 15% per annum. Portfolio Notes were not issued by the SPE
14   Debtors (which owned the Portfolio real estate assets), but instead were issued by
15   Debtor entities that owned equity, directly or indirectly, in the SPE Debtors. The table
16   below reflects the original issuance amounts of the Portfolio Notes, along with their
17   balances as of the Petition Date according to the Debtors’ books and records.4
                                                                         Original Issued Oustanding Principal
18
              Issuing Debtor                                                Amount          And Interest
19            iCap @ UW, LLC                                             $ 5,930,000 $            6,275,917
              iCap Broadway, LLC                                              5,760,074           6,184,415
20            iCap Equity, LLC                                              61,168,000           65,420,586
              iCap Funding, LLC                                             11,688,245           13,931,419
21            iCap Investments, LLC                                         23,357,759           23,384,392
22            iCap Northwest Opportunity Fund, LLC                          47,776,000           34,299,310
              iCap Pacific Income Fund 4, LLC                               12,341,146            4,825,609
23            iCap Pacific Income Fund 5, LLC                                 3,628,000           3,817,963
              iCap Pacific Northwest Opportunity & Income Fund, LLC         45,361,000           34,690,015
24            iCap 134th Street LLC                                           1,250,000                  -
              Total Portfolio                                            $ 218,260,224 $       192,829,625
25
     4
      The Company’s books and records are subject to ongoing review and assessment. Amounts listed herein with respect to
26   claims or debt may differ from final or confirmed results.


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 1           Vault Notes
 2           18.      The Vault Business financed its operations through the issuance of both
 3   private placement notes and public demand notes.
 4           19.      Private Placement Notes. Beginning in July 2018, Vault 1 commenced a
 5   private placement of up to $500 million of Private Placement Notes (the “Vault Notes”).
 6   Approximately $2.0 million of the Vault Notes are held by a joint venture owned and
 7   controlled by Christensen. The Vault Notes were secured by assets of Vault 1 through
 8   a Pledge and Security Agreement, including its equity interests in subsidiaries and
 9   certain SPE Debtors. The Vault Notes were also guaranteed by Vault Holding, LLC
10   through a Guaranty Agreement.
11           20.      Vault Public Demand Notes. Pursuant to an Indenture dated September
12   18, 2020, Vault 1 authorized up to $500 million in Variable Denomination Floating
13   Rate Demand Notes (the “Vault Debentures”). American Stock Transfer & Trust
14   Company, LLC, serves as the Trustee for the Vault Debentures. The Vault Debentures
15   accrue interest at a floating rate per annum equal to the Average Savings Account Rate
16   as posted by the FDIC plus 2.00%, reset quarterly.           The Vault Debentures are
17   guaranteed by Debtor Vault Holding 1, LLC (“Holding 1”), and pursuant to a Pledge
18   and Security Agreement dated September 18, 2020, the Vault Debentures were
19   purportedly secured by a pledge of the ownership interests in Holding 1. Pursuant to
20   the Indenture, the Vault Debentures are subordinate to right of payment with respect to
21   third party credit facilities.
22           21.      As of the Petition Date and according to the Debtors’ books and records,
23   the total amount of Vault Notes and Vault Debentures totaled approximately $36.2
24   million.
25   ///
26   ///

      DECLARATION OF LANCE MILLER IN SUPPORT OF FIRST                      BUCHALTER
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 1           The Debtors’ Capital Raising Efforts from Individual Investors
 2           22.      Based upon the Debtors books and records, as of the Petition Date, I
 3   understand that the Debtors’ note obligations are held by approximately 1,800
 4   individual investors. The Debtors’ prepetition fundraising efforts relied substantially
 5   on raising debt capital from individual investors both within and outside of the United
 6   States, including China, Taiwan, the United Kingdom, and the British Virgin Islands.
 7   All of the Debtors’ top 30 creditors are investors, with claims ranging from $730,000
 8   to $10.5 million.
 9           23.      Importantly, since the Debtors’ retention of Paladin, the Debtors have not
10   offered for sale, issued, or sold any securities to individual investors.
11           Intercompany Obligations
12           24.      In the ordinary course of business, the Debtors advanced funds to each
13   other. Some of those advances were recorded as loans in the Debtors’ books and
14   records, and others were formally documented as loan agreements. The Debtors are in
15   the process of investigating these transfers to confirm their extent, appropriate
16   treatment, and priority.
17           Equity Ownership
18           25.      Enterprises is the ultimate parent for all of the Debtors other than iCap
19   Investments, LLC (“Investments”). Christensen is the sole shareholder/member of both
20   of those Debtors. On September 28, 2023, Christensen resigned all positions at the
21   Debtors and I was appointed as the sole member of the Board of Directors and Chief
22   Restructuring Officer of Enterprises, as well as Manager of Investments, and all of their
23   direct and indirect subsidiary limited liability companies, with full and exclusive control
24   and authority over the Debtors and the prosecution of these Chapter 11 Cases.
25   ///
26   ///

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 1                                            SECTION II
 2                      Events Leading to the Commencement of these Cases
 3           26.      By early 2022, the Debtors had 18 properties across both the Portfolio and
 4   the Vault Businesses with 22 employees. The Debtors’ growth, however, was financed
 5   largely through investor capital which was structured as indebtedness. By November
 6   2022, total indebtedness (not including intercompany obligations) reached $230
 7   million, with reported consolidated assets of $93 million. At the same time, the national
 8   and state economies were experiencing significant disruption, with slowing growth,
 9   substantial inflation, and successive increases in interest rates. The Debtors were no
10   longer able to service their ongoing interest payments without raising additional
11   liquidity. On November 15, 2022, the Debtors announced a 12-month extension of
12   maturity dates for certain of the Portfolio Notes. This was followed, on March 20, 2023,
13   with the Debtors’ announcement that they were suspending interest payments on all
14   Portfolio Notes.
15           27.      The Debtors’ liquidity continued to decline, and on April 15, 2023, the
16   Debtors terminated substantially all of their employees.
17           28.      It is my understanding that between March and July 2023, the Debtors
18   attempted to find ways to raise liquidity and address their obligations out of court.
19   Those efforts were ultimately unsuccessful.
20           29.      On July 14, 2023, the Debtors engaged the services of my firm, Paladin, in
21   order to assist in evaluating options for addressing their liquidity needs and/or
22   restructuring their obligations.
23           Investor Litigation
24           30.      Over the course of the summer of 2023, investors began sending demand
25   letters and threatening or commencing litigation against the Debtors, Christensen, and
26   others involved with the Debtors’ prior operations.

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 1           31.      Below is a chart listing the active lawsuits against the Debtors relating to
 2   the Debtors’ debt obligations (the “Active Prepetition Lawsuits”):
 3
 4                                                  King County           Amount
                        Case Title                  Superior Court        Sought/Dispute
 5
 6   Julie A. Bosia, et al. v. iCap Pacific
     Northwest Opportunity and Income               KCSC 23-2-            Undefined in
 7   Fund, LLC, and iCap Northwest                  16200-5               Complaint.
     Opportunity Fund, LLC
 8
 9   Yongzhi Liang, et al. v. Chris
     Christensen and Debra Christensen, et
10   al.                                            KCSC 23-2-
                                                    13456-7               $11,500,000
11   *Pending Motion to Consolidate with Li
     Tan.
12
13   Li Tan, et al. v. Chris Christensen and
     Debra Christensen, et al.                      KCSC 23-2-            $35,429,941*
14
     *Pending Motion to Consolidate with            12786-2
15   Liang
16
     Paul Weiss v. iCap Vault 1, LLC, et al.        KCSC 23-2-            $135,000
17                                                  13897-0
18   Chen Xi v. iCap Vault 1, LLC, et al.           KCSC 23-2-            $113,000
                                                    14401-5
19
20           32.      The complaints in the Active Prepetition Lawsuits include allegations and
21   causes of action for fraud, violation of state consumer protection laws, breach of
22   contract, and civil conspiracy. In addition to the foregoing lawsuits, the Debtors have
23   received numerous inquiries as well as demand letters from investors.
24           33.      In addition, on August 30, 2023, the Debtors received a letter from the
25   State of Washington Department of Financial Institutions, Securities Division (the “DFI
26

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 1   Letter”), which demanded that the Debtors cease and desist from selling any
 2   unregistered securities and requested the delivery of certain documents by October 6,
 3   2023. The Debtors have not yet formally responded to the DFI Letter, but do intend to
 4   engage with state regulators in connection with the Chapter 11 Cases.
 5           34.      The Debtors’ obligation to defend against the Active Prepetition Lawsuits
 6   placed a substantial financial burden on the Debtors, straining the Debtors’ already
 7   limited liquidity. The Active Prepetition Lawsuits also required substantial attention
 8   from the Debtors’ restructuring advisors. Accordingly, I believe that the automatic stay
 9   imposed by the Bankruptcy Code will provide critical breathing room for the Debtors,
10   and allow them to focus on maximizing the value of the estates’ assets and building
11   consensus regarding a path forward for the Debtors.
12           Temporary Restraining Order and Prepetition Term Sheet
13           35.      On August 14, 2023, the Washington Superior Court for King County (the
14   “Superior Court”) issued a Temporary Restraining Order (the “TRO”) in Li Tan, et al.
15   v. Chris Christensen, et al., Case No. 23-2-12786-2, which was commenced by an ad
16   hoc group of the Debtors’ noteholders (the “Ad Hoc Group”). The TRO restricted the
17   Debtors from encumbering certain assets, restricted the Debtors’ access to their bank
18   accounts, and generally placed restrictions on the Debtors’ use of cash. The issuance
19   of the TRO accelerated the Debtors’ need to prepare for an expedited chapter 11 filing
20   or other insolvency proceeding and, accordingly, the Debtors and their advisors were
21   required to devote substantial energy and resources to negotiations with the Ad Hoc
22   Group regarding an acceptable restructuring path.
23           36.      I worked with the Debtors’ counsel and other advisors to organize and lead
24   negotiations with the Ad Hoc Group and Christensen. These negotiations were robust
25   and constructive, and on August 23, 2023, the negotiating parties executed a Term Sheet
26   (the “Filing Support Agreement” or “FSA”) that paved the way for the commencement

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 1   of these Chapter 11 Cases. A copy of the FSA is attached hereto as Exhibit B. Among
 2   other things, the FSA provided for the following:
 3           Commitments by Christensen:
 4           A.      Execute corporate resolutions and an engagement agreement
             with me (as CRO), in form and substance approved by the CRO,
 5           (i) irrevocably authorizing the appointment of the CRO with a scope of
 6           authority to include the exercise of all powers and duties previously
             enjoyed or exercisable by the Company’s 5 CEO, and (ii) authorizing
 7
             bankruptcy filings on behalf of the Company.
 8
             B.    Resign all positions with the Company, including his office as
 9           CEO, such that Christensen shall have no authority to take any action
10           on behalf of the Company.

11           C.     Upon request by the CRO, sign all documents and take all steps
             reasonably necessary to provide a personal, conditional, non-recourse
12
             guaranty in support of DIP financing for the Company, in a form
13           acceptable to Christensen and secured by a deed of trust on certain real
             property owned by the Christensens (the “Guaranty”). The Guaranty
14
             shall provide, among other things, that the DIP lender shall exhaust all
15           remedies against the Company prior to enforcing the Guaranty. The
             Company shall seek Bankruptcy Court approval of the Consulting
16
             Agreement (defined below) concurrently with approval of the DIP
17           financing and the Stay Motion (defined below). The Guaranty shall be
             contingent on Bankruptcy Court approval of the Consulting Agreement
18
             and the filing of the Stay Motion.
19
             D.      Enter into a one-year consulting agreement with the Company,
20           in a form mutually acceptable to Christensen and the Company,
21           pursuant to which he will reasonably cooperate with the CRO’s efforts
             to (i) assess the Company, its businesses, and assets, (ii) administer the
22           Chapter 11 Cases, (iii) market and sell Company assets through the
23           Chapter 11 Cases, and (iv) otherwise discharge his duties owed to the
             Company (the “Consulting Agreement”) with compensation of
24
25   5
       The term the “Company” is defined in the Filing Support Agreement as “iCap Enterprises, Inc. and iCap Investments,
     LLC, and each of their respective direct and indirect subsidiaries but excluding Airlink Holding, LLC and its direct and
26   indirect wholly owned subsidiaries.”


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 1           $16,666.67 per month commencing on the Petition Date; provided,
 2           however, that amounts owed from the Petition Date until entry of the
             final order approving DIP financing shall be accrued but not paid. The
 3           Consulting Agreement shall contain reasonable and customary
 4           provisions regarding termination for cause to be agreed upon by the
             CRO and Christensen.
 5
             E.      By no later than 14 days following the Petition Date and as a
 6
             condition to the Stay Motion, Christensen shall provide to the Company
 7           and counsel for the Ad Hoc Group a financial statement from
             Christensen, under penalty of perjury, providing the following detailed
 8
             information: (i) a personal financial statement setting forth all assets,
 9           liabilities, and retirement accounts; (ii) a list of all bank accounts
             maintained in the name of or for the benefit of Christensen since
10
             January 1, 2018 (whether or not Christensen was a signator), including
11           identity of the bank and account numbers; and (iii) a list of any assets
             with a fair market value of more than $50,000 that Christensen has sold,
12
             gifted, or transferred, in any form, since January 1, 2018 (“Christensen
13           Financial Information”).
14           Commitments by the Company:
15
             A.     Use commercially reasonable efforts to negotiate and obtain DIP
16           financing on the most favorable terms possible, including with respect
             to the Guaranty.
17
18           B.   Upon obtaining or securing the DIP financing, commence the
             Chapter 11 Cases.
19
             C.   Execute and seek approval of the Consulting Agreement in the
20
             Chapter 11 Cases.
21
             D.     File a motion with the Bankruptcy Court, on an expedited basis,
22           seeking the extension of the automatic stay (the “Stay Motion”) to
23           include actions or legal process by any noteholders against the
             Christensens through the earliest of the following events in the Chapter
24           11 Cases: (i) dismissal; (ii) conversion to chapter 7, or (iii) confirmation
25           of a chapter 11 plan of reorganization (the “Stay Termination Date”).
26   ///

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 1           E.     The Company shall prepare and file with the bankruptcy petition
 2           all required Schedules of assets and liabilities and other required
             financial information and the Statement of Financial Affairs for each
 3           entity by no later than 30 days following the Petition Date.
 4
             Commitments by the Ad Hoc Group:
 5
 6           A.     Provide the Company with a written consent, in form satisfactory
             to the Ad Hoc Group in its sole discretion, for purposes of the TRO, to
 7           use Company assets (including the use of cash and the consent to liens
 8           and encumbrances) for purposes of: (i) securing the DIP Facility
             (defined below), subject to Bankruptcy Court approval and to the Ad
 9           Hoc Group’s right to object to such DIP Facility and/or any of its terms;
10           provided that, for the avoidance of doubt, the DIP Facility shall include
             a pre-petition advance, which shall be obtained prior to approval by the
11           Bankruptcy Court; (ii) retaining and paying fees and expenses of the
12           CRO, his financial advisory firm, and counsel for the Company in an
             amount sufficient to effectuate the terms of the FSA, subject to
13           Bankruptcy Court approval and to the Ad Hoc Group’s right to object
14           to such DIP Facility and/or any of its terms; and (iii) preparation for
             and commencing of the Chapter 11 Cases.
15
             B.      Enter into a consensual modification consistent with the FSA, in
16
             form satisfactory to the Ad Hoc Group and the Christensens, each in
17           their sole discretion, of the TRO with the Christensens to permit them
             to: (i) use their real property for purposes of providing the Guaranty in
18
             favor of the DIP Facility, subject to approval of the Bankruptcy Court;
19           (ii) use their personal assets to pay ordinary living expenses, subject to
             an agreed budget and a periodic report setting forth the actual expenses
20
             as compared to the budget (including, without limitation, mortgage
21           payments on their real property) and reasonable legal and professional
             fees (including, without limitation, a reasonable retainer for personal
22
             bankruptcy counsel in the event one or both of the Christensens decides
23           to seek personal bankruptcy relief); (iii) address an entity known as
24           Airlink Holding, LLC in a manner consistent with the FSA;6 and
             (iv) release Chistensen’s daughter’s checking account, and not seeking
25
     6
       This item is addressed in detail in the contemporaneously filed motion to approve the Consulting Agreement and a
26   separate declaration submitted therewith.


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 1           further provisional relief.
 2           C.     Enter into a stipulation with the Company and the Christensens,
 3           staying the state court litigation as to the Company and the Christensens
             until the Stay Termination Date, with the modified TRO remaining in
 4           place (and enforceable such that the Company and the Christensens will
 5           continue to be bound by the terms of the same, except as modified by
             the terms of the FSA).
 6
 7           D.     File pleadings affirmatively supporting the Stay Motion, so long
             as Christensen has complied with all of the terms of the FSA at the time
 8           the Stay Motion is filed.
 9
             37.      The Filing Support Agreement paved the way for these Chapter 11 Cases
10
     to be filed in an orderly fashion. Among other things, the FSA provided the Debtors
11
     with the time to prepare these Chapter 11 Cases, and also enabled the Debtors to secure
12
     critical debtor in possession financing. In exchange, the Debtors agreed to a number of
13
     provisions that benefit the Ad Hoc Group and which ultimately benefit the creditors of
14
     these estates, in general.
15
             38.       On September 25, 2023, the Superior Court entered an amended, agreed-
16
     upon TRO Order that embodied certain of the terms of the FSA, as well as certain
17
     additional relief requested by the Ad Hoc Group, Christensen, and the Debtors.
18
19           39.      In addition, the Liang plaintiffs group (the “Liang Plaintiffs”) have

20   stipulated to consolidate its lawsuit against the Christensens and be bound by the TRO
21   Order entered in the action brought by the Ad Hoc Group. The Liang Plaintiffs hold

22   approximately $11.5 million in claims, which together with the approximately $35.4

23   million in claims held by the Ad Hoc Group, means that holders of nearly $47 million

24   in investor claims are generally supportive of the Debtors’ process and goals outlined

25   for these Chapter 11 Cases.

26   ///


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 1           40.        The aggregate amount of asserted claims held by the other plaintiffs in the
 2   Active Prepetition Lawsuits totals less than $250,000.
 3           Additional Investor Support and Outreach
 4           41.        I believe that the Debtors and their stakeholders will be best served by an
 5   expeditious, transparent, and consensus-oriented approach to these Chapter 11 Cases.
 6   Accordingly, over the weeks preceding the Petition Date, the Debtors and their advisors
 7   engaged with many investors, investor groups, and their respective advisors regarding
 8   the Debtors’ financial status and, increasingly as the Petition Date approached, the
 9   intended pathway to a restructuring. Based upon these discussions, I believe that there
10   exists broad investor support for these proceedings as a means to ensure that the value
11   of the Debtors’ assets are maximized for the benefit of creditors through an open,
12   orderly, and efficient process.
13
             42.        With the FSA in place, the Debtors completed solicitation efforts to locate
14
     debtor in possession financing, and proceeded to negotiate the final terms for that
15
     facility.        On September 28, 2023, Christensen executed resolutions resigning all
16
     positions at the Debtors and I was appointed as the sole member of the Board of
17
     Directors and Chief Restructuring Officer of Enterprises, as well as Manager of
18
     Investments, and all of their direct and indirect subsidiary limited liability companies,
19
     with full and exclusive control and authority over the Debtors and the prosecution of
20
     these Chapter 11 Cases. On September 29, 2023, I authorized the filing of these Chapter
21
     11 Cases.
22
23   ///

24   ///

25   ///

26   ///


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 1                                           SECTION III
 2
                                        Chapter 11 Objectives
 3
             43.      The Debtors and their advisors, in consultation with certain creditor
 4
     constituencies, including the Ad Hoc Group, have developed three primary objectives
 5
     for these Chapter 11 Cases.
 6
             44.      Real Estate Assessment. As described above, the Debtors maintained a
 7
     portfolio of owned real property assets, as well as ownership or other interests in other
 8
     real property projects. The Debtors intend to quickly develop a comprehensive plan to
 9
     maximize the value of these real estate holdings, which will likely require the services
10
     of a specialized real estate advisor and/or broker. The Debtors’ path forward with
11
     respect to the real estate assets may involve a sale process of all or some assets or a
12
     longer-term development plan. The Debtors anticipate that the availability and terms
13
     of development financing will be a substantial factor in formulating their real estate
14
     strategy.
15
             45.      Investigation and Assessment of Legal Allegations. The Active Prepetition
16
     Lawsuits contain serious allegations, including securities claims. These issues must be
17
     addressed. To date, the Debtors’ restructuring advisors have not had the time or
18
     resources to undertake a comprehensive examination of the Debtors’ historical financial
19
     information, but intend to do so during these Chapter 11 Cases. Needless to say, the
20
     estates may hold claims arising from, inter alia, the raising of investor capital.
21
             46.      Plan of Liquidation. The Debtors intend to pursue a confirmation process
22
     for a plan of liquidation. The plan will address any assets that have not already been
23
     sold or liquidated, address disposition of causes of action previously identified, and
24
     provide a final outcome for all creditors in these cases.
25
26   ///


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 1                            The Debtors’ Liquidity and DIP Financing
 2           47.      Given that the Debtors have extremely limited liquidity and that most of
 3   their capital is tied up in illiquid real property investments, the Debtors require debtor
 4   in possession financing for these Chapter 11 Cases. Simply put, the Debtors cannot
 5   achieve their objectives in the Chapter 11 Cases without DIP financing. The Debtors’
 6   efforts to secure DIP financing and the terms of the proposed DIP financing (the “DIP
 7   Facility”) are discussed in greater detail in my declaration submitted in support of the
 8   Debtors’ DIP motion. However, it is critical to emphasize here how interconnected the
 9   DIP Facility is with other relief sought by the Debtors.
10           48.      For example, a substantial amount of the collateral support for the DIP
11   Facility is proposed to be provided by Christensen, a non-Debtor. The DIP Facility
12   lender will not fund the DIP Facility absent this additional collateral support. In turn,
13   Christensen is not required to post his non-estate assets as DIP Facility collateral unless
14   the Debtors: (i) obtain approval of Christensen’s proposed Consulting Agreement with
15   the Debtors; and (ii) file the Stay Motion on an expedited basis.
16           49.      It is therefore critical to the Debtors’ overall chapter 11 strategy that the
17   Court approve the Debtors’ entry into the Consulting Agreement and likewise enjoin
18   any noteholder litigation against the Christensens through approval of the Stay Motion.
19   Both such relief requests will be filed by separate motion in advance of the first day
20   hearing.
21                                            SECTION III
22           50.      To enable the Debtors to continue operating effectively and minimize
23   potential adverse effects from the commencement of the Chapter 11 Cases, the Debtors
24   are requesting certain emergency and other relief from the Court pursuant to the First
25   Day Motions. I have reviewed each of the First Day Motions, including the exhibits
26   thereto. All facts set forth in the First Day Motions are true and correct based upon my

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 1   personal knowledge; information provided to me by certain of the Debtors’ former
 2   employees and professionals; my review of relevant documents; or my opinion based
 3   upon my experience, knowledge, and information concerning the operations and
 4   financial affairs of the Debtors. Accordingly, for the reasons stated herein and in the
 5   First Day Motions, I believe that the relief requested in each of the First Day Motions
 6   is in the best interests of the Debtors, their estates, and their creditors, and, therefore,
 7   should be approved.
 8                                  Schedules and SOFAs Motion
 9           51.      Along with the Debtors’ professionals, I have been and continue to be
10   focused on stabilizing the Debtors’ business in the wake of the filing of the Active
11   Prepetition Lawsuits (including negotiating the FSA), the recent change of the Debtors’
12   management, my appointment as Chief Restructuring Officer, and the emergent filing
13   of these Chapter 11 Cases, as well as addressing issues surrounding or caused by the
14   foregoing.
15           52.      Paladin is also in the process of reviewing and verifying the information
16   in the Debtors’ books and records, which is of course integral to the process of preparing
17   Schedules and SOFAs.
18           53.      The Debtors are in the process of preparing their Schedules and SOFAs.
19   However, given that the Debtors’ professionals and I have been focused on various
20   matters critical to the Debtors’ business and the administration of these Chapter 11
21   Cases, the Debtors require additional time to prepare and file the Schedules and SOFAs.
22           54.      Additionally, based upon my initial review of the Debtors’ books and
23   records, I do not believe it will be practicable to prepare complete and accurate
24   Schedules and SOFAs within the 14-day period required under the Bankruptcy Rules.
25   Based upon my experience, I believe an extension of the deadline of approximately 30
26

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 1   days (through and including November 15, 2023) is warranted to allow time for this
 2   process to be completed.
 3           55.      If the Debtors are forced to file their Schedules and SOFAs by the filing
 4   deadlines set forth in the Bankruptcy Rules, it is very likely that the Debtors will have
 5   to later revise or amend the Schedules and SOFAs. Doing so will require the Debtors
 6   and their professionals to spend additional time and effort and ultimately increase the
 7   administrative expenses of the Debtors’ estates.
 8                                        Insurance Motion
 9           56.      In the ordinary course of business, the Debtors maintain various insurance
10   policies issued by various insurance carriers. Collectively, these policies provide for
11   coverage for general liability, commercial property, vacant land, and pollution liability.
12           57.      The Debtors pay premiums to various insurance carriers, generally on an
13   annual basis, but some policies are also maintained on a monthly basis (collectively, the
14   “Insurance Premiums”). Insurance Premiums typically range from approximately
15   $3,000 to $13,000 per year for general liability and property insurance.
16           58.      Debtor 725 Broadway LLC also currently has insurance coverage for
17   environmental/pollution issues at its site that are in the process of being remediated.
18   That policy has an annual premium in the amount of approximately $50,000 and is paid
19   current through February 15, 2024.
20           59.      Just prior to the Petition Date, Paladin discovered in reviewing the
21   Debtors’ books and records that, due to the Debtors’ severe liquidity problems, the
22   Debtors had not paid premiums for certain policies and those policies had lapsed,
23   including the Debtors’ commercial umbrella policy (which also included coverage for
24   vacant land owned by certain of the Debtors) and coverage for real property owned by
25   Debtor VH 2nd Street Office, LLC.
26   ///

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 1           60.      The Debtors hold the following insurance policies that are current as of the
 2   Petition Date:
 3
                                                   Insurance
                          Debtor                                       Policy Type
 4                                                  Carrier
 5                                                                   Environmental /
           725 Broadway LLC                      The Hartford
                                                                        Pollution
 6                                                  Colony
 7         Senza Kenmore LLC                       Insurance        Property Insurance
                                                   Company
 8                                                Nationwide
 9                                                  General
           VH 1121 14th LLC                                         Property Insurance
                                                   Insurance
10                                                 Company
11         VH Pioneer Village LLC                The Hanover        Property Insurance
12                                                  Maxum
           VH Senior Care LLC                     Indemnity         Property Insurance
13
                                                   Company
14                                                Mutual of
           VH Willows Townhomes LLC                                 Property Insurance
15                                               ENUMCLAW

16           61.      The foregoing description of the Insurance Premiums is based upon my
17   best efforts, in conjunction with the Debtors’ advisors, in reviewing the Debtors’ books
18   and records.
19           62.      It is of course imperative that the Debtors obtain insurance coverage to
20   replace the policies that have lapsed. Without general liability coverage and insurance
21   coverage for certain assets, the Debtors and their uninsured assets are exposed to
22   significant, obvious liability risks.
23           63.      I am not currently aware of any policies that require the payment of past-
24   due, prepetition Insurance Premiums in order to prevent the lapsing of such policies.
25   But to the extent that I discover any such policies in my ongoing review of the Debtors’
26   books and records, it may be in the Debtors’ best interests that I bring those policies


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 1   current, rather than allow them to lapse and replace them (if, for example, replacement
 2   policies would be more expensive).
 3           64.      If the Debtors do not timely meet their postpetition obligations with respect
 4   to Insurance Premiums, insurance carriers may refuse to renew insurance policies,
 5   which will require the Debtors to obtain replacement policies and possibly reconfigure
 6   their risk management program.
 7           65.      Obtaining replacement policies would require the Debtors to commit
 8   significant resources and could result in less favorable coverage or terms from the
 9   Debtors’ insurers. Insurance carriers could also attempt to terminate the Debtors’
10   existing Insurance Policies or deny coverage. Any disruption in insurance coverage
11   could threaten the Debtors’ ability to preserve their property and proceed expeditiously
12   through this chapter 11 process.
13                                            Taxes Motion
14           66.      In the ordinary course of their current business, the Debtors incur primarily
15   real property taxes (the “Taxes”). The Debtors pay the Taxes to various governmental
16   authorities, generally on a semi-annual basis, with the Taxes for the first half of a
17   calendar year due in October of that year, and the Taxes for the second half of a calendar
18   year due in April of the following year.
19           67.      As of the Petition Date, the owe or will owe pre- and post-petition Taxes,
20   where either: (i) Taxes have accrued or were incurred prepetition and became due and
21   payable prior to the Petition Date (i.e., past due); (ii) Taxes were incurred for prepetition
22   periods and become due and payable after the Petition Date; (iii) Taxes are for a period
23   that straddles the Petition Date; 7 or (iv) Taxes accrued or are incurred postpetition.
24   ///
25
     7
            For example, taxes due April of 2024 will be for the period of July 1, 2023 through December
26   31, 2023, thereby including both pre- and postpetition periods.


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 1           68.      A schedule identifying the real property Taxes owed by Debtors is
 2   included as follows:
 3
                            Debtor                       Past Due     October             April
 4                                                                     2023               2024
 5      725 Broadway LLC                                 $11,582      $10,160           $10,160
 6      iCap Campbell Way LLC                             $1,403       $1,226            $1,226
 7      Senza Kenmore LLC                                 $8,031       $7,226            $7,226
 8
        Uw 17th Ave LLC                                  $35,355      $15,960           $15,960
 9
        VH 1121 14th LLC                                              $12,908           $12,908
10
        VH 2nd Street Office LLC                         $22,383      $19,634           $19,634
11
        VH Pioneer Village LLC                                         $8,107            $8,107
12
13      VH Senior Care LLC                               $10,058       $9,489            $9,489

14      VH Willows Townhomes LLC                                      $12,968           $12,968
15                                            Totals:    $88,812      $97,678           $97,678
16
17           69.      To the best of the best of my knowledge, the Debtors do not currently owe
18   or collect on an ongoing basis any trust fund taxes (e.g., sales or payroll taxes).
19           70.      As of the Petition Date, I have not had the ability to investigate the
20   existence of any liens on the Debtors’ real property in connection with delinquent
21   Taxes, and I am therefore concerned that there may exist liens that continue to accrue
22   interest, penalties, and/or fees.
23           71.      The foregoing description of the Taxes is based upon my best efforts, in
24   conjunction with the Debtors’ advisors, in reviewing the Debtors’ books and records.
25           72.      Payment of the prepetition Taxes is critical to the Debtors’ ability to
26   preserve the value of their estates. The Debtors intend to expeditiously sell their real

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 1   estate assets, not hold them long term. Failure to promptly pay prepetition Taxes will
 2   likely result in the imposition of interest, fees, and penalties that will harm the estates.
 3   Thus, if left unpaid, the Taxes can ultimately result in lower proceeds from the sale of
 4   the Debtors’ assets due to additional accrued interest and penalties on these claims that
 5   will need to be paid at the closing of any sales. Such a result would be contrary to the
 6   best interests of the Debtors’ estates and all stakeholders.
 7           73.      Any unexpected or inopportune interruption of the Debtors’ efforts to
 8   administer their estates and propose a plan could greatly diminish estate value and
 9   frustrate the Debtors’ chapter 11 efforts.        To ensure the Debtors have adequate
10   flexibility to meet their fiduciary duties as debtors in possession, they must be permitted
11   to make payment of the Taxes as they determine is necessary to maximize the value of
12   their estates.
13                                        401K Withholdings
14           74.      Finally, while not the subject of a First Day Motion, I wish to inform the
15   Court of a payment inadvertently made postpetition in connection with a prepetition
16   obligation.
17           75.      Prior to the Petition Date, the Debtors owed approximately $14,000 to the
18   administrator of the Debtors’ 401(k) ERISA plan (the “Administrator”). These amounts
19   were for funds that had been withdrawn from employee paychecks but not timely
20   remitted to the Administrator.
21           76.      All of these payments were for former rank-and-file employees, and none
22   of them were paid to the Debtors’ former management. The Debtors attempted to pay
23   these amounts prior to the Petition Date, but due to an administrative issue, the funds
24   were withdrawn from the Debtors’ bank account postpetition.
25           77.      The Debtors will promptly address this issue by separate motion.
26   ///

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 1           I declare under penalty of perjury under the laws of the State of California that
 2   the foregoing is true and correct.
 3
                                                   /s/ Lance Miller
 4                                                        Lance Miller
 5
 6
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                                                                                            EXECUTION VERSION


                                                                TERM SHEET

             The following is a binding Term Sheet regarding commitments by the Company, Christopher
             Christensen, and the Ad Hoc Noteholder Group (defined below). Once executed and following
             the Effective Date (defined below), the terms below shall be binding on all parties, and
             enforceable as a binding agreement under applicable law.

              Defined Terms

              Ad Hoc Noteholder              That certain group of noteholders represented by John Bender of Corr
              Group:                         Cronin LLP (“Corr Cronin LLP”) and Jay Kornfeld of Bush Kornfeld
                                             LLP (“BK”), including Li Tan, Ting Shao, Zhu Hua Li, Yuan Mu, Fan
                                             Zhang, Haiyan Li, Yuanyuan Li, Shiyu Zhang, Yi Shan, and Jia Lu,
                                             Zhiduo Wu, Shiying Chen, Ping Zhang, Sizhen Wang, Ming Li, Li Li,
                                             Baoguo Long, Ruzhen Zhang, Fan Yang, Minyao Zheng, Chunying
                                             Tian, Xingzhi Zhu, Yao Wang, Chen Shen, Youzhen Lu, Weisu Ge,
                                             Qiong Huang, Kun Wang.

              Christensen:                   Mr. Christopher Christensen, a resident of the State of Washington and
                                             the owner and CEO of the Company and, together with his wife, Debra
                                             Christensen, the “Christensens.”

              Company:                       iCap Enterprises, Inc. and iCap Investments, LLC, and each of their
                                             respective direct and indirect subsidiaries but excluding Airlink
                                             Holding, LLC and its direct and indirect wholly owned subsidiaries.

              Chief Restructuring            Lance E. Miller
              Officer (CRO):

              DIP Financing:                 Debtor in Possession Financing in an amount reasonably anticipated to
                                             finance the Bankruptcy Cases, as reasonably determined by the CRO.

              Effective Date:                The first business day following execution by all parties of this Term
                                             Sheet.

              Grand Ridge                    That certain property and real estate located at 27112 SE Grand Ridge
              Property:                      Drive, Issaquah, Washington.

              TRO:                           That certain Temporary Restraining Order entered in favor of the Ad
                                             Hoc Noteholder Group by King County Superior Court.

              Party Obligations

              Christensen                    As promptly as reasonably practicable (but, in any event no later than 5
              Obligations:                   business days following the Effective Date), Christensen shall do the
                                             following:

                                                                    1


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                                               1. Execute corporate resolutions and an engagement agreement
                                                  with the CRO, in form and substance approved by the CRO,
                                                  copies of which shall be provided in advance to counsel for the
                                                  Ad Hoc Noteholder Group, (i) irrevocably authorizing the
                                                  appointment of the CRO with a scope of authority to include
                                                  the exercise of all powers and duties previously enjoyed or
                                                  exercisable by the Company’s CEO, and (ii) authorizing filings
                                                  by or on behalf of the Company under chapter 11 of Title 11 of
                                                  the U.S. Code (the “Bankruptcy Cases”).
                                               2. Resign all positions with the Company, including his office as
                                                  CEO such that Christensen shall have no authority to take any
                                                  action on behalf of the Company.
                                               3. Upon request by the CRO, sign all documents and take all steps
                                                  reasonably necessary to provide a personal, conditional, non-
                                                  recourse guaranty in support of DIP Financing for the
                                                  Company, in a form acceptable to Christensen and secured by a
                                                  deed of trust on certain real property owned by the
                                                  Christensens, including at least the Grand Ridge Property (the
                                                  “Guaranty”). The Guaranty shall provide, among other things,
                                                  that the DIP lender shall exhaust all remedies against the
                                                  Company prior to enforcing the Guaranty. The Company shall
                                                  seek Bankruptcy Court approval of the Consulting Agreement
                                                  concurrently with approval of the DIP Financing and the Stay
                                                  Motion. The Guaranty shall be contingent on Bankruptcy Court
                                                  approval of the Consulting Agreement and the filing of the Stay
                                                  Motion.
                                               4. Enter into a one-year consulting agreement with the Company,
                                                  in a form mutually acceptable to Christensen and the Company,
                                                  pursuant to which he will reasonably cooperate with the CRO’s
                                                  efforts to (i) assess the Company, its businesses, and assets,
                                                  (ii) administer the Bankruptcy Cases, (iii) market and sell
                                                  Company assets through the Bankruptcy Cases, and
                                                  (iv) otherwise discharge his duties owed to the Company (the
                                                  “Consulting Agreement”) with compensation of $16,666.67 per
                                                  month commencing on the petition date for the Bankruptcy
                                                  Cases; provided, however, that amounts owed from the petition
                                                  date until entry of the final order approving the DIP shall be
                                                  accrued but not paid. The Consulting Agreement shall contain
                                                  reasonable and customary provisions regarding termination for
                                                  cause to be agreed upon by the CRO and Christensen. The Ad
                                                  Hoc Noteholder Group shall be provided with a copy of the
                                                  Consulting Agreement.
                                               5. Enter into a stipulation with the Ad Hoc Noteholder Group for
                                                  release of the $50,000 bond posted by the Ad Hoc Noteholder

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                                                    Group into the King County Superior Court Registry to secure
                                                    the TRO.
                                                6. By no later than 14 days following the Petition Date and as a
                                                   condition to the Stay Motion (as defined below), Christensen
                                                   shall provide to the Company and counsel for the Ad Hoc
                                                   Noteholder Group a financial statement from Christensen,
                                                   under penalty of perjury, providing the following detailed
                                                   information: (a) a personal financial statement setting forth all
                                                   assets, liabilities, and retirement accounts; (b) a list of all bank
                                                   accounts maintained in the name of or for the benefit of
                                                   Christensen since January 1, 2018 (whether or not Christensen
                                                   was a signator), including identity of the bank and account
                                                   numbers; and (c) a list of any assets with a fair market value of
                                                   more than $50,000 that Christensen has sold, gifted, or
                                                   transferred, in any form, since January 1, 2018 (“Christensen
                                                   Financial Information”).

              Company                        Promptly following the Effective Date, the Company shall do the
              Obligations:                   following:

                                                1. Use commercially reasonable efforts to negotiate and obtain
                                                   DIP Financing on the most favorable terms possible, including
                                                   with respect to the Guaranty.
                                                2. Upon obtaining or securing the DIP Financing, commence the
                                                   Bankruptcy Cases.
                                                3. Execute and seek approval of the Consulting Agreement in the
                                                   Bankruptcy Cases.
                                                4. File a motion with the Bankruptcy Court, on an expedited basis,
                                                   seeking the extension of the automatic stay (the “Stay Motion”)
                                                   to include actions or legal process by any Noteholders against
                                                   the Christensens through the earliest of the following events in
                                                   the Bankruptcy Cases: (a) dismissal; (b) conversion to chapter
                                                   7, or (c) confirmation of a chapter 11 plan of reorganization (the
                                                   “Stay Termination Date”).
                                                5. Permit Christensen to tender one or more claims to any
                                                   Company insurance carrier for his costs of defense of any
                                                   litigation. Christensen and the CRO shall provide counsel for
                                                   the Ad Hoc Noteholder Group with the following prior to
                                                   Christensen’s tender of any claims: (a) a list and copy of any
                                                   and all D&O/E&O/Fidelity insurance policies maintained by
                                                   the Company.
                                                6. Enter into a stipulation with Ad Hoc Noteholder Group for
                                                   release of the $50,000 bond paid by Ad Hoc Noteholder Group

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                                                    into the King County Superior Court Registry to secure the
                                                    TRO.
                                                7. The Company shall prepare and file with the bankruptcy
                                                   petition all required Schedules of assets and liabilities and other
                                                   required financial and Statement of Financial Affairs for each
                                                   entity by no later than 30 days following the Petition Date.


              Ad Hoc Noteholder              Promptly following the Effective Date, the Ad Hoc Noteholder Group
              Group Obligations:             will do the following:

                                                1. Provide the Company with a written consent, in form
                                                   satisfactory to Ad Hoc Noteholder Group in its sole discretion,
                                                   for purposes of the TRO, to use of Company assets (including
                                                   the use of cash and the consent to liens and encumbrances) for
                                                   purposes of (i) securing the DIP Facility, subject Bankruptcy
                                                   Court approval and to the Ad Hoc Noteholder Group’s to right
                                                   to object to DIP Facility and/or any of its terms; provided that,
                                                   for the avoidance of doubt, the DIP Facility shall include a pre-
                                                   petition advance, which shall be obtained prior to approval by
                                                   the Bankruptcy Court, (ii) retaining and paying fees and
                                                   expenses of the CRO, his financial advisory firm, and counsel
                                                   for the Company in an amount sufficient to effectuate the terms
                                                   of this agreement, subject Bankruptcy Court approval and to the
                                                   Ad Hoc Noteholder Group’s to right to object to DIP Facility
                                                   and/or any of its terms, and (iii) preparation for and
                                                   commencing the Bankruptcy Cases.
                                                2. Enter into a consensual modification consistent with this
                                                   agreement, in form satisfactory to the Ad Hoc Noteholder
                                                   Group and the Christenses, each in their sole discretion, of the
                                                   TRO with the Christensens to permit them to (i) use their real
                                                   property for purposes of providing the Guaranty in favor of the
                                                   DIP Facility, subject to approval of the Bankruptcy Court, (ii)
                                                   use their personal assets to pay ordinary living expenses,
                                                   subject to an agreed budget and a periodic report setting for the
                                                   actual expenses as compared to the budget (including, without
                                                   limitation, mortgage payments on their real property) and
                                                   reasonable legal and professional fees (including, without
                                                   limitation, a reasonable retainer for personal bankruptcy
                                                   counsel in the event one or both of the Christensens decides to
                                                   seek personal bankruptcy relief), (iii) address Airlink in a
                                                   manner consistent with this Term Sheet, and (iv) release
                                                   Chistensen’s daughter’s checking account (the “TRO
                                                   Modification”), and not seeking further provisional relief.



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                                                3. Enter into a stipulation with the Company and the Christensens,
                                                   staying the state court litigation as to the Company and the
                                                   Christensens until the Stay Termination Date, with the modified
                                                   TRO remaining in place (and enforceable such that the
                                                   Company and the Christensens will continue to be bound by the
                                                   terms of the same, except as modified by the terms of this Term
                                                   Sheet).
                                                4. File pleadings affirmatively supporting the Stay Motion, so
                                                   long as Christensen has complied with all of the terms of this
                                                   Term Sheet at the time the Stay Motion is filed.
              CRO Consultation:              The CRO will reasonably confer with the Ad Hoc Noteholder Group,
                                             including by telephone with counsel, regarding the status of the
                                             Bankruptcy Cases, results of any investigations regarding the Debtors’
                                             past practices or claims, the terms of any proposed chapter 11 plan,
                                             administration and prosecution of the Bankruptcy Estate’s claims
                                             against insiders and third parties, and other information requests
                                             reasonably submitted by the Ad Hoc Noteholder Group.

              Reservation of                 Subject to the terms of this Term Sheet, the Ad Hoc Noteholder Group
              Rights:                        reserves all of its rights to pursue claims and/or object to any and all
                                             relief that may be proposed by the Company, CRO, or Christensen.


              Governing Law:                 The terms hereof shall be governed by the laws of the State of
                                             Washington, without regarding to choice of law principles or rules.




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             Agreed and Acknowledged:

              CHRISTOPHER CHRISTENSEN


                                                    




              CORR CRONIN LLP, on behalf of the Ad
              Hoc Noteholder Group and each member
              thereof


                                                          

              By:              
              Its:  



              ICAP INVESTMENTS, LLC, on behalf of
              itself and each of its direct and indirect
              subsidiaries


                                                          
              By:
                     Lance E. Miller
                     Chief Restructuring Officer (as proposed
                     herein)

              ICAP ENTERPRISES, INC., on behalf of
              itself and each of its direct and indirect
              subsidiaries

                                                       
              By:
                     Lance E. Miller
                     Chief Restructuring Officer (as proposed
                     herein)




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                                                                                       Customer Service:
                                                                                       1-866-486-7782
           ICAP VAULT 1 LLC
           3535 FACTORIA BLVD SE # 500
           BELLEVUE WA 98006-1298




    Last statement: November 30, 2020
    This statement: December 31, 2020


  Umpqua Bank Rules & Regulations updates go into effect 7-1-2020. This update mainly includes
  changes to Umpqua Bank's Funds Availability Policy. Next business day funds availability has
  increased to $225, if there is a hold on a check. For more info, and to review other changes, you may
  request a copy by calling us at 1-866-486-7782 or visiting umpquabank.com/disclosures.

ANALYZED INTEREST CHECKING


                 Account number                         4864314804    Beginning balance               $1,709,738.88
                 Low balance                            $940,292.44   Additions/Deposits                $220,464.46
                 Average balance                      $1,051,530.50   Withdrawals/Subtractions          $946,492.81
                 Interest paid year to date                  $71.77   Ending balance                    $983,710.53
                 Interest earned                              $8.91



    Deposits/Additions
         Date     Description                                                                              Additions
         12-04    Deposit                                                                                   5,000.00
         12-10    Deposit                                                                                  30,000.00
         12-15    Deposit                                                                                  12,200.00
         12-23    Deposit                                                                                  10,000.00
    Total Deposits/Additions                                                                            $57,200.00


    Other Deposits/ Additions
         Date     Description                                                                              Additions
         12-01    Cash Mgmt Trsfr Cr Ref 3361747l Funds Transfer Frm Dep 9690211801 From Yi Zheng           2,500.00
                  Monthly T Ransfer
         12-03    Remote Capture Dep                                                                       30,000.00
         12-07    Cash Mgmt Trsfr Cr Ref 3421402l Funds Transfer Frm Dep 9690216925 From Caifeng Yu         5,000.00
                  S001288
         12-08    Remote Capture Dep                                                                       10,000.00
         12-23    Cash Mgmt Trsfr Cr Ref 3581559l Funds Transfer Frm Dep 9690216925 From Marketer          10,000.00
                  Payment O N S001608
         12-31    Interest Credit                                                                               8.91
    Total Other Deposits/ Additions                                                                     $57,508.91




                                Member FDIC                                SBA Preferred Lender


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    ACH Electronic Payments/Subtractions
        Date    Description                                                                         Subtractions
        12-01   ACH DebitDwolla5152801000 Dwolla 20201201                                                     66.67
        12-02   ACH DebitDwolla5152801000 Dwolla 20201202                                                  1,000.00
        12-03   ACH DebitRef 3381720l Funds Transfer To Dep Xxxxxx7206 From                                  812.50
        12-03   ACH DebitRef 3381720l Funds Transfer To Dep Xxxxxx7206 From                                2,890.00
        12-03   ACH DebitRef 3381820l Funds Transfer To Dep Xxxxxx7206 From                               84,443.75
        12-08   ACH DebitHeb Certified Pu Bill Paymt 20201208                                                750.00
        12-14   ACH DebitRef 3491834l Funds Transfer To Dep Xxxxxx7206 From                               30,000.00
        12-16   ACH DebitRef 3511146l Funds Transfer To Dep Xxxxxx7206 From                                  136.50
        12-16   ACH DebitM2 Compliance In Bill Paymt 20201216                                                846.00
        12-18   ACH DebitRef 3531719l Funds Transfer To Dep Xxxxxx7206 From                                3,456.00
        12-18   ACH DebitRef 3531719l Funds Transfer To Dep Xxxxxx7206 From                                6,858.75
        12-22   ACH DebitRef 3571903l Funds Transfer To Dep Xxxxxx7206 From                                3,758.75
        12-22   ACH DebitRef 3571903l Funds Transfer To Dep Xxxxxx7206 From                                4,546.37
        12-22   ACH DebitRef 3571903l Funds Transfer To Dep Xxxxxx7206 From                               28,732.50
        12-22   ACH DebitRef 3571903l Funds Transfer To Dep Xxxxxx7206 From                               40,163.00
        12-23   ACH DebitEfd - Nasaa Efd Filing 20201223                                                   1,300.00
    Total ACH Electronic Payments/Subtractions                                                      $209,760.79


    ACH and Electronic Deposits/Additions
        Date    Description                                                                              Additions
        12-11   ACH Credit Emerald City Int Sender 20201211 498154708                                      4,748.50
        12-15   ACH Credit Icap Investments Investment Devont Capital Lim Ited Vault S-0015 39            25,000.00
        12-15   ACH Credit Icap Equity Interest Reinvest In Vaults -001173                                 8,770.43
        12-15   ACH Credit Icap Investments Investment Mu-chen Tzou Vault S-001569                         8,750.00
        12-15   ACH Credit Icap Equity Interest Reinvest In Vault S-001541                                   750.00
        12-15   ACH Credit Icap Equity Interest Note Offering Ii R Einvest In Vaults- 001288                 666.67
        12-15   ACH Credit Icap Investments Investment Liya Jin Vault S- 001609                              266.67
        12-15   ACH Credit Icap Equity Interest Reinvest In Vaults -001464                                   226.45
        12-15   ACH Credit Icap Investments Investment Fengdi Chen Vault S-001498                            133.33
        12-15   ACH Credit Icap Investments Investment Xinlu Bao Vault S- 001478                             133.33
        12-15   ACH Credit Icap Pacific Nor Mnthly Int Reinvest Into Vaul T S-001539                      41,666.67
        12-15   ACH Credit Icap Pacific Nor Mnthly Int Reinvest Into Vaul T S-001539                       8,333.33
        12-15   ACH Credit Icap Pacific Nor Mnthly Int Reinvest Into Vaul T S-001539                       4,166.67
        12-15   ACH Credit Icap Pacific Pac Int Pymt Reinvest In Vault S-001542                              825.00
        12-15   ACH Credit Icap NW Fund 2r Interest Reinvest Into Vaul Ts-001291                             458.33
        12-15   ACH Credit Icap Pacific Pac Int Pymt Icap Vault S-00131 0                                    361.94
        12-15   ACH Credit Icap Pacific Nor Mnthly Int Reinvest Into Vaul T S-001170                         262.50
        12-15   ACH Credit Icap NW Fund 2r Interest Reinvest In Vault S-001463                               118.25
        12-15   ACH Credit Icap Pacific Pac Int Pymt Icap Vault S-00130 9                                    117.48
    Total ACH and Electronic Deposits/Additions                                                     $105,755.55


    Other Withdrawals/Subtractions
        Date    Description                                                                         Subtractions
        12-02   INTL Wire Xfer Debit Bob INTL Wires Acct#4864314804 Li Ling China Merc Hants Bank        550,000.00
                Co., Li Mited S-001211 Min Yao Zheng
        12-04   INTL Wire Xfer Debit Bob INTL Wires Acct#4864314804 Zhou Jun Standard Chartered           29,955.00
                Bank (Ho Ng Kong) S-001498 Fengdi Chen
        12-11   INTL Wire Xfer Debit Bob INTL Wires Acct#4864314804 Unit5a Vb2 Holding S Ltd The         143,277.02
                Toronto- Dominion Bank S001 538 Donald And Lin
        12-11   INTL Wire Xfer Debit Bob INTL Wires Acct#4864314804 Inmo San Carlos Sa Decv Banco         13,500.00
                Del Baj Io, S.A. S001538 D Onald And Linda WI
    Total Other Withdrawals/Subtractions                                                            $736,732.02


                               Member FDIC                                  SBA Preferred Lender


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    Daily Balances
             Date               Amount            Date                   Amount                Date                   Amount
             11-30          1,709,738.88          12-08              1,092,320.96              12-16              1,052,516.99
             12-01          1,712,172.21          12-10              1,122,320.96              12-18              1,042,202.24
             12-02          1,161,172.21          12-11                970,292.44              12-22                965,001.62
             12-03          1,103,025.96          12-14                940,292.44              12-23                983,701.62
             12-04          1,078,070.96          12-15              1,053,499.49              12-31                983,710.53
             12-07          1,083,070.96


    Interest Information
                                  Annual percentage yield earned                                    .01%
                                  Interest-bearing days                                                31
                                  Average balance for APY                                  $1,048,724.05
                                  Interest earned                                                   $8.91
                                  Interest paid year to date                                       $71.77
                                  Statement period                                         12/01 to 12/31


    Overdraft Fee Summary

                                                                    Total For                         Total
                                                                   This Period                     Year-to-Date

                 Total Overdraft Fees                                  $0.00                           $0.00

                 Total Returned Item Fees                              $0.00                           $0.00




    Checks
                                              (* Skip in check sequence, R-Check has been returned, + Electronified check))
                                                                                           Total Checks paid: 0 for -$0.00




                               Member FDIC                                  SBA Preferred Lender


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IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC TRANSFERS

Call us at 1-866-486-7782 or write us at Umpqua Bank, P.O. Box 19243, Spokane, WA 99219, as soon as you
can if you think you statement or receipt is wrong or if you need more information about a transfer on the
statement or receipt. We must hear from you no later than 60 days after we send you the FIRST statement on
which the error or problem appears.

    (1) Tell us your name and account number (if any).

    (2) Describe the error or the transfer you are unsure about, and explain as clearly as you can why you
       believe there is an error or why you need more information.

    (3) Tell us the dollar amount of the suspected error.

If you tell us orally, we may require that you send us your complaint or question in writing within 10 business
days.

We will determine whether an error occurred within 10 business days after we hear from you and will correct any
error promptly. If we need more time, however, we may take up to 45 days to investigate your complaint or
question. If we decide to do this, we will credit your account within 10 business days for the amount you think is in
error, so that you will have the use of the money during the time it takes us to complete our investigation. If we
ask you to put your complaint or question in writing and we do not receive it within 10 business days, we may not
credit your account.

For errors involving new accounts, point-of-sale, or foreign-initiated transactions, we may take up to 90 days to
investigate your complaint or question. For new accounts, we may take up to 20 business days to credit your
account for the amount you think is in error.

We will tell you the results within three business days after completing our investigation. If we decide that there
was no error, we will send you a written explanation.

You may ask for copies of the documents that we used in our investigation.




                                  Member FDIC                         SBA Preferred Lender


     23-01243-WLH11         Doc 469        Filed 02/23/24   Entered 02/23/24 19:45:30 Exhibit
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                                                                                         Exhibit 1, Page 120
                           Exhibit 




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iCap Debtor Organizational Chart
                                                                                                                                                         Christopher J.
                                                                                                                                                          Christensen                                                                  Box A1

                             Dotted Line indicates Class A Member. Class B Units
                             were not issued with respect to: (i) iCap Northwest                  100% Sole                                                                                                            100% Sole
                                                                                                  Shareholder                                                                                                          Member




23-01243-WLH11
                                  Opportunity Fund, LLC and (ii) iCap Pacific
                               Northwest Opportunity and Income Fund, LLC
                                                                                                   iCap Enterprises, Inc.                                                                                             iCap Investments, LLC
                                                                                                           (WA)                                                                                                               (WA)


       100% Sole                                                                                  100% Sole                                                          100% Sole




Doc 469
       Member                                                                                     Member                                                             Member
                                                                                                       iCap Vault
                    iCap Vault, LLC (DE)                                                            Management, LLC3                                                 iCap Equity, LLC (WA)
                                                                                                          (DE)

          100% Sole                                                           100% Sole                          100% Sole                                          100% Sole                100% Sole
          Member                                                              Member                             Member                                             Member                   Member
                                                                                                                   iCap Pacific NW
                                                                                   iCap Broadway, LLC                                                                 iCap Pacific Income
             iCap Vault 1, LLC (DE)                                                                               Management, LLC4                                                           iCap @UW, LLC (WA)
                                                                                          (WA)                                                                          Fund 4, LLC (DE)




Filed 02/23/24
                                                                                                                        (WA)

        100% Sole                                            100% Sole                                     100% Sole          100% Sole               100% Sole
        Member                                               Member                                        Member             Member                  Member
                                                                                                                               iCap Northwest        iCap Pacific Northwest
                            Vault Holding, LLC               Vault Holding 1, LLC               iCap Pacific Income                                                                          UW 17th Ave, LLC5,6
                                                                                                                             Opportunity Fund, LLC      Opportunity and
                                   (DE)                             (DE)                          Fund 5, LLC (DE)                                                                                 (WA)
                                                                                                                                    (DE)             Income Fund, LLC (DE)

       100% Sole
       Member

                        VH Property                                                                                          725 Broadway, LLC 5,6                   iCap Campbell Way,                            Senza Kenmore, LLC5,6
                      Owner Entities 2,5                                                                                            (WA)                                 LLC5,6 (WA)                                       (WA)




Entered 02/23/24 19:45:30
                                                                                                                                                                                                                        Exhibit 1, Page 121




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725 Broadway, LLC

Property Address:
715-755 Broadway,
Tacoma, WA
                                                                                                                                          Christopher J. Christensen




23-01243-WLH11
                                                                   100% Sole                                                                                                                                                       100% Sole
                                                                   Shareholder                                                                                                                                                     Member


                                                       iCap Enterprises, Inc.                                                                                                                                                         iCap Investments, LLC
                                                               (WA)                                                                                                                                                                           (WA)
                                                                                                                                                                                                                                                         Class B Units




Doc 469
                                                      100% Sole                                                                                                                                                                                             21.94%
                                                      Member

                                                         iCap Equity, LLC
                                                              (WA)
                                                                                                                              100% Sole                                                                       100% Sole
                            100% Sole                                                                                         Member                                                                          Member
                            Member

                            iCap Broadway, LLC                                                                           iCap Pacific NW Management, LLC                                                  iCap Pacific Income Fund 4, LLC




Filed 02/23/24
                                   (WA)                                                                                                 (WA)                                                                             (DE)
                                                 Class A Units                                                                                                                                                                        Class B Units
                                                    5.72%                                                                                                                                                                                 4.53%
                                                                                                 100% Sole                                              100% Sole              100% Sole
                                                                                                 Member                                                 Member                 Member
                                                                                                                                    iCap Northwest Opportunity Fund,        iCap Pacific Northwest Opportunity
                                                                                 iCap Pacific Income Fund 5, LLC
                                                                                                                                                   LLC                            and Income Fund, LLC
                                                                                                (DE)
                                                                                                                                                  (DE)                                      (DE)
                                                                                                         Class B Units                                      Class B Units                              Class B Units
                                                                                                             3.60%                                             32.01%                                     32.20%




                                                          725 Broadway, LLC                                                                                                                            Dotted Line indicates Class A Member. Class B Units
                                                                (WA)                                                                                                                                   were not issued with respect to: (i) iCap Northwest
                                                                                                                                                                                                            Opportunity Fund, LLC and (ii) iCap Pacific
                                                  (715-755 Broadway, Tacoma, WA)                                                                                                                         Northwest Opportunity and Income Fund, LLC




Entered 02/23/24 19:45:30
                 • iCap Pacific NW Management, LLC is the Manager of (i) 725 Broadway, LLC, (ii) iCap Pacific Income Fund 4, LLC, (iii) iCap Pacific Income Fund 5, LLC, (iv) iCap Northwest Opportunity
                   Fund, and (v) iCap Equity LLC.
                                                                                                                                                                                      Exhibit 1, Page 122




Pg 122 of 630
iCap Campbell Way, LLC

Property Address:
1231 Campbell Way,                                                                                            Christopher J. Christensen
Bremerton, WA                            100% Sole                                                                                                                                                       100% Sole
                                         Shareholder                                                                                                                                                     Member




23-01243-WLH11
                            iCap Enterprises, Inc.                                                                                                                                                         iCap Investments, LLC
                                    (WA)                                                                                                                                                                           (WA)
                                                                                                                                                                                                                               Class A Units
                                         100% Sole                                                                                                                                                                                32.27%




Doc 469
                                         Member

                              iCap Equity, LLC
                                   (WA)
                                                                                                        100% Sole                                                              100% Sole
                                                                                                        Member                                                                 Member


                                                                                                  iCap Pacific NW Management, LLC                                            iCap Pacific Income Fund 4, LLC
                                                                                                                 (WA)                                                                       (DE)
                                                                                                                                                                                                          Class A Units




Filed 02/23/24
                                                                       100% Sole                                               100% Sole               100% Sole                                             4.80%
                                                                       Member                                                  Member                  Member


                                                                                                        iCap Northwest Opportunity Fund,          iCap Pacific Northwest Opportunity
                                                       iCap Pacific Income Fund 5, LLC
                                                                                                                       LLC                              and Income Fund, LLC
                                                                      (DE)
                                                                                                                      (DE)                                        (DE)
                                                                                  Class A Units                                   Class A Units                               Class A Units
                                                                                     3.82%                                           33.95%                                      34.15%




                                                                                                                                                                             Dotted Line indicates Class A Member. Class B Units
                                                                                                                                                                             were not issued with respect to: (i) iCap Northwest
                                                                                                             iCap Campbell Way, LLC                                               Opportunity Fund, LLC and (ii) iCap Pacific




Entered 02/23/24 19:45:30
                                                                                                                     (WA)                                                      Northwest Opportunity and Income Fund, LLC

                                                                                                      (1231 Campbell Way, Bremerton, WA)



                                                                                   • Class A Units Ownership total is 99.99% per Operating Agreement                                                          Exhibit 1, Page 123




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UW 17th Ave, LLC

Property Address:
4740 17th Ave. NE,
Seattle, WA




23-01243-WLH11
                                                                  Christopher J. Christensen
                                        100% Sole                                                100% Sole
                                        Shareholder                                              Member




Doc 469
                             iCap Enterprises, Inc.                                             iCap Investments, LLC
                                     (WA)                                                               (WA)
                                                                                                                    Class B Units
                            100% Sole
                            Member

                               iCap Equity, LLC
                                    (WA)

                            100% Sole




Filed 02/23/24
                            Member

                               iCap @UW, LLC
                                    (WA)
                                                  Class A Units




                                                                      UW 17th Ave, LLC
                                                                          (WA)

                                                             (4740 17th Ave. NE, Seattle, WA)




Entered 02/23/24 19:45:30
                               • iCAP Pacific NW Management, LLC is the Manager of UW 17th Ave, LLC
                               • Class A Units: 5,000,000 issued to iCap@UW, LLC
                               • Class B Units: 1,000,000 issued to iCap Investments, LLC

                                                                                                                                    Exhibit 1, Page 124




Pg 124 of 630
Senza Kenmore, LLC
                                                                                                                                                                   Chris Christensen
Property Address:                                                                                                                                                    (Sole Owner)
15550 84th Ave. SE,                                                                                                                        100% Sole                                                                                100% Sole
                                                                                                                                           Shareholder                                                                              Member
Kenmore, WA




23-01243-WLH11
                                                                                                                              iCap Enterprises, Inc.                                                                                 iCap Investments, LLC
                            Devout Capital Limited                                                                                    (WA)                                                                                                   (WA)
                                                                                                                                                                                                                                                          Class B Unit
                                                     Class A Units                                                                        100% Sole                                                                                                         23.27%
                                                        66.67%                                                                            Member




Doc 469
                                                                                                                                iCap Equity, LLC
                                                                                                                                     (WA)
                                                                                                                                                               100% Sole                                      100% Sole
                                 Shiyu Zhang                                                                                                                   Member                                         Member

                                                     Class A Units
                                                        8.33%                                                                                             iCap Pacific NW Management, LLC                 iCap Pacific Income Fund 4, LLC
                                                                                                                                                                         (WA)                                            (DE)
                                                                                                                                                                                                                                    Class B Unit
                                                                                                                                                                                                                                       4.80%




Filed 02/23/24
                                Qiong Huang                                                              100% Sole                                  100% Sole                                     100% Sole
                                                                                                         Member                                     Member                                        Member
                                                     Class A Units
                                                                                      iCap Pacific Northwest Opportunity          iCap Northwest Opportunity Fund,
                                                        8.33%                                                                                                                     iCap Pacific Income Fund 5, LLC
                                                                                            and Income Fund, LLC                                 LLC
                                                                                                                                                                                                 (DE)
                                                                                                      (DE)    Class B Units                     (DE)      Class B Units                                 Class B Units
                                                                                                                 34.15%                                      33.95%                                        3.82%



                                Fengdi Chen
                                                     Class A Units
                                                        16.67%

                                                                                                                                                                                                              Dotted Line indicates Class A Member. Class B Units
                                                                                                                                                                                                              were not issued with respect to: (i) iCap Northwest
                                                                                                                                                                                                                   Opportunity Fund, LLC and (ii) iCap Pacific




Entered 02/23/24 19:45:30
                                                                       Senza Kenmore, LLC
                                                                              (WA)                                                                                                                              Northwest Opportunity and Income Fund, LLC

                                                                (15550 84th Ave. SE, Kenmore, WA)
                                                                                                                     • Class B Units Ownership total is 99.99% per Operating Agreement
                                                                                                                     • iCap Pacific NW Management, LLC is the Manager of Senza Kenmore, LLC
                                                                                                                                                                                                                                 Exhibit 1, Page 125




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VH Willows Townhomes, LLC

Property Address:
4918C, 4906A, 4912B, 4910B South Willow St.,
Seattle, WA




23-01243-WLH11
                                                                           Christopher J. Christensen


                                                                         100% Sole
                                                                         Shareholder

                                                                              iCap Enterprises, Inc.




Doc 469
                                                                                      (WA)

                                                                          100% Sole                                                   100% Sole
                                                                          Member                                                      Member


                                                                                 iCap Vault, LLC                        iCap Vault Management, LLC
                                                                                      (DE)                                          (DE)

                                                                         100% Sole




Filed 02/23/24
                                                                         Member

                                                                                iCap Vault 1, LLC
                                                                                      (DE)

                                                                         100% Sole
                                                                         Member

                                                                               Vault Holding, LLC
                                                                                      (DE)

                                                                         100% Sole
                                                                         Member

                                                                          VH Willows Townhomes, LLC
                                                                                     (DE)




Entered 02/23/24 19:45:30
                                                           (4918C, 4906A, 4912B, 4910B South Willow St., Seattle, WA)




                                               iCap Vault Management, LLC is Manager of VH Willows Townhomes, LLC                                    Exhibit 1, Page 126




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VH Senior Care, LLC

Property Address:
302 SW 146th St.,
Burien, WA




23-01243-WLH11
                                                 Christopher J. Christensen


                                                100% Sole
                                                Shareholder

                                                   iCap Enterprises, Inc.




Doc 469
                                                           (WA)

                                                100% Sole                                             100% Sole
                                                Member                                                Member

                                                      iCap Vault, LLC                  iCap Vault Management, LLC
                                                           (DE)                                    (DE)

                                                100% Sole




Filed 02/23/24
                                                Member

                                                      iCap Vault 1, LLC
                                                            (DE)

                                                100% Sole
                                                Member

                                                     Vault Holding, LLC
                                                            (DE)

                                                100% Sole
                                                Member

                                                    VH Senior Care, LLC
                                                           (DE)




Entered 02/23/24 19:45:30
                                              (302 SW 146th St., Burien, WA)




                            iCap Vault Management, LLC is Manager of VH Senior Care, LLC                            Exhibit 1, Page 127




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VH 1121 14th, LLC

Property Address:
1121 14th Ave.,
Seattle, WA




23-01243-WLH11
                                                Christopher J. Christensen


                                              100% Sole
                                              Shareholder

                                                   iCap Enterprises, Inc.




Doc 469
                                                           (WA)

                                              100% Sole                                           100% Sole
                                              Member                                              Member

                                                      iCap Vault, LLC               iCap Vault Management, LLC
                                                           (DE)                                 (DE)

                                              100% Sole




Filed 02/23/24
                                              Member

                                                     iCap Vault 1, LLC
                                                           (DE)

                                               100% Sole
                                               Member

                                                    Vault Holding, LLC
                                                           (DE)

                                              100% Sole
                                              Member

                                                    VH 1121 14th, LLC
                                                         (DE)




Entered 02/23/24 19:45:30
                                               (1121 14th Ave., Seattle, WA)




                            iCap Vault Management, LLC is Manager of VH 1121 14th, LLC                           Exhibit 1, Page 128




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VH 2nd Street Office, LLC

Property Address:
2818 E. 2nd Street,
Vancouver, WA 98661




 23-01243-WLH11
                                                      Christopher J. Christensen


                                                   100% Sole
                                                   Shareholder

                                                        iCap Enterprises, Inc.




 Doc 469
                                                                (WA)

                                                   100% Sole                                            100% Sole
                                                   Member                                               Member

                                                           iCap Vault, LLC                iCap Vault Management, LLC
                                                                (DE)                                  (DE)

                                                   100% Sole




 Filed 02/23/24
                                                   Member

                                                           iCap Vault 1, LLC
                                                                 (DE)

                                                     100% Sole
                                                     Member

                                                          Vault Holding, LLC
                                                                 (DE)

                                                     100% Sole
                                                     Member

                                                      VH 2nd Street Office, LLC
                                                                (DE)




 Entered 02/23/24 19:45:30
                                              (2818 E. 2nd Street, Vancouver, WA 98661)




                             iCap Vault Management, LLC is Manager of VH 2nd Street Office, LLC                        Exhibit 1, Page 129




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VH Pioneer Village, LLC

Property Address:
4318 S. Settler Drive,
Ridgefield, WA 98642




 23-01243-WLH11
                                                      Christopher J. Christensen


                                                    100% Sole
                                                    Shareholder

                                                         iCap Enterprises, Inc.




 Doc 469
                                                                 (WA)

                                                   100% Sole                                              100% Sole
                                                   Member                                                 Member

                                                            iCap Vault, LLC                 iCap Vault Management, LLC
                                                                 (DE)                                   (DE)

                                                   100% Sole




 Filed 02/23/24
                                                   Member

                                                           iCap Vault 1, LLC
                                                                 (DE)

                                                    100% Sole
                                                    Member

                                                          Vault Holding, LLC
                                                                 (DE)

                                                    100% Sole
                                                    Member

                                                          VH 1121 14th, LLC
                                                               (DE)




 Entered 02/23/24 19:45:30
                                            (4318 S. Settler Drive, Ridgefield, WA 98642)




                             iCap Vault Management, LLC is Manager of VH Pioneer Village, LLC                            Exhibit 1, Page 130




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Delegation List
Chris Christensen <chris@icapequity.com>
Wed 10/9/2019 439 PM
To:Jim Christensen <jim@icapequity.com>
        1.   Finish List
        2.   Prioritize
        3.   Delegate
              a. Jim
              b.Andy
              c. Jonathan
         4.  Commitment Table
       
       TOP OF LIST
 ·    East West: Piper access
 ·    Seaside Bank pw
 ·    Big Picture Goals -- Cash Plan (Shared)
 ·    S-11 by Friday
 ·    Trademark: review and sign
 ·    Harbor questions: Jim to educate China team and arrange a demo
         · How can Chinese buy on marketplace?
         · Need to show the team how it works
         · Foreign exchanges?
 ·    Harbor: Fund 1 summary doc
 ·    Cindy's security concern
 ·    Hohimer
       
       
       CHINA
 ·    Raymond Holiday pay (9/11 email): follow up with Lisa
 ·    Huasheng/Froton: Chris to copy Ron
 ·    Review proposal from Kevin Liu's team (email 9/13)
 ·    Send Kevin Liu's resume to some ﬁrms (email 9/13)
       
       
       VAULT
 ·    Subdocs: Update for custodians (Andy email 9/11)
 ·    Selling Agreement - Legal Counsel email: payments to Chinese marketers (non-US)
 ·    Expense allocation document review
 ·    Indenture Agreement: waiting for review
 ·    S-11 Review
 ·    Deck: Chris to review
 ·    Selling Agreement (China):
         · Verify agreement
         · Verify payment timing/amount
 ·    Trademark follow up (PC attorney email 7/16)
 ·    Vault Audit: Andy to meet with Tatiana
       
       
       FUND 5
 ·    Engage Auditor: wait for CFO
 ·    Andy:
         · Website


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                                                                                  Pg 1431, Page
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          · Follow Up with Chris Carsley (Chris to email)
    ·    OA for each entity: Jim to verify that agreements are signed and saved (iCap Paciﬁc Income
         Fund 5, LLC and iCap Holdings, LLC)
    ·    Marketing Materials

          FUND 6
    ·    Public Offering
          
          HARBOR
    ·    Harbor:
            · read the summary page draft by Andy (Jim and Andy to ﬁnish)
            · Jim to have John C. review documents and collateral agent signature
          
          
          GENERAL
    ·    iCap Equity:
            · cash ﬂow projections; Fund 1 properties selling?
            · Meet with Piper: reimbursements; fund 4 ofﬁce rent
    ·    Tax Planning (Suite 500, LLC; C-corp; etc.)
    ·    Prepare a track record presentation
            · Address Weighted average ROI:
            · Every problem and the solution to go with it
            · Create a marketing brochure
            · Pair it with pro forma and plan going forward
            · apply the new rules to the prior data.
            · Going forward we have the beneﬁt of this.
            · Address Ponzi idea
    ·    AML/KYC checks for Fund 4 (all non-BD investors)
    ·    Update Linkedin (9/16 email from Jami): Jim to talk with Lisa
    ·    Review Yi Zheng Consulting Agreement (Lisa email 9/5)
    ·    Accounting IPP review (Piper email 9/13)
    ·    Remove TD from credit card


Chris Christensen / President, JD, MIB
425-278-9030 x131 / icapequity.com



3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006





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                                                                                         Exhibit 1, Page 145
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                                                                                      AUM           Net Gain/Loss on Investment                               Project: Sponsor or        Date of      Equity Exit
                            WƌŽũĞĐƚ͗WƌŽũĞĐƚEĂŵĞј Fund                             Status        Investment        Amount           IRR   Sale Price       Purchaser                  Investment   Date          Project: Project Address
                            134th Street Lofts LLC   iCap 134th Street LLC            Take Back          -$235,809.54    $2,789,630.89   -6%                                             12/23/2020   7/20/2022     13414 NE 23rd Ave, Vancouver, WA 98686
                                                     iCap Northwest Opportunity Fund,
                                                     LLC                              Take Back       -$2,453,311.40     $3,953,311.40   -28%                                            11/16/2015   7/31/2022 13414 NE 23rd Ave, Vancouver, WA 98686
                                                     iCap Pacific Income Fund 4, LLC  Take Back         -$372,279.54     $4,499,307.55    -4%                                            10/3/2019    12/31/2022 13414 NE 23rd Ave, Vancouver, WA 98686
                                                                                                                                                           Sold to: 134th Street Lofts
                                                                                                                                                           Investors, LLC, Xchange
                                                                                                                                                           Solutions, Inc, Buchbinder
                            Subtotal                                                                  -$3,061,400.48    $11,242,249.84   -38% $ 38,750,000 Leverich, LLC

                                                       iCap Pacific Northwest                                                                                 Hardy Development




23-01243-WLH11
                            13 Ave W LLC               Opportunity & Income Fund, LLC   Good             $490,053.35       $525,000.00   40%                  Companies                  6/11/2014    8/8/2016      3637 13th Avenue W, Seattle, WA
                            Subtotal                                                                     $490,053.35       $525,000.00   40%

                                                       iCap Pacific Northwest                                                                                 Hardy Development                                  3802 13th Ave. W. & 1208 W. Emerson St.,
                            13th & Emerson LLC         Opportunity & Income Fund, LLC Good               $321,819.92       $601,310.00   50%                  Companies                  7/23/2014    8/3/2016   Seattle, WA 98121
                                                       iCap Northwest Opportunity Fund,                                                                       Hardy Development                                  3802 13th Ave. W. & 1208 W. Emerson St.,




Doc 469
                                                       LLC                              Good              $78,244.78       $957,600.00 54%                    Companies                  8/5/2015     10/10/2015 Seattle, WA 98121
                            Subtotal                                                                     $400,064.70     $1,558,910.00 104%

                                                       iCap Northwest Opportunity Fund,
                            1756 NW 60th St LLC        LLC                              Good              $65,281.64       $266,590.30   55%                  Triple Point, LLC          5/28/2015    5/25/2016     1756 NW 60th Street, Seattle, WA 98107
                            Subtotal                                                                      $65,281.64       $266,590.30   55%

                            17th Ave Group LLC         iCap B2, LLC                     Good             $585,331.90       $669,237.56   87%                  Domus Homes, LLC           11/19/2013   7/24/2015     111 17th Ave, Seattle, 98122
                            Subtotal                                                                     $585,331.90       $669,237.56   87%

                            1st Ave NE Development     iCap Pacific Northwest                                                                                 Hardy Development




Filed 02/23/24
                            LLC                        Opportunity & Income Fund, LLC   Good             $431,391.89       $630,240.00   47%                  Companies                  5/29/2014    10/2/2015     3918 1st Avenue NE, Seattle, WA 98105
                            Subtotal                                                                     $431,391.89       $630,240.00   47%

                                                       iCap Northwest Opportunity Fund,                                                                                                                             3816 23rd Ave. W, 3818 23rd Ave W., 3817
                            23rd and Gilman, LLC       LLC                              Good             $320,872.20       $729,127.80   34%                  Domus Homes, LLC           10/28/2015   1/30/2017     Gilman Ave. W., Seattle, WA 98199
                            Subtotal                                                                     $320,872.20       $729,127.80   34%

                            313 Prospect Residence,    iCap Northwest Opportunity Fund,
                            LLC                        LLC                              Good             $238,877.93       $317,098.60   33%                  Barcelo Homes Inc          6/16/2015    7/20/2017     313 Prospect St, Seattle, WA 98118
                            Subtotal                                                                     $238,877.93       $317,098.60   33%

                                                       iCap Pacific Northwest                                                                                 Hardy Development
                            4422 Woodlawn LLC          Opportunity & Income Fund, LLC   Good              $86,635.41       $182,100.00   51%                  Companies                  7/21/2014    7/2/2015      4422 Woodlawn Avenue N, Seattle, WA 98121
                            Subtotal                                                                      $86,635.41       $182,100.00   51%

                                                       iCap Pacific Northwest
                            725 Broadway LLC           Opportunity & Income Fund, LLC   Take Back         $69,152.78     $1,067,408.57    2%                  Boulevard Group            7/1/2014     7/26/2019     725 Broadway, Tacoma, WA 98402




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                                                                                                                                                              Not Sold but investment
                                                                                                                                                              was paid off by another
                            Subtotal                                                                      $69,152.78     $1,067,408.57    2%                  fund

                                                       iCap Northwest Opportunity Fund,
                            76th Ave SE Partners LLC   LLC                              Good             $388,598.84       $536,500.00   27%                  Build Urban                9/2/2015     12/1/2017     3847 76th Avenue SE, Mercer Island, WA 98040
                            Subtotal                                                                     $388,598.84       $536,500.00   27%

                                                       iCap Pacific Northwest
                            9041 48th LLC              Opportunity & Income Fund, LLC Take Back          $175,379.16       $820,528.36    8%                  Chris Bown                 4/30/2014    6/14/2018     9041 48th Ave South, Seattle, WA 98118
                                                       iCap Northwest Opportunity Fund,




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                                                       LLC                              Take Back         $66,185.33       $530,910.00   30%                  Chris Bown                 2/13/2018    7/30/2018     9041 48th Ave South, Seattle, WA 98118




                                                                                                                                                                                                                                     Exhibit 1, Page 146
                                                                                        AUM         Net Gain/Loss on Investment                        Project: Sponsor or             Date of      Equity Exit
                            WƌŽũĞĐƚ͗WƌŽũĞĐƚEĂŵĞј Fund                               Status      Investment       Amount           IRR  Sale Price  Purchaser                       Investment   Date          Project: Project Address
                            Subtotal                                                                     $241,564.49     $1,351,438.36 38% $ 1,200,000 Sold to: Trillium Green LLC

                                                      iCap Pacific Northwest                                                                                                                                      15615 Pacific Ave S., Spanaway, Washington
                            Alamo NW LLC              Opportunity & Income Fund, LLC    Good             $342,253.22    $1,396,404.14   21%                Don Gaube                   6/10/2014    9/14/2015     98444
                            Subtotal                                                                     $342,253.22    $1,396,404.14   21%

                            Alexis Modern LLC         iCap B2, LLC                      Default         -$954,352.16      $954,352.16 -100%                Boulevard Group             12/16/2013   7/13/2018     1336 W. 6th Avenue, Anchorage, AK 99501
                                                                                                                                                           Cant find docs of sale or
                                                                                                                                                           foreclosure - my




23-01243-WLH11
                                                                                                                                                           assumption is that it was
                            Subtotal                                                                    -$954,352.16      $954,352.16 -100%                foreclosed

                                                      iCap Pacific Northwest                                                                               Hardy Development
                            Aloha Ventures LLC        Opportunity & Income Fund, LLC    Good             $274,017.47      $372,500.00   41%                Companies                   3/7/2014     10/13/2015 748 11th Avenue E, Seattle, WA 98102
                            Subtotal                                                                     $274,017.47      $372,500.00   41%




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                                                      iCap Pacific Northwest
                            Ankeny Building LLC       Opportunity & Income Fund, LLC    Good             $960,723.38    $1,704,500.00   35%                Parker McNulty              3/26/2015    9/30/2016     1452 E. Burnside Street, Portland, OR 97214
                            Subtotal                                                                     $960,723.38    $1,704,500.00   35%

                                                     iCap Pacific Northwest
                            Barcelo Madison Park LLC Opportunity & Income Fund, LLC     Alert          $1,042,134.14      $840,414.35   26%                Barcelo Homes, Inc          12/29/2014   3/25/2019     2307 43rd Ave SE, Seattle, WA 98112
                            Subtotal                                                                   $1,042,134.14      $840,414.35   26%

                                                      iCap Pacific Northwest
                            BDR Kirkland II LLC       Opportunity & Income Fund, LLC    Good             $845,742.88      $833,000.00   38%                BDR Capital Partners        6/27/2014    10/27/2016 420 7th Ave. / 1118 2nd St., Kirkland, WA 98034




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                            Subtotal                                                                     $845,742.88      $833,000.00   38%

                                                      iCap Northwest Opportunity Fund,                                                                                                                            6214 NE Lake Washington Blvd., Kirkland, WA
                            BDR Kirkland V, LLC       LLC                              Good              $259,508.55    $1,246,000.00   41%                BDR Capital Partners        8/7/2015     2/29/2016     98033
                            Subtotal                                                                     $259,508.55    $1,246,000.00   41%

                                                      iCap Pacific Northwest
                            BDR Medina III LLC        Opportunity & Income Fund, LLC    Good           $1,066,673.05    $1,296,032.50   40%                BDR Capital Partners        10/24/2014   10/31/2016 2038 79th Ave. NE, Medina, WA 98039
                            Subtotal                                                                   $1,066,673.05    $1,296,032.50   40%

                                                      iCap Pacific Northwest                                                                                                                                      3823 94TH AVENUE NORTHEAST, Bellevue, WA
                            BDR Yarrow Point II LLC   Opportunity & Income Fund, LLC    Good             $707,610.92      $724,999.99   44%                BDR Capital Partners        4/15/2014    3/17/2016     98004
                            Subtotal                                                                     $707,610.92      $724,999.99   44%

                                                      iCap Northwest Opportunity Fund,
                            Belvidere Investors LLC   LLC                              Default          -$479,346.63      $479,346.63 -100%                MK West                     12/8/2015    7/23/2021     2318 Belvidere Ave SW, Seattle, WA 98126
                            Subtotal                                                                    -$479,346.63      $479,346.63 -100%




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                                                      iCap Northwest Opportunity Fund,
                            BU 1121 14th LLC          LLC                              Take Back         $144,648.63      $440,613.19   18%                Build Urban                 12/21/2018   12/2/2021     1121 14th Ave, Seattle, WA 98122
                                                      iCap Pacific Income Fund 5, LLC  Take Back         -$30,307.39    $1,041,676.86   -2%                Build Urban                 6/9/2020     12/2/2021     1121 14th Ave, Seattle, WA 98122
                            Subtotal                                                                     $114,341.24    $1,482,290.05   16% $    3,875,000 Sold to: VH 1121 14th Ave

                            BU 2412 10th LLC          iCap Pacific Income Fund 4, LLC   Take Back       -$839,045.20      $839,045.20 -100%                Build Urban                 11/5/2019    11/30/2021 2412 10th Ave E, Seattle, WA 98102




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                                                                                                                                                                                                                                   Exhibit 1, Page 147
                                                                                        AUM         Net Gain/Loss on Investment                                Project: Sponsor or           Date of      Equity Exit
                            WƌŽũĞĐƚ͗WƌŽũĞĐƚEĂŵĞј Fund                               Status      Investment       Amount              IRR     Sale Price    Purchaser                     Investment   Date          Project: Project Address
                                                                                                                                                               This project is in a
                                                                                                                                                               receivership with Sound
                                                                                                                                                               Equity. The receiver will
                                                                                                                                                               build out the project with
                                                                                                                                                               the potential for a profit
                                                                                                                                                               share at the sale of the
                            Subtotal                                                                    -$839,045.20      $839,045.20 -100%                    units.

                            BU 6647 Windermere LLC iCap Pacific Income Fund 5, LLC      Take Back       -$259,062.92      $259,062.92 -100%                    Build Urban                   2/21/2020    9/30/2021     6659 NE Windermere Road, Seattle, WA 98115




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                            Subtotal                                                                    -$259,062.92      $259,062.92 -100%                    Foreclosure

                            BU 7902 Greenlake LLC      iCap Equity, LLC                 Take Back       -$606,731.97      $606,731.97 -100%                    Build Urban                   8/17/2018    11/30/2021 7902 Green Lake Drive N, Seattle, WA 98103
                                                                                                                                                               This project is in a
                                                                                                                                                               receivership with Sound
                                                                                                                                                               Equity. The receiver will
                                                                                                                                                               build out the project with




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                                                                                                                                                               the potential for a profit
                                                                                                                                                               share at the sale of the
                            Subtotal                                                                    -$606,731.97      $606,731.97 -100%                    units.

                                                                                                                                                                                                                        1633 A California Avenue Southwest, Seattle,
                            Calafia LLC                iCap B2, LLC                     Good             $147,390.35      $109,000.00 135%                     Domus Homes, LLC              12/23/2013   5/6/2014      WA 98116
                            Subtotal                                                                     $147,390.35      $109,000.00 135%

                            Capitol Hill Development   iCap Pacific Northwest                                                                                  Hardy Development
                            LLC                        Opportunity & Income Fund, LLC   Good             $678,515.34     $1,034,752.86    54%                  Companies                     11/5/2014    2/29/2016     1123 E. John St., Seattle, Washington 98102




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                            Subtotal                                                                     $678,515.34     $1,034,752.86    54%

                                                       iCap Pacific Northwest                                                                                                                                           3801 Martin Luther King Way S, Seattle, WA
                            Charlestown Street LLC     Opportunity & Income Fund, LLC   Good             $426,392.36     $1,039,999.90    34%                  Domus Homes, LLC              3/20/2015    6/15/2016     98108
                            Subtotal                                                                     $426,392.36     $1,039,999.90    34%

                                                       iCap Pacific Northwest
                            Colpitts Sunset LLC        Opportunity & Income Fund, LLC   Take Back      $1,420,925.32     $1,579,074.68    34%                                                1/7/2015     3/31/2017     2715 Sunset Lane NE, Renton, WA 98056
                                                       iCap B1, LLC                     Take Back        $743,108.31     $1,571,509.00    47%                                                9/20/2013    1/8/2015      2715 Sunset Lane NE, Renton, WA 98056
                                                                                                                                                           Sold to: Olympia Hotel Group,
                                                                                                                                                           LLC, Sunset Living, LLC, Sunset
                            Subtotal                                                                   $2,164,033.63     $3,150,583.68    81% $ 44,000,000 Terrace WA, LLC

                            Columbia Property          iCap Pacific Northwest                                                                                  Olympic Cascade Drive Ins
                            Managers LLC               Opportunity & Income Fund, LLC   Take Back     -$1,058,881.90     $1,088,881.90    -53%                 LLC                          12/26/2014    1/5/2022      21895 Viking Ave NW, Poulsbo, WA 98370
                                                                                                                                                               Sold to: NuGrowth Capital II
                            Subtotal                                                                  -$1,058,881.90     $1,088,881.90    -53% $        30,000 LLC

                                                       iCap Pacific Northwest




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                            Denali Townhomes LLC       Opportunity & Income Fund, LLC   Alert           -$199,321.89      $199,321.89 -100%                    Steve White                   9/17/2014    8/5/2019      3426 W. 7th Avenue, Kennewick, WA 99366
                            Subtotal                                                                    -$199,321.89      $199,321.89 -100%

                                                                                                                                                                                                                        2008 and 2010 93rd Avenue SE, Olympia, WA
                            Drake 93rd LLC             iCap B2, LLC                                      -$73,018.23      $211,272.89     -35%                                               11/8/2013    7/20/2017     98501
                            Subtotal                                                                     -$73,018.23      $211,272.89     -35%

                                                       iCap Pacific Northwest
                            ENT Ventures II LLC        Opportunity & Income Fund, LLC   Good             $166,215.16      $430,389.82     18%                  Parker McNulty                12/29/2014   5/15/2017     2240- 2248 NE MLK Jr Blvd, Portland, OR 97201
                            Subtotal                                                                     $166,215.16      $430,389.82     18%




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                                                                                                                                                                                                                                         Exhibit 1, Page 148
                                                                                         AUM         Net Gain/Loss on Investment                               Project: Sponsor or       Date of      Equity Exit
                            WƌŽũĞĐƚ͗WƌŽũĞĐƚEĂŵĞј Fund                                Status      Investment       Amount              IRR     Sale Price   Purchaser                 Investment   Date          Project: Project Address
                                                     iCap Pacific Northwest
                            ENT Ventures I LLC       Opportunity & Income Fund, LLC      Good             $582,588.56     $1,948,884.00    18%                 Parker McNulty            12/29/2014   9/2/2016      1825 NW 23rd Avenue, Portland, OR 97210
                            Subtotal                                                                      $582,588.56     $1,948,884.00    18%

                                                      iCap Pacific Northwest
                            ENT Ventures IV LLC       Opportunity & Income Fund, LLC     Good             $127,208.55      $400,358.79     14%                 Parker McNulty            2/13/2015    9/28/2018     422 NE Ivy Street, Portland, OR 97212
                            Subtotal                                                                      $127,208.55      $400,358.79     14%

                                                      iCap Northwest Opportunity Fund,                                                                                                                              SW Binford Ave. and SW 43rd St., Pleasant




23-01243-WLH11
                            Hayden Meadows LLC        LLC                              Good               $217,565.01     $1,084,010.80    30%                 Taliesin Homes NW, LLC    3/10/2016    4/12/2017     Valley, OR 97080
                            Subtotal                                                                      $217,565.01     $1,084,010.80    30%

                            High Country Soundview    iCap Pacific Northwest                                                                                                                                        4400 SW Dash Point Road, Federal Way, WA
                            Manor LLC                 Opportunity & Income Fund, LLC     Take Back     -$2,181,937.09     $3,329,207.99    -54%                High Country Homes 1, Inc. 4/17/2014   3/31/2018     98034
                            Subtotal                                                                   -$2,181,937.09     $3,329,207.99    -54%




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                                                        iCap Pacific Northwest
                            Hillsboro Acquisition I LLC Opportunity & Income Fund, LLC   Good             $170,512.23     $1,606,500.00    43%                 Kirkland Development, LLC 5/21/2015    8/31/2015     21685 NW Cherry Lane, Hillsboro, OR 97123
                            Subtotal                                                                      $170,512.23     $1,606,500.00    43%

                                                      iCap Northwest Opportunity Fund,
                            iCap Brislawn LLC         LLC                              Good                  $115.94      $1,473,725.59     0%                 Hultquist Homes Inc       8/17/2015    12/30/2019 7918 120th Place SE, Newcastle, WA 98055
                                                      iCap EVO, LLC                    Good               -$46,927.00       $468,927.00     8%                 Hultquist Homes Inc       9/30/2016    3/26/2020 7918 120th Place SE, Newcastle, WA 98055
                            Subtotal                                                                      -$46,811.06     $1,942,652.59     8%

                            iCap Campbell Way LLC     iCap B1, LLC                       Good             $145,294.87      $632,038.00     23%                 iCap Equity, LLC          9/20/2013    10/31/2014 1231 Campbell Way, Bremerton, WA 98310




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                            Subtotal                                                                      $145,294.87      $632,038.00     23%

                                                      iCap Pacific Northwest
                            iCap Delridge Way LLC     Opportunity & Income Fund, LLC     Good             $103,878.78      $408,652.84      9%                 iCap Equity, LLC          2/21/2014    5/9/2017      5206 Delridge Way SW, Seattle, WA 98106
                            Subtotal                                                                      $103,878.78      $408,652.84      9%

                                                      iCap Pacific Northwest
                            iCap Finn Hill LLC        Opportunity & Income Fund, LLC Good                -$746,910.41    $3,061,618.00     -25%                iCap Equity, LLC          10/29/2015   6/24/2019     11907 84th Avenue NE, Kirkland, WA 98034
                                                      iCap Northwest Opportunity Fund,
                                                      LLC                              Good              -$284,826.07     $1,491,229.99    -29%                iCap Equity, LLC          2/2/2016     6/24/2019     11907 84th Avenue NE, Kirkland, WA 98034
                            Subtotal                                                                   -$1,031,736.48     $4,552,847.99    -54%

                                                      iCap Pacific Northwest
                            iCap Finn Meadows LLC     Opportunity & Income Fund, LLC Good                  $48,212.30      $150,949.35     21%                 iCap Equity, LLC          4/17/2015    9/16/2016     12606 82nd Ave, Kirkland, WA 98034
                                                      iCap Northwest Opportunity Fund,
                                                      LLC                              Good              -$252,259.06     $2,141,131.84    -6%                 iCap Equity, LLC          1/11/2016    5/8/2019      12606 82nd Ave, Kirkland, WA 98034
                            Subtotal                                                                     -$204,046.76     $2,292,081.19    15%




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                                                      iCap Pacific Northwest
                            iCap Lakeview LLC         Opportunity & Income Fund, LLC Good                 $108,947.45     $1,092,990.28    46%                 iCap Equity, LLC          5/7/2015     9/22/2015     1125 N 40th St., Renton, WA 98056
                                                      iCap Northwest Opportunity Fund,
                                                      LLC                              Good              -$528,516.35     $2,393,013.73    -14%                iCap Equity, LLC          5/6/2015     7/12/2019     1125 N 40th St., Renton, WA 98056
                                                      iCap EVO, LLC                    Good              -$729,945.00     $2,685,145.00    -17%                iCap Equity, LLC          5/6/2015     7/12/2019     1125 N 40th St., Renton, WA 98056
                            Subtotal                                                                   -$1,149,513.90     $6,171,149.01     15%

                                                      iCap Pacific Northwest
                            iCap Rhody Ridge LLC      Opportunity & Income Fund, LLC Good                 -$48,959.71     $1,331,891.33     -2%                iCap Equity, LLC          10/16/2015   4/19/2019     11230 SE 80th St., Newcastle, WA 98056
                                                      iCap Northwest Opportunity Fund,
                                                      LLC                              Good               -$25,936.51     $3,418,463.67     -1%                iCap Equity, LLC          10/1/2015    4/19/2019     11230 SE 80th St., Newcastle, WA 98056




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                            Subtotal                                                                      -$74,896.22     $4,750,355.00     -3%




                                                                                                                                                                                                                                     Exhibit 1, Page 149
                                                                                        AUM         Net Gain/Loss on Investment                               Project: Sponsor or         Date of      Equity Exit
                            WƌŽũĞĐƚ͗WƌŽũĞĐƚEĂŵĞј Fund                               Status      Investment       Amount              IRR     Sale Price   Purchaser                   Investment   Date          Project: Project Address

                                                       iCap Northwest Opportunity Fund,
                            KBRI6 LLC                  LLC                              Good            -$109,703.53      $890,266.94      -5%                Nexus Homes, LLC            6/29/2015    4/16/2018     7718 NE 141st Street, Kirkland, WA 98034
                            Subtotal                                                                    -$109,703.53      $890,266.94      -5%

                                                       iCap Pacific Northwest
                            KR3 LLC                    Opportunity & Income Fund, LLC   Take Back        $142,107.56      $357,892.44     31%                 Nexus Homes, LLC            3/27/2015    7/7/2016      126XX 80th Ave NE, Kirkland, WA 98034
                            Subtotal                                                                     $142,107.56      $357,892.44     31%




23-01243-WLH11
                            Lake Sammamish Home 1 iCap Pacific Northwest
                            LLC                   Opportunity & Income Fund, LLC        Good             $430,506.38      $404,518.60 227%                    Michael Rundle              6/30/2014    3/31/2015     20929 SE 14th Place, Sammamish, WA 98075
                            Subtotal                                                                     $430,506.38      $404,518.60 227%

                                                       iCap Northwest Opportunity Fund,                                                                       Hardy Development
                            Lake Union Estates LLC     LLC                              Take Back        $238,215.26     $4,433,765.01     4%                 Companies                   4/15/2016    10/19/2017 2236 Fairview Ave. E, Seattle, WA 98102
                            Subtotal                                                                     $238,215.26     $4,433,765.01     4%




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                                                       iCap Pacific Northwest
                            Lyle 113th Ave LLC         Opportunity & Income Fund, LLC   Take Back       -$147,924.08      $883,648.75     -12%                Lyle Homes, Inc.            11/21/2014   2/13/2017 3218 113th Avenue SE, Bellevue, WA 98004
                                                       iCap B1, LLC                     Take Back        $168,829.59       $445,348.00     38%                Lyle Homes, Inc.            9/20/2013    11/18/2014 3218 113th Avenue SE, Bellevue, WA 98004
                            Subtotal                                                                      $20,905.51     $1,328,996.75     26%

                                                       iCap Northwest Opportunity Fund,                                                                       Noble Ridge Construction,
                            Mercer 36 LLC              LLC                              Good             $228,547.31      $264,609.60     35%                 Inc.                        6/1/2015     6/23/2017     8435 SE 36th St., Mercer Island, WA 98040
                            Subtotal                                                                     $228,547.31      $264,609.60     35%




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                            Meridian Greens Holdings iCap Pacific Northwest
                            LLC                      Opportunity & Income Fund, LLC     Take Back     -$2,389,747.05     $2,410,825.27    -91%                JR Sampson Company          5/30/2014    3/31/2018     1359 97th Ave. E, Puyallup, WA 98373
                            Subtotal                                                                  -$2,389,747.05     $2,410,825.27    -91%

                            Mill Slope LLC             iCap B2, LLC                                            $0.00       $78,287.40      0%                 Domus Homes, LLC            11/19/2013   3/3/2014      1622 E. Yesler Way, Seattle, WA 98122
                            Subtotal                                                                           $0.00       $78,287.40      0%

                                                       iCap Northwest Opportunity Fund,
                            Pearl and Delores LLC      LLC                              Good             $368,901.68      $678,239.60     34%                 Domus Homes, LLC            12/29/2015   8/10/2017     5153 and 5159 42nd Ave. S., Seattle, WA 98118
                            Subtotal                                                                     $368,901.68      $678,239.60     34%

                                                       iCap Pacific Northwest                                                                                                                                        345 George Washington Way, Richland, WA
                            Richland Acquisition LLC   Opportunity & Income Fund, LLC   Take Back     -$1,042,348.88     $1,739,848.37    -29%                Kirkland Development, LLC 9/18/2015      12/6/2019     99352
                            Subtotal                                                                  -$1,042,348.88     $1,739,848.37    -29%

                                                       iCap Pacific Northwest
                            Ruby 62 Holdings LLC       Opportunity & Income Fund, LLC   Take Back     -$1,578,269.08     $1,795,428.77    -39%                JR Sampson Company          6/3/2014     8/20/2018     7701 Ruby Drive SW, Lakewood, WA 98498
                            Subtotal                                                                  -$1,578,269.08     $1,795,428.77    -39%




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                                                    iCap Pacific Northwest
                            Sampson 45th Avenue LLC Opportunity & Income Fund, LLC      Take Back       -$601,972.56     $1,782,998.71    -47%                JR Sampson Company          11/21/2014   3/31/2017     4109 45th Avenue NE, Tacoma, WA 98422
                                                    iCap B1, LLC                        Take Back        -$12,305.91       $602,529.00     -2%                JR Sampson Company          9/30/2013    12/9/2014     4109 45th Avenue NE, Tacoma, WA 98422
                            Subtotal                                                                    -$614,278.47     $2,385,527.71    -49%

                                                       iCap Northwest Opportunity Fund,
                            Senza Kenmore LLC          LLC                              Good             $189,008.35     $1,268,273.65     5%                 iCap Equity, LLC            1/10/2016    4/13/2020     15550 84th Avenue NE, Kenmore, WA 98028
                            Subtotal                                                                     $189,008.35     $1,268,273.65     5%

                                                       iCap Northwest Opportunity Fund,




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                            Senza Sammamish LLC        LLC                              Good             $149,121.51     $2,870,876.03     2%                 iCap Equity, LLC            12/16/2015   6/29/2018     24906 SE 14th St., Sammamish, WA 98075




                                                                                                                                                                                                                                      Exhibit 1, Page 150
                                                                                      AUM         Net Gain/Loss on Investment                           Project: Sponsor or      Date of      Equity Exit
                            WƌŽũĞĐƚ͗WƌŽũĞĐƚEĂŵĞј Fund                             Status      Investment       Amount            IRR   Sale Price   Purchaser                Investment   Date          Project: Project Address
                            Subtotal                                                                   $149,121.51     $2,870,876.03    2%

                                                      iCap Northwest Opportunity Fund,
                            Seward Park Partners, LLC LLC                              Good            $449,112.14       $535,200.00   39%                                       10/6/2015    8/9/2017      7740 Seward Park Ave., Seattle, WA 98118
                            Subtotal                                                                   $449,112.14       $535,200.00   39%

                            Sherwin Roosevelt LLC    iCap B1, LLC                     Good              $33,300.00       $107,741.00   31%                                       9/20/2013    1/15/2014     1203 Roosevelt Blvd, Bremerton, WA 98312
                            Subtotal                                                                    $33,300.00       $107,741.00   31%




23-01243-WLH11
                                                     iCap Pacific Northwest
                            Steadman 170th LLC       Opportunity & Income Fund, LLC   Take Back        $117,142.48       $569,656.14   14%                                       7/31/2014    12/27/2016 3831 170th Avenue SE, Bellevue, WA 98008
                                                     iCap B2, LLC                     Take Back       -$271,204.26       $271,204.26    0%                                       11/15/2013   10/31/2016 3831 170th Avenue SE, Bellevue, WA 98008
                            Subtotal                                                                  -$154,061.78       $840,860.40   14%

                                                     iCap Pacific Northwest
                            TCG Investments LLC      Opportunity & Income Fund, LLC Take Back        $1,065,206.47     $1,100,002.00   31%              Hang Ngoc Hoang          6/30/2014    9/15/2017     18628 Highway 99, Lynnwood, WA 98037




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                                                     iCap Northwest Opportunity Fund,
                                                     LLC                              Take Back        $296,008.75     $1,276,618.50   23%              Hang Ngoc Hoang          9/15/2017    11/15/2018 18628 Highway 99, Lynnwood, WA 98037
                            Subtotal                                                                 $1,361,215.22     $2,376,620.50   54%

                            Timberland Hotel Group   iCap Northwest Opportunity Fund,                                                                                                                       NW Barnes Road & 118th Ave, Portland, OR
                            LLC                      LLC                              Alert          $2,383,489.45     $4,336,398.00   21%              Kirkland Development, LLC 4/21/2016   7/19/2021     97229
                            Subtotal                                                                 $2,383,489.45     $4,336,398.00   21%

                            USAsia- Seattle Modern   iCap Pacific Northwest
                            Living LLC               Opportunity & Income Fund, LLC Take Back       -$1,408,075.91     $1,567,472.91   -49%             Hultquist Homes Inc      4/23/2014    5/31/2019     4912 S. Willow Street, Seattle, WA 98118




Filed 02/23/24
                                                     iCap Northwest Opportunity Fund,
                                                     LLC                              Take Back        $768,702.26     $2,381,320.25     8%             Hultquist Homes Inc      11/1/2017    12/26/2019 4912 S. Willow Street, Seattle, WA 98118
                                                     iCap Investments, LLC            Take Back              $0.00             $0.00     0%             Hultquist Homes Inc      12/1/2019    12/1/2019 4912 S. Willow Street, Seattle, WA 98118
                            Subtotal                                                                  -$639,373.65     $3,948,793.16   -41%

                                                     iCap Pacific Northwest
                            Volare Townhomes LLC     Opportunity & Income Fund, LLC   Good             $162,881.92       $916,221.50   27%              Taliesin Homes NW, LLC   2/20/2015    1/15/2016     11295 SE Aquila Street, Happy Valley, OR 97086
                            Subtotal                                                                   $162,881.92       $916,221.50   27%

                                                     iCap Pacific Northwest
                            Wild Creek Estates LLC   Opportunity & Income Fund, LLC   Take Back        -$86,123.08       $511,534.21   -17%                                      4/21/2014    9/3/2019      4981 SE Natchez Court, Port Orchard, WA 98366
                            Subtotal                                                                   -$86,123.08       $511,534.21   -17%

                            Woodlawn Ave             iCap Pacific Northwest                                                                             Hardy Development
                            Townhomes LLC            Opportunity & Income Fund, LLC   Good             $190,803.33       $401,876.25   51%              Companies                7/21/2014    7/2/2015      4426 Woodlawn Ave N, Seattle, WA 98103
                            Subtotal                                                                   $190,803.33       $401,876.25   51%

                            Total                                                                    $1,374,532.03   $103,376,123.24 909%




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                                                                                                                                                                                                                             Exhibit 1, Page 151
                                                                                         Exhibit 1, Page 152
                           Exhibit 




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RE: iCap Summary Spreadsheet - Finance Leadership Meeting
Neil Peritz <neil@icapequity.com>
Tue 10/25/2022 703 PM
To:Rich Jackson <rich@icapequity.com>
Some look close others not even in the ball park. UW
                                                     UW and 725 Broadway numbers make no sense
   me. UW hasn’t started development and 725 Broadway is a parking garage we are demolishing
to me.
soon to develop so how to you get $19.3MM in equity on that one?
                                                                one I went through the schedule I
sent you earlier with Nikki to see if she can update the property basis through June 30, 2022 that
include millions of overhead costs. May not be ready for meeting tomorrow.

Neil

Neil Peritz / Vice President, Finance
425-278-9030 ext. 149 / icapequity.com
3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Rich Jackson <rich@icapequity.com>
Sent: Tuesday, October 25, 2022 6:31 PM
To: Neil Peritz <neil@icapequity.com>
Subject: FW: iCap Summary Spreadsheet - Finance Leadership Meeting

Do the numbers on this spreadsheet tie to our consolidated balance sheet?


From: Jim Christensen <jim@icapequity.com>
Sent: Thursday, October 6, 2022 11:34 AM
To: Rich Jackson <rich@icapequity.com>; Chris Christensen <chris@icapequity.com>; Neil Peritz
<neil@icapequity.com>
Cc: Lisa Yeager <lisa@icapequity.com>; Skye Belote <skyeb@icapequity.com>
Subject: iCap Summary Spreadsheet - Finance Leadership Meeting

Hi Team,

Attached is the spreadsheet in its current form. It is still a work in progress, and I will continue to
work on it.

Thanks,

Jim Christensen / President
425-278-9030 ext. 132 / icapequity.com
3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

-----Original Appointment-----
From: Rich Jackson <rich@icapequity.com>
Sent: Friday, August 12, 2022 11:01 AM
To: Rich Jackson; Chris Christensen; Jim Christensen; Neil Peritz
Cc: Lisa Yeager; Skye Belote
Subject: Finance Leadership Meeting (bi-monthly)
When: Thursday, October 6, 2022 12:00 PM-1:00 PM (UTC-07:00) Mountain Time (US & Canada).
Where:

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                                                                                     Pg 1531, Page
                                                                                              of 630153

Setting up a bi-monthly meeting to review ﬁnancial matters. Over time ourgoal is to bring more
structure and rigor to ﬁnancial planning, forecasting and treasury processes.

In this ﬁrst meeting, we will follow the same current processes for ﬁnancial updates and money
movement, and discuss ideas for iterative improvement or additional needs for ﬁnancial reporting for
the leadership team.


________________________________________________________________________________


Microsoft Teams meeting
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Meeting ID: 292 462 891 881
Passcode: df4Axs
Download Teams | Join on the web

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________________________________________________________________________________




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                                                                                         Exhibit 1, Page 155
                           Exhibit 




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RE: Lakeview and Brislawn
Chris Christensen <chris@icapequity.com>
Thu 7/12/2018 101 PM
To:Jim Christensen <jim@icapequity.com>;TD Croshaw <td@icapequity.com>
Thanks!

From: Jim Christensen
Sent: Thursday, July 12, 2018 12:52 PM
To: Chris Christensen <chris@icapequity.com>; TD Croshaw <td@icapequity.com>
Subject: RE: Lakeview and Brislawn

That’s the idea, but there is more that I need to put together for him before we send an email today. I
will have it out today.

Thanks,

Jim Christensen / Chief Operating Ofﬁcer
425-278-9030 ext. 132 / icapequity.com
3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Chris Christensen
Sent: Thursday, July 12, 2018 12:50 PM
To: TD Croshaw <td@icapequity.com>
Cc: Jim Christensen <jim@icapequity.com>
Subject: RE: Lakeview and Brislawn

Should we send what we have now, and let him know the rest is coming?

From: TD Croshaw
Sent: Thursday, July 12, 2018 11:53 AM
To: Chris Christensen <chris@icapequity.com>
Cc: Jim Christensen <jim@icapequity.com>
Subject: RE: Lakeview and Brislawn

Chris,
I have given all this information to Jim to send in one email. Jim is working on the other information.
Thank you,

TD Croshaw / Chief Financial Ofﬁcer, CPA, MBA
425-278-9030 x127 / icapequity.com



3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Chris Christensen
Sent: Thursday, July 12, 2018 11:50 AM
To: TD Croshaw <td@icapequity.com>
Cc: Jim Christensen <jim@icapequity.com>


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                                                                                  Pg 1561, Page
                                                                                           of 630156
Subject: FW: Lakeview and Brislawn

TD,

Can you provide some of this?

From: Michael Norvet <mnorvet@titansecurities.com>
Sent: Wednesday, July 11,11 2018 5:24 AM
To: Chris Christensen <chris@icapequity.com>
Subject: FW: Lakeview and Brislawn

Chris,
Please see the email chain below. I have not received any of the information requested as of this
morning. In addition, I have repeatedly requested that someone at ICAP contact Daniel Hoffman
(Don Wells client; $25,000 in Fund I) to discuss a redemption. You indicated in an email on June 27th
that you would provide the information.
mn 

From: Michael Norvet
Sent: Wednesday, June 27, 2018 9:49 AM
To: 'Chris Christensen' <chris@icapequity.com>
Subject: RE: Lakeview and Brislawn

Thank You

From: Chris Christensen <chris@icapequity.com>
Sent: Wednesday, June 27, 2018 9:43 AM
To: Michael Norvet <mnorvet@titansecurities.com>; Jim Christensen <jim@icapequity.com>; TD
Croshaw <td@icapequity.com>
Subject: RE: Lakeview and Brislawn

Michael,

We will send the information you requested.

Chris

From: Michael Norvet [mailto:mnorvet@titansecurities.com]
Sent: Tuesday, June 26, 2018 12:01 PM
To: C
T   Chris Christensen <chris@icapequity.com>; Jim Christensen <jim@icapequity.com>; TD
Croshaw <td@icapequity.com>
Subject: Lakeview and Brislawn

Chris,


Brad and I have talked to Roger Overby who we understand has also spoken to you regarding the
Evolution Real Estate investments in Lakeview and Brislawn. Brad and I are both of the opinion that
had we been informed of the transactions in January (as was required under the ICAP EVO, LLC
Company Agreement) we would have NEVER accepted the sales price you unilaterally agreed to. As
a result, we reserve the right to take the necessary steps to cancel the sales contracts.


Our many attempts to determine the true loss on the investments has been difﬁcult. The closing
statement has changed after each time we have spoken. The best estimate at this time is a loss of
approximately $500,000 which is completely unacceptable. After three years of investment in the
hottest real estate market in the country according to the ICAP newsletters, we expected and


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                                                                                Pg 1571, Page
                                                                                         of 630157
deserved better.


In order for Evolution Real Estate to determine the next course of action we will require the following
by July 5, 2018:
    1. Copies of the bank statement where the Earnest Money is deposited.
    2. An executed copy of the $4,300,000 note between Lakeview and ICAP Paciﬁc Northwest
       Fund.
    3. A reliable copy of the Closing statement for each property with a detailed explanation of every
       item over $50,000.
    4. The exact cash investment by ICAP in the Lakeview and Brislawn properties.
    5. A detailed Plan of Action that includes the return of our investors’ money and an IRR of 8%.
       As of August 31, 2018, that amount equals $4,180,000.

We are not opposed to seeking a resolution to this problem but is incumbent upon you and ICAP to
take the necessary steps to offer alternatives. This affair has shaken our trust in ICAP. We are asking
you to begin the process of restoring our relationship.
                                          relationship

Michael Norvet
Managing Member
Evolution Real Estate
16775 Addison Road, Suite 202
Addison, Texas 75001
972-980-5923 – O
214-491-7212 – M
mnorvet@titansecurities.com





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                                                                                         Exhibit 1, Page 159
                           Exhibit 




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RE: Combined F/S
Rich Jackson <rich@icapequity.com>
Tue 10/25/2022 327 PM
To:Neil Peritz <neil@icapequity.com>
Bcc:Rich Jackson <rich@icapequity.com>
Thank you for pulling this together. A lot to sort through, but this is a good start.

The numbers seem consistent with other reports I’ve seen. I think we will have enough here for our
Finance conversation tomorrow.

I am still trying to think through the relationship between the assets and funds.
                                                                             funds. If there are situations
were more than one fund invests in the real estate assets, then there could be some discrepancies
                                                                                           discrepancies.
So, I’d like to think through how to value the speciﬁc properties, and if we need to decouple from the
funds so they are not double counted (or just make sure they are only tied to one fund).

From: Neil Peritz <neil@icapequity.com>
Sent: Tuesday, October 25, 2022 9:24 AM
To: Rich Jackson <rich@icapequity.com>
Subject: RE: Combined F/S

Updated for 134th street LLC. I now agree all the debt to the outstanding amounts. You still need to
add in all the projects which will take better part of day and I need to focus on Vault and legacy fund
audits and updates for 2022.

Neil

Neil Peritz / Vice President, Finance
425-278-9030 ext. 149 / icapequity.com
3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Neil Peritz
Sent: Monday, October 24, 2022 8:28 PM
To: Rich Jackson <rich@icapequity.com>
Subject: Combined F/S

I spent a lot of time on this and there are still intercompany entries going all over the place and
nobody seems to know what’s up. up. I have no idea of all the entities out there to consolidate so I ran
an earlier debt schedule of all entities that had outstanding debentures and used them for reporting.
The BS has intercompany balances that don’t eliminate and not sure why, but the debt makes sense
at over $200MM.

So here is the deal, I spent the better part of the day and still working after 8PM my time. The Vault
auditors are now threatening me if I don’t get 10Q to them very soon, we will not be able to issue on
time. I need to put pencils down on this and the only other supporting schedule to this ﬁle is the
schedule of properties. I will try to get Nikki to do that tomorrow to back up the BS. You must run
reports in SalesForce and manipulate it in Excel and it takes awhile and no easy way to do it.  it. The
HEB auditors came up with last minute requests for analysis on Friday or they won’t release funds 4
and 5 so that’s killing me too.

The way things are booked are so convoluted and this is the 1st time I’ve ever tried putting them
together. These are basically the funds and not the projects underneath the funds. funds If I add the


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                                                                                   Pg 1601, Page
                                                                                            of 630160
projects then the investments are duplicated.



Neil

Neil Peritz / Vice President, Finance
425-278-9030 ext. 149 / icapequity.com
3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006





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                                                                                         Exhibit 1, Page 162
                           Exhibit 




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Cash Follow Up
Chris Christensen <chris@icapequity.com>
Thu 4/14/2022 747 AM
To:Cindy Fang <cindy@icapequity.com>;Jim Christensen <jim@icapequity.com>

    1 attachments (43 KB)
220415 - Semi-monthly Expense Projections.xlsx;

Hi Cindy and Jim,

Since we are going to be working together on the operating cash needs, I wanted to share with you
the proposed plan for today’s transfers. As we discussed, we do transfers two times each month.
The 15th of the month is the big one for the interest payments.
                                                      payments Below are the proposed cash
transfers. Here are the highlights:

   1. iCap Equity is covering a big portion of the expenses from funds we have raised.
   2. Senza Kenmore is transferring $285K to Fund 4 to cover Fund 4 investor payoffs (these funds
      belong to Fund 4, but we have not distributed them out of Senza Kenmore yet)
   3. iCap Investments would need to transfer $885K. There is currently $1.5M in the account for
      iCap Investments.

We are planning to raise more funds in iCap Equity over the next few weeks.
                                                                     weeks Let me know if you
have any questions.





Chris Christensen / CEO, JD, MIB
425-278-9031 / icapequity.com



3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006





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                                                                                   Pg 1631, Page
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                                                                                         Exhibit 1, Page 164
                           Exhibit 




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RE: Jinan wiring instruction -transfers and wire are ready for approval in Umpqua.
Chris Christensen <chris@icapequity.com>
Thu 12/22/2022 1257 PM
To:Vera Rohlfing <vera@icapequity.com>
Cc:Jian Lu <kristyjian@icapequity.com>;Jane Li <Jane@icapequity.com>
Excellent. I will work on that now.

From: Vera Rohlﬁng <vera@icapequity.com>
Sent: Thursday, December 22, 2022 12:04 PM
To: Chris Christensen <chris@icapequity.com>
Cc: Jian Lu <kristyjian@icapequity.com>; Jane Li <Jane@icapequity.com>; Vera Rohlﬁng
<vera@icapequity.com>
Subject: FW: Jinan wiring instruction -transfers and wire are ready for approval in Umpqua.

Hi Chris,

To pay from the iCap International Investments bank account we need cash there. I added #1 and
modiﬁed #3.
Please see below the transfers that were setup in the bank and approve in order, then approve the
wire out of iCap International investments LLC.

   1. Repayment of intercompany balance of $500K, from Vault to 725 Broadway - ready
   2. Intercompany loan of $500K, from 725 Broadway to iCap Investments- ready
   3. Intercompany loan of $500K from iCap Investments to iCap International Investments- will do
      transfer between the companies
   4. Vault Withdrawal of $1,500,075 by iCap International Investments – Sub S-001867 balance is $
       1,584,763.93. $1,500,075 from it to iCap International investments company-ready.
       Need a withdrawal form
    5. Wire from iCap International Investments to the recipient below-ready





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                                                                                    Pg 1651, Page
                                                                                             of 630165

Thank you,
Vera Rohlﬁng / Accounting Manager
vera@icapequity.com /www.icapequity.com



3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Vera Rohlﬁng
Sent: Thursday, December 22, 2022 11:25 AM
To: Chris Christensen <chris@icapequity.com>
Cc: Jian Lu <kristyjian@icapequity.com>; Jane Li <Jane@icapequity.com>
Subject: RE: Jinan wiring instruction

We can reduce intercompany balance by $500K by transferring funds from Vault to 725
Broadway. We still have outstanding balance $790K. Please conﬁrm.



Thank you,
Vera Rohlﬁng / Accounting Manager

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                                                                                 Pg 1661, Page
                                                                                          of 630166
vera@icapequity.com /www.icapequity.com



3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006


From: Vera Rohlﬁng <vera@icapequity.com>
Sent: Thursday, December 22, 2022 11:19 AM
To: Chris Christensen <chris@icapequity.com>
Cc: Jian Lu <kristyjian@icapequity.com>; Jane Li <Jane@icapequity.com>; Vera Rohlﬁng
<vera@icapequity.com>
Subject: RE: Jinan wiring instruction
Importance: High

Hi Chris,

725 Broadway balance is $ 160,998.38. We don’t have $500K to move.
                                                             move

Thank you,
Vera Rohlﬁng / Accounting Manager
vera@icapequity.com /www.icapequity.com



3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Vera Rohlﬁng <vera@icapequity.com>
Sent: Thursday, December 22, 2022 11:12 AM
To: Chris Christensen <chris@icapequity.com>
Cc: Jian Lu <kristyjian@icapequity.com>; Jane Li <Jane@icapequity.com>; Vera Rohlﬁng
<vera@icapequity.com>
Subject: RE: Jinan wiring instruction

Hi Chris,

See comments below and conﬁrm #3.

Thank you,
Vera Rohlﬁng / Accounting Manager
vera@icapequity.com /www.icapequity.com



3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Chris Christensen <chris@icapequity.com>
Sent: Thursday, December 22, 2022 11:02 AM
To: Vera Rohlﬁng <vera@icapequity.com>


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                                                                                 Pg 1671, Page
                                                                                          of 630167
Cc: Jian Lu <kristyjian@icapequity.com>
Subject: FW: Jinan wiring instruction

Vera,

We need to send out a wire transaction today. Here is how we need to do it:

  1. Intercompany loan of $500K, from Broadway to iCap Investments-
                                                             Investments will do transfer between the
      companies
  2. Intercompany loan of $500K from iCap Investments to iCap International Investments-
                                                                                Investments will do
      transfer between the companies
  3. Vault Withdrawal of $2,000,075 by iCap International Investments – Sub S-001867 balance is
      $ 1,584,763.93. Can move $1,500,0075 from it to iCap International investments company. Need a
       withdrawal form
    4. Wire from iCap International Investments to the recipient below-will
                                                                 below      do

Can you let me know if this can be done today? Transfers 1-3 will be cashless.

Thanks.

Chris

From: Cindy Fang <cindy@icapequity.com>
Sent: Wednesday, December 21, 2022 4:30 PM
To: Chris Christensen <chris@icapequity.com>
Subject: Re: Jinan wiring instruction

The total amount is $2,000,075

Thank you

Cindy Fang / Director of International Markets

425-278-9030 / icapequity.com








3535 Factoria Blvd. SE, Suite 500

Bellevue, WA 98006


From: Chris Christensen <chris@icapequity.com>
Sent: Wednesday, December 21, 2022 4:09 PM
To: Cindy Fang <cindy@icapequity.com>
Subject: RE: Jinan wiring instruction


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                                                                                 Pg 1681, Page
                                                                                          of 630168
Is the total amount for the wire $2,000,000?

From: Cindy Fang <cindy@icapequity.com>
Sent: Wednesday, December 21, 2022 1:24 PM
To: Chris Christensen <chris@icapequity.com>
Subject: Fw: Jinan wiring instruction

Hi Chris,

Friendly reminder: please wire the money to Jinan ASAP.

Thank yousomuch

Cindy Fang / Director of International Markets

425-278-9030 / icapequity.com






3535 Factoria Blvd. SE, Suite 500

Bellevue, WA 98006


From: Cindy Fang <cindy@icapequity.com>
Sent: Monday, December 19, 2022 4:34 PM
To: Chris Christensen <chris@icapequity.com>
Subject: Jinan wiring instruction

Hi Chris,

Here are the wiringinstructions(the money has to wire out from Umpqua Bank's iCap
international investment, LLC):

     Bank name: China Merchants Bank, Jinan Branch
     Bank address: No. 7000 Jingshiroad, CMBBLDG, Jinan, China
     Account number:531907863532505
     SWIFT: CMBCCNBS361
     Account name: Shandong Yongchang International Cooperation Park Co.， Ltd.
     Receiver address: Room303，3rdFloorCorridor，No.1399，XinyuanAvenue，
     TianqiaoDistrict，JinanCity
     Note: Investment fund
Let me know if you have any questions.

Thank you


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                                                                                 Pg 1691, Page
                                                                                          of 630169
Cindy Fang / Director of International Markets

425-278-9030 / icapequity.com








3535 Factoria Blvd. SE, Suite 500

Bellevue, WA 98006




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3535 Factoria Blvd. SE, Suite 500

Bellevue, WA 98006


From: Chris Christensen <chris@icapequity.com>
Sent: Thursday, February 9, 2023 9:17 AM
To: Cindy Fang <cindy@icapequity.com>
Subject: RE: Steve's mom's payback

OK, great. I will be in touch today on everything.

From: Cindy Fang <cindy@icapequity.com>
Sent: Thursday, February 9, 2023 9:15 AM
To: Chris Christensen <chris@icapequity.com>
Subject: Re: Steve's mom's payback

Joanna and Jinan are resumed. I will talk to Eddie tomorrow and hopefully, he can either
open a Vault account with us deposit a couple million with us or he can loan to us.

Let's see

Cindy Fang / Director of International Markets

425-278-9030 / icapequity.com








3535 Factoria Blvd. SE, Suite 500

Bellevue, WA 98006

From: Chris Christensen <chris@icapequity.com>
Sent: Thursday, February 9, 2023 9:08 AM
To: Cindy Fang <cindy@icapequity.com>
Subject: RE: Steve's mom's payback

Cindy,

If you can somehow bring in $2 million more by Tuesday, we could pay a special amount.
                                                                               amount. It would
only need to stay for about 1-month.
                            1-month.

Chris



    23-01243-WLH11       Doc 469    Filed 02/23/24    Entered 02/23/24 19:45:30 Exhibit
                                                                                  Pg 1721, Page
                                                                                           of 630172
From: Cindy Fang <cindy@icapequity.com>
Sent: Thursday, February 9, 2023 8:40 AM
To: Chris Christensen <chris@icapequity.com>; Lisa Yeager <lisa@icapequity.com>; Jim
Christensen <jim@icapequity.com>
Subject: Steve's mom's payback
Importance: High

Hi Chris,

We will have 1.6M in Vault today or tomorrow that you can leverage to pay back Steve's
mom. I talked to her yesterday and settled with her. I promised her that I am going to
manage a Vault account and that her Vault account would be under my management. She is
so happy with it.

I will ask Wanlu to record my side of the Vault transactions from today, and I will start to keep
track of and manage it.

Thank you

Cindy Fang / Director of International Markets

425-278-9030 / icapequity.com








3535 Factoria Blvd. SE, Suite 500

Bellevue, WA 98006




    23-01243-WLH11       Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30 Exhibit
                                                                                 Pg 1731, Page
                                                                                          of 630173
                                                                                         Exhibit 1, Page 174
                           Exhibit 




23-01243-WLH11   Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30   Pg 174 of 630
Sent: Tuesday, March 28, 2023 8:16 AM
To: Chris Christensen <chris@icapequity.com>
Cc: Jim Christensen <jim@icapequity.com>; Joanna Ping Zhang <Joanna@icapequity.cn>
Subject: Re: This week's withdrawal requests

Hi Chris,

I am following up with the blow case. I would like to talk to you about a lot of the potential
deposits from NY. Would you happen to have time today to talk?

Thank you

Cindy Fang / Project consultant

425-278-9030 / icapequity.com






3535 Factoria Blvd. SE, Suite 500

Bellevue, WA 98006


From: Cindy Fang <cindy@icapequity.com>
Sent: Monday, March 27, 2023 9:19 AM
To: Chris Christensen <chris@icapequity.com>
Cc: Jim Christensen <jim@icapequity.com>; Joanna Ping Zhang <Joanna@icapequity.cn>
Subject: This week's withdrawal requests

Hi Chris,

I am writing to you to talk about this week's withdrawal requests that require urgent
attention.

Last night, Joanna and I reviewed our swapped numbers and found that we have swapped
around 2M since March. Today, I will be depositing 120K.

Raymond committed that the 1M from Jinan amounted to 650K, and 350K will arrive today.
This brings our total to around 3M. So far, Baoguo Long has received 2.1M, and we still owe
him 530K. He had two remaining withdrawal requests, one for 300K and the other for 230K.
Please process her withdrawals as soon as possible.

Our records show we should have a surplus of approximately 470K, including Raymond's
funds. This week, I will receive 120K, and Joanna will receive 400K. Therefore, we should
have nearly 1M in the total fund. This amount will be sufﬁcient to pay Adam's withdrawal
request of 940K. It is crucial that we can handle Baogu Long and Adam's withdrawals this
week. Otherwise, I will have difﬁculty holding Adam off any longer.



    23-01243-WLH11       Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30 Exhibit
                                                                                 Pg 1751, Page
                                                                                          of 630175
                                                                                         Exhibit 1, Page 176
                           Exhibit 




23-01243-WLH11   Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30   Pg 176 of 630
RE: Evergreen
Chris Christensen <chris@icapequity.com>
Thu 4/27/2023 936 AM
To:Cindy Fang <cindy@icapequity.com>;Raymond Zhang <raymond@icapequity.com>;Joanna Ping Zhang
<Joanna@icapequity.cn>
Thanks for letting me know. Yes, I will conﬁrm with everyone.

From: Cindy Fang <cindy@icapequity.com>
Sent: Thursday, April 27, 2023 8:49 AM
To: Chris Christensen <chris@icapequity.com>; Raymond Zhang <raymond@icapequity.com>;
Joanna Ping Zhang <Joanna@icapequity.cn>
Subject: Re: Evergreen

Hi Chris,

We will receive Joanna's investor wired around 410,000 K today and will have another
$190,000 wire tomorrow.

Please approve the withdrawal coordinately and update us on who you approve of every day.

Thank you

Cindy Fang / Project consultant

425-278-9030 / icapequity.com








3535 Factoria Blvd. SE, Suite 500

Bellevue, WA 98006

From: Cindy Fang <cindy@icapequity.com>
Sent: Wednesday, April 26, 2023 9:43 AM
To: Chris Christensen <chris@icapequity.com>; Raymond Zhang <raymond@icapequity.com>;
Joanna Ping Zhang <Joanna@icapequity.cn>
Subject: Re: Evergreen

Hi Chris,

I'm just following up with the email below. When Fan Yang's $600,000 is in, we should have
around $800,000 account balance from last week.

Please follow below the payback request:



    23-01243-WLH11       Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30 Exhibit
                                                                                 Pg 1771, Page
                                                                                          of 630177
    1. Adam $100,000
    2. Lilian $31,000
    3. Mr.Zheng: $50,000
    4. Ming Li: $201,150
    5. Yulan Zheng: $382,150
Feel free to let me know if you have any questions.

Thank you


Cindy Fang / Project consultant

425-278-9030 / icapequity.com








3535 Factoria Blvd. SE, Suite 500

Bellevue, WA 98006

From: Cindy Fang <cindy@icapequity.com>
Sent: Monday, April 24, 2023 3:50 PM
To: Chris Christensen <chris@icapequity.com>; Raymond Zhang <raymond@icapequity.com>;
Joanna Ping Zhang <Joanna@icapequity.cn>
Subject: Re: Evergreen

Hi Chris,

After the payment to Joanna's investor Baoguo Long, we should have a balance of more
than $300,000 remaining, and we are expecting an additional $600,000 this week. Following
our discussion with Raymond and Joanna, please arrange the following payments this week:


    1. Pay $100,000 to Adam,
    2. Pay $50,000 to Mr. Zheng in Hangzhou
Additionally, there is a sum of $500,000 to be allocated to either Jinan or my aunt. Raymond
will negotiate a deal with the Jinan. If the negotiation goes well, please make the payment to
Jinan. If not, please make the payment to my aunt instead.

Thank you

Cindy Fang / Project consultant

425-278-9030 / icapequity.com





    23-01243-WLH11       Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30 Exhibit
                                                                                 Pg 1781, Page
                                                                                          of 630178
3535 Factoria Blvd. SE, Suite 500

Bellevue, WA 98006

From: Chris Christensen <chris@icapequity.com>
Sent: Friday, April 21, 2023 10:25 AM
To: Cindy Fang <cindy@icapequity.com>; Raymond Zhang <raymond@icapequity.com>; Joanna
Ping Zhang <Joanna@icapequity.cn>
Subject: Evergreen

Hi Cindy, Raymond and Joanna,

I want to talk with you about an investor in the Vault. This is for Evergreen Management Capital
(Adam). They are owed about $700,000, and we have been working with them for a number of
weeks now. They are willing to agree to a repayment plan under the following timeline. I want to
check with our team and see what you think, before I agree to anything. I had proposed a smaller
amount for the ﬁrst payment, but he asked if we could make it higher. I need to respond to him today
(asap). This one is urgent.

      April 28: $300,000
      May 5: $100,000
      May 12: $100,000
      May 17: $200,000 (remainder)
Please let me know.

Thanks.

Chris Christensen / CEO, JD, MIB
425-278-9031 / icapequity.com



3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006





    23-01243-WLH11       Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30 Exhibit
                                                                                 Pg 1791, Page
                                                                                          of 630179
                                                                                         Exhibit 1, Page 180
                           Exhibit 




23-01243-WLH11   Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30   Pg 180 of 630
Re: Incoming wire
Cindy Fang <cindy@icapequity.com>
Wed 3/15/2023 829 AM
To:Chris Christensen <chris@icapequity.com>
Cc:Jim Christensen <jim@icapequity.com>;Lisa Yeager <lisa@icapequity.com>;Joanna Ping Zhang
<Joanna@icapequity.cn>
Hi Chris,

From Monday, we swapped: 20(Yulan Ren)+10(Guifang Wang)+19(Yulan Ren)+5(Yulan
Ren)+17.7(Yulan Ren)+43.3(Bolong Huang)=115M in. Those are the money for Joanna's
investor's withdrawal.

Please approve the $900K withdrawal after all the funds are cleared. The investor already
signed three times $300K withdrawal forms.

We will have 250K left over, and we will resume the swap tomorrow again.

Thank you

Cindy Fang / Project consultant
425-278-9030 / icapequity.com

151113 Email Logo

3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Chris Christensen <chris@icapequity.com>
Sent: Tuesday, March 14, 2023 9:02 AM
To: Cindy Fang <cindy@icapequity.com>
Cc: Jim Christensen <jim@icapequity.com>; Lisa Yeager <lisa@icapequity.com>; Joanna Ping
Zhang <Joanna@icapequity.cn>
Subject: RE: Incoming wire

Yes, received.

From: Cindy Fang <cindy@icapequity.com>
Sent: Tuesday, March 14, 2023 9:02 AM
To: Chris Christensen <chris@icapequity.com>
Cc: Jim Christensen <jim@icapequity.com>; Lisa Yeager <lisa@icapequity.com>; Joanna Ping
Zhang <Joanna@icapequity.cn>
Subject: Fw: Incoming wire
Importance: High

Hi Chris,

Pleas conﬁrm that you received the email below.

Thank you


   23-01243-WLH11        Doc 469     Filed 02/23/24    Entered 02/23/24 19:45:30 Exhibit
                                                                                   Pg 1811, Page
                                                                                            of 630181

Cindy Fang / Project consultant
425-278-9030 / icapequity.com




3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Cindy Fang <cindy@icapequity.com>
Sent: Monday, March 13, 2023 2:24 PM
To: Chris Christensen <chris@icapequity.com>; Jim Christensen <jim@icapequity.com>
Cc: Lisa Yeager <lisa@icapequity.com>
Subject: Fw: Incoming wire

Hi Chris,

The $200,000 arrived today. Please keep it for Jonna's investor's withdrawal.

Thank you

Cindy Fang / Project consultant
425-278-9030 / icapequity.com




3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Wanlu Huang <Wanlu@icapequity.com>
Sent: Monday, March 13, 2023 2:22 PM
To: Cindy Fang <cindy@icapequity.com>
Cc: Skye Belote <skyeb@icapequity.com>; Jessica Jackson <Jessica@icapequity.com>; Joyce
Zhong <Joyce@icapequity.com>
Subject: RE: Incoming wire

Hi Cindy,

It is received today, additional funds form has been sent to client for a sign, thank you.

Wanlu Huang

(o) 425.332.4179 ext. 144 |Wanlu@icapequity.com
icapequity.com

From: Cindy Fang <cindy@icapequity.com>
Sent: Monday, March 13, 2023 2:15 PM
To: Wanlu Huang <Wanlu@icapequity.com>
Cc: Skye Belote <skyeb@icapequity.com>; Jessica Jackson <Jessica@icapequity.com>; Joyce
Zhong <Joyce@icapequity.com>
Subject: Re: Incoming wire


    23-01243-WLH11       Doc 469    Filed 02/23/24    Entered 02/23/24 19:45:30 Exhibit
                                                                                  Pg 1821, Page
                                                                                           of 630182

Please see attached ﬁle.

Thank you

Cindy Fang / Project consultant
425-278-9030 / icapequity.com




3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Wanlu Huang <Wanlu@icapequity.com>
Sent: Monday, March 13, 2023 2:12 PM
To: Cindy Fang <cindy@icapequity.com>
Cc: Skye Belote <skyeb@icapequity.com>; Jessica Jackson <Jessica@icapequity.com>; Joyce
Zhong <Joyce@icapequity.com>
Subject: RE: Incoming wire

Hi Cindy,

Could you please resend a screenshot? The ﬁle somehow is not supported to open. Thank you!

Wanlu Huang

(o) 425.332.4179 ext. 144 |Wanlu@icapequity.com
icapequity.com

From: Cindy Fang <cindy@icapequity.com>
Sent: Monday, March 13, 2023 2:09 PM
To: Wanlu Huang <Wanlu@icapequity.com>
Cc: Skye Belote <skyeb@icapequity.com>; Jessica Jackson <Jessica@icapequity.com>; Joyce
Zhong <Joyce@icapequity.com>
Subject: Re: Incoming wire

Hi Wanlu,

Please see attached ﬁle.

Thank you

Cindy Fang / Project consultant
425-278-9030 / icapequity.com




3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Wanlu Huang <Wanlu@icapequity.com>

    23-01243-WLH11       Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30 Exhibit
                                                                                 Pg 1831, Page
                                                                                          of 630183
Sent: Monday, March 13, 2023 2:04 PM
To: Cindy Fang <cindy@icapequity.com>
Cc: Skye Belote <skyeb@icapequity.com>; Jessica Jackson <Jessica@icapequity.com>; Joyce
Zhong <Joyce@icapequity.com>
Subject: RE: Incoming wire

Hi Cindy,

Do you know when and where the money would be coming from? Thank you!

Wanlu Huang

(o) 425.332.4179 ext. 144 |Wanlu@icapequity.com
icapequity.com

From: Cindy Fang <cindy@icapequity.com>
Sent: Monday, March 13, 2023 2:01 PM
To: Wanlu Huang <Wanlu@icapequity.com>
Cc: Skye Belote <skyeb@icapequity.com>; Jessica Jackson <Jessica@icapequity.com>; Joyce
Zhong <Joyce@icapequity.com>
Subject: Incoming wire

Hi Wanlu,

Please notify me if you receive the $200,000 wire under Yulan Ren.

Thank you

Cindy Fang / Project consultant
425-278-9030 / icapequity.com




3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006




    23-01243-WLH11       Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30 Exhibit
                                                                                 Pg 1841, Page
                                                                                          of 630184
                                                                                         Exhibit 1, Page 185
                           Exhibit 




23-01243-WLH11   Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30   Pg 185 of 630
RE: 200K Transfer into Fund 1 on 5/13
Tatiana N Pantchenko <Tatiana@icapequity.com>
Fri 5/17/2019 202 PM
To:TD Croshaw <td@icapequity.com>;Piper Bagley <piper@icapequity.com>

    1 attachments (32 KB)
20190514102157.pdf;


Fyi CD and CR attached.


Tatiana Pantchenko / Senior Accountant
tatiana@icapequity.com /www.icapequity.com


3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006


From: TD Croshaw <td@icapequity.com>
Sent: Friday, May 17, 2019 12:08 PM
To: Piper Bagley <piper@icapequity.com>; Tatiana N Pantchenko <Tatiana@icapequity.com>
Subject: RE: $200K Transfer into Fund 1 on 5/13

I transferred it to cover the interest payment

TD Croshaw / Chief Financial Ofﬁcer, CPA, MBA
425-278-9030 x127 / icapequity.com



3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Piper Bagley <piper@icapequity.com>
Sent: Friday, May 17, 2019 12:07 PM
To: TD Croshaw <td@icapequity.com>; Tatiana N Pantchenko <Tatiana@icapequity.com>
Subject: $200K Transfer into Fund 1 on 5/13

Hello,

It looks like Monday there was a transfer in of $200K into Fund 1R.
                                                                1R. May I ask if either of you knows
anything about this? It did not appear on the Bank Transactions to Approve doc.

Thank you,

Piper Bagley
Senior Accountant, CPA, CGMA

3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

     23-01243-WLH11         Doc 469   Filed 02/23/24   Entered 02/23/24 19:45:30 Exhibit
                                                                                   Pg 1861, Page
                                                                                            of 630186
                                                                                         Exhibit 1, Page 187
                           Exhibit 




23-01243-WLH11   Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30   Pg 187 of 630
RE: 7/15/2022 Cash Forecast for review - update
Chris Christensen <chris@icapequity.com>
Thu 7/14/2022 1019 AM
To:Tatiana N Pantchenko <Tatiana@icapequity.com>;Jian Lu <kristyjian@icapequity.com>;Jim Christensen <jim@icapequity.com>
Got it. Thanks.

From: Tatiana N Pantchenko <Tatiana@icapequity.com>
Sent: Thursday, July 14, 2022 10:17 AM
To: Chris Christensen <chris@icapequity.com>; Jian Lu <kristyjian@icapequity.com>; Jim Christensen <jim@icapequity.com>
Subject: RE: 7/15/2022 Cash Forecast for review - update

Thanks Chris. We also just deposited $182K in checks in iCap Equity. It should help. @Jian Lu you can’t see it right now, but it will post towards noon.

T.



Tatiana Pantchenko / Director - Accounting
tatiana@icapequity.com /www.icapequity.com


3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Chris Christensen <chris@icapequity.com>
Sent: Thursday, July 14, 2022 10:11 AM
To: Jian Lu <kristyjian@icapequity.com>; Tatiana N Pantchenko <Tatiana@icapequity.com>; Jim Christensen <jim@icapequity.com>
Subject: RE: 7/15/2022 Cash Forecast for review - update

                                                              iCap@UW. I talked with Cindy, and she is recommended that. Let us know when the transfers are ready.
Let’s approve Tatiana’s plan regarding a short-term loan from iCap@UW

Thanks.

From: Jian Lu <kristyjian@icapequity.com>
Sent: Thursday, July 14, 2022 8:06 AM
To: Tatiana N Pantchenko <Tatiana@icapequity.com>; Chris Christensen <chris@icapequity.com>; Jim Christensen <jim@icapequity.com>
Subject: RE: 7/15/2022 Cash Forecast for review - update

Good morning,

                                                                     $2.9M. Please approve the transfer for $210k from Investments Equity
                                       update. iCap @UW is now with $2.9M.
Below’s screenshot is the most current update.                                                                                      Equity  Enterprise this
                payroll.
morning for the payrol

Let us know if you have any questions. Thank you.





Regards,

Jian (Kristy)

From: Tatiana N Pantchenko <Tatiana@icapequity.com>
Sent: Wednesday, July 13, 2022 9:18 PM
To: Jian Lu <kristyjian@icapequity.com>; Chris Christensen <chris@icapequity.com>; Jim Christensen <jim@icapequity.com>
Subject: RE: 7/15/2022 Cash Forecast for review

Forgot updated screenshot. Please see below.






        23-01243-WLH11                      Doc 469            Filed 02/23/24                Entered 02/23/24 19:45:30 Exhibit
                                                                                                                         Pg 1881, Page
                                                                                                                                  of 630188
Tatiana Pantchenko / Director - Accounting
tatiana@icapequity.com /www.icapequity.com


3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Tatiana N Pantchenko
Sent: Wednesday, July 13, 2022 9:16 PM
To: Jian Lu <kristyjian@icapequity.com>; Chris Christensen <chris@icapequity.com>; Jim Christensen <jim@icapequity.com>
Subject: RE: 7/15/2022 Cash Forecast for review

Jim and Chris,

Would y you like us to use iCapp UW’s funds for one day y tomorrow to send out investor ACHs and the rest of p
                                                                                                             payables?
                                                                                                                y        When 134th Street closes on the 15th,
we will
    ill move b borrowed d ffunds
                              d bback.
                                    k Thi
                                       This would
                                               ld iinclude
                                                      l d SSenza K
                                                                 Kenmore andd other
                                                                                th places
                                                                                     l    th
                                                                                          thatt we h
                                                                                                   had
                                                                                                     d tto b
                                                                                                           borrow ffrom.

We have to send ACHs tomorrow Thursday 14th if we want the effective date to be the 15th.

Thank you.


Tatiana Pantchenko / Director - Accounting
tatiana@icapequity.com / www.icapequity.com



3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

From: Jian Lu <kristyjian@icapequity.com>
Sent: Tuesday, July 12, 2022 11:40 AM
To: Chris Christensen <chris@icapequity.com>; Jim Christensen <jim@icapequity.com>
Cc: Tatiana N Pantchenko <Tatiana@icapequity.com>
Subject: 7/15/2022 Cash Forecast for review

Hi Chris

Attached is the 7/15/22 cash forecast for the invoices I have at this moment.

There’re notes below highlighting speciﬁc transactions within the forecast, noted that second half of July’s payoffs are not included.

Please review and advise on where we can transfer money to cover the month end pay run. Thank you.





Notes: Investor Payoffs
      6/30/22 - $50k - S-000019 - Terrence - Pay off – Fund 1
      6/30/22 - $50k - S-000019 - Terrence - Pay off – Fund 2
      7/15/15 - $400k - S-001523 - Yuanqing Shan - Pay off - iCap Investment
      7/15/22 - $33,450 - S-001279 - Jerome and Anastasia Angel Intervivos Rev. Trust Declaration of 1985 - Payoff – Equity
      7/13/22 - $100,425 - S-001247 - Yibing Luo - Partial Payoff - Fund 4
      7/13/22 - $141,426.47 - S-001249 - Mingjuan Dong - Partial Payoff - Fund 4
      7/13/22 - $7,875 - S-001214 - Qing Wu - Partial Payoff - Fund 4
      7/13/22 - $17,500 - S-001269 - Yanfei Han - Partial Payoff - Fund 4
      7/13/22 - $29,000 - S-001188 - Bolong Huang - Partial Payoff - Fund 4
      7/13/22 - $15,000 - S-001213 - Ying Zheng - Partial Payoff - Fund 4



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                                                                                                                     Pg 1891, Page
                                                                                                                              of 630189
        7/13/22 - $13,290 - S-001206 - Qing Wu - Partial Payoff - Fund 4
        7/13/22 - $17,113 - S-001233 - Jing Lu - Partial Payoff - Fund 4
    

Below Investor Payoffs for July are not in the current forecast, it will be included in the next time.
Equity Total for July: $429K
        7/22/22 - $50,000 - S-001286 - The Edwards Family Trust dtd 10/12/2002, - Rolled to S-002365 – Equity
        7/24/22 - $26,672.5 - S-001133 - Elaine Land Dexter - Payoff – Equity
        7/24/22 - $53,345 - S-001132 - The Stanley and Marian Praver Trust of 1985 - Payoff – Equity
        7/25/22 - $52,500 - S-001285 - David and Emily Troutman W/Rights of survivorship – Equity
        7/31/22 - $210,000 - S-001145 - Qiong Huang - Equity
        7/31/22 - $3,345 - S-001274 - Reich Family Trust - Equity

Fund 4 total for July: $412K
         7/28/22 - $70,000 - S-001280 - Yi Zheng - Payoff - Fund 4

Jian (Kristy) Lu | Accountant
425.278.9029 ext 155| icapequity.com
3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006





          23-01243-WLH11                  Doc 469           Filed 02/23/24            Entered 02/23/24 19:45:30 Exhibit
                                                                                                                  Pg 1901, Page
                                                                                                                           of 630190
                                                                                         Exhibit 1, Page 191
                           Exhibit 




23-01243-WLH11   Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30   Pg 191 of 630
 THIS CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM CONTAINS MATERIAL
 NON-PUBLIC INFORMATION REGARDING ICAP EQUITY, LLC (THE “COMPANY”). BY
 ACCEPTING THIS CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM AND THE
 EXHIBITS HERETO (COLLECTIVELY THIS “MEMORANDUM” OR THESE “OFFERING
 DOCUMENTS”), THE RECIPIENT AGREES WITH THE COMPANY TO MAINTAIN IN
 STRICT CONFIDENCE ALL NON-PUBLIC INFORMATION, INCLUDING, BUT NOT
 LIMITED TO, THE EXISTENCE OF THE PROPOSED FINANCING AND ANY OTHER NON-
 PUBLIC INFORMATION REGARDING THE COMPANY OBTAINED FROM THIS
 MEMORANDUM, ANY OTHER TRANSACTION DOCUMENT OR THE COMPANY.

              CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM

              FOR ACCREDITED INVESTORS AND NON-U.S. PERSONS




                                   iCap Equity, LLC

               $50,000,000 Offering of Series 3 - Senior Promissory Notes

  Pursuant to Rule 506(c) under Regulation D pursuant to the Securities Act of
     1933, as amended (the “Securities Act”), and pursuant to Regulation S
                         pursuant to the Securities Act

                                      July 1, 2020
 AN INVESTMENT IN OUR SECURITIES INVOLVES A HIGH DEGREE OF RISK. IN MAKING
 AN INVESTMENT DECISION INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF
 US AND THE TERMS OF THE OFFERING, INCLUDING THE MERITS AND RISKS
 INVOLVED. YOU SHOULD ONLY INVEST IN OUR SECURITIES IF YOU CAN AFFORD A
 COMPLETE LOSS OF YOUR INVESTMENT. YOU SHOULD READ THE COMPLETE
 DISCUSSION OF THE RISK FACTORS SET FORTH IN THIS MEMORANDUM. 

 DUE TO THE FACT THAT THE OFFERING IS A PRIVATE PLACEMENT AND IS EXEMPT
 FROM REGISTRATION, NEITHER THE SECURITIES AND EXCHANGE COMMISSION NOR
 ANY STATE SECURITIES COMMISSION HAS APPROVED OR DISAPPROVED OF THESE
 SECURITIES OR PASSED UPON THE ADEQUACY OR ACCURACY OF THE
 MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.
 SEE “CERTAIN NOTICES REGARDING THIS MEMORANDUM AND UNDER STATE
 SECURITIES LAWS.” 




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                                                                            Pg 1921, Page
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                             SUPPLEMENT NO. 1 TO

          CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM

                               DATED July 1, 2020



      iCap Equity, LLC has determined to extend the Offering Period as described in
this Memorandum for an additional 12-months, to May 1, 2022. Any references in this
Memorandum to the “Offering Period” shall now be deemed to reflect such extension.




                                             1

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                            SUPPLEMENT NO. 2 TO

                   CONFIDENTIAL PRIVATE PLACEMENT

                     MEMORANDUM DATED July 1, 2020



                                 August 31, 2021



      iCap Equity, LLC has determined to extend the Maximum Offering Amount as
described in this Memorandum to $75,000,000. Any references in this Memorandum to
the “Offering Amount” shall now be deemed to reflect such extension.




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                             SUPPLEMENT NO. 3 TO

          CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM

                               DATED July 1, 2020



       iCap Equity, LLC has determined to extend the Offering Period as described in
this Memorandum for an additional 8 months, to December 31, 2022. Any references
in this Memorandum to the “Offering Period” shall now be deemed to reflect such
extension.




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                              SUPPLEMENT NO. 4 TO
           CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM

                                DATED July 1, 2020



       iCap Equity, LLC (the “Company”) has determined to extend the Offering Period
as described in this Memorandum for an additional 12 months to December 31, 2023.
Any references in this Memorandum to the “Offering Period” shall now be deemed to
reflect such extension. The Company may, in its sole discretion, terminate the Offering
Period at any time before the end of this extended Offering Period.




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          CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM
                              FOR
            ACCREDITED INVESTORS AND NON-U.S. PERSONS

                                          iCap Equity, LLC

                $50,000,000 OF AGGREGATE PRINCIPAL AMOUNT
                                       OF
                     SERIES 3 - SENIOR PROMISSORY NOTES
   Minimum subscription per investor of $5,000 of principal amount, although iCap Equity, LLC
            reserves the right to accept subscriptions for a lower principal amount.

                                      No minimum offering amount.

          This Confidential Private Placement Memorandum for Accredited Investors and Non-U.S. Persons
 (this “Memorandum”) is being furnished in connection with the offer and sale (the “Offering”) of up to
 $50,000,000 of Series 3 - Senior Promissory Notes (the “Notes”), with no over-allotment amount, by iCap
 Equity, LLC, a Delaware limited liability company (the “Company”). Notes will be issued in denominations
 of at least $5,000 (and any amounts in excess of $5,000). The Company may accept subscriptions in lesser
 amounts in its sole discretion. There is no minimum amount that must be subscribed for in order for this
 Offering to close and for the subscription funds to be released to the Company, and the Company may
 conduct one or more closings as it determines.

         The Company is a private investment vehicle that seeks to hold and operate real estate investments,
 both directly and through fund investment vehicles, as described herein. This Memorandum contains certain
 information that prospective investors should know about the Offering. The manager of the Company is
 iCap Enterprises, Inc., a Washington limited liability company (the “Manager”). The Company’s address
 is iCap Equity, LLC, Factoria Blvd. SE, Suite 500, Bellevue, Washington 98006.

         The Offering is being made by the Company to persons who are either “accredited investors” as
 defined in Rule 501(a) of Regulation D promulgated under the Securities Act of 1933, as amended (the
 “Securities Act”), pursuant to Rule 506(c) under Regulation D, or “Non-U.S. Persons” (as defined below)
 pursuant to Regulation S promulgated under the Securities Act. The Offering is being made on a “Best
 Efforts” basis, which means there is no guaranty that any of the Notes will be sold or that a sufficient
 number of Notes will be sold to fulfill the Company’s business plan. The Company expects to engage one
 or more registered broker-dealers to act as placement agent(s) for the Offering (as applicable, the
 “Placement Agents”) and expects to pay commissions to the Placement Agents as set forth in the Plan of
 Distribution commencing on page 14, based on the aggregate principal amount of the Notes sold to
 investors. Investors who purchase Notes are referred to herein as the “Noteholders.” The Company will
 attempt to sell the Notes during an offering period commencing on the date of this Memorandum and
 expiring on May 1, 2021, subject to earlier termination as set forth herein.

     THE SECURITIES OFFERED HEREBY ARE SPECULATIVE AND INVOLVE A HIGH
     DEGREE OF RISK. NO INVESTMENT IN THE NOTES SHOULD BE MADE BY ANY
      INVESTOR NOT FINANCIALLY ABLE TO LOSE THE ENTIRE AMOUNT OF ITS
                               INVESTMENT.




                                                      i

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                           RISK DISCLOSURE STATEMENT


      THE ATTORNEYS THAT PREPARED THIS MEMORANDUM (“ATTORNEYS”)
 HEREBY DISCLAIM ANY OPINION OR ASSURANCE OF ANY NATURE WHATSOEVER
 REGARDING THE ACCURACY, COMPLETENESS, REASONABLENESS, TIMELINESS OR
 VERACITY OF ANY OF THE ASSERTIONS, REPRESENTATIONS OR OTHER
 INFORMATION CONTAINED HEREIN, WHETHER QUALITATIVE OR QUANTITATIVE, OR
 REGARDING THE INVESTMENT-WORTHINESS OF THE SECURITIES DISCUSSED
 HEREIN (“SECURITIES”). ANY ASSERTION OR REPRESENTATION MADE HEREIN, AND
 ALL OTHER INFORMATION DISCLOSED HEREIN, WHETHER QUALITATIVE OR
 QUANTITATIVE, HAS BEEN MADE OR PROVIDED BY THE PROMOTER. IN CONNECTION
 WITH THE PREPARATION OF THESE CONFIDENTIAL OFFERING DOCUMENTS, THE
 ATTORNEYS HAVE NOT BEEN ENGAGED TO ATTEST HERETO, OR TO OPINE IN
 RESPECT HEREOF. ACCORDINGLY, THE ATTORNEYS HAVE NOT PERFORMED ANY
 ANALYTICAL,     CONFIRMATION,    VALIDATION,   VERIFICATION  OR   OTHER
 PROCEDURES IN RESPECT OF THE ASSERTIONS AND REPRESENTATIONS CONTAINED
 HEREIN, NOR IN RESPECT OF ANY OF THE OTHER INFORMATION DISCLOSED HEREIN,
 INCLUDING ANY SIMILAR TO THOSE PROCEDURES UNDERTAKEN BY AN
 INDEPENDENT CERTIFIED PUBLIC ACCOUNTANT IN CONNECTION WITH AN AUDIT OF
 THE FINANCIAL STATEMENTS OF AN ISSUER OF SECURITIES FOR PURPOSES OF
 RENDERING AN OPINION THEREON. CONSEQUENTLY, POTENTIAL INVESTORS, IN
 DECIDING WHETHER OR NOT TO INVEST IN THE SECURITIES, ARE CAUTIONED NOT
 TO ASCRIBE ANY SPECIAL RELIANCE WHATSOEVER ON THIS MEMORANDUM BY
 REASON THAT ATTORNEYS HAVE PREPARED THIS MEMORANDUM.

      THIS BRIEF STATEMENT CANNOT DISCLOSE ALL THE RISKS AND OTHER
 FACTORS NECESSARY TO EVALUATE YOUR INVESTMENT IN THE NOTES.
 THEREFORE, BEFORE YOU DECIDE TO MAKE AN INVESTMENT IN THE NOTES, YOU
 SHOULD CAREFULLY STUDY THIS MEMORANDUM, INCLUDING A DISCUSSION OF
 CERTAIN RISK FACTORS OF THIS INVESTMENT.


             CERTAIN NOTICES REGARDING THIS MEMORANDUM AND
                       UNDER STATE SECURITIES LAWS


        FOR ALL PROSPECTIVE INVESTORS: THE SECURITIES OFFERED HEREBY HAVE
 NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE
 “SECURITIES ACT”) OR THE SECURITIES LAWS OF ANY STATE, AND ARE BEING OFFERED
 AND SOLD IN RELIANCE ON EXEMPTIONS FROM THE REGISTRATION REQUIREMENTS OF
 THE SECURITIES ACT SET FORTH IN SECTION 4(A)(2) THEREOF AND RULE 506(C) OF
 REGULATION D PROMULGATED THEREUNDER TO ACCREDITED INVESTORS. RULE 506 OF
 REGULATION D SETS FORTH CERTAIN RESTRICTIONS AS TO THE NUMBER AND NATURE
 OF PURCHASERS OF SECURITIES OFFERED PURSUANT THERETO. WE HAVE ELECTED TO
 SELL SECURITIES ONLY TO ACCREDITED INVESTORS AS SUCH TERM IS DEFINED IN RULE
 501(A) OF REGULATION D. EACH PROSPECTIVE INVESTOR WILL BE REQUIRED TO MAKE
 REPRESENTATIONS AS TO THE BASIS UPON WHICH IT QUALIFIES AS AN ACCREDITED
 INVESTOR.

      THE SECURITIES OFFERED HEREBY WILL BE SUBJECT TO RESTRICTIONS ON

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 TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR RESOLD EXCEPT AS
 PERMITTED UNDER THE SECURITIES ACT AND UNDER APPLICABLE STATE SECURITIES
 LAWS OR PURSUANT TO REGISTRATION OR EXEMPTION THEREFROM. INVESTORS
 SHOULD BE AWARE THAT THEY MAY BE REQUIRED TO BEAR THE FINANCIAL RISKS OF
 THIS INVESTMENT FOR AN INDEFINITE PERIOD OF TIME. ONLY PERSONS WHO CAN
 AFFORD TO LOSE THEIR ENTIRE INVESTMENT IN THE NOTES SHOULD PURCHASE THE
 NOTES.

       THE SECURITIES OFFERED HEREBY HAVE NOT BEEN APPROVED OR DISAPPROVED
 BY THE SECURITIES AND EXCHANGE COMMISSION (“SEC”) OR ANY STATE SECURITIES
 COMMISSION, NOR HAS THE SEC OR ANY STATE SECURITIES COMMISSION PASSED UPON
 THE ACCURACY OR ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION TO THE
 CONTRARY IS A CRIMINAL OFFENSE.

       THE INFORMATION PRESENTED HEREIN WAS PRESENTED AND SUPPLIED SOLELY
 BY THE COMPANY AND IS BEING FURNISHED SOLELY FOR USE BY PROSPECTIVE
 INVESTORS IN CONNECTION WITH THE OFFERING. THE COMPANY MAKES NO
 REPRESENTATIONS AS TO THE FUTURE PERFORMANCE OF THE COMPANY. THIS
 MEMORANDUM WERE PREPARED BY THE COMPANY.

       THIS OFFERING IS SUBJECT TO WITHDRAWAL, CANCELLATION OR MODIFICATION
 BY THE COMPANY AT ANY TIME AND WITHOUT NOTICE. WE RESERVE THE RIGHT IN OUR
 SOLE DISCRETION TO REJECT ANY SUBSCRIPTION IN WHOLE OR IN PART
 NOTWITHSTANDING TENDER OF PAYMENT OR TO ALLOT TO ANY PROSPECTIVE
 INVESTOR LESS THAN THE AGGREGATE PRINCIPAL AMOUNT OF NOTES SUBSCRIBED FOR
 BY SUCH INVESTOR.

       THIS MEMORANDUM DOES NOT CONSTITUTE AN OFFER TO SELL OR A
 SOLICITATION OF ANY OFFER TO BUY ANY SECURITY OTHER THAN THE SECURITIES
 OFFERED HEREBY, NOR DOES IT CONSTITUTE AN OFFER TO SELL OR A SOLICITATION OF
 ANY OFFER TO BUY SUCH SECURITIES BY ANYONE IN ANY JURISDICTION IN WHICH SUCH
 OFFER OR SOLICITATION IS NOT AUTHORIZED, OR IN WHICH THE PERSON MAKING SUCH
 OFFER OR SOLICITATION IS NOT QUALIFIED TO DO SO. NEITHER THE DELIVERY OF THIS
 MEMORANDUM NOR ANY SALE MADE HEREUNDER SHALL, UNDER ANY
 CIRCUMSTANCES, CREATE ANY IMPLICATION THAT THERE HAS BEEN NO CHANGE IN OUR
 AFFAIRS SINCE THE DATE HEREOF. THIS MEMORANDUM CONTAINS SUMMARIES OF
 CERTAIN PERTINENT DOCUMENTS, APPLICABLE LAWS AND REGULATIONS. SUCH
 SUMMARIES ARE NOT COMPLETE AND ARE QUALIFIED IN THEIR ENTIRETY BY
 REFERENCE TO THE COMPLETE TEXTS THEREOF.

      PROSPECTIVE INVESTORS ARE NOT TO CONSTRUE THE CONTENTS OF THIS
 MEMORANDUM AS LEGAL OR TAX ADVICE. EACH PROSPECTIVE INVESTOR SHOULD
 CONSULT HIS OR HER OWN COUNSEL, ACCOUNTANT AND OTHER ADVISORS AS TO
 LEGAL, TAX AND RELATED MATTERS PRIOR TO PURCHASING ANY NOTES.

       THE COMPANY DOES NOT MAKE ANY EXPRESS OR IMPLIED REPRESENTATION OR
 WARRANTY AS TO THE ACCURACY OR COMPLETENESS OF THE INFORMATION
 CONTAINED IN THIS MEMORANDUM OR IN ANY ADDITIONAL EVALUATION MATERIAL,
 WHETHER WRITTEN OR ORAL, MADE AVAILABLE IN CONNECTION WITH ANY FURTHER
 INVESTIGATION OF THE COMPANY. THE COMPANY EXPRESSLY DISCLAIMS ANY AND ALL
 LIABILITY THAT MAY BE BASED UPON SUCH INFORMATION, ERRORS THEREIN OR
 OMISSIONS THEREFROM. ONLY THOSE PARTICULAR REPRESENTATIONS AND

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 WARRANTIES, IF ANY, WHICH MAY BE MADE TO A PARTY IN A DEFINITIVE WRITTEN
 AGREEMENT REGARDING A TRANSACTION INVOLVING THE COMPANY, WHEN, AS AND IF
 EXECUTED, AND SUBJECT TO SUCH LIMITATIONS AND RESTRICTIONS AS MAY BE
 SPECIFIED THEREIN, WILL HAVE ANY LEGAL EFFECT. EXCEPT AS OTHERWISE EXPRESSLY
 PROVIDED TO THE CONTRARY IN WRITING, THIS MEMORANDUM SPEAKS AS OF THE DATE
 HEREOF. NEITHER THE DELIVERY OF THIS MEMORANDUM NOR ANY SALE OF NOTES
 MADE HEREUNDER SHALL, UNDER ANY CIRCUMSTANCES, CREATE ANY IMPLICATION
 THAT THERE HAS BEEN NO CHANGE IN THE AFFAIRS OF THE COMPANY AFTER THE DATE
 HEREOF.

       NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR TO MAKE
 ANY REPRESENTATIONS OTHER THAN THOSE CONTAINED IN THIS MEMORANDUM IN
 CONNECTION WITH THE OFFERING OF NOTES BEING MADE PURSUANT HERETO, AND IF
 GIVEN OR MADE, SUCH INFORMATION OR REPRESENTATIONS MUST NOT BE RELIED UPON
 AS HAVING BEEN AUTHORIZED BY THE COMPANY.

      THERE IS NO MARKET FOR THE NOTES AND THERE IS NO ASSURANCES A PUBLIC
 MARKET WILL EVER BE ESTABLISHED. PURCHASERS OF THE NOTES ARE NOT BEING
 GRANTED ANY REGISTRATION RIGHTS. A PURCHASE OF THE NOTES SHOULD BE
 CONSIDERED AN ILLIQUID INVESTMENT.

       BY ACCEPTING DELIVERY OF THIS MEMORANDUM, EACH PROSPECTIVE INVESTOR
 HEREBY EXPRESSLY AGREES WITH THE COMPANY TO KEEP CONFIDENTIAL ALL OF THE
 CONTENTS HEREOF, INCLUDING, BUT NOT LIMITED TO, THE OFFERING AND ALL
 INFORMATION RELATED TO THE COMPANY, AND NOT TO DISCLOSE THE SAME TO ANY
 THIRD PARTY AND/OR OTHERWISE USE THE SAME FOR ANY PURPOSE OTHER THAN AN
 EVALUATION BY SUCH OFFEREE OF A POTENTIAL INVESTMENT IN THE NOTES OFFERED
 PURSUANT HERETO. WE HAVE CAUSED THIS MEMORANDUM TO BE DELIVERED TO YOU
 IN RELIANCE UPON SUCH AGREEMENT BY YOU.

      EACH PROSPECTIVE SUBSCRIBER BY RECEIVING THIS MEMORANDUM AGREES TO
 RETURN THE SAME TO US IF (A) THE OFFEREE DOES NOT SUBSCRIBE TO PURCHASE ANY
 SECURITIES OFFERED HEREBY; (B) THE OFFEREE’S SUBSCRIPTION IS NOT ACCEPTED,
 AND/OR (C) THE OFFERING IS TERMINATED OR WITHDRAWN.

       THIS MEMORANDUM IS SUBJECT TO AMENDMENT AND SUPPLEMENTATION AS
 APPROPRIATE. WE DO NOT INTEND TO UPDATE THE INFORMATION CONTAINED IN THE
 OFFERING DOCUMENTS FOR ANY INVESTOR WHO HAS ALREADY MADE AN INVESTMENT.
 WE MAY UPDATE THE INFORMATION CONTAINED HEREIN FROM TIME TO TIME AND
 PROVIDE SUCH UPDATED DOCUMENT TO POTENTIAL INVESTORS BUT UNDERTAKE NO
 OBLIGATION TO PROVIDE SUCH UPDATED DOCUMENTS TO AN INVESTOR WHO HAS
 ALREADY MADE HIS OR HER INVESTMENT.




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                           JURISDICTIONAL NOTICES

 FOR RESIDENTS OF ALL STATES:

 THE PRESENCE OF A LEGEND FOR ANY GIVEN STATE REFLECTS ONLY THAT A
 LEGEND MAY BE REQUIRED BY THAT STATE AND SHOULD NOT BE CONSTRUED TO
 MEAN AN OFFER OR SALE MAY BE MADE IN A PARTICULAR STATE. IF YOU ARE
 UNCERTAIN AS TO WHETHER OR NOT OFFERS OR SALES MAY BE LAWFULLY MADE
 IN ANY GIVEN STATE, YOU ARE HEREBY ADVISED TO CONTACT THE COMPANY. THE
 SECURITIES DESCRIBED IN THIS MEMORANDUM HAVE NOT BEEN REGISTERED
 UNDER ANY STATE SECURITIES LAWS (COMMONLY CALLED “BLUE SKY” LAWS).
 THESE SECURITIES MUST BE ACQUIRED FOR INVESTMENT PURPOSES ONLY AND MAY
 NOT BE SOLD OR TRANSFERRED IN THE ABSENCE OF AN EFFECTIVE REGISTRATION
 OF SUCH SECURITIES UNDER SUCH LAWS, OR AN OPINION OF COUNSEL ACCEPTABLE
 TO THE COMPANY THAT SUCH REGISTRATION IS NOT REQUIRED. THE PRESENCE OF
 A LEGEND FOR ANY GIVEN STATE REFLECTS ONLY THAT A LEGEND MAY BE
 REQUIRED BY THE STATE AND SHOULD NOT BE CONSTRUED TO MEAN AN OFFER OF
 SALE MAY BE MADE IN ANY PARTICULAR STATE.

 IN MAKING ANY INVESTMENT DECISION, INVESTORS MUST RELY ON THEIR OWN
 EXAMINATION OF THE PERSON OR ENTITY CREATING THE SECURITIES AND THE
 TERMS OF THE OFFERING, INCLUDING THE MERITS AND RISKS INVOLVED. NO
 FEDERAL OR STATE SECURITIES COMMISSION OR REGULATORY AUTHORITY HAS
 RECOMMENDED     THESE  SECURITIES.   FURTHERMORE,   THE   FOREGOING
 AUTHORITIES HAVE NOT CONFIRMED THE ACCURACY OR DETERMINED THE
 ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY IS A
 CRIMINAL OFFENSE.

 THESE SECURITIES ARE SUBJECT TO RESTRICTIONS ON TRANSFERABILITY AND
 RESALE AND MAY NOT BE TRANSFERRED OR RESOLD EXCEPT AS PERMITTED UNDER
 THE SECURITIES ACT AND THE APPLICABLE STATE SECURITIES LAWS, PURSUANT TO
 REGISTRATION OR EXEMPTION THEREFROM. INVESTORS SHOULD BE AWARE THAT
 THEY WILL BE REQUIRED TO BEAR THE FINANCIAL RISKS OF THIS INVESTMENT FOR
 AN INDEFINITE PERIOD OF TIME.

 1. NOTICE TO ALABAMA RESIDENTS ONLY: THESE SECURITIES ARE OFFERED
    PURSUANT TO A CLAIM OF EXEMPTION UNDER THE ALABAMA SECURITIES ACT. A
    REGISTRATION STATEMENT RELATING TO THESE SECURITIES HAS NOT BEEN FILED
    WITH THE ALABAMA SECURITIES COMMISSION. THE COMMISSION DOES NOT
    RECOMMEND OR ENDORSE THE PURCHASE OF ANY SECURITIES, NOR DOES IT PASS
    UPON THE ACCURACY OR COMPLETENESS OF THESE CONFIDENTIAL OFFERING
    DOCUMENTS. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

 2. NOTICE TO ALASKA RESIDENTS ONLY: IN MAKING AN INVESTMENT DECISION
    INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF THE ISSUER AND THE
    TERMS OF THE OFFERING, INCLUDING THE MERITS AND RISKS INVOLVED. THESE
    SECURITIES HAVE NOT BEEN RECOMMENDED BY ANY FEDERAL OR STATE
    SECURITIES COMMISSION OR REGULATORY AUTHORITY. FURTHER-MORE, THE
    FOREGOING AUTHORITIES HAVE NOT CONFIRMED THE ACCURACY OR DETERMINED
    THE ADEQUACY OF THIS DOCUMENT. ANY REPRESENTATION TO THE CONTRARY IS A
    CRIMINAL OFFENSE. THESE SECURITIES ARE SUBJECT TO RESTRICTIONS ON
    TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR RESOLD

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    EXCEPT AS PERMITTED UNDER THE SECURITIES ACT OF 1933, AS AMENDED, AND THE
    APPLICABLE STATE SECURITIES LAWS, PURSUANT TO REGISTRATION OR EXEMPTION
    THEREFROM. INVESTORS SHOULD BE AWARE THAT THEY MAY BE REQUIRED TO BEAR
    THE FINANCIAL RISKS OF THIS INVESTMENT FOR AN INDEFINITE PERIOD OF TIME.

 3. NOTICE TO ARIZONA RESIDENTS ONLY: THESE SECURITIES HAVE NOT BEEN
    REGISTERED UNDER THE ARIZONA SECURITIES ACT IN RELIANCE UPON AN
    EXEMPTION FROM REGISTRATION PURSUANT TO A.R.S. SECTION 44-1844 (1) AND
    THEREFORE CANNOT BE RESOLD UNLESS THEY ARE ALSO REGISTERED OR UNLESS
    AN EXEMPTION FROM REGISTRATION IS AVAILABLE.

 4. NOTICE TO ARKANSAS RESIDENTS ONLY: THESE SECURITIES ARE OFFERED IN
    RELIANCE UPON CLAIMS OF EXEMPTION UNDER THE ARKANSAS SECURITIES ACT
    AND SECTION 4(2) OF THE SECURITIES ACT OF 1933. A REGISTRATION STATEMENT
    RELATING TO THESE SECURITIES HAS NOT BEEN FILED WITH THE ARKANSAS
    SECURITIES DEPARTMENT OR WITH THE SECURITIES AND EXCHANGE COMMISSION.
    NEITHER THE DEPARTMENT NOR THE COMMISSION HAS PASSED UPON THE VALUE OF
    THESE SECURITIES, MADE ANY RECOMMENDATIONS AS TO THEIR PURCHASE,
    APPROVED OR DISAPPROVED THIS OFFERING OR PASSED UPON THE ADEQUACY OR
    ACCURACY OF THESE CONFIDENTIAL OFFERING DOCUMENTS. ANY REPRESENTATION
    TO THE CONTRARY IS UNLAWFUL.

 5. NOTICE TO CALIFORNIA RESIDENTS: THESE SECURITIES HAVE NOT BEEN
    QUALIFIED OR OTHERWISE APPROVED OR DISAPPROVED BY THE CALIFORNIA
    DEPARTMENT OF CORPORATIONS UNDER THE CALIFORNIA CORPORATIONS CODE.
    THESE SECURITIES ARE OFFERED IN CALIFORNIA IN RELIANCE UPON AN EXEMPTION
    FROM REGISTRATION PROVIDED BY SECTIONS 25100, 25102 OR 25105 OF THE
    CALIFORNIA CORPORATIONS CODE. ACCORDINGLY, DISTRIBUTION OF THIS
    MEMORANDUM AND OFFERS AND SALES OF THE SECURITIES REFERRED TO HEREIN
    ARE STRICTLY LIMITED TO PERSONS WHO THE COMPANY DETERMINES TO HAVE MET
    CERTAIN FINANCIAL AND OTHER REQUIREMENTS. THIS MEMORANDUM DOES NOT
    CONSTITUTE AN OFFER TO SELL OR THE SOLICITATION OF AN OFFER TO BUY WITH
    RESPECT TO ANY OTHER PERSON. IN ORDER TO RELY ON THE FOREGOING
    EXEMPTIONS, THE COMPANY WILL RELY IN TURN ON CERTAIN REPRESENTATIONS
    AND WARRANTIES MADE TO THE COMPANY BY THE INVESTORS IN THIS OFFERING.
    THOSE REPRESENTATIONS AND WARRANTIES ARE CONTAINED IN THE SUBSCRIPTION
    AGREEMENT, ATTACHED HERETO AS EXHIBIT A.

 6. FOR COLORADO RESIDENTS ONLY: THE SALE OF THE SECURITIES WHICH ARE THE
    SUBJECT OF THIS OFFERING HAS NOT BEEN QUALIFIED WITH COMMISSIONER OF
    CORPORATIONS OF THE STATE OF COLORADO AND THE ISSUANCE OF SUCH
    SECURITIES OR PAYMENT OR RECEIPT OF ANY PART OF THE CONSIDERATION
    THEREFORE PRIOR TO SUCH QUALIFICATIONS IS UNLAWFUL, UNLESS THE SALE OF
    SECURITIES IS EXEMPTED FROM QUALIFICATION BY SECTION 25100, 25102, OR 25104
    OF THE COLORADO CORPORATIONS CODE. THE RIGHTS OF ALL PARTIES TO THIS
    OFFERING ARE EXPRESSLY CONDITION UPON SUCH QUALIFICATIONS BEING
    OBTAINED, UNLESS THE SALE IS SO EXEMPT. THE SECURITIES HAVE NOT BEEN
    REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED, OR THE COLORADO
    SECURITIES ACT OF 1991 BY REASON OF SPECIFIC EXEMPTIONS THEREUNDER
    RELATING TO THE LIMITED AVAILABILITY OF THE OFFERING. THESE SECURITIES
    CANNOT BE RESOLD, TRANSFERRED OR OTHERWISE DISPOSED OF TO ANY PERSON OR
    ENTITY UNLESS SUBSEQUENTLY REGISTERED UNDER THE SECURITIES ACT OF 1933,

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    AS AMENDED, OR THE COLORADO SECURITIES ACT OF 1991, IF SUCH REGISTRATION
    IS REQUIRED.

 7. NOTICE TO CONNECTICUT RESIDENTS ONLY: SECURITIES ACQUIRED BY
    CONNECTICUT RESIDENTS ARE BEING SOLD AS A TRANSACTION EXEMPT UNDER
    SECTION 36B-31-21B-9B OF THE CONNECTICUT, UNIFORM SECURITIES ACT. THE
    SECURITIES HAVE NOT BEEN REGISTERED UNDER SAID ACT IN THE STATE OF
    CONNECTICUT. ALL INVESTORS SHOULD BE AWARE THAT THERE ARE CERTAIN
    RESTRICTIONS AS TO THE TRANSFERABILITY OF THE SECURITIES.

 8. NOTICE TO DELAWARE RESIDENTS ONLY: IF YOU ARE A DELAWARE RESIDENT, YOU
    ARE HEREBY ADVISED THAT THESE SECURITIES ARE BEING OFFERED IN A
    TRANSACTION EXEMPT FROM THE REGISTRATION REQUIREMENTS OF THE
    DELAWARE SECURITIES ACT. THE SECURITIES CANNOT BE SOLD OR TRANSFERRED
    EXCEPT IN A TRANSACTION WHICH IS EXEMPT UNDER THE ACT OR PURSUANT TO AN
    EFFECTIVE REGISTRATION STATEMENT UNDER THE ACT OR IN A TRANSACTION
    WHICH IS OTHERWISE IN COMPLIANCE WITH THE ACT.

 9. NOTICE TO DISTRICT OF COLUMBIA RESIDENTS ONLY: THESE SECURITIES HAVE
    NOT BEEN APPROVED OR DISAPPROVED BY THE SECURITIES BUREAU OF THE
    DISTRICT OF COLUMBIA NOR HAS THE COMMISSIONER PASSED UPON THE ACCURACY
    OR ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY
    IS UNLAWFUL.

 10. NOTICE TO FLORIDA RESIDENTS ONLY: THE SECURITIES DESCRIBED HEREIN HAVE
     NOT BEEN REGISTERED WITH THE FLORIDA DIVISION OF SECURITIES AND INVESTOR
     PROTECTION UNDER THE FLORIDA SECURITIES ACT. THE SECURITIES REFERRED TO
     HEREIN WILL BE SOLD TO, AND ACQUIRED BY THE HOLDER IN A TRANSACTION
     EXEMPT UNDER SECTION 517.061 OF SAID ACT. THE SECURITIES HAVE NOT BEEN
     REGISTERED UNDER SAID ACT IN THE STATE OF FLORIDA. EACH FLORIDA RESIDENT
     WHO SUBSCRIBES FOR NOTES HAS THE RIGHT, PURSUANT TO SECTION
     517.061(11)(A)(5) OF THE FLORIDA SECURITIES AND INVESTOR PROTECTION ACT, TO
     WITHDRAW HIS SUBSCRIPTION AND RECEIVE A FULL REFUND OF ALL MONEYS PAID,
     WITHIN THREE (3) BUSINESS DAYS AFTER THE EXECUTION OF THE SUBSCRIPTION
     AGREEMENT AND POWER OF ATTORNEY OR THE PAYMENT FOR AN INTEREST HAS
     BEEN MADE, WHICH EVER IS LATER. WITHDRAWAL WILL BE WITHOUT ANY FURTHER
     LIABILITY TO ANY PERSON. TO ACCOMPLISH THIS WITHDRAWAL, A SUBSCRIBER
     NEED ONLY SEND A LETTER OR A FACSIMILE TO THE COMPANY AT THE ADDRESS SET
     FORTH IN THIS MEMORANDUM, INDICATING HIS INTENTION TO WITHDRAW. SUCH
     LETTER OR FACSIMILE MUST BE SENT AND POSTMARKED PRIOR TO THE END OF THE
     AFOREMENTIONED THIRD BUSINESS DAY. IT IS PRUDENT TO SEND SUCH LETTER BY
     CERTIFIED MAIL, RETURN RECEIPT REQUESTED, TO ENSURE THAT IT IS RECEIVED
     AND ALSO TO EVIDENCE THE TIME WHEN IT WAS MAILED.

 11. NOTICE TO GEORGIA RESIDENTS ONLY: THESE SECURITIES ARE OFFERED IN A
     TRANSACTION EXEMPT FROM THE REGISTRATION REQUIREMENTS OF THE GEORGIA
     SECURITIES ACT PURSUANT TO REGULATION 590-4-5-04 AND -01. THE SECURITIES
     CANNOT BE SOLD OR TRANSFERRED EXCEPT IN A TRANSACTION WHICH IS EXEMPT
     UNDER THE ACT OR PURSUANT TO AN EFFECTIVE REGISTRATION STATEMENT UNDER
     THE ACT OR IN A TRANSACTION WHICH IS OTHERWISE IN COMPLIANCE WITH THE
     ACT.


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 12. NOTICE TO HAWAII RESIDENTS ONLY: NEITHER THESE CONFIDENTIAL OFFERING
     DOCUMENTS NOR THE SECURITIES DESCRIBED HEREIN BEEN APPROVED OR
     DISAPPROVED BY THE COMMISSIONER OF SECURITIES OF THE STATE OF HAWAII NOR
     HAS THE COMMISSIONER PASSED UPON THE ACCURACY OR ADEQUACY OF THESE
     CONFIDENTIAL OFFERING DOCUMENTS.

 13. NOTICE TO IDAHO RESIDENTS ONLY: THESE SECURITIES EVIDENCED HEREBY HAVE
     NOT BEEN REGISTERED UNDER THE IDAHO SECURITIES ACT IN RELIANCE UPON
     EXEMPTION FROM REGISTRATION PURSUANT TO SECTION 30-14-203 OR 302(C)
     THEREOF AND MAY NOT BE SOLD, TRANSFERRED, PLEDGED OR HYPOTHECATED
     EXCEPT IN A TRANSACTION WHICH IS EXEMPT UNDER SAID ACT OR PURSUANT TO AN
     EFFECTIVE REGISTRATION UNDER SAID ACT.

 14. NOTICE TO ILLINOIS RESIDENTS: THESE SECURITIES HAVE NOT BEEN APPROVED OR
     DISAPPROVED BY THE SECRETARY OF THE STATE OF ILLINOIS NOR HAS THE STATE
     OF ILLINOIS PASSED UPON THE ACCURACY OR ADEQUACY OF THE CONFIDENTIAL
     OFFERING DOCUMENTS. ANY REPRESENTATION TO THE CONTRARY IS UNLAWFUL.

 15. NOTICE TO INDIANA RESIDENTS ONLY: THESE SECURITIES ARE OFFERED PURSUANT
     TO A CLAIM OF EXEMPTION UNDER SECTION 23-2-1-2 OF THE INDIANA SECURITIES
     LAW AND HAVE NOT BEEN REGISTERED UNDER SECTION 23-2-1-3. THEY CANNOT
     THEREFORE BE RESOLD UNLESS THEY ARE REGISTERED UNDER SAID LAW OR UNLESS
     AN EXEMPTION FORM REGISTRATION IS AVAILABLE. A CLAIM OF EXEMPTION UNDER
     SAID LAW HAS BEEN FILED, AND IF SUCH EXEMPTION IS NOT DISALLOWED SALES OF
     THESE SECURITIES MAY BE MADE. HOWEVER, UNTIL SUCH EXEMPTION IS GRANTED,
     ANY OFFER MADE PURSUANT HERETO IS PRELIMINARY AND SUBJECT TO MATERIAL
     CHANGE.

 16. NOTICE TO IOWA RESIDENTS ONLY: IN MAKING AN INVESTMENT DECISION
     INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF THE PERSON OR ENTITY
     CREATING THE SECURITIES AND THE TERMS OF THE OFFERING, INCLUDING THE
     MERITS AND RISKS INVOLVED. THESE SECURITIES HAVE NOT BEEN RECOMMENDED;
     THE FOREGOING AUTHORITIES HAVE NOT CONFIRMED THE ACCURACY OR
     DETERMINED THE ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION TO
     THE CONTRARY IS A CRIMINAL OFFENSE. THESE SECURITIES ARE SUBJECT TO
     RESTRICTIONS ON TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED
     OR RESOLD EXCEPT AS PERMITTED UNDER THE SECURITIES ACT OF 1933, AS
     AMENDED, AND THE APPLICABLE STATE SECURITIES LAWS, PURSUANT TO
     REGISTRATION OR EXEMPTION THEREFROM. INVESTORS SHOULD BE AWARE THAT
     THEY WILL BE REQUIRED TO BEAR THE FINANCIAL RISKS OF THIS INVESTMENT FOR
     AN INDEFINITE PERIOD OF TIME.

 17. NOTICE TO KANSAS RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER TO
     PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE
     SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
     EXEMPT FROM REGISTRATION UNDER SECTION 81-5-15 OF THE KANSAS SECURITIES
     ACT AND MAY NOT BE RE-OFFERED FOR SALE, TRANSFERRED, OR RESOLD EXCEPT IN
     COMPLIANCE WITH SUCH ACT AND APPLICABLE RULES PROMULGATED
     THEREUNDER.

 18. NOTICE TO KENTUCKY RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER TO
     PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE

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    SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
    EXEMPT FROM REGISTRATION UNDER TITLE 808 KAR 10:210 OF THE KENTUCKY
    SECURITIES ACT AND MAY NOT BE RE-OFFERED FOR SALE, TRANSFERRED, OR
    RESOLD EXCEPT IN COMPLIANCE WITH SUCH ACT AND APPLICABLE RULES
    PROMULGATED THEREUNDER.

 19. NOTICE TO LOUISIANA RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER TO
     PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE
     SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
     EXEMPT FROM REGISTRATION UNDER RULE 1 OF THE LOUISIANA SECURITIES LAW
     AND MAY NOT BE RE-OFFERED FOR SALE, TRANSFERRED, OR RESOLD EXCEPT IN
     COMPLIANCE WITH SUCH ACT AND APPLICABLE RULES PROMULGATED
     THEREUNDER.

 20. NOTICE TO MAINE RESIDENTS ONLY: THE ISSUER IS REQUIRED TO MAKE A
     REASONABLE FINDING THAT THE SECURITIES OFFERED ARE A SUITABLE
     INVESTMENT FOR THE PURCHASER AND THAT THE PURCHASER IS FINANCIALLY
     ABLE TO BEAR THE RISK OF LOSING THE ENTIRE AMOUNT INVESTED. THESE
     SECURITIES ARE OFFERED PURSUANT TO AN EXEMPTION UNDER §16202(15) OF THE
     MAINE UNIFORM SECURITIES ACT AND ARE NOT REGISTERED WITH THE SECURITIES
     ADMINISTRATOR OF THE STATE OF MAINE. THE SECURITIES OFFERED FOR SALE MAY
     BE RESTRICTED SECURITIES AND THE HOLDER MAY NOT BE ABLE TO RESELL THE
     SECURITIES UNLESS: (1) THE SECURITIES ARE REGISTERED UNDER STATE AND
     FEDERAL SECURITIES LAWS, OR (2) AN EXEMPTION IS AVAILABLE UNDER THOSE
     LAWS.

 21. NOTICE TO MARYLAND RESIDENTS ONLY: IF YOU ARE A MARYLAND RESIDENT AND
     YOU ACCEPT AN OFFER TO PURCHASE THESE SECURITIES PURSUANT TO THESE
     CONFIDENTIAL OFFERING DOCUMENTS, YOU ARE HEREBY ADVISED THAT THESE
     SECURITIES ARE BEING SOLD AS A TRANSACTION EXEMPT UNDER SECTION 11-602(9)
     OF THE MARYLAND SECURITIES ACT. THE SECURITIES HAVE NOT BEEN REGISTERED
     UNDER SAID ACT IN THE STATE OF MARYLAND. ALL INVESTORS SHOULD BE AWARE
     THAT THERE ARE CERTAIN RESTRICTIONS AS TO THE TRANSFERABILITY OF THE
     SECURITIES.

 22. NOTICE TO MASSACHUSETTS RESIDENTS ONLY: THESE SECURITIES HAVE NOT
     BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED, OR THE
     MASSACHUSETTS UNIFORM SECURITIES ACT, BY REASON OF SPECIFIC EXEMPTIONS
     THEREUNDER RELATING TO THE LIMITED AVAILABILITY OF THIS OFFERING. THESE
     SECURITIES CANNOT BE SOLD, TRANSFERRED, OR OTHERWISE DISPOSED OF TO ANY
     PERSON OR ENTITY UNLESS THEY ARE SUBSEQUENTLY REGISTERED OR AN
     EXEMPTION FROM REGISTRATION IS AVAILABLE.

 23. NOTICE TO MICHIGAN RESIDENTS ONLY: THESE SECURITIES ARE BEING OFFERED
     IN A TRANSACTION EXEMPT FROM THE REGISTRATION REQUIREMENTS OF THE
     MICHIGAN SECURITIES ACT. THE SECURITIES CANNOT BE SOLD OR TRANSFERRED
     EXCEPT IN A TRANSACTION WHICH IS EXEMPT UNDER THE ACT OR PURSUANT TO AN
     EFFECTIVE REGISTRATION STATEMENT UNDER THE ACT OR IN A TRANSACTION
     WHICH IS OTHERWISE IN COMPLIANCE WITH THE ACT.

 24. NOTICE TO MINNESOTA RESIDENTS ONLY: THESE SECURITIES BEING OFFERED
     HEREBY HAVE NOT BEEN REGISTERED UNDER CHAPTER 80A OF THE MINNESOTA

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    SECURITIES LAWS AND MAY NOT BE SOLD, TRANSFERRED, OR OTHERWISE DISPOSED
    OF EXCEPT PURSUANT TO REGISTRATION, OR AN EXEMPTION THEREFROM.

 25. NOTICE TO MISSISSIPPI RESIDENTS ONLY: THE SECURITIES ARE OFFERED
     PURSUANT TO A CLAIM OF EXEMPTION UNDER THE MISSISSIPPI SECURITIES ACT. A
     REGISTRATION STATEMENT RELATING TO THESE SECURITIES HAS NOT BEEN FILED
     WITH THE MISSISSIPPI SECRETARY OF STATE OR WITH THE SECURITIES AND
     EXCHANGE COMMISSION. NEITHER THE SECRETARY OF STATE NOR THE COMMISSION
     HAS PASSED UPON THE VALUE OF THESE SECURITIES, OR APPROVED OR
     DISAPPROVED THIS OFFERING. THE SECRETARY OF STATE DOES NOT RECOMMEND
     THE PURCHASE OF THESE OR ANY OTHER SECURITIES. EACH PURCHASER OF THE
     SECURITIES MUST MEET CERTAIN SUITABILITY STANDARDS AND MUST BE ABLE TO
     BEAR AN ENTIRE LOSS OF THIS INVESTMENT. THE SECURITIES MAY NOT BE
     TRANSFERRED FOR A PERIOD OF ONE (1) YEAR EXCEPT IN A TRANSACTION WHICH IS
     EXEMPT UNDER THE MISSISSIPPI SECURITIES ACT OR IN A TRANSACTION IN
     COMPLIANCE WITH THE MISSISSIPPI SECURITIES ACT.

 26. FOR MISSOURI RESIDENTS ONLY: THE SECURITIES OFFERED HEREIN WILL BE SOLD
     TO, AND ACQUIRED BY, THE PURCHASER IN A TRANSACTION EXEMPT UNDER
     SECTION 4.G OF THE MISSOURI SECURITIES LAW OF 1953, AS AMENDED. THESE
     SECURITIES HAVE NOT BEEN REGISTERED UNDER SAID ACT IN THE STATE OF
     MISSOURI. UNLESS THE SECURITIES ARE SO REGISTERED, THEY MAY NOT BE OFFERED
     FOR SALE OR RESOLD IN THE STATE OF MISSOURI, EXCEPT AS A SECURITY, OR IN A
     TRANSACTION EXEMPT UNDER SAID ACT.

 27. NOTICE TO MONTANA RESIDENTS ONLY: IN ADDITION TO THE INVESTOR
     SUITABILITY STANDARDS THAT ARE OTHERWISE APPLICABLE, ANY INVESTOR WHO
     IS A MONTANA RESIDENT MUST HAVE A NET WORTH (EXCLUSIVE OF HOME,
     FURNISHINGS AND AUTOMOBILES) IN EXCESS OF FIVE (5) TIMES THE AGGREGATE
     AMOUNT INVESTED BY SUCH INVESTOR IN THE SECURITIES.

 28. NOTICE TO NEBRASKA RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER TO
     PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE
     SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
     EXEMPT FROM REGISTRATION UNDER CHAPTER 15 OF THE NEBRASKA SECURITIES
     LAW AND MAY NOT BE RE-OFFERED FOR SALE, TRANSFERRED, OR RESOLD EXCEPT IN
     COMPLIANCE WITH SUCH ACT AND APPLICABLE RULES PROMULGATED
     THEREUNDER.

 29. NOTICE TO NEVADA RESIDENTS ONLY: IF ANY INVESTOR ACCEPTS ANY OFFER TO
     PURCHASE THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE SECURITIES
     WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION EXEMPT FROM
     REGISTRATION UNDER SECTION NRS 90.530 OF THE NEVADA SECURITIES LAW. THE
     INVESTOR IS HEREBY ADVISED THAT THE ATTORNEY GENERAL OF THE STATE OF
     NEVADA HAS NOT PASSED ON OR ENDORSED THE MERITS OF THIS OFFERING AND THE
     FILING OF THE OFFERING WITH THE BUREAU OF SECURITIES DOES NOT CONSTITUTE
     APPROVAL OF THE ISSUE, OR SALE THEREOF, BY THE BUREAU OF SECURITIES OR THE
     DEPARTMENT OF LAW AND PUBLIC SAFETY OF THE STATE OF NEVADA. ANY
     REPRESENTATION TO THE CONTRARY IS UNLAWFUL. NEVADA ALLOWS THE SALE OF
     SECURITIES TO 25 OR FEWER PURCHASERS IN THE STATE WITHOUT REGISTRATION.
     HOWEVER, CERTAIN CONDITIONS APPLY, I.E., THERE CAN BE NO GENERAL
     ADVERTISING OR SOLICITATION AND COMMISSIONS ARE LIMITED TO LICENSED

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    BROKER-DEALERS. THIS EXEMPTION IS GENERALLY USED WHERE THE PROSPECTIVE
    INVESTOR IS ALREADY KNOWN AND HAS A PRE-EXISTING RELATIONSHIP WITH THE
    COMPANY. (SEE NRS 90.530.11.)

 30. NOTICE TO NEW HAMPSHIRE RESIDENTS ONLY: NEITHER THE FACT THAT A
     REGISTRATION STATEMENT OR AN APPLICATION FOR A LICENSE UNDER THIS
     CHAPTER HAS BEEN FILED WITH THE STATE OF NEW HAMPSHIRE NOR THE FACT THAT
     A SECURITY IS EFFECTIVELY REGISTERED OR A PERSON IS LICENSED IN THE STATE
     OF NEW HAMPSHIRE CONSTITUTES A FINDING BY THE SECRETARY OF STATE THAT
     ANY DOCUMENT FILED UNDER RSA 421-B IS TRUE, COMPLETE AND NOT MISLEADING.
     NEITHER ANY SUCH FACT NOR THE FACT THAT AN EXEMPTION OR EXCEPTION IS
     AVAILABLE FOR A SECURITY OR A TRANSACTION MEANS THAT THE SECRETARY OF
     STATE HAS PASSED IN ANY WAY UPON THE MERITS OR QUALIFICATIONS OF, OR
     RECOMMENDED OR GIVEN APPROVAL TO, ANY PERSON, SECURITY, OR
     TRANSACTION. IT IS UNLAWFUL TO MAKE, OR CAUSE TO BE MADE, TO ANY
     PROSPECTIVE PURCHASER, CUSTOMER, OR CLIENT ANY REPRESENTATION
     INCONSISTENT WITH THE PROVISIONS OF THIS PARAGRAPH.

 31. NOTICE TO NEW JERSEY RESIDENTS ONLY: IF YOU ARE A NEW JERSEY RESIDENT
     AND YOU ACCEPT AN OFFER TO PURCHASE THESE SECURITIES PURSUANT TO THESE
     CONFIDENTIAL OFFERING DOCUMENTS, YOU ARE HEREBY ADVISED THAT THESE
     CONFIDENTIAL OFFERING DOCUMENTS HAVE NOT BEEN FILED WITH OR REVIEWED
     BY THE ATTORNEY GENERAL OF THE STATE OF NEW JERSEY PRIOR TO ITS ISSUANCE
     AND USE. THE ATTORNEY GENERAL OF THE STATE OF NEW JERSEY HAS NOT PASSED
     ON OR ENDORSED THE MERITS OF THIS OFFERING. ANY REPRESENTATION TO THE
     CONTRARY IS UNLAWFUL.

 32. NOTICE TO NEW MEXICO RESIDENTS ONLY: THESE SECURITIES HAVE NOT BEEN
     APPROVED OR DISAPPROVED BY THE SECURITIES DIVISION OF THE NEW MEXICO
     DEPARTMENT OF BANKING NOR HAS THE SECURITIES DIVISION PASSED UPON THE
     ACCURACY OR ADEQUACY OF THESE CONFIDENTIAL OFFERING DOCUMENTS. ANY
     REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

 33. NOTICE TO NEW YORK RESIDENTS ONLY: THIS MEMORANDUM HAVE NOT BEEN
     REVIEWED BY THE ATTORNEY GENERAL OF THE STATE OF NEW YORK PRIOR TO ITS
     ISSUANCE AND USE. THE ATTORNEY GENERAL OF THE STATE OF NEW YORK HAS NOT
     PASSED ON OR ENDORSED THE MERITS OF THIS OFFERING. ANY REPRESENTATION TO
     THE CONTRARY IS UNLAWFUL. THE COMPANY HAS TAKEN NO STEPS TO CREATE AN
     AFTER MARKET FOR THE SECURITIES OFFERED HEREIN AND HAS MADE NO
     ARRANGEMENTS WITH BROKERS OF OTHERS TO TRADE OR MAKE A MARKET IN THE
     SECURITIES. AT SOME TIME IN THE FUTURE, THE COMPANY MAY ATTEMPT TO
     ARRANGE FOR INTERESTED BROKERS TO TRADE OR MAKE A MARKET IN THE
     SECURITIES AND TO QUOTE THE SAME IN A PUBLISHED QUOTATION MEDIUM,
     HOWEVER, NO SUCH ARRANGEMENTS HAVE BEEN MADE AND THERE IS NO
     ASSURANCE THAT ANY BROKERS WILL EVER HAVE SUCH AN INTEREST IN THE
     SECURITIES OF THE COMPANY OR THAT THERE WILL EVER BE A MARKET THEREFORE.

 34. NOTICE TO NORTH CAROLINA RESIDENTS ONLY: IN MAKING AN INVESTMENT
     DECISION, INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF THE PERSON OR
     ENTITY CREATING THE SECURITIES AND THE TERMS OF THE OFFERING, INCLUDING
     MERITS AND RISKS INVOLVED. THESE SECURITIES HAVE NOT BEEN RECOMMENDED
     BY ANY FEDERAL OR STATE SECURITIES COMMISSION OR REGULATORY AUTHORITY.

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    FURTHERMORE, THE FORGOING AUTHORITIES HAVE NOT CONFIRMED ACCURACY OR
    DETERMINED ADEQUACY OF THIS MEMORANDUM. REPRESENTATION TO THE
    CONTRARY IS UNLAWFUL. THESE SECURITIES ARE SUBJECT TO RESTRICTIONS ON
    TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR RESOLD
    EXCEPT AS PERMITTED UNDER THE SECURITIES ACT OF 1933, AS AMENDED, AND
    APPLICABLE STATE SECURITIES LAWS, PURSUANT TO REGISTRATION OR EXEMPTION
    THEREFROM. INVESTORS SHOULD BE AWARE THAT THEY WILL BE REQUIRED TO
    BEAR THE FINANCIAL RISKS OF THIS INVESTMENT FOR AN INDEFINITE PERIOD OF
    TIME.

 35. NOTICE TO NORTH DAKOTA RESIDENTS ONLY: THESE SECURITIES HAVE NOT BEEN
     APPROVED OR DISAPPROVED BY THE SECURITIES COMMISSIONER OF THE STATE OF
     NORTH DAKOTA NOR HAS THE COMMISSIONER PASSED UPON THE ACCURACY OR
     ADEQUACY OF THESE CONFIDENTIAL OFFERING DOCUMENTS. ANY REPRESENTATION
     TO THE CONTRARY IS A CRIMINAL OFFENSE.

 36. NOTICE TO OHIO RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER TO
     PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE
     SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
     EXEMPT FROM REGISTRATION UNDER SECTION 1707.03(X) OF THE OHIO SECURITIES
     LAW AND MAY NOT BE RE-OFFERED FOR SALE, TRANSFERRED, OR RESOLD EXCEPT IN
     COMPLIANCE WITH SUCH ACT AND APPLICABLE RULES PROMULGATED
     THEREUNDER.

 37. NOTICE TO OKLAHOMA RESIDENTS ONLY: THESE SECURITIES ARE OFFERED FOR
     SALE IN THE STATE OF OKLAHOMA IN RELIANCE UPON AN EXEMPTION FROM
     REGISTRATION FOR PRIVATE OFFERINGS. ALTHOUGH A PRIOR FILING OF THESE
     CONFIDENTIAL OFFERING DOCUMENTS AND THE INFORMATION HAS BEEN MADE
     WITH THE OKLAHOMA SECURITIES COMMISSION, SUCH FILING IS PERMISSIVE ONLY
     AND DOES NOT CONSTITUTE AN APPROVAL, RECOMMENDATION OR ENDORSEMENT,
     AND IN NO SENSE IS TO BE REPRESENTED AS AN INDICATION OF THE INVESTMENT
     MERIT OF SUCH SECURITIES. ANY SUCH REPRESENTATION IS UNLAWFUL.

 38. NOTICE TO OREGON RESIDENTS ONLY: THE SECURITIES OFFERED HAVE BEEN
     REGISTERED WITH THE CORPORATION COMMISSION OF THE STATE OF OREGON
     UNDER PROVISIONS OF ORS 59.049. THE INVESTOR IS ADVISED THAT THE
     COMMISSIONER HAS MADE ONLY A CURSORY REVIEW OF THE REGISTRATION
     STATEMENT AND HAS NOT REVIEWED THIS MEMORANDUM SINCE THIS
     MEMORANDUM IS NOT REQUIRED TO BE FILED WITH THE COMMISSIONER. THE
     INVESTOR MUST RELY ON THE INVESTOR’S OWN EXAMINATION OF THE COMPANY
     CREATING THE SECURITIES, AND THE TERMS OF THE OFFERING INCLUDING THE
     MERITS AND RISKS INVOLVED IN MAKING AN INVESTMENT DECISION ON THESE
     SECURITIES.

 39. NOTICE TO PENNSYLVANIA RESIDENTS ONLY: EACH PERSON WHO ACCEPTS AN
     OFFER TO PURCHASE SECURITIES EXEMPTED FROM REGISTRATION BY SECTION
     203(D), DIRECTLY FROM THE ISSUER OR AFFILIATE OF THIS ISSUER, SHALL HAVE THE
     RIGHT TO WITHDRAW HIS ACCEPTANCE WITHOUT INCURRING ANY LIABILITY TO THE
     SELLER, UNDERWRITER (IF ANY) OR ANY OTHER PERSON WITHIN TWO (2) BUSINESS
     DAYS FROM THE DATE OF RECEIPT BY THE ISSUER OF HIS WRITTEN BINDING
     CONTRACT OF PURCHASE OR, IN THE CASE OF A TRANSACTION IN WHICH THERE IS
     NO BINDING CONTRACT OF PURCHASE, WITHIN TWO (2) BUSINESS DAYS AFTER HE

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    MAKES THE INITIAL PAYMENT FOR THE SECURITIES BEING OFFERED. IF YOU HAVE
    ACCEPTED AN OFFER TO PURCHASE THESE SECURITIES MADE PURSUANT TO A
    PROSPECTUS WHICH CONTAINS A NOTICE EXPLAINING YOUR RIGHT TO WITHDRAW
    YOUR ACCEPTANCE PURSUANT TO SECTION 207(M) OF THE PENNSYLVANIA
    SECURITIES ACT OF 1972 (70 PS § 1-207(M), YOU MAY ELECT, WITHIN TWO (2) BUSINESS
    DAYS AFTER THE FIRST TIME YOU HAVE RECEIVED THIS NOTICE AND A PROSPECTUS
    TO WITHDRAW FROM YOUR PURCHASE AGREEMENT AND RECEIVE A FULL REFUND
    OF ALL MONEYS PAID BY YOU. YOUR WITHDRAWAL WILL BE WITHOUT ANY FURTHER
    LIABILITY TO ANY PERSON. TO ACCOMPLISH THIS WITHDRAWAL, YOU NEED ONLY
    SEND A LETTER OR TELEGRAM TO THE ISSUER (OR UNDERWRITER IF ONE IS LISTED
    ON THE FRONT PAGE OF THE CONFIDENTIAL OFFERING DOCUMENTS) INDICATING
    YOUR INTENTION TO WITHDRAW. SUCH LETTER OR TELEGRAM SHOULD BE SENT AND
    POSTMARKED PRIOR TO THE END OF THE AFOREMENTIONED SECOND BUSINESS DAY.
    IF YOU ARE SENDING A LETTER, IT IS PRUDENT TO SEND IT BY CERTIFIED MAIL,
    RETURN RECEIPT REQUESTED, TO ENSURE THAT IT IS RECEIVED AND ALSO EVIDENCE
    THE TIME WHEN IT WAS MAILED. SHOULD YOU MAKE THIS REQUEST ORALLY, YOU
    SHOULD ASK WRITTEN CONFIRMATION THAT YOUR REQUEST HAS BEEN RECEIVED.
    NO SALE OF THE SECURITIES WILL BE MADE TO RESIDENTS OF THE STATE OF
    PENNSYLVANIA WHO ARE NON-ACCREDITED INVESTORS. EACH PENNSYLVANIA
    RESIDENT MUST AGREE NOT TO SELL THESE SECURITIES FOR A PERIOD OF TWELVE
    (12) MONTHS AFTER THE DATE OF PURCHASE, EXCEPT IN ACCORDANCE WITH
    WAIVERS ESTABLISHED BY RULE OR ORDER OF THE COMMISSION. THE SECURITIES
    HAVE BEEN ISSUED PURSUANT TO AN EXEMPTION FROM THE REGISTRATION
    REQUIREMENT OF THE PENNSYLVANIA SECURITIES ACT OF 1972. NO SUBSEQUENT
    RESALE OR OTHER DISPOSITION OF THE SECURITIES MAY BE MADE WITHIN 12
    MONTHS FOLLOWING THEIR INITIAL SALE IN THE ABSENCE OF AN EFFECTIVE
    REGISTRATION, EXCEPT IN ACCORDANCE WITH WAIVERS ESTABLISHED BY RULE OR
    ORDER OF THE COMMISSION, AND THEREAFTER ONLY PURSUANT TO AN EFFECTIVE
    REGISTRATION OR EXEMPTION.

 40. NOTICE TO RHODE ISLAND RESIDENTS ONLY: THESE SECURITIES HAVE NOT BEEN
     APPROVED OR DISAPPROVED BY THE DEPARTMENT OF BUSINESS REGULATION OF
     THE STATE OF RHODE ISLAND NOR HAS THE DIRECTOR PASSED UPON THE ACCURACY
     OR ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY
     IS UNLAWFUL.

 41. NOTICE TO SOUTH CAROLINA RESIDENTS ONLY: THESE SECURITIES ARE BEING
     OFFERED PURSUANT TO A CLAIM OF EXEMPTION UNDER THE SOUTH CAROLINA
     UNIFORM SECURITIES ACT. A REGISTRATION STATEMENT RELATING TO THESE
     SECURITIES HAS NOT BEEN FILED WITH THE SOUTH CAROLINA SECURITIES
     COMMISSIONER. THE COMMISSIONER DOES NOT RECOMMEND OR ENDORSE THE
     PURCHASE OF ANY SECURITIES, NOR DOES IT PASS UPON THE ACCURACY OR
     COMPLETENESS OF THESE CONFIDENTIAL OFFERING DOCUMENTS. ANY
     REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

 42. NOTICE TO SOUTH DAKOTA RESIDENTS ONLY: THESE SECURITIES ARE BEING
     OFFERED FOR SALE IN THE STATE OF SOUTH DAKOTA PURSUANT TO AN EXEMPTION
     FROM REGISTRATION UNDER THE SOUTH DAKOTA BLUE SKY LAW, CHAPTER 47-31,
     WITH THE DIRECTOR OF THE DIVISION OF SECURITIES OF THE DEPARTMENT OF
     COMMERCE AND REGULATION OF THE STATE OF SOUTH DAKOTA. THE EXEMPTION
     DOES NOT CONSTITUTE A FINDING THAT THESE CONFIDENTIAL OFFERING
     DOCUMENTS ARE TRUE, COMPLETE, AND NOT MISLEADING, NOR HAS THE DIRECTOR

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    OF THE DIVISION OF SECURITIES PASSED IN ANY WAY UPON THE MERITS OF,
    RECOMMENDED, OR GIVEN APPROVAL TO THESE SECURITIES. ANY REPRESENTATION
    TO THE CONTRARY IS A CRIMINAL OFFENSE.

 43. NOTICE TO TENNESSEE RESIDENT ONLY: IN MAKING AN INVESTMENT DECISION
     INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF THE ISSUER AND THE
     TERMS OF THE OFFERING, INCLUDING THE MERITS AND RISKS INVOLVED. THESE
     SECURITIES HAVE NOT BEEN RECOMMENDED BY ANY FEDERAL OR STATE
     SECURITIES COMMISSION OR REGULATORY AUTHORITY. FURTHERMORE, THE
     FOREGOING AUTHORITIES HAVE NOT CONFIRMED THE ACCURACY OR DETERMINED
     THE ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY
     IS A CRIMINAL OFFENSE. THESE SECURITIES ARE SUBJECT TO RESTRICTIONS ON
     TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR RESOLD.
     EXCEPT AS PERMITTED UNDER THE SECURITIES ACT OF 1933, AS AMENDED AND THE
     APPLICABLE STATE SECURITIES LAWS, PURSUANT TO REGISTRATION OR EXEMPTION
     THEREFROM. INVESTORS SHOULD BE AWARE THAT THEY MAY BE REQUIRED TO BEAR
     THE FINANCIAL RISK OF THIS INVESTMENT FOR AN INDEFINITE PERIOD OF TIME.

 44. NOTICE TO TEXAS RESIDENTS ONLY: THE SECURITIES OFFERED HEREUNDER HAVE
     NOT BEEN REGISTERED UNDER APPLICABLE TEXAS SECURITIES LAWS AND,
     THEREFORE, ANY PURCHASER THEREOF MUST BEAR THE ECONOMIC RISK OF THE
     INVESTMENT FOR AN INDEFINITE PERIOD OF TIME BECAUSE THE SECURITIES CANNOT
     BE RESOLD UNLESS THEY ARE SUBSEQUENTLY REGISTERED UNDER SUCH
     SECURITIES LAWS OR AN EXEMPTION FROM SUCH REGISTRATION IS AVAILABLE.
     FURTHER, PURSUANT TO §109.13 UNDER THE TEXAS SECURITIES ACT, THE COMPANY
     IS REQUIRED TO APPRISE PROSPECTIVE INVESTORS OF THE FOLLOWING: A LEGEND
     SHALL BE PLACED, UPON ISSUANCE, ON CERTIFICATES REPRESENTING SECURITIES
     PURCHASED HEREUNDER, AND ANY PURCHASER HEREUNDER SHALL BE REQUIRED
     TO SIGN A WRITTEN AGREEMENT THAT HE WILL NOT SELL THE SUBJECT SECURITIES
     WITHOUT REGISTRATION UNDER APPLICABLE SECURITIES LAWS, OR EXEMPTIONS
     THEREFROM.

 45. NOTICE TO UTAH RESIDENTS ONLY: THESE SECURITIES ARE BEING OFFERED IN A
     TRANSACTION EXEMPT FROM THE REGISTRATION REQUIREMENTS OF THE UTAH
     SECURITIES ACT. THE SECURITIES CANNOT BE TRANSFERRED OR SOLD EXCEPT IN
     TRANSACTIONS WHICH ARE EXEMPT UNDER THE ACT OR PURSUANT TO AN
     EFFECTIVE REGISTRATION STATEMENT UNDER THE ACT OR IN A TRANSACTION
     WHICH IS OTHERWISE IN COMPLIANCE WITH THE ACT.

 46. NOTICE TO VERMONT RESIDENTS ONLY: THESE SECURITIES HAVE NOT BEEN
     APPROVED OR DISAPPROVED BY THE SECURITIES DIVISION OF THE STATE OF
     VERMONT NOR HAS THE COMMISSIONER PASSED UPON THE ACCURACY OR
     ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY IS
     UNLAWFUL.

 47. NOTICE TO VIRGINIA RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER TO
     PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE
     SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
     UNDER SECTION 13.1-514 OF THE VIRGINIA SECURITIES ACT AND MAY NOT BE RE-
     OFFERED FOR SALE, TRANSFERRED, OR RESOLD EXCEPT IN COMPLIANCE WITH SUCH
     ACT AND APPLICABLE RULES PROMULGATED THEREUNDER.


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 48. NOTICE TO WASHINGTON RESIDENTS ONLY: THE ADMINISTRATOR OF SECURITIES
     HAS NOT REVIEWED THE OFFERING OR CONFIDENTIAL PRIVATE PLACEMENT
     MEMORANDUM AND THE SECURITIES HAVE NOT BEEN REGISTERED IN RELIANCE
     UPON THE SECURITIES ACT OF WASHINGTON, CHAPTER 21.20 RCW, AND THEREFORE,
     CANNOT BE RESOLD UNLESS THEY ARE REGISTERED UNDER THE SECURITIES ACT OF
     WASHINGTON, CHAPTER 21.20 RCW, OR UNLESS AN EXEMPTION FROM REGISTRATION
     IS MADE AVAILABLE.

 49. NOTICE TO WEST VIRGINIA RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER
     TO PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE
     SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
     EXEMPT FROM REGISTRATION UNDER SECTION 15.06(B)(9) OF THE WEST VIRGINIA
     SECURITIES LAW AND MAY NOT BE REOFFERED FOR SALE, TRANSFERRED, OR RESOLD
     EXCEPT IN COMPLIANCE WITH SUCH ACT AND APPLICABLE RULES PROMULGATED
     THEREUNDER.

 50. NOTICE TO WISCONSIN RESIDENTS ONLY: IN ADDITION TO THE INVESTOR
     SUITABILITY STANDARDS THAT ARE OTHERWISE APPLICABLE, ANY INVESTOR WHO
     IS A WISCONSIN RESIDENT MUST HAVE A NET WORTH (EXCLUSIVE OF HOME,
     FURNISHINGS AND AUTOMOBILES) IN EXCESS OF THREE AND ONE-THIRD (3 1/3) TIMES
     THE AGGREGATE AMOUNT INVESTED BY SUCH INVESTOR IN THE SECURITIES
     OFFERED HEREIN.

 51. FOR WYOMING RESIDENTS ONLY: ALL WYOMING RESIDENTS WHO SUBSCRIBE TO
     PURCHASE SECURITIES OFFERED BY THE COMPANY MUST SATISFY THE FOLLOWING
     MINIMUM FINANCIAL SUITABILITY REQUIREMENTS IN ORDER TO PURCHASE
     SECURITIES: (1) A NET WORTH (EXCLUSIVE OF HOME, FURNISHINGS AND
     AUTOMOBILES) OF TWO HUNDRED FIFTY THOUSAND DOLLARS ($250,000); AND (2) THE
     PURCHASE PRICE OF SECURITIES SUBSCRIBED FOR MAY NOT EXCEED TWENTY
     PERCENT (20%) OF THE NET WORTH OF THE SUBSCRIBER; AND (3) “TAXABLE INCOME”
     AS DEFINED IN SECTION 63 OF THE INTERNAL REVENUE CODE OF 1986, AS AMENDED,
     DURING THE LAST TAX YEAR AND ESTIMATED “TAXABLE INCOME” DURING THE
     CURRENT TAX YEAR SUBJECT TO A FEDERAL INCOME TAX RATE OF NOT LESS THAN
     THIRTY-THREE PERCENT (33%). IN ORDER TO VERIFY THE FOREGOING, ALL
     SUBSCRIBERS WHO ARE WYOMING RESIDENTS WILL BE REQUIRED TO REPRESENT IN
     THE SUBSCRIPTION AGREEMENT THAT THEY MEET THESE WYOMING SPECIAL
     INVESTOR SUITABILITY REQUIREMENTS.




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                                       BASIS OF PRESENTATION

          In this Memorandum, unless the context otherwise requires, we,” “us,” “our,” or the “Company,”
 refers collectively to iCap Equity, LLC, a Delaware limited liability company, the issuer of the Notes in
 this Offering, and its subsidiaries. The Company was initially formed on August 15, 2011 as a Washington
 limited liability company, and converted to a Delaware limited liability company on September 21, 2017.

         We use a twelve-month fiscal year ending on December 31st of each calendar year. In a twelve-
 month fiscal year, each quarter includes three-months of operations; the first, second, third and fourth
 quarters end on March 31, June 30, September 30 and December 31, respectively.

          Certain monetary amounts, percentages and other figures included in this Memorandum have been
 subject to rounding adjustments. Percentage amounts included in this Memorandum have not in all cases
 been calculated on the basis of such rounded figures but on the basis of such amounts prior to rounding.
 For this reason, percentage amounts in this Memorandum may vary from those obtained by performing the
 same calculations using the figures in our consolidated financial statements. Certain other amounts that
 appear in this Memorandum may not sum due to rounding.

        Unless otherwise indicated, all references to “dollars” and “$” in this Memorandum are to, and
 amounts are presented in, U.S. dollars.

       Unless otherwise indicated or the context otherwise requires, financial and operating data in this
 Memorandum reflect the consolidated business and operations of the Company and its subsidiaries.

                        MARKET AND INDUSTRY DATA AND FORECASTS

          Certain market and industry data included in this Memorandum is derived from information
 provided by third-party market research firms, or third-party financial or analytics firms that we believe to
 be reliable. Market estimates are calculated by using independent industry publications, government
 publications and third-party forecasts in conjunction with our assumptions about our markets. We have not
 independently verified such third-party information. The market data used in this Memorandum involves a
 number of assumptions and limitations, and you are cautioned not to give undue weight to such estimates.
 Certain data are also based on our good faith estimates, which are derived from management’s knowledge
 of the industry and independent sources. Industry publications, surveys and forecasts generally state that
 the information contained therein has been obtained from sources believed to be reliable, but there can be
 no assurance as to the accuracy or completeness of included information. We have not independently
 verified any of the data from third-party sources nor have we ascertained the underlying economic
 assumptions relied upon therein. Statements as to our market position are based on market data currently
 available to us. While we are not aware of any misstatements regarding any market, industry or similar data
 presented herein, such data involves risks and uncertainties and are subject to change based on various
 factors, including those discussed under the headings “Cautionary Statement Regarding Forward-Looking
 Statements” and “Risk Factors” in this Memorandum. These and other factors could cause results to differ
 materially from those expressed in the estimates made by the independent parties and by us. While we are
 not aware of any misstatements regarding the above matters presented herein, the information described
 above and our estimates involve risks and uncertainties and are subject to change based on various factors,
 including those discussed under the heading “Risk Factors” in this Memorandum. Similarly, we believe our
 internal research is reliable, even though such research has not been verified by any independent sources.

       CAUTIONARY STATEMENT REGARDING FORWARD-LOOKING STATEMENTS

        This Memorandum contains certain forward-looking statements that are subject to various risks
 and uncertainties. Forward-looking statements are generally identifiable by use of forward-looking


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 terminology such as “may,” “will,” “should,” “potential,” “intend,” “expect,” “outlook,” “seek,”
 “anticipate,” “estimate,” “approximately,” “believe,” “could,” “project,” “predict,” or other similar words
 or expressions. Forward-looking statements are based on certain assumptions, discuss future expectations,
 describe future plans and strategies, contain financial and operating projections or state other forward-
 looking information. Our ability to predict results or the actual effect of future events, actions, plans or
 strategies is inherently uncertain. Although we believe that the expectations reflected in our forward-
 looking statements are based on reasonable assumptions, our actual results and performance could differ
 materially from those set forth or anticipated in our forward-looking statements. Factors that could have a
 material adverse effect on our forward-looking statements and upon our business, results of operations,
 financial condition, funds derived from operations, cash available for dividends and interest payments, cash
 flows, liquidity and prospects include, but are not limited to, the factors referenced in this Memorandum,
 including those set forth below.

         When considering forward-looking statements, you should keep in mind the risk factors and other
 cautionary statements in this Memorandum. Readers are cautioned not to place undue reliance on any of
 these forward-looking statements, which reflect our views as of the date of this Memorandum. The matters
 summarized below and elsewhere in this Memorandum could cause our actual results and performance to
 differ materially from those set forth or anticipated in forward-looking statements. Accordingly, we cannot
 guarantee future results or performance. Furthermore, except as required by law, we are under no duty to,
 and we do not intend to, update any of our forward-looking statements after the date of this Memorandum,
 whether as a result of new information, future events or otherwise.

                           CONFIDENTIALITY AND RELATED MATTERS

           Each recipient hereof agrees by accepting this Memorandum that the information contained herein
 is of a confidential nature and that such recipient will treat such information in a strictly confidential manner
 and that such recipient will not, directly or indirectly, disclose or permit its affiliates or representatives to
 disclose, any information to any other person or entity, or reproduce such information, in whole or in part,
 without the prior written consent of the Company.

         Each recipient of this Memorandum further agrees to use the information solely for the purpose of
 analyzing the desirability of an investment in the Notes to such recipient and for no other purpose
 whatsoever.

       ANY REPRODUCTION OR DISTRIBUTION OF THIS MEMORANDUM AND EXHIBITS, IN
 WHOLE OR IN PART, OR THE DIVULGENCE OF ANY OF ITS CONTENTS WITHOUT THE PRIOR
 WRITTEN CONSENT OF THE COMPANY IS PROHIBITED. NO PERSON IS AUTHORIZED TO
 GIVE ANY INFORMATION OR MAKE ANY REPRESENTATION NOT CONTAINED IN THIS
 MEMORANDUM OR AN AUTHORIZED SUMMARY HEREOF, OR IN ANY AGREEMENT
 CONTEMPLATED HEREBY, AND ANY INFORMATION OR REPRESENTATION NOT
 CONTAINED HEREIN OR IN SUCH AUTHORIZED SUMMARY OR AGREEMENT MUST NOT BE
 RELIED UPON.

                                RESTRICTIONS ON TRANSFERABILITY

       SINCE THE SECURITIES OFFERED HEREBY ARE NOT BEING REGISTERED UNDER
 THE SECURITIES ACT OF 1933, AS AMENDED, THE SECURITIES CANNOT BE SOLD BY AN
 INVESTOR UNLESS THEY ARE SUBSEQUENTLY REGISTERED UNDER SUCH ACT, OR
 UNLESS AN EXEMPTION FROM REGISTRATION IS AVAILABLE AT THE TIME OF DESIRED
 SALE. THEREFORE, A PURCHASER MUST BE ABLE TO BEAR THE ECONOMIC RISK OF THE
 INVESTMENT FOR AN INDEFINITE PERIOD OF TIME.



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                                                 TAXES

       PROSPECTIVE INVESTORS ARE NOT TO CONSTRUE THE CONTENTS OF THIS
 MEMORANDUM AS LEGAL OR TAX ADVICE. THE TAX ASPECTS OF AN INVESTMENT IN THE
 NOTES REQUIRE CAREFUL AND INFORMED STUDY WITH RESPECT TO AN INVESTOR’S
 PERSONAL TAX AND FINANCIAL POSITION. ACCORDINGLY, NO PERSON SHOULD INVEST
 IN THE NOTES WITHOUT PRIOR INDEPENDENT EXPERT ADVICE AS TO THE TAX IMPACT
 OF AN INVESTMENT IN THE NOTES. EACH PROSPECTIVE INVESTOR SHOULD CONSULT HIS
 OR HER OWN COUNSEL, ACCOUNTANT AND OTHER ADVISORS AS TO LEGAL, TAX AND
 RELATED MATTERS PRIOR TO PURCHASING ANY NOTES. NOTHING IN THIS
 MEMORANDUM SHOULD BE CONSTRUED AS LEGAL OR TAX ADVICE TO POTENTIAL
 INVESTORS.

       A COPY OF THIS MEMORANDUM AND THE SUBSCRIPTION AGREEMENTS SHALL BE
 DELIVERED TO EVERY PERSON (EITHER IN PERSON OR VIA MAIL OR ELECTRONIC
 DELIVERY) SOLICITED TO BUY ANY OF THE SECURITIES HEREBY OFFERED, AT THE TIME
 OF THE INITIAL OFFER TO SELL.

                        WHERE YOU CAN OBTAIN MORE INFORMATION

         This Memorandum contains limited information on the Company. While we believe the
 information contained in this Memorandum is accurate, this Memorandum is not meant to contain an
 exhaustive discussion regarding the Company. We cannot guarantee a prospective investor that the
 abbreviated nature of this Memorandum will not omit to state a material fact, which a prospective investor
 may believe to be an important factor in determining if an investment in the Notes offered hereby is
 appropriate for such investor. As a result, prospective investors are required to undertake their own due
 diligence of the Company, our current and proposed business and operations, our management and our
 financial condition to verify the accuracy and completeness of the information we are providing in this
 Memorandum. An investment in the Notes is suitable only for investors who have the knowledge and
 experience to independently evaluate the Company, our business and prospects.

         Prospective investors may make an independent examination of our books, records and other
 documents to the extent an investor deems it necessary, and should not rely on us or any of our employees
 or agents with respect to judgments relating to an investment in the Notes.

         Each offeree may, if he, she or it so desires, make inquiries of appropriate members of our
 management with respect to our business or any other matters set forth herein, and may obtain any
 additional information which such person deems to be necessary in order to verify the accuracy of the
 information contained in this Memorandum (to the extent that we possess such information or can acquire
 it without unreasonable effort or expense) upon the execution and delivery of an agreement to maintain the
 confidentiality of such information for the benefit of the Company.

          Any such inquiries or requests for additional information or documents should be made in writing
 to us, addressed as follows:
                                              iCap Equity, LLC
                                     3535 Factoria Blvd. SE, Suite 500
                                             Bellevue, WA 98006
                                          ATTN: Investor Relations
                                 OFC: (425) 278-9030; FAX: (425) 278-9025
                                     EMAIL: investor@icapequity.com




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 Exhibits

 Exhibit A-1             Subscription Agreement for Accredited Investors
 Exhibit A-2             Subscription Agreement for Non-U.S. Persons
 Exhibit B               Form of Promissory Note
 Exhibit C               Guaranty Agreement



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                                                 SUMMARY

          This summary of this Memorandum highlights material information concerning our business and
 this Offering. This summary does not contain all of the information that you should consider before making
 your investment decision. You should carefully read this entire Memorandum, including the information
 presented under the section entitled “Risk Factors” and the financial data and related notes, before making
 an investment decision. This summary contains forward-looking statements that involve risks and
 uncertainties. Our actual results may differ significantly from future results contemplated in the forward-
 looking statements as a result of factors such as those set forth in “Risk Factors” and “Cautionary
 Statement Regarding Forward-Looking Statements.”

         The following is a summary of selected terms of the Company and the Notes. This summary is not
 intended as a summary of all principal terms and is qualified in its entirety by the more detailed descriptions
 set forth below, the Subscription Agreements attached hereto as Exhibit A-1 and Exhibit A-2 (the
 “Subscription Agreement”), and the Note itself. Capitalized terms used in this Summary and not otherwise
 defined have the meanings given to them elsewhere in this Memorandum.


  The Company            iCap Equity, LLC, a Delaware limited liability company is a Bellevue, Washington-
                         based investment firm formed in 2011. The parent company of iCap Equity, LLC is
                         iCap Enterprises, Inc. (‘iCap Enterprises”). Any references herein to “Enterprises
                         Group” refers to iCap Enterprises and its affiliated group of companies, including the
                         Company.

                         See “The Company” commencing on page 5.

  Manager                The Company is managed by its parent company, iCap Enterprises, whom we also refer
                         to herein as the “Manager”. The Company will not pay a fixed annual management fee
                         to the Manager. However, the Company will pay sums to the Manager as are necessary
                         to allow the Manager to perform those functions that relate to the Company’s business
                         purpose, such as payroll, rent, marketing, debt service, and all other such costs. The
                         Company may only make distributions to the Manager if the issued and outstanding
                         Notes are not in default.

                         See “The Company – Members and Management” commencing on page 9.

  The Offering           The Company is issuing up to $50,000,000 in aggregate principal amount of Notes,
                         provided that the Company may issue other additional promissory notes or other
                         instruments at any time, subject to the limitations set forth below. The minimum
                         individual investment is $5,000, with any amounts in excess thereof being permitted,
                         and all subscriptions, whether for the minimum investment amount, or more or less than
                         this amount, are subject to the acceptance or rejection by the Manager in its sole
                         discretion. The Company may limit the maximum amount of outstanding principal
                         payment obligations owed to any one Noteholder or its affiliates.

                         The Company will offer the Notes for a period commencing on the date of this
                         Memorandum and expiring on May 1, 2021. There is no minimum amount that must be
                         subscribed for in order for this Offering to close and for the subscription funds to be
                         released to the Company, and the Company may conduct one or more closings as it
                         determines.

                         The Company may terminate, or amend the terms of, this Offering at any time.




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                        See “The Offering” commencing on page 2.

  The Notes             Principal and unpaid accrued interest will be due and payable three years after the date
                        of the initial investment (subject to a one-year extension at the discretion of the Manager
                        as set forth below, the “Maturity Date”). The Notes may be prepaid prior to the Maturity
                        Date without penalty. The outstanding loan amount will shall bear interest at 10% per
                        annum and will be calculated based on twelve 30-day months. At the time of subscribing
                        for a Note, Holders will have the option of electing whether accrued interest is to be
                        paid monthly, or is to be accrued, compounded monthly and added to the outstanding
                        principle amount. On the Maturity Date, or at the time the Company pays off the entire
                        principal balance of the Note, the Holder will be entitled to a one-time payment of 5%
                        of the original Note balance (“Payoff Premium”). The Company reserves the right to
                        issue Notes in the future with a different interest rate or without the Payoff Premium.
                        The Notes will be unsecured and will be of equal seniority to the promissory notes
                        issued by the Company to investors in previous offerings, the general terms of which
                        are available to all potential investors upon request. Upon the occurrence of an Event of
                        Default (as defined below), the Holder may declare the principal balance to be due and
                        payable. The Notes are general unsecured obligations of the Company.

                        See “The Notes” commencing on page 3.

  Guaranty              iCap Pacific NW Management LLC, a wholly owned subsidiary of the Company, has
                        entered into a guaranty agreement with the Company for the benefit of the Noteholders.

                        See “The Notes - Guaranty” commencing on page 5.

  Purpose               The proceeds of this Offering will be used for the Company’s business purposes, which
                        include operations, technology implementation, new fund formation, real estate
                        acquisition, investments into or loans to affiliate entities (both existing and yet-to-be-
                        formed), consultant and professional engagements, and real estate based investments,
                        including loans and preferred equity investments.

                        See “The Company” commencing on page 5 and “Use of Proceeds” commencing on
                        page 13.

  Expenses              The Company will bear all costs and expenses incurred in the organization of the
                        Company and this Offering and potential future offerings, and will reimburse Manager
                        for any such costs and expenses advanced by Manager. Each investor will bear his, her
                        or its own fees and expenses incurred in connection with this Offering.

                        See “The Company - Transactions with Related Parties” on page 11.

                                             THE OFFERING

          The Company is offering for sale up to $50,000,000 of aggregate principal amount of Notes. The
 Offering is being made by the Company on a “best efforts” basis only to persons who are “accredited
 investors” as defined in Rule 501(a) of Regulation D promulgated under the Securities Act and to persons
 who are Non-U.S. Persons pursuant to Regulation S promulgated under the Securities Act. The Company
 expects to engage one or more registered broker-dealers to act as placement agent(s) for the Offering (as
 applicable, the “Placement Agents”) and expects to pay commissions to the Placement Agents as set forth
 in the Plan of Distribution commencing on page 14, based on the aggregate principal amount of the Notes
 sold to investors.



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         The Company will attempt to sell the Notes during an offering period commencing on the date of
 this Memorandum and expiring on May 1, 2021 (the “Offering Period”) or earlier terminated as set forth
 herein.

          The minimum individual investment is $5,000, with any amount in excess of $5,000 being
 permissible at the Manager’s discretion. All subscriptions are subject to acceptance or rejection by the
 Manager in its sole discretion. The Manager may change, or accept less than, the minimum investment
 amount in its discretion. The Company may limit the maximum amount of outstanding principal payment
 obligations owed to any one investor or its affiliates. There is no minimum amount that must be subscribed
 for in order for this Offering to close and for the subscription funds to be released to the Company, and the
 Company may conduct one or more closings as it determines. In order to subscribe for a Note, prospective
 investors must follow the directions set forth in “Subscription Procedures” commencing on page 18.

          An investor must be prepared to bear the economic risk of an investment in the Notes for an
 indefinite period of time. An investor in the Notes, pursuant to the Subscription Agreement and applicable
 law, will not be permitted to transfer or dispose of the Notes, unless they are registered for resale or such
 transaction is exempt from registration under the Securities Act and other applicable securities laws, and in
 the case of a purportedly exempt sale, such investor provides (at his or her own expense) an opinion of
 counsel satisfactory to us that such exemption is, in fact, available. The Notes will bear a legend relating to
 such restrictions on transfer.

          This Offering may be withdrawn or terminated by the Company at any time. The Manager reserves
 the right to reject a subscription for Notes, in whole or in part in its sole discretion.

                                                 THE NOTES

 General

          Interest will accrue on the Notes from the date that the purchase price of the Note (which we refer
 to as the “Loan Amount”) is paid to the company and the Company has accepted the applicable Subscription
 Agreement. The outstanding Loan Amount under a Note will bear interest at 10% per annum, and the
 interest computation will be based upon twelve 30-day months. In addition, if the Company exercises its
 right to extend the Maturity Date as discussed below, the outstanding Loan Amount will bear simple interest
 at 11% per annum during the extension period. In the event of an Event of Default (as described below),
 the outstanding Loan Amount will accrue interest at a default interest rate of 15% per year, simple interest
 from and after the date that the Company receives written notice of the Event of Default, until all amounts
 due under the Note have been paid in full or the Event of Default has been cured.

         The full Loan Amount, together with accrued and unpaid interest, is due and payable to the
 noteholder (the “Holder”), on or before the end of the 36th calendar month following the issuance of the
 applicable Note, subject to the below. So long as an Event of Default has not occurred and is continuing,
 the Company has the option to extend the Maturity Date for an additional 12 months. This option may be
 exercised by the Company at any time prior to the Maturity Date as long as a written notice of such election
 is provided to the Holder no later than 30 days prior to the expiration of the Maturity Date.

         Prospective investors will have the option of electing, on the signature page of the Note, whether
 the Company will make monthly interest payments on the Note, which will include all interest accrued
 through the end of the prior calendar month, or if the interest on the outstanding Loan Amount will accrue
 and be compounded monthly and added to the then-outstanding Loan Amount on the last day of each
 calendar month. If no election is made, the accrual option will be the operative provision.

         On the Maturity Date, or at the time the Company pays off the entire principal balance of the Note,
 the Holder will be entitled to a one-time payment of 5% of the original Note balance (“Payoff Premium”).
 The Company may issue additional promissory notes in the future in later offerings by the Company, which


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 may be issued with or without a similar payoff premium.

          The Company may choose to prepay part or all of the Note without penalty at any time prior to the
 Maturity Date, or extension thereof. Any such prepayment will be credited first to any accrued and unpaid
 interest and then to the payment of the outstanding Loan Amount.

 Transfers

          Subject to compliance with the requirements of the Note, Holders will have the right to transfer the
 Note to any qualifying third party of its choice contingent upon securing the Company’s written consent in
 advance of the proposed transfer. The Company is under no obligation to recognize the transferee as a
 successor “Holder”, until the Holder has surrendered the original Note for registration of transfer, duly
 endorsed, or accompanied by a duly executed written assignment of transfer in a form reasonably
 satisfactory to the Company. A new Note for a like principal amount and interest will be issued to, and
 registered in the name of, the transferee.

          Transfer of the Notes may also be restricted under the securities laws or securities regulations
 promulgated by various states and foreign jurisdictions, commonly referred to as “Blue Sky” laws. Absent
 compliance with such individual state laws, the Notes may not be traded in such jurisdictions. Because the
 securities sold under this Offering have not and will not be registered for resale under the Blue Sky laws of
 any state, the Holders and any persons who desire to purchase them in any trading market that might develop
 in the future, should be aware that there may be significant state Blue Sky law restrictions upon the ability
 of Investors to resell the Notes and of purchasers to purchase the Notes. Accordingly, Investors should be
 prepared to hold the Notes until their maturity date as may be extended.

 Events of Default

         An “Event of Default” under a Note is the occurrence of any of the following:

                The Company defaults in the payment of any Loan Amount or interest on the applicable
                 Note, when the same becomes due and payable and such default continues for a period of
                 30 business says after notice of such default has been delivered to Company by a Holder;

                the Company fails to observe or perform any covenant or warranty of the Company in the
                 applicable Note (other than a covenant or warranty a default in whose performance or
                 whose breach is specifically dealt with elsewhere in the Event of Default provisions, and
                 such failure continues for a period of 30 calendar days after the Holder has given written
                 notice to the Company;

                the Company commences a voluntary case under the bankruptcy laws, consents to the entry
                 of an order for relief against it in an involuntary bankruptcy case, consents to the
                 appointment of a custodian of it for all or substantially all of its property, or makes a general
                 assignment for the benefit of its creditors; or

                a court of competent jurisdiction enters an order or decree under any bankruptcy law that
                 is for relief against the Company in an involuntary bankruptcy case, appoints a custodian
                 of the Company for all or substantially all of its property, or orders the liquidation of the
                 Company; and the order or decree remains unstayed and in effect for 90 consecutive
                 calendar days.

          Upon the occurrence of an Event of Default and the expiration of any required time periods for
 notice, cure or other reasons, the Holder may declare the Loan Amount to be due and payable. Upon such
 a declaration, such principal and interest, if any, will be immediately due and payable. The occurrence of
 an Event of Default for one Note in this Offering will not be an Event of Default for any other Note issued


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 in this Offering.

 Covenants

         The Company has agreed to certain covenants with respect to the Notes, as follows:

                    The Company will furnish to each Holder as soon as available, and in any event within 60
                     days after December 31 of each year, all reasonably required tax information applicable to
                     the Holder.

                    The proceeds from the sale and issuance of the Notes are expected to be used for the
                     purposes set forth in this Memorandum, and for the fees, costs and expenses incurred in
                     connection with the Offering. However, the Manager retains sole discretion to determine
                     how such proceeds are ultimately used. Distributions may be made so long as the Company
                     is not in default under the Note obligations.

                    For so long as a Holder continues to hold the Note, the Company will provide to the Holder
                     annual financial statements of the Company and such information relative to the
                     Company’s business operations and performance as its management may deem useful or
                     appropriate.

 Guaranty

         iCap Pacific NW Management LLC, a wholly owned subsidiary of the Company (“iCap Pacific
 NW”) which holds the equity interests of the Company’s operating subsidiaries has entered into a Guaranty
 Agreement with the Company pursuant to which iCap Pacific NW has guaranteed the obligations of the
 Company pursuant to the Notes (the “Guaranty Agreement”). The Guaranty Agreement provides that,
 during the continuation of an Event of Default with respect to a particular Note, the holder of that Note may
 enforce the guaranty against iCap Pacific NW, but only after attempting to collect or exhausting the
 applicable Noteholder’s efforts to collect from the Company.

 Deemed Consent

         Each Note may be amended by the Company and the applicable Holder. However, the Note also
 contains a “deemed consent” provision, which provides that if the Company has provided the Holder with
 two notices of a proposed amendment (or any other consent, approval or waiver required or requested) and
 the Holder has not responded to either notice within 10 days of delivery, the Holder will be deemed to have
 consented, in writing, to the proposed amendment, approval, consent or waiver, and the Company may rely
 on such deemed consent.

                                                       ***

          The descriptions of the Notes and the Guaranty Agreement set forth herein are not a full description
 of the terms of the Notes or the Guaranty Agreement and are qualified in their entirety to the form of Note
 as attached hereto as Exhibit B and the Guaranty Agreement as attached hereto as Exhibit C. Prospective
 investors are urged to read the Note and the Guaranty Agreement in their entireties prior to subscribing for
 the purchase of a Note.

                                                THE COMPANY

 The Company and its Operations

         iCap Equity, LLC is a Delaware limited liability company based in Bellevue, Washington, formed
 in 2011. The Company’s sole member is iCap Enterprises, which is also the Company’s Manager. The


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 Manager is wholly owned by Chris Christensen. The Company primarily derives its income from fees
 generated through the operations of its subsidiary entities, all of which are held by iCap Pacific NW
 Management LLC. It will also receive income from investments that it plans to make with the proceeds of
 this Offering, whether into real estate or affiliated funds. The Company’s primary investment strategy
 focuses on preferred equity investments in Pacific Northwest real estate projects, but the Company also
 structures other investment opportunities that are based in real estate. The Company’s subsidiary funds
 have primarily made secured, short-term investments in single-family, multi-family, light commercial and
 land development projects. Most investments of the past involve some element of construction or
 development.

          Although this Memorandum refers to “iCap” and the Company as though each were an entity
 capable of taking action, prospective Investors should bear in mind that such references are intended to
 refer to the business activities undertaken by one or more of the companies constituting a part of this
 affiliated group of companies. By investing in a Note, an Investor will not acquire an interest in any of its
 affiliated entities, but it may benefit from their collective experience, inasmuch as those entities, as well as
 their respective employees, will be available to assist the Company as it conducts its business.

          The following chart illustrates the relationship among the various members of the Enterprises
 Group.




         Members of the management team previously established iCap B1, LLC, and iCap B2, LLC in
 2013, which raised a total of $6,915,664 for the purpose of making investments into various real estate
 projects. These special purpose vehicles made 10 investments and generated a gross IRR to investors of
 20%. The management team also issued a total of $93 Million in debentures across two pooled investment
 funds, iCap Pacific NW Opportunity and Income Fund, LLC, and its follow-on fund, iCap Northwest
 Opportunity Fund, LLC. Investors in these two funds earned a 12% annualized rate of interest and 11%
 annualized rate of interest, respectively. Additional affiliate entities include iCap Pacific Income Fund 4,
 LLC, which has raised $10.6 million and pays a 10% annual rate of interest, and iCap Pacific Income Fund
 5, LLC, which has raised $2.8 million and pays a 9% annual rate of interest, and iCap Vault 1, LLC which
 is being registered with the SEC and currently pays a 2% annual rate of interest. As of the date of this
 Memorandum, iCap has approximately $119 Million in assets under management (including reserves and
 committed capital for investments), which has been invested across 75 projects.

         In November of 2017 and May of 2019, the Company undertook a prior offering of promissory
 notes, which had substantially the same terms as the Notes in this Offering, other than the deemed consent



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 provisions above and certain other features (the “Prior Offering”). The Prior Offering resulted in the
 Company issuing $21.7 million in aggregate principal amount of promissory notes, which are currently
 issued and outstanding. The Prior Offering was terminated upon commencement of this Offering.

       POTENTIAL INVESTORS SHOULD RECOGNIZE THAT BY PURCHASING NOTES THEY
 WILL NOT THEREBY ACQUIRE ANY INTEREST, DIRECTLY OR INDIRECTLY, IN THE
 COMPANY OR ANY OF THE PRIOR PROGRAMS OR ANY FUTURE PROGRAM SPONSORED BY
 THE MANAGER OR ITS AFFILIATES. INVESTORS SHOULD RECOGNIZE THAT ANY PRIOR
 PERFORMANCE OR TRACK RECORD INFORMATION RECEIVED REGARDING THE
 MANAGER AND ITS AFFILIATES AS SET FORTH HEREIN IS GIVEN SOLELY TO ALLOW
 INVESTORS TO ASSESS THE EXPERIENCE OF THE MANAGER AND ITS AFFILIATES. THE
 MANAGER AND ITS AFFILIATES MAY CONTINUE TO ENGAGE IN MANAGEMENT AND
 INVESTMENT ACTIVITIES RELATED TO PRE-EXISTING INVESTMENTS AND ACTIVITIES OR
 OPERATIONS OF THE PRIOR FUNDS AS WELL AS FUTURE INVESTMENTS OR FUNDS.

 Investment Strategy of the Enterprises Group Overall

          The Enterprises Group, of which the Company is a part, creates entities such as the Company, that
 offer investors high-yield income funds backed by real estate. The Enterprises Group differentiates itself
 through its innovative investment structures and use of technology. The Enterprises Group has over $118M
 in Assets Under Management, more than 1,100 investors and is currently raising its 6 th fund (the individual
 funds are collectively referred to herein as the “Funds”). The Enterprises Group’s first fund was created to
 provide preferred equity investments for construction and development projects in the Pacific Northwest,
 and it is continuously working on new investment products and plans to introduce two new publicly
 registered offerings over the next six to twelve months.

          Additional related parties include Edge Construction, LLC, which is an affiliate general contractor
 entity that was initially used to develop real estate projects directly, but which is no longer an active part of
 the Enterprises Group’s strategy and is being phased out. The Enterprises Group now relies on its growing
 network of third-party building and development companies to perform construction and development
 services. The Enterprises Group recently established offices in Shanghai and Hangzhou, China and has a
 growing number of Chinese investors, and we use those offices to service their needs.

 Vision and Values

         The Enterprises Group adheres to the following vision and values:

        Purpose: to empower people to build and preserve value through real estate
        Vision: To be the world’s most innovative and reliable real estate investment business
        Values:
             o Integrity – Do what is right
             o Accountability – Hold each other accountable
             o Open & Clear Communication – Be direct. Listen to others. Communicate frequently.
             o Innovation – identify inefficiencies and find innovative ways to improve them
             o Smart Business – Make solid business decisions based on good information
             o Respect – Treat everyone professionally. Acknowledge and listen.
             o Excellence – Don’t just do it. Do it well.

         The Enterprises Group desires to be a place where investors can find extraordinary investment
 opportunities that have unique features. We have established a place where savvy investors can find high
 yield investments providing both income and liquidity. Our investments typically provide for monthly
 payments to investors at rates that are among the best available in the market. Additionally, we utilize new
 technologies that allow for efficient investor onboarding and access to statements and other reports. Our



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 investors reside all over the world, and we seek to provide each of them with the best tools for managing
 their investments with iCap.

 Real Estate Investment Structure

          The Company will invest using three real estate investment structures: (a) joint ventures, (b)
 wholly-owned projects, and (c) credit lending. This mix of investment structures is designed to mitigate
 risk, while still allowing the Company to take advantage of market opportunities within each type of
 investment. The structure of investments also allows the Company to take advantage of short-term
 opportunities, while still maintaining flexibility to benefit from similar gains in the longer term. Each of
 these three structures is capable of complementing the others, resulting in strong deal flow for the funds.

 Equity Investment & Joint Ventures

          The Company’s beginning business model was built on providing preferred equity in the form of a
 joint venture, relationship structured through a limited liability company (LLC), with a qualified builder or
 developer (referred to as a “Project Partner”). Each investment is structured to provide priority repayment
 of the iCap investment plus a preferred return and an exit fee in the Project Entity. For example, if iCap
 were to invest $1 million into a Project, iCap would be entitled to a priority repayment of the $1 million, a
 preferred return as negotiated with the Project Partner, and a share in the liquidation proceeds in the form
 of an exit fee. The legal agreements with the Project Entity provide for these returns to be delivered at a
 specific date, which is generally within 12-18 months from the time of the original investment.

          Typical financing for real estate projects consists of two primary capital sources: (a) debt financing,
 usually through a first-position secured lender; and (b) equity contributions of the project sponsor and other
 partners. In most cases, a first-position senior lender will provide 70-75% of the total cost of a project, but
 will require that the project sponsor contribute the remaining capital either directly, or by bringing
 additional equity partners into the project. This equity contribution is the need that the current iCap funds
 address by bridging the gap between the cash provided by the senior debt and the developer’s available
 equity contribution.




          iCap’s Funds receive a preferred membership interest in the Project Entity that accrues a 12% rate
 of return on its invested capital as well as an exit fee. This exit fee is calculated as a percentage of the total
 project value (usually 3-5% of the proceeds from a liquidation event, such as a sale or refinance). The exit
 fee is paid prior to the developer receiving any return of its capital or distribution of profits. Through this
 structure, the Funds target a gross annualized return on investment of 18-22%. The exit fee, which is based
 on the entire value of the project, is a key component to iCap’s ability to maximize returns, which is
 enhanced by reinvestment of capital to create multiple exit fees using the same base of capital.




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          The Fund incorporates a focused investment strategy that is intended to align both the strengths of
 the management team and the demands of the market. The investment strategy targets a typical investment
 size for each project ranging from $500,000 to $3,000,000, and an average Investment holding period of
 12-18 months per investment. The combined loan to value is the amount of the senior loan plus the Fund’s
 investment and is generally not higher than 75% of the value of the property. The Funds invest in projects
 that have well established exit strategies and builders with proven track records.

 Investment Process

          The Company’s portfolio of investments will consist of a variety of real estate types, including
 without limitation single-family homes, multi-family apartments, townhomes, condos, and mixed-use
 properties, generally in construction and development phases. The revenue generated from the investment
 portfolio will be used to pay interest and principal on the Notes and fund its operations.

         To build its investment portfolio, the Company will identify metropolitan statistical areas within
 which to purchase properties. The Company has developed proven processes and controls to evaluate
 possible investment opportunities. The process begins by identifying metropolitan statistical areas within
 the U.S. (“Markets”) with strong economic fundamentals that are likely to result in reliable exit strategies
 and strong returns. The Markets are selected after review of reports and analysis provided by economics
 professionals, as well as the Company’s internal staff. The Markets are thereafter initially reviewed by a
 committee consisting of key members of the management team (the “Investment Committee”).
 Specifically, the Investment Committee is comprised of the Company’s CEO, Chief Operating Officer, and
 Chief Financial Officer. Every investment opportunity is subject to preliminary due diligence performed
 by the Company’s asset management team, who in turn will present investment opportunities to the
 Investment Committee for its review and approval. The Investment Committee meets weekly to review
 new opportunities. The Company completes diligence on prospective investments and maintains post-
 closing procedures that provide for the ongoing supervision of the investments. The investment process has
 three major areas of focus: (1) analysis and approval, (2) documentation and closing, and (3) post-closing
 and management.

          The Investment Committee may delegate investment decision-making authority to sub-teams,
 provided such investments meet the fundamental criteria established by the Investment Committee. The
 Company will complete diligence on prospective investments and maintain closing procedures that provide
 for the safety of the invested funds. The investment process has three major areas of focus: analysis and
 approval, documentation and closing, and post-closing management.

 Risk Controls

          The Company’s entity structure and investment strategy have been designed to mitigate risk and
 increase the likelihood of success. Each Investor whose subscription is accepted will receive a Note upon
 closing, which will provide the Investor with a priority return for repayment over equity holders, an ongoing
 interest rate payment, and a payoff premium. The Company’s subsidiary management entity will then offer
 a corporate guaranty. By making the Notes a senior obligation of the Company, providing additional legal
 protections through a guaranty, and restricting the ability to make distributions in the event of default, the
 Company aligns the parties’ incentives and limits the investment risk. Additionally, the Company has
 devised an investment strategy to ensure multiple income streams and has assembled an experienced and
 proven management team to oversee the business.

 Members and Management

       As discussed above, the sole member of the Company is iCap Enterprises, Inc., the Manager. The
 Manager is wholly owned by Chris Christensen.

 Biographies of Management Personnel


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 Chris Christensen. Mr. Christensen has served as the Chief Executive Officer of the Company since its
 inception in 2011. Since 2011, he has served as the Chief Executive Officer of iCap Enterprises, Inc. From
 August 2007 to August 2011, Mr. Christensen served as President of Altius Development, Inc., the
 predecessor to iCap Enterprises, Inc. Mr. Christensen brings knowledge and experience in the legal, finance
 and real estate industries, where he previously served as a licensed attorney. His experience in financial
 structuring, legal compliance, and fund management will help the Company achieve its goals of providing
 a reliable investment experience for its investors. He is a graduate of the University of Utah with a B.S. in
 Economics in May 2001, Seattle University School of Law with a J.D. in May 2004, and Seattle University
 Albers School of Business and Economics with a Master of International Business degree in November
 2005. Mr. Christensen was joined as a party to a civil lawsuit initiated in July 2014 claiming Breach of
 Contract, in which he won on all claims against him, the claims were dismissed, and he was awarded
 attorney’s fees. Chris Christensen is the brother of Jim Christensen. Mr. Christensen does not hold, and has
 not previously held, any directorships in any reporting companies.

 Jim Christensen. Mr. Christensen has served as the Chief Operating Officer of the Company since 2011.
 Mr. Christensen has also served as the Chief Operating Officer of iCap Enterprises, Inc. He assists the Chief
 Executive Officer with the day-to-day operations of iCap Enterprises, Inc. and its investment funds,
 including overseeing investment underwriting, project and construction management, project financing,
 and processes related to acquisition and disposition of Portfolio Investments. Prior to the formation of the
 prior funds, Mr. Christensen managed all aspects of construction, development, finance and risk control of
 multifamily and single family residential and commercial real estate projects throughout Washington State
 for iCap Enterprises, Inc. He has experience dealing with jurisdictional issues relating to site development
 and vertical construction, as well as budget preparation, project underwriting and legal structuring. Mr.
 Christensen holds a Master of Business Administration degree and a Bachelor of Arts degree in Economics
 from the University of Washington. Jim Christensen is the brother of Chris Christensen. Mr. Christensen
 does not hold, and has not previously held, any directorships in any reporting companies.

 Jonathan Siegel. Mr. Siegel has served as the Chief Financial Officer of the Company since October 2019.
 Mr. Siegel has also worked at iCap Enterprises, Inc. since October 2019 where he serves as Chief Financial
 Officer. From January 2013 to July 2018, he worked at LabConnect Holdings, Inc. and LabConnect, LLC
 where he served as Chief Financial Officer. From June 2008 to December 2012, Mr. Siegel worked at
 Emmet Consulting where he served as Principal, providing C-level consulting on operational, financial and
 economic issues. Mr. Siegel brings knowledge and experience in the financial services, professional
 services, and corporate governance aspects of companies. His experience in the management of financial
 processes and controls at rapidly growing companies will help iCap Pacific Income Fund 6, LLC with
 regard to sustainable growth, efficient processes and client security. Mr. Siegel is a graduate of the
 University of Chicago with an MBA in Finance and Strategy in 1998 and a BA in Economics in 1991. Mr.
 Siegel does not hold, and has not previously held, any directorships in any reporting companies.

 Organizational Strength and Experience

          The members of the senior management team have completed a variety of projects in the small-cap
 real estate space. The team, through its combined experience, has closed in excess of $8 billion in
 transactions in the small and mid-cap spaces.

          The Enterprises Group has capacity to accept additional capital and to deploy such proceeds
 towards real estate projects meeting its investment criteria. iCap intends to grow as an organization with
 the expected increase in capital under management. With regards to human capital, various support staff
 will be hired to assist the Enterprises Group’s existing personnel to leverage the systems described above,
 consistent with the Enterprises Group’s growth plan. As the Enterprises Group deploys additional capital
 raised through the Company, the Enterprises Group plans to add additional staff members to assist with the
 increased transaction volume and asset management. The Enterprises Group also plans to add additional
 support staff for its in-house accounting and legal departments.



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          The Enterprises Group also maintains a network of strategic relationships. The team leverages
 relationships with sourcing, development, construction, and fund administration constituents to maintain a
 pipeline of real estate investment opportunities. Property owners, builders, developers, lenders and brokers
 are the primary sources for deal flow.

          The Enterprises Group has capacity to expand its team to manage large amounts of capital from the
 sale of the Notes and to deploy such proceeds towards real estate that meets its investment criteria. The
 Enterprises Group has invested significant resources to build the technology and infrastructure needed to
 manage large amounts of noteholders, capital, and real estate-based investments. The number of employees
 who manage this infrastructure will grow as the capital under management increases.

         The Manager and its affiliates have never been denied a license to practice a trade or business or
 ever experienced an event of bankruptcy, receivership, assignment for the benefit of creditors or similar
 proceeding.

 Transactions with Related Parties

          The Manager and its affiliates will be entitled to certain types of compensation, fees, income,
 distributions or other payments from the Company or in connection with a Company investment.
 Additionally, the Company may make loans to or preferred equity investments in affiliated iCap entities,
 whether now formed or yet-to-be-formed, and may do so in such amounts and on such terms as the Manager
 deems appropriate. Such arrangements have not and will not be determined through arm’s-length
 negotiations between such parties and the Company. The Manager has no obligation to advance funds to
 cover the Company’s expenses. However, to the extent that such advances are made, the Company will
 repay such amounts out of its funds as soon as they are available, whether such funds are from the
 Company’s operating revenues or third-party loans. Below is a summary of these key payment obligations
 of the Company and potential conflicts of interest that could arise from these obligations.

         Compensation and Other Payments to the Manager and Affiliates

         The Company will not pay a fixed annual management fee to the Manager. However, the Company
 will pay sums to the Manager as are necessary to allow the Manager to perform those functions that relate
 to the Company’s business purpose, such as payroll, rent, marketing, technology, professional services,
 debt service, and all other such costs.

         In addition to the fees set forth above, the Company will reimburse the Manager and its affiliates
 for any reasonable expenses paid by such Person that properly should be borne by the Company. Such
 expenses include costs incurred before and after the formation of the Offering, such as organizational and
 offering expenses; consulting, legal, accounting, and professional fees; and marketing and travel expenses.

          The Company is required to distribute to the Manager, as a member of the Company, in cash the
 amount of taxes that are estimated to be payable by the Manager within 90 days after the close of each fiscal
 year. The Company is not required to make any distributions to its members prior to dissolution other than
 tax distributions.

          The Manager may authorize non-tax-related distributions as long as an Event of Default has not
 occurred and is continuing under the terms of any Note, as evidenced by properly delivered notice by Holder
 to the Company under the terms of the Note. Additionally, after the Company has paid the outstanding
 principal and annual interest due and payable under the Notes, the Company may distribute any remaining
 profits to the Manager. Given the ongoing operational nature of the Company, the Company expects to
 make ongoing distributions to the Manager. The Manager’s profit interest in the Company may create an
 incentive for the Manager to make more speculative investments on behalf of the Company than the
 Manager otherwise would make in the absence of such profit potential.



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         The Company is the parent company to various fund entities. The Company may make loans to,
 or preferred equity investments in, such entities, as well as to or in the Manager or any affiliate of the
 Manager, whether now existing or yet-to-be-formed. Such entities include, without limitation, iCap Pacific
 Opportunity and Income Fund, LLC, iCap Northwest Opportunity Fund, LLC, iCap Pacific Income Fund
 4, LLC, iCap Pacific Income Fund 5, LLC, iCap Pacific Income Fund 6, LLC, iCap Vault, LLC, iCap Vault
 1, LLC, Vault Holding 1, LLC, and any subsidiaries of such entities. Entities in which the Company makes
 loans, or preferred equity investments in, may have negative cash flows and could result in losses to the
 Company. Any transactions entered into by the Company with such entities will likely not be made at
 arm’s length terms, and rates of interest, maturity dates, and other material terms will be determined by the
 management personnel of the Company which also manages these affiliates. Additionally, the Company
 may choose not enforce its legal rights in the event of default of any investment made to or with an affiliate.

           The Company may enter into various transactions with the Manager and its affiliates, including
 performance of services for entities which hold project investments of the Company (each a “Project
 Entity”), providing financing, guarantying financing, purchasing or selling property, or participating in an
 investment in a Project Entity alongside a subsidiary of the Company provided the terms are commercially
 reasonable. Compensation and fees could be paid with respect to these transactions as described below. To
 the extent any such transaction may pose a conflict of interest between the Company and the Manager or
 its affiliates, this conflict must be resolved by the Manager in exercising its fiduciary duty to ensure the
 fairness of the transactions involving the Company.

          In the event the Company enlists the services of any affiliate of the Manager, the rates of
 compensation of these affiliates for the performance of their various services will be at arms-length rates
 no higher than what the Company could obtain from unaffiliated third parties and all payments will be
 subject to inspection by auditors upon request.

         Additionally, in the event the Manager, or an affiliate of the Manager, guaranties, whether
 personally or otherwise, a loan, bond or other obligation of the Company or of any of its subsidiary entities,
 such Manager or affiliate will be entitled to an annual fee equal to 1% of the outstanding loan amount, bond
 amount, or other obligation.

         Fees Payable by the Project Entity

         In some instances, an affiliate of the Manager may perform services for a Project Entity in order to
 provide better pricing or efficiency than would otherwise be available from third parties. In these instances,
 such affiliates may be paid customary service fees for time, material, or labor.

          In some instances, an affiliate of the Manager may provide lending to a Project Entity in connection
 with or in lieu of financing from non-affiliated third parties. In such circumstances, the affiliate may charge
 customary fees in connection with the issuance of such loans such as interest, origination fees, exit fees,
 and other fees.

         Acquisition, Transfer, and Divestiture of Investments to or from Affiliates

         The Company may acquire investments previously entered into by affiliates of the Manager, or
 may partially or wholly transfer an investment to or from affiliate entities, subject to underwriting and
 investment criteria of the Company and the Manager’s affiliates. Any investment acquisition or transfer
 that occurs may require a determination of the value of the investment, which may pose a conflict of interest
 between the Company and the Manager or its affiliates, which must be resolved by the Manager in
 exercising its fiduciary duty to ensure the fairness of the transactions involving the Company.
 Notwithstanding the foregoing, the Manager is not obligated to cause the Company or any affiliate to enter
 into any such transactions.

         Devotion of Time and Attention


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          The Manager will cause each managing principal, for so long as such managing principal is
 employed by, or an advisor to, the Manager or any of its affiliates, to devote to the Manager, the Company’s
 investments, and other activities of the Company as much time as may be reasonably necessary for the
 performance of their respective duties in their capacities as managing principals. Notwithstanding the
 foregoing, each managing principal may (a) devote such time and effort as s/he deems reasonably necessary
 to the affairs of any partnership or other entity with an investment objective that is not substantially similar
 to the Company’s investment objectives; (b) devote such time and effort as s/he deems reasonably necessary
 to the affairs of any successor fund, any pre-existing funds, and any investments of those successor or pre-
 existing funds; (c) devote such time and effort as s/he deems reasonably necessary to the affairs of any real
 estate construction or development business in which the managing principal currently participates;
 (d) serve on boards of directors of public and private companies and retain fees for such services for his/her
 own account; (e) engage in civic, professional, industry and charitable activities; and (f) conduct and
 manage personal and family investment activities. Subject to the express limitations set forth in this
 Agreement, each managing principal may engage independently or with others in other investments or
 business ventures of any kind.

         The Manager and its affiliates have established, and may establish, other pooled investment funds
 that have investment objectives identical to those of the Company or its affiliates, and the principals of the
 Manager may devote such time and attention as they deem necessary for the success of such funds.

                                                         USE OF PROCEEDS

          The proceeds of this Offering will be used for the Company’s business purposes, which include
 operations, technology implementation, new fund formation, investments into and loans to affiliate entities
 (both existing and yet-to-be-formed), consultant and professional engagements, real estate based
 investments, including acquisitions, loans and preferred equity investments. At any time, the Company
 may use Offering proceeds to retire any debt obligation of the Company, including those held by other
 investors. The following table is an estimate of the Company’s allocation of the available Offering
 proceeds. Given that the Offering proceeds will be combined with the Company’s existing cash, and that
 the Company has been in operation for many years, the table illustrates primarily those items that are in
 addition to the standard operating expenses of the Company. If less than the maximum Offering amount is
 raised, the Manager will determine which line items will receive less than the estimated allocation. The
 Manager has discretion to utilize all proceeds as it deems necessary to accomplish the Company’s business
 purposes, regardless of the estimates below.

                                         Line Item                                             Estimated Amount
                     Reserves and Miscellaneous Expense                                       $5,000,000
                     Commissions                                                              $4,500,000
                     Marketing                                                                $500,000
                     Website and Technology                                                   $1,500,000
                     Portfolio Investments: Real Estate and Affiliate                         $38,500,000
                     Entities
                     Total                                                                    $50,000,000

            *Each time the Company launches a new investment fund vehicle, it advances the initial capital for the organizational and offering
 expenses, including preparation of the offering documents, entity formation, and marketing expenses. The Company is reimbursed for these
 expenses when the fund’s first closing is held, and the newly formed fund begins generating management fee income that may be distributed to the
 Company.

          The proceeds of this Offering will be used to pay expenses related to this Offering, including as set
 forth below in “PLAN OF DISTRIBUTION”. The proceeds will be used to cover costs associated with this
 process, such as marketing, management fees, and professional service fees. The Company expects to pay
 expenses of approximately $5,000,000 related to the Offering, which include the cost of the Company’s
 fundraising efforts, and the cost of preparing this Memorandum, selling commissions and similar costs.



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                                        PLAN OF DISTRIBUTION

          The Company expects to engage one or more registered broker-dealers to act as placement agent(s)
 for the Offering (as applicable, the “Placement Agents”) and expects to pay commissions to the Placement
 Agents in the amount of up to approximately 9% of the aggregate principal amount of the Notes sold to
 investors.

         The Notes will be offered on a “best efforts” basis (which means that there is no guarantee that any
 minimum amount will be sold). There is no minimum amount that must be subscribed for in order for this
 Offering to close and for the subscription funds to be released to the Company, and the Company may
 conduct one or more closings as it determines.

         The Placement Agents may purchase Notes in the Offering. Such Notes will be counted toward the
 maximum offering amount of $50,000,000. The Company and the Placement Agent, in their sole discretion,
 may accept offers to purchase Notes net (or partially net) of the commissions and expense reimbursements
 described in this Memorandum in certain circumstances deemed appropriate by either of them, including
 by way of illustration, from Investors purchasing through a registered investment advisor (“RIA”), or from
 Investors who are affiliates of the Company or any Placement Agent (the “Selling Group”). The Company
 may also make sales to registered representatives of the Selling Group or to their spouses and affiliates, in
 each case net of sales commissions.

          The Company is offering a maximum offering amount of up to $50,000,000 in Notes. The
 Company may also elect to sell Notes to particular investors with an “original issue discount”, which means
 that the acquisition price of the particular Note for such invest is less than the Loan Amount for such Note.

         If the Maximum Offering Amount is subscribed, the net proceeds to the Company from the sale of
 Notes, after deducting selling commissions and related fees, and estimated organizational and Offering
 expenses, is anticipated to be approximately $45,000,000. The following table sets forth the details of these
 fees and the funds available for investment in the Company’s real estate strategy as described in this
 Memorandum.

                                                          Sale of Maximum Offering         Percentage of
                                                                   Amount                 Gross Proceeds
    Gross Proceeds From Investors                                $50,000,000                    100.00%
       Less: Selling Commission (1)                               $4,500,000                       9.00%
       Less: Offering Expenses                                      $500,000                        1.00%
    Available for Investment (before reserves)                   $45,000,000                      90.00%

         At any given time, the Company will maintain cash reserves to meet interest payments and
 operational requirements.

                               INVESTOR SUITABILITY STANDARDS

 General

         An investment in our Notes involves a high degree of risk and is suitable only for persons of
 substantial financial means who have no need for liquidity in their investment. Our Notes are only suitable
 for those who desire a relatively long-term investment for which they do not need liquidity until the
 anticipated Maturity Date of the Note as set forth in this Memorandum.

         The offer, offer for sale, and sale of our Notes is intended to be exempt from the registration
 requirements of the Securities Act pursuant to Rule 506(c) of Regulation D promulgated thereunder as to


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 “accredited investors” or to “non-U.S. persons” in an “offshore transaction” pursuant to Regulation S under
 the Securities Act, in each case as further discussed below, and is intended to be exempt from the
 registration requirements of applicable state securities laws as a federally covered security.

         A subscriber must meet one (or more) of the investor suitability standards (be an “accredited
 investor” or “non-U.S. person”) below to purchase a Note. Fiduciaries must also meet one of these
 conditions. If the investment is a gift to a minor, the custodian or the donor must meet these conditions. For
 purposes of the net worth calculations below, net worth is the amount by which assets exceed liabilities,
 but excluding your house, home furnishings or automobile(s) among your assets. In addition, in the
 subscription agreement, a subscriber will have to confirm satisfaction of these minimum standards:

             ●   Each Investor must have the ability to bear the economic risks of investing in the Notes.

             ●   Each Investor must have sufficient knowledge and experience in financial, business or
                 investment matters to evaluate the merits and risks of the investment.

             ●   Each Investor must represent and warrant that the Note to be purchased are being acquired
                 for investment and not with a view to distribution.

             ●   Each Investor will make other representations to us in connection with purchase of the
                 Note, including representations concerning the Investor’s degree of sophistication, access
                 to information concerning the Company, and ability to bear the economic risk of the
                 investment.

 Suitability Requirements

         Accredited Investors

         Rule 501(a) of Regulation D defines an “accredited investor” as any person who comes within any
 of the following categories, or whom the issuer reasonably believes comes within any of the following
 categories, at the time of the sale of the securities to that person:

 (1)     Any bank as defined in section 3(a)(2) of the Securities Act, or any savings and loan association or
         other institution as defined in section 3(a)(5)(A) of the Securities Act whether acting in its
         individual or fiduciary capacity; any broker or dealer registered pursuant to section 15
         of the Exchange Act; any insurance company as defined in section 2(a)(13) of the Securities Act;
         any investment company registered under the Investment Company Act of 1940 or a business
         development company as defined in section 2(a)(48) of that Act; any Small Business Investment
         Company licensed by the U.S. Small Business Administration undersection 301(c) or (d)
         of the Small Business Investment Act of 1958; any plan established and maintained by a state, its
         political subdivisions, or any agency or instrumentality of a state or its political subdivisions, for
         the benefit of its employees, if such plan has total assets in excess of $5,000,000; any employee
         benefit plan within the meaning of the Employee Retirement Income Security Act of 1974 if the
         investment decision is made by a plan fiduciary, as defined in section 3(21) of such act, which is
         either a bank, savings and loan association, insurance company, or registered investment adviser,
         or if the employee benefit plan has total assets in excess of $5,000,000 or, if a self-directed plan,
         with investment decisions made solely by persons that are accredited investors;

 (2)     Any private business development company as defined in section 202(a)(22) of the Investment
         Advisers Act of 1940;

 (3)     Any organization described in section 501(c)(3) of the Internal Revenue Code, corporation,
         Massachusetts or similar business trust, or partnership, not formed for the specific purpose of
         acquiring the securities offered, with total assets in excess of $5,000,000;


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 (4)     Any director, executive officer, or general partner of the issuer of the securities being offered or
         sold, or any director, executive officer, or general partner of a general partner of that issuer;

 (5)     Any natural person whose individual net worth, or joint net worth with that person‘s spouse,
         exceeds $1,000,000;

 (6)     Any natural person who had an individual income in excess of $200,000 in each of the two most
         recent years or joint income with that person‘s spouse in excess of $300,000 in each of those years
         and has a reasonable expectation of reaching the same income level in the current year;

 (7)     Any trust, with total assets in excess of $5,000,000, not formed for the specific purpose of acquiring
         the securities offered, whose purchase is directed by a sophisticated person as described in
         §230.506(b)(2)(ii) of the rules and regulations pursuant to the Securities Act; and

 (8)     Any entity in which all of the equity owners are accredited investors.

 For purposes of calculating net worth:

 (A)     The person’s primary residence shall not be included as an asset;

 (B)     Indebtedness that is secured by the person’s primary residence, up to the estimated fair market
         value of the primary residence at the time of the sale of securities, shall not be included as a liability
         (except that if the amount of such indebtedness outstanding at the time of sale of securities exceeds
         the amount outstanding 60 days before such time, other than as a result of the acquisition of the
         primary residence, the amount of such excess shall be included as a liability); and

 (C)     Indebtedness that is secured by the person’s primary residence in excess of the estimated fair
         market value of the primary residence at the time of the sale of securities shall be included as a
         liability.

         In determining income, a subscriber should add to the subscriber’s adjusted gross income any
 amounts attributable to tax exempt income received, losses claimed as a limited partner in any limited
 partnership, deduction claimed for depletion, contribution to an IRA or Keogh plan, alimony payments, and
 any amount by which income for long-term capital gains has been reduced in arriving at adjusted gross
 income.

         Non-U.S. Persons

         This Offering is also being made pursuant to Regulation S under the Securities Act, to non-U.S.
 persons. A non-U.S. person is any person who is not one of the following:

         ●   Any natural person resident in the United States (as defined below);

         ●   Any partnership or corporation organized or incorporated under the laws of the United States;

         ●   Any estate of which any executor or administrator is a US Person;

         ●   Any trust of which any trustee is a US Person;

         ●   Any agency or branch of a foreign entity located in the United States;

         ●   Any non-discretionary account or similar account (other than an estate or trust) held by a dealer
             or other fiduciary for the benefit or account of a US Person;




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         ●   Any discretionary account or similar account (other than an estate or trust) held by a dealer or
             other fiduciary organized, incorporated, or (if an individual) resident of the United States; or

         ●   Any partnership or corporation if (i) organized or incorporated under the laws of any foreign
             jurisdiction and (ii) formed by a US Person principally for the purpose of investing in securities
             not registered under the Securities Act, unless it is organized or incorporated, and owned, by
             accredited investors (as defined in Rule 501(a) of Regulation D promulgated under the
             Securities Act) who are not natural persons, estates or trusts.

         “United States” means the United States of America, its territories and possessions, any State of
 the United States, and the District of Columbia.

         As required by Regulation S, sales to non-U.S. persons will be made in “offshore transactions.”
 These are transactions where:

         ●   no offer is made to a person in the United States; and

         ●   either (1) at the time the buy order is originated, the buyer is (or is reasonably believed to be
             by the seller) physically outside the United States, or (2) the transaction is for purposes of Rule
             903, executed on a physical trading floor of an established foreign securities exchange, or for
             purposes of Rule 904, executed on a “designated offshore securities market” and the seller is
             not aware that the transaction has been pre-arranged with a U.S. purchaser.

         Additional Provisions and Requirements

          In addition to the foregoing suitability standards, we cannot accept subscriptions from anyone if
 the representations required are either not provided or are provided but are inconsistent with our
 determination that the investment is suitable for the subscriber. In addition to the financial information we
 require, the representations we require of you state that you:

             ●   Have received this Memorandum, together with the Exhibits attached hereto;

             ●   understand that no federal or state agency has made any finding or determination as to the
                 fairness for investment in, nor made any recommendation or endorsement of, the Notes;
                 and

             ●   understand that an investment in the Company will not, in itself, create a qualified
                 retirement plan as described in the Internal Revenue Code and that you must comply with
                 all applicable provisions of the Internal Revenue Code in order to create a qualified
                 retirement plan.

        You will also represent that you are familiar with the risk factors we describe and that this
 investment matches your investment objectives. Specifically, you will represent to us that you:

             ●   Understand that there will be no public market for the Notes, that there are substantial
                 restrictions on repurchase, sale, assignment or transfer of the Notes and that it may not be
                 possible to readily liquidate an investment in the Notes; and

             ●   have investment objectives that correspond to those described elsewhere in this
                 Memorandum.

         You will also represent to us that you have the capacity to invest in our Notes by confirming that:

             ●   You are legally able to enter into a contractual relationship with us, and, if you are an


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                 individual, have attained the age of majority in the state in which you live; and

             ●   if you are a manager, that you are the manager for the trust on behalf of which you are
                 purchasing the Note, and have due authority to purchase the Note on behalf of the trust.

         If you are purchasing as a fiduciary, you will also represent that the above representations and
 warranties are accurate for the person(s) for whom you are purchasing Note. By executing the subscription
 agreement, you will not be waiving any rights under the Securities Act or the Exchange Act.

         We have the right to refuse a subscription for a Note if in our sole discretion if we believe that the
 prospective Investor does not meet the suitability requirements. It is anticipated that comparable suitability
 standards (including state law standards applicable in particular circumstances) may be imposed by us in
 various jurisdictions in connection with any resale of the Notes.

                                     SUBSCRIPTION PROCEDURES

         To subscribe for a Note, each prospective Investor will be required to do the following:

             1. Complete, sign and deliver to us one of the Subscription Agreements attached hereto as
                Exhibit A-1 and Exhibit A-2, as discussed below;

             2. Execute a signature page to the Note, which is attached hereto as Exhibit B (i.e., complete
                the prospective Investor’s legal name in the place indicated on the last page of the Note, in
                “Holder:__________”, and execute the Note in the space provided and also complete the
                election below the signature block as to whether the Investor elects monthly interest
                payments or for interest to accrue and be added to the principle amount); and

             3. Deliver payment by wire pursuant, ACH transfer or certified check pursuant to the
                instructions on the Subscription Agreement.

        The Subscription Agreement that must be completed by prospective investors who are subscribing
 based on being an “accredited investor” is attached hereto as Exhibit A-1.

        The Subscription Agreement that must be completed by prospective investors who are subscribing
 based on being a “non-U.S. Person” is attached hereto as Exhibit A-2.

         Investors should complete only one of the Subscription Agreements, depending on which basis
 they are subscribing.

         Investors who are both accredited investors and non-U.S. persons may elect on which basis to
 subscribe.

         The executed documents should be delivered to the Company as follows:

                                             iCap Equity, LLC
                                          ATTN: Investor Relations
                                      3535 Factoria Blvd. SE, Suite 500
                                            Bellevue, WA 98006

                                                      Or:

              Investors may scan and email executed documents to: investor@icapequity.com

         With the Subscription Agreement and the executed signature page of the Note (regardless of the



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 method used for completing), prospective Investors should send their funds via wire transfer or ACH
 payment pursuant to the instructions as set forth in the Subscription Agreement, or check payable to “iCap
 Equity, LLC” to the address above, for the total cost of the Note being subscribed.

         As opposed to delivery of the executed documents via hard copy or email as set forth above, this
 process above may also be completed electronically via the Company’s website. At any time, the Company
 may require that investors complete all required documents through its website.

          Subscriptions are not binding on the Company until investor funds have cleared and are available,
 and the subscription has been accepted in writing by the Company. We will refuse any subscription by
 giving written notice to the prospective Investor by personal delivery or first-class mail. We have the right
 to refuse to sell the Notes to any prospective Investor for any reason in our sole discretion, including,
 without limitation, if such prospective Investor does not promptly supply all information requested by us
 in connection with such prospective Investor’s subscription. In addition, in our sole discretion, we may
 establish a limit on the purchase of Notes by particular prospective Investor.

         As noted above, this Memorandum and the Subscription Agreements are available electronically
 through the Company’s website and may in the future be completed through an application developed by
 iCap or the Company.

         The execution of a Subscription Agreement and the signature page to the Note by an Investor
 constitutes a binding offer to purchase the Note subscribed for. Once an Investor subscribes for a Note, that
 Investor will not be able to withdraw such subscription. If a subscription is not accepted, subscription funds
 will be promptly returned to the Investor, without interest or deduction (except for any wire transfer fee).
 Even though a prospective Investor has executed the Note, the Note will not be issued unless and until the
 Company accepts the prospective Investor’s subscription and returns countersigned copies of the
 Subscription Agreement and the Note.

         By submitting the completed and signed Subscription Agreement with payment for the purchase of
 Note, you represent and warrant that you meet the relevant suitability standards and are eligible to purchase
 the Note.

         We do not permit sales to discretionary accounts without prior specific written approval of the
 owner of the account.

                               RESTRICTIONS ON TRANSFERABILITY

          The Notes offered hereby are restricted securities as that term is defined in Rule 144 promulgated
 under the Securities Act. These securities have not been registered under the Securities Act and are being
 offered and will be sold without benefit of registration under the applicable federal or state securities acts
 by reason of specific exemptions from registration provided by such acts. The availability of such
 exemptions is also dependent, in part, upon the “investment intent” of the investors. The exemptions would
 not be available if an investor were purchasing the Notes with a view to redistributing them. Accordingly,
 each investor when executing the Subscription Agreement will be required to acknowledge that his or her
 purchase is for investment, for its, his or her own account, and without any view to resale of the Notes
 except pursuant to an effective registration statement under the Securities Act, or a valid exemption from
 the registration requirements of the Securities Act, and subject to the terms of the Subscription Agreement.

                               STATEMENT AS TO INDEMNIFICATION

           Our Operating Agreement provides for indemnification of members and officers of the
  Company and of the Manager under certain circumstances, which could include liabilities relating to
  securities laws. The SEC mandates the following disclosure of its position on indemnification for



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  liabilities under the federal securities laws:

          “Insofar as indemnification for liabilities arising under the Securities Act of 1933 may
          be permitted to directors, officers or persons controlling an issuer, the Company has been
          informed that in the opinion of the Securities and Exchange Commission such
          indemnification is against public policy as expressed in the Act and is therefore
          unenforceable.”

                                   TRADEMARKS AND COPYRIGHTS

          We may own or have rights to trademarks or trade names that we use in connection with the
 operation of our business, including our corporate names, logos and website names. In addition, we own or
 have the rights to copyrights, trade secrets and other proprietary rights that protect the content of our
 products and the formulations for such products. This Memorandum may also contain trademarks, service
 marks and trade names of other companies, which are the property of their respective owners. Our use or
 display of third parties’ trademarks, service marks, trade names or products in this Memorandum is not
 intended to, and should not be read to, imply a relationship with or endorsement or sponsorship of us. Solely
 for convenience, some of the copyrights, trade names and trademarks referred to in this Memorandum are
 listed without their ©, ® and ™ symbols, but we will assert, to the fullest extent under applicable law, our
 rights to our copyrights, trade names and trademarks. All other trademarks are the property of their
 respective owners.

                                               RISK FACTORS

       AN INVESTMENT IN THE NOTES INVOLVES SIGNIFICANT RISK AND IS SUITABLE
 ONLY FOR PERSONS WHO ARE CAPABLE OF BEARING THE RISKS, INCLUDING THE RISK
 OF LOSS OF A SUBSTANTIAL PART OR ALL OF THEIR INVESTMENT. CAREFUL
 CONSIDERATION OF THE FOLLOWING RISK FACTORS, AS WELL AS OTHER INFORMATION
 IN THIS MEMORANDUM IS ADVISABLE PRIOR TO INVESTING. PROSPECTIVE INVESTORS
 SHOULD READ ALL SECTIONS OF THIS MEMORANDUM AND ARE STRONGLY URGED AND
 EXPECTED TO CONSULT THEIR OWN LEGAL AND FINANCIAL ADVISERS BEFORE INVEST-
 ING IN THE NOTES. THE INFORMATION IN THIS MEMORANDUM CONTAINS BOTH
 HISTORICAL AND FORWARD-LOOKING STATEMENTS. PLEASE BE ADVISED THAT THE
 COMPANY’S ACTUAL FINANCIAL CONDITION, OPERATING RESULTS AND BUSINESS
 PERFORMANCE MAY DIFFER MATERIALLY FROM THAT ESTIMATED BY THE COMPANY IN
 FORWARD-LOOKING STATEMENTS. THE COMPANY HAS ATTEMPTED TO IDENTIFY, IN
 CONTEXT, CERTAIN OF THE FACTORS THAT IT CURRENTLY BELIEVES COULD CAUSE
 ACTUAL FUTURE RESULTS TO DIFFER FROM THE COMPANY’S CURRENT EXPECTATIONS.
 THE DIFFERENCES MAY BE CAUSED BY A VARIETY OF FACTORS, INCLUDING BUT NOT
 LIMITED TO, ADVERSE ECONOMIC CONDITIONS, COMPETITORS (INCLUDING THE ENTRY
 OF NEW COMPETITORS), INADEQUATE CAPITAL, UNEXPECTED COSTS, LOWER REVENUES
 AND NET INCOME THAN ANTICIPATED, FLUCTUATION AND VOLATILITY OF THE
 COMPANY’S OPERATING RESULTS AND FINANCIAL CONDITION, INABILITY TO CARRY
 OUT MARKETING AND SALES PLANS, LOSS OF KEY EXECUTIVES OR OTHER PERSONNEL,
 AND OTHER RISKS THAT MAY OR MAY NOT BE REFERRED TO IN THESE RISK FACTORS.

 Operation and Company Risks

        Control is vested in the Manager; no Investor should purchase the Notes unless the Investor is
 comfortable with the Manager’s judgment and experience in running the Company’s affairs.

          Control over all decisions affecting the Company, including decisions regarding the investments
 that are to be made, will be made by the Manager. Many material decisions, such as the sale of assets,
 refinancing of Project Entities, whether to make an investment, whether an Affiliate is eligible for an


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 investment, extensions of investments and the incurrence of third-party debt may be made by the Manager
 without separate concurrence from the Investors. No assurance can be given that sufficient investments will
 be presented to the Company to deploy all of the capital available for investment.

         When you subscribe for Notes that subscription is binding upon you, and you will not have the
 right to revoke that subscription even if you do not approve of the investments that the Manager
 subsequently identifies. You should not invest in the Company, unless you are prepared to rely upon the
 judgment of the Manager to make investments consistent with the general guidelines described in this
 Memorandum.

         The Company will have limited or no control over the underlying investments and must instead
 rely exclusively upon the skill, expertise and background of the persons controlling the investments.

         The Company expects to acquire preferred equity in Project Entities, acquire and hold real estate
 through Project Entities, or, occasionally, issue debt interests to Project Entities. Accordingly, the Company
 will not likely have control over such Project Entities (except in certain circumstances relating to the
 Company enforcing its creditor rights or contractual rights) and will be required to rely on the project
 partners of such Project Entities to use their skill, expertise and background to generate value from the
 investments.

         Markets in which the Company is anticipated to invest are subject to a high degree of volatility
 and, therefore, the Company’s performance may be volatile.

          The Company’s business will involve a high degree of financial risk. Markets in which the
 Company and its subsidiaries are anticipated to invest are subject to a high degree of volatility and therefore
 the Company’s performance may be volatile. There can be no assurance that the Company’s investment
 objective will be realized or that Investors will receive a full return of their investment. The Manager in its
 sole discretion may employ such investment strategies and methods as it determines to adopt.

         Real estate development projects are subject to a variety of risks that will be outside of the
 Company’s control, including delays in obtaining entitlements, permits, and other governmental approvals.
 Development projects may also take longer than anticipated, increasing the time that part or all of the
 residential or commercial units are not available for rent or sale, lowering the property’s cash flow or other
 income potential. Strong demand for skilled laborers and contractors may result in labor shortages and
 contractor unavailability, delaying project schedules and/or increasing costs. The costs of construction have
 increased dramatically during recent years and may continue to increase. Although the Manager will not
 undertake such projects without reviewing detailed budgets, such budgets may understate the expenses.

        The Company is subject to a number of risks in the enforcement of its rights relating to
 investments.

         The Company’s real estate investments will typically involve preferred equity investments in
 Project Entities, secured by a deed of trust in the underlying real property when possible and a pledge of
 the project partner’s membership interest in the Project Entity. The Company also has the authority to issue
 or purchase debt collateralized by real property and to make unsecured loans to or preferred equity
 investments in Affiliate companies. These investments are subject to the following risks:

                 The Company’s investment structure is unique. Although the Company generally requires
                  a Project Entity to grant a deed of trust in the underlying real property owned by the Project
                  Entity to secure the Company’s investment and return, and requires the project partners to
                  pledge their equity interest in the Project Entity to the Company, there can be no assurance
                  that such interests will be enforceable or that, in the event of non-performance by the
                  project partner or a default by the Project Entity, that the real estate will be readily
                  transferred to the Company or that the Company can obtain control of the Project Entity.


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                  There is a risk that project partners or other third parties may oppose or contest the
                  enforceability or priority of such security.

                 During the course of an investment, or in the event the Company exercises its contractual
                  remedies upon non-performance by the project partner or a default by the Project Entity,
                  there is a risk that a project partner or other third party oppose or contest the enforceability
                  of the Company’s investment documentation, or assert claims or defenses against the
                  Company or the Manager, including claims relating to the Company’s ability to remove
                  the project partner and take over management of a project. Such claims and potential
                  litigation may result in the Company incurring substantial legal fees, and adversely affect
                  the Manager’s ability to mitigate losses resulting from a project partner’s failure to
                  perform.

                 There is no assurance that the Company will subsequently acquire title to the collateral
                  property. The project partner may cure defaults or arrange for the Company’s investment
                  to be refinanced. Even in cases where the property is sold through a foreclosure sale, a
                  third-party may be prepared to outbid the Company to purchase the collateral property.

                 A debtor or project partner may evoke the protection of the Federal Bankruptcy Code or
                  similar state insolvency laws designed to protect the interests of insolvent debtors. These
                  protections are at the expense of the Company, and may result in staying the Company’s
                  foreclosure proceedings, proceedings against the project partner, restructuring of the terms
                  of the Company’s investment, or otherwise delaying or interfering with the enforcement of
                  the Company’s rights under its investment documentation.

         Uninsured losses on the investments could materially reduce investment returns, which may
 impact the ability to return principal balances under the Note.

          The project partner will obtain insurance policies for the projects that are commercially prudent
 given the local market and circumstances of the project (typically, including liability, fire and extended
 coverage). However, certain losses are either uninsurable or may be insured only upon payment of
 prohibitively high insurance premiums. If any such loss should occur and the projects should be partially
 or totally destroyed, the Company, as an investor in the Project Entity, may suffer a substantial loss of
 capital as well as profits. Even if the project partner’s insurance policy provides coverage for the loss, the
 deductible for such policy may be so large that the Project Entity will sustain a substantial uninsured loss
 as a result of the casualty.

         Proceeds from Investments will be re-invested during the life of the Company.

          The Manager has the discretion to retain all or a portion of the proceeds from investments to make
 new investments, and intends to do so over the life of the Company. This will place investment returns at
 the risk of new investment opportunities and may delay payments of the principal balances.

         The Manager’s conflicts of interest may result in transactions unfavorable to the Company.

          The Manager and its Affiliates may provide certain services to, and enter into transactions with,
 the Company or the Project Entities, provided the terms are commercially reasonable. The Company may
 make loans to or preferred equity investments in Affiliates of the Manager on terms determined by the
 Manager. These measures may not fully protect the Company or the Project Entities against the inherent
 conflicts of interest in these transactions. The transactions have not been, and will not be, subject to review
 by the Investors or an independent party. The transactions’ terms might not be as favorable to the Company
 as they would have been if the transaction had been with unrelated third parties. Moreover, the Company
 will not ask any third party to oversee the quality of the services that will be provided by the Manager and
 its Affiliates. In addition, before the Company invests all of its capital, the Manager will be subject to


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 potential conflicts of interest when choosing between investment opportunities that may generate different
 fees for the Manager or between investment opportunities that may meet the investment criteria of Affiliates
 of the Company or of the Manager.

       Without obtaining advice from your personal advisors, you may not be aware of the legal, tax or
 economic consequences of an investment in the Notes.

          The Manager has not arranged for Investors to be separately represented by independent counsel.
 The legal counsel who has performed services for the Company has performed such services for the
 Manager and has not acted as if it had been retained by the potential investors or the Members. You are not
 to construe the contents of this Memorandum or any prior or subsequent communication from the Manager,
 or its Affiliates or any professional associated with this Offering, as legal or tax advice. You should consult
 your own personal counsel, accountant and other advisors as to legal, tax, economic and related matters
 concerning the investment described herein and its suitability for you.

         The Notes may be issued with original issue discount (or “OID”) for U.S. federal income tax
 purposes. As such, if you are a U.S. Holder (as defined herein), you may be required to include OID
 (taxable as ordinary income) in taxable income each year in excess of the amount of interest payments
 actually received by you in that year.

         You will not be investing in a fund vehicle. The prior performance data presented should provide
 you relevant information regarding fund entities overseen by the Company, but should not be construed
 as an indication of the likely financial performance of the Company.

          By investing in the Company, you will not be a creditor to the Affiliates of the Company nor in any
 of the prior investments sponsored by its Affiliates. The Company has provided selected information
 regarding its prior investments because it felt investors might consider those investments to be relevant in
 assessing the experience and judgment of the Manager or the Company’s management team. Investors
 should not consider the prior performance of those investments to be indicative of the financial performance
 that may be experienced by the Company. The Company may not perform as favorably as the prior
 investments. Each investment opportunity is unique and the Company may not be able to replicate the
 success of prior Affiliated investments, even if the investments assembled for the Company’s portfolio are
 similar to those obtained for prior investments.

         Our business prospects are difficult to predict because we have a limited operating history.

          The Company is a relatively newly organized entity and does not have an extensive operating
 history upon which investors may base an evaluation of its likely performance. The Company’s results will
 depend upon the availability of suitable investment opportunities for the Company and the performance of
 the Company’s investments. The Company’s proposed operations are subject to all business risks associated
 with relatively new enterprises. The likelihood of the Company’s success must be considered in light of the
 problems, expenses, difficulties, complications, and delays frequently encountered in connection with the
 expansion of a business, operation in a competitive industry, and the continued development of advertising,
 promotions and a corresponding customer base. There is a possibility that the Company could sustain losses
 in the future.

         There can be no assurance that the Company’s efforts will result in successful commercialization
 or further development of the Company’ operations, that the Company’s marketing efforts will be
 successful, or that the Company will ever achieve significant (or any) revenue. If the Company fails to
 achieve its goals, the Company may run out of money to run its operation and as such, the Company would
 need to raise additional working capital. Failure to do so could result in Noteholders losing part or all of
 their money invested.

         Noteholders must rely on the Manager to acquire appropriate investment for the Company.


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          The Company is conducting the Offering as a “blind pool,” meaning that the Company is
 proceeding to raise funds through the sale of the Notes, without having specifically identified any
 investments. When you subscribe for Notes, that subscription is binding, and you will not have the right to
 revoke that subscription even if you do not approve of the investments that the Company subsequently
 identifies. Prospective investors should not invest in the Company unless they are prepared to rely upon the
 judgment of the Manager to make investments consistent with the general guidelines described in this
 Memorandum.
         Competition with third parties in our contemplated industry is intense, which could reduce our
 profitability and our ability to pay interest or raise additional funds.

       It is possible that over time we may compete with other entities seeking to undertake similar activities
 to those that we do. These same potential competitors may have significantly greater capital resources,
 research and development, manufacturing, testing, regulatory compliance, and marketing capabilities.
 Competitive products and services may render any services, products or product candidates that we may
 acquire or develop uneconomic or obsolete. We cannot assure investors that we will be able to invest in or
 develop resources that are required to successfully compete with these competitors .

         Negative publicity could adversely affect our business and operating results.

         Negative publicity about our industry or the Company or its Affiliates, even if inaccurate, could
 adversely affect our reputation and the confidence in our operations, which could harm our business and
 operating results. Harm to our reputation can arise from many sources, including employee misconduct,
 misconduct by our partners, outsourced service providers or other counterparties, failure by us or our
 partners to meet minimum standards of service and quality, compliance failures and claims and any such
 sources related to our affiliate entities.

         Rapid growth may strain our resources.

         We expect to experience significant and rapid growth in the scope and complexity of our business,
 which may place a significant strain on our management team and our financial and other resources. Such
 growth, if experienced, may expose us to greater costs and other risks associated with growth and
 expansion. Although the Company does not expect to have employees, the Company is dependent upon our
 parent company, iCap Enterprises, Inc., to hire employees who provide services to the Company, and we
 may be required to hire employees, including other support personnel, among others, in order to
 successfully advance our operations. We, and our parent company, may be unsuccessful in these efforts or
 may be unable to project accurately the rate or timing of these increases.

          This growth may place a strain on our management and operational resources. The failure to
 develop and implement effective systems or the failure to manage growth effectively could have a
 materially adverse effect on our business, financial condition, and results of operations. In addition,
 difficulties in effectively managing the budgeting, forecasting, and other process control issues presented
 by such a rapid expansion could harm our business, financial condition, and results of operations.

         The Manager’s conflicts of interest may result in transactions unfavorable to the Company.

          The Manager and its affiliates may provide certain services to, and enter into transactions with, the
 Company, its holding companies, any Affiliate of the Manager, or the Project Entities, provided that the
 terms are commercially reasonable. This limitation may not fully protect the Company or the Project
 Entities against the inherent conflicts of interest in these transactions. The transactions have not been, and
 will not be, subject to review by the Investors or an independent party. The transactions’ terms might not
 be as favorable to the Company as they would have been if the transaction had been with unrelated third
 parties. Moreover, the Company will not ask any third party to oversee the quality of the services that will
 be provided by the Manager and its affiliates. In addition, the Manager will be subject to potential conflicts


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 of interest when choosing between investment opportunities for affiliated entities that may generate
 different fees for the Manager.

          The Manager may retain and reinvest all or a portion of the revenue generated by, or proceeds
 of a sale of, an investment.

           The Manager has the discretion to sell the investments or related properties the Company acquires
 and to use the cash proceeds from such sale (or cash proceeds from rental income) to, among other things,
 satisfy its obligations under the Notes, whether or not then due and payable, or other Company obligations,
 or to enter into new investments. The Manager intends to make new investments over the life of the
 Company. This will place investment returns at the risk of new investment opportunities and may delay
 payments of the principal balances.

         Without obtaining advice from their personal advisors, potential investors may not be aware of
 the legal, tax or economic consequences of an investment in the Notes.

           The Manager has not arranged for potential investors in this Offering to be separately represented
 by independent counsel. The legal counsel who has performed services for the Company has not acted as
 if it had been retained by the potential investors. Potential investors should not construe the contents of this
 Memorandum or any prior or subsequent communication from the Manager, its affiliates or any
 professional associated with this Offering, as legal or tax advice. Potential investors should consult their
 own personal counsel, accountant and other advisors as to legal, tax, economic and related matters
 concerning the investment described herein and its suitability.

       Prior performance data presented provides relevant information regarding affiliates of the
 Manager, it should not be construed as an indication of the likely financial performance of the Company.

         Potential investors should not consider the prior performance of any investments by the Company
 or the Manager or their respective affiliates to be indicative of the financial performance that may be
 experienced by the Company. The Company may not perform as favorably as the prior investments have
 performed. Each investment opportunity is unique, and the Company may not be able to replicate the
 success of prior investments, even if the investments assembled for the Company’s portfolio are similar to
 those obtained for the prior funds.

         Various factors could negatively impact the profitability of the Company’s investments

          The Company may obtain insurance policies for the investments that are commercially prudent
 given the local market and circumstances of the investments. However, certain losses are either uninsurable
 or may be insured only upon payment of prohibitively high insurance premiums. If any such loss should
 occur and the investments should be partially or totally destroyed, the Company may suffer a substantial
 loss of capital as well as profits. Even if the Company’s insurance policy provides coverage for the loss,
 the deductible for such policy may be so large that the Company will sustain a substantial uninsured loss
 as a result of a fire or other casualty.

         Under various federal, state and local laws, ordinances and regulations, an owner or operator of
 real property may become liable for the costs of removal or remediation of certain hazardous substances
 released on or in its property. Such laws often impose liability without regard to whether the owner or
 operator knew of, or was responsible for, the release of such hazardous substances. The presence of
 hazardous substances may adversely affect the owner’s ability to sell such real estate or to borrow funds
 using such real estate as collateral. Before making a investment, the Company may undertake such
 environmental due diligence as it considers appropriate under the circumstances to assess the potential
 environmental risks. Such investigation could include the review of all available environmental reports,
 such as Phase I studies. No assurance can be given that such due diligence will identify all potential
 environmental problems. Moreover, to the extent that the investment’s site had environmental


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 contamination not detected prior to the Company’s acquisition of that property, or subsequent
 environmental contamination were to occur, remedial efforts, if any, the Company undertakes may not be
 sufficient to eliminate potential liability, and, as a consequence, the Company may incur environmental
 clean-up costs or be subject to liability exposure that may reduce the net profits of the Company.

          Under the Americans With Disabilities Act of 1990 (“ADA”), all places of public accommodation
 are required to meet certain federal requirements related to access and use by disabled persons. A number
 of additional federal, state and local laws exist that may require modification to existing properties to allow
 disabled persons to access such facilities. Most of the properties the Company considers will likely be in
 compliance with the present access requirements. If, however, the properties the Company acquires are not
 in compliance with the ADA, the Company will be required to make modifications to the properties to bring
 them into compliance or face the possibility of an imposition of fines or an award of damages to private
 litigants. In addition, further legislation may impose additional burdens or restrictions related to access by
 disabled persons, and the cost of compliance could be substantial.

          The real estate industry in general, and the multifamily, residential, and commercial sectors, in
 particular, are highly competitive, and the Company will be competing with numerous other entities, some
 having substantially greater financial resources and experience than the Company, in seeking attractive
 investment opportunities. Competition will reduce the number of suitable properties available for purchase
 and increase the bargaining power of sellers, inflating the purchase prices of the available investments or
 resulting in other less favorable terms to the purchasers.

          The investment returns available from investments in real estate depend in large part on the amount
 of income earned and capital appreciation generated by the related properties, and the expenses incurred.
 In addition, a variety of other factors affect income from properties and real estate values, including
 governmental regulations, prolonged timing of permit issuance by cities and counties, insurance, zoning,
 tax, interest rate levels and the availability of financing. When interest rates increase, the cost of acquiring,
 expanding or renovating real property increases and real property values may decrease as the number of
 potential buyers’ decreases. Similarly, as financing becomes less available, it becomes more difficult both
 to acquire and to sell real property. Any of these factors could have a material adverse impact on the
 Company’s results of operations or financial condition. In addition, real estate investments are difficult to
 sell quickly and the Company may not be able to adjust the Company’s portfolio of owned properties
 quickly in response to economic or other conditions in order to meet Note obligations. If the Company’s
 properties do not generate revenue sufficient to meet operating expenses, including debt service and capital
 expenditures, the Company’s income will be adversely affected.

         Markets in which the Company is anticipated to invest are subject to a high degree of volatility
 and, therefore, the Company’s performance may be volatile.

         The Company’s business will involve a high degree of financial risk. Markets in which the
 Company is anticipated to invest are subject to a high degree of volatility and therefore the Company’s
 performance may be volatile. There can be no assurance that the Company’s investment objective will be
 realized or that investors will receive a full return of their investment. The Manager in its sole discretion
 may employ such investment strategies and methods as it determines to adopt.

         Real estate development projects are subject to numerous risks outside the Company’s control
 such as delays in permitting and other governmental approvals, increased costs, and labor shortages.

         Any properties in which the Company invests relating to real estate development or construction
 are subject to a variety of risks that will be outside of the Company’s control, including delays in obtaining
 entitlements, permits, and other governmental approvals. Development and construction projects may also
 take longer than anticipated, increasing the time that part or all of the residential or commercial units are
 not available for rent or sale, and thus lowering the property’s cash flow or other income potential. Strong
 demand for skilled laborers and contractors may result in labor shortages and contractor unavailability,


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 delaying project schedules and/or increasing costs. The costs of construction have increased dramatically
 during recent years and may continue to increase. The Company may enter into contracts to purchase
 properties before they are finished, and the foregoing risks could adversely impact the purchase prices,
 valuations, or closings dates of those properties. Although the Manager will not undertake such transactions
 without reviewing detailed budgets, such budgets may understate the expenses.

         The Company’s investments will be illiquid.

         The Company expects its investments to be illiquid. Accordingly, the timing of its returns on those
 investments will be dependent upon various market factors. If the underlying assets in those investments
 are held for long periods or if any income streams of the Company are delayed or reduced, the Investors
 will be compelled to wait until the underlying assets are sold or improved, before being in a position to
 liquidate their investments. The Manager expects most of its real estate investments to have an investment
 time frame of 2 years or less. However, the Company may have little or no control over when the underlying
 properties are liquidated.

         There may be unanticipated obstacles to execution of our business plan.

          Our proposed plan of operation and prospects will depend largely upon our ability to successfully
 establish the Company’s presence in a timely fashion, retain and continue to hire skilled management,
 technical, marketing, and other personnel through our parent company, and attract and retain significant
 numbers of quality business partners and corporate clients. There can be no assurance that we will be able
 to successfully implement our business plan or develop or maintain future business relationships, or that
 unanticipated expenses, problems or technical difficulties which would result in material delays in
 implementation will not occur.

         The volatile credit and capital markets could have a material adverse effect on our financial
 condition.

           Our ability to manage our future debt and liquidity will be dependent on our level of positive cash
 flow. An economic downturn may negatively impact our cash flows. Credit and capital markets can be
 volatile, which could make it more difficult for us to refinance our debt or to obtain additional debt or equity
 financings in the future. Such constraints could increase our costs of borrowing and could restrict our access
 to other potential sources of future liquidity. Our failure to have sufficient liquidity to make interest and
 other payments required by our debt or our Notes could result in a default of such debt or the Notes and
 acceleration of our borrowings, which would have a material adverse effect on our business and financial
 condition.

         An economic downturn could materially affect us in the future.

           The recession from late 2007 to mid-2009 reduced consumer confidence to historic lows,
 impacting the public’s ability and desire to spend discretionary dollars as a result of job losses, home
 foreclosures, significantly reduced home values, investment losses, bankruptcies and reduced access to
 credit, resulting in lower levels of customer traffic. If the economy experiences another significant decline,
 our business and results of operations could be materially adversely affected.

         Information technology system failures or breaches of our network security could interrupt our
 operations and adversely affect our business.

          We rely on our computer systems and network infrastructure to facilitate our operations. Our
 operations depend upon our ability to protect our computer equipment and systems against damage from
 physical theft, fire, power loss, telecommunications failure or other catastrophic events, as well as from
 internal and external security breaches, viruses and other disruptive problems. Any damage or failure of



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 our computer systems or network infrastructure that causes an interruption in our operations could have a
 material adverse effect on our business and subject us to litigation or to actions by regulatory authorities.

        The failure to enforce and maintain our trademarks and protect our other intellectual property
 could materially adversely affect our business, including our ability to establish and maintain brand
 awareness.

           The success of our business strategy depends on our continued ability to obtain and use trademarks
 and service marks in order to increase brand awareness and develop our branded products. If our efforts to
 protect our intellectual property are not adequate, or if any third-party misappropriates or infringes on our
 intellectual property, whether in print, on the Internet or through other media, the value of our brands may
 be harmed, which could have a material adverse effect on our business, including the failure of our brands
 and branded products to achieve and maintain market acceptance. There can be no assurance that all of the
 steps we have taken to protect our intellectual property in the United States and in foreign countries will be
 adequate. In addition, the laws of some foreign countries do not protect intellectual property rights to the
 same extent, as do the laws of the United States.

         Third-party claims with respect to intellectual property assets, if decided against us, may result
 in competing uses or require adoption of new, non-infringing intellectual property, which may in turn
 adversely affect sales and revenues.

          There can be no assurance that third parties will not assert infringement or misappropriation claims
 against us, or assert claims that our rights in our trademarks, service marks, trade dress and other intellectual
 property assets are invalid or unenforceable. Any such claims could have a material adverse effect on us if
 such claims were to be decided against us. If our rights in any intellectual property were invalidated or
 deemed unenforceable, it could permit competing uses of intellectual property, which, in turn, could lead
 to a decline in our results of operations. If the intellectual property became subject to third-party
 infringement, misappropriation or other claims, and such claims were decided against us, we may be forced
 to pay damages, be required to develop or adopt non-infringing intellectual property or be obligated to
 acquire a license to the intellectual property that is the subject of the asserted claim. There could be
 significant expenses associated with the defense of any infringement, misappropriation, or other third-party
 claims.

        We depend on certain officers of the Manager, the loss of whom could materially harm our
 business.

          We rely upon the accumulated knowledge, skills and experience of the officers and personnel of
 our Manager and its affiliates. If they were to leave the Manager or become incapacitated, we might suffer
 in our planning and execution of business strategy and operations, impacting our brand and financial results.
 We also are not required to maintain any key man life insurance policies for any such persons.

          We are exposed to the risk of natural disasters, unusual weather conditions, pandemic outbreaks,
 political events, war and terrorism that could disrupt business and result in lower sales, increased
 operating costs and capital expenditures.

          Our headquarters and company-operated locations, as well as certain of our vendors and
 customers, are located in areas which have been and could be subject to natural disasters such as floods,
 hurricanes, tornadoes, fires or earthquakes. Adverse weather conditions or other extreme changes in the
 weather, including resulting electrical and technological failures, may disrupt our business and may
 adversely affect our ability to continue our operations. These events also could have indirect consequences
 such as increases in the costs of insurance if they result in significant loss of property or other insurable
 damage. Any of these factors, or any combination thereof, could adversely affect our operations.




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         Members of our Manager will have other business interests and obligations to other entities.

          None of the members and officers of the Manager will be required to manage the Company as their
 sole and exclusive function and they may have other business interests and may engage in other activities
 in addition to those relating to the Company, provided that such activities do not otherwise breach their
 agreements with the Company. We are dependent on these persons to successfully operate the Company.
 Their other business interests and activities could divert time and attention from operating the Company.

        We expect that the Covid-19/Coronavirus pandemic will materially impact our ability to move
 forward with our intended operations.

         Of all the markets that have been impacted by the Coronavirus pandemic, the markets and
 industries in which the Company expects to operate have been some of the worst hit. As a result, our ability
 to source and close such investments will be materially impacted and we have no way of knowing when
 these abilities will be returned to pre-pandemic levels.

         Declining economic conditions could negatively impact our business.

          Our operations are affected by local, national and worldwide economic conditions. Markets in the
 United States and elsewhere have been experiencing extreme volatility and disruption since the
 commencement of the Coronavirus pandemic and the consequences of a potential or prolonged recession
 may include a lower level of economic activity and uncertainty regarding real estate pricing. While the
 ultimate outcome and impact of the current economic conditions cannot be predicted, a lower level of
 economic activity might result in a decline in consumer spending and resulting instability in the financial
 markets, as a result of recession or otherwise, and also may affect the cost of capital and our ability to raise
 capital and conduct our operations.

         Our operations overall will be impaired by the Coronavirus pandemic.

         The Coronavirus pandemic is expected to cause continued interruptions to, and negative effects on,
 our business overall. While we are attempting to manage the negative effects of the pandemic, and we
 currently expect that the Company will be able to ultimately weather the effects of the pandemic, there can
 be no assurance as to the overall effect on our business.

 Risks Related to this Offering and the Notes

         The Company may prepay the principal and interest on the Notes at any time.

           The Company may prepay the principal amount and accrued interest of the Notes, in whole or in
 part, at any time. The Company may also choose to pay off some of the investor Notes while waiting to pay
 off the Notes of other investors. No prepayment penalty is imposed that would discourage the Company
 from exercising this right. Accordingly, Investors will not have certainty as to how long their respective
 Notes may be outstanding.

         There is no minimum Offering size required to be raised by the Company in order to conduct a
 closing, and the Company may not receive or accept sufficient subscriptions to undertake its business.

          This Offering is not subject to any minimum amount required to be subscribed for by investors in
 order for the Notes to be sold to any investors or for the Company to access or receive and use such funds.
 Therefore there is no assurance that the Company will raise sufficient funds to commence or continue
 operations. If the Company is not able to raise sufficient funds to commence operations and undertake its
 business plan, investors may lose all of their investment.

         This private placement of Notes is being made in reliance on an exemption from registration


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 requirements, and there is no guarantee that it will comply with the regulatory requirements for such
 exemption.

          This private placement of Notes will not be registered with the SEC. The Notes are being offered
 in reliance on an exemption from the registration provisions of the Securities Act and state securities laws
 applicable to offers and sales to investors meeting the investor suitability criteria set forth in this
 Memorandum. If the Company should fail to comply with the exemption, investors may have the right to
 rescind their purchases of Notes. This might also occur under the applicable state securities or “Blue Sky”
 laws and regulations in states where the Notes will be offered without registration or qualification pursuant
 to a private offering or other exemption. Such claims, if brought, would be disruptive and could force a sale
 of the Company’s assets to satisfy the claims of the claimants.

         If investors successfully seek rescission, we would face severe financial demands that we may
 not be able to meet.

          We represent that this Memorandum and its exhibits do not contain any untrue statements of
 material fact or omit to state any material fact necessary to make the statements made, in light of all the
 circumstances under which they are made, not misleading. However, if this representation is inaccurate
 with respect to a material fact, if this Offering fails to qualify for exemption from registration under the
 federal securities laws, or if we fail to register the Notes or find an exemption under the securities laws of
 each state in which we offer the Notes, each investor may have the right to rescind his, her or its purchase
 of the Notes and to receive back from the Company his, her or its purchase price. Such investors, however,
 may be unable to collect on any judgment, and the cost of obtaining such judgment may outweigh the
 benefits. If investors successfully seek rescission, we would face severe financial demands and may not be
 able to meet our capital needs, which may adversely affect any non-rescinding investors.

         We may invest or spend the proceeds of this Offering in ways with which you may not agree or
 in ways which may not yield a return.

          While we have provided guidance on priorities for the use of proceeds, the timing and amount of
 sales will impact our actual use of proceeds within the uses identified. Our management will have broad
 discretion in determining how the proceeds of the Offering will be used in each of the identified use
 categories.

          We currently intend to use the proceeds we receive from this Offering after deducting estimated
 fees and expenses associated with this private placement, including legal, accounting, transfer agent,
 financial, acquisitions and other professional fees, primarily for the purposes as described above. Our
 management will have considerable discretion in the application of the net proceeds, and you will not have
 the opportunity, as part of your investment decision, to assess whether the proceeds are being used
 appropriately. Investors in this Offering will need to rely upon the judgment of our management with
 respect to the use of proceeds. If we do not use the net proceeds that we receive in this Offering effectively,
 our business, financial condition, results of operations and prospects could be harmed, and the market price
 or value of the Notes could decline as well as the Company’s ability to repay the Notes when due.

       This is a private offering, and as such investors will not have the benefit of review of this
 Memorandum by the SEC or any other agency.

          Since this Offering is a private placement of securities and, as such, is not registered under federal
 or state securities laws, potential investors will not have the benefit of review of this Memorandum by the
 SEC or any state securities commission. The terms and conditions of this private placement may not comply
 with the guidelines and regulations established for offerings that are registered and qualified with those
 agencies.

         There is no assurance that the Company will be profitable, and there is no assurance of any


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 returns.

          There is no assurance as to whether the Company will be profitable, or earn revenues, or whether
 the Company will be able to meet its operating expenses. The initial expenses the Company incurs could
 result in operating losses for the Company for the foreseeable future. No assurance can be made that a
 subscriber for the Notes offered hereby will not lose his or her entire investment.

            The Company is obligated to pay certain fees and expenses.

          The Company will pay various fees and expenses related to its ongoing operations regardless of
 whether or not the Company’s activities are profitable. These fees and expenses will require dependence
 on third-party relationships. The Company is generally dependent on relationships with its strategic partners
 and vendors, and the Company may enter into similar agreements with future potential strategic partners
 and alliances. The Company must be successful in securing and maintaining its third-party relationships to
 be successful. There can be no assurance that such third parties may regard their relationship with the
 Company as important to their own business and operations, that they will not reassess their commitment
 to the business at any time in the future, or that they will not develop their own competitive services or
 products, either during their relationship with the Company or after their relations with the Company expire.
 Accordingly, there can be no assurance that the Company’ existing relationships or future relationships will
 result in sustained business partnerships, successful service offerings, or significant revenues for the
 Company.

            Prospective investors must undertake their own due diligence.

         This Memorandum and its exhibits include limited information regarding the Company, our current
 and future business and operations, our management and our financial condition. While we believe the
 information contained in this Memorandum is accurate, such document is not meant to contain an
 exhaustive discussion regarding the Company. We cannot guarantee a prospective Investor that the
 abbreviated nature of this Memorandum will not omit to state a material fact which a prospective Investor
 may believe to be an important factor in determining if an investment in the Notes offered hereby is
 appropriate for such Investor. As a result, prospective Investors are required to undertake their own due
 diligence of the Company, our current and proposed business and operations, our management and our
 financial condition to verify the accuracy and completeness of the information we are providing in this
 Memorandum. This investment is suitable only for investors who have the knowledge and experience
 to independently evaluate the Company, our business and prospects.

         The limited marketability of the Notes may adversely affect your ability to transfer and pledge
 the Notes.

         Noteholders must represent that they are purchasing the Notes for their own account for investment
 purposes and not with a view to resale or future distribution. You may not sell, assign, transfer, or encumber
 your Note(s) unless the Company obtains an opinion or is otherwise satisfied that such sale, assignment,
 encumbrance or transfer does not violate applicable federal or state securities laws, constitute unlawful
 trading on a secondary market, or on an equivalent thereof, for purposes of Section 7704 of the Internal
 Revenue Code of 1986, as amended (the “Code”) or cause the Company’s termination under Section 708
 of the Code. Accordingly, the Notes may not be readily accepted as collateral for loans.

            The Notes constitute restricted securities and are subject to limited transferability.

          The Notes should be considered a long-term, illiquid investment. The Notes have not been
 registered under the Securities Act, and cannot be sold without registration under the Securities Act or any
 exemption from registration. In addition, the Notes are not registered under any state securities laws that
 would permit their transfer. Because of these restrictions and the absence of an active trading market for
 our securities, a Noteholder will likely be unable to liquidate an investment even though other personal


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 financial circumstances would dictate such liquidation.

         There is no public trading market for our Notes.

          There is no established public trading market for the Notes and there can be no assurance that one
 will ever develop. Market liquidity will depend on the perception of our operating business and any steps
 that our management might take to bring us to the awareness of investors. There can be no assurance given
 that there will be any awareness generated. Consequently, investors may not be able to liquidate their
 investment or liquidate it at a price that reflects the value of the Notes. As a result, Investors may not find
 purchasers for their Notes. Only accredited investors with no need for immediate short-term liquidity should
 purchase the Notes.

         The market value of the Notes may decrease due to factors beyond our control.

         Broad market fluctuations may adversely affect the market value of our Notes. The market value
 of our Notes may also fluctuate significantly in response to the following factors, most of which are beyond
 our control:

        variations in our quarterly operating results,
        changes in general economic conditions,
        changes in market valuations of similar companies issuing similar investment products,
        announcements by us or our competitors of significant acquisitions, strategic partnerships or joint
         ventures, or capital commitments,
        poor reviews;
        loss of a major customer, partner or joint venture participant; and
        the addition or loss of key managerial and collaborative personnel.

         Any such fluctuations may adversely affect the market value of our Notes, regardless of our actual
 operating performance. As a result, Noteholders may be unable to sell their Notes (even if permitted by
 applicable securities laws and the terms of the Notes), or may be forced to sell them at a loss.

        The characteristics of the Notes, including maturity, interest rate, lack of adequate guarantee,
 and lack of liquidity, may not satisfy your investment objectives.

          The Notes may not be a suitable investment for you, and we advise you to consult your investment,
 tax and other professional financial advisors prior to purchasing Notes. The characteristics of the Notes,
 including maturity, interest rate, lack of adequate guarantee and lack of liquidity may not satisfy your
 investment objectives. The Notes may not be a suitable investment for you based on your ability to
 withstand a loss of interest or principal or other aspects of your financial situation, including your income,
 net worth, financial needs, investment risk profile, return objectives, investment experience and other
 factors. Prior to purchasing any Notes, you should consider your investment allocation with respect to the
 amount of your contemplated investment in the Notes in relation to your other investment holdings and the
 diversity of those holdings.

         The Notes will be effectively subordinated to any of our debt that is secured and subordinated to
 our existing and future unsecured debts.

          The Notes will be junior to any of our secured debt obligations, to the extent of the value of any
 assets securing such debt. The effect of this subordination is that if we are involved in a bankruptcy,
 liquidation, dissolution, reorganization or similar proceeding, or upon a default in payment on, or the
 acceleration of, any of our secured debt, if any, our assets will be available to pay obligations on the Notes
 only after all debt under our secured debt, if any, has been paid in full from those assets. As of the date of
 this Memorandum, we had no secured indebtedness outstanding. In such circumstances, Holders of the
 Notes will participate in any remaining assets ratably with all of our other unsubordinated creditors,


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 including trade creditors. We may not have sufficient assets remaining to pay amounts due on any or all of
 the Notes then outstanding.

         The Company may sell promissory notes that have earlier maturity dates or higher interest rates
 or payoff premiums than those applicable to the Notes.

          The Company may sell promissory notes that have earlier maturity dates or higher interest rates or
 payoff premiums than those applicable to the Notes. In such event the Company would be obligated to pay
 such higher rates of return, and the security of the noteholders in this Offering would therefore be negatively
 impacted as the Company will have greater payment obligations from the same pool of assets as compared
 to the situation where all promissory notes had equal interest rates.

          Because the Notes will have no sinking fund, insurance, or guarantee, you could lose all or a
 part of your investment if we do not have enough cash to pay.

          There is no sinking fund, insurance or guarantee of our obligation to make payments on the Notes.
 We will not contribute funds to a separate account, commonly known as a sinking fund, to make interest or
 principal payments on the Notes. The Notes are not certificates of deposit or similar obligations of, and are
 not guaranteed or insured by, any depository institution, the Federal Deposit Insurance Corporation, the
 Securities Investor Protection Corporation, or any other governmental or private fund or entity. Therefore,
 if you invest in the Notes, you will have to rely only on our cash flow from operations and other sources of
 funds for repayment of principal at maturity and for payment of interest when due. Any future cash flows
 from operations could be impaired under the circumstances described herein. If our cash flow from
 operations and other sources of funds are not sufficient to pay any amounts owed under the Notes, then you
 may lose all or part of your investment.

         We do not expect that the Notes will be rated, but if they are, ratings of the Notes may change
 and affect the market price and marketability of the Notes.

          We do not currently expect that, upon issuance, the Notes will be rated by any rating agencies. If
 they are, such ratings are limited in scope, and do not address all material risks relating to an investment in
 the Notes, but rather reflect only the view of each rating agency at the time the rating is issued. There is no
 assurance that such credit ratings will be issued or remain in effect for any given period of time or that such
 ratings will not be lowered, suspended or withdrawn entirely by the rating agencies. It is also possible that
 such ratings may be lowered in connection with future events, such as future acquisitions. Any lowering,
 suspension or withdrawal of such ratings may have an adverse effect on the market price or marketability
 of the Notes. In addition, any decline in the ratings of the Notes may make it more difficult for us to raise
 capital on acceptable terms.

         Because we may pay off the Notes at any time prior to their maturity, you may be subject to
 reinvestment risk.

          We have the right to pay off any Note at any time prior to its stated maturity. The Notes would be
 paid off at 100% of the principal amount plus accrued but unpaid interest, including the payoff premium,
 up to but not including the date of pay off. Any such pay off may have the effect of reducing the income or
 return on investment that any investor may receive on an investment in the Notes by reducing the term of
 the investment. If this occurs, you may not be able to reinvest the proceeds at an interest rate comparable
 to the rate paid on the Notes.

         The Note contains “deemed consent” provisions.

         The Note contains “deemed consent” provisions which provide that the Company does not actually
 have to obtain written confirmation from the Investor as to any approval or consent related to, or amendment
 of or waiver related to, the applicable agreement or document. The Company is required to send the Investor


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 a notice of the requested consent or approval, or the requested amendment or waiver, and if the Investor
 does not respond within 10 days, then to send a second notice. If the Investor does not respond within an
 additional 10 days the Investor will be deemed to have consented, in writing, to the requested approval,
 consent, amendment of or waiver.

         We have not retained independent professionals for investors.

          We have not retained any independent professionals to comment on or otherwise protect the
 interests of potential investors. Although we have retained our own counsel, neither such counsel nor any
 other independent professionals have made any examination of any factual matters herein, and potential
 investors should not rely on our counsel regarding any matters herein described.

         We have no firm commitments to purchase any Notes.

          We have no firm commitment for the purchase of any Notes. The Company may be unable to
 identify investors to purchase the Notes and as a result may have inadequate capital to support its ongoing
 business obligations.

 Tax Risks

 You are urged to consider the United States federal and State tax consequences of owning the Notes.

         This Memorandum does not address material federal or state tax considerations relating to an
 investment in the Notes. Investors are urged to consult their own tax advisors on these matters prior to
 investing.

 Interest on Notes Could be Characterized as Unrelated Business Taxable Income.

          We intend to take the position that the Notes should be classified as debt instruments for U.S.
 federal income tax purposes and the stated interest should constitute interest. In general, interest on debt
 instruments is not characterized as Unrelated Business Taxable Income (“UBTI”) with respect to tax
 exempt Noteholders. However, there is no assurance that the IRS will agree with this position and it is
 possible that the Notes may be treated as equity securities or as hybrid debt/equity securities. In such case,
 all or a portion of the interest on the Notes may be characterized as UBTI with respect to tax exempt
 Noteholders.

                   CERTAIN U.S. FEDERAL INCOME TAX CONSIDERATIONS

         This Memorandum does not address all tax considerations that may be relevant to you. You are
 urged to consult your own tax advisors as to the specific tax consequences of purchasing, owning and
 disposing of any Notes, including any federal, state or local tax consideration.

       WE URGE YOU TO CONSULT AND RELY UPON YOUR OWN TAX ADVISOR WITH
 RESPECT TO YOUR OWN TAX SITUATION, POTENTIAL CHANGES IN APPLICABLE
 LAWS AND REGULATIONS AND THE FEDERAL AND STATE CONSEQUENCES ARISING
 FROM AN INVESTMENT IN THE NOTES. THE COST OF THE CONSULTATION COULD,
 DEPENDING ON THE AMOUNT CHARGED TO YOU, DECREASE ANY RETURN
 ANTICIPATED ON YOUR INVESTMENT. NOTHING IN THIS MEMORANDUM IS OR
 SHOULD BE CONSTRUED AS LEGAL OR TAX ADVICE TO ANY SPECIFIC INVESTOR, AS
 INDIVIDUAL CIRCUMSTANCES MAY VARY. YOU SHOULD BE AWARE THAT THE
 INTERNAL REVENUE SERVICE MAY NOT AGREE WITH ALL TAX POSITIONS TAKEN BY
 US AND THAT LEGISLATIVE, ADMINISTRATIVE OR COURT DECISIONS MAY REDUCE
 OR ELIMINATE ANY ANTICIPATED TAX BENEFITS OF AN INVESTMENT IN THE NOTES.




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          The following is a general discussion of the material U.S. federal income tax considerations relating
 to the purchase, ownership and disposition of the Notes.

          This discussion is based on currently existing provisions of the Code, existing, temporary and
 proposed Treasury regulations promulgated thereunder, and administrative and judicial interpretations
 thereof, all as in effect or proposed on the date hereof and all of which are subject to change, possibly with
 retroactive effect, or different interpretations. No assurance can be given that changes in existing laws or
 regulations or their interpretation will not occur after the date of this Memorandum. We have not sought
 and will not seek any rulings from the Internal Revenue Service with respect to the statements made and
 the conclusions reached in the following summary, and accordingly, there can be no assurance that the
 Internal Revenue Service will not successfully challenge the tax consequences described below.

          This discussion only applies to U.S. Holders (as defined below) and is limited to the tax
 consequences to U.S. Holders that are original beneficial owners of the Notes, that purchased Notes at their
 original issue price for cash, and that hold such Notes as capital assets within the meaning of Section 1221
 of the Code. This discussion does not necessarily apply to Investors in the Notes who are Non-U.S. Persons.

          This discussion is for general information only and does not address all of the tax consequences
 that may be relevant to you in light of your personal circumstances. Furthermore, this summary does not
 discuss the tax consequences of an investment in Notes by certain investors that are subject to special tax
 rules, such as U.S. Holders having a functional currency other than the U.S. dollar, persons subject to
 special rules applicable to former citizens and residents of the U.S., certain financial institutions, persons
 subject to the alternative minimum tax, grantor trusts, real estate investment trusts, insurance companies,
 tax-exempt entities, dealers in securities or currencies, persons holding the Notes in connection with a
 hedging transaction, straddle, conversion transaction or other integrated transaction, pension funds, partners
 in partnerships or owners of interests in entities treated as partnerships under U.S. federal income tax laws,
 corporations treated as personal holding companies, or non-U.S. Holders (which include any holders of the
 Notes, other than a partnership or an entity or arrangement treated as a partnership for U.S. federal income
 tax purposes, that is not a U.S. Holders). This discussion also does not discuss the effect of any state, local,
 foreign or other tax laws or any U.S. federal estate, gift or alternative minimum tax considerations.

         This summary is of a general nature and is not intended as legal or tax advice to prospective
 investors. Accordingly, you are urged to consult your own tax advisors as to the particular tax consequences
 to you of your participation in the offering and your ownership and disposition of the Notes, including the
 applicability of any U.S. federal tax laws or any state, local or foreign tax laws or any treaty, and any
 changes (or proposed changes) in applicable tax laws or interpretations thereof.

         Considerations Relating to U.S. Holders of the Notes

        As used herein, the term “U.S. Holder” means a beneficial owner of a Note that is, for U.S. federal
 income tax purposes:

            An individual citizen or resident of the U.S.;
            A corporation (or any other entity treated as a corporation for U.S. federal income tax purposes)
             created or organized in or under the laws of the U.S., any state thereof or the District of
             Columbia;
            An estate whose income is includible in gross income for U.S. federal income tax purposes,
             regardless of its source; or
            A trust that either is subject to the supervision of a court within the United States and has one
             or more U.S. persons with authority to control all of its substantial decisions, or has a valid
             election in effect under applicable Treasury regulations to be treated as a U.S. person.




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          If a partnership holds Notes, the tax treatment of a partner will generally depend upon the status of
 the partner and upon the activities of the partnership. A holder of Notes that is a partnership and the partners
 in such a partnership should consult their tax advisors.

         Classification of the Notes

          Pursuant to the terms of the Notes, the Company and each holder of Notes will agree to treat the
 Notes, for U.S. federal income tax purposes, as debt instruments. Holders should be aware, however, that
 the IRS is not bound by the Company’s determination that the Notes constitute debt for U.S. federal income
 tax purposes. If any portion of the Notes is not treated as indebtedness, the timing and character of income,
 gain, or loss recognized in respect of a Note could differ from the timing and character of income, gain or
 loss recognized in respect of the Notes described below. The remainder of this discussion assumes that the
 Notes will be treated as indebtedness in accordance with that agreement and our determination.

         Interest Income and Original Issue Discount

         Payments of “qualified stated interest” (as defined below) on a Note will be taxable to a U.S. Holder
 as ordinary income at the time that such payments are accrued or are received (in accordance with the U.S.
 Holder’s method of tax accounting).

           It is anticipated that the Notes may be issued at a discount from their stated price at maturity. As
 such, it is anticipated that the Holders of the Notes may be required to report original issue discount (“OID”)
 over the term of the Notes. U.S. Holders of the Notes should be aware that, as described in greater detail
 below, they generally must include OID in ordinary gross income for U.S. federal income tax purposes as
 it accrues, in advance of the receipt of cash attributable to that income.

          In general, each U.S. Holder of the Notes, whether such U.S. Holder uses the cash or the accrual
 method of tax accounting, will be required to include in ordinary gross income the sum of the “daily
 portions” of OID on the Notes for all days during the taxable year that the U.S. Holder owns the debt
 security. The daily portions of OID on the Notes are determined by allocating to each day in any accrual
 period a ratable portion of the OID allocable to that accrual period. Accrual periods may be any length and
 may vary in length over the term of an OID debt security, provided that no accrual period is longer than
 one year and each scheduled payment of principal or interest occurs on either the final day or the first day
 of an accrual period. In the case of an initial holder, the amount of OID on a Note allocable to each accrual
 period is determined by (a) multiplying the “adjusted issue price” (as defined below) of the Note at the
 beginning of the accrual period by the yield to maturity of the Note (appropriately adjusted to reflect the
 length of the accrual period) and (b) subtracting from that product the amount (if any) of qualified stated
 interest (as defined below) allocable to that accrual period. The yield to maturity of a Note is the discount
 rate that causes the present value of all payments on the Note as of its original issue date to equal the issue
 price of such Note. The “adjusted issue price” of a Note at the beginning of any accrual period generally
 will be the sum of its issue price and the amount of OID allocable to all prior accrual periods, reduced by
 the amount of all payments other than payments of qualified stated interest (if any) made with respect to
 such Note in all prior accrual periods. The term “qualified stated interest” generally means stated interest
 that is unconditionally payable in cash or property (other than debt instruments of the issuer) at least
 annually during the entire term of a Note at a single fixed rate of interest or, subject to certain conditions,
 based on one or more interest indices.

         Sale, Retirement or Disposition of Notes

          Upon the sale, retirement or other disposition of a Note, an Investor generally will recognize taxable
 gain or loss equal to the difference between the amount realized on the disposition and the Investor’s
 adjusted tax basis in the Note. A U.S. Holder’s adjusted tax basis in a Note generally will be equal to its
 issue price in the Note. Gain recognized on the disposition of a Note generally will be treated as additional
 ordinary interest income. Any loss recognized on the disposition of a Note generally will be treated as an


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 ordinary loss to the extent of the excess of previous interest inclusions over the total net negative
 adjustments previously taken into account as ordinary loss, and thereafter, as capital loss (which will be
 long-term if, at the time of such disposition, your holding period for the Note is more than one year). The
 deductibility of capital losses is subject to limitations.

         Backup Withholding and Information Reporting

        Information reporting requirements generally will apply to payments of interest made by the
 Company on, or the proceeds of the sale or other disposition prior to maturity of, the Notes. Backup
 withholding tax, currently at a rate of 28%, may apply to such payments if an Investor fails to:

            Furnish his, her or its taxpayer identification number (social security or employer identification
             number);
            Certify that such number is correct;
            Certify that he, she or it is not subject to backup withholding; or
            Otherwise comply with the applicable requirements of the backup withholding rules.

          Certain U.S. Holders are not subject to backup withholding and information reporting requirements.
 Backup withholding is not an additional tax. Any amounts withheld under the backup withholding rules
 from a payment to Investor generally will be allowed as a credit against Investor’s U.S. federal income tax
 liability and may entitle Investor to a refund, provided that the required information is furnished timely to
 the Internal Revenue Service.

                                             ERISA MATTERS

          The Notes offered in the Offering may be purchased and held by an employee benefit plan subject
 to Title 1 of the Employee Retirement Income Security Act of 1974, as amended (“ERISA”), or an
 individual retirement account (“IRA”) or other plan subject to Section 4975 of the Code or by a plan or
 other arrangement subject to provisions of federal, state, local, or non-U.S. law substantially similar to such
 provisions of ERISA and the Code “Similar Law”).

          A fiduciary of an employee benefit plan must determine that the purchase and holding of a Note is
 consistent with its fiduciary duties under ERISA or other applicable law. The fiduciary of an ERISA plan,
 as well as any other prospective Investor subject to Section 4975 of the Code (including, without limitation,
 IRAs) or any Similar Law, must also determine that its purchase and holding of Notes offered hereby does
 not result in a non-exempt prohibited transaction under Section 406 of ERISA or Section 4975 of the Code
 (including, without limitation, the prohibition against the lending of money or other extension of credit
 between a plan or IRA that is subject to either such section and a “party in interest” as defined in
 Section 3(14) of ERISA, or “disqualified person,” as defined in Section 4975(e)(7) of the Code) or violate
 any Similar Law. Each purchaser and transferee of a Note offered hereby who is subject to ERISA or
 Section 4975 of the Code or any Similar Law will be deemed to have represented by its acquisition and
 holding of such Note that its acquisition and holding of the Note does not constitute or give rise to a non-
 exempt prohibited transaction under Section 406 of ERISA or Section 4975 of the Code or violate any
 Similar Law.

                                     REPORTS TO THE INVESTORS

         The Company has adopted a calendar fiscal year ending December 31. For so long as a Holder
 continues to hold the Note, the Company will provide to the Holder annual financial statements of the
 Company and such information relative to the Company’s business operations and performance as its
 management may deem useful or appropriate.




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                                              EXHIBIT A-1

                 SUBSCRIPTION AGREEMENT FOR ACCREDITED INVESTORS

                                               (Attached)



  This Subscription Agreement should be used only by investors who are investing on the basis of being an
                                “Accredited Investor” (as defined below).

  Investors who are investing on the basis of being a “Non-U.S. Person” should complete the Subscription
                Agreement attached to the Memorandum (as defined below) as Exhibit A-2.




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                                               iCap Equity, LLC

                         SUBSCRIPTION AGREEMENT FOR ACCREDITED INVESTORS

                                        PART I: Investor Information

   (a) Investor Name: ________________________________________________________
       (hereinafter referred to as “Investor”).

   (b) Investment Amount: Investor agrees to invest the below amount (“Investment Amount”) in
       accordance with the provisions of this Subscription Agreement:


                                         $________________________




   (c) Type of Investor. Indicate the form of Investor:


              Individual Investors                                         Entity Investors

  Individual                                         Corporation or Limited Liability Company (LLC)

  Husband and Wife                                   Partnership

  Joint Tenants                                      Irrevocable Trust

  Revocable Trust                                    Other Entities (indicate form of organization):

 Please complete pages 2, 5, 6, 7, 15, 16, 17, 22    Please complete pages 4-8, 15, 16, 17, 22


 Individual Investors - Retirement Funds

  IRA

  ROTH IRA

  Keogh-SEP IRA

  Other Retirement Plan

 Please complete pages 2, 3, 5, 6, 7, 15, 16, 17,
 22




                                                Subscription Agreement

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                                              INDIVIDUAL INVESTORS


                            JOINT ACCOUNTS, REVOCABLE TRUSTS & RETIREMENT FUNDS


Investor Name (Please Print): (1)

Investor Name (Please Print): (2)

Registered As (Please Print):



Physical Address (no PO Box)



Mailing Address (if Different)



Phone Number: (______) _______-___________

Birth Date (1):

Birth Date (2):

Social Security Number (1) :

Social Security Number (2) :

Primary Email Address (required):

Status, if individual(s):

    U.S. Citizen (1)            U.S. Resident Alien           U.S. Citizen Residing Outside of U.S.

    U.S. Citizen (2)            U.S. Resident Alien           U.S. Citizen Residing Outside of U.S.




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                                          Individual Investors
                                      For Retirement Funds Only


   IF INVESTING THROUGH AN IRA, KEOGH OR OTHER RETIREMENT OR PROFIT SHARING
   PLAN, PLEASE COMPLETE THE FOLLOWING (IN ADDITION TO THE INVESTOR INFORMATION ON
   THE PREVIOUS PAGE):

         Account Name


       Custodian’s EIN


    Custodian’s Address


                   City                                  State         Zip Code




*Prospective Investors must fill out the Form W-9 attached hereto*




                                            Subscription Agreement

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         CORPORATIONS, PARTNERSHIPS, IRREVOCABLE TRUSTS OR OTHER ENTITIES

Investor Entity Name (Please Print):     ____________________________________

Registered As (Please Print):            ____________________________________

                                         ____________________________________

Name (Please Print):                     ____________________________________

Title:                                   ____________________________________

Address:                                 ___________________________________

                                         ____________________________________

                                         ____________________________________

Phone Number:                            (______) _______-___________

Date of Formation:                       ______________________

State of Incorporation/Formation:        ______________________



SSN or Taxpayer ID Number:               ____________________________________

Primary Email Address (required):        ____________________________________

If Investor is a Partnership, LLC Irrevocable Trust or other Entity, initial the line below which correctly
describes the application of the following statement to Investor’s situation: Investor was not organized or
reorganized for the specific purpose of acquiring the Notes and has made investments prior to the date
hereof, and each beneficial owner thereof has and will share in the investment in proportion to his or her
ownership interest in Investor.

             True
                                            Initials: ____________
             False

If the “False” Box is checked, each person participating in the entity will be required to fill out a subscription
agreement.



*Prospective Investors must fill out the Form W-9 attached hereto*




                                               Subscription Agreement

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                                 PART II: Payment Information

  A. Making Your Investment with the Company. Please provide payment by one of the following
     methods (select one):

              :LUH7UDQVIHURU$&+7UDQVIHUWR

            5HFHLYLQJ)LQDQFLDO,QVWLWXWLRQ      8PSTXD%DQN
            5HFHLYLQJ)LQDQFLDO,QVWLWXWLRQ$GGUHVV1:*LOPDQ%OYG
                                                      ,VVDTXDK:$
            $%$5RXWLQJ1XPEHU                      
            $FFRXQW1XPEHU                            
            6SHFLDO,QVWUXFWLRQV                    L&DS(TXLW\//&)%2,QYHVWRU1DPH




             Check made out to:

            iCap Equity, LLC
            Attn: Investor Relations
            3535 Factoria Blvd. SE, Suite 500
            Bellevue, WA 98006


             Vault account transfer:

            By checking this box you acknowledge and agree that (1) you currently have funds in a Vault
            account with iCap Vault 1, LLC (the “Vault”), an Affiliate of the Company, and (2) you
            do hereby direct the Company to provide notice to iCap Vault 1, LLC on your behalf to
            withdraw your investment in the Vault, in the amount set forth above, and to send those
            funds to the Company for the purchase of a Note.

     Regardless of whether paying by wire transfer, ACH, check or from an iCap Vault account, you
     must also deliver a fully completed and executed copy of this Subscription Agreement and a
     completed and executed signature page of the Note (as attached to the Memorandum (as defined
     below) as Exhibit B) to the Company EITHER:

             In Hard Copy to:                OR          Electronically
             iCap Equity, LLC                            Either through DocuSign or other means, and
             Attn: Investor Relations                    emailed to investor@icapequity.com. If this
             3535 Factoria Blvd. SE, Suite 500           option is selected there is no need to mail hard
             Bellevue, WA 98006                          copies of the documents.




                                         Subscription Agreement

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       B. Where the Company Should Send Your Payments of Interest and Principal (Select One)

                 a. Direct Deposit to my Bank Account

                 I hereby authorize iCap Equity, LLC (“the Company”) to send any payments to me at the bank
                 account(s) listed below. I further authorize the financial institution(s) named below to accept such
                 payments and credit such account(s).

                        Name of Financial                    Checking or               Bank Routing                   Bank Account
                           Institution                        Savings                    Number                         Number




                 For iCap to verify bank account and routing numbers, investors are encouraged to attach a VOIDED CHECK for each investor
                 account to be credited. Investors should retain completed copies of this form for their records.




                 b. Direct Deposit to my iCap Vault Account1. No need to provide additional information for this
                    option. We can look you up in our records or help you set this up.




I understand that this authorization remains in effect until the Company receives from me, in writing, notification
to terminate or change the authorization, provided such notification is delivered in such a time and manner as to
afford the Company a reasonable time to act on it.

_____________________________________________________________________________
Account Holder Signature                                                Date


_____________________________________________________________________________
Account Holder Signature                                                Date




1
    iCap Vault is an affiliated program in which investors can invest cash into publicly registered demand notes. An iCap Vault account
     can be linked to an investor’s bank account so that an investor can withdraw funds at any time. The details of the program can be
     found at www.icapequity.com/vault. Many investors choose to send their interest payments to their iCap Vault account as a means
     of earning additional interest.

                                                             Subscription Agreement

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                                           PART III: Investor Status

1. Representation as to Investor Status. In order for the Company to sell the Note in conformance with state
   and federal securities laws, the following information must be obtained regarding Investor’s investor status.
   Please initial each item applicable to you as an investor in the Company.

     (a) Accredited Investor. Rule 501(a) of Regulation D defines an “accredited investor” as any person
         who comes within any of the following categories, or whom the issuer reasonably believes comes
         within any of the following categories, at the time of the sale of the securities to that person:

         (i)     _____ A natural person whose net worth, either individually or jointly with such person’s
                 spouse, at the time of Investor’s purchase, exceeds $1,000,000. The term “net worth” means
                 the excess of total assets over total liabilities (including personal and real property but excluding
                 the estimated fair market value of a person’s primary home).

         (ii)    _____ A natural person who had an individual income in excess of $200,000, or joint income
                 with that person’s spouse in excess of $300,000, in each of the two most recent years and
                 reasonably expects to reach the same income level in the current year.

         (iii)   _____ A bank as defined in Section 3(a)(2) of the Securities Act, or any savings and loan
                 association or other institution as defined in Section 3(a)(5)(A) of the Securities Act, whether
                 acting in its individual or fiduciary capacity.

         (iv)    _____ A broker or dealer registered pursuant to Section 15 of the Securities Exchange Act of
                 1934, as amended (the “Exchange Act”).

         (v)     _____ An insurance company as defined in section 2(13) of the Exchange Act.

         (vi)    _____ An investment company registered under the Investment Company Act of 1940 or a
                 business development company as defined in Section 2(a)(48) of that Act.

         (vii)   _____ A Small Business Investment Company licensed by the U.S. Small Business
                 Administration under Section 301(c) or (d) of the Small Business Investment Act of 1958.

         (viii) _____ A plan established and maintained by a state, its political subdivisions, or any agency
                or instrumentality of a state, or its political subdivisions for the benefit of its employees, if such
                plan has total assets in excess of $5,000,000.

         (ix)    _____ An employee benefit plan within the meaning of the Employee Retirement Income
                 Security Act of 1974, if the investment decision is made by a plan fiduciary, as defined in
                 Section 3(21) of such act, which is either a bank, savings and loan association, insurance
                 company, or registered investment adviser, or if the employee benefit plan has total assets in
                 excess of $5,000,000 or, if a self-directed plan, with investment decisions made solely by
                 persons that are accredited investors.

         (x)     _____ A private business development company as defined in Section 202(a)(22) of the
                 Investment Advisers Act of 1940.

         (xi)    _____ An organization described in Section 501(c)(3) of the Internal Revenue Code, or a

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              corporation, business trust or partnership, not formed for the specific purpose of acquiring the
              Shares, with total assets in excess of $5,000,000.

      (xii)   _____ A director or executive officer of the Company.

      (xiii) _____ A trust, with total assets in excess of $5,000,000, not formed for the specific purpose of
             acquiring the Shares, whose purchase is directed by a sophisticated person who has such
             knowledge and experience in financial and business matters that such person is capable of
             evaluating the merits and risks of investing in the Company.

      (xiv) _____ An entity in which all of the equity owners qualify under any of the above
            subparagraphs.

              Attached to this Subscription Agreement as Annex 1 is an Accredited Status Certification Letter
              that Investor who is claiming to be an “accredited investor” under the definitions in Section
              4(b)(i) or Section 4(b)(ii) above may provide to the Company to assist it in its determination of
              whether Investor meets the accredited investor requirements discussed above. An Investor who
              is claiming to be an “accredited investor” under the definitions in Section 4(b)(i) or Section
              4(b)(ii) above should provide this form of Accredited Status Certification Letter to the applicable
              person (CPA, investment adviser, etc.) and ask them to complete it and return it to the Company.
              (In this Letter, you as the Investor are the “Client”).

     ________        Investor does not qualify under any of the investor categories set forth in Section 4(a)(i)
     through Section 4(a)(xiv).




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                                   PART IV: Covenants and Provisions

1. Subscription for the Purchase of a Note.

        The undersigned “Investor”, on the terms and conditions herein set forth, hereby irrevocably submits
this subscription agreement (the “Subscription Agreement”) to iCap Equity, LLC, a Delaware limited liability
company (the “Company”), in connection with a private offering by the Company (the “Offering”) to raise
capital of up to $50,000,000 through the sale to Investor as an accredited investor of a Series 3 - Senior
Promissory Note of the Company (the “Note”).

       The undersigned, intending to be legally bound, hereby subscribes for a Note in the aggregate principal
amount as set forth on Page 1 hereto (the “Subscription Amount”) and, in this regard, Investor agrees to forward
payment in the amount of the Subscription Amount in accordance with the provision selected in Part II, Section
A, above.

       Interest will accrue only after the Subscription Agreement, and all agreements relating to the Note,
have been fully executed and accepted by the Company, and the Principal Balance has been delivered and
made available to the Company as indicated by the Company’s financial institution.

         The undersigned acknowledges that the Company is offering the Notes pursuant to the terms and
provisions of the Offering documented in the Confidential Private Placement Memorandum dated July 1, 2020
(together with all exhibits attached thereto, the “Memorandum”) relating to the Offering. The Company’s private
offering of Notes is being made to “accredited” investors within the meaning of Rule 506(c) of Regulation D
promulgated by the Securities and Exchange Commission under the Securities Act of 1933, as amended (the
“Securities Act”). By signing this Subscription Agreement, Investor acknowledges receipt of the Memorandum
and its Exhibits, including the Note (collectively the “Note Documents”), and agrees that he/she/it has read all
of its provisions and agrees to be bound by such Note Documents. Furthermore Investor represents and warrants
that all information entered in Parts I-IV of this document are correct and Investor agrees to be bound by all
provisions of such sections of this Agreement.

         The undersigned agrees to execute this Subscription Agreement and if by mail, send to the Company.
You as an individual or you on behalf of the subscribing entity are being asked to complete this Subscription
Agreement so that a determination can be made as to whether or not you (it) are qualified to purchase the Note
under applicable federal and state securities laws. Your answers to the questions contained herein must be true
and correct in all respects, and a false representation by you may constitute a violation of law for which a claim
for damages may be made against you. Your answers will be kept strictly confidential; however, by signing this
Subscription Agreement, you will be authorizing the Company to present a completed copy of this Subscription
Agreement to such parties as they may deem appropriate in order to make certain that the offer and sale of the
securities will not result in a violation of the Securities Act or of the securities laws of any state. All questions
must be answered. If the appropriate answer is “None” or “Not Applicable,” please state so. Please print or type
your answers to all questions and attach additional sheets if necessary to complete your answers to any item.
Please initial any corrections.

2. Offer to Purchase. Investor hereby irrevocably offers to purchase the Note and tenders herewith the total
   Subscription Amount as set forth herein. Investor recognizes and agrees that (i) this subscription is
   irrevocable and, if Investor is a natural person, shall survive Investor’s death, disability or other incapacity,
   and (ii) the Company has complete discretion to accept or to reject this Subscription Agreement in its entirety
   and shall have no liability for any rejection of this Subscription Agreement. This Subscription Agreement
   shall be deemed to be accepted by the Company only when it is executed by the Company.

3. Effect of Acceptance. Investor hereby acknowledges and agrees that on the Company’s acceptance of this

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   Subscription Agreement, it shall become a binding and fully enforceable agreement between the Company
   and the Investor. As a result, upon acceptance by the Company of this Subscription Agreement, Investor will
   become the record and beneficial holder of the Note and the Company will be entitled to receive the purchase
   price of the Note (the Subscription Amount) as specified herein.

   In determining individual “income,” Investor should add to Investor’s individual taxable adjusted gross
   income (exclusive of any spousal income) any amounts attributable to tax exempt income received, losses
   claimed as a limited partner in any limited partnership, deductions claimed for depletion, contributions to an
   IRA or Keogh retirement plan, alimony payments, and any amount by which income from long-term capital
   gains has been reduced in arriving at adjusted gross income.

4. Additional Representations and Warranties of Investor. Investor hereby represents and warrants to the
   Company as follows:

   (a) Investor has been furnished the Memorandum and, if requested by the Investor, other documents. The
       Investor has carefully read the Memorandum and any such other requested documents. Investor has been
       furnished with all documents and materials relating to the business, finances and operations of the
       Company and information that Investor requested and deemed material to making an informed
       investment decision regarding its purchase of the Note. Investor has been afforded the opportunity to
       review such documents and materials and the information contained therein. Investor has been afforded
       the opportunity to ask questions of the Company and its management. Investor understands that such
       discussions, as well as any written information provided by the Company, were intended to describe the
       aspects of the Company’s business and prospects which the Company believes to be material, but were
       not necessarily a thorough or exhaustive description, and except as expressly set forth in this
       Subscription Agreement, the Company makes no representation or warranty with respect to the
       completeness of such information and makes no representation or warranty of any kind with respect to
       any information provided by any entity other than the Company. Some of such information may include
       projections as to the future performance of the Company, which projections may not be realized, may
       be based on assumptions which may not be correct and may be subject to numerous factors beyond the
       Company’s control. Additionally, Investor understands and represents that he, she or it is purchasing the
       Note notwithstanding the fact that the Company may disclose in the future certain material information
       that the Investor has not received, including the financial results of the Company for their current fiscal
       quarters. Neither such inquiries nor any other due diligence investigations conducted by such Investor
       shall modify, amend or affect such Investor’s right to rely on the Company’s representations and
       warranties, if any, contained in this Subscription Agreement. Investor has sought such accounting, legal
       and tax advice as it has considered necessary to make an informed investment decision with respect to
       its investment in the Note. Investor has full power and authority to make the representations referred to
       herein, to purchase the Note and to execute and deliver this Subscription Agreement.

   (b) Investor has read and understood, and is familiar with, this Subscription Agreement, the Note and the
       business and financial affairs of the Company.

   (c) Investor, either personally, or together with its advisors (other than any securities broker/dealers who
       may receive compensation from the sale of any of the Notes), has such knowledge and experience in
       financial and business matters as to be capable of evaluating the merits and risks of an investment in the
       Note, is able to bear the risks of an investment in the Note and understands the risks of, and other
       considerations relating to, a purchase of a Note, including the matters set forth under the caption “Risk
       Factors” in the Memorandum. The Investor and its advisors have had a reasonable opportunity to ask
       questions of and receive answers from the Company concerning the Note. Investor’s financial condition
       is such that Investor is able to bear the risk of holding the Note that Investor may acquire pursuant to
       this Agreement, for an indefinite period of time, and the risk of loss of Investor’s entire investment in

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      the Notes.

  (d) Investor has investigated the acquisition of the Note to the extent Investor deemed necessary or desirable
      and the Company has provided Investor with any reasonable assistance Investor has requested in
      connection therewith.

  (e) The Note is being acquired for Investor’s own account for investment, with no intention by Investor to
      distribute or sell any portion thereof within the meaning of the Securities Act, and will not be transferred
      by Investor in violation of the Securities Act or the then applicable rules or regulations thereunder. No
      one other than Investor has any interest in or any right to acquire the Note. Investor understands and
      acknowledges that the Company will have no obligation to recognize the ownership, beneficial or
      otherwise, of the Note by anyone but Investor.

  (f) No representations or warranties have been made to Investor by the Company, or any representative of
      the Company, or any securities broker/dealer, other than as set forth in this Subscription Agreement.

  (g) Investor is aware that Investor’s rights to transfer the Note is restricted by the Securities Act and
      applicable state securities laws, and Investor will not offer for sale, sell or otherwise transfer the Note
      without registration under the Securities Act and qualification under the securities laws of all applicable
      states, unless such sale would be exempt therefrom.

  (h) Investor understands and agrees that the Note it acquires has not been registered under the Securities
      Act or any state securities act in reliance on exemptions therefrom and that the Company has no
      obligation to register any of the Notes offered by the Company.

  (i) The Investor has had an opportunity to ask questions of, and receive answers from, representatives of
      the Company concerning the terms and conditions of this investment and all such questions have been
      answered to the full satisfaction of the undersigned. Investor understands that no person other than the
      Company has been authorized to make any representation and if made, such representation may not be
      relied on unless it is made in writing and signed by the Company. The Company has not, however,
      rendered any investment advice to the undersigned with respect to the suitability.

  (j) Investor understands that the Note shall bear a restrictive legend in substantially the following form (and
      a stop transfer order may be placed against transfer of such certificates):

      “NEITHER THE ISSUANCE NOR SALE OF THIS SECURITY HAVE BEEN REGISTERED
      UNDER THE SECURITIES ACT OF 1933, AS AMENDED, OR APPLICABLE STATE
      SECURITIES LAWS. THIS SECURITY MAY NOT BE OFFERED FOR SALE, SOLD,
      TRANSFERRED OR ASSIGNED (I) IN THE ABSENCE OF (A) AN EFFECTIVE
      REGISTRATION STATEMENT FOR THE SECURITY UNDER THE SECURITIES ACT OF
      1933, AS AMENDED, OR (B) AN OPINION OF COUNSEL (WHICH COUNSEL SHALL
      BE SELECTED BY THE HOLDER), IN A GENERALLY ACCEPTABLE FORM, THAT
      REGISTRATION IS NOT REQUIRED UNDER SAID ACT OR (II) UNLESS SOLD
      PURSUANT TO RULE 144 OR RULE 144A UNDER SAID ACT.”

      The Investor hereby acknowledges and agrees to the Company’s making a notation on its
      records or giving instructions to any registrar and transfer agent of the Company in order to
      implement the restrictions on transfer set forth and described in this Subscription Agreement.

  (k) Investor also acknowledges and agrees to the following:

      (i) an investment in the Note is highly speculative and involves a high degree of risk of loss of the entire

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                investment in the Notes; and

           (ii) there is no assurance that a public market for the Notes will be available and that, as a result, Investor
                may not be able to liquidate Investor’s investment in the Note should a need arise to do so.

       (l) Investor is not dependent for liquidity on any of the amounts Investor is investing in the Note.

       (m) Investor’s address set forth below is his or her correct residence address.

       (n) Investor has full power and authority to make the representations referred to herein, to purchase the Note
           and to execute and deliver this Subscription Agreement.

       (o) Investor understands that the foregoing representations and warranties are to be relied upon by the
           Company as a basis for the exemptions from registration and qualification of the sale of the Note under
           the federal and state securities laws and for other purposes.

5. Representations and Warranties Regarding Patriot Act; Anti-Money Laundering; OFAC. The
   Investor should check the Office of Foreign Assets Control (“OFAC”) website at http://www.treas.gov/ofac
   before making the following representations. Investor hereby represents and warrants to the Company as
   follows:

       (a) The Investor represents that (i) no part of the funds used by the Investor to acquire the Note or to satisfy
           his/her capital commitment obligations with respect thereto has been, or shall be, directly or indirectly
           derived from, or related to, any activity that may contravene United States federal or state or non-United
           States laws or regulations, including anti-money laundering laws and regulations, and (ii) no capital
           commitment, contribution or payment to the Company by the Investor and no distribution to the Investor
           shall cause the Company to be in violation of any applicable anti-money laundering laws or regulations
           including, without limitation, Title III of the Uniting and Strengthening America by Providing
           Appropriate Tools Required to Intercept and Obstruct Terrorism (USA PATRIOT ACT) Act of 2001
           and the United States Department of the Treasury Office of Foreign Assets Control regulations. The
           Investor acknowledges and agrees that, notwithstanding anything to the contrary contained in the
           Memorandum or any other agreement, to the extent required by any anti-money laundering law or
           regulation, the Company may prohibit capital contributions, restrict distributions or take any other
           reasonably necessary or advisable action with respect to the Note, and the Investor shall have no claim,
           and shall not pursue any claim, against the Company or any other person in connection therewith. U.S.
           federal regulations and executive orders administered by OFAC prohibit, among other things, the
           engagement in transactions with, and the provision of services to, certain foreign countries, territories,
           entities and individuals. The lists of OFAC prohibited countries, territories, persons and entities can be
           found on the OFAC website at http://www.treas.gov/ofac. In addition, the programs administered by
           OFAC (the “OFAC Programs”) prohibit dealing with individuals 2 or entities in certain countries
           regardless of whether such individuals or entities appear on the OFAC lists.

       (b) To the best of the Investor’s knowledge, none of: (1) the Investor; (2) any person controlling or
           controlled by the Investor; (3) if the Investor is a privately-held entity, any person having a beneficial
           interest in the Investor; or (4) any person for whom the Investor is acting as agent or nominee in
           connection with this investment is a country, territory, individual or entity named on an OFAC list, or a



2
    These individuals include specially designated nationals, specially designated narcotics traffickers and other parties subject
     to OFAC sanctions and embargo programs.

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           person or entity prohibited under the OFAC Programs. Please be advised that the Company may not
           accept any amounts from a prospective investor if such prospective investor cannot make the
           representation set forth in this paragraph. The Investor agrees to promptly notify the Company should
           the Investor become aware of any change in the information set forth in these representations. The
           Investor understands and acknowledges that, by law, the Company may be obligated to “freeze the
           account” of the Investor, either by prohibiting additional subscriptions from the Investor, declining any
           redemption requests and/or segregating the assets in the account in compliance with governmental
           regulations, and any broker may also be required to report such action and to disclose the Investor’s
           identity to OFAC. The Investor further acknowledges that the Company may, by written notice to the
           Investor, suspend the redemption rights, if any, of the Investor if the Company reasonably deems it
           necessary to do so to comply with anti-money laundering regulations applicable to the Company or any
           Broker or any of the Company’s other service providers. These individuals include specially designated
           nationals, specially designated narcotics traffickers and other parties subject to OFAC sanctions and
           embargo programs.

      (c) To the best of the Investor’s knowledge, none of: (1) the Investor; (2) any person controlling or
          controlled by the Investor; (3) if the Investor is a privately-held entity, any person having a beneficial
          interest in the Investor; or (4) any person for whom the Investor is acting as agent or nominee in
          connection with this investment is a senior foreign political figure3, or any immediate family4 member
          or close associate5 of a senior foreign political figure, as such terms are defined in the footnotes below.

      (d) If the Investor is affiliated with a non-U.S. banking institution (a “Foreign Bank”), or if the Investor
          receives deposits from, makes payments on behalf of, or handles other financial transactions related to
          a Foreign Bank, the Investor represents and warrants to the Company that: (1) the Foreign Bank has a
          fixed address, other than solely an electronic address, in a country in which the Foreign Bank is
          authorized to conduct banking activities; (2) the Foreign Bank maintains operating records related to its
          banking activities; (3) the Foreign Bank is subject to inspection by the banking authority that licensed
          the Foreign Bank to conduct banking activities; and (4) the Foreign Bank does not provide banking
          services to any other Foreign Bank that does not have a physical presence in any country and that is not
          a regulated affiliate.

      (e) The Investor acknowledges that, to the extent applicable, the Company will seek to comply with the
          Foreign Account Tax Compliance Act provisions of the U.S. Internal Revenue Code and any rules,
          regulations, forms, instructions or other guidance issued in connection therewith (the “FATCA
          Provisions”). In furtherance of these efforts, the Investor agrees to promptly deliver any additional
          documentation or information, and updates thereto as applicable, which the Company may request in
          order to comply with the FATCA Provisions. The Investor acknowledges and agrees that,
          notwithstanding anything to the contrary contained in the Memorandum, any side letter or any other
          agreement, the failure to promptly comply with such requests, or to provide such additional information,



3
    A “senior foreign political figure” is defined as a senior official in the executive, legislative, administrative, military or
    judicial branches of a foreign government (whether elected or not), a senior official of a major foreign political party, or
    a senior executive of a foreign government-owned corporation. In addition, a “senior foreign political figure” includes
    any corporation, business or other entity that has been formed by, or for the benefit of, a senior foreign political figure.
4
    “Immediate family” of a senior foreign political figure typically includes the figure’s parents, siblings, spouse, children
    and in-laws.
5
    A “close associate” of a senior foreign political figure is a person who is widely and publicly known to maintain an
    unusually close relationship with the senior foreign political figure, and includes a person who is in a position to conduct
    substantial domestic and international financial transactions on behalf of the senior foreign political figure.

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        may result in the withholding of amounts with respect to, or other limitations on, distributions made to
        the Investor and such other reasonably necessary or advisable action by the Company with respect to the
        Note (including, without limitation, required withdrawal), and the Investor shall have no claim, and shall
        not pursue any claim, against the Company or any other person in connection therewith.

The foregoing representations and warranties are true and accurate as of the date hereof and shall survive such
date. If any of the above representations and warranties shall cease to be true and accurate prior to the acceptance
of this Subscription Agreement, Investor shall give prompt notice of such fact to the Company by telegram, or
facsimile or e-mail, specifying which representations and warranties are not true and accurate and the reasons
therefor.

6. Indemnification. Investor acknowledges that Investor understands the meaning and legal consequences of
   the representations and warranties made by Investor herein, and that the Company is relying on such
   representations and warranties in making the determination to accept or reject this Subscription Agreement.
   Investor hereby agrees to indemnify and hold harmless the Company and each employee and agent thereof
   from and against any and all losses, damages or liabilities due to or arising out of a breach of any
   representation or warranty of Investor contained in this Subscription Agreement.

7. Transferability. Investor agrees not to transfer or assign this Subscription Agreement, or any interest herein,
   and further agrees that the assignment and transferability of the Note acquired pursuant hereto shall be made
   only in accordance with applicable federal and state securities laws.

8. Termination of Agreement; Return of Funds. In the event that, for any reason, this Subscription
   Agreement is rejected in its entirety by the Company, this Subscription Agreement shall be null and void
   and of no further force and effect, and no party shall have any rights against any other party hereunder. In
   the event that the Company rejects this Subscription Agreement, the Company shall promptly return or cause
   to be returned to Investor any money tendered hereunder without interest or deduction.

9. Notices. All notices or other communications given or made hereunder, or pursuant to the Note, shall be in
   writing and shall be deemed delivered if (a) mailed by registered or certified mail, return receipt requested,
   postage prepaid, (b) delivered by facsimile or e-mail to Investor at the address set forth below and to the
   Company at investor@icapequity.com, or (c) at such other place as the Company may designate by written
   notice to Investor.

10. Amendments. Neither this Subscription Agreement nor any term hereof may be changed, waived,
    discharged or terminated except in a writing signed by Investor and the Company.

11. Governing Law. This Subscription Agreement and all amendments hereto shall be governed by and
    construed in accordance with the laws of the State of Delaware, without application of the conflicts of laws
    provisions thereof.

12. Headings. The headings in this Subscription Agreement are for convenience of reference, and shall not by
    themselves determine the meaning of this Subscription Agreement or of any part hereof.

13. Counterparts. This Subscription Agreement may be executed in any number of counterparts with the same
    force and effect as if all parties had executed the same document. The execution and delivery of a facsimile
    or other electronic transmission of this Subscription Agreement shall constitute delivery of an executed
    original and shall be binding upon the person whose signature appears on the transmitted copy.

14. Continuing Obligation of Investor to Confirm Investor Status. Upon the request of the Company and for
    as long as the Investor holds the Note or other securities in the Company, the Investor shall confirm
    Investor’s investor status as an “Accredited Investor,” as defined by the Securities and Exchange

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  Commission at the time of such request. In connection therewith, the Company shall deliver to the Investor
  a questionnaire that elicits the necessary information to determine the Investor’s investor status. Upon receipt
  of the questionnaire, the Investor shall: (i) complete it, (ii) execute the signature page therein, and (iii) return
  it to the Company, or its designee, in accordance with the instructions therein, no later than ten (10) days
  after receipt of the questionnaire.



 SIGNATURES        THE UNDERSIGNED HAS THE AUTHORITY TO ENTER INTO THIS
 -                 SUBSCRIPTION AGREEMENT ON BEHALF OF THE PERSON(S) OR ENTITY
 ALL               REGISTERED ABOVE.
 INVESTORS
 MUST SIGN         Executed on______________ ________________________________


                   X
                                            Signature (Investor, or authorized signatory)

                   X
                                            Signature (Investor, or authorized signatory)




                                                ACCEPTANCE


                                                  iCap Equity, LLC

                                                            By:          iCap Enterprises, Inc.
                                                            Its:         Manager


                                                            By:    ______________________________
                                                            Name: ______________________________
                                                            Title: ______________________________




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                                 SERIES 3 – SENIOR PROMISSORY NOTE




Loan Amount $_____________________                                                  Date: ____________, 202___


Monthly Interest Payment Election (optional): by initialing below, Holder hereby elects to receive
simple interest, paid monthly, and for this Note to be governed by the provisions of 6HFWLRQ F LL instead
of the provisions of 6HFWLRQ F L .

                                     Investor Initials: ______           ______

Agreed and accepted:

HOLDER:

Name (Individual Holder or entity Holder):       _________________________________

Signature:      _________________________________

Name:           _________________________________

Title:          _________________________________
                         (if applicable)




In witness whereof, the undersigned has executed this Note as of the Date above.



                                                           iCap Equity, LLC

                                                           By:          iCap Enterprises, Inc.
                                                           Its:         Manager


                                                           By:   ______________________
                                                           Name: ______________________
                                                           Its:  ______________________




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                        PART V: Registered Representatives and Investment Advisors



                         BROKER DEALER/REGISTERED INVESTMENT ADVISOR

                            TO BE COMPLETED BY REGISTERED REPRESENTATIVE

 The Registered Representative of record for this transaction or a Registered Principal authorized by the
 Broker/Dealer or Registered Investment Advisor to review and approve such securities transactions must sign
 and date below. The Registered Principal warrants that the Broker/Dealer (or Registered Investment Advisor) is
 a duly licensed Broker/Dealer (or Registered Investment Advisor) and may lawfully offer the Notes in the state
 designated as the investor’s address of residence. The Registered Representative and the Registered Principal
 represent that they have reasonable grounds to believe this investment is suitable for the investor and that the
 investor has been provided full information regarding the risks of this investment including liquidity and
 marketability.
 B-D/RIA Name                                                                 Telephone No.

 B-D/RIA Street
 Address or P.O.
 Box

                                                                                                           Zip
 City                                                                         State
                                                                                                           Code

 Registered
 Representative                                                               Telephone No.
 Name
 Email Address:

 Reg. Rep. Street
 Address or P.O.
 Box if different

                                                                                                           Zip
 City                                                                         State
                                                                                                           code


  Registered Representative: please check this box to verify that you have personally seen and recorded a government issued
 identification document from the Investor.

  Check this box if the subscriber’s investment in the company is made through a RIA




 Registered Representative’s Signature & Date                     Registered Principal’s Approval Signature & Date


                                                    Subscription Agreement

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                                                     Annex 1

                                      Accredited Status Certification Letter

Date: __________________

iCap Equity, LLC
Attn: Investor Relations Team
3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006

        Re:      Determination of Accredited Status

Dear iCap Equity, LLC

__________________________________ (“Client”) has asked us to provide iCap Equity, LLC with this letter
to assist you in your determination of whether Client is an “accredited investor” as defined in Rule 501(a) of the
Securities Act of 1933, as amended (the “Securities Act”).

[I/We] hereby certify that [I/we] [am/are] (please check the appropriate box):

     a registered representative of a registered broker-dealer, as defined in the Securities Exchange Act of
    1934;

     an investment adviser registered with the Securities and Exchange Commission;

     a licensed attorney in good standing under the laws of the jurisdictions in which I am admitted to
    practice law; or

     a certified public accountant in good standing under the laws of the place of my residence or principal
    office.

Based solely on a review of the Client Materials (as defined below), the undersigned hereby advises you that
Client satisfies one or more of the following criteria (check all boxes that apply):

     a natural person whose individual “net worth,” or joint net worth with Client’s spouse, exceeds
    $1,000,000; or

     a natural person who had an individual income in excess of $200,000 in each of the two most-recent
    years or joint income with Client’s spouse in excess of $300,000 in each of those years.

         In connection with this letter, we have examined and relied upon the original or copies of one or more
of the following documents (the “Client Materials”):

      A certificate executed by Client and [his/her] spouse, attached hereto, addressed to the Issuer and us,
stating such persons: (i) have had a joint income in excess of $300,000 in each of the two most-recent years and
a reasonable expectation of joint income in the current year in excess of $300,000; or (ii) have a joint “net worth”
with Client’s spouse in excess of $1,000,000.

     A certificate executed by Client, attached hereto, addressed to the Issuer and us, stating such person: (i)
has had an individual income in excess of $200,000 in each of the two most-recent years and a reasonable

                                                Subscription Agreement

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expectation of income in the current year in excess of $200,000; or (ii) has an individual “net worth” in excess
of $1,000,000.

         The following tax documents to the extent applicable to Client:

              o   Tax returns for the years [ ] and [ ] (each, a “Tax Year”) filed by Client and [his/her] spouse
                  on Form 1040 (the “Tax Returns”), accompanied by a certificate of the Client that that the copies
                  of the Tax Returns provided were true, correct and complete, filed with the appropriate office
                  of the Internal Revenue Service, prepared in full compliance with applicable law and
                  governmental regulations and have not been amended.

              o   Form 1099 filed with the Internal Revenue Service by Client [and [his/her] spouse] for the two
                  most-recent years.

              o   Schedule K-1 of Form 1065 filed with the Internal Revenue Service by Client [and [his/her]
                  spouse] for the two most recent-years.

              o   Form W-2 issued by the Internal Revenue Service to Client [and [his/her] spouse] for the two
                  most recent-years.

              o   Other Internal Revenue Service documents (please specify): ______________________.

    Bank statements, brokerage statements and other statements of securities holdings, certificates of
deposit, tax assessments, or appraisal reports issued by independent third parties to Client, dated within three
months of the date of this Letter.

     A consumer or credit report from at least one of the nationwide consumer reporting agencies indicating
Client’s liabilities, dated within three months of the date of this Letter;

         Other documents (please specify): ___________________________________________.

We have not conducted any other investigation or inquiries of Client, and have not determined whether the above
documents were accurately prepared, agree with source documents, were properly filed or otherwise.

By rendering this letter, we do not intend to waive any attorney-client privilege, as applicable. This letter is
limited to the matters set forth herein and speaks only as of the date hereof. Nothing may be inferred or implied
beyond the matters expressly contained herein. This letter may be relied upon by you and only you in connection
with an offering under Rule 506(c) and only for 30 days from the date of this letter. This letter may not be used,
quoted from, referred to or relied upon by you or by any other person for any other purpose, nor may copies be
delivered to any other person, without in each instance our express prior written consent. We assume no
obligation to update this letter.

Very truly yours,

[CERTIFIER]:

By:

Name:

Title:

                                                 Subscription Agreement

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                                        CERTIFICATION OF CLIENT


The undersigned, being the Client identified above, by my signature below, hereby represents and warrants that
the following statements are true, correct, and complete as of the date of my signature below (the “Certification
Date”):

     All Client Materials referenced above that have been delivered are true, correct and complete as of the
Certification Date;

     If I am relying on my “net worth,” either individually or jointly with my spouse, to satisfy the
requirements for being an accredited investor, I/we have fully and accurately disclosed all liabilities that are
required to be included in the calculation of “net worth” as described above; and

       At least one of the following applies to me:

            o   If I am relying on my income and/or that of my spouse to satisfy the requirements for being an
                accredited investor, I have a reasonable expectation of reaching individual income in excess of
                $200,000 or joint income with my spouse in excess of $300,000 in the current year.

            o   If I am relying on my “net worth,” either individually or jointly with my spouse, to satisfy the
                requirements for being an accredited investor, I/we have a “net worth” in excess of $1,000,000

I hereby affirm that the foregoing is accurate and complete.



Date: ______________________



Client Signature:

Client Name:




                                               Subscription Agreement

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                                                EXHIBIT A-2

                       SUBSCRIPTION AGREEMENT FOR NON-U.S. PERSONS

                                                 (Attached)



    This Subscription Agreement should be used only by investors who are investing on the basis of being a
                                  “Non-U.S. Person” (as defined below).

  Investors who are investing on the basis of being an “Accredited Investor” should complete the Subscription
                  Agreement attached to the Memorandum (as defined below) as Exhibit A-1.




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                                                iCap Equity, LLC

                           SUBSCRIPTION AGREEMENT FOR NON-U.S. PERSONS

                                        PART I: Investor Information

                                           ➨୍㒊ศ㸸ᢞ䍴㘵ؑ᚟

   (a) Investor Name ᣅ䍴㘵ဃ਽:

        (hereinafter referred to as “Investor”)˄ԕлㆰ〠“ ᣅ䍴㘵“˅

   (b) Investment Amount: Investor agrees to invest the below amount (“Investment Amount”) in
       accordance with the provisions of this Subscription Agreement:
       ᣅ䍴䠁仍˖ᣅ䍴㘵਼᜿ṩᦞᵜ“䇔䍝ॿ䇞”Ⲵ㿴ᇊᣅ䍴ԕл䠁仍˄ԕлㆰ〠“ᣅ䍴䠁
       仍”˅˖


                                         $________________________




   (c) Type of Investor. Indicate the form of Investor:

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              Individual Investors                                                  Entity Investors
                  њӪᣅ䍴㘵                                                             ᇎփᣅ䍴㘵

  Individual њӪ                                               Corporation or Limited Liability Company (LLC)
                                                                ‫ޜ‬ਨᡆᴹ䲀䍓ԫ‫ޜ‬ਨ˄LLC˅
  Husband and Wife ཛ࿫
                                                               Partnership ਸՉԱъ
  Joint Tenants 㚄਽‫ޡ‬ᴹӪ
                                                               Irrevocable Trust нਟ᫔䬰ؑᢈ
  Revocable Trust ਟ᫔䬰ؑᢈ
                                                               Other Entities (indicate form of organization):
 Please complete pages 1, 2, 5, 7, 8, 23, 24, 25                ަԆᇎփ˄⌘᰾㓴㓷ᖒᔿ˅˖
 䈧ᆼᡀㅜ 1ǃ2ǃ5ǃ7ǃ8ǃ23 ઼ 24 亥, 25
                                                      Please complete pages 1, 3, 4, 5, 7, 8, 23, 24 and Form W-
                                                      8BEN-E

                                                      䈧ᆼᡀㅜ 1ǃ3ǃ4ǃ5ǃ7ǃ8ǃ23, 24 亥ԕ৺ W-8BEN-E
                                                      㺘Ǆ


                                        Subscription Agreement - Non-US Investors

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                                         INDIVIDUAL INVESTORS
                                               њӪᣅ䍴㘵

                   JOINT ACCOUNTS, REVOCABLE TRUSTS & RETIREMENT FUNDS
                                㚄ਸ䍖ᡧˈਟ᫔䬰ؑᢈ઼䘰Ձส䠁

Investor Name (Please Print) (1):
ᣅ䍴㘵਽〠˄䈧ԕᾧփҖ߉˅(1)˖___________________________________________________

Investor Name (Please Print) (2) :
ᣅ䍴㘵਽〠˄䈧ԕᾧփҖ߉˅(2)___ _______________________________________________

Registered As (Please Print):
⌘޼Ѫ˄䈧ԕᾧփҖ߉˅                            ____________________________________________ _____

Physical Address (no PO Box) 
ትտൠ൰˄нਟປ߉䛞᭯ؑ㇡˅_________________________________________ __________


                                        ____________________________________________ _____

Mailing Address (if Different)˖
䛞ᇴൠ൰˄ྲоትտൠ൰н਼˅______________________________________________ _____


                                        ____________________________________________ _____

Phone Number ⭥䈍ਧ⸱:              (______) _______-___________


Birth Date ⭏ᰕ (1):              ___________________________________________________ ____


Birth Date ⭏ᰕ(2):               _________________________________________________________


Passport Number ᣔ➗ਧ⸱ (1) : _____________________________________________ _________


Passport Number ᣔ➗ਧ⸱(2) : _____________________________________________ __________


Primary Email Address ѫ㾱⭥ᆀ䛞Ԧൠ൰(required ᗵປ):_________________________________




                                     Subscription Agreement – Non-US Investors

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         CORPORATIONS, PARTNERSHIPS, IRREVOCALBE TRUSTS OR OTHER ENTITIES

                                ‫ޜ‬ਨˈਸՉԱъˈнਟ᫔䬰ؑᢈᡆަԆᇎփ

Investor Entity Name (Please Print):
ᣅ䍴ᇎփ਽〠˄䈧ԕᾧփҖ߉˅˖________________________________________________________ 


Registered As (Please Print):
⌘޼Ѫ˄䈧ԕᾧփҖ߉˅˖                              _______________________________________________________


Name (Please Print):
ဃ਽˄䈧ԕᾧփҖ߉˅˖                              ________________________________________________________ 


Title:
〠䉃/㙼ս˖                                   ________________________________________________________ 


Address:
ൠ൰˖                                     _________________________________________________________


                                        _____________________________________________________ 


Phone Number ⭥䈍ਧ⸱ :                     (______) _______-___________


Date of Formation ᡀ・ᰕᵏ: ______________________________________________________________


State of Incorporation/Formation ‫ޜ‬ਨ⌘޼ൠ: _________________________________________________


SSN or Taxpayer ID Number ‫ޜ‬ਨ⽮ᆹਧᡆ㓣〾Ӫ ID ਧ: _____________________________________


Primary Email Address (required) ѫ㾱⭥ᆀ䛞Ԧൠ൰ ˄ᗵປ˅:_________________________________


If Investor is a Partnership, LLC, Irrevocable Trust or other Entity, initial the line below which correctly
describes the application of the following statement to Investor’s situation: Investor was not organized or
reorganized for the specific purpose of acquiring the Notes and has made investments prior to the date hereof,
and each beneficial owner thereof has and will share in the investment in proportion to his or her ownership
interest in Investor.

ྲ᷌ᣅ䍴㘵ᱟањਸ֌Աъǃᴹ䲀䍓ԫ‫ޜ‬ਨǃнਟ᫔䬰ⲴؑᢈᡆަԆᇎփˈ 䈧म䘹л䶒а㹼
ѝሩᣅ䍴㘵ᛵߥ᧿䘠↓⺞Ⲵ䘹亩ˈᒦ⭘ဃ਽俆ᆇ⇽ㆮ਽˖“ᣅ䍴㘵нᱟѪҶ㧧ᗇᵜ⾘ᦞⲴާփ

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ⴞⲴ㘼㓴㓷ᡆ䟽㓴Ⲵˈфᐢ൘ᵜॿ䇞ᰕᵏѻࡽ䘋㹼Ҷᣅ䍴Ǆަ਴њਇ⳺ᡰᴹӪᤕᴹᒦሶ᤹➗
ަ൘ᣅ䍴㘵ѝⲴᡰᴹ㘵ᵳ⳺∄ֻ࠶ӛᣅ䍴Ǆ”

             True ↓⺞
                                                    Initials: ____________
             False 䭉䈟



If the “False” Box is checked, each person participating in the entity will be required to fill out a subscription
agreement.
ྲ᷌म䘹“䭉䈟”䘹亩ˈࡉ䈕ᇎփⲴ⇿њ৲оӪ䜭䴰㾱ປ߉“䇔䍝ॿ䇞”Ǆ



*Prospective Investors must fill out the Form W-8BEN attached hereto*
*߶ᣅ䍴㘵ᗵ享ປ߉䲿䱴Ⲵ W- 8BEN 㺘Ṭ*




                                         Subscription Agreement – Non-US Investors

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                                 PART II: Payment Information

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  A. Making Your Investment with the Company. Please provide payment by one of the following
     methods (select one):
     ᣅ䍴“ᵜ‫ޜ‬ਨ”Ǆ 䈧䙊䗷ԕлᯩᔿ˄䘹ᤙа⿽˅᭟ԈⅮ亩˖
          Wire Transfer or ACH Transfer to ⭥≷ᡆ ACH ᯩᔿ᭟Ԉ˖

            5HFHLYLQJ)LQDQFLDO,QVWLWXWLRQ      8PSTXD%DQN
            5HFHLYLQJ)LQDQFLDO,QVWLWXWLRQ$GGUHVV1:*LOPDQ%OYG
                                                      ,VVDTXDK:$
            $%$5RXWLQJ1XPEHU
                                                      
            $FFRXQW1XPEHU
                                                        
            6SHFLDO,QVWUXFWLRQV
                                                      L&DS(TXLW\//&)%2,QYHVWRU1DPH




          Check made out to ᭟⾘ᯩᔿ᭟Ԉ:

            iCap Equity, LLC
            Attn: Investor Relations
            3535 Factoria Blvd. SE, Suite 500
            Bellevue, WA 98006


          Vault account transfer ሿ䠁ᓃᑀᡧ䖜ᑀ:

            By checking this box you acknowledge and agree that (1) you currently have funds in a Vault
            account with iCap Vault 1, LLC (the “Vault”), an Affiliate of the Company, and (2) you do
            hereby direct the Company to provide notice to iCap Vault 1, LLC on your behalf to withdraw
            your investment in the Vault, in the amount set forth above, and to send those funds to the
            Company for the purchase of a Note.

            㤕ᛘम䘹ᵜ䘹亩ˈᛘ⸕ᚹᒦ਼᜿(1)ᛘⴞࡽ൘㢮⧲㦓ሿ䠁ᓃ 1 ਧᴹ䲀䍓ԫ‫ޜ‬ਨ˄“ᵜ
          ‫ޜ‬ਨ“Ⲵ䱴኎‫ޜ‬ਨ˅Ⲵሿ䠁ᓃ䍖ᡧ˄ԕлㆰ〠“ሿ䠁ᓃ“˅ѝᴹ䍴䠁˗˄2˅ᛘ൘↔ᤷ⽪
          “ᵜ‫ޜ‬ਨ“ԓ㺘ᛘੁ㢮⧲㦓ሿ䠁ᓃ 1 ᴹ䲀䍓ԫ‫ޜ‬ਨਁ䘱䙊⸕ˈӾᛘⲴ”ሿ䠁ᓃ“䍴䠁ѝᨀ
          ਆк䘠ᣅ䍴Ⅾ亩ˈᒦሶ↔Ⅾ䖜䍖㠣”ᵜ‫ޜ‬ਨ“ԕ䍝Ҡаԭ“ᵜ⾘”Ǆ




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     Regardless of whether paying by wire transfer, ACH, Swift, check or from an iCap Vault account,
     you must also deliver a fully completed and executed copy of this Subscription Agreement and a
     completed and executed signature page of the Note (as attached to the Memorandum (as defined
     below) as Exhibit B) to the Company EITHER:

     ᰐ䇪䙊䗷⭥≷ǃACHǃSWIFTǃ᭟⾘䘈ᱟሿ䠁ᓃᑀᡧ䖜䍖ᯩᔿ᭟Ԉᣅ䍴Ⅾ , ᛘᗵ享ਖཆੁᵜ
     ‫ޜ‬ਨ䙊䗷ԕла⿽ᯩᔿӔԈᵜ䇔䍝ॿ䇞Ⲵᆼᮤᐢㆮ㖢࢟ᵜ઼⾘ᦞⲴᆼᮤᐢㆮ㖢Ⲵㆮ㖢亥਴а
     ԭ˄ণ༷ᘈᖅ˄ᇊѹ㿱л᮷˅Ⲵ䱴Ԧ B˅˖



             In Hard Copy to:                OR            Electronically ⭥ᆀㆮ
             ਁ㓨䍘࢟ᵜ㠣˖                        ᡆ            Either through DocuSign or other means, and
             iCap Equity, LLC                              emailed to investor@icapequity.com. If this
             Attn: Investor Relations                      option is selected there is no need to mail hard
             3535 Factoria Blvd. SE, Suite 500             copies of the documents.
             Bellevue, WA 98006
                                                           䙊䗷 DocuSign ᡆަԆᯩᔿˈ䙊䗷⭥ᆀ䛞Ԧਁ
                                                           䘱㠣 investor@icapequity.comǄྲ᷌䘹ᤙ↔ᯩ
                                                           ᔿˈࡉᰐ䴰޽䛞ᇴ᮷ẓⲴ㓨䍘࢟ᵜǄ




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       B. Where the Company Should Send Your Payments of Interest and Principal (Select One)

             ᵜ‫ޜ‬ਨ”ᓄሶᛘⲴ࡙᚟઼ᵜ䠁᭟Ԉ㠣˄䘹ᤙа亩˅
            “ᵜ

             Direct Deposit to my Bank Account ⴤ᧕ᆈⅮࡠᡁⲴ䬦㹼ᑀᡧ
                 I hereby authorize iCap Equity, LLC (“the Company”) to send any payments to me at the bank
                 account(s) listed below. I further authorize the financial institution(s) named below to accept such
                 payments and credit such account(s).

                       㢮⧲㦓䍴ᵜᴹ䲀䍓ԫ‫ޜ‬ਨ ˄ԕлㆰ〠Āᵜ‫ޜ‬ਨā˅䙊䗷л䶒ࡇࠪⲴ䬦㹼ᑀᡧ
                 ᵜӪ⢩↔ᦸᵳ㢮
                 ੁᡁਁ䘱ԫօԈⅮǄᡁ䘋а↕ᦸᵳԕлᤷᇊⲴ䠁㶽ᵪᶴ᧕ਇ↔㊫ԈⅮᒦሶ䘉ӋԈⅮ䇠‫ޕ‬л
                 䘠䬦㹼䍖ᡧǄ

                    Name of Financial                     Checking or                  Bank Routing                  Bank Account
                       Institution                         Savings                       Number                        Number
                     䠁㶽ᵪᶴ਽〠                               䍖ᡧ㊫࡛                        䬦㹼≷Ⅾ                         䬦㹼䍖ᡧਧ⸱
                                                       ˄᭟⾘䍖ᡧ/ۘ㫴䍖ᡧ˅                      䐟ᖴਧ⸱




                 For iCap to verify bank account and routing numbers, investors are encouraged to attach a VOIDED CHECK for each investor
                 account to be credited. Investors should retain completed copies of this form for their records.
                 ѪҶ䇙㢮⧲㦓ਟԕ傼䇱䬦㹼ᑀᡧ઼䬦㹼≷Ⅾ䐟ᖴਧ⸱ˈᡁԜ啃࣡ᣅ䍴㘵Ѫ⇿њᆈ‫࡙ޕ‬᚟оᵜ䠁Ⲵᣅ䍴㘵ᑀᡧ䱴
                 ࣐аᕐ“ ֌ᓏⲴ᭟⾘āǄᣅ䍴㘵ᓄ‫↔⮉؍‬㺘ṬⲴᆼᮤ࢟ᵜ֌Ѫ䇠ᖅǄ



    Direct Deposit to my iCap Vault Account1. No need to provide additional information for this option.
   We can look you up in our records or help you set this up.
          ⴤ᧕ᆈ‫ޕ‬ᡁⲴ㢮⧲㦓ሿ䠁ᓃᑀᡧ[1] Ǆᛘᰐ䴰Ѫ↔䘹亩ᨀ‫ަ׋‬Ԇؑ᚟ǄᡁԜਟԕ൘䇠ᖅѝ
ḕ᢮ᛘⲴؑ᚟ᡆᑞࣙᛘ䇮㖞Ǆ



I understand that this authorization remains in effect until the Company receives from me, in writing, notification
to terminate or change the authorization, provided such notification is delivered in such a time and manner as to
afford the Company a reasonable time to act on it.




1
    iCap Vault is an affiliated program in which investors can invest cash into publicly registered demand notes. An iCap Vault account
     can be linked to an investor’s bank account and an investor can withdraw funds at any time. The details of the program can be found
     at www.icapequity.com/vault. Many investors choose to send their interest payments to their iCap Vault account as a means of
     earning additional interest.

[1]
      iCap Vault ᱟ Icap Ⲵᆀ亩ⴞˈᣅ䍴㘵ਟ䙊䗷䈕ᆀ亩ⴞሶ⧠䠁ᣅ䍴ࡠ‫ޜ‬ᔰ⌘޼Ⲵণᵏ⾘ᦞǄᣅ䍴㘵ਟԕሶ iCap Vault ᑀᡧ䬮
      ᧕ࡠަ䬦㹼ᑀᡧˈԕ‫ׯ‬ᣅ䍴㘵䲿ᰦᨀਆ䍴䠁Ǆᴹ‫ޣ‬䈕ӗ૱Ⲵ䈖㓶ؑ᚟ˈ䈧䇯䰞 www.icapequity.com/vaultǄ䇨ཊᣅ䍴㘵䘹ᤙ
      ሶަ࡙᚟ԈⅮਁ䘱ࡠަ iCap Vault ᑀᡧˈԕ㧧ᗇ䱴࣐࡙᚟Ǆ

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ᵜӪ᰾ⲭˈᵜᦸᵳҖሶᤱ㔝ᴹ᭸ⴤ㠣“ᵜ‫ޜ‬ਨ“᭦ࡠᵜӪ㓸→/ᴤ᭩↔ᦸᵳⲴҖ䶒䙊⸕ˈᒦ㔉Ҹ“ᵜ‫ޜ‬ਨ”
൘᭦ࡠᵜӪҖ䶒䙊⸕ਾаᇊਸ⨶ᰦ䰤ᶕ䟷ਆ㹼ࣘǄ




_____________________________________________________________________________
Account Holder Signature ᑀᡧᤱᴹӪㆮ਽                              Date ᰕᵏ



_____________________________________________________________________________
Account Holder Signature ᑀᡧᤱᴹӪㆮ਽                              Date ᰕᵏ




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                                        PART III: Investor Status
                                         ㅜй䜘࠶˖ ᣅ䍴㘵⣦ᘱ
1. Representation as to Investor Status. Subscriber hereby represents and warrants to the Company as of the
   date hereof that:
‫ޣ‬Ҿᣅ䍴㘵䓛ԭⲴ䱸䘠Ǆ 䇔䍝Ӫ⢩↔ੁ“ᵜ‫ޜ‬ਨ”༠᰾ᒦ‫؍‬䇱ˈ㠚ᵜॿ䇞ᡰ䘠ᰕᵏѻᰕ䎧˖
    (a) Subscriber understands that the investment offered hereunder has not been registered under the
        Securities Act and Subscriber is acquiring the Note for Subscriber’s own account, for investment
        purposes only, and not with a view towards resale or distribution.
        ᣅ䍴㘵享⸕˖ᵜॿ䇞ᡰ䘠Ⲵᣅ䍴ቊᵚ‫ᦞ׍‬ǉ䇱ࡨ⌅Ǌⲫ䇠˗䇔䍝ӪᱟѪ㠚ᐡ਽лᑀᡧ㧧ᗇ“ᵜ
        ⾘”˗䇔䍝Ӫ㧧ਆ“ᵜ⾘”ӵࠪҾᣅ䍴ⴞⲴˈ㘼䶎䖜୞ᡆ࠶䬰Ǆ

    (b) Subscriber is not a “US Person” which is defined as:
        ᣅ䍴㘵нᱟ“㖾ഭӪ”˄н኎ҾྲлᇊѹѝⲴԫօа亩˅˖

         (i)    Any natural person resident in the United States (as defined below);
   ትտ൘㖾ഭ˄ᇊѹ㿱л᮷˅Ⲵԫօ㠚❦Ӫ˗

         (ii)   Any partnership or corporation organized or incorporated under the laws of the United States;
                ṩᦞ㖾ഭ⌅ᖻ㓴ᔪᡆ⌘޼ⲴਸՉԱъᡆ‫ޜ‬ਨ˗

        (iii) Any estate of which any executor or administrator is a US Person;
䚇ӗⲴᢗ㹼Ӫᡆ㇑⨶㘵ᱟаս㖾ഭӪ˗

         (iv)   Any trust of which any trustee is a US Person;
                ؑᢈⲴਇᢈӪᱟаս㖾ഭӪ˗

         (v)    Any agency or branch of a foreign entity located in the United States;
                սҾ㖾ഭຳ޵ⲴཆഭᇎփⲴԓ⨶ᵪᶴᡆ࠶᭟ᵪᶴ˗

         (vi)   Any non-discretionary account or similar account (other than an estate or trust) held by a dealer
                or other fiduciary for the benefit or account of a US Person;
                Ѫ㖾ഭӪ࡙⳺ᡆᑀᡧ㘼ᤱᴹ䶎‫ޘ‬ᵳငᢈ䍖ᡧᡆ㊫լᑀᡧ(䚇ӗᡆؑᢈ䲔ཆ˅Ⲵ㓿䬰୶
                ᡆަԆਇᢈӪ˗

         (vii) Any discretionary account or similar account (other than an estate or trust) held by a dealer or
               other fiduciary organized, incorporated, or (if an individual) resident of the United States; and
               ሩԫօ‫ޘ‬ᵳငᢈⲴ䍖ᡧᡆ㊫լ䍖ᡧ˄нਜ਼ԫօ䍒ӗ䍖ᡧᡆؑᢈ䍖ᡧ˅㘼䀰ˈަᤱᴹ
               Ӫᱟаᇦ൘㖾ഭຳ޵㓴㓷ᡆᡀ・Ⲵ㓿䬰୶ᡆަԆਇᢈӪˈᡆᱟаս㖾ഭት≁˄ሩњ
               Ӫ㘼䀰˅; ԕ৺

         (viii) Any partnership or corporation if (i) organized or incorporated under the laws of any foreign
                jurisdiction and (ii) formed by a US Person principally for the purpose of investing in securities
                not registered under the Securities Act, unless it is organized or incorporated, and owned, by
                accredited investors (as defined in Rule 501(a) of Regulation D promulgated under the Securities
                Act) who are not natural persons, estates or trusts.
                (i) ‫ᦞ׍‬ཆഭ㇑䗆⌅㓴㓷ᡆ⌘޼ᡀ・Ⲵˈф(ii)⭡аս㖾ഭӪᡀ・Ⲵˈѫ㾱ⴞⲴᱟᣅ䍴
                ᵚ‫➗׍‬ǉ䇱ࡨ⌅Ǌ⌘޼Ⲵ䇱ࡨⲴਸՉԱъᡆ‫ޜ‬ਨˈն䈕ਸՉԱъᡆ‫ޜ‬ਨᱟ⭡֌Ѫ䶎
                㠚❦Ӫǃ䍒ӗ㇑⨶ᵪᶴᡆؑᢈᵪᶴⲴਸṬᣅ䍴Ӫ˄ަᇊѹ㿱ǉ䇱ࡨ⌅Ǌ D ᶑֻ
                501(a)ᶑⅮ˅㓴㓷ǃ⌘޼৺ᤱᴹⲴ䲔ཆǄ

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                “United States” means the United States of America, its territories and possessions, any State
                of the United States, and the District of Columbia.
                㖾ഭ”ᤷ㖾࡙ඊਸՇഭǃަ亶൏઼䍒ӗǃ㖾ഭᡰᴹⲴᐎ઼କՖ∄ӊ⢩४Ǆ

     (c) Subscriber, as of the execution date of this Agreement, (i) is not located within the United States, and
         (ii) is not purchasing the Note for the benefit of any US Person.
         ᡚ㠣ᵜॿ䇞ㆮ㖢ѻᰕˈᣅ䍴㘵ˈ(i)ᵜӪᒦн൘㖾ഭຳ޵ˈф(ii)нᱟѪ֯ԫօ“㖾ഭӪ”ਇ⳺㘼
         䍝ҠⲴ“ᵜ⾘”Ǆ

     (d) Subscriber will not resell any Note except in accordance with the provisions of Regulation S (Rule 901
         through 905 and Preliminary Notes thereto), pursuant to a registration under the Securities Act, or
         pursuant to an available exemption from registration; and agrees not to engage in hedging transactions
         with regard to such securities unless in compliance with the Securities Act.
         䲔䶎“ᵜ⾘”ㅖਸ S ᶑֻⲴ㿴ᇊ˄ㅜ 901 ᶑ㠣 905 ᶑ৺ަ䱴⌘˅ˈᐢṩᦞǉ䇱ࡨ⌅Ǌ䘋㹼⌘޼ˈ
         ᡆṩᦞԫօ䘲⭘䉱‫Ⲵ޼⌘ݽ‬㿴ᇊˈ੖ࡉᣅ䍴㘵нᗇ䖜୞“ᵜ⾘”; ᒦ਼᜿н৲о䈕䇱ࡨᴹ‫Ⲵޣ‬ሩ
         ߢӔ᱃ˈնㅖਸǉ䇱ࡨ⌅ǊⲴ㿴ᇊⲴᛵߥ䲔ཆǄ

Subscriber has not acquired the Note as a result of, and will not itself engage in, any “directed selling efforts”
(as defined in Regulation S under the Securities Act) in the United States in respect of the Note which would
include any activities undertaken for the purpose of, or that could reasonably be expected to have the effect of,
conditioning the market in the United States for the resale of any of the Note; provided, however, that the
Subscriber may sell or otherwise dispose of the Note pursuant to registration thereof under the Securities Act
and any applicable state and federal securities laws or under an exemption from such registration requirements.


ᣅ䍴㘵㧧ᗇ“ᵜ⾘”ˈᒦ䶎ഐ“ᵜ⾘”㜭ཏ“ᇊੁ䬰୞”фᣅ䍴㘵ᵜӪሶнՊ䟷ਆԫօ“ᇊੁ䬰୞㹼Ѫ”˄ᇊѹ
㿱ǉ䇱ࡨ⌅Ǌ亱ᐳⲴ S ᶑֻ˅ˈवᤜѪ䗮ᡀ൘㖾ഭᐲ൪ᴹᶑԦ䖜୞ⲴⴞⲴᡆѪ‫׳‬ᡀ“ᵜ⾘”൘㖾ഭᐲ൪
ᴹᶑԦ䖜୞Ⲵਸ⨶亴ᵏˈ㘼䘋㹼Ⲵԫօ⍫ࣘ˗❦㘼ˈ㤕ㅖਸǉ䇱ࡨ⌅Ǌ઼ԫօ䘲⭘Ⲵᐎ઼㚄䛖Ⲵ䇱ࡨ
⌅ᴹ‫“ޣ‬ᵜ⾘“⌘޼Ⲵ㿴ᇊᡆㅖਸ↔㊫䉱‫Ⲵ޼⌘ݽ‬㿴ᇊˈᣅ䍴㘵ਟԕࠪ୞ᡆԕަԆᯩᔿ༴㖞“ᵜ⾘”Ǆ




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                                  PART IV: Covenants and Provisions

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1.    Subscription for the Purchase of a Note. 䇔䍝аԭ“ᵜ⾘”Ǆ

        The undersigned “Investor”, on the terms and conditions herein set forth, hereby irrevocably submits
this subscription agreement (the “Subscription Agreement”) to iCap Equity, LLC, a Delaware limited liability
company (the “Company”), in connection with a private offering by the Company (the “Offering”) to raise
capital of up to $50,000,000 through the sale to Investor as an accredited investor of a Series 3 - Senior
Promissory Note of the Company (the “Note”).

    ԕлㆮ਽Ⲵ“ᣅ䍴㘵”ˈṩᦞ↔ॿ䇞ⲴᶑⅮ઼ᶑԦˈ䉘↔нਟ᫔䬰ൠੁ㢮⧲㦓䍴ᵜᴹ䲀䍓ԫ‫ޜ‬
 ਨˈаᇦ⢩᣹ॾᐎⲴᴹ䲀䍓ԫ‫ޜ‬ਨ˄ԕлㆰ〠“ᵜ‫ޜ‬ਨ”˅ᨀӔᵜǉ䇔䍝ॿ䇞Ǌ˄ԕлㆰ〠“ǉ䇔䍝
 ॿ䇞Ǌ”˅Ǆࡽ䘠“ǉ䇔䍝ॿ䇞Ǌ“޵ᇩᱟ“ᵜ‫ޜ‬ਨ”䙊䗷ੁᤕᴹਸṬᣅ䍴㘵䓛ԭⲴᣅ䍴㘵ਁ㹼“ᵜ‫ޜ‬ਨ
 ”儈㓗ᵜ⾘㌫ࡇй˄ԕлㆰ〠“ᵜ⾘”˅ˈ⿱ए˄ԕлㆰ〠”ਁ୞㾱㓖“˅ᴰ儈 5000 з㖾‫Ⲵݳ‬䍴䠁Ǆ

       The undersigned, intending to be legally bound, hereby subscribes for a Note in the aggregate principal
amount as set forth on Page 1 hereto (the “Subscription Amount”) and, in this regard, Investor agrees to forward
payment in the amount of the Subscription Amount in accordance with the provision selected in Part II, Section
A, above.

   ᤏਇ⌅ᖻ㓖ᶏⲴㆮᆇӪˈ൘↔䇔䍝ᵜॿ䇞ㅜ 1 亥ᡰ䖭Ⲵᵜ䠁ᙫ仍˄ԕлㆰ〠“䇔䍝䠁仍”˅Ⲵ
                     ㅜҼ䜘࠶ A 㢲ᡰ䘹ᤙⲴ㿴ᇊ᭟Ԉ䇔䍝Ⲵ䠁仍Ǆ
 аԭ“ᵜ⾘“ˈᒦф“ᣅ䍴㘵”਼᜿ṩᦞк᮷ㅜ

       Interest will accrue only after the Subscription Agreement, and all agreements relating to the Note,
have been fully executed and accepted by the Company, and the Principal Balance has been delivered and
made available to the Company as indicated by the Company’s financial institution.

   ਚᴹ൘“ᵜ‫ޜ‬ਨ”ᆼ‫ޘ‬ㆮ㖢ᒦ᧕ਇҶ“ǉ䇔䍝ॿ䇞Ǌ”ԕ৺о䈕“ᵜ⾘”ᴹ‫Ⲵޣ‬ᡰᴹॿ䇞ˈᒦф“ᵜ
 ‫ޜ‬ਨ”䠁㶽ᵪᶴᤷ⽪“ᵜ䠁”ᐢ㓿ӔԈᒦᨀ‫׋‬㔉“ᵜ‫ޜ‬ਨ”ѻਾˈ᡽Պᔰ࿻䇑㇇࡙᚟Ǆ

         The undersigned acknowledges that the Company is offering the Notes pursuant to the terms and
provisions of the Offering documented in the Confidential Private Placement Memorandum dated July 1, 2020
(together with all exhibits attached thereto, the “Memorandum”) relating to the Offering. The Company’s private
offering of Notes is being made to “accredited” investors within the meaning of Rule 506(c) of Regulation D
promulgated by the Securities and Exchange Commission under the Securities Act of 1933, as amended (the
“Securities Act”). By signing this Subscription Agreement, Investor acknowledges receipt of the Memorandum
and its Exhibits, including the Note (collectively the “Note Documents”), and agrees that he/she/it has read all
of its provisions and agrees to be bound by such Note Documents. Furthermore Investor represents and warrants
that all information entered in Parts I-IV of this document are correct and Investor agrees to be bound by all
provisions of such sections of this Agreement.
       “ᣅ䍴㘵”䇔਼“ᵜ‫ޜ‬ਨ”ᱟ‫ ᦞ׍‬2020 ᒤ  ᴸ  ᰕਁᐳⲴᵪᇶ⿱ए༷ᘈᖅ˄оᵜ༷ᘈᖅⲴᡰᴹ
 䱴ᖅ઼䱴Ԧ㔏〠“༷ᘈᖅ”˅ⲴᶑⅮо㿴ᇊˈਁ㹼䈕“ᵜ⾘”Ǆ“ᵜ‫ޜ‬ਨ”‫ᦞ׍‬㖾ഭ䇱ࡨӔ᱃ငઈՊ㓿
 1933 ᒤ‫؞‬䇒Ⲵǉ䇱ࡨ⌅Ǌ˄ԕлㆰ〠“ǉ䇱ࡨ⌅Ǌ”˅лⲴ S ᶑֻ亱ᐳⲴ D ᶑㅜ 506˄c˅ᶑⲴ㿴ᇊ
 ˈੁ“ਸṬ”ᣅ䍴㘵䘋㹼“ᵜ⾘”Ⲵ⿱एਁ㹼Ǆ“ǉ䇔䍝ॿ䇞Ǌ”а㓿ㆮ㖢ˈণԓ㺘“ᣅ䍴㘵”⺞䇔ަᐢ᭦
 ࡠ“༷ᘈᖅ”৺ަ䱴ᖅˈवᤜ“ᵜ⾘”˄к䘠ࠐ亩㔏〠“ᵜ⾘᮷Ԧ”˅ˈᒦ਼᜿Ԇ/ྩ/ަᐢ䰵䈫“ᵜ⾘᮷Ԧ



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 ”Ⲵᡰᴹ㿴ᇊˈᒦ਼᜿ਇަ㓖ᶏǄ↔ཆˈ“ᣅ䍴㘵”༠᰾ᒦ‫؍‬䇱൘ᵜ᮷Ԧㅜа㠣ഋ䜘࠶ѝ䗃‫Ⲵޕ‬ᡰᴹ
 ؑ᚟൷↓⺞ˈᒦф“ᣅ䍴㘵”਼᜿ਇᵜ“ॿ䇞”䘉Ӌ䜘࠶ⲴᡰᴹᶑⅮ㓖ᶏǄ


         The undersigned agrees to execute this Subscription Agreement and if by mail, send to the Company.
You as an individual or you on behalf of the subscribing entity are being asked to complete this Subscription
Agreement so that a determination can be made as to whether or not you (it) are qualified to purchase the Note
under applicable federal and state securities laws. Your answers to the questions contained herein must be true
and correct in all respects, and a false representation by you may constitute a violation of law for which a claim
for damages may be made against you. Your answers will be kept strictly confidential; however, by signing this
Subscription Agreement, you will be authorizing the Company to present a completed copy of this Subscription
Agreement to such parties as they may deem appropriate in order to make certain that the offer and sale of the
securities will not result in a violation of the Securities Act or of the securities laws of any state. All questions
must be answered. If the appropriate answer is “None” or “Not Applicable,” please state so. Please print or type
your answers to all questions and attach additional sheets if necessary to complete your answers to any item.
Please initial any corrections.
      ㆮ㖢Ӫ਼᜿ㆮ㖢ᵜ“ǉ䇔䍝ॿ䇞Ǌ”ˈфྲ᷌䙊䗷䛞Ԧሶަਁ䘱㔉“ᵜ‫ޜ‬ਨ”Ǆᛘˈ֌Ѫањњ
 Ӫᡆԓ㺘䇔䍝ᇎփሶ㻛㾱≲ປ߉ᆼᡀᵜ“ǉ䇔䍝ॿ䇞Ǌ”ˈԕ‫ׯ‬ਟԕ⺞ᇊᛘ˄ᆳ˅ᱟ੖ᴹ䍴Ṭṩᦞ
 䘲⭘Ⲵ㚄䛖઼ᐎ䇱ࡨ⌅䍝Ҡ“ᵜ⾘”Ǆᛘሩ↔᮷Ԧवਜ਼Ⲵ䰞仈Ⲵഎㆄ൘ᡰᴹᯩ䶒䜭ᗵ享ᱟⵏᇎǃ↓
 ⺞ⲴǄᛘⲴ㲊‫ٷ‬䱸䘠ਟ㜭䘍৽⌅ᖻˈᒦфഐ↔ᛘਟ㜭Պ㻛㾱≲䎄‫ᦏگ‬ཡǄᛘⲴഎㆄሶѕṬ‫؍‬ᇶ˗
 նᱟˈ䙊䗷ㆮ㖢ᵜ“ǉ䇔䍝ॿ䇞Ǌ”ˈᛘሶᦸᵳ“ᵜ‫ޜ‬ਨ”ੁަ䇔Ѫ䘲ᖃⲴ਴ᯩࠪ⽪ᵜ“ǉ䇔䍝ॿ䇞Ǌ”
 Ⲵᆼᮤ࢟ᵜˈԕ⺞‫؍‬㾱㓖઼ࠪ୞䇱ࡨнՊ䘍৽ǉ䇱ࡨ⌅ǊᡆԫօᐎⲴ䇱ࡨ⌅Ǆᡰᴹ䰞仈䜭ᗵ享㻛
 എㆄǄྲ᷌ㆄṸᱟ“ᰐ”ᡆ“н䘲⭘”ˈ䈧䈤᰾Ǆ䈧ᮤ⌱ൠҖ߉ᡆ䭞‫ޕ‬ᛘሩᡰᴹ䰞仈ⲴㆄṸˈᒦ൘ᗵ
 㾱ᰦ䱴࣐ᴤཊ㓨ᕐԕᆼᡀሩԫօ亩ⴞⲴㆄṸǄ䈧ԕဃ਽俆ᆇ⇽൘ԫօᴤ↓༴ㆮᆇǄ

2. Offer to Purchase. Investor hereby irrevocably offers to purchase the Note and tenders herewith the total
   Subscription Amount as set forth herein. Investor recognizes and agrees that (i) this subscription is
   irrevocable and, if Investor is a natural person, shall survive Investor’s death, disability or other incapacity,
   and (ii) the Company has complete discretion to accept or to reject this Subscription Agreement in its entirety
   and shall have no liability for any rejection of this Subscription Agreement. This Subscription Agreement
   shall be deemed to be accepted by the Company only when it is executed by the Company.

    䇔䍝㾱㓖Ǆ“ᣅ䍴㘵”൘↔нਟ᫔എൠᨀࠪ䍝Ҡ“ᵜ⾘“ᒦᣅḷᵜ᮷ᡰ䘠Ⲵᙫ“䇔䍝䠁仍”Ǆ“ᣅ䍴㘵
    ”␵ᾊᒦ਼᜿ˈ(i) ↔䇔䍝ॿ䇞нਟ᫔䬰ˈф㤕“ᣅ䍴㘵”ᱟ㠚❦Ӫˈণ֯“ᣅ䍴㘵”↫ӑǃࠪ⧠↻⯮
    ᡆަԆཡ㜭Ⲵᛵߥлˈ䈕䇔䍝ӽ❦ᴹ᭸ˈф(ii) “ᵜ‫ޜ‬ਨ”ਟԕަᆼ‫Ⲵޘ‬㠚⭡㻱䟿ᵳˈ‫ޘ‬ᵳߣᇊᆼ
    ‫᧕ޘ‬ਇᡆᤂ㔍ᵜ“ǉ䇔䍝ॿ䇞Ǌ”ˈфн䴰ഐᤂ㔍ᵜ”ǉ䇔䍝ॿ䇞Ǌ“᢯ᣵԫօ䍓ԫǄᵜ“ǉ䇔䍝ॿ
    䇞Ǌ”ᓄ㓿“ᵜ‫ޜ‬ਨ”ㆮ㖢ਾ᡽㜭㻛㿶Ѫᐢ㻛“ᵜ‫ޜ‬ਨ”᧕ਇǄ

3. Effect of Acceptance. Investor hereby acknowledges and agrees that on the Company’s acceptance of this
   Subscription Agreement, it shall become a binding and fully enforceable agreement between the Company
   and the Investor. As a result, upon acceptance by the Company of this Subscription Agreement, Investor will
   become the record and beneficial holder of the Note and the Company will be entitled to receive the purchase
   price of the Note (the Subscription Amount) as specified herein.

    ᧕ਇⲴ᭸࣋Ǆ“ᣅ䍴㘵”᢯䇔ᒦ਼᜿ˈаᰖ㻛“ᵜ‫ޜ‬ਨ”᧕ਇˈ䈕“ǉ䇔䍝ॿ䇞Ǌ”ሶᡀѪ“ᵜ‫ޜ‬ਨ”
    ઼“ᣅ䍴㘵”ѻ䰤ާᴹ㓖ᶏ࣋фਟ㻛ᆼ‫ޘ‬ൠᕪࡦᢗ㹼Ⲵॿ䇞Ǆഐ↔ˈ൘“ᵜ‫ޜ‬ਨ”᧕ਇ䈕“ǉ䇔䍝ॿ
    䇞Ǌ”ਾˈ“ᣅ䍴㘵”ሶᡀѪ䈕“ᵜ⾘“䇠ᖅ൘ṸⲴᤱᴹӪ઼ਇ⳺Ӫˈф“ᵜ‫ޜ‬ਨ”ሶᴹᵳ᭦ਆᵜॿ䇞


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   ᡰ䘠Ⲵ“ᵜ⾘”Ⲵ䍝ҠԧṬ˄↔ᤷ“䇔䍝䠁仍”˅Ǆ

   In determining individual “income,” Investor should add to Investor’s individual taxable adjusted gross
   income (exclusive of any spousal income) any amounts attributable to tax exempt income received, losses
   claimed as a limited partner in any limited partnership, deductions claimed for depletion, contributions to an
   IRA or Keogh retirement plan, alimony payments, and any amount by which income from long-term capital
   gains has been reduced in arriving at adjusted gross income.

     ൘⺞ᇊњӪ“᭦‫”ޕ‬ᰦˈᣅ䍴㘵”ᓄ൘ަњӪ䈳ᮤਾᓄ〾ᙫ᭦‫˄ޕ‬нवᤜԫօ䝽‫ڦ‬᭦‫˅ޕ‬ѝ࣐к
     ԫօᓄ㓣Ⲵ‫〾ݽ‬᭦‫ˈޕ‬൘ԫօᴹ䲀ਸՉԱъѝ֌Ѫᴹ䲀ਸՉӪᡰ༠᰾Ⲵᦏཡˈᣈᦏᢓ䲔ˈሩ
     IRA ᡆ Keogh 䘰Ձ䇑ࡂⲴ‫׋‬Ⅾǃ䎑ޫ䍩ԕ৺Ѫਆᗇ䈳ᮤਾⲴᙫ᭦‫ޕ‬㘼ᢓ䲔Ⲵ䮯ᵏ䍴ᵜ᭦⳺Ⲵ
     ԫօ䠁仍Ǆ

4. Additional Representations and Warranties of Investor. Investor hereby represents and warrants to the
   Company as follows:

   ᣅ䍴㘵Ⲵ㺕‫ݵ‬䱸䘠઼‫؍‬䇱Ǆᣅ䍴㘵䉘↔ੁ“ᵜ‫ޜ‬ਨ”‫ྲࠪڊ‬л䱸䘠઼‫؍‬䇱˖

   (a) Investor has been furnished the Memorandum and, if requested by the Investor, other documents. The
       Investor has carefully read the Memorandum and any such other requested documents. Investor has been
       furnished with all documents and materials relating to the business, finances and operations of the
       Company and information that Investor requested and deemed material to making an informed
       investment decision regarding its purchase of the Note. Investor has been afforded the opportunity to
       review such documents and materials and the information contained therein. Investor has been afforded
       the opportunity to ask questions of the Company and its management. Investor understands that such
       discussions, as well as any written information provided by the Company, were intended to describe the
       aspects of the Company’s business and prospects which the Company believes to be material, but were
       not necessarily a thorough or exhaustive description, and except as expressly set forth in this
       Subscription Agreement, the Company makes no representation or warranty with respect to the
       completeness of such information and makes no representation or warranty of any kind with respect to
       any information provided by any entity other than the Company. Some of such information may include
       projections as to the future performance of the Company, which projections may not be realized, may
       be based on assumptions which may not be correct and may be subject to numerous factors beyond the
       Company’s control. Additionally, Investor understands and represents that he, she or it is purchasing the
       Note notwithstanding the fact that the Company may disclose in the future certain material information
       that the Investor has not received, including the financial results of the Company for their current fiscal
       quarters. Neither such inquiries nor any other due diligence investigations conducted by such Investor
       shall modify, amend or affect such Investor’s right to rely on the Company’s representations and
       warranties, if any, contained in this Subscription Agreement. Investor has sought such accounting, legal
       and tax advice as it has considered necessary to make an informed investment decision with respect to
       its investment in the Note. Investor has full power and authority to make the representations referred to
       herein, to purchase the Note and to execute and deliver this Subscription Agreement.

   ᣅ䍴㘵ᐢ᭦ࡠ“༷ᘈᖅ”৺⴨‫ޣ‬᮷Ԧ઼ᣅ䍴㘵㾱≲ⲴަԆ᮷ԦǄᣅ䍴㘵ᐢԄ㓶䰵䈫“༷ᘈᖅ”৺ԫօ
   ᣅ䍴㘵㾱≲ⲴަԆ᮷ԦǄᣅ䍴㘵ᐢ㧧ᗇᡰᴹо“ᵜ‫ޜ‬ਨ”Ⲵъ࣑ǃ䍒࣑৺㩕䘀ᴹ‫Ⲵޣ‬᮷Ԧ৺䍴ᯉˈ
   ԕ৺ᣅ䍴㘵㾱≲Ⲵަ䇔Ѫሩ֌ࠪᴹ‫ަޣ‬䍝Ҡ“ᵜ⾘“Ⲵ⸕ᛵᣅ䍴ߣᇊާᴹ䟽㾱᜿ѹⲴᶀᯉǄᣅ䍴㘵
   ᐢ㧧ᗇᇑ䰵к䘠᮷Ԧǃᶀᯉ઼ަѝवਜ਼ؑ᚟ⲴᵪՊǄᣅ䍴㘵ᐢ㧧ᗇ䈒䰞䈕‫ޜ‬ਨ৺ަ㇑⨶Ⲵᵪ
   ՊǄᣅ䍴㘵⨶䀓˖↔㊫䇘䇪৺“ᵜ‫ޜ‬ਨ”ᨀ‫Ⲵ׋‬ԫօҖ䶒ؑ᚟ᰘ൘᧿䘠”ᵜ‫ޜ‬ਨ”Ⲵъ઼࣑ަ䇔Ѫ䟽
   㾱Ⲵᯩ䶒ˈ նнаᇊᱟ‫ޘ‬䶒ᡆ䈖ቭⲴ᧿䘠ˈф䲔䶎ᵜ”ǉ䇔䍝ॿ䇞Ǌ”᰾⺞㿴ᇊˈ“ᵜ‫ޜ‬ਨ”н‫؍‬
   䇱к䘠ؑ᚟Ⲵᆼᮤᙗˈҏн‫؍‬䇱“ᵜ‫ޜ‬ਨ”ԕཆⲴԫօᵪᶴᨀ‫Ⲵ׋‬ԫօؑ᚟Ⲵ߶⺞ᙗ઼ᆼᮤᙗǄк

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  䘠䜘࠶ؑ᚟ਟ㜭वᤜሩ“ᵜ‫ޜ‬ਨ”ᵚᶕъ㔙Ⲵ亴⍻ˈ㘼䘉Ӌ亴⍻ਟ㜭ᰐ⌅ᇎ⧠ˈҏਟ㜭สҾаӋн
  ᇎⲴ‫ٷ‬䇮ˈᒦਟ㜭ਇࡠ“ᵜ‫ޜ‬ਨ”ᰐ⌅᧗ࡦⲴՇཊഐ㍐Ⲵᖡ૽Ǆ↔ཆˈᣅ䍴㘵⨶䀓ᒦ䱸䘠ˈԆǃྩ
  ᡆަӽՊ䇔䍝“ᵜ⾘”ˈቭ㇑“ᵜ‫ޜ‬ਨ”ਟ㜭Պ൘ᵚᶕᣛ䵢ᣅ䍴㘵ቊᵚ᭦ࡠⲴḀӋ䟽㾱ؑ᚟ˈवᤜ
  “ᵜ‫ޜ‬ਨ”ᖃࡽ䍒᭯ᆓᓖⲴ䍒࣑ъ㔙Ǆᰐ䇪ᣅ䍴㘵‫Ⲵࠪڊ‬ԫօ䰞䈒ᡆԫօަԆቭ㙼䈳ḕ൷нᗇ᭩
  ਈǃ‫؞‬᭩ᡆᖡ૽䈕ᣅ䍴㘵৲➗“ǉ䇔䍝ॿ䇞Ǌ”वਜ਼Ⲵ“ᵜ‫ޜ‬ਨ”ᡰ֌ࠪⲴ䱸䘠઼‫؍‬䇱Ⲵᵳ࡙˄㤕
  ᴹ˅ǄѪ⺞‫؍‬䘉⅑䇔䍝“ᵜ⾘”ᱟањ⸕ᲃᛵߥⲴᣅ䍴㹼Ѫˈᣅ䍴㘵ᐢ૘䈒Ҷᡰᴹަ䇔Ѫᗵ㾱ⲴՊ
  䇑ǃ⌅ᖻ઼〾࣑ㅹᯩ䶒Ⲵуъᔪ䇞Ǆ“ᣅ䍴㘵”ᤕᴹᆼ‫Ⲵޘ‬ᵳ઼࡙ᵳ䲀‫ࠪڊ‬ቡ䇔䍝“ᵜ⾘”઼ㆮ㖢৺
  ӔԈ“ǉ䇔䍝ॿ䇞Ǌ”Ⲵ㹼Ѫ⴨‫Ⲵޣ‬䱸䘠Ǆ

  (b) Investor has read and understood, and is familiar with, this Subscription Agreement, the Note and the
      business and financial affairs of the Company.

      “ᣅ䍴㘵”ᐢ䰵䈫৺⨶䀓ˈᒦ⟏ᚹ“ǉ䇔䍝ॿ䇞Ǌ”ǃ“ᵜ⾘”৺“ᵜ‫ޜ‬ਨ”Ⲵъ઼࣑䍒࣑⣦ߥǄ

  (c) Investor, either personally, or together with its advisors (other than any securities broker/dealers who
      may receive compensation from the sale of any of the Notes), has such knowledge and experience in
      financial and business matters as to be capable of evaluating the merits and risks of an investment in the
      Note, is able to bear the risks of an investment in the Note and understands the risks of, and other
      considerations relating to, a purchase of a Note, including the matters set forth under the caption “Risk
      Factors” in the Memorandum. The Investor and its advisors have had a reasonable opportunity to ask
      questions of and receive answers from the Company concerning the Note. Investor’s financial condition
      is such that Investor is able to bear the risk of holding the Note that Investor may acquire pursuant to
      this Agreement, for an indefinite period of time, and the risk of loss of Investor’s entire investment in
      the Notes.

      “ᣅ䍴㘵”њӪᡆ൘ަ亮䰞˄䶎ԫօਟ㜭Ӿ䬰୞䈕“ᵜ⾘”ⲴӔ᱃ѝ㧧ᗇᣕ䞜Ⲵ䇱ࡨ㓿㓚/Ӕ᱃
      ୶˅Ⲵॿࣙлˈ൘䍒઼࣑୶࣑ᯩ䶒ᴹ䏣ཏⲴ⸕䇶઼㓿傼ᶕ䇴ՠᣅ䍴“ᵜ⾘”Ⲵ⳺༴઼仾䲙ˈ
      ᒦ㜭ཏ᢯ᣵᣅ䍴Ⲵ仾䲙ˈᒦ⨶䀓䇔䍝“ᵜ⾘”⴨‫Ⲵޣ‬仾䲙઼ަԆ䴰㘳㲁Ⲵഐ㍐ˈवᤜ“༷ᘈ
      ᖅ”ѝ“仾䲙ഐ㍐”а㢲ѝᨀ৺ⲴᛵߥǄ“ᣅ䍴㘵”৺ަ亮䰞ᐢᴹੁ“ᵜ‫ޜ‬ਨ”䈒䰞о“ᵜ⾘”⴨‫ޣ‬
      Ⲵ䰞仈ᒦ㧧ᗇ‫ޣ‬Ҿަഎ༽ⲴᵪՊǄ“ᣅ䍴㘵”Ⲵ䍒࣑⣦ߥ֯ަ㜭ཏ᢯ᣵഐ‫ᦞ׍‬ᵜॿ䇞㧧ᗇⲴ
      “ᵜ⾘”㘼䴰㾱ᰐ䲀ᵏᤱᴹⲴ仾䲙ˈԕ৺ᣅ䍴㘵൘“ᵜ‫ޜ‬ਨ”Ⲵ‫ޘ‬䜘ᣅ䍴仍ҿᦏⲴ仾䲙Ǆ

  (d) Investor has investigated the acquisition of the Note to the extent Investor deemed necessary or desirable
      and the Company has provided Investor with any reasonable assistance Investor has requested in
      connection therewith.

      “ᣅ䍴㘵”ᐢ൘ަ䇔Ѫᗵ㾱ᡆ䴰㾱Ⲵ㤳ത޵ሩ“ᵜ⾘”Ⲵ䍝Ҡһᇌ䘋㹼Ҷ䈳ḕˈф“ᵜ‫ޜ‬ਨ”ᐢ
      Ѫ“ᣅ䍴㘵”ᨀ‫׋‬Ҷ⴨‫ޣ‬ਸ⨶ⲴॿࣙǄ

  (e) The Note is being acquired for Investor’s own account for investment, with no intention by Investor to
      distribute or sell any portion thereof within the meaning of the Securities Act, and will not be transferred
      by Investor in violation of the Securities Act or the then applicable rules or regulations thereunder. No
      one other than Investor has any interest in or any right to acquire the Note. Investor understands and
      acknowledges that the Company will have no obligation to recognize the ownership, beneficial or
      otherwise, of the Note by anyone but Investor.

     “ᣅ䍴㘵”ᱟ䙊䗷㠚ᐡ਽л䍖ᡧ䇔䍝Ⲵ“ᵜ⾘”ˈфӵ֌ᣅ䍴ѻ⭘ˈф“ᣅ䍴㘵”ᰐ᜿᤹➗ǉ䇱ࡨ
     ⌅ǊⲴ㿴ᇊሩ“ᵜ⾘”Ⲵԫօ䜘࠶䘋㹼࠶䝽ᡆࠪ୞ˈф“ᣅ䍴㘵”нՊ䘍৽ǉ䇱ࡨ⌅Ǌᡆަѝ

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     䘲⭘Ⲵ⌅ࡉᡆ⌅㿴䖜䇙“ᵜ⾘”Ǆ䲔“ᣅ䍴㘵”ཆˈަԆԫօӪ൷⋑ᴹԫօᵳ࡙䍝Ҡ“ᵜ⾘”ᡆᡀ
     Ѫ“ᵜ⾘”Ⲵਇ⳺ӪǄ“ᣅ䍴㘵”⨶䀓ᒦ᢯䇔ˈ䲔“ᣅ䍴㘵”ཆˈ䈕‫ޜ‬ਨ⋑ᴹѹ࣑᢯䇔ԫօަԆӪ
     ༛ሩ“ᵜ⾘”Ⲵᡰᴹᵳǃਇ⳺ᵳᡆަԆᵳ࡙Ǆ

  (f) No representations or warranties have been made to Investor by the Company, or any representative of
      the Company, or any securities broker/dealer, other than as set forth in this Subscription Agreement.

      䲔Ҷᵜ“ǉ䇔䍝ॿ䇞Ǌ”ѝᡰ䘠ཆˈ“ᣅ䍴㘵”ᡆԫօަԓ㺘ᡆԫօ䇱ࡨ㓿㓚/Ӕ᱃୶൷ᵚሩ
      “ᣅ䍴㘵”‫ࠪڊ‬ԫօ䱸䘠ᡆ‫؍‬䇱Ǆ

  (g) Investor is aware that Investor’s rights to transfer the Note is restricted by the Securities Act and
      applicable state securities laws, and Investor will not offer for sale, sell or otherwise transfer the Note
      without registration under the Securities Act and qualification under the securities laws of all applicable
      states, unless such sale would be exempt therefrom.

  “ᣅ䍴㘵”⸕ᲃˈ“ᣅ䍴㘵”䖜䇙“ᵜ⾘”Ⲵᵳ࡙ਇࡠǉ䇱ࡨ⌅Ǌ৺䘲⭘Ⲵᐎ䇱ࡨ⌅Ⲵ䲀ࡦˈф䲔䶎
  ᐢ‫ᦞ׍‬ǉ䇱ࡨ⌅Ǌ䘋㹼⌘޼ᡆ‫ᦞ׍‬ᡰᴹ䘲⭘ⲴᐎⲴ䇱ࡨ⌅ᖻ㧧ᗇࠪ୞Ⲵ䍴䍘ᡆ“ᵜ⾘”ਟ‫޼⌘ݽ‬
  ࠪ୞Ⲵᛵߥཆˈ“ᣅ䍴㘵”нՊਁࠪࠪ୞㾱㓖ǃࠪ୞ᡆԕަԆᯩᔿ䖜䇙“ᵜ⾘”Ǆ

  (h) Investor understands and agrees that the Note it acquires has not been registered under the Securities
      Act or any state securities act in reliance on exemptions therefrom and that the Company has no
      obligation to register any of the Notes offered by the Company.

      “ᣅ䍴㘵”⨶䀓ᒦ਼᜿ˈަ䍝ҠⲴ“ᵜ⾘”ṩᦞǉ䇱ࡨ⌅ǊᡆԫօᐎⲴ䇱ࡨ⌅ᖻᴹ‫ޣ‬㿴ᇊ㻛䉱
      ‫ˈ޼⌘ݽ‬ഐ↔䈕“ᵜ⾘“ቊᵚ‫ᦞ׍‬ǉ䇱ࡨ⌅ǊᡆԫօᐎⲴ䇱ࡨ⌅ᖻ䘋㹼⌘޼ˈф“ᵜ‫ޜ‬ਨ”ᰐ
      ѹ࣑ሩަਁ㹼Ⲵк䘠“ᵜ⾘”䘋㹼⌘޼Ǆ

  (i) The Investor has had an opportunity to ask questions of, and receive answers from, representatives of
      the Company concerning the terms and conditions of this investment and all such questions have been
      answered to the full satisfaction of the undersigned. Investor understands that no person other than the
      Company has been authorized to make any representation and if made, such representation may not be
      relied on unless it is made in writing and signed by the Company. The Company has not, however,
      rendered any investment advice to the undersigned with respect to the suitability.

      “ᣅ䍴㘵”ᐢᴹੁ“ᵜ‫ޜ‬ਨ”Ⲵԓ㺘ቡᵜ⅑ᣅ䍴ⲴᶑⅮ઼ᶑԦᨀࠪ⴨‫ޣ‬䰞仈ᒦ㧧ᗇㆄ༽ⲴᵪՊˈ
      фㆮᆇӪᐢ㧧ᗇҶ┑᜿Ⲵㆄ༽Ǆ”ᣅ䍴㘵”⨶䀓ˈ “ᵜ‫ޜ‬ਨ”ᒦᵚᦸᵳԫօ䲔“ᵜ‫ޜ‬ਨ”ཆⲴԫ
      օӪ‫ࠪڊ‬ԫօ䱸䘠Ǆྲᴹ⴨‫ޣ‬䱸䘠ˈ䴰㓿“ᵜ‫ޜ‬ਨ”ㆮ㖢Җ䶒਼᜿ᯩ㜭⭏᭸Ǆնᱟˈ“ᵜ‫ޜ‬
      ਨ”Ӿᵚੁㆮ㖢ᵜॿ䇞Ⲵㆮ㖢Ӫቡᱟ੖䘲ਸᣅ䍴Ⲵ䰞仈ᨀࠪԫօᔪ䇞Ǆ



  (j) Investor understands that the Note shall bear a restrictive legend in substantially the following form (and
      a stop transfer order may be placed against transfer of such certificates):

  “ᣅ䍴㘵”⨶䀓ˈ䈕“ᵜ⾘”ᆈ൘ԕлᇎ䍘ᖒᔿⲴ䲀ࡦ䖜䇙ḷ䇠˄фਟ㜭Պ䪸ሩ䖜䇙“ᵜ⾘”л䗮⾱
  →䖜䇙Ԕ˅˖

      “NEITHER THE ISSUANCE NOR SALE OF THIS SECURITY HAVE BEEN REGISTERED

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       UNDER THE SECURITIES ACT OF 1933, AS AMENDED, OR APPLICABLE STATE
       SECURITIES LAWS. THIS SECURITY MAY NOT BE OFFERED FOR SALE, SOLD,
       TRANSFERRED OR ASSIGNED (I) IN THE ABSENCE OF (A) AN EFFECTIVE
       REGISTRATION STATEMENT FOR THE SECURITY UNDER THE SECURITIES ACT OF
       1933, AS AMENDED, OR (B) AN OPINION OF COUNSEL (WHICH COUNSEL SHALL
       BE SELECTED BY THE HOLDER), IN A GENERALLY ACCEPTABLE FORM, THAT
       REGISTRATION IS NOT REQUIRED UNDER SAID ACT OR (II) UNLESS SOLD
       PURSUANT TO RULE 144 OR RULE 144A UNDER SAID ACT.”

      “ᵜ䇱ࡨⲴ䬰୞ԕ৺ަਁ㹼൷‫ ᦞ׍‬1933 ᒤ亱ᐳⲴǉ㖾ഭ䇱ࡨ⌅Ǌ৺ަ‫؞‬䇒⡸ᡆ䘲⭘ᐎ䇱ࡨ
      ⌅䘋㹼⌘޼Ǆᵜ䇱ࡨ˄I˅н㜭൘⋑ᴹ˄A˅ṩᦞ 1933 ᒤǉ䇱ࡨ⌅Ǌ˄㓿‫؞‬䇒˅Ⲵᴹ᭸䇱ࡨ
      ⲫ䇠༠᰾ˈᡆ˄B˅ᖻᐸ˄⭡ᤱᴹӪ䘹ᤙ˅ԕа㡜ਟ᧕ਇⲴᖒᔿлˈਁ㺘ަ䇔Ѫṩᦞǉ䬰୞
      〾⌅Ǌᵜ䇱ࡨн䴰㾱⌘޼Ⲵ᜿㿱ˈᡆ㘵˄II˅䲔䶎ṩᦞǉ䬰୞⌅Ǌㅜ 144 ᶑᡆㅜ 144A ᶑⲴ
      㿴ᇊ୞ࠪⲴᛵߥл䬰୞ˈࠪ୞ˈ䖜䇙ᡆ࠶䝽Ǆā

The Subscriber hereby acknowledges and agrees to the Company making a notation on its records or
giving instructions to any registrar and transfer agent of the Company in order to implement the
restrictions on transfer set forth and described in this Subscription Agreement.

“ᣅ䍴㘵”᢯䇔ᒦ਼᜿“ᵜ‫ޜ‬ਨ”൘ަ⌘޼䇠ᖅк⌘᰾ᡆੁ“ᵜ‫ޜ‬ਨ”Ⲵԫօ⌘޼ᴽ࣑୶઼䖜䇙ԓ⨶Ӫਁ
ࠪᤷ⽪ˈԕᢗ㹼ᵜ“ǉ䇔䍝ॿ䇞Ǌ”㿴ᇊ৺᧿䘠Ⲵ䖜䇙䲀ࡦǄ

   (k) Investor also acknowledges and agrees to the following “ᣅ䍴㘵”਼ᰦ᢯䇔ᒦ਼᜿ԕл޵ᇩ:

       (i) an investment in the Note is highly speculative and involves a high degree of risk of loss of the entire
           investment in the Notes; and

        ሩ“ᵜ⾘”Ⲵᣅ䍴ާᴹᖸ儈Ⲵᣅᵪᙗˈ㘼ަሩ“ᵜ⾘”Ⲵᣅ䍴ҏᆈ൘ᖸ儈Ⲵᦏཡ‫ޘ‬䜘ᣅ䍴ⅮⲴ
        仾䲙˗ ৺

       (ii) there is no assurance that a public market for the Notes will be available and that, as a result, Investor
            may not be able to liquidate Investor’s investment in the Note should a need arise to do so.

        ᰐ⌅‫؍‬䇱ᰕਾՊᴹਟ‫“׋‬ᵜ⾘”‫ޜ‬ᔰӔ᱃Ⲵᐲ൪ˈഐ↔ˈ“ᵜ⾘”൘“ᣅ䍴㘵”䴰㾱⍱䙊ਈ⧠ᰦ
        ᴹਟ㜭ᰐ⌅⍱䙊ਈ⧠Ǆ

   (l) Investor is not dependent for liquidity on any of the amounts Investor is investing in the Note.

       “ᣅ䍴㘵”ᒦн‫׍‬䎆Ҿަᣅ䍴Ҿ“ᵜ⾘“Ⲵԫօ䠁仍Ⲵ⍱ࣘᙗǄ

   (m) Investor’s address set forth below is his or her correct residence address.

       “ᣅ䍴㘵”൘лᯩᨀ‫Ⲵ׋‬ൠ൰ᱟԆᡆྩ↓⺞Ⲵትտൠ൰Ǆ

   (n) Investor has full power and authority to make the representations referred to herein, to purchase the Note
       and to execute and deliver this Subscription Agreement.

       “ᣅ䍴㘵”ᤕᴹ‫ޘ‬䜘Ⲵᵳ઼࡙ᵳ䲀‫ࠪڊ‬ᵜॿ䇞ᡰ䘠Ⲵ䱸䘠ԕ䇔䍝“ᵜ⾘”઼ㆮ㖢৺ӔԈᵜ“ǉ䇔
       䍝ॿ䇞Ǌ”Ǆ

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   (o) Investor understands that the foregoing representations and warranties are to be relied upon by the
       Company as a basis for the exemptions from registration and qualification of the sale of the Note under
       the federal and state securities laws and for other purposes.

       “ᣅ䍴㘵“⨶䀓ˈ“ᵜ‫ޜ‬ਨ”ሶк䘠䱸䘠৺‫؍‬䇱֌Ѫަ䉱‫ᦞ׍઼޼⌘ݽ‬㚄䛖৺ᐎⲴ䇱ࡨ⌅ᖻ㧧
       ᗇ䬰୞“ᵜ⾘”Ⲵ䍴Ṭ઼ަԆ⭘䙄Ⲵส⹰Ǆ

5. Representations and Warranties Regarding Patriot Act; Anti-Money Laundering; OFAC. The
   Investor should check the Office of Foreign Assets Control (“OFAC”) website at http://www.treas.gov/ofac
   before making the following representations. Investor hereby represents and warrants to the Company as
   follows:

   ǉ⡡ഭ㘵⌅ṸǊǃ৽⍇䫡઼⎧ཆ䍴ӗ᧗ࡦ࣎‫ޜ‬ᇔ⴨‫Ⲵޣ‬䱸䘠઼‫؍‬䇱Ǆ ൘‫ࠪڊ‬л䘠䱸䘠ࡽˈ“ᣅ
   䍴㘵”ᓄ䇯䰞⎧ཆ䍴ӗ᧗ࡦ࣎‫ޜ‬ᇔ˄“OFAC”˅Ⲵ㖁ㄉhttp://www.treas.gov/ofacǄ“ᣅ䍴㘵”䉘↔
   ੁ“ᵜ‫ޜ‬ਨ”‫ࠪڊ‬лࡇ䱸䘠઼‫؍‬䇱˖

   (a) The Investor represents that (i) no part of the funds used by the Investor to acquire the Note or to satisfy
       his/her capital commitment obligations with respect thereto has been, or shall be, directly or indirectly
       derived from, or related to, any activity that may contravene United States federal or state or non-United
       States laws or regulations, including anti-money laundering laws and regulations, and (ii) no capital
       commitment, contribution or payment to the Company by the Investor and no distribution to the Investor
       shall cause the Company to be in violation of any applicable anti-money laundering laws or regulations
       including, without limitation, Title III of the Uniting and Strengthening America by Providing
       Appropriate Tools Required to Intercept and Obstruct Terrorism (USA PATRIOT ACT) Act of 2001
       and the United States Department of the Treasury Office of Foreign Assets Control regulations. The
       Investor acknowledges and agrees that, notwithstanding anything to the contrary contained in the
       Memorandum or any other agreement, to the extent required by any anti-money laundering law or
       regulation, the Company may prohibit capital contributions, restrict distributions or take any other
       reasonably necessary or advisable action with respect to the Note, and the Investor shall have no claim,
       and shall not pursue any claim, against the Company or any other person in connection therewith. U.S.
       federal regulations and executive orders administered by OFAC prohibit, among other things, the
       engagement in transactions with, and the provision of services to, certain foreign countries, territories,
       entities and individuals. The lists of OFAC prohibited countries, territories, persons and entities can be
       found on the OFAC website at http://www.treas.gov/ofac. In addition, the programs administered by
       OFAC (the “OFAC Programs”) prohibit dealing with individuals 2 or entities in certain countries
       regardless of whether such individuals or entities appear on the OFAC lists.

       ᣅ䍴㘵༠᰾˖(i) “ᣅ䍴㘵”⭘Ҿ䇔䍝“ᵜ⾘”ᡆን㹼ަ⴨‫Ⲵޣ‬䍴ᵜᣅ‫ޕ‬ѹ࣑Ⲵԫօ䍴䠁൷ᵚᡆ
       нᗇⴤ᧕ᡆ䰤᧕ᶕ㠚ԫօਟ㜭䘍৽㖾ഭ㚄䛖ᡆᐎᡆ䶎㖾ഭⲴ⌅ᖻᡆ⌅㿴Ⲵ⍫ࣘˈवᤜ৽⍇
       䫡Ⲵ⌅ᖻ઼⌅㿴ˈԕ৺(ii) “ᣅ䍴㘵”ੁ“ᵜ‫ޜ‬ਨ”‫Ⲵࠪڊ‬ԫօ䍴ᵜᣅ‫ޕ‬ǃࠪ䍴ᡆԈⅮԕ৺ੁ
       “ᣅ䍴㘵”᭟ԈⲴᵜ䠁ᡆ࡙᚟൷нᗇ㠤֯“ᵜ‫ޜ‬ਨ”䘍৽ԫօ䘲⭘Ⲵ৽⍇䫡⌅ᖻᡆ⌅㿴ˈवᤜ
       նн䲀Ҿˈ2001ᒤ亱ᐳⲴ֯⭘䘲ᖃѻ᡻⇥䱫→ᡆ䚯‫ ݽ‬ᙆѫѹԕഒ㔃ᒦᕪॆ㖾ഭⲴ⌅ᖻ”
       ˄ǉ㖾ഭ⡡ഭ㘵⌅ṸǊ˅ㅜй䜘࠶઼㖾ഭ䍒᭯䜘⎧ཆ䍴ӗ᧗ࡦ࣎‫ޜ‬ᇔⲴ㿴ᇊǄ“ᣅ䍴㘵”⸕
       ᲃᒦ਼᜿ˈণ֯ᴹ䘍“ǉ༷ᘈᖅǊ”ᡆԫօަԆॿ䇞ѝⲴ㿴ᇊˈն൘ԫօ৽⍇䫡⌅ᖻᡆ⌅㿴
       㾱≲Ⲵ㤳ത޵ˈ“ᵜ‫ޜ‬ਨ”ਟԕ⾱→о䈕“ᵜ⾘”⴨‫ࠪⲴޣ‬䍴ˈ䲀ࡦަ࠶䝽ᡆ䟷ਆԫօަԆо




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           䈕“ᵜ⾘”⴨‫Ⲵޣ‬ਸ⨶фᗵ㾱ᡆᴹ亴㿱ᙗⲴ᧚ᯭˈ㘼ᣅ䍴㘵нᓄфнᗇሩ“ᵜ‫ޜ‬ਨ”ᡆо↔⴨
           ‫Ⲵޣ‬ԫօަԆӪᨀࠪ㍒䎄Ǆ↔ཆˈOFAC㇑⨶Ⲵ㖾ഭ㚄䛖⌅㿴઼㹼᭯ભԔቔަ⾱→оḀӋ
           ഭᇦǃൠ४ǃഒփ઼њӪ䘋㹼Ӕ᱃઼ੁަᨀ‫׋‬ᴽ࣑ǄOFAC⾱→Ⲵഭᇦǃൠ४ǃњӪ઼ഒ
           փⲴ਽অਟԕ൘OFAC㖁ㄉhttp://www.treas.gov/ofacк᢮ࡠǄ↔ཆˈOFAC㇑⨶Ⲵ䇑ࡂ
                                      
           ˄“OFAC䇑ࡂ”˅⾱→оњ࡛ഭᇦⲴњӪ ᡆഒփӗ⭏ъ࣑ˈᰐ䇪䘉ӋњӪᡆഒփᱟ੖ࠪ⧠
           ൘OFAC਽অ䟼Ǆ

       (b) To the best of the Investor’s knowledge, none of: (1) the Investor; (2) any person controlling or
           controlled by the Investor; (3) if the Investor is a privately-held entity, any person having a beneficial
           interest in the Investor; or (4) any person for whom the Investor is acting as agent or nominee in
           connection with this investment is a country, territory, individual or entity named on an OFAC list, or a
           person or entity prohibited under the OFAC Programs. Please be advised that the Company may not
           accept any amounts from a prospective investor if such prospective investor cannot make the
           representation set forth in this paragraph. The Investor agrees to promptly notify the Company should
           the Investor become aware of any change in the information set forth in these representations. The
           Investor understands and acknowledges that, by law, the Company may be obligated to “freeze the
           account” of the Investor, either by prohibiting additional subscriptions from the Investor, declining any
           redemption requests and/or segregating the assets in the account in compliance with governmental
           regulations, and any broker may also be required to report such action and to disclose the Investor’s
           identity to OFAC. The Investor further acknowledges that the Company may, by written notice to the
           Investor, suspend the redemption rights, if any, of the Investor if the Company reasonably deems it
           necessary to do so to comply with anti-money laundering regulations applicable to the Company or any
           Broker or any of the Company’s other service providers. These individuals include specially designated
           nationals, specially designated narcotics traffickers and other parties subject to OFAC sanctions and
           embargo programs.

           ቭ“ᣅ䍴㘵”ᡰ⸕ˈԕлԫօаᯩнᱟ൘OFAC ਽অѝⲴഭᇦǃൠ४ǃњӪᡆᇎփˈᡆ
           OFAC䇑ࡂ⾱→ⲴњӪᡆᇎփ˖(1)“ ᣅ䍴㘵”˗(2) ԫօ᧗ࡦ“ᣅ䍴㘵”ᡆ⭡“ᣅ䍴㘵”᧗ࡦⲴњ
           Ӫ˗(3) 㤕“ᣅ䍴㘵”ᱟаᇦ⿱Ӫ᧗ࡦⲴᇎփˈԫօ൘“ᣅ䍴㘵”ѝᤕᴹ᭦⳺ᵳⲴњӪ˗ᡆ(4)
           ሶ“ᣅ䍴㘵”֌Ѫަᣅ䍴ԓ⨶Ӫǃ਽ѹᤱᴹ㘵ⲴငᢈӪǄ䈧⌘᜿˖㤕▌൘ᣅ䍴㘵ᰐ⌅‫ࠪڊ‬ᵜ
           ⇥ѝ㿴ᇊⲴ༠᰾ᡆ䱸䘠ˈ“ᵜ‫ޜ‬ਨ”ᴹᵳн᧕ਇަԫօᮠ仍Ⲵᣅ䍴ⅮǄ“ᣅ䍴㘵”਼᜿ˈ㤕ᣅ
           䍴㘵⸕ᲃк䘠䱸䘠ѝⲴؑ᚟ਁ⭏ԫօਈॆˈᓄ・ণ੺⸕“ᵜ‫ޜ‬ਨ”Ǆ“ᣅ䍴㘵”⨶䀓ᒦ᢯䇔ˈ
           ṩᦞ⌅ᖻ㿴ᇊˈ“ᵜ‫ޜ‬ਨ”ᴹᵳ“߫㔃‘ᣅ䍴㘵’Ⲵ䍖ᡧ”ˈণ⾱→“ᣅ䍴㘵”㔗㔝䇔䍝ˈᤂ㔍ԫ
           օ‫گ‬䘈䈧≲઼/ᡆ‫ᦞ׍‬᭯ᓌ⌅㿴䳄⿫䍖ᡧѝⲴ䍴ӗˈфԫօ䇱ࡨ㓿㓚Ӫ൷ᴹѹ࣑ੁOFACᣕ
           ੺↔㊫㹼ѪˈᒦੁOFACᣛ䵢“ᣅ䍴㘵”Ⲵ䓛ԭǄ“ᣅ䍴㘵”䘋а↕⸕ᚹˈ 㤕“ᵜ‫ޜ‬ਨ”ਸ⨶ൠ
           䇔Ѫˈ㹼֯ࡽ䘠㹼Ѫᱟ䚥ᆸ䘲⭘Ҿ“ᵜ‫ޜ‬ਨ”ǃԫօ䇱ࡨ㓿㓚ǃ“ᵜ‫ޜ‬ਨ”ⲴԫօަԆᴽ࣑ᨀ
           ‫৽Ⲵ୶׋‬⍇䫡⌅㿴ⲴᶑԦˈࡉ“ᵜ‫ޜ‬ਨ”ਟԕੁᣅ䍴㘵ਁࠪҖ䶒䙊⸕ˈᲲ‫“ڌ‬ᣅ䍴㘵”Ⲵ䘈Ⅾ
           ᵳ࡙˄㤕ᴹ˅Ǆࡽ䘠њӪवᤜ⢩ᇊഭᇦⲴഭ≁ǃ⢩ᇊⲴ∂૱䍙䘀㘵઼ਇOFACࡦ㻱઼⾱䘀
           䇑ࡂ䲀ࡦⲴަԆ਴ᯩǄ
2
    These individuals include specially designated nationals, specially designated narcotics traffickers and other parties
     subject to OFAC sanctions and embargo programs.
     䘉ӋӪ༛वᤜ⢩ᇊഭᇦⲴഭ≁ǃ⢩ᇊⲴ∂૱䍙䘀㘵઼ਇ OFAC ࡦ㻱઼⾱䘀䇑ࡂ䲀ࡦⲴަԆ਴ᯩǄ


       (c) To the best of the Investor’s knowledge, none of: (1) the Investor; (2) any person controlling or
           controlled by the Investor; (3) if the Investor is a privately-held entity, any person having a beneficial
           interest in the Investor; or (4) any person for whom the Investor is acting as agent or nominee in


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           connection with this investment is a senior foreign political figure3, or any immediate family4 member
           or close associate5 of a senior foreign political figure, as such terms are defined in the footnotes below.
           ቡ“ᣅ䍴㘵”ᡰ⸕ˈԕлԫօаᯩ൷нᱟཆഭ儈㓗᭯⋫Ӫ⢙3ˈᡆަԫօⴤ㌫ᇦᓝᡀઈ4ᡆӢᇶՉ
           դ5˄ަᇊѹ㿱лᯩ㝊⌘˅Ǆ˖(1) “ᣅ䍴㘵”˗(2) ԫօ᧗ࡦ“ᣅ䍴㘵”ᡆ⭡“ᣅ䍴㘵”᧗ࡦⲴњӪ˗
           (3) 㤕“ᣅ䍴㘵”ᱟаᇦ⿱Ӫ᧗ࡦⲴഒփˈԫօ൘“ᣅ䍴㘵”ѝᤕᴹ᭦⳺ᵳⲴњӪ˗ᡆ(4) ሶ“ᣅ䍴㘵”
           ֌Ѫަᣅ䍴ԓ⨶Ӫᡆ਽ѹᤱᴹӪⲴငᢈӪǄ

      (d) If the Investor is affiliated with a non-U.S. banking institution (a “Foreign Bank”), or if the Investor
          receives deposits from, makes payments on behalf of, or handles other financial transactions related to
          a Foreign Bank, the Investor represents and warrants to the Company that: (1) the Foreign Bank has a
          fixed address, other than solely an electronic address, in a country in which the Foreign Bank is
          authorized to conduct banking activities; (2) the Foreign Bank maintains operating records related to its
          banking activities; (3) the Foreign Bank is subject to inspection by the banking authority that licensed
          the Foreign Bank to conduct banking activities; and (4) the Foreign Bank does not provide banking
          services to any other Foreign Bank that does not have a physical presence in any country and that is not
          a regulated affiliate.
          ྲ᷌“ᣅ䍴㘵”䱴኎Ҿаᇦ䶎㖾ഭ䬦㹼ᵪᶴ˄ԕлㆰ〠“ཆഭ䬦㹼”˅ˈᡆ㘵㤕“ᣅ䍴㘵”Ӿаᇦཆ
          ഭ䬦㹼᭦ਆᆈⅮǃԓ㺘аᇦ “ཆഭ䬦㹼”᭟ԈⅮ亩ᡆ༴⨶оаᇦ“ཆഭ䬦㹼”ᴹ‫ަⲴޣ‬Ԇ䠁㶽Ӕ᱃ˈ
          ࡉ䈕”ᣅ䍴㘵”ੁ“ᵜ‫ޜ‬ਨ”䱸䘠৺‫؍‬䇱˖(1) 䈕“ཆഭ䬦㹼”൘㻛ᦸᵳӾһ䬦㹼ъ࣑Ⲵഭᇦᤕᴹപᇊ
          ൠ൰ˈ㘼нӵӵᱟ⭥ᆀൠ൰; (2) 䈕“ཆഭ䬦㹼”㔤ᤱ⵰оަ䬦㹼ъ࣑ᴹ‫Ⲵޣ‬㓿㩕䇠ᖅ; (3) 䈕“ཆഭ
          䬦㹼”ਇަ䠁㶽⍫ࣘ⡼➗ਁ᭮ᵪᶴⲴⴁ㇑˗ф(4) 䈕“ཆഭ䬦㹼”нੁ൘ԫօഭᇦ⋑ᴹᇎփᵪᶴⲴ
          “ཆഭ䬦㹼”ᨀ‫׋‬䠁㶽ᴽ࣑фнᱟ㻛ⴁ㇑Ⲵ䱴኎ᵪᶴǄ

      (e) The Investor acknowledges that, to the extent applicable, the Company will seek to comply with the
          Foreign Account Tax Compliance Act provisions of the U.S. Internal Revenue Code and any rules,
          regulations, forms, instructions or other guidance issued in connection therewith (the “FATCA
          Provisions”). In furtherance of these efforts, the Investor agrees to promptly deliver any additional
          documentation or information, and updates thereto as applicable, which the Company may request in
          order to comply with the FATCA Provisions. The Investor acknowledges and agrees that,
          notwithstanding anything to the contrary contained in the Memorandum, any side letter or any other
          agreement, the failure to promptly comply with such requests, or to provide such additional information,
          may result in the withholding of amounts with respect to, or other limitations on, distributions made to
          the Investor and such other reasonably necessary or advisable action by the Company with respect to the
          Note (including, without limitation, required withdrawal), and the Investor shall have no claim, and shall



3
    A “senior foreign political figure” is defined as a senior official in the executive, legislative, administrative, military or
    judicial branches of a foreign government (whether elected or not), a senior official of a major foreign political party, or
    a senior executive of a foreign government-owned corporation. In addition, a “senior foreign political figure” includes
    any corporation, business or other entity that has been formed by, or for the benefit of, a senior foreign political figure.
    “ཆഭ儈㓗᭯⋫Ӫ⢙”㻛ᇊѹѪཆഭ᭯ᓌ˄ᰐ䇪ᱟ੖䘹Ѯӗ⭏˅Ⲵᢗ㹼ǃ・⌅ǃ㹼᭯ˈߋһᡆਨ⌅࠶᭟ᵪᶴѝⲴ儈㓗ᇈઈˈѫ㾱ཆഭ᭯‫Ⲵފ‬儈㓗ᇈઈˈᡆཆഭ᭯ᓌᡰᴹⲴ‫ޜ‬
    ਨⲴ儈㓗㇑⨶ӪઈǄ↔ཆˈ“ཆഭ儈㓗᭯⋫Ӫ⢙”ҏवᤜ⭡儈㓗ཆഭ᭯⋫Ӫ⢙㓴ᡀᡆѪަ䈻࡙Ⲵԫօ‫ޜ‬ਨǃԱъᡆަԆഒփǄ

4
    “Immediate family” of a senior foreign political figure typically includes the figure’s parents, siblings, spouse, children
    and in-laws.
ཆഭ儈㓗᭯⋫Ӫ⢙ⲴĀⴤ㌫Ӣ኎ā䙊ᑨवᤜަ⡦⇽ǃ‫ݴ‬ᕏက࿩ǃ䝽‫ڦ‬ǃᆀྣ઼ါӢǄ

5
    A “close associate” of a senior foreign political figure is a person who is widely and publicly known to maintain an
    unusually close relationship with the senior foreign political figure, and includes a person who is in a position to conduct
    substantial domestic and international financial transactions on behalf of the senior foreign political figure. 
ཆഭ儈㓗᭯⋫Ӫ⢙ⲴĀӢᇶՉդā㌫ᤷᒯѪӪ⸕ǃф‫ޜ‬ᔰо儈㓗ཆഭ᭯⋫Ӫ⢙‫؍‬ᤱᔲᑨᇶ࠷‫ޣ‬㌫ⲴӪ༛ˈवᤜԓ㺘䈕儈㓗ཆഭ᭯⋫Ӫ⢙䘋㹼䟽㾱Ⲵഭ޵઼ഭ䱵䠁㶽Ӕ᱃
   ⲴӪ༛Ǆ



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        not pursue any claim, against the Company or any other person in connection therewith.
        “ᣅ䍴㘵”᢯䇔ˈ൘䘲⭘Ⲵ㤳ത޵ˈ“ᵜ‫ޜ‬ਨ”ሶ䚥ᆸǉ㖾ഭഭ޵〾᭦⌅ǊѝⲴǉ⎧ཆ䍖ᡧ〾᭦ਸ
        㿴⌅ṸǊⲴᶑⅮԕ৺оѻ⴨‫Ⲵޣ‬ԫօ㿴ࡉǃᶑֻǃ㺘Ṭǃᤷ⽪ᡆަԆᤷᕅ˄ ԕлㆰ〠“FATCA
        ᶑⅮ”˅ǄѪҶᇎ㹼䘉Ӌ᧚ᯭˈ“ᣅ䍴㘵”਼᜿ˈ㤕“ᵜ‫ޜ‬ਨ”ѪҶ䚥ᆸFATCA㿴ᇊ㘼㾱≲“ᣅ䍴㘵”
        䝽ਸᨀ‫׋‬ԫօ㺕‫ݵ‬᮷Ԧᡆؑ᚟㾱≲ˈ “ᣅ䍴㘵”ሶՊ৺ᰦᨀ‫׋‬ᒦ൘䴰㾱ᰦ৺ᰦੁ““ᵜ‫ޜ‬ਨ”ᴤᯠ
        ↔㊫᮷Ԧᡆؑ᚟Ǆ“ᣅ䍴㘵”᢯䇔ᒦ਼᜿ˈቭ㇑ਟ㜭о“༷ᘈᖅ”ǃԫօ䱴࠭ᡆԫօަԆॿ䇞ѝ㿴
        ᇊ⴨ᯕˈ㤕ަᵚ㜭৺ᰦ┑䏣“ᵜ‫ޜ‬ਨ”Ѫ䚥ᆸFATCA㿴ᇊ㘼ᨀࠪⲴ㾱≲ǃᡆᨀ‫׋‬㺕‫ؑݵ‬᚟ˈሶՊ
        ሬ㠤“ᵜ‫ޜ‬ਨ”ੁ“ᣅ䍴㘵”‫گ‬䘈ᵜ䠁ᡆ᭟Ԉ࡙᚟ᰦᢓ䲔⴨ᓄⲴ䍩⭘ᡆ䇮㖞ަԆ䲀ࡦˈᡆሬ㠤“ᵜ‫ޜ‬
        ਨ”䟷ਆоᵜॿ䇞亩лⲴ“ᵜ⾘”⴨‫Ⲵޣ‬ਸ⨶ᗵ㾱Ⲵ᧚ᯭ˄वᤜ⋑ᴹ䲀ࡦൠᨀⅮ䈧≲˅Ǆն“ᣅ䍴
        㘵”нᗇഐ↔ሩ“ᵜ‫ޜ‬ਨ”ᡆоަ⴨‫Ⲵޣ‬ԫօަԆӪ༛ᨀࠪԫօ㍒䎄Ǆ


The foregoing representations and warranties are true and accurate as of the date hereof and shall survive such
date. If any of the above representations and warranties shall cease to be true and accurate prior to the acceptance
of this Subscription Agreement, Investor shall give prompt notice of such fact to the Company by telegram, or
facsimile or e-mail, specifying which representations and warranties are not true and accurate and the reasons
therefor.
ᡚ㠣ᵜॿ䇞ㆮ㖢ѻᰕˈк䘠䱸䘠઼‫؍‬䇱൷Ѫⵏᇎ߶⺞ˈᒦфᓄ൘ㆮ㖢ਾ‫׍‬ᰗᴹ᭸Ǆྲ᷌к䘠ԫօ
䱸䘠઼‫؍‬䇱൘“ᵜ‫ޜ‬ਨ”᧕ਇᵜ“ǉ䇔䍝ॿ䇞Ǌ”ѻࡽн޽ⵏᇎ߶⺞ˈࡉ“ᣅ䍴㘵”ᓄ・ণ䙊䗷⭥ᣕǃ
Րⵏᡆ⭥ᆀ䛞Ԧㅹᯩᔿ৺ᰦ䙊⸕“ᵜ‫ޜ‬ਨ”ˈ䈖䘠нⵏᇎᡆн߶⺞Ⲵ䜘࠶ˈᒦ‫ࠪڊ‬䀓䟺Ǆ

6. Indemnification. Investor acknowledges that Investor understands the meaning and legal consequences of
   the representations and warranties made by Investor herein, and that the Company is relying on such
   representations and warranties in making the determination to accept or reject this Subscription Agreement.
   Investor hereby agrees to indemnify and hold harmless the Company and each employee and agent thereof
   from and against any and all losses, damages or liabilities due to or arising out of a breach of any
   representation or warranty of Investor contained in this Subscription Agreement.
   䎄‫گ‬Ǆ“䇔䍝㘵”᢯䇔ަ⨶䀓൘ᵜॿ䇞ѝᡰ֌ࠪⲴ䱸䘠઼‫؍‬䇱Ⲵਜ਼ѹ઼⌅ᖻਾ᷌ˈᒦф“ᵜ‫ޜ‬ਨ”
   ᱟสҾ䘉Ӌ䱸䘠઼‫؍‬䇱‫ࠪڊ‬Ҷ᧕ਇᡆᤂ㔍䈕“ǉ䇔䍝ॿ䇞Ǌ”ⲴߣᇊǄᣅ䍴㘵൘↔਼᜿䎄‫ޜگ‬ਨ
   ৺ަ⇿аս䳷ઈ઼ԓ⨶Ӫˈഐᣅ䍴㘵䘍৽ᵜ“ǉ䇔䍝ॿ䇞Ǌ”㘼䚝ਇⲴԫօ઼ᡰᴹᦏཡˈᒦ֯‫ޜ‬
   ਨ৺ަ⇿аս䳷ઈ઼ԓ⨶Ӫ‫ݽ‬ਇᦏᇣǄ

7. Transferability. Investor agrees not to transfer or assign this Subscription Agreement, or any interest
   herein, and further agrees that the assignment and transferability of the Note acquired pursuant hereto shall
   be made only in accordance with applicable federal and state securities laws.
   ਟ䖜䇙ᙗǄ“䇔䍝㘵”਼᜿н䖜䇙ᡆࠪ䇙ᵜ“ǉ䇔䍝ॿ䇞Ǌ”ᡆަѝⲴԫօᵳ⳺ˈᒦ䘋а↕਼᜿൘
   䖜䇙઼ࠪ䇙ަ㧧ᗇⲴ䈕“ᵜ⾘”ᰦˈሶԕ⴨‫Ⲵޣ‬㚄䛖઼ᐎⲴ䇱ࡨ⌅֌Ѫୟа‫ᦞ׍‬Ǆ

8. Termination of Agreement; Return of Funds. In the event that, for any reason, this Subscription
   Agreement is rejected in its entirety by the Company, this Subscription Agreement shall be null and void
   and of no further force and effect, and no party shall have any rights against any other party hereunder. In
   the event that the Company rejects this Subscription Agreement, the Company shall promptly return or
   cause to be returned to Investor any money tendered hereunder without interest or deduction.
   ᵜॿ䇞Ⲵ㓸→˗䍴䠁䘄䘈Ǆ㤕ഐԫօ৏ഐˈᵜ“ǉ䇔䍝ॿ䇞Ǌ”㻛“ᵜ‫ޜ‬ਨ”‫ޘ‬䜘ᤂ㔍ˈࡉᵜ
   “ǉ䇔䍝ॿ䇞Ǌ”ᰐ᭸ˈᒦн޽ާᴹԫօ᭸࣋ˈфԫօаᯩ൷нᗇᦞ↔ሩਖаᯩӛᴹԫօᵳ࡙Ǆ
   㤕“ᵜ‫ޜ‬ਨ”ᤂ㔍ㆮ㖢ᵜ“ǉ䇔䍝ॿ䇞Ǌ”ˈ“ᵜ‫ޜ‬ਨ”ᓄ৺ᰦੁ“䇔䍝㘵”䘄䘈䇔䍝㘵᭟ԈⲴᡰᴹⅮ
   亩ˈնн䇑࡙᚟ˈӖнᢓ䲔ԫօ䍩⭘Ǆ

9. Notices. All notices or other communications given or made hereunder, or pursuant to the Note, shall be in

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    writing and shall be deemed delivered if (a) mailed by registered or certified mail, return receipt requested,
    postage prepaid, (b) delivered by facsimile or e-mail to Investor at the address set forth below and to the
    Company at investor@icapequity.com, or (c) at such other place as the Company may designate by written
    notice to Investor.

    䙊⸕Ǆ‫ᦞ׍‬ᵜॿ䇞ᡆ“ᵜ⾘”ਁ䘱ᡆਁࠪⲴᡰᴹ䙊⸕ᡆަԆؑ᚟൷ᓄԕҖ䶒ᖒᔿਁࠪˈ ᒦ൘ԕ
    лᛵߥл㻛㿶Ѫ䘱䗮˖(a) 䙊䗷䇔䇱䛞Ԧᡆᤲਧؑ䛞ᇴˈሶ㾱≲ㆮ᭦എᢗфᐢ亴Ԉ䛞䍴ˈ(b) 䙊
    䗷Րⵏᡆ⭥ᆀ䛞Ԧ᤹➗л᮷ᡰ⽪Ⲵൠ൰ਁ䘱㠣“䇔䍝㘵”ˈᡆ᤹➗ᵜॿ䇞ㅜа亥ᡰ⽪Ⲵൠ൰ਁ䘱
    㠣“ᵜ‫ޜ‬ਨ”ˈᡆ(c) ԕ“ᵜ‫ޜ‬ਨ”䙊䗷Җ䶒ᖒᔿᤷᇊᒦ䙊⸕“䇔䍝㘵”ⲴަԆൠ⛩઼ᯩᔿǄ

10. Amendments. Neither this Subscription Agreement nor any term hereof may be changed, waived,
    discharged or terminated except in a writing signed by Investor and the Company.

    ‫؞‬䇒Ǆ䲔ԕҖ䶒ᖒᔿࡇࠪᒦ㓿䇔䍝㘵઼“ᵜ‫ޜ‬ਨ”ㆮ㖢ཆˈᵜ“ǉ䇔䍝ॿ䇞Ǌ“ᡆަԫօᶑⅮ൷н
    ᗇ㻛ᴤ᭩ǃ᭮ᔳǃᓏ䲔ᡆ㓸→Ǆ

11. Governing Law. This Subscription Agreement and all amendments hereto shall be governed by and
    construed in accordance with the laws of the State of Delaware, without application of the conflicts of laws
    provisions thereof.

    䘲⭘⌅ᖻǄᵜ“ǉ䇔䍝ॿ䇞Ǌ”৺ަᡰᴹ‫؞‬䇒ᓄ䚥ᆸ⢩᣹ॾᐎ⌅ᖻⲴ㓖ᶏᒦ᤹ަ䀓䟺ˈ㘼н䘲⭘
    ަԆоѻߢケⲴ⌅ᖻ㿴ᇊǄ

12. Headings. The headings in this Subscription Agreement are for convenience of reference, and shall not by
    themselves determine the meaning of this Subscription Agreement or of any part hereof.

    ḷ仈Ǆᵜ“ǉ䇔䍝ॿ䇞Ǌ”Ⲵḷ仈ӵѪ䰵䈫ᯩ‫ׯ‬㘼䇮ˈḷ仈㠚䓛ᒦн㜭ߣᇊᵜ“ǉ䇔䍝ॿ䇞Ǌ”ᡆ
    ަԫօ䜘࠶Ⲵਜ਼ѹǄ

13. Counterparts. This Subscription Agreement may be executed in any number of counterparts with the same
    force and effect as if all parties had executed the same document. The execution and delivery of a facsimile
    or other electronic transmission of this Subscription Agreement shall constitute delivery of an executed
    original and shall be binding upon the person whose signature appears on the transmitted copy.

    ࢟ᵜǄᵜ“ǉ䇔䍝ॿ䇞Ǌ”ਟԕㆮ㖢ԫ᜿ᮠ䟿Ⲵ࢟ᵜˈնާᴹ⴨਼Ⲵ᭸࣋ˈ᭸᷌ྲ਼ㆮ㖢਼аԭ
    ᮷ԦǄਖཆৼᯩਟԕԕօ⿽ᖒᔿᮠ⸱ᡆ⭥ᆀㆮ㖢ᵜ“ǉ䇔䍝ॿ䇞Ǌ”ǄԕՐⵏᡆަԆ⭥ᆀՐ䘱ᖒ
    ᔿㆮ㖢ᡆ䙂䘱ᵜ“ǉ䇔䍝ॿ䇞Ǌ”Ⲵˈሶ㻛㿶Ѫㅹ਼Ҿ䙂䘱Ҷаԭᐢㆮ㖢Ⲵ৏Ԧˈᐢㆮ㖢Ⲵॿ䇞
    кᡰᴹⲴㆮ㖢㘵൷ਇᵜॿ䇞㓖ᶏǄ

14. Continuing Obligation of Investor to Confirm Investor Status. Upon the request of the Company and for
    as long as the Investor holds the Note or other securities in the Company, the Investor shall confirm
    Investor’s investor status as an “Non-US Person,” as defined by the Securities and Exchange Commission
    at the time of such request. In connection therewith, the Company may at any time deliver to the Investor a
    questionnaire that elicits the necessary information to determine the Investor’s investor status. Upon receipt
    of the questionnaire, the Investor shall: (i) complete it, (ii) execute the signature page therein, and (iii) return
    it to the Company, or its designee, in accordance with the instructions therein, no later than ten (10) days
    after receipt of the questionnaire.

    ᣅ䍴㘵ᤱ㔝⺞䇔ᣅ䍴㘵䓛ԭⲴѹ࣑Ǆ ᓄ“ᵜ‫ޜ‬ਨ“Ⲵ㾱≲ˈਚ㾱䈕”ᣅ䍴㘵“ӽᤱᴹ“ᵜ‫ޜ‬ਨ“Ⲵ”
    ᵜ⾘“ᡆަԆ䇱ࡨˈᣅ䍴㘵ᓄ⺞䇔ᣅ䍴㘵Ѫ”䶎㖾ഭӪ“Ⲵᣅ䍴㘵䓛ԭ˄ᇊѹ㿱ᣅ䍴㘵᭦ࡠ↔㊫
    䈧≲ᰦ㖾ഭ䇱ࡨӔ᱃ငઈՊⲴ㿴ᇊ˅Ǆо↔⴨‫ޣ‬ൠˈ‫ޜ‬ਨਟԕ䲿ᰦੁᣅ䍴㘵ਁ䘱䈳ḕ䰞ধˈ

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  ԕ㧧ਆ⺞ᇊᣅ䍴㘵Ⲵᣅ䍴㘵䓛ԭᡰ䴰Ⲵؑ᚟Ǆ᭦ࡠ䈳ḕ㺘ਾˈᣅ䍴㘵ᓄ൘᭦ࡠ䰞ধⲴॱ˄10˅
  ཙ޵˖˄i ˅ᆼᡀ䈳ḕ㺘ˈ˄ii˅൘ㆮ਽亥ㆮᆇˈᒦф˄iii˅ṩᦞ䈳ḕ㺘ѝⲴᤷ⽪ሶ䈳ḕ㺘䘱䘄
  㠣“ᵜ‫ޜ‬ਨ“ᡆަᤷᇊӪǄ



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 SIGNATURES   THE UNDERSIGNED HAS THE AUTHORITY TO ENTER INTO THIS
 -            SUBSCRIPTION AGREEMENT ON BEHALF OF THE PERSON(S) OR ENTITY
 ㆮ਽         REGISTERED ABOVE.
              ㆮ㖢Ӫާᴹԓ㺘к䘠њӪᡆᇎփㆮ㖢ᵜ䇔䍝ॿ䇞Ⲵᵳ䲀Ǆ
 ALL
 INVESTORS    Executed on ㆮ㖢Ҿ______________ ________________________________
 MUST SIGN
 ᡰᴹᣅ䍴㘵ᗵ
 享ㆮᆇ          X
                                 Signature (Investor, or authorized signatory)
                                       ㆮ਽˄ᣅ䍴㘵ᡆᦸᵳㆮᆇӪ˅
              X
                                 Signature (Investor, or authorized signatory)
                                       ㆮ਽˄ᣅ䍴㘵ᡆᦸᵳㆮᆇӪ˅




                                       ACCEPTANCE
                                          ᧕᭦

                                         iCap Equity, LLC

                                                   By:  iCap Enterprises, Inc.
                                                   ⭡˖iCap Enterprises, Inc.

                                                   Its: Manager
                                                   ަ˖㓿⨶

                                                   By:
                                                   ᧕᭦Ӫㆮᆇ˖______________________________

                                                   Name:
                                                   ᧕᭦Ӫဃ਽˖______________________________

                                                   Title:
                                                   ᧕᭦Ӫ㙼ս˖ ______________________________




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                                            SIGNATURE PAGE
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                                SERIES 3 – SENIOR PROMISSORY NOTE
                                            ㌫ࡇй儈㓗ᵜ⾘



 Loan Amount $_____________________                                      Date : ____________, 202___
 ُ䍧䠁仍˄㖾‫˅ݳ‬                                                            ᰕᵏ



Monthly Interest Payment Election (optional): by initialing below, Holder hereby elects to receive simple
interest, paid monthly, and for this Note to be governed by the provisions of 6HFWLRQ F LL instead of the
provisions of6HFWLRQ F L .

⇿ᴸ᭟Ԉ࡙᚟Ⲵ䘹ᤙ˄䶎ᗵ䘹˅˖㤕ĀᤱᴹӪā൘ԕл⁚㓯༴⭘ဃ਽俆ᆇ⇽ㆮᆇˈࡉĀᤱᴹӪā⢩
↔䘹ᤙ᤹ᴸ᧕ਇঅ࡙ˈᒦ֯↔Āᵜ⾘āਇㅜ ˄F˅˄LL˅㢲㿴ᇊⲴ㓖ᶏˈ㘼䶎ਇㅜ ˄F L 㢲㿴ᇊ
Ⲵ㓖ᶏǄ

                                                            Investor Initials: ______ ______
                                                            ᣅ䍴Ӫԕဃ਽俆ᆇ⇽ㆮᆇ༴

Agreed and accepted:
⭡л䘠ㆮᆇӪ਼᜿ᒦ᧕ਇ˖

HOLDER:
ᤱᴹӪ

Name (Individual Holder or entity Holder) : _________________________________
ဃ਽˄њӪĀᤱᴹ㘵āᡆᇎփĀᤱᴹ㘵ā˅

Signature:      _________________________________
ㆮᆇ

Name:           _________________________________
ဃ਽

Title:          _________________________________
㙼࣑                       (if applicable)
                           ˄ྲ䘲⭘˅




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                                    EXHIBIT B

                                 FORM OF NOTE

                                     (Attached)




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THIS SERIES 3 - SENIOR PROMISSORY NOTE (THIS “NOTE”) HAS NOT BEEN REGISTERED WITH
THE SECURITIES AND EXCHANGE COMMISSION UNDER THE SECURITIES ACT OF 1933, 15
U.S.C.§15b ET SEQ., AS AMENDED (“SECURITIES ACT”), IN RELIANCE UPON ONE (1) OR MORE
EXEMPTIONS FROM THE REGISTRATION REQUIREMENTS OF THE FEDERAL ACT. IN ADDITION,
THE ISSUANCE OF THIS NOTE HAS NOT BEEN QUALIFIED UNDER THE SECURITIES ACT OF
WASHINGTON, OR ANY OTHER STATE SECURITIES LAWS (COLLECTIVELY, THE “STATE ACTS”),
IN RELIANCE UPON ONE OR MORE EXEMPTIONS FROM THE REGISTRATION PROVISIONS OF THE
STATE ACTS. THIS NOTE IS SUBJECT TO RESTRICTIONS ON TRANSFER AS SET FORTH HEREIN.

                                             ICAP EQUITY, LLC

                                 SERIES 3 - SENIOR PROMISSORY NOTE

       Pursuant to the terms and conditions of this Series 3 – Senior Promissory Note (the “Note”) iCap Equity,
LLC, a Delaware limited liability company (the “Company”), for value received, promises to pay to the
undersigned holder (the “Holder”), or the Holder’s permitted assigns, the loan amount set forth on the signature
page hereto (“Loan Amount”) plus interest thereon as set forth herein. The Company and the Holder may be
referred to herein individually as a “Party” and collectively as the “Parties.”

      This Note is issued pursuant to the terms of a Subscription Agreement between the Company and the Holder
(the “Subscription Agreement”) and is subject to the terms thereof.

        The following is a statement of the rights of the Holder and the conditions to which this Note is subject,
to which the Holder, by the acceptance of this Note, agrees:

Section 1.      Definitions. In addition to the other terms defined herein, as used in this Note, the following
capitalized terms have the meanings set forth below unless the context clearly indicates otherwise. All nouns,
pronouns and verbs used in this Note shall be construed as masculine, feminine, neuter, singular or plural,
whichever shall be applicable.

            (a) “Act” means the Securities Act of 1933, 15 U.S.C. § 15b et seq., as amended.

            (b) “Affiliate” of any specified Person means any Person directly or indirectly controlling or
                controlled by, or under direct or indirect common control with such specified Person. For purposes
                of this definition, “control” when used with respect to any specified Person means the power to
                direct the management and policies of such Person, directly or indirectly, whether through the
                ownership of voting securities, by contract or otherwise; and the terms “controlling” and
                “controlled” have meanings correlative to the foregoing.

            (c) “Business Day,” when used with respect to any place of payment or any other particular location
                referred to in this Note , means each Monday, Tuesday, Wednesday, Thursday and Friday which
                is not a day on which banking institutions or trust companies in the City of Seattle are authorized
                or obligated by law or executive order to close.

            (d) “Issue Date” means the date on which (a) this Note and the Subscription Agreement, together with
                all exhibits thereto, have been fully completed and executed by all parties, and (b) Holder has
                delivered the entire Loan Amount to the Company, and such funds become available to the
                Company having cleared the Company’s bank account.

            (e) “Notes” refer to, collectively, each Note issued by the Company pursuant to the Offering (as
                defined in the PPM).


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             (f) “Person” means any individual, corporation, partnership, joint venture, association, joint-stock
                 company, trust, unincorporated organization or government or any agency or political subdivision
                 thereof.

             (g) “PPM” means the Confidential Private Placement Memorandum for Accredited Investors and
                 Non-U.S. Persons of the Company, dated as of July 1, 2020.

Section 2.       Payments and Prepayment.

             (a) Subject to the terms and conditions herein, the Company shall repay to Holder, to the extent not
                 prepaid as set forth herein, the outstanding Loan Amount and all accrued and unpaid interest, on
                 the 36-month anniversary of the Issue Date (the “Original Maturity Date”).

             (b) So long as an Event of Default (as defined below) has not occurred and is continuing, the Company
                 shall have the option to extend the Original Maturity Date for an additional twelve (12) months
                 (such Original Maturity Date if so extended, or the Original Maturity Date if not so extended, the
                 “Maturity Date”). This option may be exercised by the Company at any time prior to the Original
                 Maturity Date as long as a written notice of such election is provided to the Holder no later than
                 30 days prior to the expiration of the Original Maturity Date. If the Company fails to give such
                 notice, this Note will mature upon the expiration of the Original Maturity Date.

             (c) With respect to the payment of interest, the provisions of Section 2(c)(i) shall control in the
                 absence of the Holder making the election, on the signature page hereto, to be governed by the
                 provisions of Section 2(c)(ii), in which event the provisions of Section 2(c)(ii) shall control with
                 respect to the payment of interest.

                    (i) Subject to the other terms and conditions herein, prior to the Maturity Date, interest on
                         the outstanding Loan Amount shall be accrue and shall be compounded monthly and
                         added to the then-outstanding Loan Amount on the last day of each calendar month.

                    (ii) Subject to the other terms and conditions herein, interest hereunder shall be calculated as
                         simple interest, and prior to the Maturity Date the Company will make monthly interest
                         payments to the Holder. Such monthly payments shall include all interest accrued
                         hereunder through the end of the prior calendar month, and shall be due and payable to
                         the Holder on the fifteenth (15th) calendar day of the following month or, if such date is
                         not a Business Day, on the first Business Day thereafter, unless otherwise agreed between
                         Company and Holder.

             (d) At the Maturity Date, or at the time the Company sooner pays off the entire principal balance of
                 the Note, Holder shall be entitled to a one-time payment of 5% of the original Note balance
                 (“Payoff Premium”).

             (e) The Company may choose to prepay part or all of the Note without penalty at any time prior to the
                 Maturity Date. Any such prepayment will be credited first to any accrued and unpaid interest and
                 then to the payment of the outstanding Loan Amount.

Section 3.       Interest.

             (a) This Note shall bear interest at ten percent (10%) per annum, to be calculated, accrued and paid
                 as set forth in Section 2(c)(i) or Section 2(c)(ii), as applicable. Interest computation shall be based
                 upon a 365-day year and calculated in twelve equal monthly installments each year, except for the
                 first and last months of any investment or payment in which case exact interest will be calculated.
                 Interest will accrue on the loan made by the Holder under this Note from the Issue Date. If the
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               Company exercises its right to extend the Maturity Date as set forth in Section 2(b), the outstanding
               Loan Amount will bear simple interest at 11% per annum during the extension period.

           (b) In the event of an Event of Default, the outstanding Loan Amount shall accrue interest at a default
               interest rate of fifteen (15%) percent per annum, simple interest from and after written notice to
               the Company of the Event of Default, until all amounts due hereunder have been paid in full or
               the Event of Default has been cured.

Section 4.    Representations and Warranties of the Company. To induce the Holder to loan monies to the
Company, the Company represents and warrants to the Holder as follows as of the Issue Date:

           (a) Organization and Authority. The Company is a limited liability company, validly existing and
               in good standing under the laws of the State of Delaware, with full power and authority to enter
               into and perform this Note and the other agreements contemplated hereby to which it is now, or
               will be, a party. The Company has all requisite power and authority to, directly or indirectly, own
               its properties, to carry on its business as now conducted, and to enter into and perform its
               obligations under this Note.

           (b) Authorization; Binding Effect. The Company has taken all actions that are necessary to authorize
               the execution, delivery and performance of this Note and the consummation of the transactions
               contemplated hereby. This Note and the other agreements contemplated hereby to which the
               Company is a party constitute the legal and binding obligations of the parties thereto, enforceable
               in accordance with their respective terms, except as such enforceability may be limited by
               applicable bankruptcy, insolvency, moratorium or similar laws affecting creditors’ rights and the
               enforcement of debtors’ obligations generally and by general principles of equity, regardless of
               whether enforcement is pursuant to a proceeding in equity or at law.

           (c) No Bankruptcy or Insolvency. The Company has not filed any voluntary petition in bankruptcy
               or been adjudicated bankrupt or insolvent, filed any petition or answer seeking any reorganization,
               liquidation, dissolution or similar relief under any federal bankruptcy, insolvency, or other debtor
               relief law, or sought or consented to or acquiesced in the appointment of any trustee, receiver,
               conservator or liquidator of all or any substantial part of its properties. No court of competent
               jurisdiction has entered an order, judgment or decree (and the Company knows of no action or
               petition requesting such) approving a petition filed against the Company seeking any
               reorganization, arrangement, composition, readjustment, liquidation, dissolution or similar relief
               under any federal bankruptcy act, or other debtor relief law, and no other liquidator, trustee or
               conservator has been appointed of the Company or of all or any substantial part of its properties.

           (d) Valid Issuance of the Note. This Note, when issued by the Company to the Holder for the
               consideration expressed therein, will be duly and validly issued, and, based in part upon the
               representations of the Holder in this Note, will be issued in compliance with all applicable federal
               and state securities laws.

           (e) Restricted Securities. The Company acknowledges that the Note has not been and will not be
               registered with the Securities and Exchange Commission (“SEC”) under the Act, and covenants
               that the Note will be offered and sold in compliance with an exemption from registration provided
               by (i) Rule 506 of Regulation D of the Act or (ii) Regulation S of the Act.

           (f) Governmental Consents and Notices. No consent, approval or authorization of or designation,
               declaration or filing with any governmental authority on the part of the Company is required in
               connection with the valid execution and delivery of this Note, or the offer, sale or issuance of the
               Note, or the consummation of any other transaction contemplated hereby, except qualification (or
               taking such action as may be necessary to secure an exemption from qualification, if available) of
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               the offer and sale of the Note under applicable state and federal securities laws, which
               qualification, if required, will be accomplished in a timely manner.

           (g) No Litigation. There are no actions, suits or proceedings of any type pending or, to the knowledge
               of the Company, threatened, against the Company, its properties or assets which is likely to if
               adversely determined, individually or in the aggregate, have a material adverse effect on (a) the
               Company’s ability to perform the obligations contemplated under this Note or other agreements
               contemplated hereby or (b) the business, operations, prospects, properties, assets or condition
               (financial or otherwise) of the Company. The Company is not operating under, or subject to, or in
               default with respect to, any order, writ, injunction or decree, including any of the foregoing
               affecting the ability of the Company to enter into this Note or perform its obligations contemplated
               under this Note and other agreements contemplated hereby.

           (h) No Breach; No Default. To the best of the Company’s knowledge, neither the execution, delivery
               or performance of this Note or the other agreements contemplated hereby to which the Company
               is a party, nor the consummation of the transactions contemplated hereby or thereby by the
               Company, (a) materially conflicts with or results in any material breach of, (b) constitutes a
               material default under, or (c) results in a material violation of: (i) any contract, commitment, lease,
               license, note or other instrument, including voting or limited liability company operating
               agreements, to which the Company is a party or by which any of its assets are bound, judgment,
               order, writ or decree or (ii) any provision of the Company’s Certificate of Formation.

           (i) Taxes. The Company has timely filed or will timely file or cause to be timely filed, all material
               tax returns (or extensions) required by applicable law to be filed by it prior to or as of the Issue
               Date, and paid (a) all amounts of taxes shown thereon to be due (including interest and penalties)
               and (b) all other taxes, fees, assessments and other governmental charges (including mortgage
               recording taxes, documentary stamp taxes and intangibles taxes) owing by it, except for such taxes
               (i) which are not yet delinquent or (ii) that are being contested in good faith and by proper
               proceedings, and against which adequate reserves are being maintained in accordance with United
               States generally acceptable accounting procedures.

Section 5.     Representations, Warranties and Notes of the Holder. To induce the Company to accept the
loan from the Holder, the Holder represents and warrants to the Company as of the date of the Issue Date as
follows:

           (a) Purchase Entirely for Own Account. The Note will be acquired for investment for the Holder’s
               own account, not as a nominee or agent, and not with a view to distributing all or any part of the
               Note; the Holder has no present intention of selling, granting any participation in or otherwise
               distributing the Note in a manner contrary to the Act or any applicable state securities law; and
               the Holder does not have any contract, undertaking, agreement or arrangement with any person to
               sell, transfer or grant participations to such person or to any third person with respect to the Note.

           (b) Due Diligence. The Holder has been solely responsible for his, her or its own due diligence
               investigation of the Company and its business, and his, her or its analysis of merits and risks of
               the investment and subscription made pursuant to this Note, and is not relying on anyone else’s
               analysis or investigation of the Company, its business or the merits and risks of the Note other
               than professional advisors employed specifically by the Holder to assist the Holder. In taking any
               action or performing any role relative to arranging the investment being made pursuant to this
               Note, the Holder has acted solely in his, her or its own interest and not in that of any other party,
               and no other party has acted as an agent or fiduciary for the Holder.

           (c) Access to Information; Modification of Offering. The Holder has received and reviewed in its
               entirety the PPM. The Holder has been offered access to full and complete information regarding
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           the Company and has assessed to his, her, or its satisfaction the risks associated with an investment
           in the Note. In particular, the Holder has been given the opportunity to ask questions of, and
           receive answers from, the Company’s officers concerning the terms and conditions of this Note,
           the Note, the PPM, and any other matters pertaining to the Company and an investment in the
           Note and has been given the opportunity to obtain such additional information necessary to verify
           the accuracy of such information. No information has been provided and no representations have
           been made to the Holder which are inconsistent with any information contained in the PPM. The
           Holder acknowledges that the Company may, in its sole discretion and for any reason whatsoever,
           modify, amend, increase or withdraw all or a portion of the Offering. In the event of the foregoing,
           the Company will not have any liability whatsoever to the Holder, except that the Company will
           be obligated to return any moneys transmitted to the Company by the Holder that have not been
           applied by the Company for the purchase of Notes, without interest or deduction.

       (d) Sophistication. The Holder, either alone or with the assistance of his, her or its professional
           advisor, is a sophisticated investor, is able to fend for himself, herself or itself in the transactions
           contemplated by this Note, and has such knowledge and experience in financial and business
           matters that he, she or it is capable of evaluating the merits and risks of acquiring the Note.

       (e) Suitability. The investment in the Note is suitable for the Holder based upon his, her or its
           investment objectives and financial needs, and the Holder has adequate net worth and means for
           providing for his, her or its current financial needs and contingencies and has no need for liquidity
           of investment with respect to the Note. The Holder’s overall commitment to investments that are
           illiquid or not readily marketable is not disproportionate to his, her or its net worth, and investment
           in the Note will not cause such overall commitment to become excessive.

       (f) Professional Advice. The Holder has obtained, or has had the opportunity to obtain, to the extent
           he, she or it deems necessary, his, her or its own professional advice with respect to the risks
           inherent in the investment in the Note, the condition and terms of this Note and the suitability of
           the investment in the Note in light of the Holder’s financial condition and investment needs. The
           Holder is not relying on the Company or any of its directors, officers, employees or agents with
           respect to the legal, tax, economic and related considerations of an investment in the Note, nor is
           the Holder relying on the Company or any of its directors, officers, employees or agents (including
           those of any Affiliates) with respect to the appropriateness of this investment for the Holder.

       (g) Ability to Bear Risk. The Holder understands that the Company has limited prior operating
           history. The Holder recognizes that there is no market for the Notes and none is expected to
           develop; accordingly, his, her or its interest in the Note will be illiquid as well as subject to
           substantial contractual restrictions upon transferability. The Holder is in a financial position to
           purchase and hold the Note and is able to bear the economic risk and withstand a complete loss of
           his, her or its investment in the Note. The Holder agrees to waive any present or future claim
           against the Company, its officers, directors, representatives or Affiliates that the Note was not an
           appropriate investment for the Holder.

       (h) Risk Factors. The Holder recognizes that an investment in the Note is subject to certain risks, the
           occurrence of which might result in a loss of the principal and interest due to the Holder. The
           Holder has carefully reviewed and understands the risk factors set forth in the PPM.

       (i) Restricted Securities. The Holder realizes that (a) neither the Notes nor the offering of the Notes
           have been registered under the Act or applicable state securities laws; (b) that the Notes are
           characterized under the Act as “restricted securities” and, therefore, cannot be sold or transferred
           unless they are subsequently registered under the Act or an exemption from such registration is
           available; (c) the Company is not being registered as an “investment company” as the term
           “investment company” is defined in Section 3(a) of the 1940 Act, and (d) there is presently no
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           public market for the Note and the Holder would most likely not be able to liquidate his, her or its
           investment in the event of an emergency or to pledge the Note as collateral security for loans. The
           Holder’s financial condition is such that it is unlikely that the Holder would need to dispose of
           any of the Note in the foreseeable future. In this connection, the Holder represents that he, she or
           it is familiar with Rule 144 of the Securities Act, as promulgated by the Securities and Exchange
           Commission, as presently in effect, and understands the resale limitations imposed thereby and by
           the Act.

       (j) Further Limitations on Disposition. Without in any way limiting the representations set forth
           above, the Holder further agrees not to make any disposition of all or any portion of the Note
           unless and until there is compliance with the requirements herein, and, if requested by the
           Company, the Holder shall have furnished to the Company a detailed statement of the
           circumstances surrounding the proposed disposition and shall have furnished to the Company an
           opinion of counsel, reasonably satisfactory to the Company, that such disposition will not require
           registration of such Note under the Act and any applicable state Blue Sky laws.

       (k) Age; Residency. The Holder, if an individual, is over 21 years of age and legally competent to
           execute this Note. For purposes of the application of state securities laws, the Holder represents
           that he, she or it is a bona fide resident of, and/or is domiciled in, the state or jurisdiction as set
           forth in the Subscription Agreement.

       (l) Investor Status and Subscription Agreement. Holder hereby confirms and restates the
           representations and warranties as given by the Holder in the Subscription Agreement. The Holder
           is aware that the Company has been and is relying upon the representations and warranties set
           forth in the Subscription Agreement and in is Note, in part, in determining whether the Offering
           will qualify for an exemption from the registration provisions of the Act and applicable state
           securities laws. All of the information which the Holder has furnished the Company here,
           previously or in the documents or instruments contemplated by this Note with respect to the
           Holder’s financial position and business experience is correct and complete as of the date hereof,
           and, if there should be any material change in such information, the Holder will immediately
           furnish the revised and corrected information to the Company. The Holder agrees to indemnify
           and hold harmless the Company and its Affiliates and their respective officers, managers,
           directors, members or employees and their successors and assigns from and against any and all
           losses, damages, liabilities or expenses, including costs and attorneys’ fees incurred by reason of
           any misrepresentation by the Holder or any breach of the Holder’s warranties.

       (m) Tax Identification; Withholding. Under penalties of perjury, the Holder certifies that (a) the
           number listed with the Holder’s name on the signature page to this Note is the Holder’s correct
           social security number or federal tax identification number, (b) the Holder is not subject to back-
           up withholding, either because he, she or it has not been notified that he, she or it is subject to
           back-up withholding as a result of a failure to report all interest and dividends or because the
           Internal Revenue Service has notified the Holder that he, she or it is no longer subject to back-up
           withholding and (c) Holder is not a “foreign person,” “foreign corporation” or a person which is
           not a “United States person” within the meaning of Sections 1441, 1442, 1445 and 1446 of the
           Internal Revenue Code of 1986, as amended. (If the Holder has at any time received notice from
           the Internal Revenue Service that he, she or it is subject to back-up withholding and has not
           subsequently received a notice advising the Holder of the termination of back-up withholding,
           strike clause (b) above).

       (n) No View to Tax Benefits. The Holder is not acquiring the Note with a view toward realizing any
           benefits under United States federal income tax laws, and no representations have been made to



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                 the Holder that any such benefits will be available as a result of the Holder’s acquisition,
                 ownership or disposition of the Note.

             (o) Confidential Information. The Holder understands that the information contained in the PPM
                 and this Note, is confidential and non-public information and agrees that all such information shall
                 be kept in confidence by Holder and used by Holder solely for purposes of determining whether
                 to purchase the Note. In addition, except as required by law, regulation or regulatory process,
                 each Holder shall keep confidential, and shall cause each of its employees, agents, representatives,
                 advisors or consultants to keep confidential all non-public information received by them with
                 respect to the Company and its Affiliates following the Issue Date. The Holder, if an entity,
                 represents and warrants that, as of the Issue Date, none of its beneficial owners are public agencies
                 which are subject to state, federal or foreign laws providing for the possible public disclosure of
                 certain records and information relating to the activities of such public agencies. The Holder agrees
                 to notify the Company in the event such a public agency becomes a beneficial owner of the Holder
                 and agrees to reasonably cooperate with the Company in such event to take steps, including
                 entering into confidentiality agreements that restrict the access of certain of the Holder’s beneficial
                 owners to certain information, to protect information about the Company and its investments from
                 being publicly disclosed by such public agency.

             (p) No General Solicitation. The Holder is unaware of, is in no way relying on, and did not become
                 aware of, the offering of the Note through, or as a result of, any form of general solicitation or
                 general advertising including, without limitation, any article, notice, advertisement or other
                 communication published in any newspaper, magazine or similar media or broadcast over
                 television, radio or Internet and is not subscribing for the Note, and did not become aware of the
                 offering of the Note through, or as a result of, any seminar or meeting to which the Holder was
                 invited, or any solicitation otherwise initiated, by a person not previously known to the Holder in
                 connection with investments in securities generally.

             (q) Representations and Warranties of Organization. If the Holder is a corporation, partnership or
                 other association, trust or similar entity, the Holder hereby represents and warrants to the Company
                 that the Holder is authorized and otherwise duly qualified to acquire the Note, and the individual
                 executing this Note on behalf of the Holder has been duly authorized to do so and to bind the
                 Holder by this Note (if the Holder is an individual who is investing through a revocable trust, an
                 IRA or an account in a self-directed employee benefit plan (a “Self-Directed Entity”), such
                 representation and warranty applies to the Self-Directed Entity, and, for this purpose, the term
                 “Holder” shall be deemed to refer to the Self-Directed Entity).

Section 6.       Covenants.

             (a) Tax Statements. The Company will furnish to Holder as soon as available, and in any event
                 within sixty (60) days after December 31 of each year, all reasonably required tax information
                 applicable to the Holder.

             (b) Use of Proceeds. The proceeds from the sale and issuance of the Notes are expected to be used
                 for the purposes set forth in the PPM, and for the fees, costs and expenses incurred in connection
                 with the Offering. However, the Manager retains sole discretion to determine how such proceeds
                 are ultimately used. Distributions may be made so long as the Company is not in default under the
                 Note obligations.

             (c) Information Rights. For so long as the Holder continues to hold the Note, the Company will
                 make available to the Holder annual financial statements of the Company and such information
                 relative to the Company’s business operations and performance as its management may deem
                 useful or appropriate.
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Section 7.       Defaults and Remedies.

             (a) Events of Default. An “Event of Default” occurs if any of the following occur, regardless of the
                 reason for such Event of Default and whether it shall be voluntary or involuntary or be effected
                 by operation of law or pursuant to any judgment, decree or order of any court or any order, rule or
                 regulation of any administrative or governmental body):

                    (i) the Company defaults in the payment of the Loan Amount or interest on this Note, when
                         the same becomes due and payable and such default continues for a period of thirty (30)
                         Business Days after notice of such default has been delivered to Company by Holder (such
                         period, a “Grace Period”);

                    (ii) the Company fails to observe or perform any covenant or warranty of the Company in this
                         Note (other than a covenant or warranty a default in whose performance or whose breach
                         is specifically dealt with elsewhere in this Section), and such failure continues for a period
                         of thirty (30) calendar days after the Holder has given written notice to the Company
                         specifying such default or breach and requiring it to be remedied and stating that such
                         notice is a “Notice of Default” hereunder;

                    (iii) the Company, pursuant to or within the meaning of any Bankruptcy Law (i) commences
                         a voluntary case, (ii) consents to the entry of an order for relief against it in an involuntary
                         case, (iii) consents to the appointment of a custodian of it for all or substantially all of its
                         property, or (iv) makes a general assignment for the benefit of its creditors; or

                    (iv) a court of competent jurisdiction enters an order or decree under any Bankruptcy Law that
                         (i) is for relief against the Company in an involuntary case, (ii) appoints a custodian of the
                         Company for all or substantially all of its property, or (iii) orders the liquidation of the
                         Company; and the order or decree remains unstayed and in effect for ninety (90)
                         consecutive calendar days.

             (b) The term “Bankruptcy Law” means Title 11, U.S. Code, or any similar federal or state law for the
                 relief of debtors. The term “Custodian” means any receiver, trustee, assignee, liquidator or similar
                 official under any Bankruptcy Law.

             (c) Upon the occurrence of an Event of Default under this Note, and the expiration of any required
                 time periods for notice, cure or other actions, the Holder may declare the Loan Amount to be due
                 and payable. Upon such a declaration, such principal and interest, if any, shall be immediately due
                 and payable. If an Event of Default as set forth in Section 7(a)(iii) or Section 7(a)(iv) occurs,
                 Holder will have the right to enforce the Guaranty Agreement entered into between the Company
                 and iCap Pacific NW Management LLC, pursuant to which iCap Pacific NW Management LLC
                 guaranteed the obligations of the Company hereunder for the benefit of the Holder.

             (d) The occurrence of an Event of Default for one Note in the Offering shall not be deemed an Event
                 of Default for any other Note issued in the Offering.

Section 8.       Transfer of the Note. Holder may not sell, assign or transfer this Note or the Note or any portion
thereof, including, without limitation, the Holder’s rights, title, interests, remedies, powers and/or duties hereunder
or thereunder, as the case may be, without the express written consent of the Company, which consent may be
granted or withheld in the Company’s sole discretion, and without complying with the terms of this Note and any
other requirements set forth by the Company, as well as all applicable federal and state securities laws.




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Section 9.       Waivers. The Company waives presentment for payment, demand, notice of nonpayment, notice
of protest and protest of this Note, and all notices in connection with the delivery, acceptance, or dishonor of this
Note.

Section 10.      Anti-Terrorism Matters. The Holder hereby authorizes the Company to take, without prior
notice to the Holder, such action as the Company determines to be reasonably necessary or advisable to comply,
or to cause the Company to comply, with any anti-terrorism laws, rules, regulations, directives or special measures.
Without limiting the foregoing, the Company may disclose any information concerning the Company or the
undersigned necessary to comply with such laws, rules, regulations, directives or special measures, and the Holder
shall provide the Company, promptly upon request, all information the Company reasonably deems necessary or
advisable to comply with such laws, rules, regulations, directives or special measures.

Section 11.      Survival. The representations and warranties of the Parties shall survive the consummation of the
sale of the Note to Holder hereunder.

Section 12. Oral Agreements. ORAL AGREEMENTS OR ORAL COMMITMENTS TO LOAN
MONEY, EXTEND CREDIT OR TO FORBEAR FROM ENFORCING PAYMENT OF A DEBT ARE
NOT ENFORCEABLE UNDER WASHINGTON LAW.

Section 13.       Deemed Consent.

              (a) Each request for consent, approval or waiver under this Note, for an amendment hereof or other
                  matter, which is sent by the Company, shall be made in writing to the Holder, and shall include
                  all information necessary for Holder to make an informed decision as to whether to agree to such
                  consent, approval, waiver or amendment, and shall include the following in capital, bold and block
                  letters: “FIRST NOTICE – THIS IS A REQUEST FOR CONSENT, APPROVAL OR WAIVER
                  UNDER THAT CERTAIN SERIES 3 - SENIOR PROMISSORY NOTE BETWEEN YOU AS
                  THE HOLDER AND ICAP EQUITY, LLC, OR AN AMENDMENT THEREOF OR OTHER
                  MATTER AS DESCRIBED HEREIN. THE FOLLOWING REQUEST REQUIRES A
                  RESPONSE WITHIN TEN (10) DAYS OF RECEIPT.”

              (b) If the Holder does not approve or reject the proposed matter within ten (10) days of receipt of such
                  notice and all necessary information, via delivery of the same to the Company within such time
                  period, for further distribution to the Company, the Company may request a consent or approval
                  again by delivery of a notice including the following in capital, bold and block letters: “SECOND
                  NOTICE – THIS IS A SECOND AND FINAL REQUEST FOR CONSENT, APPROVAL OR
                  WAIVER UNDER THAT CERTAIN SERIES 3 - SENIOR PROMISSORY NOTE BETWEEN
                  YOU AS THE HOLDER AND ICAP EQUITY, LLC, OR AN AMENDMENT THEREOF OR
                  OTHER MATTER AS DESCRIBED HEREIN. THE FOLLOWING REQUEST REQUIRES A
                  RESPONSE WITHIN TEN (10) DAYS OF RECEIPT.

              (c) If the Holder does not approve or reject the proposed or requested consent, approval, waiver or
                  amendment or other matter within ten (10) days of receipt of such second and final notice, via
                  delivery of the same to the Company within such time period, Holder shall be deemed to have
                  approved, in writing, the proposed consent, approval, waiver or amendment or other matter as set
                  forth in the notice, and the Company may effect the actions set forth therein in reliance on such
                  consent.

Section 14.       Miscellaneous.

              (a) Assignment. The Company may not assign this Note or any of its rights, interests or obligations
                  hereunder without the prior written consent of the Holder, which consent may be granted pursuant
                  to the deemed consent provisions of Section 13. Except as otherwise provided herein, the terms

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           and conditions of this Note shall inure to the benefit of and be binding upon the respective
           successors and permitted assigns of the Parties. Nothing in this Note, express or implied, is
           intended to confer upon any party other than the Parties hereto or their respective successors and
           assigns any rights, remedies, obligations, or liabilities under or by reason of this Note, except as
           expressly provided in this Note.

       (b) Governing Law. This Note shall be governed by and construed under the laws of the State of
           Delaware as applied to agreements among Washington residents, entered into and to be performed
           entirely within the State of Washington, without giving effect to principles of conflicts of law. The
           Parties irrevocably consent to the jurisdiction and venue of and in King County, Washington in
           connection with any action arising from or relating to this Note or the transaction it contemplates.
           In the event of any dispute arising from or relating to this Note, the prevailing party shall be
           entitled to an award of its reasonable attorneys’ fees and costs.

       (c) Waiver of Jury Trial. EACH PARTY, TO THE EXTENT PERMITTED BY LAW,
           KNOWINGLY, VOLUNTARILY, AND INTENTIONALLY WAIVES ITS RIGHT TO A
           TRIAL BY JURY IN ANY ACTION OR OTHER LEGAL PROCEEDING ARISING OUT OF
           OR RELATING TO THIS NOTE AND THE TRANSACTIONS IT CONTEMPLATES. THIS
           WAIVER APPLIES TO ANY ACTION OR LEGAL PROCEEDING, WHETHER SOUNDING
           IN CONTRACT, TORT OR OTHERWISE.

       (d) Titles and Subtitles. The titles and subtitles used in this Note are used for convenience only and
           are not to be considered in construing or interpreting this Note.

       (e) Notices. Subject to Section 13, unless otherwise provided, any notice required or permitted under
           this Note shall be given in writing and shall be deemed effectively delivered (a) upon personal
           delivery to the party to be notified, (b) upon confirmation of receipt by fax by the party to be
           notified if received on or before 5:00 p.m. (local time) on any Business Day or, if received later on
           such day, upon the close of business on the next Business Day, (c) one (1) Business Day after
           deposit with a reputable overnight courier, prepaid for overnight delivery and addressed as set
           forth in (e), (d) three (3) days after deposit with the United States Post Office, postage prepaid,
           registered or certified with return receipt requested (provided that such notice shall be valid if sent
           via such method without receipt by sender of the return receipt being required) and addressed to
           the party to be notified; or (e) via email with return receipt requested (provided that such notice
           shall be valid if sent via such method without receipt by sender of the return receipt being
           required), in each case at the address indicated below, or at such other address as such party
           may designate by ten (10) days’ advance written notice to the other party given in the foregoing
           manner(s).

           If to the Company:

                   iCap Equity, LLC
                   Attn: Investor Relations Department
                   3535 Factoria Blvd SE Ste 500
                   Bellevue, WA 98006
                   Fax: 425-278-9025
                   Email: investor@icapequity.com

           If to Holder, to the physical address and email address for Holder as set forth in
           Subscription Agreement.

       (f) Expenses. Other than as set forth herein or in the Subscription Agreement, each Party shall
           pay its own costs and expenses that it incurs with respect to the negotiation, execution, delivery
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           and performance of this Note, the related agreements and the transactions contemplated herein
           and therein.

       (g) Entire Agreement. This Note, the Subscription Agreement, and the other documents delivered
           pursuant hereto or thereto constitute the full and entire understanding and agreement between the
           Parties with regard to the subjects hereof and thereof.

       (h) Amendments and Waivers. No term of this Note may be amended, nor the observance of any
           term of this Note waived (whether generally or in a particular instance and whether retroactively
           or prospectively), except by the written consent of the Company and the Holder, or pursuant to
           Section 13 above.

       (i) Severability. If one or more provisions of this Note are held to be unenforceable under applicable
           law, such provision shall be excluded from this Note and the balance of the Note shall be
           interpreted as if such provision were so excluded and shall be enforceable in accordance with its
           terms.

       (j) Costs of Collection. If this Note is placed in the hands of an attorney for collection or enforcement
           or is collected or enforced through any legal proceeding or the Holder otherwise takes action to
           collect amounts due under this Note or to enforce the provisions of this Note in accordance with
           the terms of the Note Purchase Note, then the Company shall pay the costs incurred by the Holder
           for such collection, enforcement or action, including, but not limited to, attorneys’ fees and
           disbursements, provided Holder finally prevails on such proceedings.

       (k) Holder as Owner. The Company may deem and treat the holder of record of this Note as the
           absolute owner for all purposes regardless of any notice to the contrary from third parties.

       (l) No Member or Ownership Rights. This Note confers no ownership rights whatsoever in the
           Company, and shall not entitle the Holder to any voting rights, any management rights, any
           ownership rights, any rights to distribution, any statutory rights conferred on members, or any other
           rights as an owner of the Company or to any other rights except the rights stated herein.

       (m) Counterparts. This Note may be executed in two or more counterparts, all of which shall be
           considered one and the same agreement and shall become effective when counterparts have been
           signed by each of the Parties, it being understood that each Party need not sign the same
           counterpart. A facsimile copy or electronic transmission of a signature page to this Note shall be
           deemed to be an original signature page.

                                [Signatures appear on following page]




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                                              SIGNATURE PAGE

                                  SERIES 3 – SENIOR PROMISSORY NOTE




Loan Amount $_____________________                                              Date: ____________, 202___


Monthly Interest Payment Election (optional): by initialing below, Holder hereby elects to receive
simple interest, paid monthly, and for this Note to be governed by the provisions of Section 2(c)(iL) instead
of the provisions of Section 2(c)(i).

                                      Investor Initials: ______       ______

Agreed and accepted:

HOLDER:

Name (Individual Holder or entity Holder):        _________________________________

Signature:      _________________________________

Name:           _________________________________

Title:          _________________________________
                         (if applicable)




In witness whereof, the undersigned has executed this Note as of the Date above.



                                                          iCap Equity, LLC

                                                          By:       iCap Enterprises, Inc.
                                                          Its:      Manager


                                                          By:   ______________________
                                                          Name: ______________________
                                                          Its:  ______________________




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                                    EXHIBIT C

                             GUARANTY AGREEMENT

                                     (Attached)




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                                   GUARANTY AGREEMENT

         This Guaranty (this “Guaranty”) is made and entered into as of July 1, 2020 (the “Effective
 Date”) by iCap Pacific NW Management LLC, a Washington limited liability company
 (“Guarantor”), to and for the benefit of each and of the holders (each, a “Holder”) of promissory
 notes (the “Notes”) issued by iCap Equity, LLC, a Delaware limited liability company and the sole
 member of Guarantor (“Borrower”) pursuant to an offering of up to $50,000,000 of promissory
 notes of Borrower pursuant to Regulation D and Regulation S promulgated under the Securities
 Act of 1933, as amended, commencing on or about the Effective Date (the “Offering”). Defined
 terms used herein without definition shall have the meaning given to them in the Notes.

        WHEREAS, following the execution of this Guaranty, Borrower shall issue certain Notes
 to the Holders, pursuant to a subscription agreement between the Borrower and the applicable
 Holder in connection with the Offering; and

         WHEREAS, Guarantor acknowledges the provisions of the Notes require Guarantor to
 enter into this Agreement and Guarantor is financially interested in Borrower and will receive
 certain benefits as a result of Guarantor’s promises herein as a result of making this Guaranty for
 the benefit of the Holders;

         NOW, THEREFORE, in consideration of the covenants, promises and representations set
 forth herein, and for other good and valuable consideration, the receipt and sufficiency of which is
 hereby acknowledged, and intending to be legally bound hereby, Guarantor agrees as follows:

 1. Guarantor hereby unconditionally, absolutely and irrevocably guarantees the full and timely
    performance of all of the obligations of Borrower under the Notes, including the due and
    punctual payment of the principal and interest of the Note and all money due or that may
    become due under the Notes, whether (a) according to the present terms of any of those
    documents or at any earlier or accelerated date or dates as provided therein, (b) pursuant to any
    extension of time or (c) pursuant to any amendment, modification or replacement of those
    documents hereafter made or granted, and whether Borrower may be liable individually or
    jointly with others, or whether recovery upon such indebtedness may be or hereafter becomes
    unenforceable (collectively, “Obligations”).

 2. Guarantor agrees that settlement of any claim by Holder against Borrower, whether in any
    proceeding or not, and whether voluntarily or involuntarily, will not reduce the amount due
    under this Guaranty except to the extent of the amount actually paid by Borrower or any other
    party and retained by Holder.

 3. During the continuation of an Event of Default with respect to a particular Note at a time when
    this Guaranty is in full force and effect, the Holder of such applicable Note may enforce this
    guaranty against Guarantor, subject to the terms of the applicable Note, but only after
    attempting to collect or exhausting Holder’s efforts to collect from Borrower, in accordance
    with the provisions of the Notes.

 4. Guarantor agrees that its obligation to make payment under the terms of this Guaranty shall
    not be impaired, modified, changed, released or limited in any manner by any impairment,
    modification, change, release, defense or limitation of the liability of Borrower or of a receiver,

                                                Guaranty
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    trustee, debtor-in-possession or estate under any bankruptcy or receivership proceeding. If any
    payment made by Borrower is reclaimed in a bankruptcy or receivership proceeding, Guarantor
    shall pay to the applicable Holder(s) the dollar amount of the amount reclaimed. Guarantor
    further assigns to Holders all rights Guarantor may have in any proceeding under the U.S.
    Bankruptcy Code or any receivership or insolvency proceeding until all indebtedness of
    Borrower to Holders has been paid in full. This assignment includes all rights of Guarantor to
    be paid by Borrower even if those rights have nothing to do with this Guaranty. This
    assignment does not prevent Holder from enforcing Guarantor’s obligations under this
    Guaranty in any way.

 5. Guarantor is now adequately informed of Borrower’s financial condition, and Guarantor agrees
    to keep so informed. Holder need not provide Guarantor with any present or future information
    concerning the financial condition of Borrower or any other guarantor, and changes in
    Borrower’s or Guarantor’s financial condition shall not affect Guarantor’s obligations under
    this Guaranty. Guarantor has not relied on financial information furnished by Holder, nor will
    Guarantor do so in the future.

 6. Guarantor represents and warrants to the Holders as follows:

    (a) The Guarantor is a limited liability company duly organized, validly existing, and in good
        standing under the laws of the State of Delaware and has the limited liability company power
        and is duly authorized under all applicable laws, regulations, ordinances, and orders of
        public authorities to carry on its business in all material respects as it is now being
        conducted. The execution and delivery of this Guaranty does not, and the consummation of
        the transactions contemplated hereby will not, violate any provision of the Guarantor’s
        organizational documents. The Guarantor has taken all action required by law, its
        organizational documents, or otherwise to authorize the execution and delivery of this
        Guaranty.

    (b) The execution of this Guaranty and the consummation of the transactions contemplated by
        this Guaranty will not result in the breach of any term or provision of, constitute a default
        under, or terminate, accelerate or modify the terms of, any indenture, mortgage, deed of
        trust, or other material agreement or instrument to which the Guarantor is a party or to which
        any of its assets, properties or operations are subject.

    (c) This Guaranty and all agreements and other documents executed by the Guarantor in
        connection herewith constitute the valid and binding obligation of the Guarantor,
        enforceable in accordance with its or their terms, except as may be limited by bankruptcy,
        insolvency, moratorium or other similar laws affecting the enforcement of creditors’ rights
        generally and subject to the qualification that the availability of equitable remedies is subject
        to the discretion of the court before which any proceeding therefore may be brought.

    (d) No consent, approval or authorization of any third party or any governmental body or officer
        is required for the valid and lawful execution and delivery of this Guaranty or the valid and
        lawful exercise by Holders of remedies available to them under this Guaranty or applicable
        law.

    (e) Guarantor is fully familiar with all the covenants, terms and conditions of the Notes.
                                                Guaranty
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 7. If an Event of Default occurs hereunder, a Holder shall have all other remedies provided by
    law and as set forth in the Note. Guarantor agrees that (a) this Guaranty shall inure to the
    benefit of and may be enforced by the Holder as set forth in the Notes, and (b) this Guaranty
    shall be binding upon and enforceable against Guarantor and its successors and assigns.

 8. Any notices, communications and waivers under this Agreement shall be in writing and sent in
    accordance with the provisions for notices as set forth in the Notes.

 9. Section 10, Section 12, Section 13 and Section 15 of the Notes are incorporated herein by
    reference and shall apply to this Agreement as though fully set forth herein, provided that any
    reference therein to the “Note” shall be deemed a reference to this Agreement.

 10. This Agreement may be amended by Parent and the Pledgor at any time, without any approval
     of the Holders being required.

         IN WITNESS WHEREOF, the Guarantor has duly executed this Agreement as of the
 Effective Date.


        iCap Pacific NW Management LLC


        By:     ____________
               _______________________
                    C risten
                    Ch
        Name: Chris Christensen
        Title: M
               Manager




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       CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED

   Name: ______________________________

   Memorandum No. ____________________




                          iCap Northwest Opportunity Fund, LLC

                                                  $30,000,000 of

                                 10% Senior Secured Debentures

                                                   _________________



  This Confidential Offering Memorandum (this “Memorandum”) is being furnished in connection with the offer and
  sale (the “Offering”) of up to $30,000,000 of 10% Senior Secured Debentures due 2017 (the “Debentures”) by iCap
  Northwest Opportunity Fund, LLC, a Delaware limited liability company (the “Fund”). Offers will be made only to
  accredited investors, as defined under Rule 501 promulgated under the Securities Act of 1933, as amended (the
  “Securities Act”) on a “best efforts” basis. Debentures will be issued in denominations of at least $100,000. The
  Fund may accept lower denominations at its discretion.

  The aggregate amount of Debentures being offered is up to $30,000,000 (the “Maximum Offering Amount”). The
  Fund reserves the right, in its sole discretion, to increase the Maximum Offering Amount to $50,000,000 to
  accommodate oversubscriptions for the Debentures. The Debentures are being offered on a “Best Efforts” basis,
  which means there is no guarantee that any Debentures will be sold. The Fund may hold closings, in the Fund’s sole
  discretion, as subscriptions for the Debentures are received. The Fund will offer the Debentures as of the date of this
  Memorandum through the earlier of (a) the date on which the Fund closes on the sale of the Maximum Offering
  Amount; (b) such time, if any, as the Fund, in its sole discretion, elects to withdraw or terminate this Offering; or (c)
  December 17, 2015 (the “Offering Period”), unless extended up to ninety (90) days by the Manager.

  The Fund will pay interest on the Debentures at the rate of 10% per annum. Interest will be payable monthly in
  arrears on or before the 15th day of the following month. The Debentures will mature on December 31, 2017.



                       THIS OFFERING INVOLVES CERTAIN RISKS. See “Risks Factors.”

  THE DEBENTURES HAVE NOT BEEN, NOR WILL THEY BE REGISTERED OR QUALIFIED UNDER THE
  SECURITIES ACT. THEY ARE BEING OFFERED AND SOLD IN THE UNITED STATES ONLY TO
  ACCREDITED INVESTORS IN RELIANCE ON RULE 506 OF REGULATION D PROMULGATED UNDER
  THE SECURITIES ACT OR UNDER ANY APPLICABLE STATE SECURITIES LAWS. NEITHER THE
  SECURITIES AND EXCHANGE COMMISSION NOR ANY STATE SECURITIES COMMISSION HAS
  APPROVED OR DISAPPROVED OF THESE SECURITIES OR DETERMINED IF THIS MEMORANDUM IS
  TRUTHFUL OR COMPLETE. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

                                                  __________________

                                         StillPoint Capital, LLC
                                    The date of this Memorandum is April 20, 2015.




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       CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED


  The information contained in this Memorandum is confidential. By acceptance of this Memorandum, each recipient
  agrees (a) not to reproduce or distribute this Memorandum to other persons (except the recipient’s professional
  advisors) without the prior written consent of the Manager; (b) that the recipient and his, her or its professional
  advisors will keep permanently confidential all information contained herein not already in the public domain; and
  (c) that the recipient will use this Memorandum for the sole purpose of evaluating a possible investment in the
  Debentures. Each recipient also agrees to return this Memorandum and any other documents or information furnished
  by the Fund (and any and all copies thereof) to the recipient upon request of the Fund if the recipient declines to
  purchase any Debentures.

  There will be no public market for the Debentures and there is no obligation on the part of the Fund or any person to
  register the Debentures under the Securities Act or any state securities laws.

  This Memorandum includes data and information obtained from independent third party sources. Although the Fund
  does not have any reason to believe that such data and information is not accurate, the Fund did not independently
  verify such data and information and cannot assure the accuracy or completeness of such data and information.
  Prospective investors must rely upon their own investigations and evaluations with respect to making an investment
  in the Debentures being offered hereby.

  Prospective investors will be advised of any material modifications to the terms of the Offering or the Debentures in
  writing prior to any sale of Debentures to the prospective investors.

  Nothing contained in this Memorandum is, or should be relied upon as, a promise or representation as to the Fund’s
  future performance. Prospective investors must rely upon their own examination of the Fund and the terms of the
  Offering, including the merits and risks involved.

  This Memorandum is qualified in its entirety by the Senior Secured Debenture Purchase Agreement attached hereto
  as Exhibit A. The Senior Secured Debenture Purchase Agreement, is hereinafter referred to in this Memorandum as
  the “Debenture Agreement.”

  The Debentures are offered when, as, and if issued, subject to the right of the Manager, in its sole discretion, to cause
  the Fund to approve or reject any subscription in whole or in part and subject to certain other conditions described
  herein. Subscriptions for Debentures can only be made by delivery to the Fund of an executed Debenture Agreement,
  together with the Debenture, in the form attached as Exhibit A to the Debenture Agreement by completing and
  returning the subscription instruction packet (the “Subscription Documents”) attached hereto as Exhibit C.

  This offer may be withdrawn at any time and is specifically made subject to the terms described in this
  Memorandum. The Fund reserves the right to reject any subscription, in whole or in part, for any reason whatsoever
  or to allot to any prospective investor less than the proposed principal amount of a Debenture delivered by the
  prospective investor. Rejected subscriptions will be promptly returned to the subscriber with the amount of the
  rejected subscription funds without interest.

                                                ______________________




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       CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED


                                                      NOTICES

  The following notices apply in certain states where the Debentures, which are referred to below as “securities,” may
  be sold. Compliance with the notice exemption requirements of applicable state securities laws will be undertaken by
  the Fund as needed.

  Notice to Residents of all States:

  THE SECURITIES OFFERED IN THE OFFERING HAVE NOT BEEN REGISTERED UNDER THE
  SECURITIES ACT OR THE SECURITIES LAWS OF ANY STATE OR JURISDICTION AND ARE BEING
  OFFERED AND SOLD IN RELIANCE ON EXEMPTIONS FROM THE REGISTRATION REQUIREMENTS OF
  THE SECURITIES ACT AND OTHER LAWS. THE SECURITIES ARE SUBJECT TO RESTRICTIONS ON
  TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR RESOLD EXCEPT AS
  PERMITTED UNDER THE SECURITIES ACT AND OTHER LAWS PURSUANT TO REGISTRATION OR AN
  EXEMPTION THEREFROM.

  IN MAKING AN INVESTMENT DECISION, INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF
  THE FUND AND THE TERMS OF THE OFFERING, INCLUDING THE MERITS AND RISKS INVOLVED.
  THE SECURITIES HAVE NOT BEEN RECOMMENDED OR APPROVED OR DISAPPROVED BY THE
  SECURITIES AND EXCHANGE COMMISSION OR ANY STATE SECURITIES COMMISSION OR OTHER
  REGULATORY AUTHORITY, NOR HAVE ANY OF THE FOREGOING AUTHORITIES PASSED UPON OR
  ENDORSED THE MERITS OF THE OFFERING OR THE ACCURACY OR ADEQUACY OF THIS
  MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

  THE SECURITIES ACT AND THE SECURITIES LAWS OF CERTAIN JURISDICTIONS GRANT
  PURCHASERS OF SECURITIES SOLD IN VIOLATION OF THE REGISTRATION OR QUALIFICATION
  PROVISIONS OF SUCH LAWS THE RIGHT TO RESCIND THEIR PURCHASE OF SUCH SECURITIES AND
  TO RECEIVE BACK THEIR CONSIDERATION PAID. THE FUND BELIEVES THAT THE OFFERING
  DESCRIBED IN THIS MEMORANDUM IS NOT REQUIRED TO BE REGISTERED OR QUALIFIED. MANY
  OF THESE LAWS GRANTING THE RIGHT OF RESCISSION ALSO PROVIDE THAT SUITS FOR SUCH
  VIOLATIONS MUST BE BROUGHT WITHIN A SPECIFIED TIME, USUALLY ONE YEAR FROM
  DISCOVERY OF FACTS CONSTITUTING SUCH VIOLATION. SHOULD ANY INVESTOR INSTITUTE
  SUCH AN ACTION ON THE THEORY THAT THE OFFERING CONDUCTED AS DESCRIBED HEREIN WAS
  REQUIRED TO BE REGISTERED OR QUALIFIED, THE FUND WILL CONTEND THAT THE CONTENTS OF
  THIS MEMORANDUM CONSTITUTED NOTICE OF THE FACTS CONSTITUTING SUCH VIOLATION.

  YOU SHOULD RELY ONLY ON THE INFORMATION CONTAINED IN THIS MEMORANDUM OR THE
  DOCUMENTS ATTACHED TO THIS MEMORANDUM. NO ONE HAS BEEN AUTHORIZED TO PROVIDE
  YOU WITH ANY INFORMATION THAT IS DIFFERENT. NO PERSON HAS BEEN AUTHORIZED TO GIVE
  ANY INFORMATION OR MAKE ANY REPRESENTATIONS OTHER THAN THOSE CONTAINED IN THIS
  MEMORANDUM AND, IF GIVEN OR MADE, SUCH INFORMATION OR REPRESENTATIONS MUST NOT
  BE RELIED UPON AS HAVING BEEN GIVEN BY THE ISSUER OF THE SECURITIES.

  THIS MEMORANDUM DOES NOT CONSTITUTE AN OFFER OR SOLICITATION BY ANYONE IN ANY
  JURISDICTION IN WHICH SUCH AN OFFER OR SOLICITATION IS NOT AUTHORIZED, OR IN WHICH
  THE PERSON MAKING SUCH AN OFFER IS NOT QUALIFIED TO DO SO, OR TO ANY PERSON TO
  WHOM IT IS UNLAWFUL TO MAKE AN OFFER OR SOLICITATION. IN ADDITION, THIS
  MEMORANDUM CONSTITUTES AN OFFER ONLY IF THE NAME OF AN OFFEREE APPEARS IN THE
  APPROPRIATE SPACE ON THE COVER PAGE AND IS AN OFFER ONLY TO SUCH NAMED OFFEREE.

  NEITHER THE INFORMATION CONTAINED HEREIN, NOR ANY PRIOR, CONTEMPORANEOUS OR
  SUBSEQUENT COMMUNICATION SHOULD BE CONSTRUED BY THE PROSPECTIVE INVESTOR AS
  FINANCIAL, LEGAL OR TAX ADVICE. EACH PROSPECTIVE INVESTOR SHOULD CONSULT HIS, HER
  OR ITS OWN FINANCIAL, LEGAL, AND TAX ADVISORS TO ASCERTAIN THE MERITS AND RISKS OF
  THE OFFERING AND AN INVESTMENT IN THE FUND PRIOR TO SUBSCRIBING TO PURCHASE THE
  SECURITIES.


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  Notice to New York Residents:

  THIS CONFIDENTIAL OFFERING MEMORANDUM HAS NOT BEEN REVIEWED BY THE ATTORNEY
  GENERAL PRIOR TO ITS ISSUANCE AND USE. THE ATTORNEY GENERAL OF THE STATE OF NEW
  YORK HAS NOT PASSED ON OR ENDORSED THE MERITS OF THIS OFFERING. ANY
  REPRESENTATION TO THE CONTRARY IS UNLAWFUL. THIS CONFIDENTIAL OFFERING
  MEMORANDUM DOES NOT CONTAIN AN UNTRUE STATEMENT OF A MATERIAL FACT OR OMIT TO
  STATE A MATERIAL FACT NECESSARY TO MAKE THE STATEMENTS MADE, IN LIGHT OF THE
  CIRCUMSTANCES UNDER WHICH THEY WERE MADE, NOT MISLEADING. IT CONTAINS A FAIR
  SUMMARY OF THE MATERIAL TERMS AND DOCUMENTS PURPORTED TO BE SUMMARIZED HEREIN.

  Notice to Florida Residents:

  THE SECURITIES OFFERED HEREBY WILL BE SOLD TO, AND ACQUIRED BY, INVESTORS IN A
  TRANSACTION EXEMPT UNDER §517.061 OF THE FLORIDA SECURITIES AND INVESTOR
  PROTECTION ACT. THE SECURITIES HAVE NOT BEEN REGISTERED UNDER SAID ACT IN THE STATE
  OF FLORIDA. IN ADDITION, WHERE SALES OF THE SECURITIES ARE MADE TO FIVE (5) OR MORE
  PERSONS IN FLORIDA, EACH FLORIDA PURCHASER SHALL HAVE THE PRIVILEGE OF VOIDING THE
  PURCHASE WITHIN THREE (3) DAYS AFTER THE FIRST TENDER OF CONSIDERATION IS MADE BY
  SUCH PURCHASER TO THE ISSUER OF THE SECURITIES OR AN AGENT OF SUCH ISSUER, OR WITHIN
  THREE (3) DAYS AFTER THE AVAILABILITY OF THAT PRIVILEGE IS COMMUNICATED TO SUCH
  PURCHASER, WHICHEVER OCCURS LATER.

  Notice to New Hampshire Residents:

  NEITHER THE FACT THAT A REGISTRATION STATEMENT OR AN APPLICATION FOR A LICENSE HAS
  BEEN FILED UNDER CHAPTER 421-B OF THE NEW HAMPSHIRE REVISED STATUTES ANNOTATED,
  1955, AS AMENDED, WITH THE STATE OF NEW HAMPSHIRE NOR THE FACT THAT A SECURITY IS
  EFFECTIVELY REGISTERED OR A PERSON IS LICENSED IN THE STATE OF NEW HAMPSHIRE
  CONSTITUTES A FINDING BY THE SECRETARY OF STATE THAT ANY DOCUMENT FILED UNDER
  RSA 421-B IS TRUE, COMPLETE AND NOT MISLEADING. NEITHER ANY SUCH FACT NOR THE FACT
  THAT AN EXEMPTION OR EXCEPTION IS AVAILABLE FOR A SECURITY OR A TRANSACTION MEANS
  THAT THE SECRETARY OF STATE HAS PASSED IN ANY WAY UPON THE MERITS OR
  QUALIFICATIONS OF, OR RECOMMENDED OR GIVEN APPROVAL TO, ANY PERSON, SECURITY OR
  TRANSACTION. IT IS UNLAWFUL TO MAKE, OR CAUSE TO BE MADE, TO ANY PROSPECTIVE
  PURCHASER, CUSTOMER, OR CLIENT ANY REPRESENTATION INCONSISTENT WITH THE
  PROVISIONS OF THIS PARAGRAPH.

  DURING THE COURSE OF THIS OFFERING, EACH PROSPECTIVE INVESTOR MAY OBTAIN
  ADDITIONAL INFORMATION WHICH SUCH PERSON DEEMS TO BE NECESSARY IN CONNECTION
  WITH MAKING AN INVESTMENT DECISION IN ORDER TO VERIFY THE ACCURACY OF THE
  INFORMATION CONTAINED IN THIS MEMORANDUM (TO THE EXTENT THE FUND POSSESSES SUCH
  INFORMATION OR CAN ACQUIRE IT WITHOUT UNREASONABLE EFFORT OR EXPENSE). IN
  CONNECTION WITH SUCH INQUIRY, ANY DOCUMENTS WHICH ANY PROSPECTIVE INVESTOR
  WISHES TO REVIEW WILL BE MADE AVAILABLE FOR INSPECTION AND COPYING OR FURNISHED,
  UPON REQUEST, SUBJECT TO THE PROSPECTIVE INVESTOR’S AGREEMENT TO MAINTAIN SUCH
  INFORMATION IN CONFIDENCE AND TO RETURN THE SAME TO THE FUND IF THE RECIPIENT DOES
  NOT PURCHASE THE SECURITIES OFFERED HEREUNDER. ANY SUCH INQUIRIES OR REQUESTS FOR
  ADDITIONAL INFORMATION OR DOCUMENTS SHOULD BE MADE TO:

                                 ICAP NORTHWEST OPPORTUNITY FUND, LLC
                                         10900 NE 8th Street, Suite 1000
                                              Bellevue, WA 98004

                                        ATTN: CHRIS CHRISTENSEN
                                               (425) 372-7114
                                            FAX: (425) 214-4776
                                         EMAIL: info@icapequity.com
                                                                                            ii
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         CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED


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       CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED


                                       FORWARD-LOOKING STATEMENTS

  This Memorandum and its exhibits may contain statements that constitute forward-looking statements, as defined by
  federal securities laws. Forward- looking statements can be identified by the use of terminology such as “anticipates,”
  “expects,” “intends,” “opportunity,” “plans,” “should,” “predicts,” “potential,” “continue,” “believes,” “seeks,”
  “would,” “may,” “will be,” “likely to become,” “estimates” and variations of these words and similar expressions.
  Forward-looking statements are subject to risks and uncertainties and include statements made regarding events,
  financial trends, future operating-results, financial position, cash flows and other general information concerning
  possible or assumed future results of operations of the Fund or any project. Investors are cautioned that such
  statements are only predictions, forecasts or estimates of what may occur and are not guarantees of future
  performance or of the occurrence of events or other factors used to make such predictions, forecasts or estimates.
  Actual results may differ materially from the results expressed, implied or inferred from the forward-looking
  statements and may be worse due to a variety of factors, including changes in laws, adverse changes in real estate
  prices, adverse changes in interest rates, and adverse changes in the credit and capital markets. These forward-
  looking statements speak only as of the date on which the statements were made and the Fund undertakes no
  obligation to update or revise any forward-looking statements made in this Memorandum or elsewhere as a result of
  new information, future events, future developments or otherwise, except as required by law.

                                                  WHO MAY INVEST

  General

  The Fund intends to sell the Debentures to persons qualifying as “accredited investors” as defined in Regulation D
  under the Securities Act (“Investors”).

  The term “accredited investors” is defined to include, among others, (a) a natural person with a net worth, or joint net
  worth with such purchaser’s spouse, at the time of purchase in excess of $1,000,000 (exclusive of the equity in the
  person’s primary residence); (b) a natural person who had an individual gross income in excess of $200,000 in each
  of the two most recent years or joint income with that person’s spouse in excess of $300,000 in each of those years
  and has a reasonable expectation of reaching the same income level in the current year; or (c) any entity in which all
  of the equity owners are “accredited investors.” Other classes of Investors also qualify as “accredited investors”
  under Regulation D. If you are unsure as to whether you qualify as an accredited investor, you should contact a legal
  advisor of your choice for advice.

  With respect to a prospective Investor wishing to invest in his or her individual capacity, the value of the individual’s
  primary residence should be excluded in determining his or her net worth. In addition, the mortgage or other
  indebtedness secured by the individual’s primary residence to the extent that such indebtedness does not exceed the
  value of the residence need not be considered as a liability. When the indebtedness secured by the primary residency
  exceeds the value of the residence and the lender has other recourse against the individual for payment of the excess
  liability, the excess liability (and only such excess) should be deducted from the individual’s net worth in
  determining net worth.

  Subscription

  To subscribe for the Debentures, you must complete, execute and deliver to the Fund the Subscription Documents
  attached hereto as Exhibit C. The Debenture Agreement requires you to represent, among other things, that you are
  an accredited investor, are acquiring Debentures for your own account for investment and not with a view to resale or
  distribution, and that you are aware that transfer of the Debentures is restricted by the terms of the Debenture
  Agreement and by the absence of a market for the Debentures. The Debenture Agreement also requires you to
  acknowledge that you have received and have had an opportunity to read this Memorandum and are aware of the
  risks associated with an investment in the Debentures.

  THE FUND’S ACCEPTANCE OF YOUR SUBSCRIPTION FOR DEBENTURES DOES NOT CONSTITUTE A
  DETERMINATION BY THE FUND THAT THE INVESTMENT IS SUITABLE FOR YOU. THE FINAL
  DETERMINATION AS TO THE SUITABILITY OF AN INVESTMENT IN THE DEBENTURES FOR YOU
  MUST BE MADE BY YOU AND YOUR ADVISORS.



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                                           SUMMARY OF THE OFFERING

  The following summarizes a number of the material provisions of the Offering and certain provisions of the
  Debenture Agreement and is qualified in its entirety by the full text of the Debenture Agreement and exhibits
  attached thereto. Capitalized terms used in this Summary not separately defined herein have the meanings assigned to
  such terms in the Debenture Agreement. No person will be permitted to invest in the Fund unless such person has
  received and reviewed the Debenture Agreement, this Memorandum and other offering-related documents. This
  summary does not constitute an offer to sell, or the solicitation of an offer to buy, the securities referenced herein,
  and any such offer will be made only to selected persons pursuant to the offering documents prepared and delivered
  by the Fund.

                                                  General Information

  Fund                             iCap Northwest Opportunity Fund, LLC, a Delaware limited liability company.

  Manager                          iCap Pacific NW Management, LLC, a Washington limited liability company (the
                                   “Manager”).

  Agreement                        The Fund’s affairs will be governed by the terms of the Debenture Agreement and
                                   by the Fund’s Limited Liability Company Agreement dated as of April 20, 2015, as
                                   may be amended from time to time (the “LLC Agreement”) attached hereto as
                                   Exhibit B.

  Business Purpose                 The primary purpose of the Fund is to invest in real estate projects in the Pacific
                                   Northwest (“Project Entities”), which will be held in a limited liability company
                                   specifically formed for each investment. The Fund’s business model is designed to
                                   fill the funding gap between lenders, on the one hand, and developers or builders on
                                   the other hand (referred to as “Project Partners”), although the Fund may also
                                   invest in projects without a Project Partner and may effectively act as the developer
                                   of the project (“Fund Project”), within certain limits prescribed herein. The Fund
                                   may issue debt instruments to Project Entities, acquire an equity interest in Project
                                   Entities, acquire Project Entities directly for development of Fund Projects or
                                   acquire real estate investments held by Affiliates of the Fund or of the Manager.
                                   These activities are referred to in this Memorandum as “Investments.” We
                                   anticipate these opportunities to be available to the Fund based on its Affiliates’
                                   relationships with members of the real estate and banking communities in the
                                   Pacific Northwest.

  Target Investments               The Fund intends to initially seek Investments in the greater Puget Sound region;
                                   however, Investment opportunities in other parts of the Pacific Northwest, including
                                   Oregon, will also be sought and considered. We anticipate Investments being made
                                   in Project Entities holding the following types of real estate:
                                       x   Single and multi-unit residential properties;
                                       x   Multi-family residential projects;
                                       x   Commercial properties; and
                                       x   Land acquired for entitlement purposes.

  Investment Time Frame            The Fund plans to hold each Investment for 12 months on average and no longer
                                   than 24 months. The Fund does not anticipate entering into Investments whose term
                                   would extend beyond the Maturity Date.

  Limitations on Investment        The Fund will not make any single Investment that exceeds 10% of the aggregate
                                   principal balances of the outstanding Debentures (the “Gross Offering Proceeds”)
                                   as of the closing date of such Investment; however, once Gross Offering Proceeds
                                   equal at least $3,000,000 the Fund may make a single investment equal to the
                                   greater of 10% of the aggregate principal balances of the outstanding Debentures, or



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                             $1,500,000. In addition, no more than 15% of the Gross Offering Proceeds will be
                             invested in Fund Projects in the aggregate in which there is no Project Partner.

                                           Terms of the Offering
  Offering Size              Up to $30,000,000 may be raised through the sale of Debentures, with an option by
                             the Manager to increase the Offering size to $50,000,000.

  Minimum Investment         An investment of at least $100,000, unless a smaller investment is permitted by the
                             Manager in its discretion.

  Period of Offering         Debentures may be offered by the Fund through December 17, 2015, but such date
                             may be extended for up to ninety (90) days by the Manager in its discretion.

  Eligible Investors         Offering limited to persons qualifying as “accredited investors” under Regulation D
                             of the Securities Act.

  No Minimum Offering        The Fund may hold an initial closing upon receipt of any amount of debenture
  Amount                     proceeds.

                                      Economic Terms of Investment
  Maturity Date              The Fund shall pay back the principal balances of the Debentures to Investors on or
                             before December 31, 2017, subject to a one (1) year extension period available to
                             the Fund (the “Maturity Date”). The Fund may prepay all or part of the Debentures
                             without penalty at any time prior to the Maturity Date. The date of any prepayment
                             in full, shall be referred to as the “Prepayment Date.”

  Interest Payment           An Investor is entitled to receive a 10%, per annum simple interest rate on the
                             outstanding principal balance of his, her or its Debenture, paid monthly in arrears on
                             or before the 15th day of the following month. If the Fund exercises its right to
                             extend the Maturity Date, an Investor will be entitled to receive an 11% per annum
                             simple interest rate on the outstanding principal balance of his, her or its Debenture
                             during the extension period.

  Payoff Premium             Subsequent to the Fund’s complete satisfaction of its obligations under the
                             Debentures, Investors are entitled to a Payoff Premium equal to each Investor’s pro
                             rata share of 35% of the Net Profits generated by the Fund. See “SUMMARY OF
                             THE DEBENTURE AGREEMENT—Payoff Premium.”

  Secured Debentures         The Debentures are secured by all of the assets of the Fund, a pledge of the
                             Manager’s interest in the Fund, and by a pledge of the Project Partner’s membership
                             interest in the Project Entity. The Fund’s assets include the rights and collateral
                             granted to the Fund in connection with each individual Investment, including the
                             following:

                                 x A first position or, where allowed under senior debt instruments, a second
                                   position deed of trust (i.e., mortgage) in the real estate owned by or
                                   thereafter owned by the Project Entities;
                                 x A secured interest in the Project Partner’s membership interest in the Project
                                   Entity; and
                                 x The Fund’s right to assume control of the Project Entity and the project
                                   owned by it in the event of a failure by the Project Partner or Project Entity
                                   to meet applicable project milestones or requirements.

  Seniority of Debentures    Unless otherwise approved by Holders holding a majority of the principal amount of
                             the outstanding Debentures, the Debentures will rank senior to all of the Fund’s
                             future indebtedness, including any class of debt security that the Fund may issue;
                             provided, however, that the Fund may obtain a senior ranking credit facility to be



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                                used for, among other things, working capital purposes or loans to Project Entities in
                                an amount not to exceed 15% of the Fund’s Gross Offering Proceeds (“Credit
                                Facility”).

                                Related Party Transactions and Investor Reports

  Compensation and Fees to      The Fund will pay to the Manager an annual management fee (“Management Fee”)
  Manager and Affiliates        equal to 1.85% of the outstanding aggregate principal balances of each Debenture.
                                The first year Management Fee will be fully earned and paid at the time of each
                                Closing. Thereafter, the Management Fee will be paid in advance each calendar
                                quarter, commencing on the anniversary of the Closing of the Debenture to which it
                                pertains, but will not be due and payable from and after the occurrence of an Event
                                of Default (as defined in the Debenture Agreement) other than a payment default
                                that has been cured, whether or not the cure occurs during or after the Grace Period
                                (as defined in the Debenture Agreement). In the event the anniversary of a Closing
                                occurs mid-calendar quarter, the quarterly payment of the Management Fee as of
                                such anniversary will be pro-ratably paid for that calendar quarter. See
                                “COMPENSATION AND FEES TO THE MANAGER AND AFFILIATES.”

                                In addition to fees payable by the Fund, with respect to any Investment, the Manager
                                may receive an origination fee from each Project Entity equal to up to 3.0% of the
                                total Investment amount. Such origination fee will be charged directly to the Project
                                Entity and the Project Partner, and not to the Fund, and will be paid at the time the
                                Fund invests in the Project Entity.

  Leverage Restrictions         The Fund may only make Investments if the total amount of debt encumbering the
                                underlying property, together with the Fund’s Investment, is less than 80% of the
                                anticipated finished value of the underlying project. See “DESCRIPTION OF THE
                                BUSINESS—Risk Controls.”

  Co-Investments with           The Fund may, at the Manager’s discretion, enter into Investments with Affiliates of
  Affiliates                    the Fund or the Manager. These Investments may, among other things, be new
                                Investment opportunities for the Affiliated parties, existing and continuing
                                Investments of an Affiliate, or an existing Investment of an Affiliate that the
                                Affiliate is exiting.

                                Any participation allocated to the Fund in any Investment in which any Affiliate of
                                the Fund or its Manager participates will be determined according to an allocation
                                process established by the Manager. See “CONFLICTS OF INTEREST—
                                Avoidance of Conflicts” for a description of this allocation process.

  Investor Reports              The Fund will provide the following reports to each Investor:

                                    x Within 120 days after the end of the fiscal year, audited Fund financial
                                      statements; and
                                    x Within 60 days after the end of each fiscal quarter, quarterly financial
                                      statements.

  Annual Audit                  The Fund has engaged McGladrey LLP to perform an annual audit, and the audit
                                opinion and related audited financial statements will be provided to the Investors.




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                                                USE OF PROCEEDS

  The Fund is offering a Maximum Offering Amount of up to $30,000,000 in Debentures (which may be increased to
  $50,000,000 in the Fund’s discretion). If the Maximum Offering Amount is subscribed, the net proceeds to the Fund
  from the sale of Debentures, after deducting selling commissions and related fees, and estimated organizational and
  offering expenses, is anticipated to be $25,900,000. The following table sets forth the details of these fees and the
  funds available for investment in real estate projects as described in this PPM.

                                                                      Sale of
                                                                                      Percentage of
                                                                     Maximum
                                                                                     Gross Proceeds
                                                                     Offering
                                                                      Amount
                  Gross Proceeds From Investors                     $30,000,000             100.00%
                     Less: Selling Commission (1)                     $2,100,000              7.00%
                     Less: Due Diligence Fee (2)                       $300,000               1.00%
                     Less: Managing Dealer Fee (3)                    $1,500,000              5.00%
                     Less: Organizational and Offering                 $200,000                0.67%
                           Expenses
                  Available for Investment (before reserves)        $25,900,000               86.33%

      (1) The Managing Dealer will receive a Selling Commission in an amount up to 7% of the aggregate principal
          amount of Debentures issued (“Gross Proceeds”), which it will re-allocate to the Selling Group Members.
      (2) The Managing Dealer will receive a marketing reallowance fee of 1% of the Gross Proceeds which it will
          re-allocate to Selling Group Members.
      (3) The Managing Dealer will also receive a fee of 5% of the Gross Proceeds for serving as the managing dealer
          in the Offering. The Managing Dealer, as managing broker-dealer for the Offering, will be responsible for
          all “wholesaling fees” and marketing expenses relating to the Offering, as well as for paying its own
          expenses associated with the Offering.




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                     COMPENSATION AND FEES TO THE MANAGER AND AFFILIATES

  The following summarizes the types of compensation, fees, income, distributions or other payments that the Fund or
  Project Entities may pay to the Manager and its Affiliates in connection with the Fund’s or a Project Entity’s
  organization, operation and liquidation. Such arrangements have not and will not be determined through arm’s-length
  negotiations between such parties and the Fund. The Manager has no obligation to advance funds to cover the Fund’s
  expenses. However, to the extent that such advances are made, the Fund will repay such loans out of its funds as soon
  as they are available, whether such funds are from the Fund’s operating revenues or third-party loans (not including
  the Debentures).

  Fund Level Management Fee

  The Fund will pay to the Manager an annual Management Fee equal to 1.85% of the outstanding aggregate principal
  balances of each Debenture. The first year Management Fee will be fully earned and paid at the time of each Closing.
  Thereafter, the Management Fee will be paid in advance each calendar quarter, commencing on the anniversary of
  the Closing of the Debenture to which it pertains, but will not be due and payable from and after the occurrence of an
  Event of Default (as defined in the Debenture Agreement) other than a payment default that has been cured, whether
  or not the cure occurs during or after the Grace Period (as defined in the Debenture Agreement). In the event the
  anniversary of a Closing occurs mid-calendar quarter, the quarterly payment of the Management Fee as of such
  anniversary will be pro-ratably paid for that calendar quarter.

  Compensation Rates of Affiliates

  The engagement by the Fund, or by one of the Project Entities, of any Person considered to be an Affiliate of the
  Fund is designed to provide the Fund with more efficient service at a cost that is no higher than is standard in the
  market. In the event the Fund enlists the services of the Affiliates of the Manager identified below, the rates of
  compensation of these Affiliates for the performance of their various services will be limited and all payments will be
  subject to inspection by auditors upon request. The Affiliates below have agreed to the following rates:

      Edge Construction, LLC: Provides general contracting services, including those related to new construction of
      and rehabilitation of real estate projects.

           General Contractor Fee: Cost* plus 10%
           *Cost includes costs of labor, materials and management of a project, including but not limited to costs
           of project management, supervision, and labor, each of which shall be billed at hourly rates. The hourly
           rates for 2015 are set forth below.

           Project Management Rates:
                    Executive:                 $150/hr
                    Project Manager:           $125/hr
                    Onsite Superintendent:     $80/hr
                    Labor:                     $40/hr
                    Administrative:            $30/hr

           Altius Development, Inc.: Provides development and consulting services, as well as accounting and
           administrative support, to real estate projects.

           Project Management Rates:
                    Executive:                 $150/hr
                    Project Manager:           $125/hr
                    Administrative             $30/hr

           Accounting Support Rates:                                        In-House Legal Support Rates:
                   Controller                  $190/hr                            Attorney                    $200/hr
                   Accounting Associate:       $110/hr                            Legal Assistant             $100/hr




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  Fees Payable by Project Entity

  The Manager may charge the Project Partner a due diligence fee to cover the costs of business due diligence and
  underwriting involved in considering the potential Investment. The due diligence fee, which will be payable by the
  Project Partner prior to commencement of due diligence, will be non-refundable and will typically be around
  $10,000. Additionally, in the event a Project Partner’s project is approved for funding, the Manager may charge a
  processing fee to the Project Entity, payable at closing, to cover in-house processing costs associated with document
  preparation and closing tasks related to such Investment. The processing fees are typically less than $5,000 per
  project, but may increase depending on the complexity of the Investment. Additionally, the Manager or an Affiliate
  of the Manager may charge each Project Entity a one-time origination fee in an amount equal to up to 3% of the total
  investment amount. The origination fee will be payable by the Project Entity at the time the Fund invests in the
  Project Entity. The foregoing payments to the Manager will be the obligations of the Project Entities and the Project
  Partners, and not of the Fund.

  In some instances an Affiliate of the Manager may perform services for a Project Entity in order to provide better
  pricing or efficiency to the Fund than would otherwise be available from third parties. In these instances, such
  Affiliates may be paid customary service fees for time, material, or labor. These fees will be capped at the rates and
  amounts set under “Compensation Rates of Affiliates.” Any payment to Affiliates for work performed on behalf of
  the Project Entities will be the obligations of the Project Entities, and not of the Fund.

  Expenses Paid by the Manager

  The Manager will cover all of the following expenses: office rent and fees; office common area maintenance
  charges; payroll expense of the employees of the Manager; employee parking, phone, fax, and internet access;
  computer hardware and related supplies; general office supplies; office rental of fax, printers, or scanners and
  maintenance costs related thereto; and any business licenses and registrations related to the Manager entity. All other
  expenses will be borne by the Fund.

  Reimbursements

  In addition to the fees set forth above, the Fund will reimburse the Manager and its Affiliates for any reasonable
  expenses paid by the Manager and its Affiliates that properly should be borne by the Fund.

  Distributions

  The Fund must distribute to its Members, equal to the Estimated Tax Amount within 90 days after the close of each
  fiscal year, unless (a) the Manager determines the tax distribution would render the Fund insolvent or would
  necessitate borrowing by the Fund; (b) an Event of Default (as defined in the Debentures) has occurred under the
  Debentures or is continuing, or (c) if the tax distribution would otherwise be materially adverse to the Fund. The
  Fund may not make any distributions of profit until the Fund’s obligations under the Debentures have been fully
  satisfied.




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                                             CONFLICTS OF INTEREST

  Transactions with the Manager and its Affiliates

  The Fund may enter into various transactions with the Manager and its Affiliates, and compensation and fees could
  be paid with respect to these transactions as disclosed in the section entitled “COMPENSATION AND FEES TO
  THE MANAGER AND AFFILIATES.” To the extent any such transaction may pose a conflict of interest between
  the Fund and the Manager or its Affiliates this conflict must be resolved by the Manager in exercising its fiduciary
  duty to ensure the fairness of the transactions involving the Fund.

  Independent Activities of the Manager; Exclusivity

  The Manager will cause each managing principal, for so long as such managing principal is employed by, or an
  advisor to, the Manager or any of its Affiliates, to devote to the Manager, the Fund Projects, and other activities of
  the Fund as much time as may be reasonably necessary for the performance of their respective duties in their
  capacities as managing principals. Notwithstanding the foregoing, each managing principal may (a) devote such time
  and effort as s/he deems reasonably necessary to the affairs of any partnership or other entity with an investment
  objective that is not substantially similar to the Fund’s investment objectives; (b) devote such time and effort as s/he
  deems reasonably necessary to the affairs of any successor fund, including a fund which is expected to be released by
  an Affiliate of the Manager in 2015, any pre-existing funds, and any investments of those successor or pre-existing
  funds; (c) devote such time and effort as s/he deems reasonably necessary to the affairs of any real estate construction
  or development business in which the managing principal currently participates; (d) serve on boards of directors of
  public and private companies and retain fees for such services for his/her own account; (e) engage in civic,
  professional, industry and charitable activities; and (f) conduct and manage personal and family investment activities.
  Subject to the express limitations set forth in this Agreement, each managing principal may engage independently or
  with others in other investments or business ventures of any kind.

  Receipt of Compensation by the Manager or its Affiliates

  The Manager and its Affiliates will receive certain compensation from the Fund, regardless of whether the Fund ever
  makes payments to the Investors. See “COMPENSATION AND FEES TO THE MANAGER AND AFFILIATES.”
  Although the Fund believes that the fees to be paid to these Persons will be competitive with those that otherwise
  could be paid to third-parties (taking into account the quality, amount, and degree of specialization of services
  provided), these fees will not be determined by arm’s-length negotiations. These fees and expenses will be paid prior
  to any repayment of the Debentures or interest therein, although the Management Fee will not be payable from and
  after the occurrence of an Event of Default (as defined in the Debenture Agreement) other than a payment default
  that has been cured, whether or not the cure occurs during or after the Grace Period (as defined in the Debenture
  Agreement).

  Manager’s Profits

  After the Fund has paid 100% of the principal, the 10% annual interest due and payable under the Debentures, and
  the Payoff Premium, the Fund will distribute any remaining profits to its members, including the Manager.
  Distributions to the Manager represent a distribution that will reward the Manager for establishing and managing the
  Fund and its assets. The Manager’s profit interest in the Fund may create an incentive for the Manager to make more
  speculative investments on behalf of the Fund than the Manager otherwise would make in the absence of such profit
  potential.

  Avoidance of Conflicts

  Neither the Manager nor any of its Affiliates may make any investment on behalf of a new pooled investment fund
  with investment objectives that are identical to those of the Fund until the earlier of: (a) the date on which at least
  75% of the Gross Offering Proceeds (less payment of expenses for consulting fees and professional fees, and the
  setting aside of reserves) have been committed to or invested in Investments or (b) the end of the Offering Period.
  Notwithstanding the foregoing, Affiliates of the Manager (y) have established other pooled investment funds that
  were formed prior to the date of this Fund and which have investment objectives identical to the Fund’s and (z) are
  permitted to raise capital for and operate another pooled investment fund that is anticipated to be established in 2015


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  that will have investment objectives identical to the Fund (the “Second 2015 Fund”). The Second 2015 Fund intends
  to target institutional investors, but will not be limited to institutional investors and seeks to raise up to $100,000,000
  in debt investments.

  During the Offering Period and thereafter, any investment that is presented to the Manager or its members or
  managing officers that the Manager believes is consistent with the investment objectives of the Fund and is otherwise
  suitable for the Fund, will be offered by the Manager to the Fund subject to the following:

      1.   In the event the Investment is also suitable for one or more Affiliate pooled investment vehicles, including
           the Second 2015 Fund (an “Affiliate Fund”), and the Fund and Affiliate Fund(s) each have sufficient capital
           available to singularly finance the Investment, after setting aside reserves (each such fund, an “Eligible
           Party”), then the Investment will be offered to each Eligible Party on a rotating basis, with the order of
           rotation determined by the Manager.
      2.   To be an “Eligible Party,” the Fund or Affiliate Fund must have sufficient capital available to make the
           entire Investment amount, net of reserves for the Management Fee and Fund expenses throughout the
           expected term of such entity, and the Investment must be suitable for the Fund or Affiliate Fund based on
           the criteria established by the Manager for underwriting such investments, which may be dependent upon,
           among other things, projected timing of the Investment payoff, location of the Investment, the dollar amount
           of the Investment relative to the Fund’s or Affiliate Fund’s other investments, the type of property
           underlying the Investment, and economic forecasts relating to the likelihood of a successful exit for the
           Investment.

  For the avoidance of doubt, neither the Manager nor its members or managing officers will be required to offer to the
  Fund any real estate investment that is not consistent with the investment guidelines, investment objectives, and
  principles of the Fund or is otherwise not suitable for the Fund. Notwithstanding any provision to the contrary, the
  Fund and its Affiliates may engage in management and investment activities related to pre-existing Investments and
  activities or operations of an Affiliate.




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                                                     RISK FACTORS

  As with all investments, a purchase of the Debentures is speculative and involves a high degree of risk and therefore
  is suitable only for persons who understand those risks and their consequences and who are able to bear the risk of
  loss of their investment. In addition to the information set forth elsewhere in this Memorandum, you should consider
  the following risks before deciding whether to invest.

  Operation and Fund Risks

           Our business prospects are difficult to predict because we are a newly organized entity.

  The Fund is a newly organized entity and does not have an operating history upon which Investors may base an
  evaluation of its likely performance. The Fund’s results will depend upon the availability of suitable investment
  opportunities for the Fund and the performance of the Fund’s Investments. Payment of the principal and interest on
  the Debentures is subordinated to the prior payment of certain Fund liabilities and expenses and other third party debt
  to institutional lenders. Before payments are made on the Debentures, the Fund must first pay any senior current
  liabilities and expenses, including principal and interest payments due on any third-party institutional debt. This
  includes fees payable to the Manager and its Affiliates.

           Investors must rely on the Manager to acquire appropriate Investments for the Fund’s portfolio.

  The Fund is conducting the offering as a “blind pool,” meaning that the Fund is proceeding to raise funds through the
  sale of the Debentures, without having specifically identified any Investments in which the Fund intends to invest.
  When you subscribe for Debentures, however, that subscription is binding upon you, and you will not have the right
  to revoke that subscription even if you do not approve of the Investments that the Fund subsequently identifies. You
  should not invest in the Fund, unless you are prepared to rely upon the judgment of the Manager to make investments
  consistent with the general guidelines described in this Memorandum. The Fund may have limited access to financial
  information regarding the Investments, which may limit the Fund’s ability to conduct comprehensive due diligence
  regarding the Investment and its likelihood of success.

           If the Fund is not as successful with the Offering as desired, it may not acquire as diversified a portfolio
           as is planned.

  The Fund does not know how many Investments it will be able to obtain. The number of Investments ultimately
  purchased will depend primarily upon the equity raised through the sale of the Debentures, the availability of suitable
  Investments, the eligibility of the Fund to make an Investment relative to Affiliate Funds with similar investment
  objectives, and the extent to which the Manager arranges for Investments to be held with co-investors. There is no
  certainty as to the number of Investments that the Fund will be ultimately be able to obtain and, since one of the
  Fund’s objectives is diversification, no assurance can be given as to the Fund’s achievement of that objective.

           Control is vested in the Manager; no Investor should purchase the Debentures unless the Investor is
           comfortable with the Manager’s judgment and experience in running the Fund’s affairs.

  Control over all decisions affecting the Fund, including decisions regarding the Investments that are to be made, will
  be made by the Manager. Many material decisions, such as the sale of assets, participation in mergers, consolidation
  and other restructurings, refinancings of Project Entities, whether to make an Investment, whether an Affiliate Fund
  is eligible for an Investment, extensions of Investments and the incurrence of third-party debt may be made by the
  Manager without separate concurrence from the Investors. No assurance can be given that sufficient Investments
  will be presented to the Fund to deploy all of its investible capital.

           The Manager’s conflicts of interest may result in transactions unfavorable to the Fund.

  The Manager and its Affiliates may provide certain services to, and enter into transactions with, the Fund or the
  Project Entities, provided the terms are commercially reasonable. These measures may not fully protect the Fund or
  the Project Entities against the inherent conflicts of interest in these transactions. The transactions have not been, and
  will not be, subject to review by the Investors or an independent party. The transactions’ terms might not be as
  favorable to the Fund as they would have been if the transaction had been with unrelated third parties. Moreover, the



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  Fund will not ask any third party to oversee the quality of the services that will be provided by the Manager and its
  Affiliates. See “CONFLICTS OF INTEREST.” In addition, before the Fund invests all of its Investments, the
  Manager will be subject to potential conflicts of interest when choosing between investment opportunities that may
  generate different fees for the Manager or between Investment opportunities that may meet the Investment criteria of
  Affiliates of the Fund or of the Manager.

  The Manager has the discretion to retain all or a portion of the proceeds from Investments to make new Investments.
  If the Manager were to take such action, this would place the Investment returns at the risk of new investment
  opportunities and would delay payments of the Payoff Premium to the Members.

           Without obtaining advice from your personal advisors, you may not be aware of the legal, tax or
           economic consequences of an investment in the Debentures.

  The Manager has not arranged for Investors in this Offering to be separately represented by independent counsel. The
  legal counsel who has performed services for the Fund has performed such services for the Manager and has not
  acted as if it had been retained by the potential investors or the Members. You are not to construe the contents of this
  Memorandum or any prior or subsequent communication from the Manager, or its Affiliates or any professional
  associated with this Offering, as legal or tax advice. You should consult your own personal counsel, accountant and
  other advisors as to legal, tax, economic and related matters concerning the investment described herein and its
  suitability for you.

           The Fund will have limited or no control over the underlying Investments and must instead rely
           exclusively upon the skill, expertise and background of the persons controlling the Investments.

  The Fund expects to acquire preferred equity and, occasionally, debt interests in the Investments. Accordingly, the
  Fund will not likely have control over those Investments (except in certain circumstances relating to the Fund
  enforcing its creditor rights or contractual rights) and will be required to rely on the Project Partners of such
  Investments to use their skill, expertise and background to generate value from the Project Entities. Although the
  Fund routinely requires the Project Partners to grant a mortgage or to pledge their equity interest in the Project Entity
  as collateral, there can be no assurance that in the event of non-performance by the Project Partner or a default by the
  Project Entity that the equity interest or real estate can be readily transferred to the Fund or that the Fund can obtain
  control of the Project Entity. There is a risk that courts or other governmental parties may oppose such transfers.

           The Fund may take over control and management of properties in which the Fund originally held a
           passive equity interest if the entity owning such property is in default (as defined in the entity’s governing
           document). Such properties may entail additional risks and lower cash flow during the development
           period and the subsequent lease up or sale.

  The Fund may acquire an equity position in entities in need of additional capital in order to meet debt service
  obligations, refinance existing debt or finish developing or renovating the underlying property. The Fund would not
  be in control of the day-to-day operations of the underlying company, but would have the ability to take control of
  the company in the event certain conditions were not maintained by the Project Partner. Even though the Fund may
  take over management of the underlying property, it might not be a majority owner of the Project Entity and its
  management authority may be restricted. In the event of default and subsequent acquisition of the underlying
  property, the Manager may underestimate the costs and time needed to effectuate necessary construction, renovations
  and repairs. This may present unexpected capital demands upon the Fund, and reduce the potential return on the
  Investment because of the additional capital needed to renovate the property.

  Development projects may take longer than anticipated, increasing the time that part or all of the residential or
  commercial units are not available for rent or sale, lowering the property’s cash flow or other income potential. The
  costs of construction have increased dramatically during recent years and may continue to increase. Although the
  Manager will not undertake such projects without preparing detailed budgets, such budgets may understate the
  expenses.




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           Markets in which the Fund is anticipated to invest are subject to a high degree of volatility and therefore
           the Fund’s performance may be volatile.

  The Fund’s business will involve a high degree of financial risk. Markets in which the Fund is anticipated to invest
  are subject to a high degree of volatility and therefore the Fund’s performance may be volatile. There can be no
  assurance that the Fund’s investment objective will be realized or that Investors will receive any Payoff Premium.
  The Fund may invest in various interests related to single, multi-unit and multifamily residential properties, as well as
  commercial properties and land. These investments include direct investments in such properties; debt instruments
  issued by entities owning such properties, which may or may not be collateralized by mortgages against such
  properties or the equity interests in the ownership entities; equity interests in entities holding title to such properties,
  or rights to participate in the cash flow generated by such entities. The Manager in its sole discretion may employ
  such investment strategies and methods as it determines to adopt.

           If the Fund were to acquire debt collateralized by properties suitable for Investment, the Fund will be
           subject to a number of additional risks not present when investing directly in properties.

  The Fund has the authority to purchase debt collateralized by residential properties. If such collateralized debt is
  acquired, the Fund will be subject to the following risks:

           (a)       The Fund’s due diligence must cover not only an assessment of the value of the underlying
           collateral (since there is the possibility that the Fund will acquire title to the property in satisfaction of the
           debt), but also an assessment as to whether the Fund will take the debt free from the claims of others and
           whether the debtor has defenses that might be asserted to forestall or defend against the collection of the
           debt. To the extent possible, when acquiring debt, the Fund will try to make certain that it is a bona fide
           purchaser of the debt entitled to be treated as a “holder” in due course under the applicable Uniform
           Commercial Code.

           (b)       The debtor may default in its obligations under the debt, forcing the Fund to institute collection
           actions and proceed against the underlying collateral in order to protect its investment. The Fund must,
           before proceeding with such acquisition, be comfortable that the risk-reward profile of the Investment is
           favorable. Such an analysis will require the Fund to take into account the factors likely to impact the
           ultimate return on the Investment, including among others, the price at which the debt was acquired
           (whether and to what extent the debt is acquired at a discount to the outstanding principal), the likelihood of
           default, the stated principal and interest payments, an assessment of the underlying value of the collateral,
           the possibility of competing claims to the debt itself or defenses that might be tendered by the debtor in a
           collection action, the likely costs and delays in proceeding against the collateral, the risk of debtor
           bankruptcy proceedings and the presence of personal guaranties from creditworthy/solvent guarantors.

           (c)      The Fund may encounter delays or difficulties in foreclosing upon its interest in the collateral if the
           debtor cannot pay the debt as and when it becomes due. Moreover, the Fund may incur substantial expenses
           in foreclosing upon the collateral or pursuing claims against the debtor and, if applicable, the guarantors of
           the debt. Such costs will increase the Fund’s costs in the property, if the Fund subsequently acquires title to
           the property through foreclosure or a deed in lieu of foreclosure.

           (d)       There is no assurance that the Fund will subsequently acquire title to the collateral property. The
           debtor may keep the debt current, cure prior events of default or arrange for the debt to be refinanced. Even
           in cases where the property is sold through a foreclosure sale, a third party may be prepared to outbid the
           Fund to purchase the collateral property. It would be customary for the Fund to submit as its bid the amount
           of the outstanding debt at foreclosure sale, but the Fund may not be prepared to bid more than that amount
           to win the property over other bidders. In those instances, where the Fund does not take title to the collateral,
           its return on investment will be determined by the terms of the promissory note and related collateral
           documents (such as a deed of trust, mortgage, or other security agreement). The Fund’s rate of return on
           such an investment may be determined by a number of factors, not the least of which is the price of which
           the debt was acquired. The investment’s potential return will be significantly enhanced if the collateralized
           debt can be purchased at a deep discount to the then outstanding debt. Should that be the case, the Fund’s




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           return, even if the debt is subsequently retired, will be substantially greater than would have been the return
           of the debt in the hands of the originating lender.

           (e)       The debtor may evoke the protection of the Federal Bankruptcy Code or similar state insolvency
           laws designed to protect the interests of insolvent borrowers. These protections are at the expense of the
           Fund as a creditor. Such actions may result in staying the Fund’s foreclosure proceedings, restructuring of
           the debt terms, or otherwise delaying or interfering with the enforcement of the creditor’s rights under the
           applicable security agreements. The Fund will need to balance such considerations before deciding whether
           it is advisable to acquire the collateralized debt and, in particular, assess whether the price at which the debt
           is acquired (including the discount if any) is sufficient to compensate the Fund from the possible risks of
           delays, additional costs, and debt restructuring on less favorable terms to the creditor.

           Fees to Manager will be paid while interest and principal remain outstanding under the Debentures.

  Provided that an Event of Default has not occurred under the Debentures, fees payable to the Manager will be paid
  while interest and principal remain outstanding under the Debentures. The Management Fee is based on the
  outstanding principal balance of the Debentures. The Manager will receive the Management Fee whether or not the
  Investments operate profitably. These fees (like other operating expenses) reduce the amount of cash that otherwise
  would be available for payment of the Payoff Premium. See “COMPENSATION AND FEES TO THE MANAGER
  AND AFFILIATES.”

           You will not be investing in iCap. The prior performance data presented should provide you relevant
           information regarding Affiliates of the Manager, but should not be construed as an indication of the
           likely financial performance of the Fund.

  By investing in the Fund, you will not be a creditor to iCap nor in any of the prior programs sponsored by iCap
  Affiliates (other than the Fund). iCap has provided selected information regarding its prior programs because it felt
  investors might consider those investments to be relevant in assessing the experience and judgment of the Manager or
  the iCap management team. Investors should not consider the prior performance of those programs to be indicative of
  the financial performance that may be experienced by the Fund. The Fund may not perform as favorably as the prior
  programs. Each investment opportunity is unique and the Fund may not be able to replicate the success of prior
  Affiliated programs, even if the Investments assembled for the Fund’s portfolio are similar to those obtained for prior
  investments.

           Uninsured losses on the Investments could materially reduce Investment returns, which may impact the
           Payoff Premium Payment payable under the Debenture.

  The Project Partner will obtain insurance policies for the Projects that are commercially prudent given the local
  market and circumstances of the Project (typically, including liability, fire and extended coverage). However, certain
  losses are either uninsurable or may be insured only upon payment of prohibitively high insurance premiums. If any
  such loss should occur and the Projects should be partially or totally destroyed, the Fund, as an investor in the Project
  Entity, may suffer a substantial loss of capital as well as profits. Even if the Project Partner’s insurance policy
  provides coverage for the loss, the deductible for such policy may be so large that the Project Entity will sustain a
  substantial uninsured loss as a result of the casualty.

           The Collateral Agent will have the authority to act on behalf of all holders of Debentures in dealing with
           the Fund.

  The Debenture Agreement vests control over matters related to the enforcement of the security interest, the exercise
  of any rights or remedies with respect to the collateral supporting the Debenture and any remedies under the
  Debenture in the hands of the Collateral Agent. If an action is brought by the Collateral Agent, such action must be
  for the collective benefit of all Holders.

           The Fund may prepay the principal and interest on the Debentures at any time.

  The Fund may prepay the principal amount of the Debentures, in whole or in part, at any time. No prepayment
  penalty is imposed that would discourage the Fund from exercising this right. Accordingly, Investors will not have



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  certainty as to how long their respective Debentures may be outstanding. If, however, the Fund makes any
  prepayment, the prepayments must be made ratably against all outstanding Debentures.

         Various factors could negatively impact the amount of Net Profits generated by the Fund during the
         Measurement Period; thereby reducing the Payoff Premium that may be paid to the Investors.

         (a)      At this stage, it is not known how much information, including financial information, the Fund will
         have available to review when conducting due diligence regarding potential Investments. The content and
         accessibility of such information will be determined by the manager of the respective Investment. While the
         Manager will not cause the Fund to make an investment in an Investment unless it has what it considers to
         be reasonable access to a material amount of such information, the information may not be as
         comprehensive as the Fund would like. Moreover, neither the Manager nor the Fund will audit the affairs of
         the Investments and will rely upon the accuracy of the information provided to it regarding the Investments.

         (b)       The Fund may obtain insurance policies for the Investments that are commercially prudent given
         the local market and circumstances of the Investment. However, certain losses are either uninsurable or may
         be insured only upon payment of prohibitively high insurance premiums. If any such loss should occur and
         the Investments should be partially or totally destroyed, the Fund may suffer a substantial loss of capital as
         well as profits. Even if the Fund’s insurance policy provides coverage for the loss, the deductible for such
         policy may be so large that the Fund will sustain a substantial uninsured loss as a result of a fire or other
         casualty.

         (c)       Under various federal, state and local laws, ordinances and regulations, an owner or operator of real
         property may become liable for the costs of removal or remediation of certain hazardous substances released
         on or in its property. Such laws often impose liability without regard to whether the owner or operator knew
         of, or was responsible for, the release of such hazardous substances. The presence of hazardous substances
         may adversely affect the owner’s ability to sell such real estate or to borrow funds using such real estate as
         collateral. Before making an Investment, the Fund may undertake such environmental due diligence as it
         considers appropriate under the circumstances to assess the potential environmental risks. Such investigation
         is expected to include the review of all available environmental reports, such as Phase I studies. No
         assurance can be given that such due diligence will identify all potential environmental problems. Moreover,
         to the extent that the Investment’s site had environmental contamination not detected prior to the Fund’s
         acquisition of that property, or subsequent environmental contamination were to occur, remedial efforts, if
         any, the Fund undertakes may not be sufficient to eliminate potential liability, and, as a consequence, the
         Fund may incur environmental clean-up costs or be subject to liability exposure that may reduce the Net
         Profits of the Fund.

         (d)      Under the Americans With Disabilities Act of 1990 (“ADA”), all places of public accommodation
         are required to meet certain federal requirements related to access and use by disabled persons. A number of
         additional federal, state and local laws exist that may require modification to existing Investments to allow
         disabled persons to access such facilities. Most of the Investments the Fund considers will likely be in
         compliance with the present access requirements. If, however, the Investments the Fund acquires are not in
         compliance with the ADA, the Fund will be required to make modifications to the Investments to bring them
         into compliance, or face the possibility of an imposition of fines or an award of damages to private litigants.
         In addition, further legislation may impose additional burdens or restrictions related to access by disabled
         persons, and the cost of compliance could be substantial.

         (e)      The real estate industry in general, and the multifamily, residential, and commercial sectors in
         particular, are highly competitive, and the Fund will be competing with numerous other entities, some
         having substantially greater financial resources and experience than the Fund, in seeking attractive
         investment opportunities. Competition will reduce the number of suitable properties available for purchase
         and increase the bargaining power of sellers, inflating the purchase prices of the available Investments or
         resulting in other less favorable terms to the purchasers.

         (f)    The investment returns available from equity investments in real estate depend in large part on the
         amount of income earned and capital appreciation generated by the related properties, and the expenses



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           incurred. In addition, a variety of other factors affect income from properties and real estate values,
           including governmental regulations, insurance, zoning, tax, interest rate levels and the availability of
           financing. When interest rates increase, the cost of acquiring, expanding or renovating real property
           increases and real property values may decrease as the number of potential buyers decreases. Similarly, as
           financing becomes less available, it becomes more difficult both to acquire and to sell real property. Any of
           these factors could have a material adverse impact on the Fund’s results of operations or financial condition.
           In addition, equity real estate investments are difficult to sell quickly and the Fund may not be able to adjust
           the Fund’s portfolio of owned properties quickly in response to economic or other conditions. If the Fund’s
           properties do not generate revenue sufficient to meet operating expenses, including debt service and capital
           expenditures, the Fund’s income will be adversely affected.

  Private Offering and Liquidity Risks

           This private placement of Debentures is being made in reliance on an exemption from registration
           requirements and there is no guarantee that it will comply with the regulatory requirements for such
           exemption.

  This private placement of Debentures will not be registered with the Securities and Exchange Commission (“SEC”).
  The Debentures are being offered in reliance on an exemption from the registration provisions of the Securities Act
  and state securities laws applicable to offers and sales to Investors meeting the investor suitability criteria set forth in
  this Memorandum. If the Fund should fail to comply with the exemption, Investors may have the right to rescind
  their purchases of Debentures. This might also occur under the applicable state securities or “Blue Sky” laws and
  regulations in states where the Debentures will be offered without registration or qualification pursuant to a private
  offering or other exemption. Such claims, if brought, would be disruptive and could force a sale of the Fund’s assets
  to satisfy the claims of the claimants.

           This is a private offering and as such you will not have the benefit of review of this Memorandum by the
           SEC or other agency.

  Since this offering is a private placement of securities and, as such, is not registered under federal or state securities
  laws, you will not have the benefit of review of this Memorandum by the SEC or any state securities commission.
  The terms and conditions of this private placement may not comply with the guidelines and regulations established
  for offerings that are registered and qualified with those agencies.

           The limited liquidity of the Debentures may adversely affect your ability to transfer and pledge
           the Debentures.

  You must represent that you are purchasing the Debentures for your own account for investment purposes and not
  with a view to resale or future distribution. You may not sell, assign, transfer, encumber or otherwise dispose of your
  Debentures unless the Fund obtains an opinion or is otherwise satisfied that such sale, assignment, encumbrance or
  transfer does not violate applicable federal or state securities laws, constitute trading on a secondary market, or on an
  equivalent thereof, for purposes of Section 7704 of the Code or cause the Fund’s termination under Section 708 of
  the Code. Accordingly, the Debentures may not be readily accepted as collateral for loans and you may not be able to
  liquidate your investment in the event of emergency or for any other reason, or may be able to liquidate your
  investment only at a substantial discount. See “TRANSFERABILITY OF THE DEBENTURES,” and See also “U.S.
  FEDERAL INCOME TAX MATTERS.”

           Investments will be illiquid.

  The Fund expects the Investments to be illiquid. Accordingly, the timing of its returns on those Investments will be
  dependent upon various market factors. If the underlying assets in those Investments are held for long periods, the
  Investors will be compelled to wait until the underlying assets are sold, before being in a position to liquidate their
  investments. The Manager expects most of its Investments to have an investment time frame of 2 years or less.
  However, the Fund may have little or no control over when the underlying properties are liquidated.




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  Tax Risks

           You are urged to consider the United States federal income tax consequences of owning the Debentures

  Pursuant to the terms of the Debenture Agreement, the Fund and each holder of Debentures will agree to treat the
  Debentures for U.S. federal income tax purposes as contingent payment debt instruments subject to U.S. federal
  income tax rules applicable to contingent payment debt instruments. Under that treatment, if you are a U.S. Holder
  (as defined herein), you may be required to include interest in taxable income in each year in excess of the amount of
  interest payments actually received by you in that year. You will recognize gain or loss on the sale, repurchase,
  exchange, conversion or redemption of a Debenture in an amount equal to the difference between the amount realized
  and your adjusted tax basis in the Debenture. Any gain recognized by you on the sale, repurchase, exchange,
  conversion or redemption of a Debenture generally will be treated as ordinary interest income and any loss will be
  treated as ordinary loss to the extent of the interest previously included in income and, thereafter, as capital loss. See
  “U.S. FEDERAL INCOME TAX MATTERS.”

           Interest on Debentures Could be Characterized as Unrelated Business Taxable Income

  We intend to take the position that the Debentures should be classified as debt instruments for U.S. federal income
  tax purposes and both the stated interest and the Payoff Premium should constitute interest. In general, interest on
  debt instruments is not characterized as Unrelated Business Taxable Income (“UBTI”) with respect to tax exempt
  Investors. However, there is no assurance that the IRS will agree with this position and it is possible that the
  debentures may be treated as equity securities or as hybrid debt/equity securities. In such case, all or a portion of the
  interest on the Debentures may be characterized as UBTI with respect to tax exempt Investors.




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                      PRIOR PERFORMANCE OF THE MANAGER AND ITS AFFILIATES

  As a newly formed investment vehicle, the Fund has no operating or prior performance history. The information
  presented in this section represents the limited historical experience of the principals of the Manager and their
  Affiliates. Prospective investors in the Fund should not rely on the information below as being indicative of the types
  of investments the Fund may make or of the types of returns the Fund’s Investments may generate. It should be
  understood that neither the Fund nor the Investors will have any interest in the properties described below.
  Prospective investors should not assume that the Fund will experience returns, if any, comparable to those described
  herein.

  iCap, as used in this Memorandum, refers to an affiliated group of companies (excluding the Fund) specializing in
  investing in single-family, multi-family, light commercial and land development properties. This section contains
  certain summary information regarding this affiliated group, and the primary entities through which iCap conducts its
  business activities. The Manager is one of these entities, recently formed for the purpose of serving as the Manager of
  the Fund. Although this Memorandum refers to “iCap” as though it were an entity capable of taking action,
  prospective investors should bear in mind that such references are intended to refer to the business activities
  undertaken by one or more of the companies constituting a part of iCap. By investing in the Fund, the Investor will
  not acquire an interest in any such entities, but it may benefit from their collective experience, inasmuch as those
  entities, as well as their respective employees, will be available to assist the Fund as it conducts its business.

  In September 2013, members of the management team established an entity named iCap B1, LLC, which obtained a
  loan from a foundation in the amount of $3,359,165 for the purpose of making investments into various real estate
  projects. As of the date of this Memorandum, the remaining balance of the loan is $108,468, which is scheduled to be
  paid off in full on or before May 1, 2015.

  In November 2013, members of the management team established an entity named iCap B2, LLC, which obtained a
  loan from a high net worth individual in the amount of $3,556,499 for the purpose of making investments into
  various real estate projects. As of the date of this Memorandum, the loan had been paid down to a remaining balance
  of $2,145,216. The management team intends to seek an extension of the May 1, 2015 maturity date to November
  2015.

  Members of the management team recently completed the fundraise for their first pooled investment fund (“iCap 1”),
  having raised $46.2M. The following investment has liquidated:

           On June 24, 2014, iCap 1 made an investment in Lake Sammamish Home 1, LLC in the amount of
           $514,345. iCap 1’s Investment was used to provide equity capital to help cover the costs related to the
           development of 8, single family lots, each with beach access to Lake Sammamish. The Investment was paid
           back in approximately 9 months, on March 31, 2015, at the time the project was refinanced. iCap 1 received
           a total payoff of $835,025. The total return on funds invested was 62.35% and the annualized return on
           investment was 81.27%.

  The table on the next page illustrates certain additional investment activities of iCap 1.




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  YOU SHOULD RECOGNIZE THAT BY PURCHASING DEBENTURES IN THE FUND YOU WILL NOT
  THEREBY ACQUIRE ANY OWNERSHIP INTEREST IN ANY OF THE PRIOR PROGRAMS OR ANY
  FUTURE PROGRAM SPONSORED BY THE MANAGER OR ITS AFFILIATES. YOU SHOULD RECOGNIZE
  THAT ANY PRIOR PERFORMANCE OR TRACK RECORD INFORMATION RECEIVED REGARDING THE
  MANAGER AND ITS AFFILIATES IS GIVEN SOLELY TO ALLOW YOU TO ASSESS THE EXPERIENCE OF
  THE MANAGER AND ITS AFFILIATES. YOU SHOULD NOT ASSUME THAT THE INVESTORS IN THIS
  OFFERING WILL EXPERIENCE RETURNS, IF ANY, ON THEIR INVESTMENTS SIMILAR TO THOSE
  EXPERIENCED BY INVESTORS IN THE PRIOR PROGRAMS SPONSORED BY THE MANAGER AND ITS
  AFFILIATES.




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                                           MANAGEMENT OF THE FUND

  General

  The management and supervision of the Fund is vested exclusively in the Manager (including its duly appointed
  agents), and the Manager (and its duly appointed agents) has full control over the business and affairs of the Fund.
  Subject to the terms of this Agreement, the Manager has the power on behalf and in the name of the Fund to carry out
  any and all of the objects and purposes of the Fund and to perform all acts and enter into and perform all contracts
  and other undertakings that the Manager, in its sole discretion, deems necessary or advisable or incidental thereto.
  Investors must rely upon the judgment and experience of the Manager to manage the Fund.

  The Fund’s Manager

  The Fund has selected iCap Pacific NW Management, LLC, a Washington limited liability company, to serve as its
  Manager. For its services, the Manager will receive an annual management fee as described elsewhere in this
  Memorandum. See “COMPENSATION AND FEES TO THE MANAGER AND AFFILIATES.” In addition, the
  Fund will reimburse the Manager for any Fund expenses that are borne by the Manager on behalf of the Fund.

  Affiliates of the Manager

  The Fund has two affiliated companies specializing in the acquisition and development of real estate properties:
  Altius Development, Inc., which is solely owned by Chris Christensen, and Edge Construction, LLC, which is solely
  owned by Altius Development, Inc. Altius was formed in 2007 and has completed a number of projects through its
  subsidiaries, in areas of condos, multi-family and single family subdivisions. Edge Construction was formed in 2007
  and has been involved in the construction of condos, multi-family, single family subdivisions, remodels, commercial
  structures and a number of custom homes. Each of these Affiliates may provide services to the Fund. See
  “COMPENSATION AND FEES TO THE MANAGER AND AFFILIATES—Compensation Rates of Affiliates” for
  the fee rates of these Affiliates.

  Key Executives and Employees of Manager

  The following provides a brief description and position of the Manager’s principal executives and employees as of
  the date hereof.

  Chris Christensen, President, Chief Investment Officer

  Chris leads the senior management team and oversees all facets of the organization, with a particular emphasis on
  business strategy, legal and finance structuring. He is also primarily responsible for tax and accounting decisions.
  Chris is 39 and prior to forming the Fund has managed an affiliated fund, formed and managed Affiliates of the
  Manager, including Edge Construction, LLC and Altius Development, Inc., and has advised numerous lenders,
  developers and borrowers with regard to their start-up and operating needs, including financial structuring and asset
  protection. Chris holds a J.D. from Seattle University School of Law, a Master’s Degree in International Business
  from Seattle University and a Bachelor of Arts Degree from the University of Utah, and is the brother of Jim
  Christensen.

  Jim Christensen, Chief Operating Officer

  Jim is the Chief Operating Officer and primary underwriter for new Investments. He manages due diligence, letter of
  intent preparation, legal documentation, closing processes and sponsor relationships. In addition, he is responsible for
  the technology-related underpinnings of the Fund. This includes electronic document storage, electronic process
  automation, and software management. Jim previously was the Chief Operating Officer at Altius Development, Inc.,
  where he managed all aspects of construction, development, finance and risk control of multifamily and single family
  residential and commercial real estate projects throughout Washington state. At Altius Development, Inc., Jim
  managed over $30 million in development projects and also consulted property owners on the strategy, finance and
  execution of the development of their properties. Jim has experience dealing with jurisdictional issues relating to site
  development and vertical construction, as well as budget preparation, project underwriting and legal structuring. Jim
  is 30, holds a Bachelor of Arts Degree from the University of Washington, and is the brother of Chris Christensen.



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  John Carlson, Senior Project Manager

  John is responsible for overseeing management of all Projects in which the Fund invests. His duties include budget
  and pro forma preparation, feasibility studies, and the organization of lien waivers, draw requests and final
  inspections. Furthermore, John oversees contract negotiation and contract management among various service
  providers and subcontractors. John handles monthly reports for sponsors with whom the Fund invests, in addition to
  ongoing supervision of sponsors to ensure agreed upon milestones are satisfied. John is 46 and prior to working with
  the Fund, John served as a senior project manager for McKinstry, a national construction company located in the
  Pacific Northwest, for 8 years.

  Bryan Brown, Senior Construction Manager

  Bryan is responsible for all general contracting functions relevant to Fund Investment Projects. He supervises various
  activities pertinent to successful construction including due diligence, contract negotiations with subcontractors and
  suppliers, budget monitoring and overall construction management. Bryan is 38 and has 19 years of experience in
  new home construction, multifamily construction and commercial construction. Bryan has overseen all activities of
  Edge Construction, LLC, the Fund’s Affiliate general contractor, for the last 8 years. He has built over 1,600
  structures and has trained many construction managers and superintendents.

  Organizational Growth

  iCap currently has capacity to accept additional capital from Investors and to deploy such proceeds towards real
  estate projects meeting the Fund’s Investment criteria. iCap intends to grow as an organization with increases in
  capital under management and Investment transaction activity. With regards to human capital, various support staff
  will be hired to assist the senior officers, consistent with iCap’s growth plan.

  For example, a full-time experienced project manager can effectively oversee 30-35 sponsor Projects at a time and 8-
  10 wholly owned Fund Projects at a given time. This equates to approximately $40 million of capital under
  management. Additional project managers will be retained as these Project activity thresholds are reached to ensure
  the Senior Project Manager, and subsequently hired project managers, can perform their respective work effectively.


                                                            President

                                                             Chris Christensn



                                                                                                Chief Operating
                   Controller
                                                                                                    Officer
                                  TBD                                                                  Jim Christensen



                                                                                 Senior Construction             Senior Project         Senior Transaction
      Bookkeeper                Investor Relations         Underwriter
                                                                                      Manager                      Manager                 Coordinator
      My-Linh Huynh                             TBD                      TBD           Bryan Brown                   John Carlson            Connie Crothers



                                                                                                                                           Transaction
                                                           Underwriter                                         Project Manager
                                                                                                                                           Coordinator
                                                                         TBD                                                      TBD                    TBD


  The iCap growth plan also calls for supplementary support staff in other functional areas of the business. This
  includes additional underwriters and due diligence specialists to work under the Chief Operating Officer, as well as
  additional accountants to support the Controller. An experienced underwriter or paralegal can close 5-6 new Fund
  real estate Investments in a month, translating to 60-65 in a year time frame. With each additional $60 million in
  capital under management, iCap intends to retain an additional closer to manage this increased transaction volume.
  As it pertains to the accounting function, Clark Nuber PS, a regional accounting firm, advises iCap on bookkeeping
  and McGladrey LLP, a national accounting firm, completes audits and tax returns. Each of these third party firms can
  be relied upon as needed and as iCap scales.



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  Organizational Strength

  iCap maintains a network of strategic relationships. The team leverages relationships with sourcing, development,
  construction, and fund administration constituents to attain return objectives for Investors. Property owners, lenders
  and brokers are the primary entities for deal sourcing. With regards to development, iCap relies upon numerous
  environmental analysts, land biologists, water biologists and permitting experts to gather important insights for
  prospective Investments and to effectively manage existing Fund Projects. iCap turns to its relationships with
  architects, engineers and various consultants to provide pertinent construction knowledge. Such information is
  imperative to the various phases of the Investment process and to project management of Investments.

  iCap maintains connections with a vast network of sourcing partners who provide potential Fund Projects. iCap
  evaluates more than $50 million worth of prospective investments each month. Sourcing relationships fall into three
  categories: property owners, lenders and brokers. Property owners include builders, commercial entities and
  developers. Meanwhile, lenders include banks, private direct lenders and mortgage companies. Finally, brokers
  encompass real estate professionals, commercial financing brokers and mortgage brokers. Lenders tend to offer the
  most abundant and valuable deal flow for iCap, typically representing about 50% of aggregate deal flow. The
  remaining 50% is usually evenly split between property owners and brokers.

  Miscellaneous

  The Manager and its Affiliates have never been denied a license to practice a trade or business or ever experienced an
  event of bankruptcy, receivership, assignment for the benefit of creditors or similar proceeding.

  On July 29, 2014 Stalwart Capital, LLC served a summons and complaint upon iCap Pacific Northwest Opportunity
  and Income Fund, LLC (“iCap 1”) seeking a fee on capital raised by iCap 1 and up to 10% of its profits on the claim
  that iCap 1 is a related party of an entity who had entered into an engagement letter with Stalwart Capital, LLC for
  broker-dealer services on that affiliated fund. iCap 1 believes this complaint is without merit and is defending itself
  vigorously. In the event a court finds that the Fund is liable because of its relationship to iCap 1, as a successor or
  otherwise, the Fund may be required to pay the amounts ordered by the court. Such payments could have the effect of
  reducing the Fund’s Net Profits, thereby reducing the Payoff Premium Payment payable under the Debentures.

   In November 2007, Chris Christensen signed as a personal guarantor on a commercial loan from Timberland Bank
  for a condominium development of an Affiliate of the Manager. The project did not sell as planned, and the bank
  foreclosed. After the foreclosure, the bank sought recourse from the personal guarantors for the deficiency amount,
  and eventually recorded a judgment of $2,000,000 against Chris personally. The bank has not sought collection of the
  judgment and Chris has been in negotiations with the bank to have the judgment removed.




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                                          DESCRIPTION OF THE BUSINESS

  The Fund has been formed to invest in real estate opportunities in the Pacific Northwest. The Fund may also acquire
  real estate directly, as well as debt instruments in other real estate companies. The target investment properties
  include single and multi-unit residential properties, multi-family residential projects, commercial properties and land
  acquired for entitlement purposes.

  Market Opportunity

           Demand for Equity

  Virtually all real estate transactions require an equity investment in order to obtain lender financing. The Great
  Recession increased the demand for equity investment in real estate transactions because banks and other real estate
  lenders tightened their lending criteria. Several years ago lenders routinely loaned up to 90% of a project's bulk value
  or 80% of retail value. Now they are commonly lending no more than 65-70% of a project's cost and are requiring the
  Project Partner to supply the remainder of the money to complete a project. Additionally, lenders require borrowers
  to meet rigorous liquidity requirements, which result in borrowers keeping their cash in banks as reserves rather than
  using the funds for their own real estate projects. As a result of Project Partners not having the necessary capital to
  fund their real estate projects, a funding gap exists that results in short-term and long-term investment opportunities
  for the Fund.

           Capitalizing on the Market Opportunity

  The Fund’s business model is designed to fill the funding gap between lenders, on the one hand, and developers or
  builders (“Project Partners”), on the other hand, by providing the additional cash equity needed for real estate
  projects. The primary difference between the Fund and other equity investors is that the Fund maintains control of
  each Project Entity.

  iCap’s business model has been attractive to banks and other lenders, we believe because it brings additional
  assurance to lenders that they will be repaid through the Fund’s and its Affiliates’ efforts. Local lenders screen
  hundreds of potential projects and perform much of the upfront due diligence required to put a project together. For
  example, a lender who has approved a Project Partner on a loan for a project that the lender likes, will have already
  performed the appraisal, background checks, financial analysis, and other items for the loan to be approved. The
  Fund can then review the due diligence information prepared for the lender and begin its own due diligence process.
  After reviewing the lender’s due diligence information and completing its own due diligence process, the Fund will
  negotiate an investment structure with the Project Partner. The investment with the Project Partner will be structured
  in a way that requires a priority return of the Fund’s original investment plus a share of the profits. The Fund will
  then provide the capital needed to meet the cash requirement under the loan. Recently, many banks have reported that
  they have more cash to lend than ever before; however, they commonly state that there are not enough borrowers
  capable of qualifying for loans under their new guidelines. This situation is generally the result of low liquidity on the
  part of the borrower, which can be met by the Fund.

  We believe the Fund provides a needed service in particular to developers and builders. Most developers and builders
  who could not otherwise finance a real estate project without additional cash are willing to agree to the Fund’s
  guidelines and investment criteria. From the Project Partners’ (developers and builders) point of view, she, he or it
  would rather agree to give a share of a project’s profits to the Fund and have the chance to earn a smaller profit for
  himself, herself or itself than to miss the opportunities altogether.

           Market Opportunity’s Longevity

  Many investors seek to take advantage of the short-term opportunities that have arisen from banks needing to
  liquidate assets at low prices but do not have the capital or relationships to fund the opportunities. The Fund’s
  investment strategy allows it to participate in both short-term and long-term opportunities. For example, the Fund’s
  business model allows it to provide the necessary capital for a Project Partner to acquire high quality assets now (a
  short-term opportunity). The Fund will also provide funding for the projects performed by Project Partners who need
  cash to meet the revised lending criteria of banks (a long-term opportunity). In both scenarios, the Fund structures its
  investments such that the Project Partner and its guarantors bear most of the economic risk, while the Fund gets a


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  priority return of its original investment and shares in the profits of the Project Entity and maintains control of the
  exit strategy.

  Target Market: Pacific Northwest

  The Seattle-Tacoma-Bellevue Metro Area is the second strongest regional economy in the United States1. This region
  contains nearly 65% of the 6.8 million people living in Washington and a majority of manufacturing, research, and
  technology jobs generated by some of
  the most stable companies in the world.
  The Puget Sound Region is home to
  several    Fortune     500    companies:
  Microsoft, Nordstrom, Amazon.com,
  Costco, Starbucks, and several more.
  These companies have contributed to the
  job growth rate of the region. In the first
  three months of 2015, Washington added
  31,600 jobs, which is a 4.1% growth
      2
  rate .

  The Puget Sound Market has recovered
  faster from the Great Recession than any
  other region in the country. Since 2010,
  jobs in the Greater Puget Sound area
  have grown annually at an average rate
                                                               3
  of 2.4% compared to the national average growth rate of 1.6% . This continued growth results in a need for more
  housing for the people who move into the region, which in turn creates real estate investment opportunities for the
  Fund.

  Regional Housing Demand

  •      112,000 people moved into the greater Puget Sound area from January 2014 to January 2015. That is a 15%
         increase from the previous year of 97,000 move-ins.
  •      The average price per apartment unit in 2014 was $156,000, which is a 5.5% increase from 2013 and an over
                                      4
         60% increase from 2005 .

  The Fund will focus its Investments in three types of properties: multi-family (condos and apartments), residential,
  and commercial. Given that the Fund and its Affiliates are based in the Seattle-Tacoma area, the Fund will primarily
  invest in Project Entities located in western Washington. The Fund is also making investments in the greater Portland
  market.

  Market Segment

  iCap’s model addresses the $50 billion gap between the $176 billion amount that lenders are willing to lend and the
  $25 billion sponsors contribute of their own money (based on $251 billion annual capital activity in small-cap real




  1
      Source: www.policom.com
  2
      Source: www.erfc.wa.gov/publications/documents/mar15.pdf
  3
      Source: www.economicforecaster.com - Puget Sound Economic Forecaster Vol. 22, #4, dated March 12, 2015.
  4
      Source: www.duprescott.com/articles - Articles: More people…good or bad? & Record sales?




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  estate) . The Fund provides the equity piece (i.e. the gap funding) that enables builders and property owners to secure
  capital for the completion of their projects.

  Investment Focus and Structure

  The Fund intends to focus its investments on new construction properties and income-producing properties located in
  the Pacific Northwest and to seek projects in which the Fund’s investments can be repaid within 12 to 18 months
  after acquisition. Affiliates of the Fund will add value through legal, development, or construction services, as
  needed.

  Projects are sourced primarily through private lenders, banks, brokers, and property owners. The Manager has
  existing relationships with various banks and private lenders that are attempting to dispose of Real Estate Owned
  (REO) properties. A bank will often contact the Manager as they know that the Fund is interested in these types of
  investment opportunities. A second source of projects is developers and builders. The Manager works with those
  developers that have quality projects and who are in need of cash so that the developer can have all of the required
  equity in place prior to approaching the bank for a loan. Specific examples of types of investments the Fund may
  target include the following:

                Equity Investments

  An equity investment for the Fund involves the purchase of an ownership position in a Project Entity. An example of
  this type of investment might be a developer who desires to obtain a loan from a bank to build an apartment building.
  In the typical situation, the bank’s lending guidelines will limit the loan amount to 70% of the construction costs,
  requiring the developer to pay for the remainder of the construction costs with cash. In this instance, the developer
  would supply as much cash as he, she or it has, and the Fund would fill the gap in exchange for a priority return of its
  original investment plus a portion of ownership (and profits) of the Project Entity.

  The Project Entity LLC Agreement will be structured first to provide a preferred return, followed by a priority
  repayment of the Fund’s capital investment and then a share of the profits in the Project Entity in the form of an exit
  fee. For example, if the Fund were to invest $500,000 into a project, the Fund would be entitled to a priority
  repayment of the $500,000, plus interest, and would further be given an exit fee that is typically an amount equal to
  2-6% of the total value of the Project. The Fund’s legal agreements with the Project Partner will provide for the
  Investment in each project to be repaid as soon as possible, but generally no later than 18 months from the time of the
  Fund’s Investment. This structure allows the Fund to re-invest the returned capital received from Project Entities,
  while continuing to maintain a share of the profits. Failure of the Project Partner to perform on the terms of the
  Fund’s financing, or failure to adequately perform its contractual obligations to the Project Entity, would result in the
  Fund receiving a larger share of the profits or the ability to take control of the Project Entity and the Project Partner’s
  interest thereto. Such failure will also permit the Fund to demand the return of its investment in the Project Entity.

                Cash Acquisitions

  Many current real estate opportunities can be found by buying properties from banks or property owners. Quite
  frequently, banks and other lending institutions are required by the FDIC to liquidate properties they own in order to
  meet mandatory ratio requirements with regard to their loans and deposits. This situation often requires lenders to sell
  their REO properties very quickly, often at discounts. The Fund has a growing network of relationships with lenders
  who are willing to sell their properties to private parties in off-market transactions before listing them for sale to the
  general public. The Fund will utilize this network to position itself to purchase properties that meet management's
  approval. Once an REO asset is acquired from a lender at a discount, the Fund has the option of either selling the
  property immediately or adding value to the property through entitlement, development, construction, or any
  combination of these things. Then, depending on market demand, the developed parcels or structures could be sold.



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      Source: Wall Street Journal, “New Lenders Enter Property Market and Think Small,” July 22nd, 2014, 2014; US Loans of $5M or Less in 2013




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  In these instances, the Fund would acquire such properties through a wholly-owned special purpose entity and may
  engage the Manager’s Affiliates to perform the value-added work.

           Loans

  In the event the Fund makes loans to real estate projects, it will do so in exchange for a first position mortgage (deed
  of trust) on the underlying property. These loans will typically be underwritten to ensure that the loan is no more than
  80% of the property’s value. The loans are intended to be short-term loans to be repaid in less than 15 months. The
  Fund may also provide additional cash as an equity investment to those borrowers. Additionally, the Fund may
  purchase existing loans from lenders at a discount. In that case, the fund will receive interest payments until the loan
  is sold or paid off. The Fund intends to enter into a limited number of these types of Investments, if any.

           Acquisition of Bank Notes

  A number of banks are in a position where they need to divest portions of their loan portfolios in order to comply
  with various FDIC requirements. The Fund believes it is in a position to opportunistically step in and acquire such
  bank notes at a discount. The Fund intends to enter into a limited number of these types of Investments, if any.

           Other Investments

  The Manager may pursue other investment opportunities so long as they are believed to have attractive yield
  potential.

  Legal Structure of Projects

  Each Project Entity will be organized as a limited liability company with assets consisting of the real property and
  any fixtures and improvements relating to the same. This organizational structure allows the Fund to limit potential
  liabilities that may come from unrelated matters of the Project Partner and provides protective measures for the Fund.
  Unlike traditional real estate investment vehicles, in which the real estate itself serves as the primary or only source
  of collateral, the Fund will also secure the return of its investment in the Project Entity with the Project Partner’s
  equity interest in the Project Entity. Thus, in addition to recording second position or sometimes first position
  mortgages (deeds of trust) against the property to secure the return of the Fund’s investment in the Project Entity, the
  Project Partner must also pledge his, her or its equity interest in the Project Entity to the Fund. The Fund will be
  entitled to foreclose against this pledge or exercise its contractual rights under the governing documents of the
  Project Entity in the event of the Project Partner’s failure to meet the performance obligations it has contractually
  agreed to. The Fund believes these measures will help ensure the project is completed on time and on budget. In
  order for the Fund to invest in a Project Entity, the Project Partner must contractually agree to:

      x    Pay all subcontractors, vendors, or service providers of the Project Entity when due;
      x    File tax returns and pay taxes when due;
      x    Generate any other report due to government authorities or to the members of the Project Entity when
           requested or when due;
      x    Obtain approval from the Fund before incurring expenses that are not included in, or which exceed the line
           items of, the budget of the project that will be agreed to by the Fund;
      x    Prohibit any lien, security interest, or other encumbrance to be filed or recorded against any property owned
           by the Project Entity which has not been previously approved by the Fund;
      x    Obtain and maintain all permits or licenses, necessary to the operation or development of the Project Entity;
      x    Meet the project milestones and timelines to be set forth in the Project Entity LLC Agreement;
      x    Maintain property sale prices or rents within 10% of the values set forth in the Project Entity governing
           documents unless consent is first obtained from the Fund;
      x    Maintain financial solvency of the Project Partner or any entity owned by the Project Partner;
      x    Avoid litigation, disputes, arbitration, or violation of any law or ordinance;
      x    Not enter into any agreement on behalf of the Project Entity, the terms of which in the reasonable
           determination of the Fund manager are likely to reduce the Project Entity’s profits;



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      x    Meet with the Fund manager monthly; maintain and produce accurate books and records; and deliver the
           documents or reports requested by the Fund;
      x    Maintain adequate insurance for the project or for any affiliate thereof performing work on the project;
      x    Deliver copies of any notices received by the project manager; and
      x    Not encumber, hypothecate, or pledge as collateral, or attempt to encumber, hypothecate, or pledge as
           collateral, any interest of the Project Entity contrary to the provisions of the Project Entity LLC Agreement
           or without the prior written consent of the Fund Manager.

  Identifying and Monitoring Investments

  The Fund's due diligence process typically starts with a phone call from a bank, broker or builder and is followed by
  phases of review, which serve to eliminate those projects that do not meet the Fund's investment criteria. The due
  diligence process encompasses a methodical and comprehensive review of material elements pertaining to the
  specific project in question and the real estate market in general. The Fund will consider whether to fund a project
  based on the following investment criteria:

           Location of Property

  Each Fund investment must fall within an approved geographic area. Due to the strength and diversity of the Pacific
  Northwest economy, the Fund is currently investing in projects located in the Greater Puget Sound area. The Fund
  will also invest in the greater Portland area.

           Strength of Exit

  Prior to funding a project, the Fund will establish multiple potential exit strategies, thus generating multiple avenues
  for providing returns to the Fund. The strength of an exit is determined by the number of exits available, current
  market conditions, available take out finance options, and/or the sponsor’s ability to refinance. Current market
  conditions are assessed based on supply and demand of the type of finished products and their locations.

           CLTV less than 80%

  Combined loan to value (“CLTV”) is a ratio used by the Fund to determine the downside risk on each prospective
  project. It is calculated by taking the sum of the Fund’s investment and the first mortgage loan and dividing it by the
  anticipated value of the property at the completion of the project. The Fund will not invest in projects whose CLTV
  exceeds 80%.

           Timing of Exit

  The Fund seeks to invest in projects that will exit in 18 months or less, and preferably 12-months or less. This
  relatively short investment period is important to minimize changing market conditions. In the event that market
  conditions change, the Fund is able to adjust the exit strategy quickly to take advantage of every opportunity
  available.

           Background of the Sponsor and their ability to complete the Project

  Each prospective Project Partner is required to provide a resume, financial statement, a list of current and past
  projects as well as attend a face-to-face meeting. Through this process the Fund is able to measure the character of
  each Project Partner and his, her or its ability to execute a project.

           Cash invested by Sponsor

  Aligning the interests of the Project Partner with those of the Fund is an important goal of the Fund. The Fund will
  require each Project Partner to make a cash contribution into the project. This investment of capital by a Project
  Partner is returned only after the Fund receives its return of principal investment and a predetermined preferred
  return. The amount required to be contributed by a Project Partner will be determined on a case-by-case basis,
  including conditions of the project and the capability of the Project Sponsor.



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           Signed Letter of Intent (“LOI”)

  Prior to investing in a project, the Fund will issue an LOI, outlining the investment terms and anticipated returns.
  Before proceeding with the due diligence, the Fund will require a signed LOI from the Project Partner, which will
  usually be accompanied by a nonrefundable due diligence deposit of around $10,000.

  Assuming that the maximum amount of this Offering is raised, the Fund expects to have between 65 – 85
  Investments while the Fund has obligations outstanding under the Debenture Agreement, none of which will,
  individually, be in an amount in excess of 10% of the Gross Offering Proceeds received by the Fund as of the closing
  date of such Investment; however, the Fund may invest up to $1,500,000 into a single Investment once the Fund has
  raised at least $3,000,000 of Gross Offering Proceeds. In addition, no more than 15% of the Gross Offering Proceeds
  will be invested in projects in which there is no Project Partner (i.e. projects in which the Fund will effectively act as
  developer). The Fund expects to have 35 to 45 Investments in its portfolio under management at any given time.
  Additionally, prior to making an Investment, the Fund identifies multiple exit strategies, thus identifying multiple
  avenues for providing returns to the Fund. The Fund expects most Investments to range in size between $500,000 and
  $1,500,000.

  Once an Investment is made, the Manager will require the respective Project Partners to send monthly reports and to
  update all documentation, gather information, offer advice, and maintain familiarity with the Investment. The Fund
  believes this steady supervision will help Fund management track each project’s progress and allows for a more
  seamless transition if the Project Partner fails to meet the Fund’s requirements. In the course of managing its
  portfolio, the Fund expects that as part of its diversified portfolio some Investments will perform at a loss, while
  others will perform positively. In the event the Fund needs to step in to protect the Investment, the Project Entity may
  engage the Manager’s Affiliates to perform the work at the predetermined rates. See “COMPENSATION AND
  FEES TO THE MANAGER AND AFFILIATES—Compensation Rates of Affiliates.”




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                                      U.S. FEDERAL INCOME TAX MATTERS

  TO ENSURE COMPLIANCE WITH TREASURY DEPARTMENT CIRCULAR 230, HOLDERS ARE HEREBY
  NOTIFIED THAT: (I) ANY DISCUSSION OF FEDERAL TAX CONSEQUENCES CONTAINED OR
  REFERRED TO IN THIS MEMORANDUM WAS NOT INTENDED OR WRITTEN TO BE USED, AND
  CANNOT BE USED, BY DEBENTURE HOLDERS FOR THE PURPOSE OF AVOIDING PENALTIES THAT
  MAY BE IMPOSED ON THEM UNDER THE CODE; (II) SUCH DISCUSSION WAS WRITTEN IN
  CONNECTION WITH THE PROMOTION OR MARKETING OF THE TRANSACTIONS OR MATTERS
  ADDRESSED HEREIN; AND (III) HOLDERS SHOULD SEEK ADVICE BASED ON THEIR PARTICULAR
  CIRCUMSTANCES FROM AN INDEPENDENT TAX ADVISOR.
  Introduction

  The following is a general discussion of the material U.S. federal income tax considerations relating to the purchase,
  ownership and disposition of the Debentures.

  This discussion is based on currently existing provisions of the Code, existing, temporary and proposed Treasury
  regulations promulgated thereunder, and administrative and judicial interpretations thereof, all as in effect or
  proposed on the date hereof and all of which are subject to change, possibly with retroactive effect, or different
  interpretations. No assurance can be given that changes in existing laws or regulations or their interpretation will not
  occur after the date of this Memorandum. We have not sought and will not seek any rulings from the Internal
  Revenue Service with respect to the statements made and the conclusions reached in the following summary, and
  accordingly, there can be no assurance that the Internal Revenue Service will not successfully challenge the tax
  consequences described below.

  This discussion only applies to U.S. Holders (as defined below) and is limited to the tax consequences to U.S.
  Holders that are original beneficial owners of the Debentures, that purchased Debentures at their original issue price
  for cash, and that hold such Debentures as capital assets within the meaning of Section 1221 of the Code.

  This discussion is for general information only and does not address all of the tax consequences that may be relevant
  to you in light of your personal circumstances. Furthermore, this summary does not discuss the tax consequences of
  an investment in Debentures by certain investors that are subject to special tax rules, such as U.S. Holders having a
  functional currency other than the U.S. dollar, persons subject to special rules applicable to former citizens and
  residents of the U.S., certain financial institutions, persons subject to the alternative minimum tax, grantor trusts, real
  estate investment trusts, insurance companies, tax-exempt entities, dealers in securities or currencies, persons holding
  the Debentures in connection with a hedging transaction, straddle, conversion transaction or other integrated
  transaction, pension funds, partners in partnerships or owners of interests in entities treated as partnerships under
  U.S. federal income tax laws, corporations treated as personal holding companies, or non-U.S. Holders (which
  include any holders of the Debentures, other than a partnership or an entity or arrangement treated as a partnership
  for U.S. federal income tax purposes, that is not a U.S. Holders). This discussion also does not discuss the effect of
  any state, local, foreign or other tax laws or any U.S. federal estate, gift or alternative minimum tax considerations.

  This summary is of a general nature and is not intended as legal or tax advice to prospective investors. Accordingly,
  you are urged to consult your own tax advisors as to the particular tax consequences to you of your participation in
  the offering and your ownership and disposition of the Debentures, including the applicability of any U.S. federal tax
  laws or any state, local or foreign tax laws or any treaty, and any changes (or proposed changes) in applicable tax
  laws or interpretations thereof.

  Considerations Relating to U.S. Holders of the Debentures

  As used herein, the term “U.S. Holder” means a beneficial owner of a Debenture that is, for U.S. federal income tax
  purposes:
      x An individual citizen or resident of the U.S.;
      x A corporation (or any other entity treated as a corporation for U.S. federal income tax purposes) created or
        organized in or under the laws of the U.S., any state thereof or the District of Columbia;



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      x An estate whose income is includible in gross income for U.S. federal income tax purposes, regardless of its
        source; or
      x A trust that either is subject to the supervision of a court within the United States and has one or more U.S.
        persons with authority to control all of its substantial decisions, or has a valid election in effect under
        applicable Treasury regulations to be treated as a U.S. person.
  If a partnership holds Debentures, the tax treatment of a partner will generally depend upon the status of the partner
  and upon the activities of the partnership. A holder of Debentures that is a partnership and the partners in such a
  partnership should consult their tax advisors.
           Classification of the Debentures

  Pursuant to the terms of the Debenture Agreement, the Fund and each holder of Debentures will agree to treat the
  Debentures, for U.S. federal income tax purposes, as debt instruments. Holders should be aware, however, that the
  IRS is not bound by the Fund’s determination that the Debentures constitute debt for U.S. federal income tax
  purposes. The IRS could take the position, for example, that the Payoff Premium should be treated as a separate
  instrument and classified as equity. If any portion of the Debentures is not treated as indebtedness, the timing and
  character of income, gain, or loss recognized in respect of a Debenture could differ from the timing and character of
  income, gain or loss recognized in respect of the Debentures described below. The remainder of this discussion
  assumes that the Debentures will be treated as indebtedness in accordance with that agreement and our determination.

           Interest Income

  Holders of the Debentures will be required to report original issue discount (“OID”) over the term of the Debentures
  under Treasury Regulations that govern “contingent payment debt instruments” (the “CPDI Regulations”). The
  Debentures will be subject to the CPDI Regulations because they provide for the payment of the Payoff Premium,
  which is contingent on the Net Profits of the Fund. The reporting of OID under the CPDI Regulations will be the
  exclusive method of reporting interest income under the Debentures, including the interest payments required by the
  Debentures.

  Under the CPDI Regulations, each Investor generally will be required to report interest income on the Debentures
  each year in an amount equal to the OID that accrues each year, regardless of whether such Investor uses the cash or
  accrual method of tax accounting. The amount of each year’s accrual will be calculated under a method that takes
  into account (in the manner specified below) a portion of our projection of the Payoff Premium. Consequently, an
  Investor would be required to include interest in taxable income in each year in excess of the amount of interest
  payments actually received by such Investor in that year.

  Under the CPDI Regulations, the amount of OID on a Debenture that is allocable to each annual accrual period will
  be the product of the “adjusted issue price” of the Debenture as of the beginning of each such annual period and the
  “comparable yield” for the Debentures. The “adjusted issue price” of a Debenture on any particular date is its “issue
  price” (i.e., the first price at which a substantial amount of the Debentures is sold to investors), increased by any
  interest income previously accrued (determined without regard to any adjustments to interest accruals described in
  “Adjustments to Interest Accruals on the Debentures” below), and decreased by the amount of any non-contingent
  payments previously made and the projected amount of any contingent payments scheduled to be made on the
  Debenture through the date on which the adjusted issue price is being calculated (i.e., without regard to the actual
  amount of the contingent payments made).

  Under the CPDI Regulations, the Fund is required to establish the “comparable yield” for the Debentures. The
  comparable yield for the Debentures is the annual yield the Fund would incur, as of the initial issue date, on a fixed
  rate nonconvertible debt instrument with no contingent payments, but with terms and conditions otherwise
  comparable to those of the Debentures. Accordingly, the Fund has determined the comparable yield to be 10%
  compounded annually.

  The Fund is required to provide to Investor, solely for U.S. federal income tax purposes, a schedule of the projected
  amounts of all payments required to be made on the Debentures (including the Payoff Premium). This schedule must
  include a projected amount of Payoff Premium sufficient to cause the yield on the Debentures to equal the
  comparable yield. The Fund’s determination of the projected payment schedule for the Debentures, including the


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  monthly interest payments and an estimate of the timing of payment and amount of the Payoff Premium, is below. In
  certain limited situations in which the Payoff Premium is expected to be larger than originally contemplated, the
  Fund may be required to revise the projected payment schedule, which could result in a change to the amount of OID
  allocable to each annual accrual period.


                            Projected Payment Schedule Per $100,000 of Debentures


                                        2015             2016            2017             2018

                   January                             $833.33          $833.33             $0

                  February                             $833.33          $833.33             $0

                   March                 $0            $833.33          $833.33             $0

                    April             $833.33          $833.33          $833.33             $0

                    May               $833.33          $833.33          $833.33             $0

                    June              $833.33          $833.33          $833.33             $0

                    July              $833.33          $833.33          $833.33             $0

                   August             $833.33          $833.33          $833.33             $0

                 September            $833.33          $833.33          $833.33             $0

                  October             $833.33          $833.33          $833.33             $0

                 November             $833.33          $833.33          $833.33             $0

                 December             $833.33          $833.33          $833.33             $0

  Pursuant to the terms of the Debenture Agreement, the Fund and each holder of Debentures will agree to be bound by
  the Fund’s application of the CPDI Regulations to the Debentures, including our determination of comparable yield
  and the related “projected payment schedule” set forth above). The comparable yield and the projected payment
  schedule are solely for purposes of determining your (and the Fund’s) interest accruals and adjustments thereof in
  respect of the Debentures for U.S. federal income tax purposes and do not constitute a projection or representation
  regarding the actual amounts payable to you with respect to the Debentures.

           Adjustments to Interest Accruals on the Debentures

  If Investor receives actual payments of Payoff Premium with respect to the Debentures in a tax year in excess of the
  total amount of projected payments of Payoff Premium for that tax year, Investor will have a “net positive
  adjustment” equal to the amount of such excess. Investor will be required to treat the “net positive adjustment” as
  additional interest income for the tax year.

  If you receive actual payments of Payoff Premium with respect to the Debentures in a tax year that in the aggregate
  are less than the amount of the projected payments of Payoff Premium for that tax year, Investor will have a “net
  negative adjustment” equal to the amount of such deficit. This adjustment will be applied to reduce Investor’s interest
  income on the Debentures for that tax year, and any remainder will give rise to an ordinary loss to the extent of
  Investor’s interest income on the Debentures during prior tax years, reduced to the extent such interest income was
  offset by prior net negative adjustments, if any. Any negative adjustment in excess of the amounts described in the



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  preceding sentence will be carried forward to offset future interest income in respect of the Debentures or to reduce
  the amount realized upon a sale, exchange, repurchase or redemption of the Debentures.

  Sale, retirement or disposition of Debentures

  Upon the sale, retirement or other disposition of a Debenture, Investor generally will recognize taxable gain or loss
  equal to the difference between the amount realized on the disposition and Investor’s adjusted tax basis in the
  Debenture. A U.S. Holder’s adjusted tax basis in a Debenture generally will be equal to its adjusted issue price (as
  described above) in the Debenture. Gain recognized on the disposition of a Debenture generally will be treated as
  additional ordinary interest income. Any loss recognized on the disposition of a Debenture generally will be treated
  as an ordinary loss to the extent of the excess of previous interest inclusions over the total net negative adjustments
  previously taken into account as ordinary loss, and thereafter, as capital loss (which will be long-term if, at the time
  of such disposition, your holding period for the Debenture is more than one year). The deductibility of capital losses
  is subject to limitations.

  Backup withholding and information reporting

  Information reporting requirements generally will apply to payments of interest (including any amounts treated as
  interest pursuant to the CPDI Regulations) made by the Fund on, or the proceeds of the sale or other disposition prior
  to maturity of, the Debentures. Backup withholding tax, currently at a rate of 28%, may apply to such payments if
  Investor fails to:

      x Furnish his, her or its taxpayer identification number (social security or employer identification number);
      x Certify that such number is correct;
      x Certify that he, she or it is not subject to backup withholding; or
      x Otherwise comply with the applicable requirements of the backup withholding rules.
  Certain U.S. Holders are not subject to backup withholding and information reporting requirements. Backup
  withholding is not an additional tax. Any amounts withheld under the backup withholding rules from a payment to
  Investor generally will be allowed as a credit against Investor’s U.S. federal income tax liability and may entitle
  Investor to a refund, provided that the required information is furnished timely to the Internal Revenue Service (the
  “IRS”).

                                                   ERISA MATTERS

  Benefit Plan Investor Considerations

  The Debentures offered in the Offering may be purchased and held by an employee benefit plan subject to Title 1 of
  the Employee Retirement Income Security Act of 1974, as amended (“ERISA”), or an individual retirement account
  (“IRA”) or other plan subject to Section 4975 of the Code or by a plan or other arrangement subject to provisions of
  federal, state, local, or non-U.S. law substantially similar to such provisions of ERISA and the Code “Similar Law”).
  A fiduciary of an employee benefit plan must determine that the purchase and holding of a Debenture is consistent
  with its fiduciary duties under ERISA or other applicable law. The fiduciary of an ERISA plan, as well as any other
  prospective Investor subject to Section 4975 of the Code (including, without limitation, IRAs) or any Similar Law,
  must also determine that its purchase and holding of Debentures offered hereby does not result in a non-exempt
  prohibited transaction under Section 406 of ERISA or Section 4975 of the Code (including, without limitation, the
  prohibition against the lending of money or other extension of credit between a plan or IRA that is subject to either
  such section and a “party in interest” as defined in Section 3(14) of ERISA, or “disqualified person,” as defined in
  Section 4975(e)(7) of the Code) or violate any Similar Law. Each purchaser and transferee of a Debenture offered
  hereby who is subject to ERISA or Section 4975 of the Code or any Similar Law will be deemed to have represented
  by its acquisition and holding of such Debenture that its acquisition and holding of the Debenture does not constitute
  or give rise to a non-exempt prohibited transaction under Section 406 of ERISA or Section 4975 of the Code or
  violate any Similar Law.




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                                                      GLOSSARY

  To understand the rights associated with the Debentures, Investor must review carefully the defined terms used in this
  Memorandum. Some of these definitions are set forth in this “GLOSSARY” and others in the body of this
  Memorandum. These definitions (some of which have been slightly modified) have been taken from the Debenture
  Agreement, which defines the preferences, privileges, rights, interests and obligations of the Debentures. Many of
  these definitions are technical in nature, involve complicated relationships, and can only be understood by reference
  to other defined terms and, in some cases, to other provisions of the Debenture Agreement. Section references in the
  definitions refer to sections in the Debenture Agreement. Prospective investors should understand that the definitions
  in the Debenture Agreement will, for all purposes, be controlling, notwithstanding any simplification of such
  definitions in this Memorandum. Moreover, you should bear in mind that this GLOSSARY does not include many of
  the definitions included in the Debenture Agreement.

  “Act” means the Securities Act of 1933, 15 U.S.C. § 15b et seq., as amended.

  “Affiliate” of any specified Person means any Person directly or indirectly controlling or controlled by, or under
  direct or indirect common control with such specified Person. For purposes of this definition, “control” when used
  with respect to any specified Person means the power to direct the management and policies of such Person, directly
  or indirectly, whether through the ownership of voting securities, by contract or otherwise; and the terms
  “controlling” and “controlled” have meanings correlative to the foregoing.

  “Code” means the Internal Revenue Code of 1986, as amended from time to time, or the corresponding provisions of
  any succeeding law.

  “Collateral Agent” means Experts Counsel Inc., a Florida corporation.

  “Debenture” means the secured payment obligation, to be issued by the Fund in favor of the Holder, pursuant to the
  terms of the Debenture Agreement, with an original principal amount equal to the loan made by the Holder to the
  Fund at Closing (i.e. the Loan Amount). The Debenture shall be in the form attached to the Debenture Agreement,
  which is attached hereto as Exhibit A.

  “Debenture Agreement” means the Senior Secured Debenture Purchase Agreement, as originally executed or as
  amended by the Parties, and shall include the forms and exhibits attached thereto.

  “Estimated Tax Amount” means, with respect to each member of the Fund, the amount equal to (a) the sum of (i) the
  greater of the highest statutory marginal ordinary federal income tax rate for individuals or corporations for a given
  tax year plus (ii) the unearned income Medicare contribution tax rate under Internal Revenue Code Section 1411 for a
  given year, multiplied by (b) the taxable income allocated to that member for the taxable year pursuant to the
  allocation provisions in Article IV of the LLC Agreement.

  “Fund” means iCap Northwest Opportunity Fund, LLC, a Delaware limited liability company, which is the obligor
  under the Debenture.

  “Holder” means any Person who has purchased a Debenture pursuant to this Agreement, together with any transferee
  thereof permitted under Section 9 of the Debenture Agreement.

  “Manager” means iCap Pacific NW Management, LLC, a Washington limited liability company, which was formed
  for the sole purpose of being the Manager.

  “Person” means any individual, corporation, partnership, joint venture, association, joint-stock company, trust,
  unincorporated organization or government or any agency or political subdivision thereof.

  “SEC” means the Securities and Exchange Commission.




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                                SUMMARY OF THE DEBENTURE AGREEMENT

  The following summarizes certain provisions of the Debenture Agreement, and the Debenture document contained
  therein, not described elsewhere in this Memorandum. All statements made below and elsewhere in this
  Memorandum relating to the Debenture Agreement are hereby qualified in their entirety by the actual language of the
  Debenture Agreement. Such statements do not purport to be complete and in no way modify or amend the Debenture
  Agreement. The parenthetical references included in this section refer to the referenced sections of the Debenture
  Agreement. Prospective investors should read the entire Debenture Agreement, attached as Exhibit A, before
  deciding to purchase Debentures.

  The Debentures will be issued without coupons, in denominations of at least $100,000. The Fund reserves the right,
  in its sole discretion, to accept subscriptions for amounts less than the minimum.

  Collateral Agent

  Each Investor, as a Holder, must appoint Experts Counsel Inc. as its collateral agent under the Debenture Agreement
  (the “Collateral Agent”) and authorizes the Collateral Agent to act thereunder as the Holder’s agent. The Debenture
  Agreement vests control over matters related to the enforcement of any rights or remedies with respect to the
  collateral supporting the Debenture and any remedies under the Debenture in the hands of the Collateral Agent. If an
  action is brought by the Collateral Agent, such action must be for the collective benefit of all Holders. In performing
  its function and duties as a Collateral Agent, the Collateral Agent will act solely as agent of Holders and will not
  assume and will not be deemed to have assumed any obligations towards or relationship of agency or trust with or for
  the Fund, nor will the Collateral Agent be deemed to be a fiduciary for the Holders.

  Economic Terms

           Interest

  Except as described in “Repayment; Fund’s Extension Right” or in the this paragraph, the outstanding Loan Amount
  shall bear simple interest at 10% per annum. Interest computation shall be based on a 360-day year, actual days
  elapsed. Interest will accrue as of the Closing Date of the Debenture. In the event of an Event of Default, the
  outstanding Loan Amount shall accrue interest at a default interest rate of 16% per annum, simple interest, from and
  after written notice to the Fund of the Event of Default until all amounts due thereunder have been paid in full or the
  Event of Default has been cured. Prior to the Maturity Date, or extension thereof, the Fund will be required to make
  only monthly interest payments to the Holder. Such monthly payments will include all interest accrued as of the
  Closing date of the Debenture through the end of the prior calendar month, and shall be due and payable to the
  Holder on the 15th calendar day of the following month or, if such date is not a Business Day, on the first Business
  Day thereafter. The Fund may deposit into an interest reserve account proceeds from the issuance of Debentures to
  cover up to 12 months of interest expense on the Debentures.

           Repayment; Fund’s Extension Right

  The full Loan Amount will be due and payable, together with all accrued but unpaid interest, on or before December
  31, 2017 (the “Maturity Date”). The Fund has the option to extend the Maturity Date for an additional one year
  period, provided an Event of Default has not occurred. This option may be exercised by the Fund at any time prior to
  the Maturity Date as long as a written notice of such election is provided to the Holder no later than 30 days prior to
  the expiration of the Maturity Date. If the Fund fails to give such notice, the Debentures will mature upon the
  expiration of the Maturity Date. If the Fund exercises its right to extend the Maturity Date, an Investor will be
  entitled to receive an 11% per annum simple interest rate on the outstanding principal balance of his, her or its
  Debenture during the extension period. The Fund may choose to prepay part or all of the Debenture without penalty
  at any time prior to the Maturity Date, or extension thereof. The date the Fund prepays in full the Debentures is
  hereafter referred to as the “Prepayment Date.”

           Payoff Premium

  Within 12 months after the payment of the Debenture, the Holder is entitled to a “Payoff Premium Payment” equal to
  Holder’s pro rata share of 35% of the Net Profits generated by the Fund. “Net Profits” means an amount equal to the



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  net cash available to the Fund from liquidation of its Investments after full satisfaction of is obligations under the
  Debenture Agreement and the Debentures, plus a credit for any prior Tax Distributions made to the Manager
  previously under the Fund’s LLC Agreement, less any amounts set aside by the Manager to cover liabilities,
  obligations, capital expenditures, expenses, and reasonable reserves of the Fund. A Holder’s pro rata share of the
  Payoff Premium Payment shall be equal to 35% of the Net Profits multiplied by a fraction, the numerator of which is
  such Holder’s Loan Amount and the denominator of which is the aggregate loan amount of all other holders of
  Debentures. The Fund will calculate and pay the first Payoff Premium Payment on the date of final payoff of the
  Debenture balances, and then on the last day of each calendar quarter thereafter with respect to any Investments that
  may liquidate during such subsequent period(s). The Payoff Premium Payment is not intended to constitute an equity
  interest in the Fund, but rather is intended to constitute additional interest on the Loan Amount, and shall be paid in
  addition to all principal, penalties and other interest otherwise due to each Holder.

           Secured Obligation

  The Debenture represents a secured obligation of the Fund. The Debentures are secured by all of the assets of the
  Fund, by a pledge of the Manager’s membership interest in the Fund, and the Fund’s right, title and interest in the
  membership interest of the Project Partner in the limited liability company specifically formed to hold the
  Investment, as pledged by the Project Partner to the Fund. The Fund’s assets will include the following:

      x A first or, where allowed under senior debt instruments, a second position deed of trust (i.e., mortgage) in the
        real estate owned by or thereafter owned by the Project Entities;
      x A secured interest in the Project Partner’s membership interest in the Project Entity; and
      x The Fund’s right to assume control of the Project Entity and the project owned by it in the event of a failure
        by the Project Partner or the Project Entity to meet applicable project milestones or requirements.

           Events of Default

  The following is a summary of events constituting an “Event of Default” under the Debenture and triggering the
  rights of the Holder to accelerate amounts due thereunder as set forth in the Debenture Agreement:

           (a)       The Fund defaults in the payment of any Loan Amount or interest on any of the outstanding
           Debentures, when the same becomes due and payable and such default continues for a period of 10 Business
           Days (such period, a “Grace Period”), provided, however, that no such Grace Period will be available
           should the Fund default twice in the payment of interest on any of the outstanding Debentures when such
           interest is due and payable (even if such payments were subsequently made during the Grace Period), such
           that should the Fund default in the payment of interest on any of the outstanding Debentures when such
           interest is due and payable after the 2 prior defaults, then an Event of Default shall occur on the date such
           payment was due and payable;

           (b)      The Fund fails to observe or perform any covenant or agreement of the Fund in the Debenture
           Agreement (other than a covenant or agreement a default in whose performance or whose breach is
           specifically dealt with elsewhere in the “Events of Default” provision in the Debenture Agreement), and
           such failure continues for a period of 30 calendar days after there has been given, by registered or certified
           mail, to the Fund by the Holder, a written notice specifying such default or breach and requiring it to be
           remedied and stating that such notice is a “Notice of Default” thereunder;

           (c)      A final judgment or judgments for the payment of money aggregating in excess of $500,000 is
           rendered against the Fund and which judgments are not, within 90 calendar days after the entry thereof,
           bonded, discharged or stayed pending appeal, or are not discharged within 90 calendar days after the
           expiration of such stay; provided, however, that any judgment which is covered by insurance or an
           indemnity from a creditworthy party shall not be included in calculating the $500,000 amount set forth
           above;

           (d)       The Fund violates or otherwise defaults on any material contractual obligation that would, as a
           result of such violation or default, cause the acceleration of the Fund’s obligations thereunder and result in
           the incurrence of a liability, damages or loss to the Fund in excess of $500,000;


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           (e)       The Fund, pursuant to or within the meaning of any Bankruptcy Law (i) commences a voluntary
           case; (ii) consents to the entry of an order for relief against it in an involuntary case; (iii) consents to the
           appointment of a custodian of it for all or substantially all of its property, or (iv) makes a general assignment
           for the benefit of its creditors; or

           (f)       A court of competent jurisdiction enters an order or decree under any Bankruptcy Law that (i) is for
           relief against the Fund in an involuntary case; (ii) appoints a custodian of the Fund for all or substantially all
           of its property, or (iii) orders the liquidation of the Fund; and the order or decree remains unstayed and in
           effect for 90 consecutive calendar days.

  The term “Bankruptcy Law” means Title 11, U.S. Code, or any similar federal or state law for the relief of debtors.
  The term “Custodian” means any receiver, trustee, assignee, liquidator or similar official under any Bankruptcy Law.

           Acceleration, Rescission and Annulment

  Upon the occurrence of an Event of Default, with the consent of the Holder of more than 10% in aggregate loan
  amount of the outstanding Debentures, the Collateral Agent may declare the loan amount of and accrued but unpaid
  interest, if any, on all the Debentures (including the Loan Amount or interest on the Holder’s Debenture) to be
  immediately due and payable. If an Event of Default pursuant to paragraphs (e) and (f) under “Events of Default”
  above occurs, the loan amount and interest on all Debentures will ipso facto become and be immediately due and
  payable without any declaration or other act on the part of the Collateral Agent or any Holders of the Debentures.

  The Holders of more than 50% in aggregate loan amount of the outstanding Debentures by notice to the Collateral
  Agent may rescind an acceleration and its consequences if the rescission would not conflict with any judgment or
  decree and if all existing Events of Default have been cured or waived except nonpayment of principal or interest that
  has become due solely because of acceleration. No such rescission shall affect any subsequent default or impair any
  right consequent thereon.

  Fund’s Rights Regarding Other Indebtedness

  For so long as any Debentures remain outstanding, neither the Fund nor any subsidiary of the Fund (other than a
  special purpose entity organized for the purpose of an investment to be made by the Fund in a real property project)
  shall, without the prior written consent of the Holders holding a majority of the aggregate outstanding principal
  amount of the Debentures, incur or otherwise become liable with respect to any indebtedness other than (a) Permitted
  Indebtedness (as defined below) or (b) indebtedness to trade creditors in the ordinary course of business.

  Registered Debentures; Notices; Changes of Address

  Each Debenture will be registered in the name of the Investor who subscribed for such Debenture or any transferee of
  a Debenture (See “TRANSFERABILITY OF THE DEBENTURES”). Unless otherwise provided by the Fund, all
  payments will be made by the Fund by electronic transfer or check to the registered holder of each Debenture at the
  registered address of such Holder. In the event that a Holder changes his, her or its address, the Holder is required to
  notify the Fund under the terms of the Debenture.

  Governing Law

  The Debentures will be governed by Washington law.

  Covenants of the Fund or the Manager

  The Debentures provide that neither the Fund nor any of its subsidiaries shall (a) directly or indirectly, declare, order,
  make or set apart any sum for or pay any distribution (other than tax distributions as set forth in the LLC Agreement);
  (b) establish any deposit account other than the account identified in that certain Deposit Account Control
  Agreement, to be entered into by and among the Company, the Collateral Agent and Umpqua Bank, or otherwise
  deposit or fund any cash or cash equivalents of the Company in any deposit account other than the account identified
  in the Account Control Agreement; or (c) contract, create, incur, assume or permit to exist any indebtedness, except
  for (i) indebtedness arising or existing under the Debenture Agreement; (ii) indebtedness arising from the issuance of
  the Debentures in the Offering; (iii) indebtedness arising from trade payables incurred by the Fund in the ordinary


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  course of business; (iv) indebtedness junior to the Holder’s interest; (v) with respect to a wholly-owned subsidiary of
  the Fund organized for the purpose of an Investment, indebtedness that results from a commercial loan from a
  commercial lender made in such lender’s ordinary course of business or (vi) the Credit Facility (“Permitted
  Indebtedness”).

  The Fund will not make any single Investment that exceeds 10% of the aggregate principal balances of the
  outstanding Debentures (the “Gross Offering Proceeds”) as of the closing date of such Investment; however, once
  Gross Offering Proceeds equals at least $3,000,000 the Fund may make a single investment equal to the greater of
  10% of the aggregate principal balances of the outstanding Debentures or $1,500,000. In addition, no more than 15%
  of the aggregate Gross Offering Proceeds will be invested in Fund Projects in which there is no Project Partner (i.e.,
  Fund Projects in which the Fund will effectively act as the developer). Also, the Fund may only make Investments if
  the total amount of debt encumbering the underlying property, together with the Company’s Investment, is less than
  80% of the anticipated finished value of the underlying project.

  Neither the Manager nor any of its Affiliates may make any investment on behalf of a new pooled investment fund
  with investment objectives that are identical to those of the Fund until the earlier of: (a) the date on which at least
  75% of the Gross Offering Proceeds (less payment of expenses for consulting fees and professional fees, and the
  setting aside of reserves) have been committed to or invested in Investments or (b) the end of the Offering Period.
  Notwithstanding the foregoing, Affiliates of the Manager (y) have established other pooled investment funds that
  were formed prior to the date of this Fund and which have investment objectives identical to the Fund’s and (z) are
  permitted to raise capital for and operate the Second 2015 Fund. The Second 2015 Fund intends to target institutional
  investors, but will not be limited to institutional investors and seeks to raise up to $100,000,000 in debt investments.
  In the event the Investment is also suitable for one or more Affiliate pooled investment vehicles, including the
  Second 2015 Fund (an “Affiliate Fund”), and the Fund and the Affiliate Fund(s) each have sufficient capital
  available to singularly finance the Investment, after setting aside reserves, then the Investment will be offered to each
  Eligible Party on a rotating basis, with the order of rotation determined by the Manager.

  For the avoidance of doubt, neither the Manager nor its members or managing officers will be required to offer to the
  Fund any real estate investment that is not consistent with the investment guidelines, investment objectives, and
  principles of the Fund or is otherwise not suitable for the Fund. Notwithstanding any provision to the contrary, the
  Fund and its Affiliates may engage in management and investment activities related to pre-existing Investments and
  activities or operations of an Affiliate.




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                                           REPORTS TO THE INVESTORS

  The Fund has adopted a calendar fiscal year ending December 31. For so long as the Holder continues to hold the
  Debenture, the Fund will provide to the Holder:

           (a)      As soon as practicable after the end of each fiscal year and in any event within one hundred twenty
  (120) days after each fiscal year, consolidated balance sheets of the Fund as of the end of such fiscal year and
  consolidated statements of income of the Fund for such fiscal year, prepared in reasonable detail, certified by an
  officer of the Fund. The Fund’s financial statements will be audited by an independent certified public accountant;
  and

           (b)       As soon as practicable after the end of each fiscal quarter and in any event within 60 days after the
  end of each fiscal quarter, quarterly financial statements.




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                                                     THE OFFERING

  The following description of certain matters relating to the Debentures does not purport to be complete and is subject
  in all respects to applicable Delaware Law and to the provisions of the Debenture Agreement.

  General

  The Offering has not been registered under the Securities Act and is intended by the Fund not to involve a public
  offering within the meaning of the Securities Act and Regulation D promulgated thereunder and, therefore, to be
  exempt from the registration provisions of the Securities Act. Accordingly, the Offering is being made pursuant to
  certain conditions which, if satisfied, will qualify the Offering for exemption from registration as provided by the
  Securities Act and Regulation D. These conditions relate to limitations on the manner of Offering, the nature of the
  Investors, access to or furnishing information about the issuer, and restrictions on transferability. This Offering is not
  being offered pursuant to Rule 506(c) of Regulation D.

  Subject to the terms of the Debenture Agreement, the Fund is authorized to raise up to $30,000,000 through the
  Offering at a purchase price of $100,000 per Debenture. Investors must make a minimum investment of $100,000,
  representing the purchase of one Debenture, unless a smaller purchase is permitted by the Manager.

  The Manager will have an initial closing for the Fund as soon as practicable after the first investments are raised (the
  “Initial Closing Date”). To accommodate the admission of additional Investors and permit existing Investors to
  increase their investment amounts (each, an “Additional Investor”), the Manager may, in its discretion, hold one or
  more additional closings on or before December 17, 2015, unless extended for ninety (90) days by the Manager,
  (each such closing to take place on an “Additional Closing Date”).

  Following the Initial Closing, additional investments in Debentures under the Offering will be accepted from time to
  time by the Manager. The Fund will not offer any of the Debentures pursuant to the Offering after December 17,
  2015, but such date may be extended up to ninety (90) days by the Manager in its discretion.

  Payment of Investments

  Each payment to the Fund will be made in United States dollars by means of a certified or cashier’s check payable to
  “Gulfshore Bank as escrow agent for iCap” or by wire transfer, to a bank account designated by the Fund, of
  immediately available funds through the federal wire transfer system, in the amount that the Holder has agreed to
  lend to the Fund in the Debenture Purchase Agreement.

  Acceptance of Subscriptions; Eligibility Requirements

  Purchases for the Debentures will be accepted on a “first come, first-served” basis. The Manager reserves the right to
  reject any tendered investment for whatever reason the Manager deems appropriate. If the Manager rejects an
  investment, the Manager will give notice of such rejection, and return the tendered initial investment payment, no
  later than 10 business days after the Debenture Purchase Agreement and the accompanying funds have been received
  by the Manager. As to the eligibility requirements of prospective investors, See “WHO MAY INVEST.”




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                                   TRANSFERABILITY OF THE DEBENTURES

  Subject to compliance with the requirements of the Debenture Agreement, Investors shall have the right to transfer
  the Debenture to any qualifying third party of its choice contingent upon securing the Fund’s written consent in
  advance of the proposed transfer. The Fund is under no obligation to recognize such Person as a successor Holder,
  nor shall such Person have any of the rights of a Holder under the Debenture Agreement, until the Holder has
  surrendered the original Debenture for registration of transfer, duly endorsed, or accompanied by a duly executed
  written assignment of transfer in a form reasonably satisfactory to the Fund. A new Debenture for a like principal
  amount and interest will be issued to, and registered in the name of, the transferee, contingent upon the Transferee
  executing a Debenture Agreement, and executing a Certificate of Accredited Investor. Interest and principal are
  payable only to the registered holder of the Debenture.

  The Holder and any successor Holder agree(s) to provide to the Fund a Form W-9 upon request. Until registration of
  a transfer occurs, the Fund shall be entitled to treat the transferring Holder in all respects as the Holder of record,
  fully entitled to exercise all of the rights, privileges and interest bestowed by the Debenture Agreement and the
  applicable Debenture.

  State Securities: Blue Sky Laws

  Transfer of the Debentures may also be restricted under the securities laws or securities regulations promulgated by
  various states and foreign jurisdictions, commonly referred to as “Blue Sky” laws. Absent compliance with such
  individual state laws, the Debentures may not be traded in such jurisdictions. Because the securities sold under this
  Offering have not and will not be registered for resale under the Blue Sky laws of any state, the Holders and any
  Persons who desire to purchase them in any trading market that might develop in the future, should be aware that
  there may be significant state Blue Sky law restrictions upon the ability of Investors to resell the Debentures and of
  purchasers to purchase the Debentures. Accordingly, Investors should be prepared to hold the Debentures until their
  maturity date as may be extended.

                                            FINANCIAL INFORMATION

  This Memorandum does not include current balance sheets for either the Fund or the Manager. The Manager has
  limited capitalization. As of the date hereof, the Fund has incurred certain liabilities in connection with the offering
  of the Debentures, but has no significant assets. The Fund is a newly-organized entity, has no capital (other than the
  capital to be raised through the sale of the Debentures), and has and will incur substantial expenses in connection
  with the offering and sale of the Debentures.

                                             LEGAL REPRESENTATION

  The Manager has engaged Perkins Coie LLP as its legal counsel to assist in connection with transactions
  contemplated by this Memorandum and in preparing the Debenture Agreement, this Memorandum and related
  documents. Perkins Coie LLP, in providing such advice has represented the Manager’s interests and did not represent
  nor purport to represent the interests of any other Investor or potential investor. The Fund urges you to engage your
  own legal counsel and, as necessary, financial consultants for advice regarding the desirability of purchasing the
  Debentures offered pursuant to this Memorandum. Perkins Coie LLP may in the future represent the Fund, the
  Manager or related parties on various matters, subject to complying with applicable legal principles for resolving
  conflicts of interest.




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                                             PLAN OF DISTRIBUTION

  Compensation

  The Fund has entered into an exclusive engagement agreement (the “Engagement Agreement”) with StillPoint
  Capital, LLC (“SPC”) to serve as managing broker dealer of the Offering. The exclusivity period continues until the
  Offering has been closed.

  The Debentures will be offered on a “best efforts” basis (which means that there is no guarantee that any minimum
  amount will be sold). SPC will engage other broker dealers (“Selling Group Members”) to assist in privately placing
  the Debentures. SPC will receive a selling commission of 7% of the Gross Proceeds of this Offering, which it will re-
  allow to the Selling Group Members. SPC will also receive a marketing re-allowance fee of 1% of the Gross
  Proceeds of this Offering, which it will re-allow to the Selling Group Members. SPC will receive a fee of 5% of the
  Gross Proceeds of this Offering for serving as the managing dealer in the Offering. SPC will be responsible for all
  wholesaling fees and marketing expenses relating to this Offering, as well as paying its own expenses associated with
  the Offering.

  SPC and its officers, employees and affiliates may purchase Debentures in the Offering. Such Debentures will be
  counted toward the Maximum Offering Amount. SPC and the Fund may, in their sole discretion, accept offers to
  purchase Debentures net (or partially net) of the commissions and expense reimbursements described in this
  Memorandum in certain circumstances deemed appropriate by either of them, including by way of illustration, from
  Investors purchasing through a registered investment advisor (“RIA”), or from Investors who are affiliates of the
  Fund or any member of the Selling Group. The Fund may also make sales to registered representatives of the Selling
  Group or to their spouses and affiliates, in each case net of sales commissions.

  In addition to the commissions paid at the time of each closing, SPC will be issued a profits interest in the Fund,
  pursuant to which SPC and its Affiliates or assigns, as one class of members, will have a right to share in 23% of the
  cash or property distributions of the Fund as set forth in the LLC Agreement after the Investors have been paid their
  principal Debenture balances and Payoff Premium.

  We have agreed to indemnify SPC from and against losses, claims, damages or liabilities (collectively, the
  “Damages”) arising out of the Offering, except for Damages resulting from SPC’s breach of the Engagement
  Agreement, including gross negligence or willful misconduct as more fully set forth in the Engagement Agreement.




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     CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED


                                         EXHIBIT A

                      SENIOR SECURED DEBENTURE PURCHASE AGREEMENT




   LEGAL125459720.8

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                                         EXHIBIT B

                          LIMITED LIABILITY COMPANY AGREEMENT
                                            OF
                          ICAP NORTHWEST OPPORTUNITY FUND, LLC




   LEGAL125459720.8


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     CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED


                                         EXHIBIT C

                                 SUBSCRIPTION DOCUMENTS
                                            OF
                          ICAP NORTHWEST OPPORTUNITY FUND, LLC




   LEGAL125459720.8


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                                                                                         Exhibit 1, Page 369
                           Exhibit 




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       CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED

   Name: ______________________________

   Memorandum No. ____________________


                             iCAP Pacific Northwest Opportunity
                                  and Income Fund, LLC
                                                 $30,000,000 of
                                12% Senior Debentures due 2016
                                                  _________________

  This Confidential Offering Memorandum (this “Memorandum”) is being furnished in connection with the offer and
  sale (the “Offering”) of up to $30,000,000 of 12% Senior Secured Debentures due 2016 (the “Debentures”) by iCap
  Pacific Northwest Opportunity and Income Fund, LLC, a Delaware limited liability company (the “Fund”). Offers
  will be made only to accredited investors, as defined under Rule 501 promulgated under the Securities Act of 1933,
  as amended (the “Securities Act”). Debentures will be issued in denominations of at least $100,000 with additional
  integral multiples of $10,000. The Fund may accept lower denominations at its discretion.

  The minimum amount that the Fund must sell in order to consummate the Offering is $2,000,000 (the “Minimum
  Offering Amount”) and the maximum aggregate amount of Debentures being offered is $30,000,000 (the
  “Maximum Offering Amount”). The Fund reserves the right, in its sole discretion, to increase the Maximum
  Offering Amount to $50,000,000 to accommodate oversubscriptions for the Debentures. The Fund may hold an
  initial closing any time after the Minimum Offering Amount has been received and may hold additional subsequent
  closings from time to time thereafter, in the Fund’s sole discretion, as subscriptions for the Debentures are received.
  The Fund will offer the Debentures as of the date of this Memorandum through the earlier of (a) the date on which
  the Fund closes on the sale of the Maximum Offering Amount, (b) such time, if any, as the Fund, in its sole
  discretion, elects to withdraw or terminate this Offering; or (c) April 30, 2014 (the “Offering Period”), unless
  extended up to three (3) months by the Manager.

  The Fund will pay interest on the Debentures at the rate of 12% per annum. Interest will be payable monthly in
  arrears on or before the 15th day of the following month. The Debentures will mature on December 31, 2016.

  The Debentures will be the Fund’s secured senior obligations. Unless otherwise approved by Holders of a majority of
  the principal amount of the outstanding Debentures, the Debentures will rank senior to all of the Fund’s future
  indebtedness, including any class of debt or equity security that the Fund may issue.

                      THIS OFFERING INVOLVES CERTAIN RISKS. See “Risks Factors”.

  THE DEBENTURES HAVE NOT BEEN, NOR WILL THEY BE REGISTERED OR QUALIFIED UNDER THE
  SECURITIES ACT. THEY ARE BEING OFFERED AND SOLD IN THE UNITED STATES ONLY TO
  ACCREDITED INVESTORS IN RELIANCE ON RULE 506 OF REGULATION D PROMULGATED UNDER
  THE SECURITIES ACT. NEITHER THE SECURITIES AND EXCHANGE COMMISSION NOR ANY STATE
  SECURITIES COMMISSION HAS APPROVED OR DISAPPROVED OF THESE SECURITIES OR
  DETERMINED IF THIS MEMORANDUM IS TRUTHFUL OR COMPLETE. ANY REPRESENTATION TO THE
  CONTRARY IS A CRIMINAL OFFENSE.

                                                  __________________

                                         Skyway Advisors, LLC
                                 The date of this Memorandum is December 19, 2013.




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       CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED


  The information contained in this Memorandum is confidential. By acceptance of this Memorandum, each recipient
  agrees not to reproduce or distribute this Memorandum to others (except the recipient’s professional advisors)
  without the prior written consent of the Fund, that the recipient and his, her or its professional advisors will keep
  permanently confidential all information contained herein not already in the public domain, and will use this
  Memorandum for the sole purpose of evaluating a possible investment in the Debentures. Each recipient also agrees
  to return this Memorandum and any other documents or information furnished by the Fund (and any and all copies
  thereof) to the recipient upon request of the Fund if the recipient declines to purchase any Debentures.

  There will be no public market for the Debentures and there is no obligation on the part of the Fund or any person to
  register the Debentures under the Securities Act or any state securities laws.

  This Memorandum includes data and information obtained from independent third party sources. Although the Fund
  does not have any reason to believe that such data and information is not accurate, the Fund did not independently
  verify such data and information and cannot assure the accuracy or completeness of such data and information.
  Prospective investors must rely upon their own investigations and evaluations with respect to making an investment
  in the Debentures being offered hereby.

  Prospective investors will be advised of any material modifications to the terms of the Offering or the Debentures in
  writing prior to any sale of Debentures to such prospective investors.

  Nothing contained in this Memorandum is, or should be relied upon as, a promise or representation as to the Fund’s
  future performance. Prospective investors must rely upon their own examination of the Fund and the terms of the
  Offering, including the merits and risks involved.

  This Memorandum is qualified in its entirety by the Senior Secured Debenture Purchase Agreement attached hereto
  as Exhibit A. The Senior Secured Debenture Purchase Agreement, is hereinafter referred to in this Memorandum as
  the “Debenture Agreement”.

  The Debentures are offered when, as, and if issued, subject to the right of the Fund, in its sole discretion, to approve
  or reject any subscription in whole or in part and subject to certain other conditions described herein. Subscriptions
  for Debentures can only be made by delivery to the Fund of an executed Debenture Agreement, together with the
  form Debenture, in the form attached as Exhibit A to the Debenture Agreement attached hereto as Exhibit A

  This offer may be withdrawn at any time before the initial closing or any subsequent closing and is specifically made
  subject to the terms described in this Memorandum. The Fund reserves the right to reject any subscription, in whole
  or in part, for any reason whatsoever or to allot to any prospective investor less than the aggregate value of
  Debentures subscribed for by such prospective investor. Rejected subscriptions will be promptly returned to the
  subscriber with the amount of the rejected subscription funds without interest.

                                               ______________________




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       CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED


                                                      NOTICES

  The following notices apply in certain states where the Debentures, which are referred to below as “securities,” may
  be sold. Compliance with the notice exemption requirements of applicable state securities laws will be undertaken by
  the Fund as needed.

  Notice to Residents of all States:

  THE SECURITIES OFFERED HEREBY HAVE NOT BEEN REGISTERED UNDER THE SECURITIES ACT,
  OR THE SECURITIES LAWS OF ANY STATE OR JURISDICTION AND ARE BEING OFFERED AND SOLD
  IN RELIANCE ON EXEMPTIONS FROM THE REGISTRATION REQUIREMENTS OF THE SECURITIES
  ACT AND OTHER LAWS. THE SECURITIES ARE SUBJECT TO RESTRICTIONS ON TRANSFERABILITY
  AND RESALE AND MAY NOT BE TRANSFERRED OR RESOLD EXCEPT AS PERMITTED UNDER THE
  SECURITIES ACT AND OTHER LAWS PURSUANT TO REGISTRATION OR AN EXEMPTION
  THEREFROM.

  IN MAKING AN INVESTMENT DECISION, INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF
  THE FUND AND THE TERMS OF THE OFFERING, INCLUDING THE MERITS AND RISKS INVOLVED.
  THE SECURITIES HAVE NOT BEEN RECOMMENDED OR APPROVED OR DISAPPROVED BY THE
  SECURITIES AND EXCHANGE COMMISSION OR ANY STATE SECURITIES COMMISSION OR OTHER
  REGULATORY AUTHORITY, NOR HAVE ANY OF THE FOREGOING AUTHORITIES PASSED UPON OR
  ENDORSED THE MERITS OF THE OFFERING OR THE ACCURACY OR ADEQUACY OF THIS
  MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

  THE SECURITIES ACT AND THE SECURITIES LAWS OF CERTAIN JURISDICTIONS GRANT
  PURCHASERS OF SECURITIES SOLD IN VIOLATION OF THE REGISTRATION OR QUALIFICATION
  PROVISIONS OF SUCH LAWS THE RIGHT TO RESCIND THEIR PURCHASE OF SUCH SECURITIES AND
  TO RECEIVE BACK THEIR CONSIDERATION PAID. THE FUND BELIEVES THAT THE OFFERING
  DESCRIBED IN THIS MEMORANDUM IS NOT REQUIRED TO BE REGISTERED OR QUALIFIED. MANY
  OF THESE LAWS GRANTING THE RIGHT OF RESCISSION ALSO PROVIDE THAT SUITS FOR SUCH
  VIOLATIONS MUST BE BROUGHT WITHIN A SPECIFIED TIME, USUALLY ONE YEAR FROM
  DISCOVERY OF FACTS CONSTITUTING SUCH VIOLATION. SHOULD ANY INVESTOR INSTITUTE
  SUCH AN ACTION ON THE THEORY THAT THE OFFERING CONDUCTED AS DESCRIBED HEREIN WAS
  REQUIRED TO BE REGISTERED OR QUALIFIED, THE FUND WILL CONTEND THAT THE CONTENTS OF
  THIS MEMORANDUM CONSTITUTED NOTICE OF THE FACTS CONSTITUTING SUCH VIOLATION.

  YOU SHOULD RELY ONLY ON THE INFORMATION CONTAINED IN THIS MEMORANDUM OR THE
  DOCUMENTS ATTACHED TO THIS MEMORANDUM. NO ONE HAS BEEN AUTHORIZED TO PROVIDE
  YOU WITH ANY INFORMATION THAT IS DIFFERENT. NO PERSON HAS BEEN AUTHORIZED TO GIVE
  ANY INFORMATION OR MAKE ANY REPRESENTATIONS OTHER THAN THOSE CONTAINED IN THIS
  MEMORANDUM AND, IF GIVEN OR MADE, SUCH INFORMATION OR REPRESENTATIONS MUST NOT
  BE RELIED UPON AS HAVING BEEN GIVEN BY THE ISSUER OF THE SECURITIES.

  THIS MEMORANDUM DOES NOT CONSTITUTE AN OFFER OR SOLICITATION BY ANYONE IN ANY
  JURISDICTION IN WHICH SUCH AN OFFER OR SOLICITATION IS NOT AUTHORIZED, OR IN WHICH
  THE PERSON MAKING SUCH AN OFFER IS NOT QUALIFIED TO DO SO, OR TO ANY PERSON TO
  WHOM IT IS UNLAWFUL TO MAKE AN OFFER OR SOLICITATION. IN ADDITION, THIS
  MEMORANDUM CONSTITUTES AN OFFER ONLY IF THE NAME OF AN OFFEREE APPEARS IN THE
  APPROPRIATE SPACE ON THE COVER PAGE AND IS AN OFFER ONLY TO SUCH NAMED OFFEREE.

  NEITHER THE INFORMATION CONTAINED HEREIN, NOR ANY PRIOR, CONTEMPORANEOUS OR
  SUBSEQUENT COMMUNICATION SHOULD BE CONSTRUED BY THE PROSPECTIVE INVESTOR AS
  FINANCIAL, LEGAL OR TAX ADVICE. EACH PROSPECTIVE INVESTOR SHOULD CONSULT HIS, HER
  OR ITS OWN FINANCIAL LEGAL AND TAX ADVISORS TO ASCERTAIN THE MERITS AND RISKS OF
  THE OFFERING AND AN INVESTMENT IN THE FUND PRIOR TO SUBSCRIBING TO PURCHASE THE
  SECURITIES.



                                                                                                                i


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  THIS MEMORANDUM AND ITS EXHIBITS MAY CONTAIN STATEMENTS THAT CONSTITUTE
  FORWARD-LOOKING STATEMENTS, AS DEFINED BY FEDERAL SECURITIES LAWS. FORWARD-
  LOOKING STATEMENTS CAN BE IDENTIFIED BY THE USE OF TERMINOLOGY SUCH AS
  “ANTICIPATES,” “EXPECTS,” “INTENDS,” “PLANS,” “BELIEVES,” “SEEKS,” “ESTIMATES” AND
  VARIATIONS OF THESE WORDS AND SIMILAR EXPRESSIONS. FORWARD-LOOKING STATEMENTS
  ARE SUBJECT TO RISKS AND UNCERTAINTIES AND INCLUDE STATEMENTS MADE REGARDING
  EVENTS, FINANCIAL TRENDS, FUTURE OPERATING-RESULTS, FINANCIAL POSITION, CASH FLOWS
  AND OTHER GENERAL INFORMATION CONCERNING POSSIBLE OR ASSUMED FUTURE RESULTS OF
  OPERATIONS OF THE FUND OR ANY PROJECT. INVESTORS ARE CAUTIONED THAT SUCH
  STATEMENTS ARE ONLY PREDICTIONS, FORECASTS OR ESTIMATES OF WHAT MAY OCCUR AND
  ARE NOT GUARANTEES OF FUTURE PERFORMANCE OR OF THE OCCURRENCE OF EVENTS OR
  OTHER FACTORS USED TO MAKE SUCH PREDICTIONS, FORECASTS OR ESTIMATES. ACTUAL
  RESULTS MAY DIFFER MATERIALLY FROM THE RESULTS EXPRESSED, IMPLIED OR INFERRED
  FROM THE FORWARD-LOOKING STATEMENTS AND MAY BE WORSE DUE TO A VARIETY OF
  FACTORS, INCLUDING, WITHOUT LIMITATION, CHANGES IN LAWS, ADVERSE CHANGES IN REAL
  ESTATE PRICES, ADVERSE CHANGES IN INTEREST RATES, AND ADVERSE CHANGES IN THE CREDIT
  AND CAPITAL MARKETS. SUCH STATEMENTS REFLECT THE FUND’S CURRENT VIEWS AND THE
  FUND UNDERTAKES NO OBLIGATION TO REVISE THE FORWARD-LOOKING STATEMENTS MADE
  HEREIN OR IN THE EXHIBITS HERETO TO REFLECT EVENTS OR CIRCUMSTANCES THAT OCCUR
  AFTER THE DATE HEREOF OR THEREOF OR TO REFLECT THE OCCURRENCE OF UNANTICIPATED
  EVENTS; PROVIDED, HOWEVER, THAT THE FUND UNDERTAKES TO UPDATE THIS MEMORANDUM
  TO REFLECT EVENTS THAT OCCUR PRIOR TO THE TERMINATION OF THE OFFERING AND
  MATERIALLY CHANGE THE NATURE OF THE OFFERING.

  Notice to New York Residents:

  THIS CONFIDENTIAL OFFERING MEMORANDUM HAS NOT BEEN REVIEWED BY THE ATTORNEY
  GENERAL PRIOR TO ITS ISSUANCE AND USE. THE ATTORNEY GENERAL OF THE STATE OF NEW
  YORK HAS NOT PASSED ON OR ENDORSED THE MERITS OF THIS OFFERING. ANY
  REPRESENTATION TO THE CONTRARY IS UNLAWFUL. THIS CONFIDENTIAL OFFERING
  MEMORANDUM DOES NOT CONTAIN AN UNTRUE STATEMENT OF A MATERIAL FACT OR OMIT TO
  STATE A MATERIAL FACT NECESSARY TO MAKE THE STATEMENTS MADE, IN LIGHT OF THE
  CIRCUMSTANCES UNDER WHICH THEY WERE MADE, NOT MISLEADING. IT CONTAINS A FAIR
  SUMMARY OF THE MATERIAL TERMS AND DOCUMENTS PURPORTED TO BE SUMMARIZED HEREIN.

  Notice to Florida Residents:

  THE SECURITIES OFFERED HEREBY WILL BE SOLD TO, AND ACQUIRED BY, INVESTORS IN A
  TRANSACTION EXEMPT UNDER §517.061 OF THE FLORIDA SECURITIES AND INVESTOR
  PROTECTION ACT. THE SECURITIES HAVE NOT BEEN REGISTERED UNDER SAID ACT IN THE STATE
  OF FLORIDA. IN ADDITION, WHERE SALES OF THE SECURITIES ARE MADE TO FIVE (5) OR MORE
  PERSONS IN FLORIDA, EACH FLORIDA PURCHASER SHALL HAVE THE PRIVILEGE OF VOIDING THE
  PURCHASE WITHIN THREE (3) DAYS AFTER THE FIRST TENDER OF CONSIDERATION IS MADE BY
  SUCH PURCHASER TO THE ISSUER OF THE SECURITIES OR AN AGENT OF SUCH ISSUER, OR WITHIN
  THREE (3) DAYS AFTER THE AVAILABILITY OF THAT PRIVILEGE IS COMMUNICATED TO SUCH
  PURCHASER, WHICHEVER OCCURS LATER.

  Notice to New Hampshire Residents:

  NEITHER THE FACT THAT A REGISTRATION STATEMENT OR AN APPLICATION FOR A LICENSE HAS
  BEEN FILED UNDER CHAPTER 421-B OF THE NEW HAMPSHIRE REVISED STATUTES ANNOTATED,
  1955, AS AMENDED, WITH THE STATE OF NEW HAMPSHIRE NOR THE FACT THAT A SECURITY IS
  EFFECTIVELY REGISTERED OR A PERSON IS LICENSED IN THE STATE OF NEW HAMPSHIRE
  CONSTITUTES A FINDING BY THE SECRETARY OF STATE THAT ANY DOCUMENT FILED UNDER RSA
  421-B IS TRUE, COMPLETE AND NOT MISLEADING. NEITHER ANY SUCH FACT NOR THE FACT THAT
  AN EXEMPTION OR EXCEPTION IS AVAILABLE FOR A SECURITY OR A TRANSACTION MEANS THAT


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  THE SECRETARY OF STATE HAS PASSED IN ANY WAY UPON THE MERITS OR QUALIFICATIONS OF,
  OR RECOMMENDED OR GIVEN APPROVAL TO, ANY PERSON, SECURITY OR TRANSACTION. IT IS
  UNLAWFUL TO MAKE, OR CAUSE TO BE MADE, TO ANY PROSPECTIVE PURCHASER, CUSTOMER,
  OR CLIENT ANY REPRESENTATION INCONSISTENT WITH THE PROVISIONS OF THIS PARAGRAPH.

  DURING THE COURSE OF THIS OFFERING, EACH PROSPECTIVE INVESTOR MAY OBTAIN
  ADDITIONAL INFORMATION WHICH SUCH PERSON DEEMS TO BE NECESSARY IN CONNECTION
  WITH MAKING AN INVESTMENT DECISION IN ORDER TO VERIFY THE ACCURACY OF THE
  INFORMATION CONTAINED IN THIS MEMORANDUM (TO THE EXTENT THE FUND POSSESSES SUCH
  INFORMATION OR CAN ACQUIRE IT WITHOUT UNREASONABLE EFFORT OR EXPENSE). IN
  CONNECTION WITH SUCH INQUIRY, ANY DOCUMENTS WHICH ANY PROSPECTIVE INVESTOR
  WISHES TO REVIEW WILL BE MADE AVAILABLE FOR INSPECTION AND COPYING OR FURNISHED,
  UPON REQUEST, SUBJECT TO THE PROSPECTIVE INVESTOR’S AGREEMENT TO MAINTAIN SUCH
  INFORMATION IN CONFIDENCE AND TO RETURN THE SAME TO THE FUND IF THE RECIPIENT DOES
  NOT PURCHASE THE SECURITIES OFFERED HEREUNDER. ANY SUCH INQUIRIES OR REQUESTS FOR
  ADDITIONAL INFORMATION OR DOCUMENTS SHOULD BE MADE TO:



                 ICAP PACIFIC NORTHWEST OPPORTUNITY AND INCOME FUND, LLC
                                        PO Box 3907
                                     Bellevue, WA 98009

                                 ATTN: CHRIS CHRISTENSEN
                                        (425) 372-7114
                                     FAX: (425) 214-4776




                                                                                 iii


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       CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED


                                       FORWARD-LOOKING STATEMENTS

  This Memorandum contains forward-looking statements that involve risks and uncertainties. These statements relate
  to future events, future developments or the Fund’s future financial performance. In some cases, you can identify
  forward looking statements by terminology including “could,” “would,” “may,” “will be,” “will continue,” “likely to
  become,” “should,” “expect,” “intend,” “plan,” “anticipate,” “believe,” “estimate,” “predict,” “potential,” “continue,”
  “opportunity,” or the negative of these terms or other comparable terminology. These statements are only predictions.
  Actual events or results may differ materially. In evaluating these statements, you should specifically consider
  various factors, including the risks described in this Memorandum, specifically those risks listed under “RISK
  FACTORS.” These factors may cause the Fund’s actual results to differ materially from any forward-looking
  statements. Although the Fund believes the expectations reflected in the forward-looking statements are reasonable,
  the Fund cannot guarantee future results, levels of activity, performance or achievements. These forward-looking
  statements speak only as of the date on which the statements were made and the Fund undertakes no obligation to
  update or revise any forward-looking statements made in this Memorandum or elsewhere as a result of new
  information, future events, future developments or otherwise, except as required by law.

                                                  WHO MAY INVEST

  General

  The Fund intends to sell the Debentures to Investors qualifying as “accredited investors” as defined in Regulation D
  under the Securities Act.

  The term “accredited investors” is defined to include, among others, (a) a natural person with a net worth, or joint net
  worth with such purchaser's spouse, at the time of purchase in excess of $1,000,000 (exclusive of the equity in the
  person’s primary residence), (b) a natural person who had an individual gross income in excess of $200,000 in each
  of the two most recent years or joint income with that person's spouse in excess of $300,000 in each of those years
  and has a reasonable expectation of reaching the same income level in the current year, or (c) any entity in which all
  of the equity owners are “accredited investors.” Other classes of Investors also qualify as “accredited investors”
  under Regulation D. If you are unsure as to whether you qualify as an accredited investor, you should contact a legal
  advisor of your choice for advice.

  With respect to a prospective investor wishing to invest in his or her individual capacity, the value of the individual's
  primary residence should be excluded in determining the Investor's net worth. In addition, the mortgage or other
  indebtedness secured by the individual's primary residence to the extent that such indebtedness does not exceed the
  value of the residence need not be considered as a liability. When the indebtedness secured by the primary residency
  exceeds the value of the residence and the lender has other recourse against the individual for payment of the excess
  liability, the excess liability (and only such excess) should be deducted from the individual's net worth in determining
  net worth.

  Subscription

  To subscribe for the Debentures, you must complete, execute and deliver to the Fund the Debenture Agreement, in
  the form attached to this Memorandum as Exhibit A. The Debenture Agreement requires you to represent, among
  other things, that you are an accredited investor, are acquiring Debentures for your own account for investment and
  not with a view to resale or distribution, and that you are aware that transfer of the Debentures is restricted by the
  terms of the Debenture Agreement and by the absence of a market for the Debentures. The Debenture Agreement
  also requires you to acknowledge that you have received and have had an opportunity to read this Memorandum and
  are aware of the risks associated with an investment in the Debentures.

  THE FUND'S ACCEPTANCE OF YOUR SUBSCRIPTION FOR DEBENTURES DOES NOT CONSTITUTE A
  DETERMINATION BY THE FUND THAT THE INVESTMENT IS SUITABLE FOR YOU. THE FINAL
  DETERMINATION AS TO THE SUITABILITY OF AN INVESTMENT IN THE DEBENTURES FOR YOU
  MUST BE MADE BY YOU AND YOUR ADVISORS.




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                                            SUMMARY OF THE OFFERING

  The following summary summarizes a number of the material provisions of the Offering and certain provisions of the
  Debenture Agreement and is qualified in its entirety by the full text of the Debenture Agreement. Capitalized terms
  used in this Summary not separately defined herein have the meanings assigned to such terms in the Debenture
  Agreement. No person will be permitted to invest in the Fund unless such person has received and reviewed the
  Debenture Agreement, this Memorandum and other offering-related documents. This Summary does not constitute
  an offer to sell, or the solicitation of an offer to buy, the securities referenced herein, and any such offer will be made
  only to selected persons pursuant to the offering documents prepared and delivered by the Fund.

                                                   General Information

  Fund                              iCap Pacific Northwest Opportunity and Income Fund, LLC, a Delaware limited
                                    liability company.

  Manager                           iCap Pacific NW Management, LLC, a Washington limited liability company (the
                                    “Manager”). The Manager was specifically formed for the purpose of serving as the
                                    Manager of the Fund. The key executives of the Manager are Chris Christensen
                                    (principal and president); Mike Christensen (Chief Investment Officer); Jim
                                    Christensen (Chief Operating Officer) and Bryan Brown (Vice President,
                                    Construction).

  Agreement                         The Fund's affairs will be governed by the terms of the Debenture Agreement and
                                    by the Fund’s Limited Liability Company Agreement dated as of
                                    December 19, 2013, as may be amended from time to time (the “LLC Agreement”)
                                    attached hereto as Exhibit B.

  Business Purpose                  The primary purpose of the Fund is to invest in real estate projects in the Pacific
                                    Northwest (“Project Entities”). The Fund’s business model is designed to fill the
                                    funding gap between lenders, on the one hand, and developers or builders on the
                                    other hand (referred to as “Project Partners”), although in certain situations the
                                    Fund may invest in projects without a Project Partner and may effectively act as the
                                    developer of the project. The Fund may also issue debt instruments to Project
                                    Entities, acquire Project Entities directly or debt instruments of Project Entities.
                                    These activities shall be referred to as “Investments.” We anticipate such
                                    opportunities to be available to the Fund based on its officers’ relationships with
                                    members of the real estate and banking communities in the Pacific Northwest.

  Target Investments                The Fund expects that most of its Investments will be in the form of preferred equity
                                    positions in Project Entities primarily in the greater Puget Sound and Portland areas.
                                    We anticipate Investments being made in Project Entities holding the following
                                    types of real estate:
                                        x    single and multi-unit residential properties;
                                        x    multi-family residential projects;
                                        x    commercial properties; and
                                        x    land acquired for entitlement purposes.

  Investment Time Frame             The Fund plans to hold each Investment for 6 – 18 months. The Fund does not
                                    anticipate entering into new Investments within six (6) months of the Maturity Date.

  Limitations on Investment         The Fund will not make any single Investment that is greater than 10% of the gross
                                    Offering proceeds received by the Fund as of the closing date of such Investment. In
                                    addition, no more than 15% of the gross Offering proceeds will be invested in
                                    projects in which there is no Project Partner (i.e. projects in which the Fund will
                                    effectively act as developer).



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                                           Terms of the Offering

  Offering Size              $30,000,000 to be raised through the sale of Debentures, with an option by the
                             Manager to increase the Offering Size to $50,000,000. Each Debenture represents a
                             minimum investment of $100,000, with additional increased amounts available in
                             $10,000 increments, as set forth below.

  Minimum Investment         An investment of at least $100,000 (as represented by 1 Debenture), unless a smaller
                             investment is permitted by the Manager in its discretion.

  Minimum Offering           The Fund must receive a minimum aggregate investment of $2,000,000 before the
                             Fund may break escrow and begin making Investments.

  Term of Offering           Debentures may be offered by the Fund through April 30, 2014, but such date may
                             be extended for up to three (3) months by the Manager in its discretion.

  Eligible Investors         Offering limited to persons qualifying as “accredited investors” under Regulation D
                             of the Securities Act.

                                      Economic Terms of Investment

  Interest Payment           Investors are entitled to receive a 12%, per annum simple interest rate on their
                             investment, paid monthly in arrears.

  Maturity Date              The Fund shall pay back the principal balances of the Senior Debentures to
                             Investors on or before December 31, 2016, subject to a three (3) month extension
                             period available to the Fund (the “Maturity Date”). The Fund may prepay all or part
                             of the Debentures without penalty at any time prior to the Maturity Date. The date of
                             any such prepayment in full, shall be referred to as the “Prepayment Date”.

  Payoff Premium             Investors are additionally entitled to a Payoff Premium equal to each Investor’s pro-
                             rata share of 25% of the cumulative net profits of the Fund through the date on
                             which the Debentures are paid in full, payable within 12-months after the Fund has
                             fully satisfied its obligations under such Investor’s Debenture.

  Secured Debentures         The Debentures are secured by all of the assets of the Fund and by a pledge of the
                             Manager’s membership interest in the Fund. The Fund’s assets are comprised
                             principally of the Fund’s cash and bank accounts, the Fund’s equity interest in each
                             Project Entity, and the rights and collateral interests granted to the Fund in
                             connection with each individual Investment. The Fund’s rights and collateral will
                             include the following:

                                 x   a second position or sometimes a first position deed of trust (i.e., mortgage)
                                     in the real estate owned by or hereafter owned by the Project Entities to
                                     secure the return of the Fund’s investment; and
                                 x   a secured interest in the Membership Interest held by the Fund’s Project
                                     Partner; and
                                 x    the Fund’s right to assume control of the Project Entity and the project
                                     owned by it in the event of a default by the Project Entity or a failure to
                                     meet applicable project milestones or requirements.

  Seniority of Debentures    Unless otherwise approved by Holders of a majority of the principal amount of the
                             outstanding Debentures, the Debentures will rank senior to all of the Fund’s future
                             indebtedness, including any class of debt or equity security that the Fund may issue.




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                                Related Party Transactions and Investor Reports

  Compensation and Fees to      The Fund will pay to the Manager an annual management fee equal to 2% of the
  Manager and Affiliates        outstanding principal balance of the Debentures. The annual management fee for the
                                first year will be paid in advance on a pro-rated basis at each closing that occurs
                                during the first year. For subsequent years, the management fee will be paid in
                                advance on a quarterly basis, but will not be paid from and after the occurrence of
                                an Event of Default (as defined in the Debenture Agreement) other than a payment
                                default which has been cured, whether or not such cure occurs during or after the
                                Grace Period (as defined in the Debenture Agreement). For clarification purposes, if
                                the initial closing occurs on January 15, 2014, the annual management fee for the
                                proceeds for the initial closing will be paid on such date and quarterly payments will
                                be paid in advance, beginning January 15, 2015. See “COMPENSATION AND
                                FEES TO THE MANAGER AND AFFILIATES.”

                                In addition to fees payable by the Fund, with respect to any investment by the Fund,
                                the Manager may receive a fee from the Project Entity equal to 3.0% of the total
                                investment amount. Such origination fee will be charged directly to the Project
                                Entity and will be paid at the time the Fund invests in the Project Entity.

  Expense Reimbursement         The Manager has covered or is obligated to cover all out-of-pocket expenses
                                incurred in connection with the Fund’s organization and the Offering, up to a
                                maximum amount of $500,000. Any organizational or Offering expenses in excess
                                of $500,000 will be paid from the Offering proceeds.

  Co-Investments                The Fund may hold its interest in the Investments directly or indirectly through one
                                or more subsidiaries. In addition, the Fund may co-invest with others, subject to any
                                restrictions set forth in the LLC Agreement.

  Leverage Restrictions         The Fund may only make Investments if the total amount of debt encumbering the
                                underlying property, together with the Fund’s Investment, is less than 80% of the
                                finished value of the underlying project. The Fund will not finance any amount
                                above the total cost of the project and will not invest in projects whose combined
                                loan to value ratio exceeds 80%. See “DESCRIPTION OF BUSINESS—Identifying
                                and Monitoring Investments—CLTV Less than 80%.”

  Investor Reports              The Fund will provide the following reports to each Investor:

                                    x   Within 120 days after the end of the fiscal year, audited Fund financial
                                        statements; and
                                    x   Within 60 days after the end of each fiscal quarter, quarterly financial
                                        statements.

  Annual Audit                  The Fund has engaged McGladrey LLP to perform an annual audit, and the audit
                                opinion and related audited financial statements will be provided to the Investors.




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                                                     USE OF PROCEEDS

  The Fund is offering a Maximum Offering Amount of $30,000,000 in Debentures (which may be increased to
  $50,000,000 in the Fund's discretion). The net proceeds to the Fund from the sale of Debentures in this Offering, after
  deducting the selling commissions, due diligence fee, Placement Agent fee, and Offering and organizational expenses
  (the “Net Proceeds”) will be $25,500,000 if the Maximum Offering Amount is subscribed. The following table sets
  forth the details of these fees and funds available for investment.

                                                    Sale of Minimum Percentage of                 Percentage of
                                                      Subscription                Sale of Maximum
                                                                       Gross                         Gross
                                                        Amount                    Offering Amount
                                                                      Proceeds                      Proceeds

   Gross Proceeds from Investors                          $2,000,000           100%          $30,000,000             100%

     Less: Selling Commission (1)                           $140,000              7%           $2,100,000              7%


     Less: Due Diligence Fee (2)                             $20,000              1%             $300,000              1%


     Less: Managing Dealer Fee (3)                           $40,000              2%             $600,000              2%


     Less: Marketing and Underwriting Fee (3)                $60,000              3%             $900,000              3%


     Less: Management Fee for one Year (4)                   $40,000              2%             $600,000              2%

   Available for Investment (before reserves)             $1,700,000             85%         $25,500,000              85%




      (1) A Selling Commission in an amount up to 7% of the aggregate principal amount of Debentures issued (“Gross
           Proceeds”) will be paid to the Placement Agent which it will re-allocate to the Selling Group Members.
      (2) The Placement Agent will receive a Due Diligence Fee of 1% of the Gross Proceeds which it will re-allocate to Selling
           Group Members.
      (3) The Placement Agent will also receive a fee of 2% of the Gross Proceeds for serving as the managing dealer in the
          Offering as well as a marketing and underwriting fee of 3% of the Gross Proceeds, each payable at the time of closing.
          The Placement Agent, as managing broker-dealer for the Offering, will be responsible for all “wholesaling fees” relating
          to the selling group, as well as for paying its own expenses associated with the Offering up to $50,000.
      (4) The Manager will receive an annual management fee equal to 2% of the outstanding principal balance of the
          Debentures. See “COMPENSATION AND FEES TO THE MANAGER AND AFFILIATES.”




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                    COMPENSATION AND FEES TO THE MANAGER AND AFFILIATES

  The following table and discussion show all of the types of compensation, fees, income, distributions or other
  payments that the Fund may pay to the Manager and its Affiliates in connection with the Fund’s organization,
  operation and liquidation. Such arrangements have not and will not be determined through arm's-length negotiations
  between such parties and the Fund. The Manager has no obligation to advance funds to cover the Fund’s expenses,
  beyond the initial Offering and organizational expenses. However, to the extent that such advances are made, the
  Fund will repay such loans out of the Fund’s funds as soon as they are available, whether such funds are from the
  Fund's operating revenues or third-party loans.



  Form of Compensation           Person(s) to Whom Paid           Method of Determination
  Organization and Offering      Manager                          The Manager shall cover up to $500,000 of all
  Expenses                                                        organizational and other expenses incurred in
                                                                  connection with the Offering, but shall be
                                                                  reimbursed by the Fund (from the Offering
                                                                  proceeds) for any such expenses incurred which are
                                                                  in excess of $500,000. The Manager does not
                                                                  anticipate that such expenses will exceed $500,000.
  Fund-Level Management Fee      Manager                          The Fund will pay to the Manager an annual
                                                                  management fee equal to 2% of the outstanding
                                                                  principal balance of the Debentures outstanding.
                                                                  The annual management fee for the first year will
                                                                  be paid in advance on a pro-rated basis at the
                                                                  closings that occur during the first year. For
                                                                  subsequent years, the management fee will be paid
                                                                  in advance on a quarterly basis. For clarification
                                                                  purposes, if the initial closing occurs on January
                                                                  15, 2014, the annual management fee on the
                                                                  proceeds from the initial closing will be paid on
                                                                  such date and quarterly payments will be paid in
                                                                  advance, beginning January 15, 2015.
                                                                  Notwithstanding the foregoing, the management
                                                                  fee shall not be due and payable from and after the
                                                                  occurrence of an Event of Default (as defined in the
                                                                  Debenture Agreement) under the Debentures other
                                                                  than a payment default which has been cured,
                                                                  whether or not such cure occurs during or after the
                                                                  Grace Period (as defined in the Debenture
                                                                  Agreement).
  Service Fees                   Affiliated Entities of the       In some instances an Affiliate of the Manager may
                                 Manager                          perform services for a project in which the Fund
                                                                  invests in order to provide better pricing and/or
                                                                  efficiency to the Fund than other third parties might
                                                                  provide for similar services. In these instances,
                                                                  such Affiliates may be paid customary service fees
                                                                  for time, material, or labor, but shall be capped at
                                                                  the rates and amounts set forth in this
                                                                  Memorandum below.


  In addition to the fees set forth above, the Fund will reimburse the Manager and its Affiliates for any reasonable
  expenses paid by either such Person that properly is to be borne by the Fund.



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  Compensation Rates of Affiliates

  The engagement by the Fund of any Person considered to be an Affiliate is designed to achieve an optimal outcome
  for the Fund by obtaining more efficient service at a cost that is no higher than is standard in the market. In the event
  the Fund enlists the services of those certain Affiliates of the Manager identified below, the rates of compensation of
  such Affiliates for their various services shall be limited and all payments subject to inspection by auditors. The
  Affiliates below have agreed to the following rates:

      Edge Construction, LLC: provides general contracting services, including those related to new construction of
      and rehabilitation of real estate projects.

           General Contractor Fee: Cost* plus 10%
           *Cost includes all costs of labor, materials and management of a project, including but not limited to
           costs of project management, supervision, and labor, each of which shall be billed at the hourly rates set
           forth below.

           Project Management Rates:
                    Executive:                  $125/hr
                    Project Manager:            $115/hr
                    Onsite Superintendent:      $65/hr
                    Labor:                      $35/hr
                    Admin.:                     $30/hr

      Altius Development, Inc.: provides development and consulting services to real estate projects.

           Project Management Rates:
                    Executive:                  $125/hr
                    Project Manager:            $115/hr
                    Admin.                      $30/hr

  Fees Payable by Project Entity

  In addition to the fees charged against the Offering proceeds, the Manager or an Affiliate of the Manager may charge
  each Project Entity an origination fee in an amount equal to 3% of the total investment amount. In addition, the
  Manager may charge the Project Partner a non-refundable due diligence fee to cover the costs of due diligence and
  underwriting. The origination fee will be payable by the Project Entity at the time the Fund invests in the Project
  Entity. The due diligence fee will be payable by the Project Partner prior to commencement of due diligence, will be
  non-refundable, and will typically be less than $5,000. Additionally, in the event a Project Partner’s project is
  approved for funding, the Manager may charge a legal fee to the Project Entity, payable at closing, to cover the legal
  costs associated with such Investment.




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                                             CONFLICTS OF INTEREST

  A number of conflicts of interest are inherent in the relationships among the Manager, its Affiliates and the Fund.
  Certain of these conflicts of interest are summarized below.

  Transactions with the Manager and its Affiliates

  The Fund may enter into various transactions with the Manager and its Affiliates, and compensation and fees could
  be paid with respect to these transactions as disclosed in the section entitled “COMPENSATION AND FEES TO
  THE MANAGER AND AFFILIATES.” To the extent any such transaction may pose a conflict of interest between
  the Fund, on the one hand, and the Manager or its Affiliates, on the other hand, this conflict must be resolved by the
  Manager in exercising its fiduciary duty to ensure the fairness of the transactions involving the Fund.

  Independent Activities of the Manager; Exclusivity

  The Manager shall cause each managing principal, for so long as such managing principal is employed by, or an
  advisor to, the Manager or any of its Affiliates, to devote to the Manager, the projects in which the Fund invests, and
  other activities of the Fund as much time as may be reasonably necessary for the performance of their respective
  duties in such capacities as managing principals, which shall be no less than a majority of their full business time
  during the Offering Period. Notwithstanding the foregoing, each managing principal may (a) devote such time and
  effort as s/he deems reasonably necessary to the affairs of any partnership or other entity with an investment
  objective that is not substantially similar to the Fund’s investment objectives, (b) devote such time and effort as s/he
  deems reasonably necessary to the affairs of any successor fund and any pre-existing Investments or undersized
  Investments, (c) devote such time and effort as s/he deems reasonably necessary to the affairs of any real estate
  construction or development business in which the managing principal currently participates, (d) serve on boards of
  directors of public and private companies and retain fees for such services for his own account, (e) engage in civic,
  professional, industry and charitable activities, and (f) conduct and manage personal and family investment activities.
  Subject to the express limitations set forth in this Agreement, each managing principal may engage independently or
  with others in other investments or business ventures of any kind.

  Manager's Representation of the Fund in Audit Proceedings

  Situations may arise in which the Manager may act on the Fund’s behalf in administrative and judicial proceedings
  involving the IRS or other enforcement authorities. Such proceedings may involve or affect other business entities for
  which the Manager or its Affiliates act as managers or general partners. In such situations, the positions taken by the
  Manager may have differing effects on the Fund and such other business entities. Any decisions made by the
  Manager with respect to such matters will be made in good faith consistent with the Manager’s fiduciary duties both
  to the Fund and the Members and to any other business entity for which the Manager or its affiliates act as a Manager
  or general partner. However, any Investor who desires not to be bound by any settlement reached by the Manager
  with the IRS may file a statement within a period prescribed by Regulations stating that the Manager does not have
  authority to enter into a settlement on his, her or its behalf.

  Legal Representation

  The Manager has engaged Perkins Coie LLP as its legal counsel to assist in connection with certain of the
  transactions contemplated by this Memorandum and in preparing the Debenture Agreement, this Memorandum and
  the Debenture Agreement. Perkins Coie LLP, in providing such advice has represented the Manager's interests and
  did not represent nor purport to represent the interests of any other Investor or potential investor. The Fund urges you
  to engage your own legal counsel and, as necessary, financial consultants for advice regarding the desirability of
  purchasing the Debentures offered pursuant to this Memorandum. Perkins Coie LLP may in the future represent the
  Fund, the Manager or related parties on various matters, subject to complying with applicable legal principles for
  resolving conflicts of interest.




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  Receipt of Compensation by the Manager, Placement Agent, Selling Group Members or their respective
  Affiliates

  The Manager, the Placement Agent, Selling Group Members, or their respective Affiliates will receive certain
  compensation from the Fund, regardless of whether the Fund ever makes payments to the Investors. See
  “COMPENSATION AND FEES TO THE MANAGER AND AFFILIATES.” Although the Fund believes that the
  fees to be paid to such Persons will be competitive with those that otherwise could be provided by third-parties
  (taking into account the quality, amount, and degree of specialization of services provided), any such fees will not be
  determined by arm’s-length negotiations. These fees and expenses will be paid prior to any repayment of the
  Debentures or interest therein, although the Manager’s management fee will not be payable from and after the
  occurrence of an Event of Default (as defined in the Debenture Agreement) other than a payment default which has
  been cured, whether or not such cure occurs during or after the Grace Period (as defined in the Debenture
  Agreement).

  Manager’s Profits

  After the Fund has paid the principal and 12% annual interest due and payable under the Debentures and paid the
  Payoff Premium, the Fund will distribute a large portion of any remaining profits to the Manager. These distributions
  to the Manager represent a distribution that will reward the Manager for establishing and managing the Fund and its
  assets and is not reliant upon making any capital contributions to the Fund. Manager’s profit interest in the Fund may
  create an incentive for the Manager to make more speculative investments on behalf of the Fund than the Manager
  otherwise would make in the absence of such profit potential.

  By the same token, the Manager has agreed to share a portion of the Fund profits with the Placement Agent. This
  sharing arrangement may reduce the Manager’s incentive to maximize the Fund’s investment performance and return
  to Investors. The Placement Agent will pay a portion of its distributions or profits interest, on a pro rata basis, to
  broker-dealer members of the Selling Group responsible for Investments. Investors are hereby advised that the
  payment of such incentive compensation, or even the possibility of such payment, may create an additional conflict

  Avoidance of Conflicts

  Neither the Manager nor any of its Affiliates may make any investment on behalf of a new pooled investment fund
  with investment objectives that are identical to those of the Fund until the earlier of: (a) the date on which at least
  75% of the aggregate net Offering proceeds, after payment of commissions and fees and the setting aside of reserves,
  have been committed to or invested in Investments or (b) November 1, 2015. During the Offering Period, any
  investment that is presented to the Manager or its members or managing officers that the Manager believes is
  consistent with the investment objectives of the Fund and is otherwise suitable for the Fund, will be offered by the
  Manager to the Fund to the extent the Fund has funds available to make such Investments, net of reserves for the
  management fee and Fund expenses throughout the term of the Fund. For the avoidance of doubt, neither the
  Manager nor its members or managing officers will be required to offer to the Fund any real estate investment that is
  not consistent with the investment guidelines, investment objectives, and principles of the Fund or is otherwise not
  suitable for the Fund. Notwithstanding any provision to the contrary, the Fund and its Affiliates may engage in
  management and investment activities related to pre-existing Investments and activities or operations related to a
  successor fund.




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                                                    RISK FACTORS

  As with all investments, investment in the Debentures is speculative and involves a high degree of risk and therefore
  is suitable only for persons who understand those risks and their consequences and who are able to bear the risk of
  loss of their investment. In addition to the information set forth elsewhere in this Memorandum, you should consider
  the following risks before deciding whether to invest.

  Operation and Fund Risks

           Our business prospects are difficult to predict because we are a newly organized entity.

  The Fund is a newly organized entity and does not have an operating history upon which Investors may base an
  evaluation of its likely performance. The Fund’s results will depend upon the availability of suitable investment
  opportunities for the Fund and the performance of the Fund’s Investments. Payment of the principal and interest on
  the Debentures is subordinated to the prior payment of certain Fund liabilities and expenses and other third party debt
  to institutional lenders. Before payments are made on the Debentures, the Fund must first pay any senior current
  liabilities and expenses, including principal and interest payments due on any third-party institutional debt. This
  includes fees payable to the Manager and its Affiliates.

           Investors must rely on the Manager to acquire appropriate Investments for the Fund’s portfolio.

  The Fund is conducting the offering as a “blind pool,” meaning that the Fund is proceeding to raise funds through the
  sale of the Debentures, without having specifically identified all Investments in which the Fund intends to invest.
  When you subscribe for Debentures, however, that subscription is binding upon you, and you will not have the right
  to revoke that subscription even if you do not approve of the Investments that the Fund subsequently identifies. You
  should not invest in the Fund, unless you are prepared to rely upon the judgment of the Manager to make investments
  consistent with the general guidelines described in this Memorandum. The Fund may have limited access to financial
  information regarding the Investments, which may limit the Fund’s ability to conduct comprehensive due diligence
  regarding the Investment and its likelihood of request.

           If the Fund is not as successful with the Offering as desired, it may not acquire as diversified a portfolio
           as is planned.

  The Fund does not know how many Investments it will be able to obtain. The number of Investments ultimately
  purchased will depend primarily upon the equity raised through the sale of the Debentures, the availability of suitable
  Investments, and the extent to which the Manager arranges for Investments to be held with co-investors. There is no
  certainty as to the number of Investments that the Fund will be ultimately be able to obtain and, since one of the
  Fund’s objectives is diversification, no assurance can be given as to the Fund’s achievement of that objective.

           Control is vested in the Manager; no Investor should purchase the Debentures unless such Investor is
           comfortable with the Manager’s judgment and experience in running the Fund’s affairs.

  Control over all decisions affecting the Fund, including decisions regarding the Investments that are to be made, will
  be made by the Manager. Many material decisions, such as the sale of assets, participation in mergers, consolidation
  and other restructurings, and the incurrence of third-party debt may be made by the Manager without separate
  concurrence from the Investors.

           The Manager’s conflicts of interest may result in transactions unfavorable to the Fund.

  The Manager and its Affiliates may provide certain services to, and enter into transactions with, the Fund, provided
  the terms are commercially reasonable. These measures may not fully protect the Fund against the inherent conflicts
  of interest in these transactions. The transactions have not been, and will not be, subject to review by the Investors or
  an independent party. The transactions’ terms might not be as favorable to the Fund as they would have been if the
  transaction had been with unrelated third parties. Moreover, the Fund will not ask any third party to oversee the
  quality of the services that will be provided by the Manager and its Affiliates. See “CONFLICTS OF INTEREST.” In
  addition, before the Fund invests all of its Investments, the Manager will be subject to potential conflicts of interest
  when choosing between investment opportunities that may generate different fees for the Manager.


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  The Manager has the discretion to retain all or a portion of the proceeds from Investments to make new Investments.
  If the Manager were to take such action, this would place such investment returns at the risk of new investment
  opportunities and delay payments of the Payoff Premium to the Members.

           Without obtaining advice from your personal advisors, you may not be aware of the legal, tax or
           economic consequences of an investment in the Debentures.

  The Manager has not arranged for Investors in this Offering to be separately represented by independent counsel. The
  legal counsel who has performed services for the Fund has performed such services for the Manager and has not
  acted as if it had been retained by the potential investors or the Members. You are not to construe the contents of this
  Memorandum or any prior or subsequent communication from the Manager, or its Affiliates or any professional
  associated with this Offering, as legal or tax advice. You should consult your own personal counsel, accountant and
  other advisors as to legal, tax, economic and related matters concerning the investment described herein and its
  suitability for you.

           The Fund will have limited or no control over the underlying Investments and must instead rely
           exclusively upon the skill, expertise and background of the persons controlling the Investments.

  The Fund expects to acquire preferred equity and, occasionally, debt interests in the Investments. Accordingly, the
  Fund will not likely have control over those Investments (except in certain circumstances relating to the Fund
  enforcing its creditor rights or contractual rights) and will be required to rely on the Project Partners of such
  Investments to use their skill, expertise and background to generate value from the Project Entities. Although the
  Fund routinely requires the Project Partners to grant a mortgage (deed of trust) or to pledge their equity interest in the
  Project Entity as collateral, there can be no assurance that in the event of a default by the members or managers of
  such Project Entity that the equity interest or real estate can be readily transferred to the Fund or that the Fund can
  obtain control of the Project Entity. There is a risk that courts or other governmental parties may oppose such
  transfers.

           The Fund may take over control and management of properties in which the Fund originally held a
           passive equity interest if the entity owning such property is in default (as defined in the entity's governing
           document). Such properties may entail additional risks and lower cash flow during the development
           period and the subsequent lease up or sale.

  The Fund may acquire a preferred equity position in entities in need of additional capital in order to meet debt service
  obligations, refinance existing debt or finish developing or renovating the underlying property. The Fund would not
  be in control of the day-to-day operations of the underlying company, but would have the ability to take control of
  the company in the event certain conditions were not maintained by the existing manager. Even though the Fund may
  take over management of the underlying property, it might not be a majority owner of the underlying property and its
  management authority may be restricted. In the event of default and subsequent acquisition of the underlying
  property, the Manager may underestimate the costs and time needed to effectuate necessary construction, renovations
  and repairs. This may present unexpected capital demands upon the Fund, and reduce the potential return on the
  Investment because of the additional capital needed to renovate the property. Development projects may take longer
  than anticipated, increasing the time that part or all of the residential or commercial units are not available for rent,
  lowering the property's cash flow potential. The costs of construction have increased dramatically during recent years
  and may continue to increase. Although the Manager will not undertake such projects without preparing detailed
  budgets, such budgets may understate the expenses.

           Markets in which the Fund is anticipated to invest are subject to a high degree of volatility and therefore
           the Fund’s performance may be volatile.

  The Fund's business will involve a high degree of financial risk. Markets in which the Fund is anticipated to invest
  are subject to a high degree of volatility and therefore the Fund’s performance may be volatile. There can be no
  assurance that the Fund's investment objective will be realized or that Investors will receive any Payoff Premium.
  The Fund may invest in various interests related to single, multi-unit and multifamily residential properties, including
  direct investments in such properties; debt instruments issued by entities owning such properties, which may or may
  not be collateralized by mortgages against such properties or the equity interests in the ownership entities; equity


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  interests, such as general and limited partnership and membership interests, in entities holding title to such properties,
  as well as interests to participate in the cash flow generated by such entities. The Manager in its sole discretion may
  employ such investment strategies and methods as it determines to adopt.

           If the Fund were to acquire debt collateralized by residential properties suitable for investment, the Fund
           will be subject to a number of additional risks not present when investing directly in residential
           properties.

  The Fund has the authority to purchase debt collateralized by residential properties. If such collateralized debt is
  acquired, the Fund will be subject to the following risks:

           (a)       The Manager’s due diligence must cover not only an assessment of the value of the underlying
           collateral (since there is the possibility that the Fund will acquire title to the property in satisfaction of the
           debt), but also an assessment as to whether the Fund will take the debt free from the claims of others and
           whether the debtor has defenses that might be asserted to forestall or defend against the collection of the
           debt. To the extent possible, when acquiring debt, the Fund will try to make certain that it is a bona fide
           purchaser of the debt entitled to be treated as a “holder” in due course under the applicable Uniform
           Commercial Code.

           (b)       The debtor may default in its obligations under the debt, forcing the Fund to institute collection
           actions and proceed against the underlying collateral in order to protect its investment. The Manager must,
           before proceeding with such acquisition, be comfortable that the risk reward profile of the Investment is
           favorable. Such an analysis will require the Manager to take into account the factors likely to impact the
           ultimate return on the Investment, including among others, the price at which the debt was acquired
           (whether and to what extent the debt is acquired at a discount to the outstanding principal), the likelihood of
           default, the stated principal and interest payments, an assessment of the underlying collateral value of the
           collateral, the possibility of competing claims to the debt itself or defenses that might be tendered by the
           debtor in a collection action, the likely costs and delays in proceeding against the collateral, the risk of a
           debtor bankruptcy proceedings and the presence of personal guaranties from creditworthy/solvent
           guarantors.

           (c)      The Fund may encounter delays or difficulties in foreclosing upon its interest in the collateral if the
           debtor cannot pay the debt as and when it becomes due. Moreover, the Fund may incur substantial expenses
           in foreclosing upon the collateral or pursuing claims against the debtor and, if applicable, the guarantors of
           the debt. Such costs will increase the Fund's costs in the property, if the Fund subsequently acquires title to
           the property through foreclosure or a deed in lieu of foreclosure.

           (d)       There is no assurance that the Fund will subsequently acquire title to the collateral property. The
           debtor may keep the debt current, cure prior events of default or arrange for the debt to be refinanced. Even
           in cases where the property is sold through a foreclosure sale, a third party may be prepared to outbid the
           Fund to purchase the collateral property. It would be customary for the Fund to submit as its bid the amount
           of the outstanding debt at foreclosure sale, but the Fund may not be prepared to bid more than that amount
           to win the property over other bidders. In those instances, where the Fund does not take title to the collateral,
           its return on investment will be determined by the terms of the promissory note and related collateral
           document (such as the deed of trust, mortgage, or other security agreement). The Fund's rate of return on
           such an investment may be determined by a number of factors, not the least of which is the price of which
           the debt was acquired. The investment's potential return will be significantly enhanced if the collateralized
           debt can be purchased at a deep discount to the then outstanding debt. Should that be the case, the Fund’s
           return, even if the debt is subsequently retired, will be substantially greater than would have been the return
           of the debt in the hands of the originating lender.

           (e)      The debtor may evoke the protection of the Federal Bankruptcy Code or similar state insolvency
           laws designed to protect the interests of insolvent borrowers. These protections are at the expense of the
           Fund as a creditor. Such actions may result in staying the Fund’s foreclosure proceedings, restructuring of
           the debt terms, or otherwise delaying or interfering with the enforcement of the creditor’s rights under the
           applicable security agreements. The Manager will need to balance such considerations before deciding


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          whether it is advisable to acquire the collateralized debt and, in particular, assess whether the price at which
          the debt is acquired (including the discount if any) is sufficient to compensate the Fund from the possible
          risks of delays, additional costs, and debt restructuring on less favorable terms to the creditor.

          Fees to Manager will be paid while interest and principal remain outstanding under the Debentures.

  Provided that an Event of Default has not occurred, fees payable to the Manager will be paid while interest and
  principal remain outstanding under the Debentures. The management fee is based on the outstanding principal
  balance of the Debentures. The Manager will receive such fees whether or not the Investments operate profitably.
  These fees (like other operating expenses) reduce the amount of cash that otherwise would be available for payment
  of the Payoff Premium. See “COMPENSATION AND FEES TO THE MANAGER AND AFFILIATES.”

          Various factors could negatively impact the amount of net profits generated by the Fund during the
          Measurement Date (as defined in the Debenture Agreement); thereby reducing the Payoff Premium that
          may be paid to the Investors.

          (a)      At this stage, it is not known how much information, including financial information, the Fund will
          have available to review when conducting due diligence regarding potential Investments. The content and
          accessibility of such information will be determined by the manager of the respective Investment. While the
          Manager will not cause the Fund to make an investment in an Investment unless it has what it considers to
          be reasonable access to such information, the information may not be as comprehensive as the Manager
          would like. Moreover, neither the Manager nor the Fund will audit the affairs of the Investments and will
          rely upon the accuracy of the information provided to it regarding the Investments.

          (b)       The Fund will obtain insurance policies for the Investments that are commercially prudent given
          the local market and circumstances of the Investment (typically including liability, fire and extended
          coverage). However, certain losses are either uninsurable or may be insured only upon payment of
          prohibitively high insurance premiums. If any such loss should occur and the Investments should be
          partially or totally destroyed, the Fund may suffer a substantial loss of capital as well as profits. Even if the
          Fund's insurance policy provides coverage for the loss, the deductible for such policy may be so large that
          the Fund will sustain a substantial uninsured loss as a result of a fire or other casualty.

          (c)       Under various federal, state and local laws, ordinances and regulations, an owner or operator of real
          property may become liable for the costs of removal or remediation of certain hazardous substances released
          on or in its property. Such laws often impose liability without regard to whether the owner or operator knew
          of, or was responsible for, the release of such hazardous substances. The presence of hazardous substances
          may adversely affect the owner's ability to sell such real estate or to borrow funds using such real estate as
          collateral. Before making an Investment, the Manager will undertake such environmental due diligence as it
          considers appropriate under the circumstances to assess the potential environmental risks. Such investigation
          is expected to include the review of all available environmental reports, such as Phase I studies. No
          assurance can be given that such due diligence will identify all potential environmental problems. Moreover,
          to the extent that the Investment's site had environmental contamination not detected prior the Fund's
          acquisition of that property, or subsequent environmental contamination were to occur, remedial efforts, if
          any, the Fund undertakes may not be sufficient to eliminate potential liability, and, as a consequence, the
          Fund may incur environmental clean-up costs or be subject to liability exposure that may reduce the net
          profits of the Fund.

          (d)      Under the Americans With Disabilities Act of 1990 (“ADA”), all places of public accommodation
          are required to meet certain federal requirements related to access and use by disabled persons. A number of
          additional federal, state and local laws exist that may require modification to existing Investments to allow
          disabled persons to access to such facility. Most of the Investments the Fund considers will likely be in
          compliance with the present access requirements. If, however, the Investments the Fund acquires were not in
          compliance with the ADA, the Fund will be required to make modifications to the Investments to bring them
          into compliance, or face the possibility of an imposition of fines or an award of damages to private litigants.
          In addition, further legislation may impose additional burdens or restrictions related to access by disabled
          persons, and the cost of compliance could be substantial.


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           (e)      The real estate industry in general, and the multifamily residential sector in particular, are highly
           competitive, and the Fund will be competing with numerous other entities, some having substantially greater
           financial resources and experience than the Fund, in seeking attractive investment opportunities.
           Competition will reduce the number of suitable properties available for purchase and increase the bargaining
           power of sellers, inflating the purchase prices of the available Investments or resulting in other less
           favorable terms to the purchasers.

           (f)      The investment returns available from equity investments in real estate depend in large part on the
           amount of income earned and capital appreciation generated by the related properties, and the expenses
           incurred. In addition, a variety of other factors affect income from properties and real estate values,
           including governmental regulations, insurance, zoning, tax, interest rate levels and the availability of
           financing. When interest rates increase, the cost of acquiring, expanding or renovating real property
           increases and real property values may decrease as the number of potential buyers decreases. Similarly, as
           financing becomes less available, it becomes more difficult both to acquire and to sell real property. Any of
           these factors could have a material adverse impact on the Fund's results of operations or financial condition.
           In addition, equity real estate investments are difficult to sell quickly and the Fund may not be able to adjust
           the Fund's portfolio of owned properties quickly in response to economic or other conditions. If the Fund's
           properties do not generate revenue sufficient to meet operating expenses, including debt service and capital
           expenditures, the Fund's income will be adversely affected.

  Private Offering and Liquidity Risks

           This private placement of Debentures is being made in reliance on an exemption from registration
           requirements and there is no guarantee that it will comply with the regulatory requirements for such
           exemption.

  This private placement of Debentures will not be registered with the Securities and Exchange Commission. The
  Debentures are being offered in reliance on an exemption from the registration provisions of the Securities Act and
  state securities laws applicable to offers and sales to Investors meeting the investor suitability criteria set forth in this
  Memorandum. If the Fund should fail to comply with the exemption, Investors may have the right to rescind their
  purchases of Debentures. This might also occur under the applicable state securities or “Blue Sky” laws and
  regulations in states where the Debentures will be offered without registration or qualification pursuant to a private
  offering or other exemption. Such claims, if brought, would be disruptive and could force a sale of the Fund’s assets
  to satisfy the claims of the claimants.

           This is a private offering and as such you will not have the benefit of review of this Memorandum by the
           SEC or other agency.

  Since this offering is a private placement of securities and, as such, is not registered under federal or state securities
  laws, you will not have the benefit of review of this Memorandum by the SEC or any state securities commission.
  The terms and conditions of this private placement may not comply with the guidelines and regulations established
  for offerings that are registered and qualified with those agencies.

           The limited liquidity of the Debentures may adversely affect your ability to transfer and pledge
           the Debentures.

  You must represent that you are purchasing the Debentures for your own account for investment purposes and not
  with a view to resale or future distribution. You may not sell, assign, transfer, encumber or otherwise dispose of your
  Debentures unless the Fund obtains an opinion or are otherwise satisfied that such sale, assignment, encumbrance or
  transfer does not violate applicable federal or state securities laws, constitute trading on a secondary market, or on an
  equivalent thereof, for purposes of Section 7704 of the Code or cause the Fund's termination under Section 708 of the
  Code. Accordingly, the Debentures may not be readily accepted as collateral for loans and you may not be able to
  liquidate your investment in the event of emergency or for any other reason, or may be able to liquidate your
  investment only at a substantial discount. See “TRANSFERABILITY OF THE DEBENTURES,” and “U.S.
  FEDERAL INCOME TAX MATTERS.”



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           Investments will be illiquid.

  The Fund expects its investments in the Investments to be illiquid. Accordingly, its returns on those investments will
  be dependent, and be outstanding, over the life time of the Investments. If the underlying assets in those Investments
  are held for long periods, the Investors will be compelled to wait until the underlying assets are sold, before being in
  a position to liquidate their investments. The Manager expects most of its Investments to have an investment time
  frame of 2 to 3 years. The Fund may have little or no control over when the underlying properties are liquidated.

  Tax Risks

           You are urged to consider the United States federal income tax consequences of owning the Debentures

  Pursuant to the terms of the Debenture Agreement, the Fund and each holder of Debentures will agree to treat the
  Debentures for U.S. federal income tax purposes as contingent payment debt instruments subject to U.S. federal
  income tax rules applicable to contingent payment debt instruments. Under that treatment, if you are a U.S. Holder
  (as defined herein), you will be required to include interest in taxable income in each year in excess of the amount of
  interest payments actually received by you in that year. You will recognize gain or loss on the sale, repurchase,
  exchange, conversion or redemption of a Debenture in an amount equal to the difference between the amount realized
  and your adjusted tax basis in the Debenture. Any gain recognized by you on the sale, repurchase, exchange,
  conversion or redemption of a Debenture generally will be treated as ordinary interest income and any loss will be
  treated as ordinary loss to the extent of the interest previously included in income and, thereafter, as capital loss. See
  “U.S. FEDERAL INCOME TAX MATTERS.”

           Interest on Debentures Could be Characterized as Unrelated Business Taxable Income

  We intend to take the position that the Debentures should be classified as debt instruments for U.S. federal income
  tax purposes and both the stated interest and the Payoff Premium should constitute interest. In general, interest on
  debt instruments is not characterized as Unrelated Business Taxable Income (“UBTI”) with respect to tax exempt
  Investors. However, there is no assurance that the IRS will agree with this position and it is possible that the
  debentures may be treated as equity securities or as hybrid debt/equity securities. In such case, all or a portion of the
  interest on the Debentures may be characterized as UBTI with respect to tax exempt Investors.




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                     PRIOR PERFORMANCE OF THE MANAGER AND ITS AFFILIATES

  As a newly formed investment vehicle, the Fund has no operating or prior performance history. The information
  presented in this section represents the limited historical experience of the principals of the Manager and their
  Affiliates. Prospective investors in the Fund should not rely on the information below as being indicative of the types
  of investments the Fund may make or of the types of returns the Fund's Investments may generate. It should be
  understood that neither the Fund nor the Investors will have any interest in the properties described below.
  Prospective investors should not assume that the Fund will experience returns, if any, comparable to those described
  herein.




  YOU SHOULD RECOGNIZE THAT BY PURCHASING DEBENTURES IN THE FUND YOU WILL NOT
  THEREBY ACQUIRE ANY OWNERSHIP INTEREST IN ANY OF THE PRIOR PROGRAMS OR ANY
  FUTURE PROGRAM SPONSORED BY THE MANAGER OR ITS AFFILIATES. YOU SHOULD RECOGNIZE
  THAT ANY PRIOR PERFORMANCE OR TRACK RECORD INFORMATION RECEIVED REGARDING THE
  MANAGER AND ITS AFFILIATES IS GIVEN SOLELY TO ALLOW YOU TO ASSESS THE EXPERIENCE OF
  THE MANAGER AND ITS AFFILIATES. YOU SHOULD NOT ASSUME THAT THE INVESTORS IN THIS
  OFFERING WILL EXPERIENCE RETURNS, IF ANY, ON THEIR INVESTMENTS SIMILAR TO THOSE
  EXPERIENCED BY INVESTORS IN THE PRIOR PROGRAMS SPONSORED BY THE MANAGER AND ITS
  AFFILIATES.




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                                          MANAGEMENT OF THE FUND

  General

  The management and supervision of the Fund is vested exclusively in the Manager (including its duly appointed
  agents), and the Manager (and its duly appointed agents) shall have full control over the business and affairs of the
  Fund. Subject to the terms of this Agreement, the Manager shall have the power on behalf and in the name of the
  Fund to carry out any and all of the objects and purposes of the Fund and to perform all acts and enter into and
  perform all contracts and other undertakings that the Manager, in its sole discretion, deems necessary or advisable or
  incidental thereto.

  You will have no right to participate in the management and control of the Fund and will have no voice in its affairs
  except for certain limited matters which may be submitted to a vote of the Members under the terms of the Debenture
  Agreement. The Members must rely upon the judgment and experience of the Manager to manage the Fund.

  The Fund’s Manager

  The Fund has selected iCap Pacific NW Management, LLC, a Washington limited liability company solely owned by
  Chris Christensen, to serve as its Manager. For its services, the Manager will receive an annual management fee as
  described elsewhere in this Memorandum. See “COMPENSATION AND FEES TO THE MANAGER AND
  AFFILIATES.” In addition, the Fund will reimburse the Manager for any Fund expenses that are borne by the
  Manager on behalf of the Fund; provided, however, that the Manager will not be reimbursed for initial organizational
  and offering expenses which are less than $500,000.

  Affiliates of the Manager

  The Fund has two affiliated companies specializing in the acquisition and development of real estate properties:
  Altius Development, Inc., which is solely owned by Chris Christensen, and Edge Construction, LLC, which is solely
  owned by Altius Development, Inc. Altius was formed in 2007 and has completed a number of projects in areas of
  condos, multi-family and single family subdivisions. Edge Construction was formed in 2007 and has been involved
  in the construction of condos, multi-family, single family subdivisions, remodels, commercial structures and a
  number of custom homes. Additionally, Chris Christensen is the principal attorney and owner of Altius Legal, PLLC,
  a law firm specializing in business and real estate law. Each of these Affiliates may provide services to the Fund and
  may provide additional exit strategies at predetermined rates where needed. See “COMPENSATION AND FEES TO
  THE MANAGER AND AFFILIATES—Compensation Rates of Affiliates” for the fee rates of these Affiliates.

  Key Executives of Manager

  Certain biographical information regarding some of the key members of the Manager’s senior management team is
  summarized below.

  Chris Christensen – President. Prior to forming the Fund, Mr. Christensen formed Altius Development, its
  subsidiary construction company, Edge Construction, and Altius Legal, PLLC. Mr. Christensen has also advised
  numerous lenders, developers, and borrowers with regard to their start-up and operating needs, including financial
  structuring and asset protection, as well as the use of funds in their businesses. He has structured and completed
  numerous real estate transactions. Mr. Christensen is 37 and holds a J.D. from Seattle University School of Law, a
  Master’s Degree in International Business from Seattle University and a Bachelor of Arts Degree from the University
  of Utah, and is the brother of Mike and Jim Christensen.

  Michael (“Mike”) Christensen – Chief Investment Officer. Prior to joining the Fund team, Mike was the founder
  and Managing Director of Vision Ventures Capital & Consulting, LLC, a venture capital firm headquartered in Utah
  providing consulting with regard to capital raises and corporate financial matters. Mike and his team managed the
  Dixie Angel Investor group, in addition to a debt fund consisting of pooled money from local banks. Prior to
  founding Vision Ventures, Mike worked at the Utah Fund of Funds on a small team managing a $300,000,000 fund.
  Mike is 32, holds an M.B.A. from Pepperdine Graziadio School of Business Management, a Master of Dispute
  Resolution from Pepperdine University School of Law, and a Bachelor of Arts Degree from the University of Utah,
  and is the brother of Chris and Jim Christensen.


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  Jim Christensen - Chief Operating Officer. Prior to his role at iCap Equity, Jim was the Chief Operating Officer at
  Altius Development, Inc., where he managed all aspects of construction, development, finance, and risk control of
  multifamily, residential, and commercial real estate projects throughout Washington state. While at Altius
  Development, Jim managed over $30 million in development projects and also consulted property owners on the
  strategy, finance, and execution of the development of their properties. He has experience dealing with jurisdictional
  issues relating to site development and vertical construction, as well as budget preparation, project underwriting, and
  legal structuring. Jim is 29, holds a Bachelor of Arts Degree from the University of Washington, and is the brother of
  Chris and Mike Christensen.

  Bryan Brown – Vice President, Construction. In addition to Mr. Brown's role at the Manager, he is the president of
  Edge Construction,. Mr. Brown is 37 and has 18 years of experience in new home construction, multifamily
  construction, and commercial construction. He has built over 1,500 structures. Mr. Brown has trained many
  construction managers and superintendents. He will perform due diligence, construction management, and budget
  monitoring for the Fund's Investments.

  Miscellaneous

  The Manager and its Affiliates have never been denied a license to practice a trade or business or ever experienced an
  event of bankruptcy, receivership, assignment for the benefit of creditors or similar proceeding. In addition, the Fund
  and the Manager have never been involved in or subject to any pending litigation or claims.




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                                          DESCRIPTION OF THE BUSINESS

  The Fund has been formed to invest in real estate opportunities in the Pacific Northwest. The Fund may also acquire
  real estate directly, as well as debt instruments in other real estate companies. The target investment properties
  include single and multi-unit residential properties, multi-family residential projects, commercial properties and land
  acquired for entitlement purposes.

  Market Opportunity

           Demand for Equity

  Virtually all real estate transactions require an
  equity investment in order to obtain lender
  financing. The recent economic downturn has
  further increased the demand for equity
  investment in real estate transactions. This
  need is the result of banks and other real
  estate lenders tightening their lending criteria.
  Several years ago lenders routinely loaned up
  to 90% of a project's bulk value or 80% of
  retail value. Now they are commonly lending
  no more than 65-70% of a project's cost and
  are requiring the Project Partner to supply the remainder of the money to complete a project. Thirty percent of US
  banks said their standards for commercial real estate loans are the tightest they have been in six years, while another
  37% said that their standards are only slightly easier than their tightest in that same period, according to a Federal
  Reserve          survey          of       senior      bank         loan         officers      (Federal         Reserve,
  http://www.federalreserve.gov/boarddocs/snloansurvey/).

  In the past two years 80% of banks have reported a stronger demand for real estate loans, while lending volume has
  decreased by over $4 trillion nationally (Federal Reserve Bank of St. Louis). Most real estate developers and builders
  have been severely affected by the economic downturn and may not have the necessary capital to complete attractive
  real estate projects. As a result of their not having the necessary capital, a funding gap exists that results in short-term
  and long-term investment opportunities for the Fund.

           Capitalizing on the Market Opportunity

  The Fund’s business model is designed to fill the funding gap between lenders, on the one hand, and developers or
  builders (“Project Partners”), on the other hand, by providing the additional cash equity needed for real estate
  projects. The primary difference between the Fund and other equity investors is that the Fund maintains control of
  each Project Entity.

  The Fund’s business model is attractive to banks and other lenders because the Fund brings an additional assurance to
  lenders that they will be repaid through the Fund’s and its Affiliates’ efforts. Local lenders screen hundreds of
  potential projects and perform much of the upfront due diligence required to put a project together. For example, a
  lender who has approved a Project Partner on a loan for a project that the lender likes, will have already performed
  the appraisal, background checks, financial analysis, and other items for the loan to be approved. The Fund can then
  review the due diligence file prepared by the lender and then begin its own due diligence process. After reviewing the
  lender’s due diligence file and completing its own due diligence process, the Fund will negotiate an investment
  structure with the Project Partner. The investment with the Project Partner will be structured in a way that requires a
  priority return of the Fund’s original investment plus a share of the profits. The Fund will then provide the funds
  needed to meet the cash requirement under the loan. Recently, many banks have reported that they have more cash to
  lend than ever before; however, they commonly state that there are not enough borrowers capable of qualifying for
  loans under their new guidelines. This situation is generally the result of low liquidity on the part of the borrower,
  which can be met by the Fund.

  We believe the Fund provides a needed service to developers and builders. Most developers and builders who could
  not otherwise finance a real estate project without additional cash are willing to agree to the Fund’s guidelines and

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  investment criteria. From the Project Partners’ (developers and builders) point of view, she, he or it would rather
  agree to give a share of a project’s profits to the Fund and have the chance to earn a smaller profit for himself, herself
  or itself than to miss the opportunities altogether.

           Market Opportunity’s Longevity

  Many investors seek to take advantage of the short-term opportunities that have arisen from banks needing to
  liquidate assets at low prices but do not have the capital or relationships to fund the opportunities. The Fund’s
  investment strategy allows it to participate in both short-term and long-term opportunities. For example, the Fund’s
  business model allows it to provide the necessary capital for a Project Partner to acquire bank owned assets now (a
  short-term opportunity). The Fund will also provide funding for future projects by Project Partners who need cash to
  meet the revised lending criteria of banks (a long-term opportunity). In both scenarios, the Fund structures its
  investments such that the Project Partner and its guarantors bear most of the economic risk, while the Fund gets a
  priority return of its original investment and shares in the profits of the Project Entity and maintains control of the
  exit strategy.

  Target Market: Pacific Northwest

  The Seattle-Tacoma-Bellevue Metro Area is the third strongest regional economy in the United States 1. This region
  contains nearly 65% of the 6.8 million people living in Washington and a majority of manufacturing, research, and
  technology jobs generated by some of the most stable companies in the world. With several Fortune 500 companies
  headquartered in the Puget Sound Region, the job growth rate is more than double that of the United States, with a
  large number of jobs requiring well-educated labor where employees are highly paid, such as aerospace, technology,
  and life sciences. A projected 4.4% wage growth for adults 18-29 years old 2 makes the Puget Sound region appealing
  to young professionals, which in return increases the demand across all sectors of real estate development. Below are
  some of the regional employment and
  housing statistics:

      •    Aerospace: 85,000 currently
           employed at an average wage of
           $80,000 with an expected 5%
           industry growth rate for the next
           10 years.
      •    Technology: 70,000 currently
           employed at an average wage of
           $90,000 with an expected 12%
           job growth rate over next the 5
           years.
      •    Life Sciences: 33,500 currently
           employed at a median wage of
           $88,000 with an expected 10%
           job growth rate over the next 5 years. 3

  Regional Housing Demand

  •   Seasonally adjusted average home prices rose 12% from $335,089 in Q3 of 2012 to $375,300 in 2013.
  •   Total housing inventory has decreased an average of 22% quarterly from a year ago for 2013.



      1 www.policom.com
      2 www.payscale.com
      3 www.researchcouncil.org




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  •   The Case-Shiller Index has risen 19% from January 2012 to August 2013, indicating a trend in rising home
      prices independent of home quality changes.
  •   Five years of pent up demand, affordability, rising home prices, and an improved economy all bode well for the
      construction and real estate sector in the region.

  The Fund will focus its Investments in three types of properties: multi-family (condos and apartments), residential,
  and commercial. Given that the Fund and its Affiliates are based in the Seattle-Tacoma area, the Fund will primarily
  invest in Project Entities located in western Washington. The Seattle-area economy has been among the most
  resilient economies in the country during the recession.

  Market Segment

  More than 88% of U.S. commercial real estate transactions
  are less than $5 million in size. 4 Nevertheless, fewer than
  5% of private HTXLW\¿UPVLQYHVWLQWUDQVDFWLRQVWKDWDUHOHVV
  than $5 million. There is a $16 billion funding gap that exists
  today in these smaller transactions, which has been widened
  by the recent recession. 5 As a result of tightened lending
  standards, namely more rigid loan-to-cost requirements,
  many builders and property owners are unable to secure the
  necessary capital to complete projects. The Fund provides the
  equity piece (i.e. the gap funding) that enables builders and
  property owners to secure capital for the completion of their
  projects.

  Investment Focus and Structure

  The Fund intends to focus its investments on new
  construction properties and income-producing properties
  located in the Pacific Northwest and to seek projects in which
  Fund’s investments can be repaid within six (6) to 18 months
  after acquisition. Affiliates of the Fund will add value through legal, development, or construction services, as
  needed.

  Projects are sourced primarily through private lenders, banks, brokers, and property owners. The Manager has
  existing relationships with various banks and private lenders that are attempting to dispose of Real Estate Owned
  (REO) properties. A bank will often contact the Manager as they know that the Fund is interested in these types of
  investment opportunities. A second source of projects is developers and builders. The Manager works with those
  developers that have quality projects and who are in need of cash so that the developer can have all of the required
  equity in place prior to approaching the bank for a loan. Specific examples of types of investments the Fund may
  target include the following:

           Equity Investments

  An equity investment for the Fund involves the purchase of an ownership position in a Project Entity. An example of
  this type of investment might be a developer who desires to obtain a loan from a bank to build an apartment building.
  In the typical situation, the bank’s lending guidelines will limit the loan amount to 70% of the construction costs,
  requiring the developer to pay for the remainder of the construction costs with cash. In this instance, the developer
  would supply as much cash as he, she or it had, and the Fund would fill the gap in exchange for a priority return of its
  original investment plus a portion of ownership (and profits) of the Project Entity.


      4 ³http://www.corelogic.com/landing-pages/commercial-real-estate-data-and-analytic-capabilities.aspx
      5 ΀Federal Reserve, http://www.federalreserve.gov/boarddocs/snloansurvey/




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  The Project Entity LLC Agreement will be structured first to provide a preferred return, followed by a priority
  repayment of the Fund’s capital investment and then a share of the profits in the Project Entity. For example, if the
  Fund were to invest $100,000 into a project, the Fund would be entitled to a priority repayment of the $100,000, plus
  interest, and would further be given a share of the profits in the development entity. The Fund’s legal agreements
  with the Project Partner will provide for the Investment in each project to be repaid as soon as possible, but generally
  no later than 12 months from the time of the Fund’s Investment. This structure allows the Fund to re-invest the
  returned capital received from Project Entities, while continuing to maintain a share of the profits. Failure of the
  Project Partner to perform on the terms of the Fund’s financing, or failure to adequately perform its contractual
  obligations to the Project Entity, would result in the Fund receiving a larger share of the profits or the ability to take
  control of the Project Entity and the Project Partner’s interest thereto. Such failure will also permit the Fund to
  demand the return of its investment in the Project Entity.

           Cash Acquisitions

  Many current real estate opportunities can be found by buying properties from banks or property owners. Quite
  frequently, banks and other lending institutions are required by the FDIC to liquidate properties they own in order to
  meet mandatory ratio requirements with regard to their loans and deposits. This situation often requires lenders to sell
  their REO properties very quickly, often at discounts. The Fund has a growing network of relationships with lenders
  who are willing to sell their properties to private parties in off-market transactions before listing them for sale to the
  general public. The Fund will utilize this network to position itself to purchase properties that meet management's
  approval. Once an REO asset is acquired from a lender at a discount, the Fund has the option of either selling the
  property immediately or adding value to the property through entitlement, development, construction, or any
  combination of these things. Then, depending on market demand, the developed parcels or structures could be sold.
  In these instances, the Fund would acquire such properties through a wholly-owned special purpose entity and may
  engage the Manager’s Affiliates to perform the value-added work.

           Loans

  In the event the Fund makes loans, it will do so in exchange for a first position mortgage (deed of trust) on the
  underlying property. These loans will typically be underwritten to ensure that the loan is no more than 80% of the
  property’s value. The loans are intended to be short-term loans to be repaid in less than 15 months. The Fund may
  also provide additional cash as an equity investment to those borrowers. Additionally, the Fund may purchase
  existing loans from lenders at a discount. In that case, the fund will receive interest payments until the loan is sold or
  paid off.

           Acquisition of Bank Notes

  A number of banks are in a position where they need to divest portions of their loan portfolios in order to comply
  with various FDIC requirements. The Fund believes it is in a position to opportunistically step in and acquire such
  bank notes at a discount.

           Other Investments

  The Manager may pursue other investment opportunities so long as they are believed to have attractive yield
  potential.

  Legal Structure of Projects

  Each Project Entity will be organized as a new limited liability company with assets consisting of the real property
  and any fixtures and improvements relating to the same. This organizational structure allows the Fund to limit
  potential liabilities that may come from unrelated matters of the Project Partner and provides protective measures for
  the Fund. Unlike traditional real estate investment vehicles, in which the real estate itself serves as the primary or
  only source of collateral, the Fund will also secure the return of its investment in the Project Entity with the Project
  Partner’s equity interest in the Project Entity. Thus, in addition to recording second position or sometimes first
  position mortgage (deed of trust) against the property to secure the return of the Fund’s investment in the Project
  Entity, the Project Partner must also pledge his, her or its equity interest in the Project Entity to the Fund. The Fund
  will be entitled to foreclose against this pledge or exercise its contractual rights under the governing documents of the


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  Project Entity in the event of the Project Partner’s failure to meet the performance obligations it has contractually
  agreed to. The Fund believes these measures will help ensure the project is completed on time and on budget. In
  order for the Fund to invest in and form a Project Entity, the Project Partner must contractually agree to:

      x    Pay all subcontractors, vendors, or service providers of the Project Entity when due;
      x    File tax returns and pay taxes when due;
      x    Generate any other report due to government authorities or to the members of the Project Entity when
           requested or when due;
      x    Obtain approval from the Fund before incurring expenses that are not included in, or which exceed the line
           items of, the budget of the project that will be agreed to by the Fund;
      x    Prohibit any lien, security interest, or other encumbrance to be filed or recorded against any property owned
           by the Project Entity which has not been previously approved by the Fund;
      x    Obtain and maintain all permits or licenses, necessary to the operation or development of the Project Entity;
      x    Meet the project milestones and timelines to be set forth in the Project Entity LLC Agreement;
      x    Maintain property sale prices or rents within 5% of the values set forth in the Project Entity governing
           documents unless consent is first obtained from the Fund;
      x    Maintain financial solvency of the Project Partner or any entity owned by the Project Partner;
      x    Avoid litigation, disputes, arbitration, or violation of any law or ordinance;
      x    Do not enter into any agreement on behalf of the Project Entity, the terms of which in the reasonable
           determination of the Fund manager are likely to reduce the Project Entity’s profits;
      x    Meet with the Fund manager monthly; maintain and produce accurate books and records; and deliver the
           documents or reports requested by the Fund;
      x    Maintain adequate insurance for the project or for any affiliate thereof performing work on the project;
      x    Deliver copies of any notices received by the project manager; and
      x    Do not encumber, hypothecate, or pledge as collateral, or attempt to encumber, hypothecate, or pledge as
           collateral, any interest of the Project Entity contrary to the provisions of the Project Entity LLC Agreement
           or without the prior written consent of the Fund Manager.

  Identifying and Monitoring Investments

  The Fund's due diligence process typically starts with a phone call from a bank, broker or builder and is followed by
  phases of review, which serve to eliminate those projects that do not meet the Fund's investment criteria. The due
  diligence process encompasses a methodical and comprehensive review of material elements pertaining to the
  specific project in question and the real estate market in general. The Fund will consider whether to fund a project
  based on the following investment criteria:

           Location of property

  Each Fund investment must fall within an approved geographic area. Due to the strength and diversity of the Pacific
  Northwest economy, the Fund is currently investing in projects located in the Greater Puget Sound area.

           Strength of Exit

  Prior to funding a project, the Fund will establish multiple potential exit strategies, thus generating multiple avenues
  for providing returns to the Company. The strength of an exit is determined by the number of exits available, current
  market conditions, available take out finance options, and/or the sponsor’s ability to refinance. Current market
  conditions are assessed based on supply and demand of the type of finished products and their locations.




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       CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED


           CLTV less than 80%

  Combined loan to value (“CLTV”) is a ratio used by the Fund to determine the downside risk on each prospective
  project. It is calculated by taking the sum of the Fund’s investment and the first mortgage loan and dividing it by the
  anticipated value of the property at the completion of the project. The Fund will not finance any amount above the
  total cost of the project and will not invest in projects whose CLTV exceeds 80%.

           Timing of exit

  The Fund invests into projects that will exit in 18 months or less, and preferably 12-months or less. This relatively
  short investment period is important to minimize changing market conditions. In the event that market conditions
  change, the Fund is able to adjust the exit strategy quickly to take advantage of every opportunity available.

           Background of the sponsor and their ability to complete the project

  Each prospective Project Partner is required to provide a resume, financial statement, a list of current and past
  projects as well as attend a face-to-face meeting. Through this process the Fund is able to measure the character of
  each Project Partner and his, her or its ability to execute a project.

           Cash invested by sponsor

  Aligning the interests of the Project Partner with those of the Fund is an important goal of the Company. The Fund
  will require each Project Partner to make a cash contribution into the project. This investment of capital by a Project
  Partner is returned only after the Fund receives its return of principal investment and a predetermined preferred
  return. The amount required to be contributed by a Project Partner will be determined on a case-by-case basis,
  including conditions of the project and the capability of the Project Sponsor.

           Signed Letter of Intent (“LOI”)

  Prior to investing in a project, the Fund will issue an LOI, outlining the investment terms and anticipated returns.
  Before proceeding with the due diligence, the Fund will require a signed LOI from the Project Partner, which will
  usually be accompanied by a nonrefundable due diligence deposit of no more than $5,000.

  Assuming that the maximum amount of this Offering is raised, the Fund expects to have between 75 – 100
  Investments over the life of the Fund, none of which will, individually, be in an amount greater than 10% of the gross
  Offering proceeds received by the Fund as of the closing date of such Investment. In addition, no more than 15% of
  the gross Offering proceeds will be invested in projects in which there is no Project Partner (i.e. projects in which the
  Fund will effectively act as developer). The Fund expects to have 40 to 60 Investments under management at any
  given time. Additionally, prior to making an Investment, the Fund identifies multiple exit strategies, thus identifying
  multiple avenues for providing returns to the Fund. The Fund expects most Investments to range in size between
  $250,000 and $1,500,000.

  Once an Investment is made, the Manager will hold monthly meetings with the respective Project Partner to update
  all documentation, gather information, offer advice, and maintain familiarity with the Investment. The Fund believes
  this steady supervision will help Fund management track each project’s progress and allows for a more seamless
  transition if the Project Partner fails to meet the Fund’s requirements. In the event the Fund needs to step in to protect
  the Investment, the Project Entity may engage the Manager’s Affiliates to perform the work at the predetermined
  rates. See “COMPENSATION AND FEES TO THE MANAGER AND AFFILIATES: Compensation Rates of
  Affiliates.”




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                                      U.S. FEDERAL INCOME TAX MATTERS

  TO ENSURE COMPLIANCE WITH TREASURY DEPARTMENT CIRCULAR 230, HOLDERS ARE HEREBY
  NOTIFIED THAT: (I) ANY DISCUSSION OF FEDERAL TAX CONSEQUENCES CONTAINED OR
  REFERRED TO IN THIS MEMORANDUM WAS NOT INTENDED OR WRITTEN TO BE USED, AND
  CANNOT BE USED, BY DEBENTURE HOLDERS FOR THE PURPOSE OF AVOIDING PENALTIES THAT
  MAY BE IMPOSED ON THEM UNDER THE CODE; (II) SUCH DISCUSSION WAS WRITTEN IN
  CONNECTION WITH THE PROMOTION OR MARKETING OF THE TRANSACTIONS OR MATTERS
  ADDRESSED HEREIN; AND (III) HOLDERS SHOULD SEEK ADVICE BASED ON THEIR PARTICULAR
  CIRCUMSTANCES FROM AN INDEPENDENT TAX ADVISOR.
  Introduction

  The following is a general discussion of the material U.S. federal income tax considerations relating to the purchase,
  ownership and disposition of the Debentures.

  This discussion is based on currently existing provisions of the Code, existing, temporary and proposed Treasury
  regulations promulgated thereunder, and administrative and judicial interpretations thereof, all as in effect or
  proposed on the date hereof and all of which are subject to change, possibly with retroactive effect, or different
  interpretations. No assurance can be given that changes in existing laws or regulations or their interpretation will not
  occur after the date of this Memorandum. We have not sought and will not seek any rulings from the Internal
  Revenue Service with respect to the statements made and the conclusions reached in the following summary, and
  accordingly, there can be no assurance that the Internal Revenue Service will not successfully challenge the tax
  consequences described below.

  This discussion only applies to U.S. Holders (as defined below) and is limited to the tax consequences to U.S.
  Holders that are original beneficial owners of the Debentures, that purchased Debentures at their original issue price
  for cash, and that hold such Debentures as capital assets within the meaning of Section 1221 of the Code.

  This discussion is for general information only and does not address all of the tax consequences that may be relevant
  to you in light of your personal circumstances. Furthermore, this summary does not discuss the tax consequences of
  an investment in Debentures by certain investors that are subject to special tax rules, such as U.S. Holders having a
  functional currency other than the U.S. dollar, persons subject to special rules applicable to former citizens and
  residents of the U.S., certain financial institutions, persons subject to the alternative minimum tax, grantor trusts, real
  estate investment trusts, insurance companies, tax-exempt entities, dealers in securities or currencies, persons holding
  the Debentures in connection with a hedging transaction, straddle, conversion transaction or other integrated
  transaction, pension funds, partners in partnerships or owners of interests in entities treated as partnerships under
  U.S. federal income tax laws, corporations treated as personal holding companies, or non-U.S. Holders (which
  include any holders of the Debentures, other than a partnership or an entity or arrangement treated as a partnership
  for U.S. federal income tax purposes, that is not a U.S. Holders). This discussion also does not discuss the effect of
  any state, local, foreign or other tax laws or any U.S. federal estate, gift or alternative minimum tax considerations.

  This summary is of a general nature and is not intended as legal or tax advice to prospective investors. Accordingly,
  you are urged to consult your own tax advisors as to the particular tax consequences to you of your participation in
  the offering and your ownership and disposition of the Debentures, including the applicability of any U.S. federal tax
  laws or any state, local or foreign tax laws or any treaty, and any changes (or proposed changes) in applicable tax
  laws or interpretations thereof.

  Considerations Relating to U.S. Holders of the Debentures

  As used herein, the term “U.S. Holder” means a beneficial owner of a Debenture that is, for U.S. federal income tax
  purposes:
      •   an individual citizen or resident of the U.S.;
      •   a corporation (or any other entity treated as a corporation for U.S. federal income tax purposes) created or
          organized in or under the laws of the U.S., any state thereof or the District of Columbia;



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      •   an estate whose income is includible in gross income for U.S. federal income tax purposes, regardless of its
          source; or
      •   a trust that either is subject to the supervision of a court within the United States and has one or more U.S.
          persons with authority to control all of its substantial decisions, or has a valid election in effect under
          applicable Treasury regulations to be treated as a U.S. person.
  If a partnership holds Debentures, the tax treatment of a partner will generally depend upon the status of the partner
  and upon the activities of the partnership. A holder of Debentures that is a partnership and the partners in such a
  partnership should consult their tax advisors.
           Classification of the Debentures

  Pursuant to the terms of the Debenture Agreement, the Fund and each holder of Debentures will agree to treat the
  Debentures, for U.S. federal income tax purposes, as debt instruments. Holders should be aware, however, that the
  IRS is not bound by the Fund’s determination that the Debentures constitute debt for U.S. federal income tax
  purposes. The IRS could take the position, for example, that the Payoff Premium should be treated as a separate
  instrument and classified as equity. If any portion of the Debentures is not treated as indebtedness, the timing and
  character of income, gain, or loss recognized in respect of a Debenture could differ from the timing and character of
  income, gain or loss recognized in respect of the Debentures described below. The remainder of this discussion
  assumes that the Debentures will be treated as indebtedness in accordance with that agreement and our determination.

           Interest Income

  Holders of the Debentures will be required to report original issue discount (“OID”) over the term of the Debentures
  under Treasury Regulations that govern “contingent payment debt instruments” (the “CPDI Regulations”). The
  Debentures will be subject to the CPDI Regulations because they provide for the payment of the Payoff Premium,
  which is contingent on the net profits of the Fund. The reporting of OID under the CPDI Regulations will be the
  exclusive method of reporting interest income under the Debentures, including the interest payments required by the
  Debentures.

  Under the CPDI Regulations, each Investor generally will be required to report interest income on the Debentures
  each year in an amount equal to the OID that accrues each year, regardless of whether such Investor uses the cash or
  accrual method of tax accounting. The amount of each year’s accrual will be calculated under a method that takes
  into account (in the manner specified below) a portion of our projection of the Payoff Premium. Consequently, an
  Investor will be required to include interest in taxable income in each year in excess of the amount of interest
  payments actually received by such Investor in that year.

  Under the CPDI Regulations, the amount of OID on a Debenture that is allocable to each annual accrual period will
  be the product of the “adjusted issue price” of the Debenture as of the beginning of each such annual period and the
  “comparable yield” for the Debentures. The “adjusted issue price” of a Debenture on any particular date is its “issue
  price” (i.e., the first price at which a substantial amount of the Debentures is sold to investors), increased by any
  interest income previously accrued (determined without regard to any adjustments to interest accruals described in
  “Adjustments to Interest Accruals on the Debentures” below), and decreased by the amount of any non-contingent
  payments previously made and the projected amount of any contingent payments scheduled to be made on the
  Debenture through the date on which the adjusted issue price is being calculated (i.e., without regard to the actual
  amount of the contingent payments made).

  Under the CPDI Regulations, the Fund is required to establish the “comparable yield” for the Debentures. The
  comparable yield for the Debentures is the annual yield we would incur, as of the initial issue date, on a fixed rate
  nonconvertible debt instrument with no contingent payments, but with terms and conditions otherwise comparable to
  those of the Debentures. Accordingly, the Fund has determined the comparable yield to be 12% compounded
  annually.




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  The Fund is required to provide to Investor, solely for U.S. federal income tax purposes, a schedule of the projected
  amounts of all payments required to be made on the Debentures (including the Payoff Premium). This schedule must
  include a projected amount of Payoff Premium sufficient to cause the yield on the Debentures to equal the
  comparable yield. The Fund’s determination of the projected payment schedule for the Debentures, including the
  monthly interest payments and an estimate of the timing of payment and amount of the Payoff Premium, is below.


                              Projected Payment Schedule Per $100,000 of Debentures

                                      2014                2015               2016                2017

                 January             $1,000              $1,000              $1,000               $0

                February             $1,000              $1,000              $1,000               $0

                  March              $1,000              $1,000              $1,000               $0

                  April              $1,000              $1,000              $1,000               $0

                   May               $1,000              $1,000              $1,000               $0

                   June              $1,000              $1,000              $1,000               $0

                   July              $1,000              $1,000              $1,000               $0

                 August              $1,000              $1,000              $1,000               $0

                September            $1,000              $1,000              $1,000               $0

                 October             $1,000              $1,000              $1,000               $0

                November             $1,000              $1,000              $1,000               $0

                December             $1,000              $1,000              $1,000               $0

  Pursuant to the terms of the Debenture Agreement, the Fund and each holder of Debentures will agree to be bound by
  the Fund’s application of the CPDI Regulations to the Debentures, including our determination of comparable yield
  and the related “projected payment schedule” set forth above). The comparable yield and the projected payment
  schedule are solely for purposes of determining your (and the Fund’s) interest accruals and adjustments thereof in
  respect of the Debentures for U.S. federal income tax purposes and do not constitute a projection or representation
  regarding the actual amounts payable to you with respect to the Debentures.

           Adjustments to Interest Accruals on the Debentures

  If Investor receives actual payments of Payoff Premium with respect to the Debentures in a tax year in excess of the
  total amount of projected payments of Payoff Premium for that tax year, Investor will have a “net positive
  adjustment” equal to the amount of such excess. Investor will be required to treat the “net positive adjustment” as
  additional interest income for the tax year.

  If you receive actual payments of Payoff Premium with respect to the Debentures in a tax year that in the aggregate
  are less than the amount of the projected payments of Payoff Premium for that tax year, Investor will have a “net
  negative adjustment” equal to the amount of such deficit. This adjustment will be applied to reduce Investor’s interest
  income on the Debentures for that tax year, and any remainder will give rise to an ordinary loss to the extent of
  Investor’s interest income on the Debentures during prior tax years, reduced to the extent such interest income was
  offset by prior net negative adjustments, if any. Any negative adjustment in excess of the amounts described in the


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  preceding sentence will be carried forward to offset future interest income in respect of the Debentures or to reduce
  the amount realized upon a sale, exchange, repurchase or redemption of the Debentures.

  Sale, retirement or disposition of Debentures

  Upon the sale, retirement or other disposition of a Debenture, Investor generally will recognize taxable gain or loss
  equal to the difference between the amount realized on the disposition and Investor’s adjusted tax basis in the
  Debenture. A U.S. Holder’s adjusted tax basis in a Debenture generally will be equal to its adjusted issue price (as
  described above) in the Debenture. Gain recognized on the disposition of a Debenture generally will be treated as
  additional ordinary interest income. Any loss recognized on the disposition of a Debenture generally will be treated
  as an ordinary loss to the extent of the excess of previous interest inclusions over the total net negative adjustments
  previously taken into account as ordinary loss, and thereafter, as capital loss (which will be long-term if, at the time
  of such disposition, your holding period for the Debenture is more than one year). The deductibility of capital losses
  is subject to limitations.

  Backup withholding and information reporting

  Information reporting requirements generally will apply to payments of interest (including any amounts treated as
  interest pursuant to the CPDI Regulations) made by the Fund on, or the proceeds of the sale or other disposition prior
  to maturity of, the Debentures. Backup withholding tax, currently at a rate of 28%, may apply to such payments if
  Investor fails to:

      •   furnish his, her or its taxpayer identification number (social security or employer identification number);
      •   certify that such number is correct;
      •   certify that he, she or it is not subject to backup withholding; or
      •   otherwise comply with the applicable requirements of the backup withholding rules.
  Certain U.S. Holders are not subject to backup withholding and information reporting requirements. Backup
  withholding is not an additional tax. Any amounts withheld under the backup withholding rules from a payment to
  Investor generally will be allowed as a credit against Investor’s U.S. federal income tax liability and may entitle
  Investor to a refund, provided that the required information is furnished timely to the Internal Revenue Service (the
  “IRS”).

                                                    ERISA MATTERS

  Benefit Plan Investor Considerations

  The Debentures offered in the Offering may be purchased and held by an employee benefit plan subject to Title 1 of
  the Employee Retirement Income Security Act of 1974, as amended (“ERISA”), or an individual retirement account
  (“IRA”) or other plan subject to Section 4975 of the Code or by a plan or other arrangement subject to provisions of
  federal, state, local, or non-U.S. law substantially similar to such provisions of ERISA and the Code “Similar Law”).
  A fiduciary of an employee benefit plan must determine that the purchase and holding of a Debenture is consistent
  with its fiduciary duties under ERISA or other applicable law. The fiduciary of an ERISA plan, as well as any other
  prospective Investor subject to Section 4975 of the Code (including, without limitation, IRAs) or any Similar Law,
  must also determine that its purchase and holding of Debentures offered hereby does not result in a non-exempt
  prohibited transaction under Section 406 of ERISA or Section 4975 of the Code (including, without limitation, the
  prohibition against the lending of money or other extension of credit between a plan or IRA that is subject to either
  such section and a “party in interest” as defined in Section 3(14) of ERISA, or “disqualified person,” as defined in
  Section 4975(e)(7) of the Code) or violate any Similar Law. Each purchaser and transferee of a Debenture offered
  hereby who is subject to ERISA or Section 4975 of the Code or any Similar Law will be deemed to have represented
  by its acquisition and holding of such Debenture that its acquisition and holding of the Debenture does not constitute
  or give rise to a non-exempt prohibited transaction under Section 406 of ERISA or Section 4975 of the Code or
  violate any Similar Law.




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                                                      GLOSSARY

  To understand the rights associated with the Debentures, Investor must review carefully the defined terms used in this
  Memorandum. Some of these definitions are set forth in this “GLOSSARY” and others in the body of this
  Memorandum. These definitions (some of which have been slightly modified) have been taken from the Debenture
  Agreement, which defines the preferences, privileges, rights, interests and obligations of the Debentures. Many of
  these definitions are technical in nature, involve complicated relationships, and can only be understood by reference
  to other defined terms and, in some cases, to other provisions of the Debenture Agreement. Section references in the
  definitions refer to sections in the Debenture Agreement. Prospective investors should understand that the definitions
  in the Debenture Agreement will, for all purposes, be controlling, notwithstanding any simplification of such
  definitions in this Memorandum. Moreover, you should bear in mind that this GLOSSARY does not include many of
  the definitions included in the Debenture Agreement.

  “Act” means the Securities Act of 1933, 15 U.S.C. § 15b et seq., as amended.

  “Affiliate” of any specified Person means any Person directly or indirectly controlling or controlled by, or under
  direct or indirect common control with such specified Person. For purposes of this definition, “control” when used
  with respect to any specified Person means the power to direct the management and policies of such Person, directly
  or indirectly, whether through the ownership of voting securities, by contract or otherwise; and the terms
  “controlling” and “controlled” have meanings correlative to the foregoing.

  “Code” means the Internal Revenue Code of 1986, as amended from time to time, or the corresponding provisions of
  any succeeding law.

  “CLTV” means the combined loan to value. It is calculated by taking the sum of the Fund’s investment and the first
  mortgage loan and dividing it by the anticipated value of the applicable property upon completion of the project.

  “Collateral Agent” means Kevin A. Carreno, P.A., a Florida professional association.

  “Debenture” means the secured payment obligation, to be issued by the Fund in favor of the Holder, pursuant to the
  terms of the Debenture Agreement, with an original principal amount equal to the loan made by the Holder to the
  Fund at Closing (i.e. the Loan Amount). The Debenture shall be in the form attached hereto as Exhibit A.

  “Debenture Agreement” means the Senior Secured Debenture Purchase Agreement, as originally executed or as
  amended by the Parties, and shall include the forms and exhibits attached thereto.

  “Fund” means iCap Pacific Northwest Opportunity and Income Fund, LLC, a Delaware limited liability company,
  which is the obligor under the Debenture.

  “Holder” means any Person who has purchased a Debenture pursuant to this Agreement, together with any transferee
  thereof permitted under Section 9 of the Debenture Agreement.

  “Manager” means iCap Pacific NW Management, LLC, a Washington limited liability company, which was formed
  for the sole purpose of being the Manager.

  “Person” means any individual, corporation, partnership, joint venture, association, joint-stock company, trust,
  unincorporated organization or government or any agency or political subdivision thereof.

  “Placement Agent” means Skyway Advisors, LLC, a FINRA licensed broker-dealer.

  “SEC” means the Securities and Exchange Commission.




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              SUMMARY OF THE SENIOR SECURED DEBENTURE PURCHASE AGREEMENT

  The following summarizes certain provisions of the Debenture Agreement, and the Debenture document contained
  therein, not described elsewhere in this Memorandum. All statements made below and elsewhere in this
  Memorandum relating to the Debenture Agreement are hereby qualified in their entirety by the actual language of the
  Debenture Agreement. Such statements do not purport to be complete and in no way modify or amend the Debenture
  Agreement. The parenthetical references included in this section refer to the referenced sections of the Debenture
  Agreement. Prospective investors should read the entire Debenture Agreement, attached as Exhibit A, before
  deciding to purchase Debentures.

  The Debentures will be issued without coupons, in denominations of at least $100,000 with additional integral
  multiples of $10,000. The Fund reserves the right, in its sole discretion, to accept subscriptions for amounts less than
  the minimum.

  Economic Terms

           Interest

  The outstanding Loan Amount shall bear simple interest at 12% per annum. Interest computation shall be based upon
  12, 30-day months. Interest will accrue on the loan made to the Holder under the Debenture from the date that such
  monies are paid to and are available for use by the Fund. In the event of an Event of Default, the outstanding Loan
  Amount shall accrue interest at a default interest rate of 18% per annum, simple interest, until all amounts due
  thereunder have been paid in full. Prior to the Maturity Date, or extension thereof, the Fund will be required to make
  only monthly interest payments to the Holder. Such monthly payments shall include all interest accrued under the
  Debenture through the end of the prior calendar month, and shall be due and payable to the Holder on the 15th
  calendar day of the following month or, if such date is not a Business Day, on the first Business Day thereafter. The
  Fund may deposit into an interest reserve account proceeds from the issuance of Debentures to cover up to nine (9)
  months of interest expense on the Debentures.

           Repayment; Fund's Extension Right

  The full Loan Amount will be due and payable, together with all accrued but unpaid interest, on or before
  December 31, 2016 (the “Maturity Date”). The Fund has the option to extend the Maturity Date for an additional
  three (3) months, provided an Event of Default has not occurred. This option may be exercised by the Fund at any
  time prior to the Maturity Date as long as a written notice of such election is provided to the Holder no later than 30
  days prior to the expiration of the Maturity Date. If the Fund fails to give such notice, the Debentures will mature
  upon the expiration of the Maturity Date. The Fund may choose to prepay part or all of the Debenture without
  penalty at any time prior to the Maturity Date, or extension thereof. The date the Fund prepays in full the Debentures
  is hereafter referred to as the “Prepayment Date”. During any time in which the Debentures and Payoff Premium are
  outstanding, the Fund may not make any distributions to its Members, other than tax distributions.

           Payoff Premium

  Within 12 months after the earlier of (i) the Prepayment Date or (ii) the Maturity Date, including any extension
  thereof (such earlier date being the “Measurement Date”), the Fund will be required to pay to the Holder a “Payoff
  Premium.” The Payoff Premium is an amount equal to Holder’s pro rata share of an amount equal to 25% of the
  cumulative net profit generated by the Fund through the date on which the Debentures (including all accrued interest
  thereon) are paid in full (the “Aggregate Premium Amount”). The Payoff Premium amount is not intended to
  constitute an equity interest in the Fund, but rather is intended to constitute additional interest on the Loan Amount,
  and shall be paid in addition to all principal, penalties and other interest otherwise due to Holder.

           Secured Obligation

  The Debenture represents a secured obligation of the Fund. The Debentures are secured by all of the assets of the
  Fund and by a pledge of the Manager’s membership interest in the Fund. The Fund’s assets are comprised principally
  of the Fund’s cash and bank accounts, the Fund’s equity interest in each Project Entity, and the rights and collateral
  interests granted to the Fund in connection with each individual Investment, which will include the following:


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     x    a first or second position deed of trust (i.e., mortgage) in the real estate owned by or hereafter owned by the
          Project Entities; and
     x    a secured interest in the Membership Interest held by the Project Partner; and
     x     the Fund’s right to assume control of the Project Entity and the project owned by it in the event of a default
          by the Project Entity or a failure to meet applicable project milestones or requirements.

          Events of Default

  The following is a summary of events constituting an “Event of Default” under the Debenture and triggering the
  rights of the Holder to accelerate amounts due thereunder as set forth in the Debenture Agreement:

          (a)       The Fund defaults in the payment of any Loan Amount or interest on any of the outstanding
          Debentures, when the same becomes due and payable and such default continues for a period of 10 Business
          Days (such period, a “Grace Period”), provided, however, that no such Grace Period will be available
          should the Fund default twice in the payment of interest on any of the outstanding Debentures when such
          interest is due and payable (even if such payments were subsequently made during the Grace Period), such
          that should the Fund default in the payment of interest on any of the outstanding Debentures when such
          interest is due and payable after the 2 prior defaults, then an Event of Default shall occur on the date such
          payment was due and payable;

          (c)      The Fund fails to observe or perform any covenant or agreement of the Fund in the Debenture
          Agreement (other than a covenant or agreement a default in whose performance or whose breach is
          specifically dealt with elsewhere in this “Events of Default” provision), and such failure continues for a
          period of 30 calendar days after there has been given, by registered or certified mail, to the Fund by the
          Holder, a written notice specifying such default or breach and requiring it to be remedied and stating that
          such notice is a “Notice of Default” thereunder;

          (e)      A final judgment or judgments for the payment of money aggregating in excess of $500,000 is
          rendered against the Fund and which judgments are not, within 90 calendar days after the entry thereof,
          bonded, discharged or stayed pending appeal, or are not discharged within 90 calendar days after the
          expiration of such stay; provided, however, that any judgment which is covered by insurance or an
          indemnity from a creditworthy party shall not be included in calculating the $500,000 amount set forth
          above;

          (f)       The Fund violates or otherwise defaults on any material contractual obligation that would, as a
          result of such violation or default, cause the acceleration of the Fund’s obligations thereunder and result in
          the incurrence of a liability, damages or loss to the Fund in excess of $500,000;

          (g)       The Fund, pursuant to or within the meaning of any Bankruptcy Law (a) commences a voluntary
          case; (ii) consents to the entry of an order for relief against it in an involuntary case; (iii) consents to the
          appointment of a custodian of it for all or substantially all of its property, or (iv) makes a general assignment
          for the benefit of its creditors; or

          (h)       A court of competent jurisdiction enters an order or decree under any Bankruptcy Law that (i) is for
          relief against the Fund in an involuntary case; (ii) appoints a custodian of the Fund for all or substantially all
          of its property, or (iii) orders the liquidation of the Fund; and the order or decree remains unstayed and in
          effect for 90 consecutive calendar days.

  The term “Bankruptcy Law” means Title 11, U.S. Code, or any similar federal or state law for the relief of debtors.
  The term “Custodian” means any receiver, trustee, assignee, liquidator or similar official under any Bankruptcy Law.

          Acceleration, Rescission and Annulment

  Upon the occurrence of an Event of Default, with the consent of the Holder of more than 10% in aggregate loan
  amount of the outstanding Debentures, the Collateral Agent may declare the loan amount of and accrued but unpaid
  interest, if any, on all the Debentures (including the Loan Amount or interest on the Holder’s Debenture) to be


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  immediately due and payable. If an Event of Default pursuant to paragraphs (g) and (h) under “Events of Default”
  above occurs, the loan amount and interest on all Debentures will ipso facto become and be immediately due and
  payable without any declaration or other act on the part of the Collateral Agent or any Holders of the Debentures.

  The Holders of more than 50% in aggregate loan amount of the outstanding Debentures by notice to the Collateral
  Agent may rescind an acceleration and its consequences if the rescission would not conflict with any judgment or
  decree and if all existing Events of Default have been cured or waived except nonpayment of principal or interest that
  has become due solely because of acceleration. No such rescission shall affect any subsequent default or impair any
  right consequent thereon.

  Fund's Rights Regarding Other Indebtedness

  For so long as any Debentures remain outstanding, neither the Fund nor any subsidiary of the Fund (other than a
  special purpose entity organized for the purpose of an investment to be made by the Fund in a real property project)
  shall, without the prior written consent of the Holders holding a majority of the aggregate outstanding principal
  amount of the Debentures, incur or otherwise become liable with respect any indebtedness other than (a) Permitted
  Indebtedness (as defined below) or (b) indebtedness to trade creditors in the ordinary course of business.

  Registered Debentures; Notices; Changes of Address

  Each Debenture will be registered in the name of the Investor who subscribed for such Debenture or any transferee of
  a Debenture (See “TRANSFERABILITY OF THE DEBENTURES”). Unless otherwise provided by the Fund, all
  payments will be made by the Fund by electronic transfer or check to the registered holder of each Debenture at the
  registered address of such Holder. In the event that a Holder changes his, her or its address, the Holder is required to
  notify the Fund under the terms of the Debenture.

  Governing Law

  The Debentures will be governed by Washington law.

  Covenants of the Fund

  The Debentures provide that the Fund will be prohibited from making any distributions until the Debentures and all
  other obligations under the Debenture have been repaid in full (including payment of the Payoff Premium). In
  addition, neither the Fund nor any of its subsidiaries shall: (a) directly or indirectly, declare, order, make or set apart
  any sum for or pay any Distribution (other than tax distributions as set forth in the LLC Agreement); (b) establish any
  deposit account other than the account identified in that certain Deposit Account Control Agreement, to be entered
  into by and among the Company, the Collateral Agent and Sterling Savings Bank (the “Account Control
  Agreement”), or otherwise deposit or fund any cash or cash equivalents of the Fund in any deposit account other than
  the account identified in the Account Control Agreement; or (c) contract, create, incur, assume or permit to exist any
  indebtedness, except for (i) indebtedness arising or existing under the Debenture; (ii) indebtedness arising from the
  issuance of the Debentures in the Offering; (iii) indebtedness arising from trade payables incurred by the Fund in the
  ordinary course of business; (iv) indebtedness junior to the Holder’s interest; or (iv) with respect to a wholly-owned
  subsidiary of the Fund organized for the purpose of an Investment, indebtedness that results from a commercial loan
  from a third party commercial lender made in such lender’s ordinary course of business (“Permitted Indebtedness”).

  Neither the Manager nor any of its Affiliates may make any investment on behalf of a new pooled investment fund
  with investment objectives that are identical to those of the Fund until the earlier of: (a) the date on which at least
  75% of the aggregate net Offering proceeds, after payment of commissions and fees and the setting aside of reserves,
  have been committed to or invested in Investments or (b) November 1, 2015.




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                                          REPORTS TO THE INVESTORS

  The Fund has adopted a calendar fiscal year ending December 31. For so long as the Holder continues to hold the
  Debenture, the Fund will provide to the Holder:

                    (a)      as soon as practicable after the end of each fiscal year and in any event within one hundred
  twenty (120) days after each fiscal year, consolidated balance sheets of the Fund as of the end of such fiscal year and
  consolidated statements of income of the Fund for such fiscal year, prepared in accordance with U.S. generally
  accepted accounting principles, all in reasonable detail, certified by an officer of the Fund. The Fund’s financial
  statements will be audited by an independent certified public accountant; and

                  (b)     quarterly newsletter reports on the Fund's investments, which may be accessed by the
  Holder at www.iCap.com.




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                                                     THE OFFERING

  The following description of certain matters relating to the Debentures does not purport to be complete and is subject
  in all respects to applicable Delaware Law and to the provisions of the Debenture Agreement.

  General

  The Offering has not been registered under the Securities Act and is intended by the Fund not to involve a public
  offering within the meaning of the Securities Act and Regulation D promulgated thereunder and, therefore, to be
  exempt from the registration provisions of the Securities Act. Accordingly, the Offering is being made pursuant to
  certain conditions which, if satisfied, will qualify the Offering for exemption from registration as provided by the
  Securities Act and Regulation D. These conditions relate to limitations on the manner of Offering, the nature of the
  Investors, access to or furnishing information about the issuer, and restrictions on transferability. This Offering is not
  being offered pursuant to Rule 506(c) of Regulation D.

  Subject to the terms of the Debenture Agreement, the Fund is authorized to raise up to $30,000,000, through the
  Offering at a purchase price of $100,000 per Debenture, with additional incremental increases available in segments
  of $10,000. Investors must make a minimum investment of $100,000, representing the purchase of one Debenture,
  unless a smaller purchase is permitted by the Manager.

  The minimum amount that the Fund must sell in order to break escrow is $2,000,000. The Manager will have an
  initial closing for the Fund as soon as practicable after obtaining subscriptions of at least Two Million Dollars
  ($2,000,000 USD) (the “Initial Closing Date”). All cash payments for subscriptions paid by potential Investors prior
  to the Initial Closing Date will be held in a non-interest bearing escrow account at GulfShore Bank. The Fund will be
  responsible for all compensation, fees and other expenses relating to maintaining such escrow account. To
  accommodate the admission of additional Investors and permit existing Investors to increase their subscriptions
  (each, an “Additional Investor”), the Manager may, in its discretion, hold one or more additional closings on or
  before April 30, 2014, unless extended for three (3) months by the Manager, (each such closing to take place on an
  “Additional Closing Date”). If the Fund does not obtain subscriptions of at least $2,000,000 on or before
  April 30, 2014, or within the three (3) month extension thereof, the Offering will terminate and all subscription
  payments that have been deposited in the escrow account will be returned to the potential investors who paid such
  amounts as promptly as practicable.

  Following the initial closing of the Offering, additional investments in Debentures under the Offering will be
  accepted from time to time by the Manager. The Fund will not offer any of the Debentures pursuant to the Offering
  after April 30, 2014, but such date may be extended up to 3 months by the Manager in its discretion. Any payments
  received from prospective investors prior to the applicable closing date will be held in a non-interest bearing escrow
  account.

  Payment of Investments

  Each payment to the Fund will be made in United States dollars by means of a personal check or a certified or
  cashier's check or by wire transfer of immediately available funds to GulfShore Bank, as escrow agent for iCap
  Pacific Northwest Opportunity and Income Fund, LLC.

  Acceptance of Subscriptions; Eligibility Requirements

  Purchases for the Debentures will be accepted on a “first come, first-served” basis. The Manager reserves the right to
  reject any tendered investment for whatever reason the Manager deems appropriate. If the Manager rejects an
  investment, the Manager will give notice of such rejection, and return the tendered initial investment payment, no
  later than 10 business days after the Debenture Purchase Agreement and the accompanying funds have been received
  by the Manager. As to the eligibility requirements of prospective investors, See “WHO MAY INVEST.”




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                                   TRANSFERABILITY OF THE DEBENTURES

  Subject to compliance with the requirements of the Debenture Agreement, Investors shall have the right to transfer
  the Debenture to any qualifying third party of its choice contingent upon securing the Fund’s written consent in
  advance of the proposed transfer. The Fund is under no obligation to recognize such Person as a successor Holder,
  nor shall such Person have any of the rights of a Holder under the Debenture Agreement, until the Holder has
  surrendered the original Debenture for registration of transfer, duly endorsed, or accompanied by a duly executed
  written assignment of transfer in a form reasonably satisfactory to the Fund. A new Debenture for a like principal
  amount and interest will be issued to, and registered in the name of, the transferee, contingent upon the Transferee
  executing a Debenture Agreement, and executing a Certificate of Accredited Investor. Interest and principal are
  payable only to the registered holder of the Debenture.

  The Holder and any successor Holder agree(s) to provide to the Fund a Form W-9 upon request. Until registration of
  a transfer occurs, the Fund shall be entitled to treat the transferring Holder in all respects as the Holder of record,
  fully entitled to exercise all of the rights, privileges and interest bestowed by the Debenture Agreement and the
  applicable Debenture.

  State Securities: Blue Sky Laws

  Transfer of the Debentures may also be restricted under the securities laws or securities regulations promulgated by
  various states and foreign jurisdictions, commonly referred to as “Blue Sky” laws. Absent compliance with such
  individual state laws, the Debentures may not be traded in such jurisdictions. Because the securities sold under this
  Offering have not and will not be registered for resale under the Blue Sky laws of any state, the Holders and any
  Persons who desire to purchase them in any trading market that might develop in the future, should be aware that
  there may be significant state Blue Sky law restrictions upon the ability of Investors to resell the Debentures and of
  purchasers to purchase the Debentures. Accordingly, Investors should be prepared to hold the Debentures until their
  maturity date as may be extended.



                                            FINANCIAL INFORMATION

  This Memorandum does not include current balance sheets for either the Fund or the Manager. The Manager has
  limited capitalization. As of the date hereof, the Fund has incurred certain liabilities in connection with the offering
  of the Debentures, but has no significant assets. The Fund is a newly-organized entity, has no capital (other than the
  capital to be raised through the sale of the Debentures), and has and will incur substantial expenses in connection
  with the offering and sale of the Debentures.




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                                              PLAN OF DISTRIBUTION

  Placement Agent Compensation

  The Fund has entered into an exclusive engagement agreement (the “Engagement Agreement”) with the Placement
  Agent to assist in privately placing the Debentures. The exclusivity period continues until the Offering has been
  closed. Subsequent to the Engagement Agreement, the Fund and Placement Agent entered into a Placement Agent
  Agreement (the “Placement Agent Agreement”) setting forth more specifically the terms of the relationship between
  the Fund and the Placement Agreement with respect to this Offering.

  The Debentures will be offered by the Placement Agent on a “best efforts” basis (which means that there is no
  guarantee that any minimum amount will be sold). The Placement Agent will engage sub-placement agents for this
  Offering. The Placement Agent and the Selling Group will collectively receive a selling commission of 7% of the
  Gross Proceeds of this Offering. The Placement Agent and the Selling Group will also receive a due diligence
  allowance of 1% of the Gross Proceeds of this Offering. The Placement Agent will also receive a fee for serving as
  managing broker-dealer in the amount of 2% of the Gross Proceeds of this Offering and a marketing and
  underwriting fee of 3% of the Gross Proceeds of this Offering. The Placement Agent, as managing broker-dealer of
  the Offering, will be responsible for all “wholesaling fees” relating to the Selling Group, as well as paying its own
  expenses associated with the Offering up to $50,000.

  The Placement Agent and its officers, employees and affiliates may purchase Debentures in the Offering. Such
  Debentures will be counted toward the Maximum Offering Amount. The Placement Agent and the Fund may, in their
  sole discretion, accept offers to purchase Debentures net (or partially net) of the commissions and expense
  reimbursements described in this Memorandum in certain circumstances deemed appropriate by either of them,
  including by way of illustration, from Investors purchasing through a registered investment advisor, or from Investors
  who are affiliates of the Fund or any member of the Selling Group. The Fund may also make sales to registered
  representatives of the Selling Group or to their spouses and affiliates, in each case net of sales commissions.

  In addition to the commissions paid at the time of each closing, the Placement Agent will be issued a profits interest
  in the Fund, pursuant to which the Placement Agent and its Affiliates or assigns, as one class of members, will have a
  right to share in 33% of the cash or property distributions of the Fund as set forth in the LLC Agreement after the
  Debentures and Payoff Premium have been paid.

  We have agreed to indemnify the Placement Agent from and against losses, claims, damages or liabilities
  (collectively, the “Damages”) arising out of the Offering, except for Damages resulting from the Placement Agent’s
  breach of the Engagement Agreement or Placement Agent Agreement, gross negligence or willful misconduct.




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    CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED


                                    EXHIBIT A

                 SENIOR SECURED DEBENTURE PURCHASE AGREEMENT




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    CONFIDENTIAL OFFERING MEMORANDUM - NOT TO BE REPRODUCED OR REDISTRIBUTED


                                    EXHIBIT B

                     LIMITED LIABILITY COMPANY AGREEMENT

                                        OF

           ICAP PACIFIC NORTHWEST OPPORTUNITY AND INCOME FUND, LLC




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     S3146ÿC4129@Sÿ76AC@18167ÿ3A8ÿ34Hÿ3@6ÿ498ÿ@6U1786@6HÿI18Dÿ8D6ÿ76AC@18167ÿ
     3HS14178@389@ÿ92ÿ8D6ÿ78386ÿ92ÿS31469ÿ8D6ÿ76AC@18167ÿ9226@6Hÿ29@ÿ73P6ÿS3Eÿ
     G6ÿ@678@1A86Hÿ76AC@18167ÿ34Hÿ8D6ÿD9PH6@ÿS3Eÿ498ÿG6ÿ3GP6ÿ89ÿ@676PPÿ8D6ÿ
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     26H6@3Pÿ76AC@18167ÿP3I7Fÿ9@ÿh7iÿ34ÿ6T6SB8194ÿ17ÿ3531P3GP6ÿC4H6@ÿ8D976ÿ
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     C4H6@ÿ731Hÿ3A8ÿ14ÿ8D6ÿ78386ÿ92ÿS3@EP34H9ÿ3PPÿ1456789@7ÿ7D9CPHÿG6ÿ3I3@6ÿ
     8D38ÿ8D6@6ÿ3@6ÿA6@8314ÿ@678@1A81947ÿ37ÿ89ÿ8D6ÿ8@34726@3G1P18Eÿ92ÿ8D6ÿ
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     S3773ADC76887ÿC4129@Sÿ76AC@18167ÿ3A8FÿGEÿ@63794ÿ92ÿ7B6A121Aÿ6T6SB81947ÿ
     8D6@6C4H6@ÿ@6P3814Uÿ89ÿ8D6ÿP1S186Hÿ3531P3G1P18Eÿ92ÿ8D17ÿ9226@14U9ÿ8D676ÿ
     76AC@18167ÿA34498ÿG6ÿ79PHFÿ8@34726@@6HFÿ9@ÿ98D6@I176ÿH17B976Hÿ92ÿ89ÿ34Eÿ
     B6@794ÿ9@ÿ64818EÿC4P677ÿ8D6Eÿ3@6ÿ7CG76QC648PEÿ@6U1786@6Hÿ9@ÿ34ÿ
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     H9639C@Bÿ5467892945ÿ@628ÿ234ÿ5467892945ÿ6@BBD2ÿA4ÿ5DQFÿD8ÿ28@B5E4884Fÿ
     4G64I2ÿ9Bÿ@ÿ28@B5@629DBÿR3963ÿ95ÿ4G4HI2ÿ7BF48ÿ234ÿ@62ÿD8ÿI7857@B2ÿ2Dÿ@Bÿ
     4EE4629S4ÿ84C9528@29DBÿ52@24H4B2ÿ7BF48ÿ234ÿ@62ÿD8ÿ9Bÿ@ÿ28@B5@629DBÿ
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     5467892945ÿQ@R5ÿ@BFÿH@UÿBD2ÿA4ÿ5DQFVÿ28@B5E4884FVÿD8ÿD2348R954ÿF95ID54Fÿ
     DEÿ4G64I2ÿI7857@B2ÿ2Dÿ84C9528@29DBVÿD8ÿ@Bÿ4G4HI29DBÿ23484E8DH8ÿÿ
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     84C9528@29DBÿ52@24H4B2ÿ84Q@29BCÿ2Dÿ23454ÿ5467892945ÿ3@5ÿBD2ÿA44BÿE9Q4Fÿ
     R923ÿ234ÿH9559559II9ÿ546842@8UÿDEÿ52@24ÿD8ÿR923ÿ234ÿ5467892945ÿ@BFÿ
     4G63@BC4ÿ6DHH9559DB8ÿB492348ÿ234ÿ546842@8UÿDEÿ52@24ÿBD8ÿ234ÿ6DHH9559DBÿ
     3@5ÿI@554Fÿ7IDBÿ234ÿS@Q74ÿDEÿ23454ÿ5467892945VÿD8ÿ@II8DS4FÿD8ÿ
     F95@II8DS4Fÿ2395ÿDEE489BC8ÿ234ÿ546842@8UÿDEÿ52@24ÿFD45ÿBD2ÿ846DHH4BFÿ
     234ÿI7863@54ÿDEÿ23454ÿD8ÿ@BUÿD2348ÿ54678929458ÿÿ4@63ÿI7863@548ÿDEÿ234ÿ
     5467892945ÿH752ÿH442ÿ6482@9Bÿ5792@A9Q92Uÿ52@BF@8F5ÿ@BFÿH752ÿA4ÿ@AQ4ÿ2Dÿ
     A4@8ÿ@Bÿ4B2984ÿQD55ÿDEÿ2395ÿ9BS452H4B28ÿ234ÿ5467892945ÿH@UÿBD2ÿA4ÿ
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     54629DBÿ28CÿDEÿ234ÿH955D789ÿ5467892945ÿQ@RÿDEÿde7Vÿ@5ÿ@H4BF4F8ÿ23454ÿ
     5467892945ÿ3@S4ÿBD2ÿA44Bÿ84C952484Fÿ7BF48ÿ5@9Fÿ@62ÿ9Bÿ234ÿ52@24ÿDEÿ
     H955D7898ÿ7BQ455ÿ234ÿ5467892945ÿ@84ÿ5Dÿ84C952484FVÿ234UÿH@UÿBD2ÿA4ÿDEE484Fÿ
     ED8ÿ5@Q4ÿD8ÿ845DQFÿ9Bÿ234ÿ52@24ÿDEÿH955D789Vÿ4G64I2ÿ@5ÿ@ÿ5467892UVÿD8ÿ9Bÿ@ÿ
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     95ÿ@ÿHDB2@B@ÿ8459F4B2ÿH752ÿ3@S4ÿ@ÿB42ÿRD823ÿY4G6Q759S4ÿDEÿ3DH4Vÿ
     E78B9539BC5ÿ@BFÿ@72DHDA9Q45`ÿ9Bÿ4G6455ÿDEÿE9S4ÿYe`ÿ29H45ÿ234ÿ@CC84C@24ÿ
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     5467892945ÿR9QQÿA4ÿ5DQFÿ2Dÿ@BFÿ@6P7984FÿAUÿ92p39Hp348ÿ9Bÿ@ÿ28@B5@629DBÿ
     4G4HI2ÿE8DHÿ84C9528@29DBÿ7BF48ÿ63@I248ÿeÿDEÿ234ÿB4A8@5q@ÿ5467892945ÿ
     Q@Rÿ@BFÿH@UÿBD2ÿA4ÿ84rDEE484FÿED8ÿ5@Q4Vÿ28@B5E4884FVÿD8ÿ845DQFÿ4G64I2ÿ9Bÿ
     6DHIQ9@B64ÿR923ÿ5763ÿ@62ÿ@BFÿ@IIQ96@AQ4ÿ87Q45ÿI8DH7QC@24Fÿ
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     9CC27ÿB9ÿ6D745382ÿ824D7EBE28ÿ2F2G6B2HÿC79Gÿ72IE8B73BE9@ÿPQÿ824BE9@ÿ
     768RHSTÿHE724BUQÿC79GÿB52ÿE88D27ÿ97ÿ3CCEUE3B2ÿ9CÿB5E8ÿE88D27Tÿ853UUÿ53V2ÿB52ÿ
     7EI5BÿB9ÿAEB5H73Aÿ5E8ÿ34426B3@42ÿAEB59DBÿE@4D77E@Iÿ3@QÿUE3PEUEBQÿB9ÿB52ÿ
     82UU27TÿD@H27A7EB27ÿRECÿ3@QSÿ97ÿ3@Qÿ9B527ÿ62789@ÿAEB5E@ÿBA9ÿR7SÿPD8E@288ÿ
     H3Q8ÿC79GÿB52ÿH3B2ÿ9Cÿ7242E6BÿPQÿB52ÿE88D27ÿ9Cÿ5E8ÿA7EBB2@ÿPE@HE@Iÿ
     49@B734Bÿ9Cÿ6D745382ÿ97TÿE@ÿB52ÿ4382ÿ9Cÿ3ÿB73@834BE9@ÿE@ÿA5E45ÿB5272ÿE8ÿ
     @9ÿPE@HE@Iÿ49@B734Bÿ9Cÿ6D745382TÿAEB5E@ÿBA9ÿR7SÿPD8E@288ÿH3Q8ÿ3CB27ÿ52ÿ
     G3W28ÿB52ÿE@EBE3Uÿ63QG2@BÿC97ÿB52ÿ824D7EBE28ÿP2E@Iÿ9CC272H9ÿECÿQ9Dÿ53V2ÿ
     34426B2Hÿ3@ÿ9CC27ÿB9ÿ6D745382ÿB5282ÿ824D7EBE28ÿG3H2ÿ6D78D3@BÿB9ÿ3ÿ
     6798624BD8ÿA5E45ÿ49@B3E@8ÿ3ÿ@9BE42ÿ2F6U3E@E@IÿQ9D7ÿ7EI5BÿB9ÿAEB5H73Aÿ
     Q9D7ÿ34426B3@42ÿ6D78D3@BÿB9ÿ824BE9@ÿ764RGSÿ9CÿB52ÿ62@@8QUV3@E3ÿ
     824D7EBE28ÿ34Bÿ9CÿX47ÿR46ÿ68ÿYÿ`764RGSTÿQ9DÿG3Qÿ2U24BTÿAEB5E@ÿBA9ÿR7SÿPD8E@288ÿ
     H3Q8ÿ3CB27ÿB52ÿCE78BÿBEG2ÿQ9Dÿ53V2ÿ7242EV2HÿB5E8ÿ@9BE42ÿ3@Hÿ3ÿ6798624BD8ÿ
     B9ÿAEB5H73AÿC79GÿQ9D7ÿ6D745382ÿ3I722G2@Bÿ3@Hÿ7242EV2ÿ3ÿCDUUÿ72CD@Hÿ
     9Cÿ3UUÿG9@2Q8ÿ63EHÿPQÿQ9D9ÿQ9D7ÿAEB5H73A3UÿAEUUÿP2ÿAEB59DBÿ3@QÿCD7B527ÿ
     UE3PEUEBQÿB9ÿ3@Qÿ62789@9ÿB9ÿ3449G6UE85ÿB5E8ÿAEB5H73A3UTÿQ9Dÿ@22Hÿ9@UQÿ
     82@Hÿ3ÿU2BB27ÿ97ÿB2U2I73GÿB9ÿB52ÿE88D27ÿR97ÿD@H27A7EB27ÿECÿ9@2ÿE8ÿUE8B2Hÿ
     9@ÿB52ÿC79@Bÿ63I2ÿ9CÿB52ÿ49@CEH2@BE3Uÿ9CC27E@IÿH94DG2@B8SÿE@HE43BE@Iÿ
     Q9D7ÿE@B2@BE9@ÿB9ÿAEB5H73A9ÿ8D45ÿU2BB27ÿ97ÿB2U2I73Gÿ859DUHÿP2ÿ82@Bÿ3@Hÿ
     698BG37W2Hÿ67E97ÿB9ÿB52ÿ2@Hÿ9CÿB52ÿ3C972G2@BE9@2Hÿ8249@HÿPD8E@288ÿH3Q9ÿ
     ECÿQ9Dÿ372ÿ82@HE@Iÿ3ÿU2BB27TÿEBÿE8ÿ67DH2@BÿB9ÿ82@HÿEBÿPQÿ427BECE2HÿG3EUTÿ
     72BD7@ÿ7242E6Bÿ72aD28B2HTÿB9ÿ2@8D72ÿB53BÿEBÿE8ÿ7242EV2Hÿ3@Hÿ3U89ÿ2VEH2@42ÿ
     B52ÿBEG2ÿA52@ÿEBÿA38ÿG3EU2H9ÿ859DUHÿQ9DÿG3W2ÿB5E8ÿ72aD28Bÿ973UUQTÿQ9Dÿ
     859DUHÿ38WÿA7EBB2@ÿ49@CE7G3BE9@ÿB53BÿQ9D7ÿ72aD28Bÿ538ÿP22@ÿ7242EV2H9ÿ
     @9ÿ83U2ÿ9CÿB52ÿ824D7EBE28ÿAEUUÿP2ÿG3H2ÿB9ÿ728EH2@B8ÿ9CÿB52ÿ8B3B2ÿ9Cÿ
     62@@8QUV3@E3ÿA59ÿ372ÿ@9@`34472HEB2HÿE@V28B9789ÿ2345ÿ62@@8QUV3@E3ÿ
     728EH2@BÿGD8Bÿ3I722ÿ@9BÿB9ÿ82UUÿB5282ÿ824D7EBE28ÿC97ÿ3ÿ627E9Hÿ9CÿBA2UV2ÿ
     R7SÿG9@B58ÿ3CB27ÿB52ÿH3B2ÿ9Cÿ6D745382Tÿ2F426BÿE@ÿ34497H3@42ÿAEB5ÿ
     A3EV278ÿ28B3PUE852HÿPQÿ7DU2ÿ97ÿ97H27ÿ9CÿB52ÿ49GGE88E9@9ÿB52ÿ824D7EBE28ÿ
     53V2ÿP22@ÿE88D2Hÿ6D78D3@BÿB9ÿ3@ÿ2F2G6BE9@ÿC79GÿB52ÿ72IE8B73BE9@ÿ
     72aDE72G2@Bÿ9CÿB52ÿ62@@8QUV3@E3ÿ824D7EBE28ÿ34Bÿ9CÿX479ÿ@9ÿ8DP82aD2@Bÿ
     7283U2ÿ97ÿ9B527ÿHE8698EBE9@ÿ9CÿB52ÿ824D7EBE28ÿG3QÿP2ÿG3H2ÿAEB5E@ÿ7ÿ
     G9@B58ÿC9UU9AE@IÿB52E7ÿE@EBE3Uÿ83U2ÿE@ÿB52ÿ3P82@42ÿ9Cÿ3@ÿ2CC24BEV2ÿ
     72IE8B73BE9@Tÿ2F426BÿE@ÿ34497H3@42ÿAEB5ÿA3EV278ÿ28B3PUE852HÿPQÿ7DU2ÿ97ÿ
     97H27ÿ9CÿB52ÿ49GGE88E9@Tÿ3@HÿB52723CB27ÿ9@UQÿ6D78D3@BÿB9ÿ3@ÿ2CC24BEV2ÿ
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     36679V2Hÿ97ÿHE836679V2HÿPQÿB52ÿH2637BG2@Bÿ9CÿPD8E@288ÿ72IDU3BE9@ÿ9Cÿ
     B52ÿ8B3B2ÿ9Cÿ759H2ÿE8U3@Hÿ@97ÿ538ÿB52ÿHE724B97ÿ63882HÿD69@ÿB52ÿ344D734Qÿ
     97ÿ3H2aD34Qÿ9CÿB5E8ÿG2G973@HDG9ÿ3@Qÿ7267282@B3BE9@ÿB9ÿB52ÿ49@B737Qÿ
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     9CC272Hÿ6D78D3@BÿB9ÿ3ÿ4U3EGÿ9Cÿ2F2G6BE9@ÿD@H27ÿB52ÿ89DB5ÿ4379UE@3ÿ
     D@EC97Gÿ824D7EBE28ÿ34B9ÿ3ÿ72IE8B73BE9@ÿ8B3B2G2@Bÿ72U3BE@IÿB9ÿB5282ÿ
     824D7EBE28ÿ538ÿ@9BÿP22@ÿCEU2HÿAEB5ÿB52ÿ89DB5ÿ4379UE@3ÿ824D7EBE28ÿ
     49GGE88E9@279ÿB52ÿ49GGE88E9@27ÿH928ÿ@9Bÿ7249GG2@Hÿ97ÿ2@H9782ÿB52ÿ
     6D745382ÿ9Cÿ3@Qÿ824D7EBE28Tÿ@97ÿH928ÿEBÿ6388ÿD69@ÿB52ÿ344D734Qÿ97ÿ
     49G6U2B2@288ÿ 9Cÿ B5282ÿ 49@CEH2@BE3Uÿ 9CC27E@Iÿ H94DG2@B89ÿ 3@Qÿ
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     ECDF@9ÿGÿBÿAF9ÿ@9DC7A79@HÿAF9ÿ789@ABCÿ7@ÿF9C9IGÿP87@9PÿAF9ÿ
     @9DC7A79@ÿ7ÿI9ÿ@BPÿABÿPÿDQ7C9PÿIGÿ7ARF7SRF9Cÿ7ÿÿAC@DA7Bÿ
     P9Cÿ@9DA7Bÿ89TU3ÿBÿAF9ÿ87CV77ÿ@9DC7A79@ÿDAÿPÿSGÿBAÿI9ÿC9T
     B9C9PÿBCÿ@9HÿAC@9CC9PHÿBCÿC9@BPÿ9WD9EAÿ7ÿDBSE7D9ÿ7AFÿ@DFÿ
     DAÿPÿEE7DI9ÿC9@ÿECBSVA9PÿAF9C9P9C9ÿÿ
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     S9SBCPSÿPÿAF9ÿ@9DC7A79@ÿF89ÿBAÿI99ÿC9V7@A9C9Pÿ7ÿC97D9ÿ
     EBÿAF9ÿ@9DC7A79@ÿDAÿBÿ@F7VABHÿDFEA9Cÿ7976ÿCDHÿPÿAF9C9BC9Hÿ
     DBAÿI9ÿC9@BPÿ9@@ÿAF9GÿC9ÿC9V7@A9C9PÿP9CÿAF9ÿ@9DC7A79@ÿDAÿBÿ
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     9WD9EAÿ7ÿDBSE7D9ÿ7AFÿ@DFÿDAÿPÿEE7DI9ÿC9@ÿECBSVA9Pÿ
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     7@ÿÿ7@DB@7ÿC9@7P9AÿS@AÿF89ÿÿ9AÿBCAFÿc9WD@789ÿBÿFBS9Hÿ
     C7@F7V@ÿPÿABSBI79@dÿ7ÿ9WD9@@ÿBÿAFC99ÿPÿB9TAF7CPÿc8ÿR8dÿA7S9@ÿ
     AF9ÿVVC9VA9ÿSBAÿ789@A9PÿIGÿ@DFÿ789@ABCÿ7ÿAF9ÿ@9DC7A79@ÿ
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     PC7VÿAF9ÿ@AÿAWÿG9CÿPÿ9@A7SA9PÿuAWI9ÿ7DBS9vÿPC7VÿAF9ÿ
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          V)ÿ5')ÿ3ÿ%@)79)W01$%&ÿG1'837ÿF)32ÿ)$41$Uÿ1$ÿQ)8)0R)2ÿ7'%ÿ1Gÿ)38&ÿ837)$432ÿF)328ÿ#$ÿ3ÿ%@)79)W
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          b$7)''ÿ1%&)2@1')ÿ1$4183%)46ÿ377ÿ2)G)2)$8)'ÿ%1ÿC417732'Bÿ3$4ÿCcBÿ1$ÿ%&1'ÿ()0123$450ÿ32)ÿ%16ÿ3$4ÿ
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          ÿb$7)''ÿ1%&)2@1')ÿ1$4183%)4ÿ12ÿ%&)ÿ81$%)9%ÿ1%&)2@1')ÿ2)A512)'6ÿG1$3$8137ÿ3$4ÿ1E)23%1$Uÿ43%3ÿ1$ÿ%&1'ÿ
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          ÿD)2%31$ÿ43%3ÿ32)ÿ37'1ÿR3')4ÿ1$ÿ152ÿU114ÿG31%&ÿ)'%103%)'6ÿ@&18&ÿ32)ÿ4)219)4ÿG210ÿ03$3U)0)$%s'ÿ
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 dVqÿWXhqUÿwVYX`xÿabpYfrabcÿqUVÿyfwdphatqaXbÿchVVgVbqdÿeqqepUVrÿUVhVqXÿedÿUawaqÿ1ÿebrÿUawaqÿ6ÿqUVÿ
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 gVebabcdÿca9VbÿqXÿqUVgÿVYdV`UVhVÿabÿqUadÿfVgXhebrfg8ÿ
  ghÿijkÿ                ÿasetÿlepaWapÿmbpXgVÿnfbrÿ2xÿoosxÿeÿpVYe`ehVÿYagaqVrÿYaewaYaqiÿpXgtebiÿadÿ
                               ebÿeWWaYaeqVÿXWÿasetÿvfaqixÿoosxÿeÿqVYYV9fVxÿredUabcqXbwedVrÿab9VdqgVbqÿ
                               WahgÿWXhgVrÿabÿ65118ÿasetÿvfaqiÿXhÿasetxÿedÿfdVrÿabÿqUadÿfVgXhebrfgxÿ
                               hVWVhdÿqXÿasetÿbqVhthadVdxÿmbp8ÿqUVÿtehVbqÿpXgtebiÿXWÿasetÿvfaqixÿoosdÿ
                               ebrÿaqdÿeWWaYaeqVrÿchXftÿXWÿpXgtebaVdÿVpYfrabcÿqUVÿsXgtebid8ÿ
                               yVVÿTUVÿsXgtebiÿpXggVbpabcÿXbÿtecVÿs8ÿ
  tÿ                    ÿTUVÿthagehiÿtfhtXdVÿXWÿqUVÿsXgtebiÿadÿqXÿepvfahVÿhVeYÿVdqeqVÿab9VdqgVbqdÿabÿ
                               qUVÿubaqVrÿyqeqVdÿebrÿthX9arVÿeÿheqVÿXWÿhVqfhbÿqXÿaqdÿab9VdqXhd8ÿTUVÿsXgtebiÿ
                               UedÿWXhgVrÿasetÿvXYrabcxÿoosÿvXYrabcdÿedÿeÿ̀UXYYiÿX`bVrÿdfwdaraehiÿXWÿ
                               qUVÿsXgtebixÿebrÿvXYrabcÿdUeYYÿX`bÿebÿabqVhVdqÿabÿXbVÿXhÿgXhVÿdqebreYXbVÿ
                               dfwdaraehaVdÿVepUÿeÿlXhqWXYaXÿyldxÿ`UapUÿ`aYYÿqUVbÿUXYrÿhVeYÿthXtVhqiÿ
                               ab9VdqgVbqd8ÿTUVÿsXgtebiwdÿwfdabVddÿtYebÿqehcVqdÿpXbdqhfpqaXbÿebrÿ
                               rV9VYXtgVbqÿthXxVpqd8ÿÿÿÿ
                               yVVÿTUVÿsXgtebiÿpXggVbpabcÿXbÿtecVÿs8ÿ
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                               redUabcqXbÿYagaqVrÿYaewaYaqiÿpXgtebiÿqUVÿfebecVhd8ÿÿTUVÿsXgtebiÿ̀aYYÿ
                               teiÿqUVÿfebecVhÿebÿebbfeYÿgebecVgVbqÿWVVÿVvfeYÿqXÿ6yÿXWÿqUVÿXfqdqebrabcÿ
                               ecchVceqVÿthabpateYÿweYebpVdÿXWÿqUVÿuXqVd8ÿÿ
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                               uXqVd8ÿTUVÿgabagfgÿabra9arfeYÿab9VdqgVbqÿadÿ}~5x555xÿ̀aqUÿebiÿegXfbqdÿabÿ
                               VpVddÿqUVhVXWÿwVabcÿtVhgaqqVrxÿdfwxVpqÿqXÿqUVÿeppVtqebpVÿwiÿqUVÿfebecVh8ÿÿ
                               TUVÿfebecVhÿgeiÿpUebcVxÿXhÿeppVtqÿYVddÿqUebxÿqUVÿgabagfgÿab9VdqgVbqÿ
                               egXfbqÿabÿaqdÿradphVqaXb8ÿTUVÿsXgtebiÿgeiÿYagaqÿqUVÿgeagfgÿegXfbqÿXWÿ
                               XfqdqebrabcÿthabpateYÿteigVbqÿXwYaceqaXbdÿX`VrÿqXÿebiÿXbVÿuXqVUXYrVhÿXhÿaqdÿ
                               eWWaYaeqVd8ÿÿ
                               TUVÿsXgtebiÿ`aYYÿXWWVhÿqUVÿuXqVdÿWXhÿeÿtVhaXrÿpXggVbpabcÿXbÿqUVÿreqVÿXWÿ
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 A'5"(D'3ÿ)"'37ÿÿe(7"3"17ÿE055ÿ'AA36"ÿC'1"Dÿ$(ÿ'ÿ1p9TD')ÿ)"'3ÿ'(DÿE055ÿC"ÿ&'0Dÿ%$(7!5)7ÿÿU(5"11ÿ$7!"3E01"ÿ
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 UG`QEGHFTcÿPQeÿHYfFe1dTFÿIVGIFVUYFTcÿGWUFQÿYQÿaGQTUVdaUYGQÿPQeÿeF8FXGIHFQUÿIVGgFaUTÿIEPTFT7ÿEFÿVF8FQdFÿ
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 IGTTYhXFÿYQ8FTUHFQUÿGIIGVUdQYUYFT7ÿEFÿIVGaFTTÿhFbYQTÿhRÿYeFQUYWRYQbÿHFUVGIGXYUPQÿTUPUYTUYaPXÿPVFPTÿ`YUEYQÿ
 UEFÿ077ÿipPVqFUTrsÿ`YUEÿTUVGQbÿFaGQGHYaÿWdQePHFQUPXTÿUEPUÿPVFÿXYqFXRÿUGÿVFTdXUÿYQÿTUVGQbÿFfYUÿTUVPUFbYFTÿ
 PQeÿTUVGQbÿVFUdVQT7ÿÿEFÿPVqFUTÿPVFÿTFXFaUFeÿPWUFVÿVF8YF`ÿGWÿVFIGVUTÿPQeÿPQPXRTYTÿIVG8YeFeÿhRÿFaGQGHYaTÿ
 IVGWFTTYGQPXTcÿPTÿ̀FXXÿPTÿUEFÿ)GHIPQRSTÿYQUFVQPXÿTUPWW7ÿWUFVÿVF8YF`YQbÿUEFÿVFIGVUTcÿPÿaGHHYUUFFÿaGQTYTUYQbÿ
 GWÿqFRÿHFHhFVTÿGWÿUEFÿHPQPbFHFQUÿUFPHÿiUEFÿpQ8FTUHFQUÿ)GHHYUUFFrsÿHPRÿPIIVG8FÿPÿPVqFU7ÿÿWUFVÿPÿ
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 )GHIPQRÿUEPUÿHFFUÿUEFÿaVYUFVYPÿGWÿUEFÿPIIXYaPhXFÿYQ8FTUHFQUÿIGXYaYFTÿGWÿUEFÿ)GHIPQR7ÿÿ
          8FVRÿYQ8FTUHFQUÿGIIGVUdQYURÿ`YXXÿdQeFVbGÿedFÿeYXYbFQaFÿIFVWGVHFeÿhRÿUEFÿ)GHIPQRSTÿ
 dQeFV`VYUFVTcÿ`EGÿ`YXXÿUEFQÿIVFTFQUÿYQ8FTUHFQUÿGIIGVUdQYUYFTÿUGÿUEFÿQ8FTUHFQUÿ)GHHYUUFFÿWGVÿYUTÿVF8YF`ÿ
 PQeÿPIIVG8PX7ÿEFÿQ8FTUHFQUÿ)GHHYUUFFÿHPRÿeFXFbPUFÿYQ8FTUHFQUÿeFaYTYGQ1HPqYQbÿPdUEGVYURÿUGÿTdh1UFPHTcÿ
 IVG8YeFeÿTdaEÿYQ8FTUHFQUTÿHFFUÿUEFÿaVYUFVYPÿFTUPhXYTEFeÿhRÿUEFÿQ8FTUHFQUÿ)GHHYUUFF7ÿEFÿ)GHIPQRÿ̀YXXÿ
 aGHIXFUFÿeYXYbFQaFÿGQÿIVGTIFaUY8FÿYQ8FTUHFQUTÿPQeÿHPYQUPYQÿaXGTYQbÿIVGaFedVFTÿUEPUÿIVG8YeFÿWGVÿUEFÿTPWFURÿ
 GWÿUEFÿYQ8FTUFeÿWdQeTcÿTdaEÿPTÿPÿUEYVe1IPVURÿFTaVG`ÿaGHIPQR7ÿEFÿYQ8FTUHFQUÿIVGaFTTÿEPTÿUEVFFÿHPgGVÿPVFPTÿ
 GWÿWGadTuÿPQPXRTYTÿPQeÿPIIVG8PXcÿeGadHFQUPUYGQÿPQeÿaXGTYQbcÿPQeÿIGTU1aXGTYQbÿHPQPbFHFQU7ÿÿ(GTU1aXGTYQbÿ
 HPQPbFHFQUÿGWÿUEFÿVFPXÿFTUPUFÿIGVUWGXYGÿ`YXXÿhFÿeGQFÿhRÿVFPXÿFTUPUFÿHPQPbFHFQUÿaGHIPQYFTcÿ`EGÿ`YXXÿ
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 VFWYQPQaFÿUEFÿGUFÿhRÿYTTdYQbÿPeeYUYGQPXÿQGUFTcÿPXXG`YQbÿGUEFVÿYQ8FTUGVTÿUGÿIdVaEPTFÿUEFÿQGUFTcÿGVÿGhUPYQYQbÿ
 YQTUYUdUYGQPXÿWYQPQaYQbÿiFPaEÿPÿp!YtdYeYURÿGdVaFrsÿIdVTdPQUÿUGÿ`EYaEÿWdQeTÿ`YXXÿhFÿPe8PQaFeÿUGÿUEFÿ
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          EFÿGUFTÿ`YXXÿhFÿTdhGVeYQPUFÿPUÿUYHFTÿUGÿUEFÿVYbEUTÿGWÿUEFÿ!YtdYeYURÿGdVaFTÿPTÿ`FXXÿPTÿUGÿGUEFVÿ
 EYbEFV1VPQqYQbÿGhXYbPUYGQTÿGWÿUEFÿ)GHIPQRcÿYQaXdeYQbÿIVGIFVURÿUPfFTÿPQeÿHPQPbFHFQUÿWFFT7ÿÿÿ
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 H(qÿdGÿGvd%HwrbÿY(rpÿtYCÿibCGY(GÿxhYÿHCbÿ`HiHwrbÿYtÿwbHCd(sÿ%hbÿCdGuGQÿ
 d(`rvqd(sÿ%hbÿCdGuÿYtÿrYGGÿYtÿHÿGvwG%H(%dHrÿiHC%ÿYCÿHrrÿYtÿ%hbdCÿd(gbG%ab(%9ÿÿ
 `HCbtvrÿ`Y(GdqbCH%dY(ÿYtÿ%hbÿtYrrYxd(sÿCdGuÿtH`%YCGQÿHGÿxbrrÿHGÿY%hbCÿ
 d(tYCaH%dY(ÿd(ÿ%hdGÿabaYCH(qvaÿdGÿHqgdGHwrbÿiCdYCÿ%Yÿd(gbG%d(s9ÿÿ
 iCYGib`%dgbÿd(gbG%YCGÿGhYvrqÿCbHqÿHrrÿGb`%dY(GÿYtÿ%hdGÿabaYCH(qvaÿH(qÿ
 HCbÿG%CY(srpÿvCsbqÿH(qÿbyib`%bqÿ%Yÿ̀Y(Gvr%ÿ%hbdCÿYx(ÿrbsHrÿH(qÿtd(H(`dHrÿ
 HqgdGbCGÿwbtYCbÿd(gbG%d(sÿd(ÿ%hbÿ(Y%bG9ÿ%hbÿd(tYCaH%dY(ÿd(ÿ%hdGÿabaYCH(qvaÿ
 `Y(%Hd(GÿwY%hÿhdG%YCd`HrÿH(qÿtYCxHCqrYYud(sÿG%H%bab(%G9ÿirbHGbÿwbÿ
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 H(qÿwvGd(bGGÿibCtYCaH(`bÿaHpÿqdttbCÿaH%bCdHrrpÿtCYaÿ%hH%ÿbG%daH%bqÿwpÿ
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 `Yvrqÿ`HvGbÿH`%vHrÿtv%vCbÿCbGvr%Gÿ%YÿqdttbCÿtCYaÿ%hbÿ`YaiH(pGÿ`vCCb(%ÿ
 byib`%H%dY(G9ÿ%hbÿqdttbCb(`bGÿaHpÿwbÿ`HvGbqÿwpÿHÿgHCdb%pÿYtÿtH`%YCGQÿ
 d(`rvqd(sÿwv%ÿ(Y%ÿrdad%bqÿ%YQÿHqgbCGbÿb`Y(Yad`ÿ`Y(qd%dY(GQÿ`Yaib%d%YCGÿ
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 d(Hwdrd%pÿ%Yÿ̀HCCpÿYv%ÿaHCub%d(sÿH(qÿGHrbGÿirH(GQÿrYGGÿYtÿubpÿbyb`v%dgbGÿYCÿ
 Y%hbCÿibCGY((brQÿH(qÿY%hbCÿCdGuGÿ%hH%ÿaHpÿYCÿaHpÿ(Y%ÿwbÿCbtbCCbqÿ%Yÿd(ÿ
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 '()ÿ1(234522ÿ6)7265892ÿ@)5ÿA3BB38(C9ÿ97ÿ6)5A389ÿ158@(25ÿD5ÿE@F5ÿ47ÿ765)@934GÿE3297)HIÿ
           PQRÿSTUVWXYÿàÿWÿXRbcYÿTdeWXf̀RgÿRXh̀hYÿWXgÿgTRaÿXThÿQW9RÿWXÿTVRdWh̀XeÿQàhTdYÿiVTXÿbQp̀Qÿ
  X̀9RahTdaÿUWYÿqWaRÿWXÿR9WciWh̀TXÿTrÿ̀haÿc̀sRcYÿVRdrTdUWXpR8ÿPQRÿSTUVWXYtaÿdRaichaÿbc̀cÿgRVRXgÿiVTXÿhQRÿ
 W9Wc̀Wqc̀h̀YÿTrÿaih̀WqcRÿ̀X9RahURXhÿTVVTdhiXh̀R̀aÿrTdÿhQRÿSTUVWXYÿWXgÿhQRÿVRdrTdUWXpRÿTrÿhQRÿSTUVWXYtaÿ
 uTdhrTc̀TÿvX9RahURXha8ÿPQRÿSTUVWXYtaÿVdTVTaRgÿTVRdWh̀TXaÿWdRÿaiqwRphÿhTÿWccÿqiaX̀RaaÿdàsaÿWaaTpẀhRgÿbh̀Qÿ
 XRbÿRXhRdVdàRa8ÿPQRÿc̀sRc̀QTTgÿTrÿhQRÿSTUVWXYtaÿaippRaaÿUiahÿqRÿpTXag̀RdRgÿX̀ÿc̀eQhÿTrÿhQRÿVdTqcRUaxÿ
 RyVRXaRaxÿgr̀rp̀ich̀RaxÿpTUVc̀pWh̀TXaxÿWXgÿgRcWYaÿrdRiRXhcYÿRXpTiXhRdRgÿ̀XÿpTXXRph̀TXÿbh̀QÿhQRÿRyVWXaT̀Xÿ
 TrÿWÿqiaX̀RaaxÿTVRdWh̀TXÿX̀ÿWÿpTUVRh̀h̀9RÿX̀giahdYxÿWXgÿhQRÿpTXh̀XiRgÿgR9RcTVURXhÿTrÿWg9Rdh̀aX̀exÿ
 VdTUTh̀TXaÿWXgÿWÿpTddRaVTXgX̀eÿpiahTURdÿqWaR8ÿPQRdRÿ̀aÿWÿVTaaq̀c̀h̀YÿhQWhÿhQRÿSTUVWXYÿpTicgÿaiahWX̀ÿcTaaRaÿ
  X̀ÿhQRÿrihidR8ÿÿ
           PQRdRÿpWXÿqRÿXTÿWaaidWXpRÿhQWhÿhQRÿSTUVWXYtaÿRrrTdhaÿbc̀cÿdRaichÿ̀XÿaippRaaricÿpTUURdpẀc̀fWh̀TXÿ
 TdÿridhQRdÿgR9RcTVURXhÿTrÿhQRÿSTUVWXYtÿTVRdWh̀TXaxÿhQWhÿhQRÿSTUVWXYtaÿUWdsRh̀XeÿRrrTdhaÿbc̀cÿqRÿ
 aippRaaricxÿTdÿhQWhÿhQRÿSTUVWXYÿbc̀cÿR9RdÿWpQR̀9RÿaèXr̀p̀WXhÿTdÿWXYÿdR9RXiR8ÿÿvrÿhQRÿSTUVWXYÿrWc̀aÿhTÿ
 WpQR̀9Rÿ̀haÿeTWcaÿTihc̀XRgxÿhQRÿSTUVWXYÿUWYÿdiXÿTihÿTrÿUTXRYÿhTÿdiXÿ̀haÿTVRdWh̀TXÿWXgÿWaÿaipQxÿhQRÿSTUVWXYÿ
 bTicgÿXRRgÿhTÿdWàRÿWggh̀T̀XWcÿbTdsX̀eÿpWVh̀Wc8ÿÿWc̀idRÿhTÿgTÿaTÿpTicgÿdRaichÿ̀XÿThRQTcgRdaÿcTaX̀eÿVWdhÿTdÿ
 WccÿTrÿhQRd̀ÿUTXRYÿ̀X9RahRg8ÿ
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           PQRÿSTUVWXYÿàÿpTXgiph̀XeÿhQRÿrrRdX̀eÿWaÿWÿqc̀XgÿVTTcxÿURWXX̀eÿhQWhÿhQRÿSTUVWXYÿàÿ
 VdTpRRgX̀eÿhTÿdWàRÿriXgaÿhQdTieQÿhQRÿaWcRÿTrÿhQRÿThRaxÿbh̀QTihÿQW9X̀eÿaVRpr̀p̀WccYÿ̀gRXh̀rR̀gÿWXYÿdRWcÿRahWhRÿ
 VdTVRdh̀RaÿX̀ÿbQp̀QÿhQRÿSTUVWXYÿX̀hRXgaÿhTÿX̀9Rah8ÿQRXÿYTiÿaiqapdq̀RÿrTdÿThRaxÿhQWhÿaiqapdV̀h̀TXÿàÿ
 qX̀gX̀exÿWXgÿYTiÿbc̀cÿXThÿQW9RÿhQRÿdèQhÿhTÿdR9TsRÿhQWhÿaiqapdV̀h̀TXÿR9RXÿr̀ÿYTiÿgTÿXThÿWVVdT9RÿTrÿhQRÿ
 uTdhrTc̀TÿvX9RahURXhaÿhQWhÿhQRÿSTUVWXYÿaiqaRiRXhcYÿ̀gRXh̀rR̀a8ÿudTaVRph̀9Rÿ̀X9RahTdaÿaQTicgÿXThÿ̀X9Rahÿ̀Xÿ
 hQRÿSTUVWXYÿiXcRaaÿhQRYÿWdRÿVdRVWdRgÿhTÿdRcYÿiVTXÿhQRÿwigeURXhÿTrÿhQRÿWXWeRdÿhTÿUWsRÿX̀9RahURXhaÿ
 pTXaàhRXhÿbh̀QÿhQRÿeRXRdWcÿeig̀Rc̀XRaÿgRapdq̀Rgÿ̀XÿhQàÿRUTdWXgiU8ÿ
 Bÿ9E5ÿ76@4Hÿ32ÿ479ÿ@2ÿ2(88522B(CÿD39Eÿ9E5ÿ'BB5)34Gÿ@2ÿA523)5Aÿ39ÿ@Hÿ479ÿ@8(3)5ÿ@2ÿA3F5)23B35Aÿ@ÿ
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           vhÿ̀aÿXThÿsXTbXÿQTbÿUWXYÿuTdhrTc̀TÿvX9RahURXhaÿhQRÿSTUVWXYÿbc̀cÿqRÿWqcRÿhTÿTqhWX̀xÿTdÿhQRÿXiUqRdÿ
 TrÿTVVTdhiXh̀R̀aÿhQWhÿbc̀cÿqRÿVdRaRXhRgÿqYÿhQRÿUWdsRhÿrTdÿ̀hÿhTÿR9WciWhR8ÿPQRÿXiUqRdÿTrÿuTdhrTc̀TÿvX9RahURXhaÿ
 ich̀UWhRcYÿUWgRÿqYÿhQRÿSTUVWXYÿbc̀cÿgRVRXgÿVdÙWdc̀YÿiVTXÿhQRÿpWVh̀WcÿdWàRgÿhQdTieQÿhQRÿaWcRÿTrÿhQRÿ
 ThRaxÿhQRÿW9Wc̀Wqc̀h̀YÿTrÿaih̀WqcRÿuTdhrTc̀TÿvX9RahURXhaxÿhQRÿXiUqRdÿTrÿ̀X9RahTdaÿbQTÿpQTTaRÿhTÿbh̀QgdWbÿ
 hQRd̀ÿriXgaÿhQdTieQÿgRUWXgÿXTh̀pRaxÿWXgÿhQRÿRyhRXhÿhTÿbQp̀QÿhQRÿWXWeRdÿWddWXeRaÿrTdÿuTdhrTc̀TÿvX9RahURXhaÿ
 hTÿqRÿQRcgÿbh̀QÿpTX̀9RahTda8ÿPQRdRÿàÿXTÿpRdhWX̀hYÿWaÿhTÿhQRÿXiUqRdÿTrÿuTdhrTc̀TÿvX9RahURXhaÿhQWhÿhQRÿ
 STUVWXYÿbc̀cÿich̀UWhRcYÿqRÿWqcRÿhTÿTqhWX̀xÿWXgÿaX̀pRÿTXRÿTrÿhQRÿSTUVWXYtaÿTqwRph̀9Raÿ̀aÿg9̀Rdar̀p̀Wh̀TXxÿ
 XTÿWaaidWXpRÿpWXÿqRÿe9̀RXÿWaÿhTÿhQRÿSTUVWXYtaÿWpQR̀9RURXhÿTrÿhQWhÿTqwRph̀9R8ÿ
 765939374ÿD39Eÿ9E3)Aÿ6@)9352ÿ34ÿ7()ÿ874956C@95Aÿ34A(29)Hÿ32ÿ3495425ÿDE38Eÿ87(CAÿ)5A(85ÿ7()ÿ
 6)7B39@13C39Hÿ@4Aÿ7()ÿ@13C39Hÿ97ÿ6@Hÿ3495)529ÿ7)ÿ)@325ÿ@AA39374@CÿB(4A2Iÿ
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        vhÿ̀aÿVTaaq̀cRÿhQWhÿT9Rdÿh̀URÿbRÿUWYÿpTUVRhRÿbh̀QÿThQRdÿRXh̀h̀RaÿaRRsX̀eÿhTÿiXgRdhWsRÿaÙc̀WdÿWph̀9h̀R̀aÿ
 WaÿbRÿgT8ÿPQRaRÿaWURÿVThRXh̀WcÿpTUVRh̀hTdaÿUWYÿQW9RÿaèXr̀p̀WXhcYÿedRWhRdÿpWVh̀WcÿdRaTidpRaÿWXgÿdRaRWdpQÿ
 WXgÿgR9RcTVURXhxÿUWXirWphidX̀exÿhRah̀XexÿdReicWhTdYÿpTUVc̀WXpRxÿWXgÿUWdsRh̀XeÿpWVWqc̀h̀R̀a8ÿSTUVRh̀h̀9Rÿ
 VdTgiphaÿWXgÿaRd9p̀RaÿUWYÿdRXgRdÿWXYÿaRd9p̀RaxÿVdTgiphaÿTdÿVdTgiphÿpWXgg̀WhRaÿhQWhÿbRÿUWYÿWpid̀RÿTdÿ
 gR9RcTVÿiXRpTXTUp̀ÿTdÿTqaTcRhR8ÿRÿpWXXThÿWaaidRÿX̀9RahTdaÿhQWhÿbRÿbc̀cÿqRÿWqcRÿhTÿX̀9RahÿTdÿgR9RcTVÿ
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 tI5B0I3ÿ@9ÿE69B67ÿ@5ÿBA6ÿu454f60vÿ5Iÿ@5E69BI0ÿ9AI)37ÿ2)0PA496ÿBA6ÿeIB69ÿ)53699ÿBA6ÿ@5E69BI0ÿ@9ÿ
 PIHRI0B4836ÿQ@BAÿBA6ÿu454f60w9ÿx)7fH65Bÿ457ÿ6D260@65P6ÿ@5ÿ0)55@5fÿBA6ÿtIH245Cw9ÿ4RR4@09Sÿ
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 A6ÿu454f60w9ÿPI5R3@PB9ÿIRÿ@5B6069BÿH4Cÿ069)3Bÿ@5ÿB04594PB@I59ÿ)5R4EI04836ÿBIÿBA6ÿtIH245CSÿ
          TUÿ 'Xÿ'ÿ$ÿ#$ÿW %ÿ!9ÿ$'ÿ9ÿ$Yÿ'ÿ'$ÿ'$ÿ$'$'ÿ̀$UYÿ$Uÿ
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 89@ÿBCDCE@FÿGCHÿF@ICPDÿCDQÿF@PDR@SIÿCTTÿUFÿCÿVUFIPUDÿUWÿI9@ÿF@R@DX@ÿE@D@FCI@QÿYHÿ̀UFÿVFUa@@QSÿUWÿCÿSCT@ÿ
 UWÿ̀CÿbUFIWUTPUÿcDR@SIG@DIdÿ
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 2#1$9ÿÿ
 pPI9UXIÿUYICPDPDEÿCQRPa@ÿWFUGÿI9@PFÿV@FSUDCTÿCQRPSUFSÿ̀VUI@DIPCTÿPDR@SIUFSÿGCHÿDUIÿY@ÿCqCF@ÿUWÿI9@ÿT@ECT̀ÿ
 ICrÿUFÿ@aUDUGPaÿaUDS@sX@Da@SÿUWÿCDÿPDR@SIG@DIÿPDÿI9@ÿtUI@Sdÿ
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 w@@SÿIUÿBCDCE@FÿqPTTÿY@ÿVCPQÿq9PT@ÿPDI@F@SIÿCDQÿVFPDaPVCTÿF@GCPDÿUXISICDQPDEÿXDQ@FÿI9@ÿtUI@Sdÿ
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 UXÿqPTTÿDUIÿY@ÿPDR@SIPDEÿPDÿI9@ÿUGVCDHÿ̀PCVÿUFÿCDHÿUWÿI9@PFÿCWWPTPCI@Sdÿ89@ÿVFPUFÿV@FWUFGCDa@ÿQCICÿ
 VF@S@DI@QÿVFURPQ@SÿF@T@RCDIÿPDWUFGCIPUDÿF@ECFQPDEÿCWWPTPCI@SÿUWÿI9@ÿBCDCE@Fÿ̀YXIÿS9UXTQÿDUIÿY@ÿaUDSIFX@Qÿ
 CSÿCDÿPDQPaCIPUDÿUWÿI9@ÿTP@THÿWPDCDaPCTÿV@FWUFGCDa@ÿUWÿI9@ÿUGVCDHdÿ
  ÿ"$"4ÿ"ÿÿh$6ÿ)ÿ!"##ÿÿ2ÿ"$"4ÿ"ÿÿi&0#"ÿ5$$6ÿ"6ÿ&ÿ"ÿÿ0ÿÿ&"&ÿ
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          789ÿ@AB9CDÿB89ÿE9FGHIBPÿQRH99S9TBÿUTVÿB89ÿWGUHUTBPÿH9XGIH9ÿB89ÿFATC9TBÿAYÿUÿ̀UaAHIBPbITbcTB9H9CBÿ
 AYÿB89ÿ@AB98AdV9HCÿBAÿV9FdUH9ÿUTÿe89TBÿAYÿf9YUGdBÿUTVÿBAÿBUg9ÿF9HBUITÿUFBIATCÿH9dUB9VÿB89H9BA7ÿ789H9YAH9Dÿ
 ITVI8IVGUdÿ@AB98AdV9HCÿhIddÿTABÿi9ÿUid9ÿBAÿBUg9ÿF9HBUITÿUFBIATCÿGTIdUB9HUddP7ÿÿ
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          789ÿsAStUTPÿSUPÿtH9tUPÿUddÿAHÿUÿtUHBÿAYÿB89ÿtHITFItUdÿUSAGTBÿUTVÿUFFHG9VÿITB9H9CBÿITÿB89ÿ@AB9CÿUBÿ
 UTPÿBIS97ÿ@AÿtH9tUPS9TBÿt9TUdBPÿICÿIStAC9VÿB8UBÿhAGdVÿVICFAGHUR9ÿB89ÿsAStUTPÿYHASÿ9u9HFICITRÿB8ICÿHIR8B7ÿ
 QFFAHVITRdPDÿ@AB98AdV9HCÿhIddÿTABÿ8U89ÿF9HBUITBPÿUCÿBAÿ8AhÿdATRÿB89IHÿH9Ct9FBI89ÿ@AB9vCwÿSUPÿi9ÿ
 AGBCBUTVITR7ÿcYÿB89ÿsAStUTPÿSUg9CÿUTPÿtH9tUPS9TBDÿB89ÿtH9tUPS9TBCÿT99VÿTABÿi9ÿSUV9ÿHUBUidPÿURUITCBÿUddÿ
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 ÿ ÿ 789ÿsAStUTPÿSUPÿAiBUITÿITCGHUTF9ÿtAdIFI9CÿYAHÿB89ÿAHBYAdIAÿcT89CBS9TBCÿB8UBÿUH9ÿFASS9HFIUddPÿ
 tHGV9TBÿRI89TÿB89ÿdAFUdÿSUHg9BÿUTVÿFIHFGSCBUTF9CÿAYÿB89ÿAHBYAdIAÿcT89CBS9TBC7ÿAh989HDÿF9HBUITÿdACC9CÿUH9ÿ
 9IB89HÿGTITCGHUid9ÿAHÿSUPÿi9ÿITCGH9VÿATdPÿGtATÿtUPS9TBÿAYÿtHA8IiIBI89dPÿ8IR8ÿITCGHUTF9ÿtH9SIGSC7ÿcYÿUTPÿ
 CGF8ÿdACCÿC8AGdVÿAFFGHÿUTVÿB89ÿAHBYAdIAÿcT89CBS9TBCÿC8AGdVÿi9ÿtUHBIUddPÿAHÿBABUddPÿV9CBHAP9VDÿB89ÿsAStUTPÿ
 SUPÿCGYY9HÿUÿCGiCBUTBIUdÿdACCÿAYÿFUtIBUdÿUCÿh9ddÿUCÿtHAYIBC7ÿe89TÿIYÿB89ÿsAStUTPCÿITCGHUTF9ÿtAdIFPÿtHA8IV9Cÿ
 FA89HUR9ÿYAHÿB89ÿdACCDÿB89ÿV9VGFBIid9ÿYAHÿCGF8ÿtAdIFPÿSUPÿi9ÿCAÿdUHR9ÿB8UBÿB89ÿsAStUTPÿhIddÿCGCBUITÿUÿ
 CGiCBUTBIUdÿGTITCGH9VÿdACCÿUCÿUÿH9CGdBÿAYÿUÿYIH9ÿAHÿAB89HÿFUCGUdBP7ÿ
 ÿ ÿ TV9Hÿ8UHIAGCÿY9V9HUdDÿCBUB9ÿUTVÿdAFUdÿdUhCDÿAHVITUTF9CÿUTVÿH9RGdUBIATCDÿUTÿAhT9HÿAHÿAt9HUBAHÿAYÿ
 H9UdÿtHAt9HBPÿSUPÿi9FAS9ÿdIUid9ÿYAHÿB89ÿFACBCÿAYÿH9SA8UdÿAHÿH9S9VIUBIATÿAYÿF9HBUITÿ8UUHVAGCÿCGiCBUTF9Cÿ
 H9d9UC9VÿATÿAHÿITÿIBCÿtHAt9HBP7ÿEGF8ÿdUhCÿAYB9TÿIStAC9ÿdIUiIdIBPÿhIB8AGBÿH9RUHVÿBAÿh89B89HÿB89ÿAhT9HÿAHÿ
 At9HUBAHÿgT9hÿAYDÿAHÿhUCÿH9CtATCIid9ÿYAHDÿB89ÿH9d9UC9ÿAYÿCGF8ÿ8UUHVAGCÿCGiCBUTF9C7ÿ789ÿtH9C9TF9ÿAYÿ
 8UUHVAGCÿCGiCBUTF9CÿSUPÿUV89HC9dPÿUYY9FBÿB89ÿAhT9HCÿUiIdIBPÿBAÿC9ddÿCGF8ÿH9Udÿ9CBUB9ÿAHÿBAÿiAHHAhÿYGTVCÿ
 GCITRÿCGF8ÿH9Udÿ9CBUB9ÿUCÿFAddUB9HUd7ÿ9YAH9ÿSUgITRÿUÿAHBYAdIAÿcT89CBS9TBDÿB89ÿsAStUTPÿSUPÿGTV9HBUg9ÿ
 CGF8ÿ9T8IHATS9TBUdÿVG9ÿVIdIR9TF9ÿUCÿIBÿFATCIV9HCÿUttHAtHIUB9ÿGTV9HÿB89ÿFIHFGSCBUTF9CÿBAÿUCC9CCÿB89ÿtAB9TBIUdÿ
 9T8IHATS9TBUdÿHICgC7ÿEGF8ÿIT89CBIRUBIATÿFAGdVÿITFdGV9ÿB89ÿH98I9hÿAYÿUddÿU8UIdUid9ÿ9T8IHATS9TBUdÿH9tAHBCDÿ
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 FATBUSITUBIATÿTABÿV9B9FB9VÿtHIAHÿBAÿB89ÿsAStUTPCÿUFXGICIBIATÿAYÿB8UBÿtHAt9HBPDÿAHÿCGiC9XG9TBÿ
 9T8IHATS9TBUdÿFATBUSITUBIATÿh9H9ÿBAÿAFFGHDÿH9S9VIUdÿ9YYAHBCDÿIYÿUTPDÿB89ÿsAStUTPÿGTV9HBUg9CÿSUPÿTABÿi9ÿ
 CGYYIFI9TBÿBAÿ9dISITUB9ÿtAB9TBIUdÿdIUiIdIBPDÿUTVDÿUCÿUÿFATC9XG9TF9DÿB89ÿsAStUTPÿSUPÿITFGHÿ9T8IHATS9TBUdÿ
 Fd9UTbGtÿFACBCÿAHÿi9ÿCGia9FBÿBAÿdIUiIdIBPÿ9utACGH9ÿB8UBÿSUPÿH9VGF9ÿB89ÿT9BÿtHAYIBCÿAYÿB89ÿsAStUTP7ÿ
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 E6B4BQ6BCPÿ6Bÿ8RDÿE2823D7ÿW2QRÿQ@BP8346B8PÿQ@27Fÿ6BQ3D4PDÿ@23ÿQ@P8Pÿ@Eÿ5@33@H6BCÿ4BFÿQ@27Fÿ3DP836Q8ÿ@23ÿ4QQDPPÿ
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 ICXHUT8CRPÿTFGHcUCaÿHQÿUBCÿDEFGHIPÿhTRRÿBH8CÿXSCHUCSÿGHPFCIUÿEdRTXHUTEIQÿWSEFÿUBCÿQHFCÿGEERÿEWÿHQQCUQÿHQÿ
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 BQ3@1914Aÿ3I14Aÿ58ÿR85S18ÿ658ÿA21ÿD3Q1ÿ56ÿA21ÿF5A1DTÿ3QA25CI2ÿU1ÿ93EÿP5ÿD5ÿ74ÿA21ÿ6CAC817ÿG21ÿH59B34Eÿ
 93EÿR1ÿC43RQ1ÿA5ÿ7P14A76Eÿ7481DA58DÿA5ÿBC8@23D1ÿA21ÿF5A1Dÿ34Pÿ3Dÿ3ÿ81DCQAÿ93Eÿ2381ÿ743P1VC3A1ÿ@3B7A3QÿA5ÿ
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 234Pÿ34Pÿ3@@1DDÿA5ÿQ7VC7P7AEÿD5C8@1DÿA5ÿ25458ÿ81B3E914AÿP1934PDÿ56ÿe481DA58D7ÿÿf5U1818Tÿ74ÿA21ÿ1814AÿA2181ÿ
 381ÿ9581ÿP1934PDÿ658ÿ81B3E914AÿA234ÿA21ÿH59B34Eÿ23Dÿ@3D2ÿ3837Q3RQ1ÿA5ÿ911ATÿA21ÿH59B34Eÿ93EÿR1ÿ
 P1Q3E1Pÿ74ÿA21ÿP1Q7818Eÿ56ÿ6C4PDÿ34Pÿ93EÿR1ÿ81VC781PÿA5ÿD1QQÿD591ÿ56ÿ7ADÿ3DD1ADTÿU27@2ÿ93EÿA3S1ÿD7I4767@34Aÿ
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 658ÿ77ÿ61P183Qÿ74@591ÿA3ÿBC8B5D1Dÿ3Dÿ@54A74I14AÿB3E914AÿP1RAÿ74DA8C914ADÿDCR1@AÿA5ÿ77ÿ61P183Qÿ74@591ÿ
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 395C4Aÿ56ÿ74A181DAÿB3E914ADÿ3@AC3QQEÿ81@1781PÿREÿE5Cÿ74ÿA23AÿE1387ÿ5CÿU7QQÿ81@5I471ÿI374ÿ58ÿQ5DDÿ54ÿA21ÿ
 D3Q1Tÿ81BC8@23D1Tÿ1@234I1Tÿ@54818D754ÿ58ÿ81B3E914Aÿ56ÿ3ÿF5A1ÿ74ÿ34ÿ395C4Aÿ1VC3QÿA5ÿA21ÿP7661814@1ÿR1AU114ÿ
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                           Exhibit 




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 CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM CONTAINS MATERIAL NON-
 PUBLIC INFORMATION REGARDING ICAP PACIFIC INCOME FUND 5, LLC (THE
 “COMPANY”). BY ACCEPTING THIS CONFIDENTIAL PRIVATE PLACEMENT
 MEMORANDUM AND THE EXHIBITS HERETO (COLLECTIVELY THIS “MEMORANDUM”
 OR THESE “OFFERING DOCUMENTS”), THE RECIPIENT AGREES WITH THE COMPANY
 TO MAINTAIN IN STRICT CONFIDENCE ALL NON-PUBLIC INFORMATION, INCLUDING,
 BUT NOT LIMITED TO, THE EXISTENCE OF THE PROPOSED FINANCING AND ANY
 OTHER NON-PUBLIC INFORMATION REGARDING THE COMPANY OBTAINED FROM
 THIS MEMORANDUM, ANY OTHER TRANSACTION DOCUMENT OR THE COMPANY.

              CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM

   FOR ACCREDITED INVESTORS PURSUANT TO RULE 506(b) UNDER
      REGULATION D UNDER THE SECURITIES ACT OF 1933, AS
                        AMENDED.




                         iCap Pacific Income Fund 5, LLC

                                   $50,000,000 of

                             Secured Promissory Notes

                   (with an over-allotment amount of $25,000,000)

                                 September 5, 2019


 AN INVESTMENT IN OUR SECURITIES INVOLVES A HIGH DEGREE OF RISK. IN MAKING
 AN INVESTMENT DECISION INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF
 US AND THE TERMS OF THE OFFERING, INCLUDING THE MERITS AND RISKS
 INVOLVED. YOU SHOULD ONLY INVEST IN OUR SECURITIES IF YOU CAN AFFORD A
 COMPLETE LOSS OF YOUR INVESTMENT. YOU SHOULD READ THE COMPLETE
 DISCUSSION OF THE RISK FACTORS SET FORTH IN THIS MEMORANDUM. 

 DUE TO THE FACT THAT THE OFFERING IS A PRIVATE PLACEMENT AND IS EXEMPT
 FROM REGISTRATION, NEITHER THE SECURITIES AND EXCHANGE COMMISSION NOR
 ANY STATE SECURITIES COMMISSION HAS APPROVED OR DISAPPROVED OF THESE
 SECURITIES OR PASSED UPON THE ADEQUACY OR ACCURACY OF THE
 MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.
 SEE “CERTAIN NOTICES REGARDING THIS MEMORANDUM AND UNDER STATE
 SECURITIES LAWS.” 




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             Supplement No. 1 to Confidential Private Placement Memorandum




 iCap Pacific Income Fund 5, LLC has determined to extend the Offering Period as described
 in this Memorandum for an additional 12 months, to June 30, 2021. Any references in this
 Memorandum to the “Offering Period” shall now be deemed to reflect such extension.




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          CONFIDENTIAL PRIVATE PLACEMENT MEMORANDUM
                              FOR
                     ACCREDITED INVESTORS

                           iCap Pacific Income Fund 5, LLC
                $50,000,000 OF AGGREGATE PRINCIPAL AMOUNT
                                          OF
                          SECURED PROMISSORY NOTES

           (WITH AN OVER-ALLOTMENT AMOUNT OF $25,000,000)
  Minimum subscription per investor of $50,000 of principal amount, although iCap Pacific Income
       Fund 5, LLC reserves the right to accept subscriptions for a lower principal amount.

                                      No minimum offering amount.

          This Confidential Offering Memorandum (this “Memorandum”) is being furnished in connection
 with the offer and sale (the “Offering”) of up to $50,000,000 of Secured Promissory Notes, with an over-
 allotment amount of $25,000,000 (the “Notes”) by iCap Pacific Income Fund 5, LLC, a Delaware limited
 liability company (the “Company”). Notes will be issued in denominations of at least $50,000 (and any
 amounts in excess of $50,000). The Company may accept subscriptions in lesser amounts in its sole
 discretion. There is no minimum amount that must be subscribed for in order for this Offering to close and
 for the subscription funds to be released to the Company, and the Company may conduct one or more
 closings as it determines.

           The Company is a private investment vehicle that seeks to hold real estate investments as described
 herein. This Memorandum contains certain information that prospective investors should know about the
 Offering. The manager of the Company is iCap Pacific NW Management, LLC, a Washington limited
 liability company (the “Manager”). The Company’s address is iCap Pacific Income Fund 5, LLC, PO Box
 53232, Bellevue, Washington 98015.

          The Offering is being made by the Company to persons who are “accredited investors” as defined
 in Rule 501(a) of Regulation D promulgated under the Securities Act of 1933, as amended (the “Securities
 Act”), pursuant to Rule 506(b) under Regulation D, on a “Best Efforts” basis, which means there is no
 guaranty that any of the Notes will be sold or that a sufficient number of Notes will be sold to fulfill the
 Company’s business plan. The Company has engaged Cobalt Capital, Inc. as the Managing Broker Dealer
 in this Offering, and the Company will pay commissions as set forth in the Plan of Distribution commencing
 on page 14 set forth below, based on the aggregate principal amount of the Notes sold to investors. Investors
 who purchase notes are referred to herein as the “Noteholders.” The Company will attempt to sell the Notes
 during an offering period commencing on the date of this Memorandum and expiring on June 30, 2020,
 unless extended by us for up to 12 months, subject to earlier termination as set forth herein.

     THE SECURITIES OFFERED HEREBY ARE SPECULATIVE AND INVOLVE A HIGH
     DEGREE OF RISK. NO INVESTMENT IN THE NOTES SHOULD BE MADE BY ANY
      INVESTOR NOT FINANCIALLY ABLE TO LOSE THE ENTIRE AMOUNT OF ITS
                               INVESTMENT.




                                                       i

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                           RISK DISCLOSURE STATEMENT


      THE ATTORNEYS THAT PREPARED THIS MEMORANDUM (“ATTORNEYS”)
 HEREBY DISCLAIM ANY OPINION OR ASSURANCE OF ANY NATURE WHATSOEVER
 REGARDING THE ACCURACY, COMPLETENESS, REASONABLENESS, TIMELINESS OR
 VERACITY OF ANY OF THE ASSERTIONS, REPRESENTATIONS OR OTHER
 INFORMATION CONTAINED HEREIN, WHETHER QUALITATIVE OR QUANTITATIVE, OR
 REGARDING THE INVESTMENT-WORTHINESS OF THE SECURITIES DISCUSSED
 HEREIN (“SECURITIES”). ANY ASSERTION OR REPRESENTATION MADE HEREIN, AND
 ALL OTHER INFORMATION DISCLOSED HEREIN, WHETHER QUALITATIVE OR
 QUANTITATIVE, HAS BEEN MADE OR PROVIDED BY THE PROMOTER. IN CONNECTION
 WITH THE PREPARATION OF THESE CONFIDENTIAL OFFERING DOCUMENTS, THE
 ATTORNEYS HAVE NOT BEEN ENGAGED TO ATTEST HERETO, OR TO OPINE IN
 RESPECT HEREOF. ACCORDINGLY, THE ATTORNEYS HAVE NOT PERFORMED ANY
 ANALYTICAL,     CONFIRMATION,    VALIDATION,   VERIFICATION  OR   OTHER
 PROCEDURES IN RESPECT OF THE ASSERTIONS AND REPRESENTATIONS CONTAINED
 HEREIN, NOR IN RESPECT OF ANY OF THE OTHER INFORMATION DISCLOSED HEREIN,
 INCLUDING ANY SIMILAR TO THOSE PROCEDURES UNDERTAKEN BY AN
 INDEPENDENT CERTIFIED PUBLIC ACCOUNTANT IN CONNECTION WITH AN AUDIT OF
 THE FINANCIAL STATEMENTS OF AN ISSUER OF SECURITIES FOR PURPOSES OF
 RENDERING AN OPINION THEREON. CONSEQUENTLY, POTENTIAL INVESTORS, IN
 DECIDING WHETHER OR NOT TO INVEST IN THE SECURITIES, ARE CAUTIONED NOT
 TO ASCRIBE ANY SPECIAL RELIANCE WHATSOEVER ON THIS MEMORANDUM BY
 REASON THAT ATTORNEYS HAVE PREPARED THIS MEMORANDUM.

      THIS BRIEF STATEMENT CANNOT DISCLOSE ALL THE RISKS AND OTHER
 FACTORS NECESSARY TO EVALUATE YOUR INVESTMENT IN THE NOTES.
 THEREFORE, BEFORE YOU DECIDE TO MAKE AN INVESTMENT IN THE NOTES, YOU
 SHOULD CAREFULLY STUDY THIS MEMORANDUM, INCLUDING A DISCUSSION OF
 CERTAIN RISK FACTORS OF THIS INVESTMENT.


             CERTAIN NOTICES REGARDING THIS MEMORANDUM AND
                       UNDER STATE SECURITIES LAWS


        FOR ALL PROSPECTIVE INVESTORS: THE SECURITIES OFFERED HEREBY HAVE
 NOT BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED (THE
 “SECURITIES ACT”) OR THE SECURITIES LAWS OF ANY STATE, AND ARE BEING OFFERED
 AND SOLD IN RELIANCE ON EXEMPTIONS FROM THE REGISTRATION REQUIREMENTS OF
 THE SECURITIES ACT SET FORTH IN SECTION 4(A)(2) THEREOF AND RULE 506(B) OF
 REGULATION D PROMULGATED THEREUNDER TO ACCREDITED INVESTORS. RULE 506 OF
 REGULATION D SETS FORTH CERTAIN RESTRICTIONS AS TO THE NUMBER AND NATURE
 OF PURCHASERS OF SECURITIES OFFERED PURSUANT THERETO. WE HAVE ELECTED TO
 SELL SECURITIES ONLY TO ACCREDITED INVESTORS AS SUCH TERM IS DEFINED IN RULE
 501(A) OF REGULATION D. EACH PROSPECTIVE INVESTOR WILL BE REQUIRED TO MAKE
 REPRESENTATIONS AS TO THE BASIS UPON WHICH IT QUALIFIES AS AN ACCREDITED
 INVESTOR.

      THE SECURITIES OFFERED HEREBY WILL BE SUBJECT TO RESTRICTIONS ON

                                         ii

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 TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR RESOLD EXCEPT AS
 PERMITTED UNDER THE SECURITIES ACT AND UNDER APPLICABLE STATE SECURITIES
 LAWS OR PURSUANT TO REGISTRATION OR EXEMPTION THEREFROM. INVESTORS
 SHOULD BE AWARE THAT THEY MAY BE REQUIRED TO BEAR THE FINANCIAL RISKS OF
 THIS INVESTMENT FOR AN INDEFINITE PERIOD OF TIME. ONLY PERSONS WHO CAN
 AFFORD TO LOSE THEIR ENTIRE INVESTMENT IN THE NOTES SHOULD PURCHASE THE
 NOTES.

       THE SECURITIES OFFERED HEREBY HAVE NOT BEEN APPROVED OR DISAPPROVED
 BY THE SECURITIES AND EXCHANGE COMMISSION OR ANY STATE SECURITIES
 COMMISSION (“SEC”), NOR HAS THE SEC OR ANY STATE SECURITIES COMMISSION PASSED
 UPON THE ACCURACY OR ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION
 TO THE CONTRARY IS A CRIMINAL OFFENSE.

       THE INFORMATION PRESENTED HEREIN WAS PRESENTED AND SUPPLIED SOLELY
 BY THE COMPANY AND IS BEING FURNISHED SOLELY FOR USE BY PROSPECTIVE
 INVESTORS IN CONNECTION WITH THE OFFERING. THE COMPANY MAKES NO
 REPRESENTATIONS AS TO THE FUTURE PERFORMANCE OF THE COMPANY. THIS
 MEMORANDUM WERE PREPARED BY THE COMPANY.

       THIS OFFERING IS SUBJECT TO WITHDRAWAL, CANCELLATION OR MODIFICATION
 BY THE COMPANY AT ANY TIME AND WITHOUT NOTICE. WE RESERVE THE RIGHT IN OUR
 SOLE DISCRETION TO REJECT ANY SUBSCRIPTION IN WHOLE OR IN PART
 NOTWITHSTANDING TENDER OF PAYMENT OR TO ALLOT TO ANY PROSPECTIVE
 INVESTOR LESS THAN THE AGGREGATE PRINCIPAL AMOUNT OF NOTES SUBSCRIBED FOR
 BY SUCH INVESTOR.

       THIS MEMORANDUM DOES NOT CONSTITUTE AN OFFER TO SELL OR A
 SOLICITATION OF ANY OFFER TO BUY ANY SECURITY OTHER THAN THE SECURITIES
 OFFERED HEREBY, NOR DOES IT CONSTITUTE AN OFFER TO SELL OR A SOLICITATION OF
 ANY OFFER TO BUY SUCH SECURITIES BY ANYONE IN ANY JURISDICTION IN WHICH SUCH
 OFFER OR SOLICITATION IS NOT AUTHORIZED, OR IN WHICH THE PERSON MAKING SUCH
 OFFER OR SOLICITATION IS NOT QUALIFIED TO DO SO. NEITHER THE DELIVERY OF THIS
 MEMORANDUM NOR ANY SALE MADE HEREUNDER SHALL, UNDER ANY
 CIRCUMSTANCES, CREATE ANY IMPLICATION THAT THERE HAS BEEN NO CHANGE IN OUR
 AFFAIRS SINCE THE DATE HEREOF. THIS MEMORANDUM CONTAINS SUMMARIES OF
 CERTAIN PERTINENT DOCUMENTS, APPLICABLE LAWS AND REGULATIONS. SUCH
 SUMMARIES ARE NOT COMPLETE AND ARE QUALIFIED IN THEIR ENTIRETY BY
 REFERENCE TO THE COMPLETE TEXTS THEREOF.

      PROSPECTIVE INVESTORS ARE NOT TO CONSTRUE THE CONTENTS OF THIS
 MEMORANDUM AS LEGAL OR TAX ADVICE. EACH PROSPECTIVE INVESTOR SHOULD
 CONSULT HIS OR HER OWN COUNSEL, ACCOUNTANT AND OTHER ADVISORS AS TO
 LEGAL, TAX AND RELATED MATTERS PRIOR TO PURCHASING ANY NOTES.

       THE COMPANY DOES NOT MAKE ANY EXPRESS OR IMPLIED REPRESENTATION OR
 WARRANTY AS TO THE ACCURACY OR COMPLETENESS OF THE INFORMATION
 CONTAINED IN THIS MEMORANDUM OR IN ANY ADDITIONAL EVALUATION MATERIAL,
 WHETHER WRITTEN OR ORAL, MADE AVAILABLE IN CONNECTION WITH ANY FURTHER
 INVESTIGATION OF THE COMPANY. THE COMPANY EXPRESSLY DISCLAIMS ANY AND ALL
 LIABILITY THAT MAY BE BASED UPON SUCH INFORMATION, ERRORS THEREIN OR
 OMISSIONS THEREFROM. ONLY THOSE PARTICULAR REPRESENTATIONS AND

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 WARRANTIES, IF ANY, WHICH MAY BE MADE TO A PARTY IN A DEFINITIVE WRITTEN
 AGREEMENT REGARDING A TRANSACTION INVOLVING THE COMPANY, WHEN, AS AND IF
 EXECUTED, AND SUBJECT TO SUCH LIMITATIONS AND RESTRICTIONS AS MAY BE
 SPECIFIED THEREIN, WILL HAVE ANY LEGAL EFFECT. EXCEPT AS OTHERWISE EXPRESSLY
 PROVIDED TO THE CONTRARY IN WRITING, THIS MEMORANDUM SPEAKS AS OF THE DATE
 HEREOF. NEITHER THE DELIVERY OF THIS MEMORANDUM NOR ANY SALE OF NOTES
 MADE HEREUNDER SHALL, UNDER ANY CIRCUMSTANCES, CREATE ANY IMPLICATION
 THAT THERE HAS BEEN NO CHANGE IN THE AFFAIRS OF THE COMPANY AFTER THE DATE
 HEREOF.

       NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR TO MAKE
 ANY REPRESENTATIONS OTHER THAN THOSE CONTAINED IN THIS MEMORANDUM IN
 CONNECTION WITH THE OFFERING OF NOTES BEING MADE PURSUANT HERETO, AND IF
 GIVEN OR MADE, SUCH INFORMATION OR REPRESENTATIONS MUST NOT BE RELIED UPON
 AS HAVING BEEN AUTHORIZED BY THE COMPANY.

      THERE IS NO MARKET FOR THE NOTES AND THERE IS NO ASSURANCES A PUBLIC
 MARKET WILL EVER BE ESTABLISHED. PURCHASERS OF THE NOTES ARE NOT BEING
 GRANTED ANY REGISTRATION RIGHTS. A PURCHASE OF THE NOTES SHOULD BE
 CONSIDERED AN ILLIQUID INVESTMENT.

       BY ACCEPTING DELIVERY OF THIS MEMORANDUM, EACH PROSPECTIVE INVESTOR
 HEREBY EXPRESSLY AGREES WITH THE COMPANY TO KEEP CONFIDENTIAL ALL OF THE
 CONTENTS HEREOF, INCLUDING, BUT NOT LIMITED TO, THE OFFERING AND ALL
 INFORMATION RELATED TO THE COMPANY, AND NOT TO DISCLOSE THE SAME TO ANY
 THIRD PARTY AND/OR OTHERWISE USE THE SAME FOR ANY PURPOSE OTHER THAN AN
 EVALUATION BY SUCH OFFEREE OF A POTENTIAL INVESTMENT IN THE NOTES OFFERED
 PURSUANT HERETO. WE HAVE CAUSED THIS MEMORANDUM TO BE DELIVERED TO YOU
 IN RELIANCE UPON SUCH AGREEMENT BY YOU.

      EACH PROSPECTIVE SUBSCRIBER BY RECEIVING THIS MEMORANDUM AGREES TO
 RETURN THE SAME TO US IF (A) THE OFFEREE DOES NOT SUBSCRIBE TO PURCHASE ANY
 SECURITIES OFFERED HEREBY; (B) THE OFFEREE’S SUBSCRIPTION IS NOT ACCEPTED,
 AND/OR (C) THE OFFERING IS TERMINATED OR WITHDRAWN.

      THIS MEMORANDUM IS SUBJECT TO AMENDMENT AND SUPPLEMENTATION AS
 APPROPRIATE. WE DO NOT INTEND TO UPDATE THE INFORMATION CONTAINED IN THE
 OFFERING DOCUMENTS FOR ANY INVESTOR WHO HAS ALREADY MADE AN INVESTMENT.
 WE MAY UPDATE THE INFORMATION CONTAINED HEREIN FROM TIME TO TIME AND
 PROVIDE SUCH UPDATED DOCUMENT TO POTENTIAL INVESTORS BUT UNDERTAKE NO
 OBLIGATION TO PROVIDE SUCH UPDATED DOCUMENTS TO AN INVESTOR WHO HAS
 ALREADY MADE HIS OR HER INVESTMENT.




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                           JURISDICTIONAL NOTICES

 FOR RESIDENTS OF ALL STATES:

 THE PRESENCE OF A LEGEND FOR ANY GIVEN STATE REFLECTS ONLY THAT A
 LEGEND MAY BE REQUIRED BY THAT STATE AND SHOULD NOT BE CONSTRUED TO
 MEAN AN OFFER OR SALE MAY BE MADE IN A PARTICULAR STATE. IF YOU ARE
 UNCERTAIN AS TO WHETHER OR NOT OFFERS OR SALES MAY BE LAWFULLY MADE
 IN ANY GIVEN STATE, YOU ARE HEREBY ADVISED TO CONTACT THE COMPANY. THE
 SECURITIES DESCRIBED IN THIS MEMORANDUM HAVE NOT BEEN REGISTERED
 UNDER ANY STATE SECURITIES LAWS (COMMONLY CALLED “BLUE SKY” LAWS).
 THESE SECURITIES MUST BE ACQUIRED FOR INVESTMENT PURPOSES ONLY AND MAY
 NOT BE SOLD OR TRANSFERRED IN THE ABSENCE OF AN EFFECTIVE REGISTRATION
 OF SUCH SECURITIES UNDER SUCH LAWS, OR AN OPINION OF COUNSEL ACCEPTABLE
 TO THE COMPANY THAT SUCH REGISTRATION IS NOT REQUIRED. THE PRESENCE OF
 A LEGEND FOR ANY GIVEN STATE REFLECTS ONLY THAT A LEGEND MAY BE
 REQUIRED BY THE STATE AND SHOULD NOT BE CONSTRUED TO MEAN AN OFFER OF
 SALE MAY BE MADE IN ANY PARTICULAR STATE.

 IN MAKING ANY INVESTMENT DECISION, INVESTORS MUST RELY ON THEIR OWN
 EXAMINATION OF THE PERSON OR ENTITY CREATING THE SECURITIES AND THE
 TERMS OF THE OFFERING, INCLUDING THE MERITS AND RISKS INVOLVED. NO
 FEDERAL OR STATE SECURITIES COMMISSION OR REGULATORY AUTHORITY HAS
 RECOMMENDED     THESE  SECURITIES.   FURTHERMORE,   THE   FOREGOING
 AUTHORITIES HAVE NOT CONFIRMED THE ACCURACY OR DETERMINED THE
 ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY IS
 A CRIMINAL OFFENSE.

 THESE SECURITIES ARE SUBJECT TO RESTRICTIONS ON TRANSFERABILITY AND
 RESALE AND MAY NOT BE TRANSFERRED OR RESOLD EXCEPT AS PERMITTED UNDER
 THE SECURITIES ACT AND THE APPLICABLE STATE SECURITIES LAWS, PURSUANT TO
 REGISTRATION OR EXEMPTION THEREFROM. INVESTORS SHOULD BE AWARE THAT
 THEY WILL BE REQUIRED TO BEAR THE FINANCIAL RISKS OF THIS INVESTMENT FOR
 AN INDEFINITE PERIOD OF TIME.

 1. NOTICE TO ALABAMA RESIDENTS ONLY: THESE SECURITIES ARE OFFERED
    PURSUANT TO A CLAIM OF EXEMPTION UNDER THE ALABAMA SECURITIES ACT. A
    REGISTRATION STATEMENT RELATING TO THESE SECURITIES HAS NOT BEEN FILED
    WITH THE ALABAMA SECURITIES COMMISSION. THE COMMISSION DOES NOT
    RECOMMEND OR ENDORSE THE PURCHASE OF ANY SECURITIES, NOR DOES IT PASS
    UPON THE ACCURACY OR COMPLETENESS OF THESE CONFIDENTIAL OFFERING
    DOCUMENTS. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

 2. NOTICE TO ALASKA RESIDENTS ONLY: IN MAKING AN INVESTMENT DECISION
    INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF THE ISSUER AND THE
    TERMS OF THE OFFERING, INCLUDING THE MERITS AND RISKS INVOLVED. THESE
    SECURITIES HAVE NOT BEEN RECOMMENDED BY ANY FEDERAL OR STATE
    SECURITIES COMMISSION OR REGULATORY AUTHORITY. FURTHER-MORE, THE
    FOREGOING AUTHORITIES HAVE NOT CONFIRMED THE ACCURACY OR DETERMINED
    THE ADEQUACY OF THIS DOCUMENT. ANY REPRESENTATION TO THE CONTRARY IS A
    CRIMINAL OFFENSE. THESE SECURITIES ARE SUBJECT TO RESTRICTIONS ON
    TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR RESOLD

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    EXCEPT AS PERMITTED UNDER THE SECURITIES ACT OF 1933, AS AMENDED, AND THE
    APPLICABLE STATE SECURITIES LAWS, PURSUANT TO REGISTRATION OR EXEMPTION
    THEREFROM. INVESTORS SHOULD BE AWARE THAT THEY MAY BE REQUIRED TO BEAR
    THE FINANCIAL RISKS OF THIS INVESTMENT FOR AN INDEFINITE PERIOD OF TIME.

 3. NOTICE TO ARIZONA RESIDENTS ONLY: THESE SECURITIES HAVE NOT BEEN
    REGISTERED UNDER THE ARIZONA SECURITIES ACT IN RELIANCE UPON AN
    EXEMPTION FROM REGISTRATION PURSUANT TO A.R.S. SECTION 44-1844 (1) AND
    THEREFORE CANNOT BE RESOLD UNLESS THEY ARE ALSO REGISTERED OR UNLESS
    AN EXEMPTION FROM REGISTRATION IS AVAILABLE.

 4. NOTICE TO ARKANSAS RESIDENTS ONLY: THESE SECURITIES ARE OFFERED IN
    RELIANCE UPON CLAIMS OF EXEMPTION UNDER THE ARKANSAS SECURITIES ACT
    AND SECTION 4(2) OF THE SECURITIES ACT OF 1933. A REGISTRATION STATEMENT
    RELATING TO THESE SECURITIES HAS NOT BEEN FILED WITH THE ARKANSAS
    SECURITIES DEPARTMENT OR WITH THE SECURITIES AND EXCHANGE COMMISSION.
    NEITHER THE DEPARTMENT NOR THE COMMISSION HAS PASSED UPON THE VALUE OF
    THESE SECURITIES, MADE ANY RECOMMENDATIONS AS TO THEIR PURCHASE,
    APPROVED OR DISAPPROVED THIS OFFERING OR PASSED UPON THE ADEQUACY OR
    ACCURACY OF THESE CONFIDENTIAL OFFERING DOCUMENTS. ANY REPRESENTATION
    TO THE CONTRARY IS UNLAWFUL.

 5. NOTICE TO CALIFORNIA RESIDENTS: THESE SECURITIES HAVE NOT BEEN
    QUALIFIED OR OTHERWISE APPROVED OR DISAPPROVED BY THE CALIFORNIA
    DEPARTMENT OF CORPORATIONS UNDER THE CALIFORNIA CORPORATIONS CODE.
    THESE SECURITIES ARE OFFERED IN CALIFORNIA IN RELIANCE UPON AN EXEMPTION
    FROM REGISTRATION PROVIDED BY SECTIONS 25100, 25102 OR 25105 OF THE
    CALIFORNIA CORPORATIONS CODE. ACCORDINGLY, DISTRIBUTION OF THIS
    MEMORANDUM AND OFFERS AND SALES OF THE SECURITIES REFERRED TO HEREIN
    ARE STRICTLY LIMITED TO PERSONS WHO THE COMPANY DETERMINES TO HAVE MET
    CERTAIN FINANCIAL AND OTHER REQUIREMENTS. THIS MEMORANDUM DOES NOT
    CONSTITUTE AN OFFER TO SELL OR THE SOLICITATION OF AN OFFER TO BUY WITH
    RESPECT TO ANY OTHER PERSON. IN ORDER TO RELY ON THE FOREGOING
    EXEMPTIONS, THE COMPANY WILL RELY IN TURN ON CERTAIN REPRESENTATIONS
    AND WARRANTIES MADE TO THE COMPANY BY THE INVESTORS IN THIS OFFERING.
    THOSE REPRESENTATIONS AND WARRANTIES ARE CONTAINED IN THE SUBSCRIPTION
    AGREEMENT, ATTACHED HERETO AS EXHIBIT A.

 6. FOR COLORADO RESIDENTS ONLY: THE SALE OF THE SECURITIES WHICH ARE THE
    SUBJECT OF THIS OFFERING HAS NOT BEEN QUALIFIED WITH COMMISSIONER OF
    CORPORATIONS OF THE STATE OF COLORADO AND THE ISSUANCE OF SUCH
    SECURITIES OR PAYMENT OR RECEIPT OF ANY PART OF THE CONSIDERATION
    THEREFORE PRIOR TO SUCH QUALIFICATIONS IS UNLAWFUL, UNLESS THE SALE OF
    SECURITIES IS EXEMPTED FROM QUALIFICATION BY SECTION 25100, 25102, OR 25104
    OF THE COLORADO CORPORATIONS CODE. THE RIGHTS OF ALL PARTIES TO THIS
    OFFERING ARE EXPRESSLY CONDITION UPON SUCH QUALIFICATIONS BEING
    OBTAINED, UNLESS THE SALE IS SO EXEMPT. THE SECURITIES HAVE NOT BEEN
    REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED, OR THE COLORADO
    SECURITIES ACT OF 1991 BY REASON OF SPECIFIC EXEMPTIONS THEREUNDER
    RELATING TO THE LIMITED AVAILABILITY OF THE OFFERING. THESE SECURITIES
    CANNOT BE RESOLD, TRANSFERRED OR OTHERWISE DISPOSED OF TO ANY PERSON OR
    ENTITY UNLESS SUBSEQUENTLY REGISTERED UNDER THE SECURITIES ACT OF 1933,

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    AS AMENDED, OR THE COLORADO SECURITIES ACT OF 1991, IF SUCH REGISTRATION
    IS REQUIRED.

 7. NOTICE TO CONNECTICUT RESIDENTS ONLY: SECURITIES ACQUIRED BY
    CONNECTICUT RESIDENTS ARE BEING SOLD AS A TRANSACTION EXEMPT UNDER
    SECTION 36B-31-21B-9B OF THE CONNECTICUT, UNIFORM SECURITIES ACT. THE
    SECURITIES HAVE NOT BEEN REGISTERED UNDER SAID ACT IN THE STATE OF
    CONNECTICUT. ALL INVESTORS SHOULD BE AWARE THAT THERE ARE CERTAIN
    RESTRICTIONS AS TO THE TRANSFERABILITY OF THE SECURITIES.

 8. NOTICE TO DELAWARE RESIDENTS ONLY: IF YOU ARE A DELAWARE RESIDENT, YOU
    ARE HEREBY ADVISED THAT THESE SECURITIES ARE BEING OFFERED IN A
    TRANSACTION EXEMPT FROM THE REGISTRATION REQUIREMENTS OF THE
    DELAWARE SECURITIES ACT. THE SECURITIES CANNOT BE SOLD OR TRANSFERRED
    EXCEPT IN A TRANSACTION WHICH IS EXEMPT UNDER THE ACT OR PURSUANT TO AN
    EFFECTIVE REGISTRATION STATEMENT UNDER THE ACT OR IN A TRANSACTION
    WHICH IS OTHERWISE IN COMPLIANCE WITH THE ACT.

 9. NOTICE TO DISTRICT OF COLUMBIA RESIDENTS ONLY: THESE SECURITIES HAVE
    NOT BEEN APPROVED OR DISAPPROVED BY THE SECURITIES BUREAU OF THE
    DISTRICT OF COLUMBIA NOR HAS THE COMMISSIONER PASSED UPON THE ACCURACY
    OR ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY
    IS UNLAWFUL.

 10. NOTICE TO FLORIDA RESIDENTS ONLY: THE SECURITIES DESCRIBED HEREIN HAVE
     NOT BEEN REGISTERED WITH THE FLORIDA DIVISION OF SECURITIES AND INVESTOR
     PROTECTION UNDER THE FLORIDA SECURITIES ACT. THE SECURITIES REFERRED TO
     HEREIN WILL BE SOLD TO, AND ACQUIRED BY THE HOLDER IN A TRANSACTION
     EXEMPT UNDER SECTION 517.061 OF SAID ACT. THE SECURITIES HAVE NOT BEEN
     REGISTERED UNDER SAID ACT IN THE STATE OF FLORIDA. EACH FLORIDA RESIDENT
     WHO SUBSCRIBES FOR NOTES HAS THE RIGHT, PURSUANT TO SECTION
     517.061(11)(A)(5) OF THE FLORIDA SECURITIES AND INVESTOR PROTECTION ACT, TO
     WITHDRAW HIS SUBSCRIPTION AND RECEIVE A FULL REFUND OF ALL MONEYS PAID,
     WITHIN THREE (3) BUSINESS DAYS AFTER THE EXECUTION OF THE SUBSCRIPTION
     AGREEMENT AND POWER OF ATTORNEY OR THE PAYMENT FOR AN INTEREST HAS
     BEEN MADE, WHICH EVER IS LATER. WITHDRAWAL WILL BE WITHOUT ANY FURTHER
     LIABILITY TO ANY PERSON. TO ACCOMPLISH THIS WITHDRAWAL, A SUBSCRIBER
     NEED ONLY SEND A LETTER OR A FACSIMILE TO THE COMPANY AT THE ADDRESS SET
     FORTH IN THIS MEMORANDUM, INDICATING HIS INTENTION TO WITHDRAW. SUCH
     LETTER OR FACSIMILE MUST BE SENT AND POSTMARKED PRIOR TO THE END OF THE
     AFOREMENTIONED THIRD BUSINESS DAY. IT IS PRUDENT TO SEND SUCH LETTER BY
     CERTIFIED MAIL, RETURN RECEIPT REQUESTED, TO ENSURE THAT IT IS RECEIVED
     AND ALSO TO EVIDENCE THE TIME WHEN IT WAS MAILED.

 11. NOTICE TO GEORGIA RESIDENTS ONLY: THESE SECURITIES ARE OFFERED IN A
     TRANSACTION EXEMPT FROM THE REGISTRATION REQUIREMENTS OF THE GEORGIA
     SECURITIES ACT PURSUANT TO REGULATION 590-4-5-04 AND -01. THE SECURITIES
     CANNOT BE SOLD OR TRANSFERRED EXCEPT IN A TRANSACTION WHICH IS EXEMPT
     UNDER THE ACT OR PURSUANT TO AN EFFECTIVE REGISTRATION STATEMENT UNDER
     THE ACT OR IN A TRANSACTION WHICH IS OTHERWISE IN COMPLIANCE WITH THE
     ACT.


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 12. NOTICE TO HAWAII RESIDENTS ONLY: NEITHER THESE CONFIDENTIAL OFFERING
     DOCUMENTS NOR THE SECURITIES DESCRIBED HEREIN BEEN APPROVED OR
     DISAPPROVED BY THE COMMISSIONER OF SECURITIES OF THE STATE OF HAWAII NOR
     HAS THE COMMISSIONER PASSED UPON THE ACCURACY OR ADEQUACY OF THESE
     CONFIDENTIAL OFFERING DOCUMENTS.

 13. NOTICE TO IDAHO RESIDENTS ONLY: THESE SECURITIES EVIDENCED HEREBY HAVE
     NOT BEEN REGISTERED UNDER THE IDAHO SECURITIES ACT IN RELIANCE UPON
     EXEMPTION FROM REGISTRATION PURSUANT TO SECTION 30-14-203 OR 302(C)
     THEREOF AND MAY NOT BE SOLD, TRANSFERRED, PLEDGED OR HYPOTHECATED
     EXCEPT IN A TRANSACTION WHICH IS EXEMPT UNDER SAID ACT OR PURSUANT TO AN
     EFFECTIVE REGISTRATION UNDER SAID ACT.

 14. NOTICE TO ILLINOIS RESIDENTS: THESE SECURITIES HAVE NOT BEEN APPROVED OR
     DISAPPROVED BY THE SECRETARY OF THE STATE OF ILLINOIS NOR HAS THE STATE
     OF ILLINOIS PASSED UPON THE ACCURACY OR ADEQUACY OF THE CONFIDENTIAL
     OFFERING DOCUMENTS. ANY REPRESENTATION TO THE CONTRARY IS UNLAWFUL.

 15. NOTICE TO INDIANA RESIDENTS ONLY: THESE SECURITIES ARE OFFERED PURSUANT
     TO A CLAIM OF EXEMPTION UNDER SECTION 23-2-1-2 OF THE INDIANA SECURITIES
     LAW AND HAVE NOT BEEN REGISTERED UNDER SECTION 23-2-1-3. THEY CANNOT
     THEREFORE BE RESOLD UNLESS THEY ARE REGISTERED UNDER SAID LAW OR UNLESS
     AN EXEMPTION FORM REGISTRATION IS AVAILABLE. A CLAIM OF EXEMPTION UNDER
     SAID LAW HAS BEEN FILED, AND IF SUCH EXEMPTION IS NOT DISALLOWED SALES OF
     THESE SECURITIES MAY BE MADE. HOWEVER, UNTIL SUCH EXEMPTION IS GRANTED,
     ANY OFFER MADE PURSUANT HERETO IS PRELIMINARY AND SUBJECT TO MATERIAL
     CHANGE.

 16. NOTICE TO IOWA RESIDENTS ONLY: IN MAKING AN INVESTMENT DECISION
     INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF THE PERSON OR ENTITY
     CREATING THE SECURITIES AND THE TERMS OF THE OFFERING, INCLUDING THE
     MERITS AND RISKS INVOLVED. THESE SECURITIES HAVE NOT BEEN RECOMMENDED;
     THE FOREGOING AUTHORITIES HAVE NOT CONFIRMED THE ACCURACY OR
     DETERMINED THE ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION TO
     THE CONTRARY IS A CRIMINAL OFFENSE. THESE SECURITIES ARE SUBJECT TO
     RESTRICTIONS ON TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED
     OR RESOLD EXCEPT AS PERMITTED UNDER THE SECURITIES ACT OF 1933, AS
     AMENDED, AND THE APPLICABLE STATE SECURITIES LAWS, PURSUANT TO
     REGISTRATION OR EXEMPTION THEREFROM. INVESTORS SHOULD BE AWARE THAT
     THEY WILL BE REQUIRED TO BEAR THE FINANCIAL RISKS OF THIS INVESTMENT FOR
     AN INDEFINITE PERIOD OF TIME.

 17. NOTICE TO KANSAS RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER TO
     PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE
     SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
     EXEMPT FROM REGISTRATION UNDER SECTION 81-5-15 OF THE KANSAS SECURITIES
     ACT AND MAY NOT BE RE-OFFERED FOR SALE, TRANSFERRED, OR RESOLD EXCEPT IN
     COMPLIANCE WITH SUCH ACT AND APPLICABLE RULES PROMULGATED
     THEREUNDER.

 18. NOTICE TO KENTUCKY RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER TO
     PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE

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    SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
    EXEMPT FROM REGISTRATION UNDER TITLE 808 KAR 10:210 OF THE KENTUCKY
    SECURITIES ACT AND MAY NOT BE RE-OFFERED FOR SALE, TRANSFERRED, OR
    RESOLD EXCEPT IN COMPLIANCE WITH SUCH ACT AND APPLICABLE RULES
    PROMULGATED THEREUNDER.

 19. NOTICE TO LOUISIANA RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER TO
     PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE
     SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
     EXEMPT FROM REGISTRATION UNDER RULE 1 OF THE LOUISIANA SECURITIES LAW
     AND MAY NOT BE RE-OFFERED FOR SALE, TRANSFERRED, OR RESOLD EXCEPT IN
     COMPLIANCE WITH SUCH ACT AND APPLICABLE RULES PROMULGATED
     THEREUNDER.

 20. NOTICE TO MAINE RESIDENTS ONLY: THE ISSUER IS REQUIRED TO MAKE A
     REASONABLE FINDING THAT THE SECURITIES OFFERED ARE A SUITABLE
     INVESTMENT FOR THE PURCHASER AND THAT THE PURCHASER IS FINANCIALLY
     ABLE TO BEAR THE RISK OF LOSING THE ENTIRE AMOUNT INVESTED. THESE
     SECURITIES ARE OFFERED PURSUANT TO AN EXEMPTION UNDER §16202(15) OF THE
     MAINE UNIFORM SECURITIES ACT AND ARE NOT REGISTERED WITH THE SECURITIES
     ADMINISTRATOR OF THE STATE OF MAINE. THE SECURITIES OFFERED FOR SALE MAY
     BE RESTRICTED SECURITIES AND THE HOLDER MAY NOT BE ABLE TO RESELL THE
     SECURITIES UNLESS: (1) THE SECURITIES ARE REGISTERED UNDER STATE AND
     FEDERAL SECURITIES LAWS, OR (2) AN EXEMPTION IS AVAILABLE UNDER THOSE
     LAWS.

 21. NOTICE TO MARYLAND RESIDENTS ONLY: IF YOU ARE A MARYLAND RESIDENT AND
     YOU ACCEPT AN OFFER TO PURCHASE THESE SECURITIES PURSUANT TO THESE
     CONFIDENTIAL OFFERING DOCUMENTS, YOU ARE HEREBY ADVISED THAT THESE
     SECURITIES ARE BEING SOLD AS A TRANSACTION EXEMPT UNDER SECTION 11-602(9)
     OF THE MARYLAND SECURITIES ACT. THE SECURITIES HAVE NOT BEEN REGISTERED
     UNDER SAID ACT IN THE STATE OF MARYLAND. ALL INVESTORS SHOULD BE AWARE
     THAT THERE ARE CERTAIN RESTRICTIONS AS TO THE TRANSFERABILITY OF THE
     SECURITIES.

 22. NOTICE TO MASSACHUSETTS RESIDENTS ONLY: THESE SECURITIES HAVE NOT
     BEEN REGISTERED UNDER THE SECURITIES ACT OF 1933, AS AMENDED, OR THE
     MASSACHUSETTS UNIFORM SECURITIES ACT, BY REASON OF SPECIFIC EXEMPTIONS
     THEREUNDER RELATING TO THE LIMITED AVAILABILITY OF THIS OFFERING. THESE
     SECURITIES CANNOT BE SOLD, TRANSFERRED, OR OTHERWISE DISPOSED OF TO ANY
     PERSON OR ENTITY UNLESS THEY ARE SUBSEQUENTLY REGISTERED OR AN
     EXEMPTION FROM REGISTRATION IS AVAILABLE.

 23. NOTICE TO MICHIGAN RESIDENTS ONLY: THESE SECURITIES ARE BEING OFFERED
     IN A TRANSACTION EXEMPT FROM THE REGISTRATION REQUIREMENTS OF THE
     MICHIGAN SECURITIES ACT. THE SECURITIES CANNOT BE SOLD OR TRANSFERRED
     EXCEPT IN A TRANSACTION WHICH IS EXEMPT UNDER THE ACT OR PURSUANT TO AN
     EFFECTIVE REGISTRATION STATEMENT UNDER THE ACT OR IN A TRANSACTION
     WHICH IS OTHERWISE IN COMPLIANCE WITH THE ACT.

 24. NOTICE TO MINNESOTA RESIDENTS ONLY: THESE SECURITIES BEING OFFERED
     HEREBY HAVE NOT BEEN REGISTERED UNDER CHAPTER 80A OF THE MINNESOTA

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    SECURITIES LAWS AND MAY NOT BE SOLD, TRANSFERRED, OR OTHERWISE DISPOSED
    OF EXCEPT PURSUANT TO REGISTRATION, OR AN EXEMPTION THEREFROM.

 25. NOTICE TO MISSISSIPPI RESIDENTS ONLY: THE SECURITIES ARE OFFERED
     PURSUANT TO A CLAIM OF EXEMPTION UNDER THE MISSISSIPPI SECURITIES ACT. A
     REGISTRATION STATEMENT RELATING TO THESE SECURITIES HAS NOT BEEN FILED
     WITH THE MISSISSIPPI SECRETARY OF STATE OR WITH THE SECURITIES AND
     EXCHANGE COMMISSION. NEITHER THE SECRETARY OF STATE NOR THE COMMISSION
     HAS PASSED UPON THE VALUE OF THESE SECURITIES, OR APPROVED OR
     DISAPPROVED THIS OFFERING. THE SECRETARY OF STATE DOES NOT RECOMMEND
     THE PURCHASE OF THESE OR ANY OTHER SECURITIES. EACH PURCHASER OF THE
     SECURITIES MUST MEET CERTAIN SUITABILITY STANDARDS AND MUST BE ABLE TO
     BEAR AN ENTIRE LOSS OF THIS INVESTMENT. THE SECURITIES MAY NOT BE
     TRANSFERRED FOR A PERIOD OF ONE (1) YEAR EXCEPT IN A TRANSACTION WHICH IS
     EXEMPT UNDER THE MISSISSIPPI SECURITIES ACT OR IN A TRANSACTION IN
     COMPLIANCE WITH THE MISSISSIPPI SECURITIES ACT.

 26. FOR MISSOURI RESIDENTS ONLY: THE SECURITIES OFFERED HEREIN WILL BE SOLD
     TO, AND ACQUIRED BY, THE PURCHASER IN A TRANSACTION EXEMPT UNDER
     SECTION 4.G OF THE MISSOURI SECURITIES LAW OF 1953, AS AMENDED. THESE
     SECURITIES HAVE NOT BEEN REGISTERED UNDER SAID ACT IN THE STATE OF
     MISSOURI. UNLESS THE SECURITIES ARE SO REGISTERED, THEY MAY NOT BE OFFERED
     FOR SALE OR RESOLD IN THE STATE OF MISSOURI, EXCEPT AS A SECURITY, OR IN A
     TRANSACTION EXEMPT UNDER SAID ACT.

 27. NOTICE TO MONTANA RESIDENTS ONLY: IN ADDITION TO THE INVESTOR
     SUITABILITY STANDARDS THAT ARE OTHERWISE APPLICABLE, ANY INVESTOR WHO
     IS A MONTANA RESIDENT MUST HAVE A NET WORTH (EXCLUSIVE OF HOME,
     FURNISHINGS AND AUTOMOBILES) IN EXCESS OF FIVE (5) TIMES THE AGGREGATE
     AMOUNT INVESTED BY SUCH INVESTOR IN THE SECURITIES.

 28. NOTICE TO NEBRASKA RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER TO
     PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE
     SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
     EXEMPT FROM REGISTRATION UNDER CHAPTER 15 OF THE NEBRASKA SECURITIES
     LAW AND MAY NOT BE RE-OFFERED FOR SALE, TRANSFERRED, OR RESOLD EXCEPT IN
     COMPLIANCE WITH SUCH ACT AND APPLICABLE RULES PROMULGATED
     THEREUNDER.

 29. NOTICE TO NEVADA RESIDENTS ONLY: IF ANY INVESTOR ACCEPTS ANY OFFER TO
     PURCHASE THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE SECURITIES
     WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION EXEMPT FROM
     REGISTRATION UNDER SECTION NRS 90.530 OF THE NEVADA SECURITIES LAW. THE
     INVESTOR IS HEREBY ADVISED THAT THE ATTORNEY GENERAL OF THE STATE OF
     NEVADA HAS NOT PASSED ON OR ENDORSED THE MERITS OF THIS OFFERING AND THE
     FILING OF THE OFFERING WITH THE BUREAU OF SECURITIES DOES NOT CONSTITUTE
     APPROVAL OF THE ISSUE, OR SALE THEREOF, BY THE BUREAU OF SECURITIES OR THE
     DEPARTMENT OF LAW AND PUBLIC SAFETY OF THE STATE OF NEVADA. ANY
     REPRESENTATION TO THE CONTRARY IS UNLAWFUL. NEVADA ALLOWS THE SALE OF
     SECURITIES TO 25 OR FEWER PURCHASERS IN THE STATE WITHOUT REGISTRATION.
     HOWEVER, CERTAIN CONDITIONS APPLY, I.E., THERE CAN BE NO GENERAL
     ADVERTISING OR SOLICITATION AND COMMISSIONS ARE LIMITED TO LICENSED

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    BROKER-DEALERS. THIS EXEMPTION IS GENERALLY USED WHERE THE PROSPECTIVE
    INVESTOR IS ALREADY KNOWN AND HAS A PRE-EXISTING RELATIONSHIP WITH THE
    COMPANY. (SEE NRS 90.530.11.)

 30. NOTICE TO NEW HAMPSHIRE RESIDENTS ONLY: NEITHER THE FACT THAT A
     REGISTRATION STATEMENT OR AN APPLICATION FOR A LICENSE UNDER THIS
     CHAPTER HAS BEEN FILED WITH THE STATE OF NEW HAMPSHIRE NOR THE FACT THAT
     A SECURITY IS EFFECTIVELY REGISTERED OR A PERSON IS LICENSED IN THE STATE
     OF NEW HAMPSHIRE CONSTITUTES A FINDING BY THE SECRETARY OF STATE THAT
     ANY DOCUMENT FILED UNDER RSA 421-B IS TRUE, COMPLETE AND NOT MISLEADING.
     NEITHER ANY SUCH FACT NOR THE FACT THAT AN EXEMPTION OR EXCEPTION IS
     AVAILABLE FOR A SECURITY OR A TRANSACTION MEANS THAT THE SECRETARY OF
     STATE HAS PASSED IN ANY WAY UPON THE MERITS OR QUALIFICATIONS OF, OR
     RECOMMENDED OR GIVEN APPROVAL TO, ANY PERSON, SECURITY, OR
     TRANSACTION. IT IS UNLAWFUL TO MAKE, OR CAUSE TO BE MADE, TO ANY
     PROSPECTIVE PURCHASER, CUSTOMER, OR CLIENT ANY REPRESENTATION
     INCONSISTENT WITH THE PROVISIONS OF THIS PARAGRAPH.

 31. NOTICE TO NEW JERSEY RESIDENTS ONLY: IF YOU ARE A NEW JERSEY RESIDENT
     AND YOU ACCEPT AN OFFER TO PURCHASE THESE SECURITIES PURSUANT TO THESE
     CONFIDENTIAL OFFERING DOCUMENTS, YOU ARE HEREBY ADVISED THAT THESE
     CONFIDENTIAL OFFERING DOCUMENTS HAVE NOT BEEN FILED WITH OR REVIEWED
     BY THE ATTORNEY GENERAL OF THE STATE OF NEW JERSEY PRIOR TO ITS ISSUANCE
     AND USE. THE ATTORNEY GENERAL OF THE STATE OF NEW JERSEY HAS NOT PASSED
     ON OR ENDORSED THE MERITS OF THIS OFFERING. ANY REPRESENTATION TO THE
     CONTRARY IS UNLAWFUL.

 32. NOTICE TO NEW MEXICO RESIDENTS ONLY: THESE SECURITIES HAVE NOT BEEN
     APPROVED OR DISAPPROVED BY THE SECURITIES DIVISION OF THE NEW MEXICO
     DEPARTMENT OF BANKING NOR HAS THE SECURITIES DIVISION PASSED UPON THE
     ACCURACY OR ADEQUACY OF THESE CONFIDENTIAL OFFERING DOCUMENTS. ANY
     REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

 33. NOTICE TO NEW YORK RESIDENTS ONLY: THIS MEMORANDUM HAVE NOT BEEN
     REVIEWED BY THE ATTORNEY GENERAL OF THE STATE OF NEW YORK PRIOR TO ITS
     ISSUANCE AND USE. THE ATTORNEY GENERAL OF THE STATE OF NEW YORK HAS NOT
     PASSED ON OR ENDORSED THE MERITS OF THIS OFFERING. ANY REPRESENTATION TO
     THE CONTRARY IS UNLAWFUL. THE COMPANY HAS TAKEN NO STEPS TO CREATE AN
     AFTER MARKET FOR THE SECURITIES OFFERED HEREIN AND HAS MADE NO
     ARRANGEMENTS WITH BROKERS OF OTHERS TO TRADE OR MAKE A MARKET IN THE
     SECURITIES. AT SOME TIME IN THE FUTURE, THE COMPANY MAY ATTEMPT TO
     ARRANGE FOR INTERESTED BROKERS TO TRADE OR MAKE A MARKET IN THE
     SECURITIES AND TO QUOTE THE SAME IN A PUBLISHED QUOTATION MEDIUM,
     HOWEVER, NO SUCH ARRANGEMENTS HAVE BEEN MADE AND THERE IS NO
     ASSURANCE THAT ANY BROKERS WILL EVER HAVE SUCH AN INTEREST IN THE
     SECURITIES OF THE COMPANY OR THAT THERE WILL EVER BE A MARKET THEREFORE.

 34. NOTICE TO NORTH CAROLINA RESIDENTS ONLY: IN MAKING AN INVESTMENT
     DECISION, INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF THE PERSON OR
     ENTITY CREATING THE SECURITIES AND THE TERMS OF THE OFFERING, INCLUDING
     MERITS AND RISKS INVOLVED. THESE SECURITIES HAVE NOT BEEN RECOMMENDED
     BY ANY FEDERAL OR STATE SECURITIES COMMISSION OR REGULATORY AUTHORITY.

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    FURTHERMORE, THE FORGOING AUTHORITIES HAVE NOT CONFIRMED ACCURACY OR
    DETERMINED ADEQUACY OF THIS MEMORANDUM. REPRESENTATION TO THE
    CONTRARY IS UNLAWFUL. THESE SECURITIES ARE SUBJECT TO RESTRICTIONS ON
    TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR RESOLD
    EXCEPT AS PERMITTED UNDER THE SECURITIES ACT OF 1933, AS AMENDED, AND
    APPLICABLE STATE SECURITIES LAWS, PURSUANT TO REGISTRATION OR EXEMPTION
    THEREFROM. INVESTORS SHOULD BE AWARE THAT THEY WILL BE REQUIRED TO
    BEAR THE FINANCIAL RISKS OF THIS INVESTMENT FOR AN INDEFINITE PERIOD OF
    TIME.

 35. NOTICE TO NORTH DAKOTA RESIDENTS ONLY: THESE SECURITIES HAVE NOT BEEN
     APPROVED OR DISAPPROVED BY THE SECURITIES COMMISSIONER OF THE STATE OF
     NORTH DAKOTA NOR HAS THE COMMISSIONER PASSED UPON THE ACCURACY OR
     ADEQUACY OF THESE CONFIDENTIAL OFFERING DOCUMENTS. ANY REPRESENTATION
     TO THE CONTRARY IS A CRIMINAL OFFENSE.

 36. NOTICE TO OHIO RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER TO
     PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE
     SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
     EXEMPT FROM REGISTRATION UNDER SECTION 1707.03(X) OF THE OHIO SECURITIES
     LAW AND MAY NOT BE RE-OFFERED FOR SALE, TRANSFERRED, OR RESOLD EXCEPT IN
     COMPLIANCE WITH SUCH ACT AND APPLICABLE RULES PROMULGATED
     THEREUNDER.

 37. NOTICE TO OKLAHOMA RESIDENTS ONLY: THESE SECURITIES ARE OFFERED FOR
     SALE IN THE STATE OF OKLAHOMA IN RELIANCE UPON AN EXEMPTION FROM
     REGISTRATION FOR PRIVATE OFFERINGS. ALTHOUGH A PRIOR FILING OF THESE
     CONFIDENTIAL OFFERING DOCUMENTS AND THE INFORMATION HAS BEEN MADE
     WITH THE OKLAHOMA SECURITIES COMMISSION, SUCH FILING IS PERMISSIVE ONLY
     AND DOES NOT CONSTITUTE AN APPROVAL, RECOMMENDATION OR ENDORSEMENT,
     AND IN NO SENSE IS TO BE REPRESENTED AS AN INDICATION OF THE INVESTMENT
     MERIT OF SUCH SECURITIES. ANY SUCH REPRESENTATION IS UNLAWFUL.

 38. NOTICE TO OREGON RESIDENTS ONLY: THE SECURITIES OFFERED HAVE BEEN
     REGISTERED WITH THE CORPORATION COMMISSION OF THE STATE OF OREGON
     UNDER PROVISIONS OF ORS 59.049. THE INVESTOR IS ADVISED THAT THE
     COMMISSIONER HAS MADE ONLY A CURSORY REVIEW OF THE REGISTRATION
     STATEMENT AND HAS NOT REVIEWED THIS MEMORANDUM SINCE THIS
     MEMORANDUM IS NOT REQUIRED TO BE FILED WITH THE COMMISSIONER. THE
     INVESTOR MUST RELY ON THE INVESTOR’S OWN EXAMINATION OF THE COMPANY
     CREATING THE SECURITIES, AND THE TERMS OF THE OFFERING INCLUDING THE
     MERITS AND RISKS INVOLVED IN MAKING AN INVESTMENT DECISION ON THESE
     SECURITIES.

 39. NOTICE TO PENNSYLVANIA RESIDENTS ONLY: EACH PERSON WHO ACCEPTS AN
     OFFER TO PURCHASE SECURITIES EXEMPTED FROM REGISTRATION BY SECTION
     203(D), DIRECTLY FROM THE ISSUER OR AFFILIATE OF THIS ISSUER, SHALL HAVE THE
     RIGHT TO WITHDRAW HIS ACCEPTANCE WITHOUT INCURRING ANY LIABILITY TO THE
     SELLER, UNDERWRITER (IF ANY) OR ANY OTHER PERSON WITHIN TWO (2) BUSINESS
     DAYS FROM THE DATE OF RECEIPT BY THE ISSUER OF HIS WRITTEN BINDING
     CONTRACT OF PURCHASE OR, IN THE CASE OF A TRANSACTION IN WHICH THERE IS
     NO BINDING CONTRACT OF PURCHASE, WITHIN TWO (2) BUSINESS DAYS AFTER HE

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    MAKES THE INITIAL PAYMENT FOR THE SECURITIES BEING OFFERED. IF YOU HAVE
    ACCEPTED AN OFFER TO PURCHASE THESE SECURITIES MADE PURSUANT TO A
    PROSPECTUS WHICH CONTAINS A NOTICE EXPLAINING YOUR RIGHT TO WITHDRAW
    YOUR ACCEPTANCE PURSUANT TO SECTION 207(M) OF THE PENNSYLVANIA
    SECURITIES ACT OF 1972 (70 PS § 1-207(M), YOU MAY ELECT, WITHIN TWO (2) BUSINESS
    DAYS AFTER THE FIRST TIME YOU HAVE RECEIVED THIS NOTICE AND A PROSPECTUS
    TO WITHDRAW FROM YOUR PURCHASE AGREEMENT AND RECEIVE A FULL REFUND
    OF ALL MONEYS PAID BY YOU. YOUR WITHDRAWAL WILL BE WITHOUT ANY FURTHER
    LIABILITY TO ANY PERSON. TO ACCOMPLISH THIS WITHDRAWAL, YOU NEED ONLY
    SEND A LETTER OR TELEGRAM TO THE ISSUER (OR UNDERWRITER IF ONE IS LISTED
    ON THE FRONT PAGE OF THE CONFIDENTIAL OFFERING DOCUMENTS) INDICATING
    YOUR INTENTION TO WITHDRAW. SUCH LETTER OR TELEGRAM SHOULD BE SENT AND
    POSTMARKED PRIOR TO THE END OF THE AFOREMENTIONED SECOND BUSINESS DAY.
    IF YOU ARE SENDING A LETTER, IT IS PRUDENT TO SEND IT BY CERTIFIED MAIL,
    RETURN RECEIPT REQUESTED, TO ENSURE THAT IT IS RECEIVED AND ALSO EVIDENCE
    THE TIME WHEN IT WAS MAILED. SHOULD YOU MAKE THIS REQUEST ORALLY, YOU
    SHOULD ASK WRITTEN CONFIRMATION THAT YOUR REQUEST HAS BEEN RECEIVED.
    NO SALE OF THE SECURITIES WILL BE MADE TO RESIDENTS OF THE STATE OF
    PENNSYLVANIA WHO ARE NON-ACCREDITED INVESTORS. EACH PENNSYLVANIA
    RESIDENT MUST AGREE NOT TO SELL THESE SECURITIES FOR A PERIOD OF TWELVE
    (12) MONTHS AFTER THE DATE OF PURCHASE, EXCEPT IN ACCORDANCE WITH
    WAIVERS ESTABLISHED BY RULE OR ORDER OF THE COMMISSION. THE SECURITIES
    HAVE BEEN ISSUED PURSUANT TO AN EXEMPTION FROM THE REGISTRATION
    REQUIREMENT OF THE PENNSYLVANIA SECURITIES ACT OF 1972. NO SUBSEQUENT
    RESALE OR OTHER DISPOSITION OF THE SECURITIES MAY BE MADE WITHIN 12
    MONTHS FOLLOWING THEIR INITIAL SALE IN THE ABSENCE OF AN EFFECTIVE
    REGISTRATION, EXCEPT IN ACCORDANCE WITH WAIVERS ESTABLISHED BY RULE OR
    ORDER OF THE COMMISSION, AND THEREAFTER ONLY PURSUANT TO AN EFFECTIVE
    REGISTRATION OR EXEMPTION.

 40. NOTICE TO RHODE ISLAND RESIDENTS ONLY: THESE SECURITIES HAVE NOT BEEN
     APPROVED OR DISAPPROVED BY THE DEPARTMENT OF BUSINESS REGULATION OF
     THE STATE OF RHODE ISLAND NOR HAS THE DIRECTOR PASSED UPON THE ACCURACY
     OR ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY
     IS UNLAWFUL.

 41. NOTICE TO SOUTH CAROLINA RESIDENTS ONLY: THESE SECURITIES ARE BEING
     OFFERED PURSUANT TO A CLAIM OF EXEMPTION UNDER THE SOUTH CAROLINA
     UNIFORM SECURITIES ACT. A REGISTRATION STATEMENT RELATING TO THESE
     SECURITIES HAS NOT BEEN FILED WITH THE SOUTH CAROLINA SECURITIES
     COMMISSIONER. THE COMMISSIONER DOES NOT RECOMMEND OR ENDORSE THE
     PURCHASE OF ANY SECURITIES, NOR DOES IT PASS UPON THE ACCURACY OR
     COMPLETENESS OF THESE CONFIDENTIAL OFFERING DOCUMENTS. ANY
     REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.

 42. NOTICE TO SOUTH DAKOTA RESIDENTS ONLY: THESE SECURITIES ARE BEING
     OFFERED FOR SALE IN THE STATE OF SOUTH DAKOTA PURSUANT TO AN EXEMPTION
     FROM REGISTRATION UNDER THE SOUTH DAKOTA BLUE SKY LAW, CHAPTER 47-31,
     WITH THE DIRECTOR OF THE DIVISION OF SECURITIES OF THE DEPARTMENT OF
     COMMERCE AND REGULATION OF THE STATE OF SOUTH DAKOTA. THE EXEMPTION
     DOES NOT CONSTITUTE A FINDING THAT THESE CONFIDENTIAL OFFERING
     DOCUMENTS ARE TRUE, COMPLETE, AND NOT MISLEADING, NOR HAS THE DIRECTOR

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    OF THE DIVISION OF SECURITIES PASSED IN ANY WAY UPON THE MERITS OF,
    RECOMMENDED, OR GIVEN APPROVAL TO THESE SECURITIES. ANY REPRESENTATION
    TO THE CONTRARY IS A CRIMINAL OFFENSE.

 43. NOTICE TO TENNESSEE RESIDENT ONLY: IN MAKING AN INVESTMENT DECISION
     INVESTORS MUST RELY ON THEIR OWN EXAMINATION OF THE ISSUER AND THE
     TERMS OF THE OFFERING, INCLUDING THE MERITS AND RISKS INVOLVED. THESE
     SECURITIES HAVE NOT BEEN RECOMMENDED BY ANY FEDERAL OR STATE
     SECURITIES COMMISSION OR REGULATORY AUTHORITY. FURTHERMORE, THE
     FOREGOING AUTHORITIES HAVE NOT CONFIRMED THE ACCURACY OR DETERMINED
     THE ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY
     IS A CRIMINAL OFFENSE. THESE SECURITIES ARE SUBJECT TO RESTRICTIONS ON
     TRANSFERABILITY AND RESALE AND MAY NOT BE TRANSFERRED OR RESOLD.
     EXCEPT AS PERMITTED UNDER THE SECURITIES ACT OF 1933, AS AMENDED AND THE
     APPLICABLE STATE SECURITIES LAWS, PURSUANT TO REGISTRATION OR EXEMPTION
     THEREFROM. INVESTORS SHOULD BE AWARE THAT THEY MAY BE REQUIRED TO BEAR
     THE FINANCIAL RISK OF THIS INVESTMENT FOR AN INDEFINITE PERIOD OF TIME.

 44. NOTICE TO TEXAS RESIDENTS ONLY: THE SECURITIES OFFERED HEREUNDER HAVE
     NOT BEEN REGISTERED UNDER APPLICABLE TEXAS SECURITIES LAWS AND,
     THEREFORE, ANY PURCHASER THEREOF MUST BEAR THE ECONOMIC RISK OF THE
     INVESTMENT FOR AN INDEFINITE PERIOD OF TIME BECAUSE THE SECURITIES CANNOT
     BE RESOLD UNLESS THEY ARE SUBSEQUENTLY REGISTERED UNDER SUCH
     SECURITIES LAWS OR AN EXEMPTION FROM SUCH REGISTRATION IS AVAILABLE.
     FURTHER, PURSUANT TO §109.13 UNDER THE TEXAS SECURITIES ACT, THE COMPANY
     IS REQUIRED TO APPRISE PROSPECTIVE INVESTORS OF THE FOLLOWING: A LEGEND
     SHALL BE PLACED, UPON ISSUANCE, ON CERTIFICATES REPRESENTING SECURITIES
     PURCHASED HEREUNDER, AND ANY PURCHASER HEREUNDER SHALL BE REQUIRED
     TO SIGN A WRITTEN AGREEMENT THAT HE WILL NOT SELL THE SUBJECT SECURITIES
     WITHOUT REGISTRATION UNDER APPLICABLE SECURITIES LAWS, OR EXEMPTIONS
     THEREFROM.

 45. NOTICE TO UTAH RESIDENTS ONLY: THESE SECURITIES ARE BEING OFFERED IN A
     TRANSACTION EXEMPT FROM THE REGISTRATION REQUIREMENTS OF THE UTAH
     SECURITIES ACT. THE SECURITIES CANNOT BE TRANSFERRED OR SOLD EXCEPT IN
     TRANSACTIONS WHICH ARE EXEMPT UNDER THE ACT OR PURSUANT TO AN
     EFFECTIVE REGISTRATION STATEMENT UNDER THE ACT OR IN A TRANSACTION
     WHICH IS OTHERWISE IN COMPLIANCE WITH THE ACT.

 46. NOTICE TO VERMONT RESIDENTS ONLY: THESE SECURITIES HAVE NOT BEEN
     APPROVED OR DISAPPROVED BY THE SECURITIES DIVISION OF THE STATE OF
     VERMONT NOR HAS THE COMMISSIONER PASSED UPON THE ACCURACY OR
     ADEQUACY OF THIS MEMORANDUM. ANY REPRESENTATION TO THE CONTRARY IS
     UNLAWFUL.

 47. NOTICE TO VIRGINIA RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER TO
     PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE
     SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
     UNDER SECTION 13.1-514 OF THE VIRGINIA SECURITIES ACT AND MAY NOT BE RE-
     OFFERED FOR SALE, TRANSFERRED, OR RESOLD EXCEPT IN COMPLIANCE WITH SUCH
     ACT AND APPLICABLE RULES PROMULGATED THEREUNDER.


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 48. NOTICE TO WASHINGTON RESIDENTS ONLY: THE ADMINISTRATOR OF SECURITIES
     HAS NOT REVIEWED THE OFFERING OR CONFIDENTIAL PRIVATE PLACEMENT
     MEMORANDUM AND THE SECURITIES HAVE NOT BEEN REGISTERED IN RELIANCE
     UPON THE SECURITIES ACT OF WASHINGTON, CHAPTER 21.20 RCW, AND THEREFORE,
     CANNOT BE RESOLD UNLESS THEY ARE REGISTERED UNDER THE SECURITIES ACT OF
     WASHINGTON, CHAPTER 21.20 RCW, OR UNLESS AN EXEMPTION FROM REGISTRATION
     IS MADE AVAILABLE.

 49. NOTICE TO WEST VIRGINIA RESIDENTS ONLY: IF AN INVESTOR ACCEPTS AN OFFER
     TO PURCHASE ANY OF THE SECURITIES, THE INVESTOR IS HEREBY ADVISED THE
     SECURITIES WILL BE SOLD TO AND ACQUIRED BY IT/HIM/HER IN A TRANSACTION
     EXEMPT FROM REGISTRATION UNDER SECTION 15.06(B)(9) OF THE WEST VIRGINIA
     SECURITIES LAW AND MAY NOT BE REOFFERED FOR SALE, TRANSFERRED, OR RESOLD
     EXCEPT IN COMPLIANCE WITH SUCH ACT AND APPLICABLE RULES PROMULGATED
     THEREUNDER.

 50. NOTICE TO WISCONSIN RESIDENTS ONLY: IN ADDITION TO THE INVESTOR
     SUITABILITY STANDARDS THAT ARE OTHERWISE APPLICABLE, ANY INVESTOR WHO
     IS A WISCONSIN RESIDENT MUST HAVE A NET WORTH (EXCLUSIVE OF HOME,
     FURNISHINGS AND AUTOMOBILES) IN EXCESS OF THREE AND ONE-THIRD (3 1/3) TIMES
     THE AGGREGATE AMOUNT INVESTED BY SUCH INVESTOR IN THE SECURITIES
     OFFERED HEREIN.

 51. FOR WYOMING RESIDENTS ONLY: ALL WYOMING RESIDENTS WHO SUBSCRIBE TO
     PURCHASE SECURITIES OFFERED BY THE COMPANY MUST SATISFY THE FOLLOWING
     MINIMUM FINANCIAL SUITABILITY REQUIREMENTS IN ORDER TO PURCHASE
     SECURITIES: (1) A NET WORTH (EXCLUSIVE OF HOME, FURNISHINGS AND
     AUTOMOBILES) OF TWO HUNDRED FIFTY THOUSAND DOLLARS ($250,000); AND (2) THE
     PURCHASE PRICE OF SECURITIES SUBSCRIBED FOR MAY NOT EXCEED TWENTY
     PERCENT (20%) OF THE NET WORTH OF THE SUBSCRIBER; AND (3) “TAXABLE INCOME”
     AS DEFINED IN SECTION 63 OF THE INTERNAL REVENUE CODE OF 1986, AS AMENDED,
     DURING THE LAST TAX YEAR AND ESTIMATED “TAXABLE INCOME” DURING THE
     CURRENT TAX YEAR SUBJECT TO A FEDERAL INCOME TAX RATE OF NOT LESS THAN
     THIRTY-THREE PERCENT (33%). IN ORDER TO VERIFY THE FOREGOING, ALL
     SUBSCRIBERS WHO ARE WYOMING RESIDENTS WILL BE REQUIRED TO REPRESENT IN
     THE SUBSCRIPTION AGREEMENT THAT THEY MEET THESE WYOMING SPECIAL
     INVESTOR SUITABILITY REQUIREMENTS.




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                                       BASIS OF PRESENTATION

          In this Memorandum, unless the context otherwise requires, we,” “us,” “our,” or the “Company,”
 refers collectively to iCap Pacific Income Fund 5, LLC, a Delaware limited liability company, formed on
 June 25, 2019, the issuer of the Notes in this Offering, and its subsidiaries.

         We use a twelve-month fiscal year ending on December 31st of each calendar year. In a twelve-
 month fiscal year, each quarter includes three-months of operations; the first, second, third and fourth
 quarters end on March 31, June 30, September 30 and December 31, respectively.

          Certain monetary amounts, percentages and other figures included in this Memorandum have been
 subject to rounding adjustments. Percentage amounts included in this Memorandum have not in all cases
 been calculated on the basis of such rounded figures but on the basis of such amounts prior to rounding.
 For this reason, percentage amounts in this Memorandum may vary from those obtained by performing the
 same calculations using the figures in our consolidated financial statements. Certain other amounts that
 appear in this Memorandum may not sum due to rounding.

        Unless otherwise indicated, all references to “dollars” and “$” in this Memorandum are to, and
 amounts are presented in, U.S. dollars.

       Unless otherwise indicated or the context otherwise requires, financial and operating data in this
 Memorandum reflect the consolidated business and operations of the Company and its subsidiaries.

                        MARKET AND INDUSTRY DATA AND FORECASTS

          Certain market and industry data included in this Memorandum is derived from information
 provided by third-party market research firms, or third-party financial or analytics firms that we believe to
 be reliable. Market estimates are calculated by using independent industry publications, government
 publications and third-party forecasts in conjunction with our assumptions about our markets. We have not
 independently verified such third-party information. The market data used in this Memorandum involves a
 number of assumptions and limitations, and you are cautioned not to give undue weight to such
 estimates. Certain data are also based on our good faith estimates, which are derived from management’s
 knowledge of the industry and independent sources. Industry publications, surveys and forecasts generally
 state that the information contained therein has been obtained from sources believed to be reliable, but there
 can be no assurance as to the accuracy or completeness of included information. We have not independently
 verified any of the data from third-party sources nor have we ascertained the underlying economic
 assumptions relied upon therein. Statements as to our market position are based on market data currently
 available to us. While we are not aware of any misstatements regarding any market, industry or similar data
 presented herein, such data involves risks and uncertainties and are subject to change based on various
 factors, including those discussed under the headings “Cautionary Statement Regarding Forward-Looking
 Statements” and “Risk Factors” in this Memorandum. These and other factors could cause results to differ
 materially from those expressed in the estimates made by the independent parties and by us. While we are
 not aware of any misstatements regarding the above matters presented herein, the information described
 above and our estimates involve risks and uncertainties and are subject to change based on various factors,
 including those discussed under the heading “Risk Factors” in this Memorandum. Similarly, we believe our
 internal research is reliable, even though such research has not been verified by any independent sources.

       CAUTIONARY STATEMENT REGARDING FORWARD-LOOKING STATEMENTS

         This Memorandum contains certain forward-looking statements that are subject to various risks
 and uncertainties. Forward-looking statements are generally identifiable by use of forward-looking
 terminology such as “may,” “will,” “should,” “potential,” “intend,” “expect,” “outlook,” “seek,”


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 “anticipate,” “estimate,” “approximately,” “believe,” “could,” “project,” “predict,” or other similar words
 or expressions. Forward-looking statements are based on certain assumptions, discuss future expectations,
 describe future plans and strategies, contain financial and operating projections or state other forward-
 looking information. Our ability to predict results or the actual effect of future events, actions, plans or
 strategies is inherently uncertain. Although we believe that the expectations reflected in our forward-
 looking statements are based on reasonable assumptions, our actual results and performance could differ
 materially from those set forth or anticipated in our forward-looking statements. Factors that could have a
 material adverse effect on our forward-looking statements and upon our business, results of operations,
 financial condition, funds derived from operations, cash available for dividends, cash flows, liquidity and
 prospects include, but are not limited to, the factors referenced in this Memorandum, including those set
 forth below.

         When considering forward-looking statements, you should keep in mind the risk factors and other
 cautionary statements in this Memorandum. Readers are cautioned not to place undue reliance on any of
 these forward-looking statements, which reflect our views as of the date of this Memorandum. The matters
 summarized below and elsewhere in this Memorandum could cause our actual results and performance to
 differ materially from those set forth or anticipated in forward-looking statements. Accordingly, we cannot
 guarantee future results or performance. Furthermore, except as required by law, we are under no duty to,
 and we do not intend to, update any of our forward-looking statements after the date of this Memorandum,
 whether as a result of new information, future events or otherwise.

                           CONFIDENTIALITY AND RELATED MATTERS

           Each recipient hereof agrees by accepting this Memorandum that the information contained herein
 is of a confidential nature and that such recipient will treat such information in a strictly confidential manner
 and that such recipient will not, directly or indirectly, disclose or permit its affiliates or representatives to
 disclose, any information to any other person or entity, or reproduce such information, in whole or in part,
 without the prior written consent of the Company.

         Each recipient of this Memorandum further agrees to use the information solely for the purpose of
 analyzing the desirability of an investment in the Notes to such recipient and for no other purpose
 whatsoever.

       ANY REPRODUCTION OR DISTRIBUTION OF THIS MEMORANDUM AND EXHIBITS, IN
 WHOLE OR IN PART, OR THE DIVULGENCE OF ANY OF ITS CONTENTS WITHOUT THE PRIOR
 WRITTEN CONSENT OF THE COMPANY IS PROHIBITED. NO PERSON IS AUTHORIZED TO
 GIVE ANY INFORMATION OR MAKE ANY REPRESENTATION NOT CONTAINED IN THIS
 MEMORANDUM OR AN AUTHORIZED SUMMARY HEREOF, OR IN ANY AGREEMENT
 CONTEMPLATED HEREBY, AND ANY INFORMATION OR REPRESENTATION NOT
 CONTAINED HEREIN OR IN SUCH AUTHORIZED SUMMARY OR AGREEMENT MUST NOT BE
 RELIED UPON.

                                RESTRICTIONS ON TRANSFERABILITY

       SINCE THE SECURITIES OFFERED HEREBY ARE NOT BEING REGISTERED UNDER
 THE SECURITIES ACT OF 1933, AS AMENDED, THE SECURITIES CANNOT BE SOLD BY AN
 INVESTOR UNLESS THEY ARE SUBSEQUENTLY REGISTERED UNDER SUCH ACT, OR
 UNLESS AN EXEMPTION FROM REGISTRATION IS AVAILABLE AT THE TIME OF DESIRED
 SALE. THEREFORE, A PURCHASER MUST BE ABLE TO BEAR THE ECONOMIC RISK OF THE
 INVESTMENT FOR AN INDEFINITE PERIOD OF TIME.

                                                     TAXES


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       PROSPECTIVE INVESTORS ARE NOT TO CONSTRUE THE CONTENTS OF THIS
 MEMORANDUM AS LEGAL OR TAX ADVICE. THE TAX ASPECTS OF AN INVESTMENT IN THE
 NOTES REQUIRE CAREFUL AND INFORMED STUDY WITH RESPECT TO AN INVESTOR’S
 PERSONAL TAX AND FINANCIAL POSITION. ACCORDINGLY, NO PERSON SHOULD INVEST
 IN THE NOTES WITHOUT PRIOR INDEPENDENT EXPERT ADVICE AS TO THE TAX IMPACT
 OF AN INVESTMENT IN THE NOTES. EACH PROSPECTIVE INVESTOR SHOULD CONSULT HIS
 OR HER OWN COUNSEL, ACCOUNTANT AND OTHER ADVISORS AS TO LEGAL, TAX AND
 RELATED MATTERS PRIOR TO PURCHASING ANY NOTES. NOTHING IN THIS
 MEMORANDUM SHOULD BE CONSTRUED AS LEGAL OR TAX ADVICE TO POTENTIAL
 INVESTORS.

      A COPY OF THIS MEMORANDUM AND THE SUBSCRIPTION AGREEMENTS SHALL BE
 DELIVERED TO EVERY PERSON SOLICITED TO BUY ANY OF THE SECURITIES HEREBY
 OFFERED, AT THE TIME OF THE INITIAL OFFER TO SELL.

                        WHERE YOU CAN OBTAIN MORE INFORMATION

         This Memorandum contains limited information on the Company. While we believe the
 information contained in this Memorandum is accurate, this Memorandum is not meant to contain an
 exhaustive discussion regarding the Company. We cannot guarantee a prospective investor that the
 abbreviated nature of this Memorandum will not omit to state a material fact, which a prospective investor
 may believe to be an important factor in determining if an investment in the Notes offered hereby is
 appropriate for such investor. As a result, prospective investors are required to undertake their own due
 diligence of the Company, our current and proposed business and operations, our management and our
 financial condition to verify the accuracy and completeness of the information we are providing in this
 Memorandum. An investment in the Notes is suitable only for investors who have the knowledge and
 experience to independently evaluate the Company, our business and prospects.

         Prospective investors may make an independent examination of our books, records and other
 documents to the extent an investor deems it necessary, and should not rely on us or any of our employees
 or agents with respect to judgments relating to an investment in the Notes.

         Each offeree may, if he, she or it so desires, make inquiries of appropriate members of our
 management with respect to our business or any other matters set forth herein, and may obtain any
 additional information which such person deems to be necessary in order to verify the accuracy of the
 information contained in this Memorandum (to the extent that we possess such information or can acquire
 it without unreasonable effort or expense) upon the execution and delivery of an agreement to maintain the
 confidentiality of such information for the benefit of the Company.

          Any such inquiries or requests for additional information or documents should be made in writing
 to us, addressed as follows:


                                  iCap Pacific Income Fund 5, LLC
                                  3535 Factoria Blvd. SE, Suite 500
                                         Bellevue, WA 98006
                                       ATTN: Investor Relations
                               OFC: (425) 278-9030; FAX: (425) 278-9025
                                   EMAIL: inquiry@icapequity.com




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                                                 SUMMARY

          This summary of this Memorandum highlights material information concerning our business and
 this Offering. This summary does not contain all of the information that you should consider before making
 your investment decision. You should carefully read this entire Memorandum, including the information
 presented under the section entitled “Risk Factors” and the financial data and related notes, before making
 an investment decision. This summary contains forward-looking statements that involve risks and
 uncertainties. Our actual results may differ significantly from future results contemplated in the forward-
 looking statements as a result of factors such as those set forth in “Risk Factors” and “Cautionary
 Statement Regarding Forward-Looking Statements.”

          The following is a summary of selected terms of the Company and the Notes. This summary is not
 intended as a summary of all principal terms and is qualified in its entirety by the more detailed descriptions
 set forth below, including the Subscription Agreements attached hereto as Exhibit A (the “Subscription
 Agreement”). Capitalized terms used in this Summary and not otherwise defined have the meanings given
 to them elsewhere in this Memorandum.


  The Company                    iCap Pacific Income Fund 5, LLC, a Delaware limited liability company is
                                 an affiliate of iCap Equity, LLC, a Bellevue, Washington-based investment
                                 firm formed in 2011. “iCap Equity” or “iCap,” as used in this Memorandum,
                                 refers to iCap Enterprises, Inc. (the parent company of iCap Equity, LLC)
                                 and its affiliated group of companies (excluding the Company).

                                 See “The Company” commencing on page 8.

  Purpose                        The primary purpose of the Company is to acquire real estate investments in
                                 the United States and provide a rate of return to its investors. The Company
                                 has formed iCap Holding 5, LLC (“Holding”) as a wholly owned subsidiary
                                 of the Company, and Holding shall own an interest in one or more standalone
                                 subsidiaries (each a “Portfolio SPE”), which will then hold real property
                                 investments. The Company’s business plan targets preferred equity
                                 investments into construction and development projects, with individual
                                 investment amounts generally in the $500,000 to $2,000,000 range. There is
                                 no specific limit or requirement as to the size of the projects that the Company
                                 may undertake.

                                 See “The Company” commencing on page 8.

  Manager                        The Company is managed by iCap Pacific NW Management, LLC, a
                                 Washington limited liability company (the “Manager”). The Company will
                                 pay the Manager an annual management fee equal to 2% of the outstanding
                                 aggregate principal balances of the Notes outstanding from time to time.

                                 See “The Company – Members and Management” commencing on page 9.

  The Offering                   The Company is issuing up to $50,000,000 (with an over-allotment amount
                                 of $25,000,000, for a maximum total of $75,000,000) in aggregate principal
                                 amount of Notes, provided that the Company may issue other additional
                                 promissory notes or other instruments at any time, subject to the limitations
                                 set forth below. The minimum individual investment is $50,000, with any
                                 amounts in excess thereof being permitted, and all subscriptions, whether for


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                          the minimum investment amount, or more or less than this amount, are
                          subject to the acceptance or rejection by the Manager in its sole discretion.
                          The Company may limit the maximum amount of outstanding principal
                          payment obligations owed to any one Noteholder or its affiliates.

                          The Company will offer the Notes for a period commencing on the date of
                          this Memorandum and expiring on June 30, 2020, unless extended by us for
                          up to 12 months. There is no minimum amount that must be subscribed for
                          in order for this Offering to close and for the subscription funds to be released
                          to the Company, and the Company may conduct one or more closings as it
                          determines.

                          The Company may terminate, or amend the terms of, this Offering at any
                          time.

                          See “The Offering” commencing on page 3.

  The Notes               The Notes will accrue interest at the rate of 9% per annum, simple interest,
                          non-compounding, based on a 365-day year, provided, however, that the
                          interest rate applicable to the first $10 million of aggregate principal amount
                          of Notes issued in this Offering will be 10% per annum for the first year and
                          thereafter 9% per year (as applicable, the “Interest Rate”). Interest will be
                          paid monthly commencing the month after the issuance date. Investors will
                          have the option of directing their monthly interest to an account of their
                          choosing. Investors will have the option of demanding repayment of all or
                          any part of their outstanding principal and unpaid accrued interest, any time
                          after the 1-year anniversary of their investment date, subject to a limit of no
                          more repayments than 5% of the combined Notes of the Company per
                          quarter. Upon any demand for repayment prior to the 5th anniversary of the
                          issuance date of the Note, a discount will be applied to the amount
                          outstanding under the Note, depending on the time from the issuance of the
                          Note at which the repayment demand is received by the Company.

                          Upon a request for demand repayment, the Company will pay the principal
                          within 180 days after the date notice is delivered. The Company may prepay
                          all or any part of the Notes without penalty at any time prior to the Maturity
                          Date. If not earlier paid, the outstanding principal and unpaid accrued interest
                          on the Notes will be due and payable 5 years after the issue date of the Note.

                          See “The Notes” commencing on page 3.

  Security and            The Notes will be secured by a pledge of Holding’s equity interests in the
  Guaranty; Collateral    Portfolio SPEs, and Holding shall enter into a guaranty agreement for the
  Agent                   benefit of the Noteholders.

                          The Company has entered into a Collateral Agent Agreement with
                          MarketPlace Realty Advisors, LLC, pursuant to which MarketPlace Realty
                          Advisors, LLC will act as “Collateral Agent” for the benefit of the
                          Noteholders.

                          See “The Notes” commencing on page 3 and “Security and Guaranty;
                          Collateral Agent” on page 5.


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  Expenses                      The Company will bear all costs and expenses incurred in the organization of
                                the Company and this Offering and potential future offerings, and will
                                reimburse Manager for any such costs and expenses advanced by Manager.
                                The Company will also pay the Manager an annual management fee of 2%
                                of the aggregate principal balances of the Notes outstanding from time to
                                time. With the exception of employee payroll expenses, which will be paid
                                by the Manager, all other expenses will be borne by the Company. Each
                                investor will bear his, her or its own fees and expenses incurred in connection
                                with this Offering.

                                See “The Company - Management Fees; Transactions with Related Parties”
                                on page 13.

                                             THE OFFERING

         The Company is offering for sale up to $50,000,000 of aggregate principal amount (with an over-
 allotment amount of $25,000,000, for a maximum total of $75,000,000) of promissory notes. The Offering
 is being made by the Company on a “best efforts” basis only to persons who are “accredited investors” as
 defined in Rule 501(a) of Regulation D promulgated under the Securities Act. The Company has engaged
 Cobalt Capital, Inc. as the Managing Broker Dealer in this Offering, and the Company will pay
 commissions as set forth in the Plan of Distribution commencing on page 14, based on the aggregate
 principal amount of the Notes sold to investors.

         The Company will attempt to sell the Notes during an offering period commencing on the date of
 this Memorandum and expiring on June 30, 2020, unless extended by us for up to 12 month (the “Offering
 Period”) or earlier terminated as set forth herein.

          The minimum individual investment is $50,000, with any amount in excess of $50,000 being
 permissible at the Manager’s discretion. All subscriptions are subject to acceptance or rejection by the
 Manager in its sole discretion. The Manager may change, or accept less than, the minimum investment
 amount in its discretion. The Company may limit the maximum amount of outstanding principal payment
 obligations owed to any one investor or its affiliates. There is no minimum amount that must be subscribed
 for in order for this Offering to close and for the subscription funds to be released to the Company, and the
 Company may conduct one or more closings as it determines. In order to subscribe for a Note, prospective
 investors must follow the directions set forth in “Subscription Procedures” commencing on page 18.

          An investor must be prepared to bear the economic risk of an investment in the Notes for an
 indefinite period of time. An investor in the Notes, pursuant to the Subscription Agreement and applicable
 law, will not be permitted to transfer or dispose of the Notes, unless they are registered for resale or such
 transaction is exempt from registration under the Securities Act and other applicable securities laws, and in
 the case of a purportedly exempt sale, such investor provides (at his or her own expense) an opinion of
 counsel satisfactory to us that such exemption is, in fact, available. The Notes will bear a legend relating
 to such restrictions on transfer.

          This Offering may be withdrawn or terminated by the Company at any time. The Manager reserves
 the right to reject a subscription for Notes, in whole or in part in its sole discretion.

                                                THE NOTES

         The Notes will bear interest at a rate of 9% per year, provided, however, that the first $10 million
 of aggregate principal amount of Notes issued in this Offering will bear interest at the rate of 10% per
 annum for the first year and then 9% per annum thereafter. Interest will be simple interest, non-

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 compounding. The Notes will have a maturity date 5 years following the issuance date (the “Maturity
 Date”); however, an Investor may request repayment of funds any time after the 1-year anniversary of the
 date of Investment, as discussed below. In order to allow the Company to continue its operations
 successfully, no more than 5% of the aggregate Note balances may be repaid in a given calendar quarter.
 Interest will accrue based on a 365-day year, and will be paid monthly. All remaining principal and interest
 will be due and payable on the Maturity Date, other than as set forth below. The Company may prepay all
 or any part of the Notes without penalty at any time prior to the Maturity Date. If the Company makes any
 prepayment, the prepayments need not be made ratably against all outstanding Notes, and the Company
 may prepay some Notes while not prepaying others. If not earlier paid, whether pursuant to a Demand
 Notice (as described below) or full prepayment by the Company, outstanding principal and unpaid accrued
 interest on the Notes will be due and payable on the Maturity Date.

         At any time following the 1-year anniversary of the issuance date, a Noteholder may require the
 Company to repay all or a portion of principal and accrued interest on the Note, subject to the limitations
 and deductions below, by providing a demand notice to the Company (“Demand Notice”). Such notice may
 be delivered via First Class US mail, or electronically via email to an account representative, or through the
 Company’s website at www.icapequity.com or its licensed software application (the “App”). The App,
 which will be available to Noteholders through mobile devices and desktops, will allow the Noteholder to
 review his/her transaction history, provide Demand Notice requests, purchase additional Notes, agree to
 investment documentation, send messages to the Company, and receive notices from the Company.
 Information on the foregoing website is not incorporated into this Memorandum.

         Upon delivery of a demand for redemption, a discount will be applied to the amount outstanding
 under the Note which is to be repaid, as follows:

             x   For redemption demands received by the Company prior to the second anniversary of the
                 issuance date of the Note, the repayment amount requested will be reduced by 10%, such
                 that 90% of the repayment amount in the demand repayment will be repaid, and the
                 remaining 10% of the repayment amount in the demand repayment will be deemed forgiven
                 and satisfied in full.

             x   For redemption demands received by the Company after the second anniversary of the
                 issuance date of the Note but prior to the third anniversary of the issuance date of the Note,
                 the repayment amount requested will be reduced by 7.5%, such that 92.5% of the
                 repayment amount in the demand repayment will be repaid, and the remaining 7.5% of the
                 repayment amount in the demand repayment will be deemed forgiven and satisfied in full.

             x   For redemption demands received by the Company after the third anniversary of the
                 issuance date of the Note but prior to the fourth anniversary of the issuance date of the
                 Note, the repayment amount requested will be reduced by 5%, such that 95% of the
                 repayment amount in the demand repayment will be repaid, and the remaining 5% of the
                 repayment amount in the demand repayment will be deemed forgiven and satisfied in full.

             x   For redemption demands received by the Company after the fourth anniversary of the
                 issuance date of the Note but prior to the fifth anniversary of the issuance date of the Note,
                 the repayment amount requested will be reduced by 2.5%, such that 97.5% of the
                 repayment amount in the demand repayment will be repaid, and the remaining 2.5% of the
                 repayment amount in the demand repayment will be deemed forgiven and satisfied in full.

         Upon receipt of a Demand Notice, the Company will pay the requested amount subject to the
 deductions as set forth above (the “Demand Payment”) within 180 days after the Demand Notice was
 received. For those investors not wishing to utilize the Company website at www.icapequity.com or the
 App, a form of the Demand Notice is attached as Exhibit A to the Note, a form of which is attached hereto

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 as Exhibit B.

       The Company may not incur additional indebtedness for the sole purpose of making any Demand
 Repayments.

         Each Note may be amended by the Company and the applicable Noteholder. However, the Note
 also contains a “deemed consent” provision, which provides that if the Company has provided the
 Noteholder with two notices of a proposed amendment (or any other consent, approval or waiver required
 or requested) and the Noteholder has not responded to either notice within 10 days of delivery, the
 Noteholder will be deemed to have consented, in writing, to the proposed amendment, approval, consent or
 waiver, and the Company may rely on such deemed consent.

         The description of the Notes set forth herein is qualified in its entirety by the form of Note as
 attached hereto as Exhibit B.

                        SECURITY AND GUARANTY; COLLATERAL AGENT

          The Notes will be secured by a Pledge and Security Agreement entered into on September 5, 2019,
 by the Company, Holding and MarketPlace Realty Advisors, LLC (“Collateral Agent”) in its capacity as
 collateral agent for the benefit of the Noteholders (the “Security Agreement”), pursuant to which Holding
 will pledge all of the membership interests of the Portfolio SPEs for the benefit of the Noteholders. The
 Security Agreement is attached hereto as Exhibit C.

          The Company and the Collateral Agent have entered into the Collateral Agent Agreement, dated
 as of September 5, 2019 (the “Collateral Agent Agreement”), pursuant to which the Collateral Agent will
 receive and distribute certain notices with respect to the Notes, the Security Agreement and the Guaranty,
 and will generally act as the agent of the Holder with respect to the Pledged Interests and the Guaranty. All
 notices from the Noteholders will be transmitted through the Collateral Agent, other than Demand
 Repayments and similar communications which pertain to solely one Noteholder, as opposed to the
 Noteholders as a group, and the Company may send notices either directly to a Noteholder or through the
 Collateral Agent to the Noteholder(s). Each investor in this Offering, as a condition thereto, shall be
 required to execute a counterpart signature page to the Collateral Agent Agreement and become a party
 thereto. Investors will not join the Security Agreement or the Guaranty Agreement as a party, as their rights
 thereunder will be represented by the Collateral Agent. The Collateral Agent Agreement is attached hereto
 as Exhibit E, and a counterpart signature page thereto is attached to the Subscription Agreement.

          Pursuant to the Security Agreement and to secure the prompt payment and full and faithful
 performance of the obligations of the Company to the Noteholders pursuant to the Notes, Holding will grant
 a security interest in its membership interests in the Portfolio SPEs for the benefit of the Noteholders (the
 “Pledged Interests”). In the event that an Event of Default (as defined below) occurs, as determined and
 claimed by Noteholders holding a majority of the principal amount of the Notes then outstanding (subject
 to the limitation on voting as set forth below, a “Majority-in-Interest of the Noteholders”), then, as
 determined by a Majority-in-Interest of the Noteholders, the Noteholders may direct the Agent to exercise
 the rights and pursue the remedies provided under Articles 8 and 9 of the Uniform Commercial Code (the
 “UCC”) with respect to the Pledged Interests, including the right to exercise all voting rights with respect
 to the Pledged Interests, collecting all dividends and other distributions with respect to the Pledged Interests,
 and foreclosing the liens and security interest created under the Security Agreement by any available
 judicial procedure or without judicial process and selling the Pledged Interests.

          The Security Agreement provides that the Company may make tax distributions to its members,
 subject to any limitations in the operating agreement of the Company (the “Operating Agreement”) which
 provides that, if there are any Notes issued and outstanding, the Company may not make any distributions
 to its members (other than tax distributions, which are required to be made, as further discussed below)

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 unless approved by a Majority-in-Interest of the Noteholders. The Operating Agreement requires the
 payment of tax distributions (i.e., distributions in the amount of taxes payable by such members on the
 apportioned income of the entities) to the members of the Company, regardless of whether an Event of
 Default exists and without any approval of the Noteholders being required. Management Fees and other
 fees and costs payable to the Manager as described below are not distributions, and will be paid regardless
 of whether a default or an Event of Default has occurred and is continuing or the value of the Company’s
 assets, and without any approval of the Noteholders being required.

           The Security Agreement provides that the Company, Holding and their respective subsidiaries may
 utilize leverage in making investments, but the maximum amount of leverage that the Company may incur,
 without the approval of a Majority-in-Interest of the Noteholders, will be 25% of the total outstanding Note
 balances (e.g. if there are $50 million of Notes outstanding, then the maximum leverage incurable without
 such approval will be $12.5 million). The Security Agreement also provides that the Company, Holding
 and their respective subsidiaries may issue promissory notes that are senior to the Notes, but that any such
 issuances in excess of 25% of the total outstanding Note balances will require the approval of a Majority-
 in-Interest of the Noteholders.

         In addition, Holding has entered into a Guaranty Agreement in favor of the Noteholders with the
 Company pursuant to which Holding has guaranteed the obligations of the Company under the Notes (the
 “Guaranty Agreement”), which is attached hereto as Exhibit D. The Guaranty Agreement provides that,
 during the continuation of an Event of Default, the Agent, on behalf of the Noteholders, may enforce the
 guaranty against Holding, but only after attempting to collect or exhausting the Agent’s efforts to collect
 from the Company. Any actions with respect to the Guaranty Agreement must similarly be agreed to by a
 Majority-in-Interest of the Noteholders pursuant to the Collateral Agent Agreement.

         The Security Agreement, the Guaranty Agreement and the Collateral Agent Agreement may each
 be amended by the Company entities a party thereto, with the approval of Noteholders holding a majority
 of the aggregate principal amount of the Notes then outstanding, and with the approval of the Collateral
 Agent with respect to the Collateral Agent Agreement. However, the Security Agreement, the Guaranty
 Agreement and the Collateral Agent Agreement each also contain a “deemed consent” provision, which
 provides that if the Company entity (the Company or Holding, as applicable) has provided the Investor with
 two notices of the proposed amendment (or any other consent, approval or waiver requested or required)
 and the Investor has not responded to either notice within 10 days, the Investor will be deemed to have
 consented, in writing, to the proposed amendment, approval, consent or waiver, and the Company entities
 may rely on such deemed consent.

         The description of the Security Agreement set forth herein is qualified in its entirety by the Security
 Agreement as attached hereto as Exhibit C, the description of the Guaranty Agreement set forth herein is
 qualified in its entirety by the Guaranty Agreement as attached hereto as Exhibit D, and the description of
 the Collateral Agent Agreement set forth herein is qualified in its entirety by the Collateral Agent
 Agreement as attached hereto as Exhibit E.

          The Notes will be junior to any credit facilities that are put in place by the Company related to its
 operations, and the real property assets of the Company and its direct or indirect subsidiaries may be used
 as collateral for such credit facilities. Additionally, the Notes will be junior to any project related financing
 of the Portfolio SPEs, such as construction and other loans of such Portfolio SPEs.

          The Portfolio SPEs will be controlled by the Company, but the Company will not be the sole
 member of the Portfolio SPEs, as the developers of the projects will also have an interest therein; however,
 profits distributions on the Portfolio SPE level cannot be paid to the developers until the Company has been
 paid as agreed under the operating agreements of the Portfolio SPEs. These developers, however, may still
 receive payment for their customary fees and costs, including the construction and other loans as described
 above, which will be charged on an arms’-length basis, and will be paid prior to the Company receiving

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 any payment under the operating agreements of the Portfolio SPEs. In this regard, the Notes will be
 subordinate to the obligations due under the SPEs.

         Prior to the time that the Company utilizes the proceeds from this Offering to acquire real estate,
 and other than for the use of proceeds related to this Offering and the formation of the Company as set forth
 below, the Company will retain the funds from this Offering in its non-segregated operating accounts at
 commercial banks.

         The Notes are subject to four possible “Events of Default.” It is an “Event of Default” if any of the
 following occur, and the Company has not rectified such event within 90 days of receipt of notice thereof
 signed by a Majority-in-Interest (subject to the discussion below) of the Noteholders:

         (i) The Company fails to make a Demand Payment when due;

         (ii) the Company fails to perform any of its material obligations under the Note, or is in breach in
              any material respect of any representation, warranty, covenant or agreement on the part of the
              Company set forth in the Note;

         (iii) the Company commences any liquidation or dissolution proceedings or filing of a petition in
               bankruptcy under any provisions of federal or state bankruptcy law or consents to the filing of
               any bankruptcy petition against it under any similar law; or

         (iv) the Company fails to pay all amounts due under the Notes on the Maturity Date.

          Only a Majority-in-Interest of the Noteholders can declare an Event of Default, and then only after
 the 90-day cure period has expired without the Company rectifying the applicable situation. However, a
 particular Noteholder is not entitled to vote for (or against) the declaration of an “Event of Default” unless,
 as of the time of such vote, the applicable Event of Default has occurred and is continuing under the Note
 held by such Noteholder, provided, however, that the principal amount under that Noteholder’s Note will
 continue to be counted for purposes of determining the aggregate principal amount of Notes then
 outstanding for purposes of determining whether Noteholders holding a sufficient principal amount of
 Notes have elected to declare an “Event of Default.”

          If an Event of Default occurs, the interest rate will be increased to 15% per annum (the “Default
 Rate”), which Default Rate will remain in place until the Note is either paid as due or such Event of Default
 is cured.

         If the Event of Default is as described in clause (i), (ii), or (iv) above, a Majority-in-Interest of the
 Noteholders will have the right to declare only the applicable Note(s) which are subject to the Event of
 Default due and payable. If the Event of Default is as described in clause (iii) above, a Majority-in-Interest
 of the Noteholders will have the right to declare all of the Notes due and payable.

          Upon delivery of written notice to the Company of such default, the Company will have 30 days to
 honor the payment obligation. If the Company fails to honor the repayment obligation within this time
 period, then a Majority-in-Interest of the Noteholders will have the right to direct the Collateral Agent to
 proceed to enforce the security granted to the noteholders pursuant to the Security Agreement and to enforce
 the Guaranty Agreement.

         Notwithstanding the above, the Notes provide that in the event that the Company defaults on the
 terms of any particular Note, but such default is not applicable to a sufficient quantity of the Notes such
 that an “Event of Default” can be declared, the Default Rate will apply to that particular Note, and that
 particular Note will be immediately due and payable. In such an instance, the holder of the defaulted Note
 may still proceed against the Company for damages and payment of the principal amount of such Note;

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 however such particular Noteholder would not be able to enforce the rights under the Security Agreement
 or the Guaranty Agreement, without first obtaining the majority approval of Noteholders which is required
 to declare an “Event of Default” thereunder.

                                              THE COMPANY

 The Company and its Operations

          iCap Pacific Income Fund 5, LLC is a newly formed Delaware limited liability company and is an
 affiliate of iCap Equity, LLC, a Bellevue, Washington-based investment firm formed in 2011. The
 Company has been established to provide an investment vehicle that generates an ongoing rate of return, is
 secured by interests of the Portfolio SPEs, and has a liquidity mechanism for investors.

          The primary purpose of the Company is to acquire preferred equity interests in real estate holdings,
 which primarily consist of construction and development projects in selected metropolitan statistical areas
 in the United States (each, a “Portfolio Investment”). Portfolio Investments will be held in standalone
 Portfolio SPEs, which will be owned by Holding and the builders or developers who manage the projects
 (each a “Project Partner”). The Company’s business plan targets the acquisition of short-term (less than 24-
 months) real estate investments with Project Partners who have strong track records of success. The equity
 interests of the Portfolio SPEs will secure the amounts due under the Notes. Portfolio investments are
 typically in the $500,000 to $2,000,000 range, although there is no limit or requirement on the size of the
 investments that the Company may make.

           The geographic areas in which the Company invests are determined by selecting metropolitan
 statistical areas upon consultation with market professionals and in-depth review of economic data. The
 Company may adjust its investment criteria to accommodate changing market conditions, but will generally
 seek attractive locations with strong exit potential and proven Project Partners.

         The Manager anticipates that the Company will be exempt from the registration requirements of
 the Investment Company Act of 1940, as amended.

       POTENTIAL INVESTORS SHOULD RECOGNIZE THAT BY PURCHASING NOTES THEY
 WILL NOT THEREBY ACQUIRE ANY INTEREST, DIRECTLY OR INDIRECTLY, IN THE
 COMPANY OR ANY OF THE PRIOR PROGRAMS OR ANY FUTURE PROGRAM SPONSORED BY
 THE MANAGER OR ITS AFFILIATES. INVESTORS SHOULD RECOGNIZE THAT ANY PRIOR
 PERFORMANCE OR TRACK RECORD INFORMATION RECEIVED REGARDING THE
 MANAGER AND ITS AFFILIATES AS SET FORTH HEREIN IS GIVEN SOLELY TO ALLOW
 INVESTORS TO ASSESS THE EXPERIENCE OF THE MANAGER AND ITS AFFILIATES. THE
 MANAGER AND ITS AFFILIATES MAY CONTINUE TO ENGAGE IN MANAGEMENT AND
 INVESTMENT ACTIVITIES RELATED TO PRE-EXISTING INVESTMENTS AND ACTIVITIES OR
 OPERATIONS OF THE PRIOR FUNDS AS WELL AS FUTURE INVESTMENTS OR FUNDS.

 Investment Strategy

          The Company’s portfolio investments will consist of a variety of real estate types, including without
 limitation single-family homes, multi-family apartments, townhomes, and mixed-use properties, generally
 in construction and development phases. The revenue generated from the Investment Portfolio will be used
 to pay interest and principal on the Notes and fund its operations.

         To build its Investment Portfolio, the Company will identify metropolitan statistical areas within
 which to purchase properties. The Company has developed proven processes and controls to evaluate
 possible investment opportunities. The process begins by identifying metropolitan statistical areas within
 the U.S. (“Markets”) with strong economic fundamentals that are likely to result in reliable exit strategies

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 and strong returns. The Markets are selected after review of reports and analysis provided by economics
 professionals, as well as the Company’s internal staff. After reviewing the information, a committee
 consisting of key members of the management team (the “Investment Committee”) may approve a Market.
 After a Market has been approved, the Company’s acquisition team will search for investment opportunities
 for the Company that meet the criteria of the applicable investment policies of the Company.

         Every investment opportunity will undergo due diligence performed by the Company’s
 underwriting staff, who will then present investment opportunities to the Investment Committee for its
 review and approval. The Investment Committee may delegate investment decision-making authority to
 sub-teams, provided such investments meet the fundamental criteria established by the Investment
 Committee. The Company will complete diligence on prospective investments and maintain closing
 procedures that provide for the safety of the invested funds, such as the involvement of a third-party escrow
 company. The investment process has three major areas of focus: analysis and approval, documentation
 and closing, and post-closing management.

 Meeting Demand Payment Obligations

          The Company will have cash reserves available to honor Demand Repayments and the Company
 may, in its discretion, cause Holding to dispose of some or all of its investment holdings to reposition the
 portfolio or to meet the Company’s payment obligations. The cash reserves maintained by the Company
 may also be used to purchase properties, make tax or other distributions to its member (subject to the
 approval rights of the Noteholders as discussed below), make interest payments under the Notes, or cover
 the costs of the Company’s day-to-day operations. The Company is not required to incur additional
 indebtedness (and may not issue additional promissory notes) for the sole purpose of making any Demand
 Repayments.

 Members and Management

          The sole member of the Company is iCap Equity, LLC, which is owned by iCap Enterprises, Inc.,
 a Washington corporation wholly owned by Chris Christensen. The primary officers of iCap Enterprises,
 Inc. are Chris Christensen and Jim Christensen, whose biographies are below.

           The manager of the Company is iCap Pacific NW Management, LLC, a Washington limited
 liability company (the “Manager”). The officers of the Manager are also the officers of iCap Enterprises,
 Inc. The management and supervision of the Company is vested exclusively in the Manager (including its
 duly appointed agents), which has full control over the business and affairs of the Company pursuant to the
 Operating Agreement.

         Our direct organizational structure is as shown in the chart below.




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                                                   iCap Enterprises, Inc.



                                                     iCap Equity, LLC


                           iCap Pacific NW Management, LLC
                                        (Manager)



                                              iCap Pacific Income Fund 5, LLC




                                                    iCap Holding 5, LLC



                                             [Portfolio SPE]    [Portfolio SPE]



          The Manager may delegate day-to-day management responsibility of the Company to any person,
 provided that the Manager will retain ultimate responsibility for the management and conduct of the
 activities of the Company and all decisions relating to the selection and disposition of the Company’s
 investments.

 Biographies of Management Personnel

         Chris Christensen, President

           Chris leads the senior management team and oversees all facets of the organization, with a
 particular emphasis on business strategy, legal and finance structuring. Prior to forming the Company, Chris
 managed affiliated funds, formed and managed affiliates of the Manager, including Edge Construction,
 LLC and iCap Enterprises, Inc., and has advised numerous lenders, developers and borrowers with regard
 to their start-up and operating needs, including financial structuring and asset protection. Chris holds a Juris
 Doctor degree from Seattle University School of Law, a Master’s degree in International Business from
 Seattle University, and a Bachelor of Arts degree in Economics from the University of Utah. He is the
 brother of Jim Christensen.

         Jim Christensen, Chief Operating Officer

          Jim is iCap’s Chief Operating Officer and assists the President with the day-to-day operations of
 iCap and its investment funds, including overseeing investment underwriting, project and construction
 management, project financing, disposition of distressed assets, and management of the various strategic
 relationships involving iCap and its affiliates. In addition, he is responsible for the technology-related
 underpinnings of iCap. This includes electronic document storage, electronic process automation, and
 software management. Prior to the formation of the Company, Jim managed all aspects of construction,
 development, finance and risk control of multifamily and single family residential and commercial real
 estate projects throughout Washington State for iCap Enterprises, Inc. Jim has experience dealing with
 jurisdictional issues relating to site development and vertical construction, as well as budget preparation,
 project underwriting and legal structuring. Jim holds a Master of Business Administration degree and a
 Bachelor of Arts degree in Economics from the University of Washington. Jim is the brother of Chris
 Christensen.

 Organizational Strength and Experience

          The members of the senior management team have completed a variety of projects in the small-cap
 real estate space. The team, through its combined experience, has closed in excess of $8 billion in
 transactions in the small and mid-cap spaces.


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          iCap also maintains a network of strategic relationships. The team leverages relationships with
 sourcing, development, construction, and fund administration constituents to maintain a pipeline of real
 estate investment opportunities. Property owners, builders, developers, lenders and brokers are the primary
 sources for deal flow.

          iCap has capacity to expand its team to manage large amounts of capital from the sale of the Notes
 and to deploy such proceeds towards real estate that meets its investment criteria. iCap has invested
 significant resources to build the technology and infrastructure needed to manage large amounts of
 noteholders, capital, and real estate-based investments. The number of employees who manage this
 infrastructure will grow as the capital under management increases.

         The Manager and its affiliates have never been denied a license to practice a trade or business or
 ever experienced an event of bankruptcy, receivership, assignment for the benefit of creditors or similar
 proceeding.

 Investment Experience

         As a newly formed investment vehicle, the Company has no operating or prior performance history.
 The information presented in this section represents the limited historical experience of the principals of
 the Manager and its affiliates. Prospective investors in the Company should not rely on the information
 below as being indicative of the types of investments the Company may make or of the types of returns the
 Company’s investments may generate. Prospective investors should not assume that the Company will
 experience returns, if any, comparable to those described herein.

         Although this Memorandum refers to “iCap” as though it were an entity capable of taking action,
 prospective investors should bear in mind that such references are intended to refer to the business activities
 undertaken by one or more of the companies constituting a part of this affiliated group of companies. The
 Company will not acquire an interest in any of iCap’s affiliated entities other than Holding, but may benefit
 from their collective experience, inasmuch as those entities, as well as their respective employees, will be
 available to assist the Manager, and therefore the Company, as it conducts its business.
          The Company’s management team has overseen 57 full-cycle investments in this strategy among
 its other funds. As the following table illustrates, these investments achieved an average ROI of 27.39%,
 an average annualized ROI of 18.30%, and an average IRR of 20.26%.




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                                                                                                                 Investment                        Net Gain/Loss   Days          Actual Actual
                                                                                                                                                                         Actual Annualiz
                         Fund                               Project: Project Name       Project: Project Type      Amount        Payoff Amount     on Investment   Held   ROI            IRR
                                                                                                                                                                                 ed ROI
 iCap Northwest Opportunity Fund, LLC                    13th & Emerson, LLC         Townhome                     $957,600.00      $1,035,844.78      $78,244.78      66     8%     54%    54%
 iCap Northwest Opportunity Fund, LLC                    1756 NW 60th St, LLC        Townhome                     $266,590.30        $331,871.94      $65,281.64     363     24%    25%     55%
 iCap Northwest Opportunity Fund, LLC                    23rd and Gilman, LLC        Townhome                     $729,127.80      $1,050,000.00     $320,872.20     460     44%    34%     34%
 iCap Northwest Opportunity Fund, LLC                    313 Prospect Residence, LLC Single Family Residence      $317,098.60        $555,976.53     $238,877.93     765     75%    31%     33%
 iCap Northwest Opportunity Fund, LLC                    76th Ave SE Partners, LLC   Single Family Residence      $536,500.00        $925,098.84     $388,598.84     821     72%    27%     27%
 iCap Northwest Opportunity Fund, LLC                    9041 48th, LLC              Townhome                     $530,910.00        $597,095.33      $66,185.33     167     12%    29%     30%
 iCap Northwest Opportunity Fund, LLC                    BDR Kirkland V, LLC         Single Family Residence     $1,246,000.00     $1,505,508.55     $259,508.55     206     21%    40%     41%
 iCap Northwest Opportunity Fund, LLC                    Hayden Meadows, LLC         Single Family Residence     $1,084,010.80     $1,301,575.81     $217,565.01     398     20%    18%     30%
 iCap Northwest Opportunity Fund, LLC                    iCap Finn Hill LLC          Single Family Residence     $1,491,229.99     $1,062,689.63    -$428,540.36    1238    -29%    -10%   -29%
 iCap Northwest Opportunity Fund, LLC                    iCap Finn Meadows LLC       Single Family Residence     $2,141,131.84     $1,912,409.99    -$228,721.85    1213    -11%    -3%     -6%
 iCap Northwest Opportunity Fund, LLC                    iCap Lakeview LLC           Single Family Residence     $2,445,151.59     $1,804,800.00    -$640,351.59    1528    -26%    -7%    -14%
 iCap Northwest Opportunity Fund, LLC                    iCap Northcreek, LLC        Single Family Residence     $1,933,253.14     $1,432,035.44    -$501,217.70    1036    -26%    -10%    -9%
 iCap Northwest Opportunity Fund, LLC                    iCap Rhody Ridge LLC        Single Family Residence     $3,441,509.02     $3,388,887.17     -$52,621.85    1296     -2%     0%     -1%
 iCap Northwest Opportunity Fund, LLC                    KBRI6, LLC                  Single Family Residence      $890,266.94        $780,563.41    -$109,703.53    1022    -12%    -5%     -5%
 iCap Northwest Opportunity Fund, LLC                    Lake Union Estates, LLC     Apartment                   $4,433,765.01     $4,671,980.27     $238,215.26     552      5%     4%      4%
 iCap Northwest Opportunity Fund, LLC                    Mercer 36, LLC              Single Family Residence      $264,609.60        $493,156.91     $228,547.31     753     86%    35%     35%
 iCap Northwest Opportunity Fund, LLC                    Pearl and Delores, LLC      Townhome                     $678,239.60      $1,047,141.28     $368,901.68     590     54%    31%     34%
 iCap Northwest Opportunity Fund, LLC                    Senza Sammamish, LLC        Single Family Residence     $2,870,876.03     $3,019,997.54     $149,121.51     926      5%     2%      2%
 iCap Northwest Opportunity Fund, LLC                    Seward Park Partners, LLC   Single Family Residence      $535,200.00        $984,312.14     $449,112.14     673     84%    39%     39%
 iCap Northwest Opportunity Fund, LLC                    TCG Investments, LLC        Apartment                   $1,276,618.50     $1,572,627.25     $296,008.75     426     23%    20%     57%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   13 Ave W, LLC               Townhome                     $525,000.00      $1,015,053.35     $490,053.35     789     93%    36%     40%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   13th & Emerson, LLC         Townhome                     $601,310.00        $923,129.92     $321,819.92     742     54%    23%     50%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   1st Ave NE Development,     Townhome                     $630,240.00      $1,061,631.89     $431,391.89     491     68%    47%     47%
                                                         LLC
 iCap Pacific Northwest Opportunity & Income Fund, LLC   4422 Woodlawn, LLC          Townhome                     $182,100.00        $268,735.41      $86,635.41     346     48%    51%     51%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   725 Broadway LLC            Apartment                   $1,064,373.57     $1,136,561.35      $72,187.78    1851      7%     1%      1%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   9041 48th, LLC              Townhome                     $820,528.36        $995,907.52     $175,379.16    1506     21%     5%      8%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Alamo NW, LLC               Commercial                  $1,396,404.14     $1,738,657.36     $342,253.22     461     25%    19%     21%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Aloha Ventures, LLC         Townhome                     $372,500.00        $646,517.47     $274,017.47     585     74%    41%     41%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Ankeny Building, LLC        Apartment                   $1,704,500.00     $2,665,223.38     $960,723.38     554     56%    34%     35%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Barcelo Madison Park, LLC Condo                          $840,414.35      $1,882,548.49 $1,042,134.14      1547    124%    21%     26%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   BDR Kirkland II, LLC        Single Family Residence      $833,000.00      $1,678,742.88     $845,742.88     853    102%    35%     38%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   BDR Medina III, LLC         Single Family Residence     $1,296,032.50     $2,362,705.55 $1,066,673.05       738     82%    35%     40%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   BDR Yarrow Point II, LLC    Single Family Residence      $724,999.99      $1,432,610.91     $707,610.92     702     98%    42%     44%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Capitol Hill Development,   Apartment                   $1,034,752.86     $1,713,268.20     $678,515.34     481     66%    47%     54%
                                                         LLC
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Charlestown Street, LLC     Townhome                    $1,039,999.90     $1,466,392.26     $426,392.36     453     41%    32%     34%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Colpitts Sunset LLC         Apartment                   $1,579,074.68     $3,000,000.00 $1,420,925.32       814     90%    33%     34%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Denali Townhomes LLC        Apartment                    $199,321.89              $0.00    -$199,321.89    1783   -100%   -100%   -100%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   ENT Ventures I, LLC         Apartment                   $1,948,884.00     $2,531,472.56     $582,588.56     613     30%    17%     18%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   ENT Ventures II, LLC        Apartment                    $430,389.82        $596,604.98     $166,215.16     868     39%    15%     18%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   ENT Ventures IV, LLC        Apartment                    $400,358.79        $527,567.34     $127,208.55    1323     32%     8%     14%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   High Country Soundview       Single Family Residence    $3,329,207.99     $1,147,270.90 -$2,181,937.09     1444    -66%    -24%   -54%
                                                         Manor, LLC
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Hillsboro Acquisition I, LLC Commercial                 $1,606,500.00     $1,777,012.23     $170,512.23     102     11%    43%     43%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   iCap Delridge Way, LLC      Townhome                     $408,652.84        $512,531.62     $103,878.78    1173     25%     7%      9%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   iCap Finn Hill LLC          Single Family Residence     $3,061,618.00     $2,314,707.59    -$746,910.41    1334    -24%    -7%    -25%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   iCap Finn Meadows LLC       Single Family Residence      $150,949.35        $199,161.65      $48,212.30     518     32%    22%     21%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   iCap Lakeview LLC           Single Family Residence     $1,040,852.42     $1,201,937.73     $161,085.31     138     15%    46%     46%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   iCap Rhody Ridge LLC        Single Family Residence     $1,308,845.98     $1,282,931.62     -$25,914.36    1281     -2%    -1%     -2%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   KR3, LLC                    Single Family Residence      $357,892.44        $500,000.00     $142,107.56     468     40%    30%     31%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Lake Sammamish Home 1,      Single Family Residence      $404,518.60        $835,024.98     $430,506.38     274    106%   163%    227%
                                                         LLC
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Lyle 113th Ave, LLC         Single Family Residence      $883,648.75        $735,724.67    -$147,924.08     815    -17%    -8%    -12%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Meridian Greens Holdings,   Apartment                   $2,410,825.27        $21,078.22 -$2,389,747.05     1401    -99%    -71%   -91%
                                                         LLC
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Ruby 62 Holdings, LLC       Apartment                   $1,795,428.77       $217,159.69 -$1,578,269.08     1539    -88%    -39%   -39%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Sampson 45th Avenue, LLC Single Family Residence        $1,782,998.71     $1,181,026.15    -$601,972.56     861    -34%    -16%   -47%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Steadman 170th, LLC         Single Family Residence      $569,656.14        $686,798.62     $117,142.48     880     21%     8%     14%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   TCG Investments, LLC        Apartment                   $1,100,002.00     $2,165,208.47 $1,065,206.47      1173     97%    23%     31%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Volare Townhomes, LLC       Townhome                     $916,221.50      $1,079,103.42     $162,881.92     329     18%    20%     27%
 iCap Pacific Northwest Opportunity & Income Fund, LLC   Woodlawn Ave Townhomes, Townhome                         $401,876.25        $592,679.58     $190,803.33     346     47%    51%     51%
                                                         LLC
 Total                                                   57                                                     $67,223,568.62                                             27.39% 18.30% 20.26%




         The performance of these prior investments should not be considered any guaranty or
 representation of the results to be achieved by the Company, or by an Investor in this Offering.




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 Management Fees; Transactions with Related Parties

         The Company will pay the Manager an annual management fee equal to 2% of the outstanding
 aggregate principal balances of the Notes outstanding from time to time (“Management Fee”). The
 Management Fee for the first year will be fully earned and paid at the time of investment. Thereafter, the
 Management Fee will be paid in arrears on the last day of each calendar quarter and will be calculated on
 the average daily outstanding principal balances of the Notes during the applicable quarter.

         The Company will pay all expenses related to the operation of the Company, other than the payroll
 of the Manager. These costs that will be paid by the Company include the fees and expenses related to this
 Offering, as well as a share of the office rent and fees, office common area maintenance charges, phone,
 fax, and internet access, computer hardware and related supplies, general office supplies, office rental of
 fax, printers, or scanners and maintenance costs related thereto, consulting, legal, accounting, and
 professional fees, marketing and travel expenses and any business licenses and registrations required of the
 Company or the Manager as a result of its management of the Company.

        The Manager may elect to pay any of these Company expenses, in which event the Company will
 reimburse the Manager for those out-of-pocket costs.

         The Manager may charge a Portfolio SPE a fee to cover the costs of due diligence and underwriting
 involved in closing a real estate purchase or disposition. This fee, which may be payable by the Portfolio
 SPE or the Project Partner on or after closing of the purchase or disposition, will be non-refundable and
 will typically be less than $15,000. Additionally, in the event the Company or the Manager acquires or
 becomes an affiliate of a real estate brokerage company, the Company may pay customary brokerage fees
 to such entity for the acquisition or disposition of the Company’s assets.

          Under the Operating Agreement the Manager is required to cause the Company to distribute to any
 member of the Company, a cash distribution equal to the taxes that such member would owe on the income
 attributed to it from the Company pursuant to the Internal Revenue Code, less any amounts that have been
 distributed to such member(s) in the applicable year. At any time when any Notes remain issued and
 outstanding, the Company and the Manager may not make any other distributions to the members of the
 Company (other than the tax distributions above) without the prior written approval of a Majority-in-
 Interest of the Noteholders. In the event that there are no Notes then issued and outstanding, the Company
 may made such other distributions to its members as determined by the Manager.

           The Company may engage, or cause a Portfolio SPE to engage, an affiliate of the Company to
 provide the Portfolio SPEs with services. The Company shall not pay compensation to such affiliated entity
 at a rate that is higher than is standard in the market. In the event the Company enlists the services of any
 affiliate of the Manager identified below, the rates of compensation of these affiliates for the performance
 of their various services will be limited and all payments will be subject to inspection by auditors upon
 request by an investor. A description of the affiliated entities and the agreed upon rates are set forth below.
 To the extent the market rates for these services increase over time, the Company may pay rates in excess
 of the rates set forth below. Additionally, to the extent the Company in the future provides services that
 are not listed below, such services must be provided at reasonable market rates.

          If the Manager, or an affiliate of the Manager or the Company, guarantees, whether personally or
 otherwise, a loan, bond or other obligation of the Company, a holding company, or a Portfolio SPE, that
 guarantor will be entitled to receive from the benefiting entity an annual fee equal to 1% of the total amount
 of the credit facility, bond amount, or other obligation that is the subject of the guarantee.

        The Company may engage the services of certain related or affiliated parties to provide services to
 the Company in connection with its operations. These include the following:

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         Edge Construction, LLC or an affiliated general contractor: Expected to provide general
 contracting services, including those related to new construction of and rehabilitation of real estate projects,
 and is expected to receive a fee of cost plus 10%. Costs include the costs of management of a project,
 including costs of project management, supervision, materials and labor, each of which will be billed at
 hourly rates, which are currently between $30 and $180 per hour.

         iCap Enterprises, Inc.: Expected to Provide development and consulting services, as well as
 accounting and administrative support at hourly rates which are currently between $30 and $200 per hour.

          The Manager or any affiliate of the Manager may also charge the Company or any of its subsidiaries
 a fee for any professional service rendered for the benefit of the Company or any of its subsidiaries in
 accordance with the rates outlined by the Manager or any affiliate of the Manager from time to time, which
 will be within the range of standard market rates for such services. The Manager may also charge the project
 SPEs of the Company or the builders and developers, as a project cost, an origination fee for placing capital
 into each real estate investment, which fees will be no more than what is typically charged for private real
 estate-based financing investments, but which will generally be less than 5% of the capital placed. The
 Manager may charge a due diligence fee to any potential sponsor, builder, developer, or owner of a real
 estate project or investment opportunity in which the Company might reasonably make an investment, to
 cover the expenses related to due diligence and underwriting of the investment.

                                            USE OF PROCEEDS

          The proceeds of this Offering will be used to pay expenses related to the Company’s formation and
 operations and for this Offering, including as set forth below in “PLAN OF DISTRIBUTION” and to
 purchase and manage preferred equity real estate positions through Portfolio SPEs. The proceeds will be
 used to cover costs associated with this process, such as marketing, management fees, and professional
 service fees. The Company expects to pay organizational expenses of approximately $450,000, which
 include the cost of forming the Company, Holding and the Portfolio SPEs and the cost of marketing and
 management associated with the Company’s fundraising efforts, including technology infrastructure and
 the cost of preparing this Memorandum, but excluding selling commissions and similar costs. As discussed
 above, the Company has engaged Cobalt Capital, Inc. as the Managing Broker Dealer in this Offering, who
 will assemble a selling group of other broker dealers and registered investment advisors. Proceeds from
 this Offering will also be used to pay the management fee to the Manager as discussed above.

                                         PLAN OF DISTRIBUTION

         The Company has entered into an exclusive engagement agreement (the “Engagement Agreement”)
 with Cobalt Capital, Inc. (“Cobalt”) to serve as managing broker dealer of the Offering. The exclusivity
 period continues until the Offering has been closed.

          The Notes will be offered on a “best efforts” basis (which means that there is no guarantee that any
 minimum amount will be sold). There is no minimum amount that must be subscribed for in order for this
 Offering to close and for the subscription funds to be released to the Company, and the Company may
 conduct one or more closings as it determines. Cobalt will engage other broker dealers (“Selling Group
 Members”) to assist in privately placing the Notes. Cobalt will retain a fee of 2.25% of the Gross Proceeds
 of this Offering for serving as the managing dealer in the Offering.

          Cobalt and its officers, employees and affiliates may purchase Notes in the Offering. Such Notes
 will be counted toward the maximum offering amount of $50,000,000 (not including the $25,000,000 over-
 allotment amount, the “Maximum Offering Amount”). Cobalt and the Company may, in their sole
 discretion, accept offers to purchase Notes net (or partially net) of the commissions and expense
 reimbursements described in this Memorandum in certain circumstances deemed appropriate by either of
 them, including by way of illustration, from Investors purchasing through a registered investment advisor

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 (“RIA”), or from Investors who are affiliates of the Company or any member of the Selling Group. The
 Company may also make sales to registered representatives of the Selling Group or to their spouses and
 affiliates, in each case net of sales commissions.

        The amount of selling commission payable to Cobalt or any Selling Group member may be reduced
 or waived by Cobalt or the Selling Group member, as applicable, in their sole discretion, with respect to
 investments by those investors (i) who buy at least $350,000 of Notes themselves or whose direct family
 members buy at the same time at least $350,000 of Notes in the aggregate (for this purpose, a “direct family
 member” shall mean the investor and his or her grandparents, parents, siblings, spouse, children and
 grandchildren), (ii) who have engaged the services of a registered investment advisor who is paid a fixed
 or “wrap” fee in lieu of Selling Commissions, or (iii) who are “registered representatives” of a Selling
 Group member.

          We have agreed to indemnify Cobalt from and against losses, claims, damages or liabilities
 (collectively, the “Damages”) arising out of the Offering, except for Damages resulting from Cobalt’s
 breach of the Engagement Agreement, including gross negligence or willful misconduct as more fully set
 forth in the Engagement Agreement.

          The Company is offering a maximum offering amount of up to $50,000,000 in Notes, with an over-
 allotment amount of an additional $25,000,000. If the Maximum Offering Amount ($50,000,000) is
 subscribed, the net proceeds to the Company from the sale of Notes, after deducting selling commissions
 and related fees, and estimated organizational and Offering expenses, is anticipated to be $44,675,000. The
 following table sets forth the details of these fees and the funds available for investment in the Company’s
 real estate strategy as described in this Memorandum.

                                                           Sale of Maximum Offering       Percentage of
                                                                    Amount               Gross Proceeds
    Gross Proceeds From Investors                                $50,000,000                    100.00%
      Less: Selling Commission (1)                                $3,000,000                      6.00%
      Less: Due Diligence Fee (2)                                   $750,000                      1.50%
      Less: Managing Dealer Fee (3)                               $1,125,000                      2.25%
       Less: Organizational and Offering Expenses                   $450,000                       0.90%
    Available for Investment (before reserves)                   $44,675,000                     89.35%


     (1) The Managing Dealer will receive a Selling Commission in an amount up to 6% of the aggregate
         principal amount of Notes issued (“Gross Proceeds”), which it will re-allocate to the Selling Group
         Members.

     (2) The Managing Dealer will receive a marketing and due diligence fee of 1.5% of the Gross Proceeds
         which it will re-allocate to Selling Group Members.

     (3) The Managing Dealer will also receive a fee of 2.25% of the Gross Proceeds for serving as the
         managing dealer in the Offering.

        At any given time, the Company will maintain cash reserves to meet demand payments, interest
 payments, and operational requirements. With the exception of employee payroll expenses, which will be
 covered by the Manager, all other expenses will be borne by the Company.



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                                INVESTOR SUITABILITY STANDARDS

 General

         An investment in our Notes involves a high degree of risk and is suitable only for persons of
 substantial financial means who have no need for liquidity in their investment. Our Notes are only suitable
 for those who desire a relatively long-term investment for which they do not need liquidity until the
 anticipated return on investment as set forth in this Memorandum.

          The offer, offer for sale, and sale of our Notes is intended to be exempt from the registration
 requirements of the Securities Act pursuant to Rule 506(b) of Regulation D promulgated thereunder as to
 “accredited investors” and is intended to be exempt from the registration requirements of applicable state
 securities laws as a federally covered security. This Offering is directed to “accredited investors,” as that
 term is defined in Rule 501(a) of Regulation D as promulgated by the SEC.

         A subscriber must be an accredited investor as defined in Rule 501(a) of Regulation D and meet one
 (or more) of the investor suitability standards below to purchase Notes. Fiduciaries must also meet one of
 these conditions. If the investment is a gift to a minor, the custodian or the donor must meet these conditions.
 For purposes of the net worth calculations below, net worth is the amount by which assets exceed liabilities,
 but excluding your house, home furnishings or automobile(s) among your assets. In the subscription
 agreement, a subscriber will have to confirm satisfaction of these minimum standards:

             x    Each investor must have the ability to bear the economic risks of investing in the Notes.

             x    Each investor must have sufficient knowledge and experience in financial, business or
                  investment matters to evaluate the merits and risks of the investment.

             x    Each investor must represent and warrant that the Notes to be purchased are being acquired
                  for investment and not with a view to distribution.

             x    Each investor will make other representations to us in connection with the purchase of the
                  Notes, including representations concerning the investor’s degree of sophistication, access
                  to information concerning the Company, and ability to bear the economic risk of the
                  investment.

 Suitability Requirements

         Rule 501(a) of Regulation D defines an “accredited investor” as any person who comes within any
 of the following categories, or whom the issuer reasonably believes comes within any of the following
 categories, at the time of the sale of the securities to that person:

         (1) Any bank as defined in section 3(a)(2) of the Securities Act, or any savings and loan association
         or other institution as defined in section 3(a)(5)(A) of the Securities Act whether acting in its
         individual or fiduciary capacity; any broker or dealer registered pursuant to section 15
         of the Exchange Act; any insurance company as defined in section 2(a)(13) of the Securities Act;
         any investment company registered under the Investment Company Act of 1940 or a business
         development company as defined in section 2(a)(48) of that Act; any Small Business Investment
         Company licensed by the U.S. Small Business Administration undersection 301(c) or (d)
         of the Small Business Investment Act of 1958; any plan established and maintained by a state, its
         political subdivisions, or any agency or instrumentality of a state or its political subdivisions, for
         the benefit of its employees, if such plan has total assets in excess of $5,000,000; any employee
         benefit plan within the meaning of the Employee Retirement Income Security Act of 1974 if the
         investment decision is made by a plan fiduciary, as defined in section 3(21) of such act, which is

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         either a bank, savings and loan association, insurance company, or registered investment adviser,
         or if the employee benefit plan has total assets in excess of $5,000,000 or, if a self-directed plan,
         with investment decisions made solely by persons that are accredited investors;

         (2) Any private business development company as defined in section 202(a)(22) of the Investment
         Advisers Act of 1940;

         (3) Any organization described in section 501(c)(3) of the Internal Revenue Code, corporation,
         Massachusetts or similar business trust, or partnership, not formed for the specific purpose of
         acquiring the securities offered, with total assets in excess of $5,000,000;

         (4) Any director, executive officer, or general partner of the issuer of the securities being offered
         or sold, or any director, executive officer, or general partner of a general partner of that issuer;

         (5) Any natural person whose individual net worth, or joint net worth with that person‘s spouse,
         exceeds $1,000,000;

         (6) Any natural person who had an individual income in excess of $200,000 in each of the two most
         recent years or joint income with that person‘s spouse in excess of $300,000 in each of those years
         and has a reasonable expectation of reaching the same income level in the current year;

         (7) Any trust, with total assets in excess of $5,000,000, not formed for the specific purpose of
         acquiring the securities offered, whose purchase is directed by a sophisticated person as described
         in § 230.506(b)(2)(ii); and

         (8) Any entity in which all of the equity owners are accredited investors.

 For purposes of calculating net worth:

         (A) The person‘s primary residence shall not be included as an asset;

         (B) Indebtedness that is secured by the person‘s primary residence, up to the estimated fair market
         value of the primary residence at the time of the sale of securities, shall not be included as a liability
         (except that if the amount of such indebtedness outstanding at the time of sale of securities exceeds
         the amount outstanding 60 days before such time, other than as a result of the acquisition of the
         primary residence, the amount of such excess shall be included as a liability); and

         (C) Indebtedness that is secured by the person‘s primary residence in excess of the estimated fair
         market value of the primary residence at the time of the sale of securities shall be included as a
         liability.

         In determining income, a subscriber should add to the subscriber’s adjusted gross income any
 amounts attributable to tax exempt income received, losses claimed as a limited partner in any limited
 partnership, deduction claimed for depletion, contribution to an IRA or Keogh plan, alimony payments, and
 any amount by which income for long-term capital gains has been reduced in arriving at adjusted gross
 income.

         Additional Requirements

          In addition to the foregoing suitability standards, we cannot accept subscriptions from anyone if
 the representations required are either not provided or are provided but are inconsistent with our
 determination that the investment is suitable for the subscriber. In addition to the financial information we
 require, the representations we require of you state that you:


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             x   Have received this Memorandum, together with the Exhibits attached hereto;

             x   understand that no federal or state agency has made any finding or determination as to the
                 fairness for investment in, nor made any recommendation or endorsement of, the Notes;
                 and

             x   understand that an investment in the Notes will not, in itself, create a qualified retirement
                 plan as described in the Internal Revenue Code and that you must comply with all
                 applicable provisions of the Internal Revenue Code in order to create a qualified retirement
                 plan.

        You will also represent that you are familiar with the risk factors we describe and that this
 investment matches your investment objectives. Specifically, you will represent to us that you: 

             x   Understand that there will be no public market for the Notes, that there are substantial
                 restrictions on repurchase, sale, assignment or transfer of the Notes and that it may not be
                 possible to readily liquidate an investment in the Notes; and 

             x   have investment objectives that correspond to those described elsewhere in this
                 Memorandum

         You will also represent to us that you have the capacity to invest in our Notes by confirming that: 

             x   You are legally able to enter into a contractual relationship with us, and, if you are an
                 individual, have attained the age of majority in the state in which you live; and 

             x   if you are a manager, that you are the manager for the trust on behalf of which you are
                 purchasing the Notes, and have due authority to purchase Notes on behalf of the trust. 

         If you are purchasing as a fiduciary, you will also represent that the above representations and
 warranties are accurate for the person(s) for whom you are purchasing Notes. By executing the subscription
 agreement, you will not be waiving any rights under the Securities Act or the Exchange Act. 

         We have the right to refuse a subscription for Notes if in our sole discretion we believe that the
 prospective investor does not meet the suitability requirements. It is anticipated that comparable suitability
 standards (including state law standards applicable in particular circumstances) may be imposed by us in
 various jurisdictions in connection with any resale of the Notes.

                                     SUBSCRIPTION PROCEDURES

         All subscriptions for the Notes must be made by the execution and delivery of the Subscription
 Agreement as attached hereto as Exhibit A and a counterpart signature page to the Collateral Agent
 Agreement, which is attached to the Subscription Agreement. This process may be completed either
 electronically via the Company’s website through its “Investor Portal,” or by delivery of hard copy as
 outlined below.

         Prospective investors may do so via the App, the Company’s website, electronic signature, or in
 hard copy delivered to the Company as follows:

                                      iCap Pacific Income Fund 5, LLC
                                          ATTN: Investor Relations
                                      3535 Factoria Blvd. SE, Suite 500
                                            Bellevue, WA 98006

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          With the Subscription Agreement (regardless of the method used for completing), prospective
 investors should send their funds via ACH transfer through the App, wire transfer pursuant to the
 instructions as set forth in the Subscription Agreement, or check payable to “iCap Pacific Income Fund 5,
 LLC” for the total cost of the Notes being subscribed.

          Subscriptions are not binding on the Company until accepted in writing by the Company. We will
 refuse any subscription by giving written notice to the subscriber by personal delivery or first-class mail.
 We have the right to refuse to sell the Notes to any prospective investor for any reason in our sole discretion,
 including, without limitation, if such prospective investor does not promptly supply all information
 requested by us in connection with such prospective investor’s subscription. In addition, in our sole
 discretion, we may establish a limit on the purchase of Notes by particular prospective investors.

         As noted above, this Memorandum and the Subscription Agreements are available electronically
 through the App or the Company’s website and may be completed on the App, the website or by electronic
 signature.

                               RESTRICTIONS ON TRANSFERABILITY

          The Notes offered hereby are restricted securities as that term is defined in Rule 144 promulgated
 under the Securities Act. These securities have not been registered under the Securities Act and are being
 offered and will be sold without benefit of registration under the applicable federal or state securities acts
 by reason of specific exemptions from registration provided by such acts. The availability of such
 exemptions is also dependent, in part, upon the “investment intent” of the investors. The exemptions would
 not be available if an investor were purchasing the Notes with a view to redistributing them. Accordingly,
 each investor when executing the Subscription Agreement will be required to acknowledge that his or her
 purchase is for investment, for its, his or her own account, and without any view to resale of the Notes
 except pursuant to an effective registration statement under the Securities Act, or a valid exemption from
 the registration requirements of the Securities Act, and subject to the terms of the Subscription Agreement.

                               STATEMENT AS TO INDEMNIFICATION

            Our Operating Agreement provides for indemnification of members and officers of the
  Company and of the Manager under certain circumstances, which could include liabilities relating to
  securities laws. The SEC mandates the following disclosure of its position on indemnification for
  liabilities under the federal securities laws:

          “Insofar as indemnification for liabilities arising under the Securities Act of 1933 may
          be permitted to directors, officers or persons controlling an issuer, the Company has been
          informed that in the opinion of the Securities and Exchange Commission such
          indemnification is against public policy as expressed in the Act and is therefore
          unenforceable.”

                                   TRADEMARKS AND COPYRIGHTS

         We may own or have rights to trademarks or trade names that we use in connection with the
 operation of our business, including our corporate names, logos and website names. In addition, we own or
 have the rights to copyrights, trade secrets and other proprietary rights that protect the content of our
 products and the formulations for such products. This Memorandum may also contain trademarks, service
 marks and trade names of other companies, which are the property of their respective owners. Our use or
 display of third parties’ trademarks, service marks, trade names or products in this Memorandum is not
 intended to, and should not be read to, imply a relationship with or endorsement or sponsorship of us. Solely
 for convenience, some of the copyrights, trade names and trademarks referred to in this Memorandum are
 listed without their ©, ® and ™ symbols, but we will assert, to the fullest extent under applicable law, our

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 rights to our copyrights, trade names and trademarks. All other trademarks are the property of their
 respective owners.

                                              RISK FACTORS

       AN INVESTMENT IN THE NOTES INVOLVES SIGNIFICANT RISK AND IS SUITABLE
 ONLY FOR PERSONS WHO ARE CAPABLE OF BEARING THE RISKS, INCLUDING THE RISK
 OF LOSS OF A SUBSTANTIAL PART OR ALL OF THEIR INVESTMENT. CAREFUL
 CONSIDERATION OF THE FOLLOWING RISK FACTORS, AS WELL AS OTHER INFORMATION
 IN THIS MEMORANDUM IS ADVISABLE PRIOR TO INVESTING. PROSPECTIVE INVESTORS
 SHOULD READ ALL SECTIONS OF THIS MEMORANDUM AND ARE STRONGLY URGED AND
 EXPECTED TO CONSULT THEIR OWN LEGAL AND FINANCIAL ADVISERS BEFORE INVEST-
 ING IN THE NOTES. THE INFORMATION IN THIS MEMORANDUM CONTAINS BOTH
 HISTORICAL AND FORWARD-LOOKING STATEMENTS. PLEASE BE ADVISED THAT THE
 COMPANY’S ACTUAL FINANCIAL CONDITION, OPERATING RESULTS AND BUSINESS
 PERFORMANCE MAY DIFFER MATERIALLY FROM THAT ESTIMATED BY THE COMPANY IN
 FORWARD-LOOKING STATEMENTS. THE COMPANY HAS ATTEMPTED TO IDENTIFY, IN
 CONTEXT, CERTAIN OF THE FACTORS THAT IT CURRENTLY BELIEVES COULD CAUSE
 ACTUAL FUTURE RESULTS TO DIFFER FROM THE COMPANY’S CURRENT EXPECTATIONS.
 THE DIFFERENCES MAY BE CAUSED BY A VARIETY OF FACTORS, INCLUDING BUT NOT
 LIMITED TO, ADVERSE ECONOMIC CONDITIONS, COMPETITORS (INCLUDING THE ENTRY
 OF NEW COMPETITORS), INADEQUATE CAPITAL, UNEXPECTED COSTS, LOWER REVENUES
 AND NET INCOME THAN ANTICIPATED, FLUCTUATION AND VOLATILITY OF THE
 COMPANY’S OPERATING RESULTS AND FINANCIAL CONDITION, INABILITY TO CARRY
 OUT MARKETING AND SALES PLANS, LOSS OF KEY EXECUTIVES OR OTHER PERSONNEL,
 AND OTHER RISKS THAT MAY OR MAY NOT BE REFERRED TO IN THESE RISK FACTORS.

 Operation and Company Risks

 Our business prospects are difficult to predict because we have no operating history.

          The Company is a newly organized entity and does not have an operating history upon which
 investors may base an evaluation of its likely performance. The Company’s results will depend upon the
 availability of suitable investment opportunities for the Company and the performance of the Company’s
 Portfolio Investments. The Company’s proposed operations are subject to all business risks associated with
 new enterprises. The likelihood of the Company’s success must be considered in light of the problems,
 expenses, difficulties, complications, and delays frequently encountered in connection with the expansion
 of a business, operation in a competitive industry, and the continued development of advertising,
 promotions and a corresponding customer base. There is a possibility that the Company could sustain losses
 in the future.

         There can be no assurance that the Company’s efforts will result in successful commercialization
 or further development of the Company’ operations, that the Company’s marketing efforts will be
 successful, or that the Company will ever achieve significant (or any) revenue. If the Company fails to
 achieve its goals, the Company may run out of money to run its operation and as such, the Company would
 need to raise additional working capital. Failure to do so could result in Noteholders losing part or all of
 their money invested.

 Noteholders must rely on the Manager to acquire appropriate Portfolio Investments for the Company’s
 portfolio.

        The Company is conducting the Offering as a “blind pool,” meaning that the Company is
 proceeding to raise funds through the sale of the Notes, without having specifically identified any real estate

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 properties in which the Company intends to invest. When you subscribe for Notes, that subscription is
 binding, and you will not have the right to revoke that subscription even if you do not approve of the
 Portfolio Investments that the Company subsequently identifies. Prospective investors should not invest in
 the Company unless they are prepared to rely upon the judgment of the Manager to make investments
 consistent with the general guidelines described in this Memorandum.

 If the Company is not as successful with the Offering as desired, it may not acquire as diversified a
 portfolio as is planned.

          It is not known how many Portfolio Investments the Company will be able to obtain, or the number
 of opportunities that will be presented by the market for it to evaluate. The number of Portfolio Investments
 ultimately made by the Company will depend primarily upon the capital raised through the sale of the
 Notes, the availability of suitable Portfolio Investments, the number of investors who choose to withdraw
 their funds through demand notices, and the extent to which the Manager arranges for Portfolio Investments
 to be held with co-investors. There is no certainty as to the number of Portfolio Investments that the
 Company will ultimately be able to obtain, and since one of the Company’s objectives is diversification,
 no assurance can be given as to the Company’s achievement of that objective.
 Competition with third parties in our contemplated industry is intense, which could reduce our
 profitability and our ability to pay interest or raise additional funds.

       It is possible that over time we may compete with other entities seeking to undertake similar activities
 to those that we do. These same potential competitors may have significantly greater capital resources,
 research and development, manufacturing, testing, regulatory compliance, and marketing capabilities.
 Competitive products and services may render any services, products or product candidates that we may
 acquire or develop uneconomic or obsolete. We cannot assure investors that we will be able to invest in or
 develop resources that are required to successfully compete with these competitors .

      Our planned business is inherently expensive, risky and may not be understood by or accepted in
 the marketplace, which could adversely affect our future value.

         The business currently conducted by the Company is at an early stage and is financially speculative.
 To date, very few companies have been successful in their efforts to commercialize such a business.
 Furthermore, the number of people who may use our services is difficult to forecast with accuracy. Our
 future success is dependent on the establishment of the market for our services and our ability to capture a
 share of this market with the services and offerings we plan to develop.

         Negative publicity could adversely affect our business and operating results.

          Negative publicity about our industry or the Company, even if inaccurate, could adversely affect
 our reputation and the confidence in our operations, which could harm our business and operating results.
 Harm to our reputation can arise from many sources, including employee misconduct, misconduct by our
 partners, outsourced service providers or other counterparties, failure by us or our partners to meet
 minimum standards of service and quality, compliance failures and claims and any such sources related to
 our affiliate entities.

         Rapid growth may strain our resources.

        We expect to experience significant and rapid growth in the scope and complexity of our business,
 which may place a significant strain on our management team and our financial and other resources. Such
 growth, if experienced, may expose us to greater costs and other risks associated with growth and
 expansion. Although the Company does not expect to have employees, we may be required to hire
 employees, including other support personnel, among others, in order to successfully advance our

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 operations. We may be unsuccessful in these efforts or we may be unable to project accurately the rate or
 timing of these increases.

          This growth may place a strain on our management and operational resources. The failure to
 develop and implement effective systems or the failure to manage growth effectively could have a
 materially adverse effect on our business, financial condition, and results of operations. In addition,
 difficulties in effectively managing the budgeting, forecasting, and other process control issues presented
 by such a rapid expansion could harm our business, financial condition, and results of operations.

 Control is vested in the Manager; no investor should purchase the Notes unless the investor is
 comfortable with the Manager’s judgment and experience in running the Company’s affairs.

         Control over all decisions affecting the Company, including decisions regarding the Portfolio
 Investments that are to be made, will be made by the Manager and its management team. Material decisions,
 such as decisions regarding the purchase or sale of assets, the refinancing of Portfolio SPEs, whether to
 make an investment, and the incurrence of third-party-debt will be made without separate concurrence from
 Noteholders. No assurance can be given that sufficient investment opportunities will be presented to the
 Company to deploy all of the capital available for investment.

 The Manager’s conflicts of interest may result in transactions unfavorable to the Company.

          The Manager and its affiliates may provide certain services to, and enter into transactions with, the
 Company, its holding companies, or the Portfolio SPEs, provided that the terms are commercially
 reasonable. This limitation may not fully protect the Company or the Portfolio SPEs against the inherent
 conflicts of interest in these transactions. The transactions have not been, and will not be, subject to review
 by the Noteholders, the Trustee, or an independent party. The transactions’ terms might not be as favorable
 to the Company as they would have been if the transaction had been with unrelated third parties. Moreover,
 the Company will not ask any third party to oversee the quality of the services that will be provided by the
 Manager and its affiliates. In addition, the Manager will be subject to potential conflicts of interest when
 choosing between investment opportunities for affiliated entities that may generate different fees for the
 Manager.

 The Manager may retain and reinvest all or a portion of the revenue generated by, or proceeds of a sale
 of, a Portfolio Investment.

           The Manager has the discretion to sell the investments or related properties the Company acquires
 and to use the cash proceeds from such sale (or cash proceeds from rental income) to, among other things,
 satisfy its obligations under the Notes, whether or not then due and payable, or other Company obligations,
 or to enter into new Portfolio Investments. The Manager intends to make new investments over the life of
 the Company. This will place investment returns at the risk of new investment opportunities and may delay
 payments of the principal balances.

 Without obtaining advice from their personal advisors, potential investors may not be aware of the legal,
 tax or economic consequences of an investment in the Notes.

           The Manager has not arranged for potential investors in this Offering to be separately represented
 by independent counsel. The legal counsel who has performed services for the Company has not acted as
 if it had been retained by the potential investors. Potential investors should not construe the contents of this
 Memorandum or any prior or subsequent communication from the Manager, its affiliates or any
 professional associated with this Offering, as legal or tax advice. Potential investors should consult their




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 own personal counsel, accountant and other advisors as to legal, tax, economic and related matters
 concerning the investment described herein and its suitability.

 Fees to the Manager will be paid while interest and principal remain outstanding under the Notes.

          Fees payable to the Manager will be paid while interest and principal remain outstanding under the
 Notes. The Management Fee is based on the aggregate outstanding principal balance of the Notes. The
 Manager will receive the Management Fee whether or not the Portfolio Investments operate profitably even
 upon a default or Event of Default. These fees (like other operating expenses) reduce the amount of cash
 that otherwise would be available for payment of the Notes.

 You will not be investing in the Company, iCap or any of their affiliates and, while the prior performance
 data presented provides relevant information regarding affiliates of the Manager, it should not be
 construed as an indication of the likely financial performance of the Company.

 By investing in the Notes, you will not be investing in the Portfolio Investments, iCap, or in any of the prior
 investments sponsored by iCap’s affiliates. iCap has provided selected information regarding its prior
 investments because investors might consider those investments to be relevant in assessing the experience
 and judgment of the Manager, and the iCap management team. Potential investors should not consider the
 prior performance of those investments to be indicative of the financial performance that may be
 experienced by the Company. The Company may not perform as favorably as the prior investments have
 performed. Each investment opportunity is unique, and the Company may not be able to replicate the
 success of prior investments, even if the Portfolio Investments assembled for the Company’s portfolio are
 similar to those obtained for the prior funds.

 A Majority-in-Interest of the Noteholders is required to take certain actions with respect to the Notes,
 and a Noteholder does not have a right to vote on an “Event of Default” under their Note(s) unless the
 Event of Default has occurred with respect to their particular Note.

          The Notes, the Security Agreement and the Guaranty require the consent of a Majority-in-Interest
 of the Noteholders to declare an Event of Default and to take certain actions related thereto. Therefore,
 individual Noteholders will not be able to take certain actions unilaterally and any individual Noteholder
 will not be entitled to vote for or against the declaration of an “Event of Default” unless, as of the time of
 such vote, the applicable Event of Default has occurred and is continuing under such Noteholder’s
 individual Note(s).

 The Company may prepay the principal and interest on the Notes at any time.

         The Company may prepay all or a part of the principal amount and accrued interest in the Notes at
 any time. No prepayment penalty is imposed that would discourage the Company from exercising this right.
 Accordingly, Noteholders will not have certainty as to how long their respective Note(s) may be
 outstanding. If the Company makes any prepayment, the prepayments need not be made ratably against all
 outstanding Notes.

 Various factors could negatively impact the profitability of the Company’s Portfolio Investments

         The Company may obtain insurance policies for the Portfolio Investments that are commercially
 prudent given the local market and circumstances of the Portfolio Investments. However, certain losses are
 either uninsurable or may be insured only upon payment of prohibitively high insurance premiums. If any
 such loss should occur and the Portfolio Investments should be partially or totally destroyed, the Company
 may suffer a substantial loss of capital as well as profits. Even if the Company’s insurance policy provides
 coverage for the loss, the deductible for such policy may be so large that the Company will sustain a
 substantial uninsured loss as a result of a fire or other casualty.

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          Under various federal, state and local laws, ordinances and regulations, an owner or operator of
 real property may become liable for the costs of removal or remediation of certain hazardous substances
 released on or in its property. Such laws often impose liability without regard to whether the owner or
 operator knew of, or was responsible for, the release of such hazardous substances. The presence of
 hazardous substances may adversely affect the owner’s ability to sell such real estate or to borrow funds
 using such real estate as collateral. Before making a Portfolio Investment, the Company may undertake
 such environmental due diligence as it considers appropriate under the circumstances to assess the potential
 environmental risks. Such investigation could include the review of all available environmental reports,
 such as Phase I studies. No assurance can be given that such due diligence will identify all potential
 environmental problems. Moreover, to the extent that the Portfolio Investment’s site had environmental
 contamination not detected prior to the Company’s acquisition of that property, or subsequent
 environmental contamination were to occur, remedial efforts, if any, the Company undertakes may not be
 sufficient to eliminate potential liability, and, as a consequence, the Company may incur environmental
 clean-up costs or be subject to liability exposure that may reduce the net profits of the Company.

          Under the Americans With Disabilities Act of 1990 (“ADA”), all places of public accommodation
 are required to meet certain federal requirements related to access and use by disabled persons. A number
 of additional federal, state and local laws exist that may require modification to existing properties to allow
 disabled persons to access such facilities. Most of the properties the Company considers will likely be in
 compliance with the present access requirements. If, however, the properties the Company acquires are not
 in compliance with the ADA, the Company will be required to make modifications to the properties to bring
 them into compliance or face the possibility of an imposition of fines or an award of damages to private
 litigants. In addition, further legislation may impose additional burdens or restrictions related to access by
 disabled persons, and the cost of compliance could be substantial.

         The real estate industry in general, and the multifamily, residential, and commercial sectors, in
 particular, are highly competitive, and the Company will be competing with numerous other entities, some
 having substantially greater financial resources and experience than the Company, in seeking attractive
 investment opportunities. Competition will reduce the number of suitable properties available for purchase
 and increase the bargaining power of sellers, inflating the purchase prices of the available Portfolio
 Investments or resulting in other less favorable terms to the purchasers.

          The investment returns available from investments in real estate depend in large part on the amount
 of income earned and capital appreciation generated by the related properties, and the expenses incurred.
 In addition, a variety of other factors affect income from properties and real estate values, including
 governmental regulations, prolonged timing of permit issuance by cities and counties, insurance, zoning,
 tax, interest rate levels and the availability of financing. When interest rates increase, the cost of acquiring,
 expanding or renovating real property increases and real property values may decrease as the number of
 potential buyers’ decreases. Similarly, as financing becomes less available, it becomes more difficult both
 to acquire and to sell real property. Any of these factors could have a material adverse impact on the
 Company’s results of operations or financial condition. In addition, real estate investments are difficult to
 sell quickly and the Company may not be able to adjust the Company’s portfolio of owned properties
 quickly in response to economic or other conditions in order to meet Note obligations. If the Company’s
 properties do not generate revenue sufficient to meet operating expenses, including debt service and capital
 expenditures, the Company’s income will be adversely affected.

 Markets in which the Company is anticipated to invest are subject to a high degree of volatility and,
 therefore, the Company’s performance may be volatile.

        The Company’s business will involve a high degree of financial risk. Markets in which the
 Company is anticipated to invest are subject to a high degree of volatility and therefore the Company’s
 performance may be volatile. There can be no assurance that the Company’s investment objective will be


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 realized or that investors will receive a full return of their investment. The Manager in its sole discretion
 may employ such investment strategies and methods as it determines to adopt.

 Real estate development projects are subject to numerous risks outside the Company’s control such as
 delays in permitting and other governmental approvals, increased costs, and labor shortages.

         Any properties in which the Company invests relating to real estate development or construction
 are subject to a variety of risks that will be outside of the Company’s control, including delays in obtaining
 entitlements, permits, and other governmental approvals. Development and construction projects may also
 take longer than anticipated, increasing the time that part or all of the residential or commercial units are
 not available for rent or sale, and thus lowering the property’s cash flow or other income potential. Strong
 demand for skilled laborers and contractors may result in labor shortages and contractor unavailability,
 delaying project schedules and/or increasing costs. The costs of construction have increased dramatically
 during recent years and may continue to increase. The Company may enter into contracts to purchase
 properties before they are finished, and the foregoing risks could adversely impact the purchase prices,
 valuations, or closings dates of those properties. Although the Manager will not undertake such transactions
 without reviewing detailed budgets, such budgets may understate the expenses.

 There may be unanticipated obstacles to execution of our business plan.

          Our proposed plan of operation and prospects will depend largely upon our ability to successfully
 establish the Company’ presence in a timely fashion, retain and continue to hire skilled management,
 technical, marketing, and other personnel, and attract and retain significant numbers of quality business
 partners and corporate clients. There can be no assurance that we will be able to successfully implement
 our business plan or develop or maintain future business relationships, or that unanticipated expenses,
 problems or technical difficulties which would result in material delays in implementation will not occur.

 The volatile credit and capital markets could have a material adverse effect on our financial condition.

           Our ability to manage our future debt and liquidity will be dependent on our level of positive cash
 flow. An economic downturn may negatively impact our cash flows. Credit and capital markets can be
 volatile, which could make it more difficult for us to refinance our debt or to obtain additional debt or equity
 financings in the future. Such constraints could increase our costs of borrowing and could restrict our access
 to other potential sources of future liquidity. Our failure to have sufficient liquidity to make interest and
 other payments required by our debt or our Notes could result in a default of such debt or the Notes and
 acceleration of our borrowings, which would have a material adverse effect on our business and financial
 condition.

 An economic downturn could materially affect us in the future.

           The recession from late 2007 to mid-2009 reduced consumer confidence to historic lows,
 impacting the public’s ability and desire to spend discretionary dollars as a result of job losses, home
 foreclosures, significantly reduced home values, investment losses, bankruptcies and reduced access to
 credit, resulting in lower levels of customer traffic. If the economy experiences another significant decline,
 our business and results of operations could be materially adversely affected.

 Information technology system failures or breaches of our network security could interrupt our
 operations and adversely affect our business.

          We rely on our computer systems and network infrastructure to facilitate our operations. Our
 operations depend upon our ability to protect our computer equipment and systems against damage from
 physical theft, fire, power loss, telecommunications failure or other catastrophic events, as well as from
 internal and external security breaches, viruses and other disruptive problems. Any damage or failure of

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 our computer systems or network infrastructure that causes an interruption in our operations could have a
 material adverse effect on our business and subject us to litigation or to actions by regulatory authorities.

 The failure to enforce and maintain our trademarks and protect our other intellectual property could
 materially adversely affect our business, including our ability to establish and maintain brand
 awareness.

           The success of our business strategy depends on our continued ability to obtain and use trademarks
 and service marks in order to increase brand awareness and develop our branded products. If our efforts to
 protect our intellectual property are not adequate, or if any third-party misappropriates or infringes on our
 intellectual property, whether in print, on the Internet or through other media, the value of our brands may
 be harmed, which could have a material adverse effect on our business, including the failure of our brands
 and branded products to achieve and maintain market acceptance. There can be no assurance that all of the
 steps we have taken to protect our intellectual property in the United States and in foreign countries will be
 adequate. In addition, the laws of some foreign countries do not protect intellectual property rights to the
 same extent, as do the laws of the United States.

 Third-party claims with respect to intellectual property assets, if decided against us, may result in
 competing uses or require adoption of new, non-infringing intellectual property, which may in turn
 adversely affect sales and revenues.

          There can be no assurance that third parties will not assert infringement or misappropriation claims
 against us, or assert claims that our rights in our trademarks, service marks, trade dress and other intellectual
 property assets are invalid or unenforceable. Any such claims could have a material adverse effect on us if
 such claims were to be decided against us. If our rights in any intellectual property were invalidated or
 deemed unenforceable, it could permit competing uses of intellectual property, which, in turn, could lead
 to a decline in our results of operations. If the intellectual property became subject to third-party
 infringement, misappropriation or other claims, and such claims were decided against us, we may be forced
 to pay damages, be required to develop or adopt non-infringing intellectual property or be obligated to
 acquire a license to the intellectual property that is the subject of the asserted claim. There could be
 significant expenses associated with the defense of any infringement, misappropriation, or other third-party
 claims.

 We depend on certain officers of the Manager, the loss of whom could materially harm our business.

          We rely upon the accumulated knowledge, skills and experience of the officers and personnel of
 our Manager and its affiliates. If they were to leave the Manager or become incapacitated, we might suffer
 in our planning and execution of business strategy and operations, impacting our brand and financial results.
 We also do not maintain any key man life insurance policies for any such persons.

 We are exposed to the risk of natural disasters, unusual weather conditions, pandemic outbreaks,
 political events, war and terrorism that could disrupt business and result in lower sales, increased
 operating costs and capital expenditures.

          Our headquarters and company-operated locations, as well as certain of our vendors and
 customers, are located in areas which have been and could be subject to natural disasters such as floods,
 hurricanes, tornadoes, fires or earthquakes. Adverse weather conditions or other extreme changes in the
 weather, including resulting electrical and technological failures, may disrupt our business and may
 adversely affect our ability to continue our operations. These events also could have indirect consequences
 such as increases in the costs of insurance if they result in significant loss of property or other insurable
 damage. Any of these factors, or any combination thereof, could adversely affect our operations.




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 Members of our Manager will have other business interests and obligations to other entities.

          None of the members and officers of the Manager will be required to manage the Company as their
 sole and exclusive function and they may have other business interests and may engage in other activities
 in addition to those relating to the Company, provided that such activities do not otherwise breach their
 agreements with the Company. We are dependent on these persons to successfully operate the Company.
 Their other business interests and activities could divert time and attention from operating the Company.

 Risks Related to this Offering and the Notes and Other Agreements

         There is no minimum Offering size required to be raised by the Company in order to conduct a
 closing, and the Company may not receive or accept sufficient subscriptions to undertake its business.

          This Offering is not subject to any minimum amount required to be subscribed for by investors in
 order for the Notes to be sold to any investors or for the Company to access or receive and use such funds.
 Therefore there is no assurance that the Company will raise sufficient funds to commence or continue
 operations. If the Company is not able to raise sufficient funds to commence operations and undertake its
 business plan, investors may lose all of their investment.

 This private placement of Notes is being made in reliance on an exemption from registration
 requirements, and there is no guarantee that it will comply with the regulatory requirements for such
 exemption.

          This private placement of Notes will not be registered with the SEC. The Notes are being offered
 in reliance on an exemption from the registration provisions of the Securities Act and state securities laws
 applicable to offers and sales to investors meeting the investor suitability criteria set forth in this
 Memorandum. If the Company should fail to comply with the exemption, investors may have the right to
 rescind their purchases of Notes. This might also occur under the applicable state securities or “Blue Sky”
 laws and regulations in states where the Notes will be offered without registration or qualification pursuant
 to a private offering or other exemption. Such claims, if brought, would be disruptive and could force a sale
 of the Company’s assets to satisfy the claims of the claimants.

 If investors successfully seek rescission, we would face severe financial demands that we may not be
 able to meet.

          We represent that this Memorandum and its exhibits do not contain any untrue statements of
 material fact or omit to state any material fact necessary to make the statements made, in light of all the
 circumstances under which they are made, not misleading. However, if this representation is inaccurate
 with respect to a material fact, if this Offering fails to qualify for exemption from registration under the
 federal securities laws, or if we fail to register the Notes or find an exemption under the securities laws of
 each state in which we offer the Notes, each investor may have the right to rescind his, her or its purchase
 of the Notes and to receive back from the Company his, her or its purchase price. Such investors, however,
 may be unable to collect on any judgment, and the cost of obtaining such judgment may outweigh the
 benefits. If investors successfully seek rescission, we would face severe financial demands and may not be
 able to meet our capital needs, which may adversely affect any non-rescinding investors.

 We may invest or spend the proceeds of this Offering in ways with which you may not agree or in ways
 which may not yield a return.

          While we have provided guidance on priorities for the use of proceeds, the timing and amount of
 sales will impact our actual use of proceeds within the uses identified. Our management will have broad
 discretion in determining how the proceeds of the Offering will be used in each of the identified use
 categories.

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          We currently intend to use the proceeds we receive from this Offering after deducting estimated
 fees and expenses associated with this private placement, including legal, accounting, transfer agent,
 financial, acquisitions and other professional fees, primarily for the purposes as described above. Our
 management will have considerable discretion in the application of the net proceeds, and you will not have
 the opportunity, as part of your investment decision, to assess whether the proceeds are being used
 appropriately. Investors in this Offering will need to rely upon the judgment of our management with
 respect to the use of proceeds. If we do not use the net proceeds that we receive in this Offering effectively,
 our business, financial condition, results of operations and prospects could be harmed, and the market price
 or value of the Notes could decline as well as the Company’s ability to repay the Notes when due.

 This is a private offering, and as such investors will not have the benefit of review of this Memorandum
 by the SEC or any other agency.

          Since this Offering is a private placement of securities and, as such, is not registered under federal
 or state securities laws, potential investors will not have the benefit of review of this Memorandum by the
 SEC or any state securities commission. The terms and conditions of this private placement may not comply
 with the guidelines and regulations established for offerings that are registered and qualified with those
 agencies.

 There is no assurance that the Company will be profitable, and there is no assurance of any returns.

          There is no assurance as to whether the Company will be profitable, or earn revenues, or whether
 the Company will be able to meet its operating expenses. The initial expenses the Company incurs could
 result in operating losses for the Company for the foreseeable future. No assurance can be made that a
 subscriber for the Notes offered hereby will not lose his or her entire investment.

 The Company is obligated to pay certain fees and expenses.

          The Company will pay various fees and expenses related to its ongoing operations regardless of
 whether or not the Company’s activities are profitable. These fees and expenses will require dependence
 on third-party relationships. The Company is generally dependent on relationships with its strategic partners
 and vendors, and the Company may enter into similar agreements with future potential strategic partners
 and alliances. The Company must be successful in securing and maintaining its third-party relationships to
 be successful. There can be no assurance that such third parties may regard their relationship with the
 Company as important to their own business and operations, that they will not reassess their commitment
 to the business at any time in the future, or that they will not develop their own competitive services or
 products, either during their relationship with the Company or after their relations with the Company expire.
 Accordingly, there can be no assurance that the Company’ existing relationships or future relationships will
 result in sustained business partnerships, successful service offerings, or significant revenues for the
 Company.

 Prospective investors must undertake their own due diligence.

         This Memorandum and its exhibits include limited information regarding the Company, our current
 and future business and operations, our management and our financial condition. While we believe the
 information contained in this Memorandum is accurate, such document is not meant to contain an
 exhaustive discussion regarding the Company. We cannot guarantee a prospective Investor that the
 abbreviated nature of this Memorandum will not omit to state a material fact which a prospective Investor
 may believe to be an important factor in determining if an investment in the Notes offered hereby is
 appropriate for such Investor. As a result, prospective Investors are required to undertake their own due
 diligence of the Company, our current and proposed business and operations, our management and our
 financial condition to verify the accuracy and completeness of the information we are providing in this
 Memorandum. This investment is suitable only for investors who have the knowledge and experience

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 to independently evaluate the Company, our business and prospects.

 The limited marketability of the Notes may adversely affect your ability to transfer and pledge the Notes.

         Noteholders must represent that they are purchasing the Notes for their own account for investment
 purposes and not with a view to resale or future distribution. You may not sell, assign, transfer, or encumber
 your Note(s) unless the Company obtains an opinion or is otherwise satisfied that such sale, assignment,
 encumbrance or transfer does not violate applicable federal or state securities laws, constitute unlawful
 trading on a secondary market, or on an equivalent thereof, for purposes of Section 7704 of the Internal
 Revenue Code of 1986, as amended (the “Code”) or cause the Company’s termination under Section 708
 of the Code. Accordingly, the Notes may not be readily accepted as collateral for loans.

 The Notes constitute restricted securities and are subject to limited transferability.

          The Notes should be considered a long-term, illiquid investment. The Notes have not been
 registered under the Securities Act, and cannot be sold without registration under the Securities Act or any
 exemption from registration. In addition, the Notes are not registered under any state securities laws that
 would permit their transfer. Because of these restrictions and the absence of an active trading market for
 our securities, a Noteholder will likely be unable to liquidate an investment even though other personal
 financial circumstances would dictate such liquidation.

 There is no public trading market for our Notes.

          There is no established public trading marketing for the Notes and there can be no assurance that
 one will ever develop. Market liquidity will depend on the perception of our operating business and any
 steps that our management might take to bring us to the awareness of investors. There can be no assurance
 given that there will be any awareness generated. Consequently, investors may not be able to liquidate their
 investment or liquidate it at a price that reflects the value of the Notes. As a result, Investors may not find
 purchasers for their Notes. Only accredited investors with no need for immediate short-term liquidity
 should purchase the Notes.

 The market value of the Notes may decrease due to factors beyond our control.

         Broad market fluctuations may adversely affect the market value of our Notes. The market value
 of our Notes may also fluctuate significantly in response to the following factors, most of which are beyond
 our control:

     x   variations in our quarterly operating results,
     x   changes in general economic conditions,
     x   changes in market valuations of similar companies issuing similar investment products,
     x   announcements by us or our competitors of significant acquisitions, strategic partnerships or joint
         ventures, or capital commitments,
     x   poor reviews;
     x   loss of a major customer, partner or joint venture participant; and
     x   the addition or loss of key managerial and collaborative personnel.

         Any such fluctuations may adversely affect the market value of our Notes, regardless of our actual
 operating performance. As a result, Noteholders may be unable to sell their Notes (even if permitted by
 applicable securities laws and the terms of the Notes), or may be forced to sell them at a loss.

 The characteristics of the Notes, including maturity, interest rate, lack of guarantee, and lack of liquidity,
 may not satisfy your investment objectives.


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          The Notes may not be a suitable investment for you, and we advise you to consult your investment,
 tax and other professional financial advisors prior to purchasing Notes. The characteristics of the Notes,
 including maturity, interest rate, lack of guarantee and lack of liquidity may not satisfy your investment
 objectives. The Notes may not be a suitable investment for you based on your ability to withstand a loss of
 interest or principal or other aspects of your financial situation, including your income, net worth, financial
 needs, investment risk profile, return objectives, investment experience and other factors. Prior to
 purchasing any Notes, you should consider your investment allocation with respect to the amount of your
 contemplated investment in the Notes in relation to your other investment holdings and the diversity of
 those holdings.

 The Notes will be effectively subordinated to any of our debt that is secured and subordinated to our
 existing and future unsecured debts.

          The Notes will be junior to any of our secured debt obligations, to the extent of the value of any
 assets securing such debt. The effect of this subordination is that if we are involved in a bankruptcy,
 liquidation, dissolution, reorganization or similar proceeding, or upon a default in payment on, or the
 acceleration of, any of our secured debt, if any, our assets will be available to pay obligations on the Notes
 only after all debt under our secured debt, if any, has been paid in full from those assets. As of the date of
 this Memorandum, we had no secured indebtedness outstanding. In such circumstances, Holders of the
 Notes will participate in any remaining assets ratably with all of our other unsubordinated creditors,
 including trade creditors. We may not have sufficient assets remaining to pay amounts due on any or all of
 the Notes then outstanding.

 The Company may sell promissory notes that have earlier maturity dates or higher interest rates than
 the 9% or 10%, as applicable, to the Notes.

          The Company may sell promissory notes that have earlier maturity dates or higher interest rates
 than the 9% or 10%, as applicable, to the Notes. In such event the Company would be obligated to pay such
 higher rates of return, and the security of the noteholders in this Offering would therefore be negatively
 impacted as the Company will have greater payment obligations from the same pool of assets as compared
 to the situation where all promissory notes had a 9% or 10% interest rate.

 Because the Notes will have no sinking fund, insurance, or guarantee (other than from Holding), you
 could lose all or a part of your investment if we do not have enough cash to pay.

          There is no sinking fund, insurance or guarantee of our obligation to make payments on the Notes.
 We will not contribute funds to a separate account, commonly known as a sinking fund, to make interest or
 principal payments on the Notes. The Notes are not certificates of deposit or similar obligations of, and are
 not guaranteed or insured by, any depository institution, the Federal Deposit Insurance Corporation, the
 Securities Investor Protection Corporation, or any other governmental or private fund or entity. Therefore,
 if you invest in the Notes, you will have to rely only on our cash flow from operations and other sources of
 funds for repayment of principal at maturity or upon repayment demand by you and for payment of interest
 when due. Any future cash flows from operations could be impaired under the circumstances described
 herein. If our cash flow from operations and other sources of funds are not sufficient to pay any amounts
 owed under the Notes, then you may lose all or part of your investment.

 We do not expect that the Notes will be rated, but if they are, ratings of the Notes may change and affect
 the market price and marketability of the Notes.

         We do not currently expect that, upon issuance, the Notes will be rated by any rating agencies. If
 they are, such ratings are limited in scope, and do not address all material risks relating to an investment in
 the Notes, but rather reflect only the view of each rating agency at the time the rating is issued. There is no
 assurance that such credit ratings will be issued or remain in effect for any given period of time or that such

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 ratings will not be lowered, suspended or withdrawn entirely by the rating agencies. It is also possible that
 such ratings may be lowered in connection with future events, such as future acquisitions. Any lowering,
 suspension or withdrawal of such ratings may have an adverse effect on the market price or marketability
 of the Notes. In addition, any decline in the ratings of the Notes may make it more difficult for us to raise
 capital on acceptable terms.

 Because we may pay off the Notes at any time prior to their maturity, you may be subject to reinvestment
 risk.

         We have the right to pay off any Note at any time prior to its stated maturity. The Notes would be
 paid off at 100% of the principal amount plus accrued but unpaid interest up to but not including the date
 of pay off. Any such pay off may have the effect of reducing the income or return on investment that any
 investor may receive on an investment in the Notes by reducing the term of the investment. If this occurs,
 you may not be able to reinvest the proceeds at an interest rate comparable to the rate paid on the Notes.

 The Note, the Security Agreement and the Guaranty contain “deemed consent” provisions.

          Each of the Note, the Security Agreement and the Guaranty contain “deemed consent” provisions
 which provide that the Company or Holding does not actually have to obtain written confirmation from the
 Investor as to any approval or consent related to, or amendment of or waiver related to, the applicable
 agreement or document. The Company or Holding is required to send the Investor a notice of the requested
 consent or approval, or the requested amendment or waiver, and if the Investor does not respond within 10
 days, then to send a second notice. If the Investor does not respond within an additional 10 days the Investor
 will be deemed to have consented, in writing, to the requested approval, consent, amendment of or waiver.

 We have not retained independent professionals for investors.

          We have not retained any independent professionals to comment on or otherwise protect the
 interests of potential investors. Although we have retained our own counsel, neither such counsel nor any
 other independent professionals have made any examination of any factual matters herein, and potential
 investors should not rely on our counsel regarding any matters herein described.

 We have no firm commitments to purchase any Notes.

          We have no firm commitment for the purchase of any Notes. The Company may be unable to
 identify investors to purchase the Notes and as a result may have inadequate capital to support its ongoing
 business obligations.

 The Company may not be able to meet all of the payment demands of its Investors if a large number of
 Investors desires to be repaid or if the Company does not have the liquidity to meet such demands.

         The Company will use its commercially reasonable efforts to maintain sufficient cash reserves on
 hand and access to liquidity sources to honor repayment demands of Investors. However, in the event there
 are more demands for repayment than the Company has cash available to meet, the Company may be
 delayed in the delivery of funds and may be required to sell some of its assets, which may take significant
 amounts of time and may yield less than is needed to meet the Company’s obligations.

 Tax Risks

 You are urged to consider the United States federal income tax consequences of owning the Notes.

          Pursuant to the terms of the Notes, the Company and each Noteholder will agree to treat the Notes
 for U.S. federal income tax purposes as contingent payment debt instruments subject to U.S. federal income


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 tax rules applicable to contingent payment debt instruments. Under that treatment, if you are a U.S. Holder
 (as defined herein), you may be required to include interest in taxable income in each year in excess of the
 amount of interest payments actually received by you in that year. You will recognize gain or loss on the
 sale, repurchase, exchange, conversion or repayment of a Note in an amount equal to the difference between
 the amount realized and your adjusted tax basis in the Note. Any gain recognized by you on the sale,
 repurchase, exchange, conversion or repayment of a Note generally will be treated as ordinary interest
 income and any loss will be treated as ordinary loss to the extent of the interest previously included in
 income and, thereafter, as capital loss.

 Interest on Notes Could be Characterized as Unrelated Business Taxable Income.

          We intend to take the position that the Notes should be classified as debt instruments for U.S.
 federal income tax purposes and the stated interest should constitute interest. In general, interest on debt
 instruments is not characterized as Unrelated Business Taxable Income (“UBTI”) with respect to tax
 exempt Noteholders. However, there is no assurance that the IRS will agree with this position and it is
 possible that the Notes may be treated as equity securities or as hybrid debt/equity securities. In such case,
 all or a portion of the interest on the Notes may be characterized as UBTI with respect to tax exempt
 Noteholders.

                   CERTAIN U.S. FEDERAL INCOME TAX CONSIDERATIONS

         This Memorandum does not address any tax considerations that may be relevant to you. You are
 urged to consult your own tax advisors as to the specific tax consequences of purchasing, owning and
 disposing of any Notes, including any federal, state or local tax consideration.

       WE URGE YOU TO CONSULT AND RELY UPON YOUR OWN TAX ADVISOR WITH
 RESPECT TO YOUR OWN TAX SITUATION, POTENTIAL CHANGES IN APPLICABLE
 LAWS AND REGULATIONS AND THE FEDERAL AND STATE CONSEQUENCES ARISING
 FROM AN INVESTMENT IN THE NOTES. THE COST OF THE CONSULTATION COULD,
 DEPENDING ON THE AMOUNT CHARGED TO YOU, DECREASE ANY RETURN
 ANTICIPATED ON YOUR INVESTMENT. NOTHING IN THIS MEMORANDUM IS OR
 SHOULD BE CONSTRUED AS LEGAL OR TAX ADVICE TO ANY SPECIFIC INVESTOR, AS
 INDIVIDUAL CIRCUMSTANCES MAY VARY. YOU SHOULD BE AWARE THAT THE
 INTERNAL REVENUE SERVICE MAY NOT AGREE WITH ALL TAX POSITIONS TAKEN BY
 US AND THAT LEGISLATIVE, ADMINISTRATIVE OR COURT DECISIONS MAY REDUCE
 OR ELIMINATE ANY ANTICIPATED TAX BENEFITS OF AN INVESTMENT IN THE NOTES.

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                                    EXHIBIT A

                           SUBSCRIPTION AGREEMENT

                                    (Attached)




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                                   iCap Pacific Income Fund 5, LLC

                       SUBSCRIPTION AGREEMENT FOR ACCREDITED INVESTORS




  Investor’s Name


  Representative’s Name


  Broker-Dealer Affiliation


                                          1. Subscription Amount




                                    $________________________


                                            2. Payment Method

     Investor’s payment of the Principal Balance must be in one of the following methods (select one):


                 Wire Transfer: by wiring payment of the Principal Balance to the account set forth
                 below:

                                 Account Name:       iCap Pacific Income Fund 5, LLC
                                 ABA Routing Number: 
                                 Account Number:     
                                 Bank Name:          Seaside Bank
                                 Bank Address:       62UDQJH$YH6XLWH2UODQGR)/


                 Check: by mailing a check made payable to “iCap Pacific Income Fund 5, LLC” to the
                 processing dealer at:

                                 Cobalt Capital, Inc.
                                 600 Wilkinson Street, Suite 300
                                 Orlando, FL 32803
                                 Phone: 407.649.3150
                                 Fax: 321.400.1359


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                 Vault Account: By checking this box you acknowledge and agree that (1) you currently
                 have funds in a Vault account with iCap Vault 1, LLC (the “Vault”), an Affiliate of the
                 Company, and (2) you do hereby direct the Company to provide notice to iCap Vault 1,
                 LLC on your behalf to withdraw your investment in the Vault, in the amount set forth
                 above, and to send those funds to the Company for the purchase of a Note.

                 Other: ________________________________________________________________




                                         3. Delivery of Documents


                 Completed Electronically (either through Docusign or emailed to
                 investor@icapequity.com): no need to mail documents.


                 Completed in Paper Form: please mail all documents to the processing dealer at
                 “Cobalt Capital, Inc., 600 Wilkinson Street, Suite 300, Orlando, FL 328036.” If paying
                 by check, then please include the check with the documents.



 *Interest will accrue only after the Subscription Agreement, and all agreements relating to the Note, have
 been fully executed and accepted by the Company, and the Principal Balance has been delivered and made
 available to the Company as indicated by the Company’s financial institution.




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The undersigned “Subscriber”, on the terms and conditions herein set forth, hereby irrevocably submits this
subscription agreement (the “Subscription Agreement”) to iCap Pacific Income Fund 5, LLC, a Delaware limited
liability company (the “Company”), in connection with a private offering by the Company (the “Offering”) to
raise working capital of up to $50,000,000, with an over-allotment amount of an additional $25,000,000, through
the sale to Subscriber as an accredited investor of a Secured Promissory Note of the Company (the “Note”).

1. Subscription for the Purchase of Notes.

The undersigned, intending to be legally bound, hereby subscribes for the amount set forth on the Investment
Summary page below (the “Principal Balance”). The undersigned acknowledges that the Company is offering
the Notes to those who are “accredited investors” as defined herein, pursuant to the terms and provisions of the
Offering documented in the Confidential Private Placement Memorandum dated September 5, 2019 (together
with all exhibits attached thereto, the “Memorandum”) relating to the Offering. In this regard, Investor agrees to
forward payment in the amount of the Principal Balance indicated on the Investment Summary form below. The
Company’s private offering of Notes is being made to “accredited” investors within the meaning of Rule 506(b)
of Regulation D promulgated by the Securities Exchange Commission under the Securities Act of 1933, as
amended (the “Securities Act”). By signing this Subscription Agreement, Subscriber acknowledges receipt
of the Memorandum and its Exhibits, including the Note, the Pledge and Security Agreement &ROODWHUDO
$JHQW $JUHHPHQW and the Guaranty (collectively the “Note Documents”), and agrees that he/she/it has read
all of its provisions and agrees to be bound by such Note Documents.

The undersigned agrees to execute this Subscription Agreement and if by mail, send to the Company. You as
an individual or you on behalf of the subscribing entity are being asked to complete this Subscription Agreement
so that a determination can be made as to whether or not you (it) are qualified to purchase the Note under
applicable federal and state securities laws. Your answers to the questions contained herein must be true and
correct in all respects, and a false representation by you may constitute a violation of law for which a claim for
damages may be made against you. Your answers will be kept strictly confidential; however, by signing this
Subscription Agreement, you will be authorizing the Company to present a completed copy of this Subscription
Agreement to such parties as they may deem appropriate in order to make certain that the offer and sale of the
securities will not result in a violation of the Securities Act or of the securities laws of any state. All questions
must be answered. If the appropriate answer is “None” or “Not Applicable,” please state so. Please print or type
your answers to all questions and attach additional sheets if necessary to complete your answers to any item.
Please initial any corrections.

2. Offer to Purchase. Subscriber hereby irrevocably offers to purchase the Note and tenders herewith the total
   price noted above. Subscriber recognizes and agrees that (i) this subscription is irrevocable and, if Subscriber
   is a natural person, shall survive Subscriber’s death, disability or other incapacity, and (ii) the Company has
   complete discretion to accept or to reject this Subscription Agreement in its entirety and shall have no
   liability for any rejection of this Subscription Agreement. This Subscription Agreement shall be deemed to
   be accepted by the Company only when it is executed by the Company.

3. Effect of Acceptance. Subscriber hereby acknowledges and agrees that on the Company’s acceptance of
   this Subscription Agreement, it shall become a binding and fully enforceable agreement between the
   Company and the Subscriber. As a result, upon acceptance by the Company of this Subscription Agreement,
   Subscriber will become the record and beneficial holder of the Note and the Company will be entitled to
   receive the purchase price of the Note as specified herein.

4. Representation as to Investor Status. Investor agrees to complete all applicable portions of the Investor
   Representations page at the end of this Agreement.

5. Additional Representations and Warranties of Subscriber. Subscriber hereby represents and warrants
   to the Company as follows:




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  (a) Subscriber has been furnished the Memorandum and, if requested by the Subscriber, other documents.
      The Subscriber has carefully read the Memorandum and any such other requested documents. Subscriber
      has been furnished with all documents and materials relating to the business, finances and operations of
      the Company and information that Subscriber requested and deemed material to making an informed
      investment decision regarding its purchase of the Note. Subscriber has been afforded the opportunity to
      review such documents and materials and the information contained therein. Subscriber has been
      afforded the opportunity to ask questions of the Company and its management. Subscriber understands
      that such discussions, as well as any written information provided by the Company, were intended to
      describe the aspects of the Company’s business and prospects which the Company believes to be
      material, but were not necessarily a thorough or exhaustive description, and except as expressly set forth
      in this Subscription Agreement, the Company makes no representation or warranty with respect to the
      completeness of such information and makes no representation or warranty of any kind with respect to
      any information provided by any entity other than the Company. Some of such information may include
      projections as to the future performance of the Company, which projections may not be realized, may
      be based on assumptions which may not be correct and may be subject to numerous factors beyond the
      Company’s control. Additionally, Subscriber understands and represents that he, she or it is purchasing
      the Note notwithstanding the fact that the Company may disclose in the future certain material
      information that the Subscriber has not received, including the financial results of the Company for their
      current fiscal quarters. Neither such inquiries nor any other due diligence investigations conducted by
      such Subscriber shall modify, amend or affect such Subscriber’s right to rely on the Company’s
      representations and warranties, if any, contained in this Subscription Agreement. Subscriber has sought
      such accounting, legal and tax advice as it has considered necessary to make an informed investment
      decision with respect to its investment in the Note. Subscriber has full power and authority to make the
      representations referred to herein, to purchase the Note and to execute and deliver this Subscription
      Agreement.

  (b) Subscriber has read and understood, and is familiar with, this Subscription Agreement, the Note and the
      business and financial affairs of the Company.

  (c) Subscriber, either personally, or together with its advisors (other than any securities broker/dealers who
      may receive compensation from the sale of any of the Notes), has such knowledge and experience in
      financial and business matters as to be capable of evaluating the merits and risks of an investment in the
      Note, is able to bear the risks of an investment in the Note and understands the risks of, and other
      considerations relating to, a purchase of a Note, including the matters set forth under the caption “Risk
      Factors” in the Memorandum. The Subscriber and its advisors have had a reasonable opportunity to ask
      questions of and receive answers from the Company concerning the Note. Subscriber’s financial
      condition is such that Subscriber is able to bear the risk of holding the Note that Subscriber may acquire
      pursuant to this Agreement, for an indefinite period of time, and the risk of loss of Subscriber’s entire
      investment in the Notes.

  (d) Subscriber has investigated the acquisition of the Note to the extent Subscriber deemed necessary or
      desirable and the Company has provided Subscriber with any reasonable assistance Subscriber has
      requested in connection therewith.

  (e) The Note is being acquired for Subscriber’s own account for investment, with no intention by Subscriber
      to distribute or sell any portion thereof within the meaning of the Securities Act, and will not be
      transferred by Subscriber in violation of the Securities Act or the then applicable rules or regulations
      thereunder. No one other than Subscriber has any interest in or any right to acquire the Note. Subscriber
      understands and acknowledges that the Company will have no obligation to recognize the ownership,
      beneficial or otherwise, of the Note by anyone but Subscriber.

  (f) No representations or warranties have been made to Subscriber by the Company, or any representative




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       of the Company, or any securities broker/dealer, other than as set forth in this Subscription Agreement.

   (g) Subscriber is aware that Subscriber’s rights to transfer the Note is restricted by the Securities Act and
       applicable state securities laws, and Subscriber will not offer for sale, sell or otherwise transfer the Note
       without registration under the Securities Act and qualification under the securities laws of all applicable
       states, unless such sale would be exempt therefrom.

   (h) Subscriber understands and agrees that the Note it acquires has not been registered under the Securities
       Act or any state securities act in reliance on exemptions therefrom and that the Company has no
       obligation to register any of the Notes offered by the Company.

   (i) The Subscriber has had an opportunity to ask questions of, and receive answers from, representatives of
       the Company concerning the terms and conditions of this investment and all such questions have been
       answered to the full satisfaction of the undersigned. Subscriber understands that no person other than
       the Company has been authorized to make any representation and if made, such representation may not
       be relied on unless it is made in writing and signed by the Company. The Company has not, however,
       rendered any investment advice to the undersigned with respect to the suitability.

   (j) Subscriber understands that the Note shall bear a restrictive legend in substantially the following form
       (and a stop transfer order may be placed against transfer of such certificates):

       “NEITHER THE ISSUANCE NOR SALE OF THIS SECURITY HAVE BEEN REGISTERED
       UNDER THE SECURITIES ACT OF 1933, AS AMENDED, OR APPLICABLE STATE
       SECURITIES LAWS. THIS SECURITY MAY NOT BE OFFERED FOR SALE, SOLD,
       TRANSFERRED OR ASSIGNED (I) IN THE ABSENCE OF (A) AN EFFECTIVE
       REGISTRATION STATEMENT FOR THE SECURITY UNDER THE SECURITIES ACT OF
       1933, AS AMENDED, OR (B) AN OPINION OF COUNSEL (WHICH COUNSEL SHALL
       BE SELECTED BY THE HOLDER), IN A GENERALLY ACCEPTABLE FORM, THAT
       REGISTRATION IS NOT REQUIRED UNDER SAID ACT OR (II) UNLESS SOLD
       PURSUANT TO RULE 144 OR RULE 144A UNDER SAID ACT.”

   (k) Subscriber also acknowledges and agrees to the following:

       (i) an investment in the Note is highly speculative and involves a high degree of risk of loss of the entire
           investment in the Notes; and

       (ii) there is no assurance that a public market for the Notes will be available and that, as a result,
            Subscriber may not be able to liquidate Subscriber’s investment in the Note should a need arise to
            do so.

   (l) Subscriber is not dependent for liquidity on any of the amounts Subscriber is investing in the Note.

   (m) Subscriber’s address set forth below is his or her correct residence address.

   (n) Subscriber has full power and authority to make the representations referred to herein, to purchase the
       Note and to execute and deliver this Subscription Agreement.

   (o) Subscriber understands that the foregoing representations and warranties are to be relied upon by the
       Company as a basis for the exemptions from registration and qualification of the sale of the Note under
       the federal and state securities laws and for other purposes.

6. Representations and Warranties Regarding Patriot Act; Anti-Money Laundering; OFAC.                          The




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       Subscriber should check the Office of Foreign Assets Control (“OFAC”) website at
       http://www.treas.gov/ofac before making the following representations. Subscriber hereby represents and
       warrants to the Company as follows:

       (a) The Subscriber represents that (i) no part of the funds used by the Subscriber to acquire the Note or to
           satisfy his/her capital commitment obligations with respect thereto has been, or shall be, directly or
           indirectly derived from, or related to, any activity that may contravene United States federal or state or
           non-United States laws or regulations, including anti-money laundering laws and regulations, and (ii)
           no capital commitment, contribution or payment to the Company by the Subscriber and no distribution
           to the Subscriber shall cause the Company to be in violation of any applicable anti-money laundering
           laws or regulations including, without limitation, Title III of the Uniting and Strengthening America by
           Providing Appropriate Tools Required to Intercept and Obstruct Terrorism (USA PATRIOT ACT) Act
           of 2001 and the United States Department of the Treasury Office of Foreign Assets Control regulations.
           The Subscriber acknowledges and agrees that, notwithstanding anything to the contrary contained in the
           Memorandum or any other agreement, to the extent required by any anti-money laundering law or
           regulation, the Company may prohibit capital contributions, restrict distributions or take any other
           reasonably necessary or advisable action with respect to the Note, and the Subscriber shall have no claim,
           and shall not pursue any claim, against the Company or any other person in connection therewith. U.S.
           federal regulations and executive orders administered by OFAC prohibit, among other things, the
           engagement in transactions with, and the provision of services to, certain foreign countries, territories,
           entities and individuals. The lists of OFAC prohibited countries, territories, persons and entities can be
           found on the OFAC website at http://www.treas.gov/ofac. In addition, the programs administered by
           OFAC (the “OFAC Programs”) prohibit dealing with individuals 1 or entities in certain countries
           regardless of whether such individuals or entities appear on the OFAC lists.

       (b) To the best of the Subscriber’s knowledge, none of: (1) the Subscriber; (2) any person controlling or
           controlled by the Subscriber; (3) if the Subscriber is a privately-held entity, any person having a
           beneficial interest in the Subscriber; or (4) any person for whom the Subscriber is acting as agent or
           nominee in connection with this investment is a country, territory, individual or entity named on an
           OFAC list, or a person or entity prohibited under the OFAC Programs. Please be advised that the
           Company may not accept any amounts from a prospective investor if such prospective investor cannot
           make the representation set forth in this paragraph. The Subscriber agrees to promptly notify the
           Company should the Subscriber become aware of any change in the information set forth in these
           representations. The Subscriber understands and acknowledges that, by law, the Company may be
           obligated to “freeze the account” of the Subscriber, either by prohibiting additional subscriptions from
           the Subscriber, declining any redemption requests and/or segregating the assets in the account in
           compliance with governmental regulations, and any broker may also be required to report such action
           and to disclose the Subscriber’s identity to OFAC. The Subscriber further acknowledges that the
           Company may, by written notice to the Subscriber, suspend the redemption rights, if any, of the
           Subscriber if the Company reasonably deems it necessary to do so to comply with anti-money laundering
           regulations applicable to the Company or any Broker or any of the Company’s other service providers.
           These individuals include specially designated nationals, specially designated narcotics traffickers and
           other parties subject to OFAC sanctions and embargo programs.

       (c) To the best of the Subscriber’s knowledge, none of: (1) the Subscriber; (2) any person controlling or




1
    These individuals include specially designated nationals, specially designated narcotics traffickers and other parties subject
     to OFAC sanctions and embargo programs.




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           controlled by the Subscriber; (3) if the Subscriber is a privately-held entity, any person having a
           beneficial interest in the Subscriber; or (4) any person for whom the Subscriber is acting as agent or
           nominee in connection with this investment is a senior foreign political figure 2, or any immediate family 3
           member or close associate 4 of a senior foreign political figure, as such terms are defined in the footnotes
           below.

      (d) If the Subscriber is affiliated with a non-U.S. banking institution (a “Foreign Bank”), or if the Subscriber
          receives deposits from, makes payments on behalf of, or handles other financial transactions related to
          a Foreign Bank, the Subscriber represents and warrants to the Company that: (1) the Foreign Bank has
          a fixed address, other than solely an electronic address, in a country in which the Foreign Bank is
          authorized to conduct banking activities; (2) the Foreign Bank maintains operating records related to its
          banking activities; (3) the Foreign Bank is subject to inspection by the banking authority that licensed
          the Foreign Bank to conduct banking activities; and (4) the Foreign Bank does not provide banking
          services to any other Foreign Bank that does not have a physical presence in any country and that is not
          a regulated affiliate.

      (e) The Subscriber acknowledges that, to the extent applicable, the Company will seek to comply with the
          Foreign Account Tax Compliance Act provisions of the U.S. Internal Revenue Code and any rules,
          regulations, forms, instructions or other guidance issued in connection therewith (the “FATCA
          Provisions”). In furtherance of these efforts, the Subscriber agrees to promptly deliver any additional
          documentation or information, and updates thereto as applicable, which the Company may request in
          order to comply with the FATCA Provisions. The Subscriber acknowledges and agrees that,
          notwithstanding anything to the contrary contained in the Memorandum, any side letter or any other
          agreement, the failure to promptly comply with such requests, or to provide such additional information,
          may result in the withholding of amounts with respect to, or other limitations on, distributions made to
          the Subscriber and such other reasonably necessary or advisable action by the Company with respect to
          the Note (including, without limitation, required withdrawal), and the Subscriber shall have no claim,
          and shall not pursue any claim, against the Company or any other person in connection therewith.

The foregoing representations and warranties are true and accurate as of the date hereof and shall survive such
date. If any of the above representations and warranties shall cease to be true and accurate prior to the acceptance
of this Subscription Agreement, Subscriber shall give prompt notice of such fact to the Company by telegram,
or facsimile or e-mail, specifying which representations and warranties are not true and accurate and the reasons
therefor.

7. Indemnification. Subscriber acknowledges that Subscriber understands the meaning and legal
   consequences of the representations and warranties made by Subscriber herein, and that the Company is
   relying on such representations and warranties in making the determination to accept or reject this
   Subscription Agreement. Subscriber hereby agrees to indemnify and hold harmless the Company and each




2
    A “senior foreign political figure” is defined as a senior official in the executive, legislative, administrative, military or
    judicial branches of a foreign government (whether elected or not), a senior official of a major foreign political party, or
    a senior executive of a foreign government-owned corporation. In addition, a “senior foreign political figure” includes
    any corporation, business or other entity that has been formed by, or for the benefit of, a senior foreign political figure.
3
    “Immediate family” of a senior foreign political figure typically includes the figure’s parents, siblings, spouse, children
    and in-laws.
4
    A “close associate” of a senior foreign political figure is a person who is widely and publicly known to maintain an
    unusually close relationship with the senior foreign political figure, and includes a person who is in a position to conduct
    substantial domestic and international financial transactions on behalf of the senior foreign political figure.




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    employee and agent thereof from and against any and all losses, damages or liabilities due to or arising out
    of a breach of any representation or warranty of Subscriber contained in this Subscription Agreement.

8. Transferability. Subscriber agrees not to transfer or assign this Subscription Agreement, or any interest
   herein, and further agrees that the assignment and transferability of the Note acquired pursuant hereto shall
   be made only in accordance with applicable federal and state securities laws.

9. Termination of Agreement; Return of Funds. In the event that, for any reason, this Subscription
   Agreement is rejected in its entirety by the Company, this Subscription Agreement shall be null and void
   and of no further force and effect, and no party shall have any rights against any other party hereunder. In
   the event that the Company rejects this Subscription Agreement, the Company shall promptly return or cause
   to be returned to Subscriber any money tendered hereunder without interest or deduction.

10. Notices. All notices or other communications given or made hereunder, or pursuant to the Note, shall be in
    writing and shall be deemed delivered if (a) mailed by registered or certified mail, return receipt requested,
    postage prepaid, (b) delivered by facsimile or e-mail to Subscriber at the address set forth below and to the
    Company at investor@icapequity.com, or (c) at such other place as the Company may designate by written
    notice to Subscriber.

11. Amendments. Neither this Subscription Agreement nor any term hereof may be changed, waived,
    discharged or terminated except in a writing signed by Subscriber and the Company.

12. Governing Law. This Subscription Agreement and all amendments hereto shall be governed by and
    construed in accordance with the laws of the State of Delaware, without application of the conflicts of laws
    provisions thereof.

13. Headings. The headings in this Subscription Agreement are for convenience of reference, and shall not by
    themselves determine the meaning of this Subscription Agreement or of any part hereof.

14. Counterparts. This Subscription Agreement may be executed in any number of counterparts with the same
    force and effect as if all parties had executed the same document. The execution and delivery of a facsimile
    or other electronic transmission of this Subscription Agreement shall constitute delivery of an executed
    original and shall be binding upon the person whose signature appears on the transmitted copy.

15. Continuing Obligation of Subscriber to Confirm Investor Status. Upon the request of the Company and
    for as long as the Subscriber holds the Note or other securities in the Company, the Subscriber shall confirm
    Subscriber’s investor status as an “Accredited Investor,” as defined by the Securities and Exchange
    Commission at the time of such request. In connection therewith, the Company shall deliver to the Subscriber
    a questionnaire that elicits the necessary information to determine the Subscriber’s investor status. Upon
    receipt of the questionnaire, the Subscriber shall: (i) complete it, (ii) execute the signature page therein, and
    (iii) return it to the Company, or its designee, in accordance with the instructions therein, no later than ten
    (10) days after receipt of the questionnaire.

                        [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




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                                    INVESTOR REPRESENTATIONS

  (a) Type of Subscriber. Indicate the form of entity of Subscriber:


                Individual                     Corporation or Limited Liability Company (LLC)

                Husband and Wife               Partnership

                Joint Tenants                  Irrevocable Trust

                IRA                            Other Type of Trust (indicate type):

                Keogh/SEP                      Other Retirement Plan

                Profit Sharing Plan:____________________________________

                Other (indicate form of organization): ______________________________________

   (b) Accredited Investor. In order for the Company to sell the Note (in conformance with state and federal
       securities laws), the following information must be obtained regarding Subscriber’s investor status.
       Please initial each item applicable to you as an investor in the Company. I am:

      (i)      _____ A natural person whose net worth, either individually or jointly with such person’s
               spouse, at the time of Subscriber’s purchase, exceeds $1,000,000.

      (ii)     _____ A natural person who had an individual income in excess of $200,000, or joint income
               with that person’s spouse in excess of $300,000, in each of the two most recent years and
               reasonably expects to reach the same income level in the current year. In determining individual
               “income,” Subscriber should add to Subscriber’s individual taxable adjusted gross income
               (exclusive of any spousal income) and amounts attributable to tax exempt income received,
               losses claimed as a limited partnership, deductions claimed for depletion, contributions to an
               IRA or Keogh retirement plan, alimony payments, and any amount by which income from long-
               term capital gains has been reduced in arriving at adjusted gross income.

      (iii)    _____ A bank as defined in Section 3(a)(2) of the Securities Act, or any savings and loan
               association or other institution as defined in Section 3(a)(5)(A) of the Securities Act, whether
               acting in its individual or fiduciary capacity.

      (iv)     _____ A broker or dealer registered pursuant to Section 15 of the Securities Exchange Act of
               1934, as amended (the “Exchange Act”).

      (v)      _____ An insurance company as defined in section 2(13) of the Exchange Act.

      (vi)     _____ An investment company registered under the Investment Company Act of 1940 or a
               business development company as defined in Section 2(a)(48) of that Act.

      (vii)    _____ A Small Business Investment Company licensed by the U.S. Small Business
               Administration under Section 301(c) or (d) of the Small Business Investment Act of 1958.

      (viii)   _____ A plan established and maintained by a state, its political subdivisions, or any agency
               or instrumentality of a state, or its political subdivisions for the benefit of its employees, if such




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               plan has total assets in excess of $5,000,000.

      (ix)     _____ An employee benefit plan within the meaning of the Employee Retirement Income
               Security Act of 1974, if the investment decision is made by a plan fiduciary, as defined in
               Section 3(21) of such act, which is either a bank, savings and loan association, insurance
               company, or registered investment adviser, or if the employee benefit plan has total assets in
               excess of $5,000,000 or, if a self-directed plan, with investment decisions made solely by
               persons that are accredited investors.

      (x)      _____ A private business development company as defined in Section 202(a)(22) of the
               Investment Advisers Act of 1940.

      (xi)     _____ An organization described in Section 501(c)(3) of the Internal Revenue Code, or a
               corporation, business trust or partnership, not formed for the specific purpose of acquiring the
               Note, with total assets in excess of $5,000,000.

      (xii)    _____ A director or executive officer of the Company.

      (xiii)   _____ A trust, with total assets in excess of $5,000,000, not formed for the specific purpose of
               acquiring the Note, whose purchase is directed by a sophisticated person who has such
               knowledge and experience in financial and business matters that such person is capable of
               evaluating the merits and risks of investing in the Company.

      (xiv)    _____ An entity in which all of the equity owners qualify under any of the above
               subparagraphs.

      ________         Subscriber does not qualify under any of the investor categories set forth in Section
      (b)(i) through Section (b)(xiv).

  (c) Net Worth. The term “net worth” means the excess of total assets over total liabilities (including
      personal and real property, but excluding the estimated fair market value of a person’s primary home).




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                INDIVIDUALS, JOINT ACCOUNTS, OR REVOCABLE LIVING TRUSTS


 Investor Name(s)        1




                         2




 Registered As


 Address of
 Principal Place of
 Residence (please
 do not use PO Box)



 City                                                                              Zip Code
                                                          State


 Mailing Address
 (if different from
 above)



 Home                                                      Business
                         (       )                                                 (       )
 Telephone No.                                             Telephone No.


 Cell Phone No.          (      )                          Email Address(es)


                         1                 2
 Birth Date(s)
                                                           Occupation(s)
 (required)                                                                        1




 SSN or TIN1                                                                       2




 SSN or TIN2

Status, if individual:

    U.S. Citizen                U.S. Resident Alien      U.S. Citizen Residing Outside of U.S.

                      *Prospective Investors must fill out the Form W-9 attached hereto*




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   IF INVESTING THROUGH AN IRA, KEOGH OR OTHER RETIREMENT OR PROFIT SHARING
   PLAN, PLEASE COMPLETE THE FOLLOWING (IN ADDITION TO THE INVESTOR INFORMATION ON
   THE PREVIOUS PAGE):

         Account Name


       Custodian’s EIN


    Custodian’s Address


                   City                                State             Zip Code




Together with this Subscription Agreement, please sign and return a counterpart signature page to the
Collateral Agent Agreement, which is attached hereto as Annex 1.




                                             ACCEPTANCE

                                             iCap Pacific Income Fund 5, LLC

Date: __________________.
                                               By: iCap Pacific NW Management, LLC
                                               Its: Manager



                                                     By:       ______________________________

                                                     Name:     ______________________________

                                                     Title:    Manager




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      CORPORATIONS, PARTNERSHIPS, IRREVOCABLE TRUSTS OR OTHER ENTITIES


 1.    Name of
       entity__________________________________________________________________________



             Partnership


             Limited Liability Company


             Corporation


             Trust or Pension Plan


             Other
             ________________________________________________________________________
                     (Specify)



 Taxpayer Identification Number: ________________________________


 Business
 Address:_________________________________________________________________________


 State in which organized or incorporated _______________________


 Date of formation or incorporation: _________________


 2.    Was this partnership, corporation, trust or other entity formed for the specific purpose of
       purchasing the Note?


           Yes         No

       If yes, each person participating in the entity will be required to fill out a Subscription Agreement.


 3.    Has this partnership, corporation, trust or other entity made other investments?


           Yes         No




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      If no, each person participating in the entity will be required to fill out a Subscription Agreement.


 4.   How many persons own an equity interest in this partnership, corporation, trust or other entity
      (including the investor)?


      EACH EQUITY OWNER (OTHER THAN A SPOUSE OR CHILD OF AN EQUITY OWNER
      LIVING WITH SUCH EQUITY OWNER) MUST COMPLETE AND SIGN THIS
      QUESTIONNAIRE.


 5.   If a Trust, does the Trust have assets of at least $5,000,000?


          Yes        No        N/A


      If the prospective investor is an EMPLOYEE BENEFIT PLAN within the meaning of Title 1 of
      the Employee

      Retirement Income Security Act of 1974, as amended (“ERISA”), please answer question 12.


 6.   (a) If an Employee Benefit Plan, does the Employee Benefit Plan have assets of at least
      $5,000,000?


          Yes        No        N/A


      (b) Is this investment decision being made or directed by the beneficiaries of the Employee
      Benefit Plan?


          Yes        No        N/A

 SIGNATURE       THE UNDERSIGNED HAS THE AUTHORITY TO ENTER INTO THIS
 S-              SUBSCRIPTION AGREEMENT ON BEHALF OF THE PERSON(S) OR ENTITY
 ALL             REGISTERED ABOVE.
 INVESTORS
 MUST SIGN       Executed on______________ ________________________________


                 X
                                         Signature (Investor, or authorized signatory)

                 X
                                         Signature (Investor, or authorized signatory)




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        *Interest will accrue only after the Subscription Agreement, and all agreements relating to the Note,
 have been fully executed and accepted by the Company, and the Principal Balance has been delivered and
 made available to the Company as indicated by the Company’s financial institution.


Together with this Subscription Agreement, please sign and return a counterpart signature page to the
Collateral Agent Agreement, which is attached hereto as Annex 1.



                                                ACCEPTANCE
                                                iCap Pacific Income Fund 5, LLC


Date: ____________________.

                                                   By: iCap Pacific NW Management, LLC
                                                   Its: Manager



                                                      By:       ______________________________

                                                      Name:     ______________________________

                                                      Title:    Manager




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                        BROKER DEALER/REGISTERED INVESTMENT ADVISOR
 TO BE COMPLETED BY REGISTERED REPRESENTATIVE
 The Registered Representative of record for this transaction and a Registered Principal authorized by the
 Broker/Dealer or Registered Investment Advisor to review and approve such securities transactions must sign
 and date below. The Registered Principal warrants that the Broker/Dealer (or Registered Investment Advisor)
 is a duly licensed Broker/Dealer (or Registered Investment Advisor) and may lawfully offer the Notes in the
 state designated as the investor’s address of residence. The Registered Representative and the Registered
 Principal represent that they have reasonable grounds to believe this investment is suitable for the investor and
 that the investor has been provided full information regarding the risks of this investment including liquidity
 and marketability.
 B-D/RIA Name                                                                Telephone No.        (         )

 B-D/RIA Street
 Address or P.O.
 Box

                                                                                                          Zip
 City                                                                        State
                                                                                                          Code

 Registered
 Representative                                                              Telephone No.        (         )
 Name
 Email Address:

 Reg. Rep. Street
 Address or P.O.
 Box

                                                                                                          Zip
 City                                                                        State
                                                                                                          code



         Registered Representative: please check this box to verify that you have personally seen and recorded a government
         issued identification document from the Investor.




 Registered Representative’s Signature & Date                   Registered Principal’s Approval Signature & Date




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                                               Payment Remittance Information:

Please complete the following authorization:

I would like my payment remittance to be sent to me in the following way:

           ACH Authorization (Direct Deposit):

I hereby authorize iCap Pacific Income Fund 5, LLC (“the Company”) to initiate credit entries to the bank
account(s) listed below. I further authorize the financial institution(s) named below to credit such account(s).

    Name of Financial              Checking or                Bank Routing               Bank Account              % or Amount of
       Institution                  Savings                     Number                     Number                     Deposit




  For iCap to verify bank account and routing numbers, investors are encouraged to attach a VOIDED CHECK for each investor account to be
  credited. Investors should retain completed copies of this form for their records.


         Check:

I hereby authorize iCap Pacific Income Fund 5, LLC (“the Company”) to mail my payment remittance to the
following:

Name:
Institution (if applicable):

Account Number (if applicable):
Address:                                          ____________________________________________

                                                 ____________________________________________

I understand that this authorization remains in effect until the Company receives from me, in writing, notification
to terminate/change the authorization in such a time and manner as to afford the Company a reasonable time to
act on it.

_____________________________________________________________________________
Account Holder Signature                                          Date


_____________________________________________________________________________
Account Holder Signature                                          Date




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                                                    Annex 1

                          Counterparty Signature Page to Collateral Agent Agreement

        By execution hereof, the undersigned Holder hereby joins in and becomes a Holder under that certain
Collateral Agent Agreement dated as of September 5, 2019, by and between iCap Pacific Income Fund 5, LLC,
a Delaware limited liability company (“Company”), the holders of the Notes (as defined in such therein) and
MarketPlace Realty Advisors, LLC in its capacity as collateral agent (in such capacity “Agent”) (the “Collateral
Agent Agreement”).

        The undersigned Holder has received and read a copy of the Collateral Agent Agreement and
understands its provisions. Holder hereby adopts and agrees to be bound by all of the provisions of the Collateral
Agent Agreement and all of the provisions of the Collateral Agent Agreement are hereby incorporated herein.
       IN WITNESS WHEREOF, the Parties hereto have caused this Counterpart Signature Page to Collateral
Agent Agreement to be executed as of the date set forth below.

        Holder Name: ________________________

        Signature        ________________________
        Title:           ________________________
                          (if applicable)

        Date:            ________________________


                                         Agreed and accepted:

                                         iCap Pacific Income Fund 5, LLC

                                                  By: iCap Pacific NW Management, LLC
                                                  Its: Manager

                                                  By:    ______________________________
                                                  Name: ______________________________
                                                  Title: ______________________________




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                                    EXHIBIT B

                           FORM OF PROMISSORY NOTE

                                     (Attached)




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NEITHER THE ISSUANCE NOR SALE OF THIS SECURITY HAVE BEEN REGISTERED UNDER
THE SECURITIES ACT OF 1933, AS AMENDED, OR APPLICABLE STATE SECURITIES LAWS.
THIS SECURITY MAY NOT BE OFFERED FOR SALE, SOLD, TRANSFERRED OR ASSIGNED (I)
IN THE ABSENCE OF (A) AN EFFECTIVE REGISTRATION STATEMENT FOR THE SECURITY
UNDER THE SECURITIES ACT OF 1933, AS AMENDED, OR (B) AN OPINION OF COUNSEL
(WHICH COUNSEL SHALL BE SELECTED BY THE HOLDER), IN A GENERALLY ACCEPTABLE
FORM, THAT REGISTRATION IS NOT REQUIRED UNDER SAID ACT OR (II) UNLESS SOLD
PURSUANT TO RULE 144 OR RULE 144A UNDER SAID ACT.


Principal Amount: $_____________                                            Issue Date: ___________________

                                                                      Account Number: ___________________


                                     SECURED PROMISSORY NOTE

         FOR VALUE RECEIVED, iCap Pacific Income Fund 5, LLC, a Delaware limited liability company
(the “Company”), hereby promises to pay to the order of ________________________________________, or
registered assigns (the “Holder”), in the form of lawful money of the United States of America by the fifth (5th)
anniversary of the Issue Date (as defined below) (the “Maturity Date”), the amount first set forth above
(“Principal Amount”), and to pay interest on the unpaid Principal Amount hereof at the rate of [nine percent
(9%) per annum, simple interest, non-compounding][10% per annum for the first year from the Issue Date and
9% per annum thereafter] (the “Interest Rate”), from the Issue Date until the same becomes due and payable,
whether at maturity or upon acceleration or by prepayment or otherwise, pursuant to the terms of this Secured
Promissory Note (this “Note”). The “Issue Date” is defined as the date on which the Subscription Agreement
and all related documents are executed in full, and the Principal Amount is made available to the Company as
determined by the Company’s financial institution; provided, however, that if this Note is signed by Company,
and the entire Principal Amount is not made available to the Company within 21 days of the date first set forth
above, then this Note, the Subscription Agreement, and all related documents shall be automatically terminated,
cancelled, or rescinded and of no effect. This Note is one of a Series of Secured Promissory notes being issued
by the Company up to a total principal amount of $50,000,000, with an over-allotment amount of an additional
$25,000,000 (collectively, the “Notes”). This Note is issued to Holder pursuant to a Subscription Agreement
dated as of ____________, 20___ (the “Subscription Agreement”) by and between the Company and Holder and
is subject to the terms and conditions thereof.

1. Payments.

    (a) This Note is a balloon note and although interest will be paid monthly as set forth below, there are no
        scheduled payments of the Principal Amount prior to the Maturity Date except as otherwise set forth
        herein. Unless otherwise paid, the outstanding Principal Amount and all unpaid Interest shall be paid on
        the Maturity Date. The Company may prepay all or any portion of the Principal Amount and unpaid
        Interest prior to the Maturity Date without penalty.

    (b) At any time following the first anniversary of the Issue Date, Holder may require the Company to repay
        all or a portion of the Principal Amount and all unpaid Interest then due and payable (a “Demand
        Repayment”). Any Demand Repayment may be made through the Company’s investor portal accessible
        at www.icapequity.com, an electronic application as provided by the Company to Holder, or by delivery
        to the Company of a demand notice in the form as attached hereto as Exhibit A (each as so delivered, a
        “Demand Notice”). Upon receipt of a Demand Notice, the Company will pay the requested amount in
        four equal installments due within 15-days of the beginning of each calendar quarter (the “Demand
        Payment”). The first payment will be made in the next calendar quarter that follows delivery of proper

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         notice, provided 45-days’ notice is provided to the Company. Notwithstanding the foregoing, the
         Company’s demand payment obligation is subject to a limit of 5% of the combined notes of the Company
         requested per year. If more than 5% of the combined notes provide Demand Notice within a given year,
         then the Notes of Investors who provide subsequent Demand Notice will be paid in the order received
         after the combined total, including the subsequent Note, has been reduced to less than 5%. All
         repayments pursuant to this Section 1(b) shall be applied first to accrued and unpaid Interest and
         thereafter to the Principal Amount. Notwithstanding the foregoing, Demand Repayments will be subject
         to the following reductions in the requested repayment amounts:

         (i) For Demand Repayments received by the Company prior to the second anniversary of the Issue
             Date, the repayment amount will be subject to a 10% reduction, such that 90% of the repayment
             amount in the Demand Repayment shall be repaid and the remaining 10% of the repayment amount
             in the Demand Repayment shall be deemed forgiven and satisfied in full.

         (ii) For Demand Repayments received by the Company after the second anniversary of the Issue Date
              but prior to the third anniversary of the Issue Date, the repayment amount will be subject to a 7.5%
              reduction, such that 92.5% of the repayment amount in the Demand Repayment shall be repaid and
              the remaining 7.5% of the repayment amount in the Demand Repayment shall be deemed forgiven
              and satisfied in full.

         (iii) For Demand Repayments received by the Company after the third anniversary of the Issue Date but
               prior to the fourth anniversary of the Issue Date, the repayment amount will be subject to a 5%
               reduction, such that 95% of the repayment amount in the Demand Repayment shall be repaid and
               the remaining 5% of the repayment amount in the Demand Repayment shall be deemed forgiven
               and satisfied in full.

         (iv) For Demand Repayments received by the Company after the fourth anniversary of the Issue Date
              but prior to the fifth anniversary of the Issue Date, the repayment amount will be subject to a 2.5%
              reduction, such that 97.5% of the repayment amount in the Demand Repayment shall be repaid and
              the remaining 2.5% of the repayment amount in the Demand Repayment shall be deemed forgiven
              and satisfied in full.

    (c) Unless otherwise agreed between Company and Holder, all accrued monthly interest payments will be
        paid to the Holder on or before the 15th of each month following the Issue Date.

    (d) The Company may not, and shall not, incur additional indebtedness for the sole purpose of making any
        Demand Repayments hereunder.

2. Security and Guaranty; Exchange.

    (a) Payment of this Note and the Interest and Principal Amount hereunder shall be secured by a pledge of
        the equity securities of any direct wholly owned subsidiaries held by iCap Holding 5, LLC a wholly
        owned subsidiary of the Company (“iCap Holding”), pursuant to a Pledge and Security Agreement
        entered into on September 5, 2019 by and between MarketPlace Realty Advisors, LLC in its capacity as
        collateral agent for the holders of the Notes (in such capacity “Agent”), the Company and iCap Holding
        (the “Security Agreement”) provided that such security interest may be junior to any financing in place
        related to the real estate holdings of such subsidiaries; and payment of this Note and the Interest and
        Principal Amount hereunder shall be guaranteed by iCap Holding pursuant to the Guaranty Agreement
        entered into on September 5, 2019 by iCap Holding for the benefit of the holders of the Notes pursuant
        to which iCap Holding 5, LLC guaranteed the obligations of the Company hereunder (the “Guaranty
        Agreement. This Note, the Subscription Agreement pursuant to which Holder acquired this Note, the
        Pledge and Security Agreement, Collateral Agent Agreement and the Guaranty Agreement may be

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         referred to collectively as the “Transaction Documents.”

    (b) This Note will be subordinate at times to the rights of any lender of the Company or its subsidiaries, as
        well as to other higher-ranking obligations of the Company, including property taxes and management
        fees, as further set forth in the Security Agreement.

3. Application of Payments. Unless otherwise expressly provided in this Note, all payments made on this Note
   shall be applied, (i) first to the payment of the Interest and other charges then accrued and due on the unpaid
   Principal Amount of this Note; and then (ii) the remainder of all such payments shall be applied to the
   reduction of the unpaid Principal Amount.

4. Events of Default.

    (a) Definition. Subject to the provisions of Section 4(c), for the purpose of the Transaction Documents, an
        event of default (“Event of Default”) will be deemed to have occurred if, and at the time, holders holding
        a majority of the principal amount of the Notes then outstanding (a “Majority-in-Interest of the
        Noteholders”) elect to declare such an Event of Default, which a Majority-in-Interest of the Noteholders
        may only do in the event that any of the following occur, and after the Company has not rectified such
        event within 90 days of receipt of notice thereof signed by a Majority-in-Interest of the Noteholders:

         (i) The Company fails to make a Demand Payment when due pursuant to Section 1(b);

         (ii) the Company fails to perform any of its material obligations under this Note, or being in breach in
              any material respect of any representation, warranty, covenant or agreement on the part of the
              Company set forth in this Note;

         (iii) the Company commences any liquidation or dissolution proceedings or filing of a petition in
               bankruptcy under any provisions of federal or state bankruptcy law or consents to the filing of any
               bankruptcy petition against it under any similar law; or

         (iv) the Company fails to pay all amounts due under the Notes on the Maturity Date.

    (b) Consequences of Events of Default. If, and at the time, an Event of Default occurs, then, as of the date
        that the Event of Default is declared as required hereunder, the Interest Rate relating to the Note(s) to
        which the Event of Default relates shall be increased to fifteen percent (15%) per annum (the “Default
        Rate”), which Default Rate shall remain in place until this Note is either paid as due or such Event of
        Default is cured. If an Event of Default as set forth in Section 1(a)(i), Section 1(a)(ii), or Section 1(a)(iv)
        occurs, a Majority-in-Interest of the Noteholders will have the right to declare only the applicable
        Note(s) which are subject to the Event of Default due and payable, which determination will be delivered
        to the Agent pursuant to the Collateral Agent Agreement and will be forwarded to the Company as set
        forth herein. If an Event of Default as set forth in Section 1(a)(iii) occurs, a Majority-in-Interest of the
        Noteholders will have the right to declare all of the Notes due and payable and, if the Security Agreement
        and Guaranty Agreement are still in effect as of such time, a Majority-in-Interest of the Noteholders
        shall have the right to direct the Collateral Agent to proceed to enforce the security granted to the
        noteholders pursuant to the Pledge and Security Agreement and to enforce the Guaranty Agreement.

    (c) Power to Vote. Notwithstanding Section 4(a), Holder shall not be entitled to vote for or against the
        declaration of an “Event of Default” unless, as of the time of such vote, the applicable Event of Default
        has occurred and is continuing under this Note, provided, however, that the Principal Amount hereunder
        shall continue to be counted for purposes of determining the aggregate principal amount of Notes then
        outstanding for purposes of determining whether holders of a sufficient aggregate principal amount of
        Notes have elected to declare an “Event of Default.”

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    (d) Notwithstanding Section 4(a), Section 4(b) and Section 4(c), in the event that any of the events set forth
        in Section 4(a) occurs with respect to this particular Note which could result in an Event of Default
        occurring following the completion of the actions set forth in provisions of Section 4(b) and Section
        4(c), but an Event of Default is not declared or is not declarable due to the provisions of Section 4(b)
        and Section 4(c) within 90 days of the occurrence of such event, the Holder hereunder may send a notice
        of such event to the Company. In the event that the Company has not rectified such event within an
        additional 90 days of receipt of notice thereof signed by the Holder hereof, it shall be an “Individual
        Note Default” hereunder. In the event of an Individual Note Default, the Default Rate shall apply to this
        particular Note, subject to the terms and conditions above, this Note shall be immediately due and
        payable, and the Holder hereunder shall be permitted to bring a claim for payment under this particular
        Note against the Company as a result of such Individual Note Default, notwithstanding the fact that the
        Holder shall not have any rights pursuant to the Security Agreement and the Guaranty Agreement due
        to the fact that an Event of Default has not been declared.

5. Cancellation. After all obligations for the payment of money arising under this Note have been paid in full
   this Note will be surrendered to the Company for cancellation.

6. Failure or Indulgence Not Waiver. No failure or delay on the part of the Holder in the exercise of any power,
   right or privilege hereunder shall operate as a waiver thereof, nor shall any single or partial exercise of any
   such power, right or privilege preclude other or further exercise thereof or of any other right, power or
   privileges. All rights and remedies of the Holder existing hereunder are cumulative to, and not exclusive of,
   any rights or remedies otherwise available.

7. Notices. All notices, demands, requests, consents, approvals, and other communications required or
   permitted hereunder shall be in writing and, unless otherwise specified herein, if sent from the Holder shall
   be sent to the Agent as set forth in the Collateral Agent Agreement, who shall thereafter forward such notices
   to the Company, and if sent by the Company shall either be sent directly to the Holder to the addresses as
   set forth in the Collateral Agent Agreement or to the Agent who shall thereafter forward such notices to the
   Holder, and, in the case of notices sent to the Holder, shall be subject to the provisions of Section 9.

8. Amendments. This Note may be amended at any time by the written consent of the Holder and Company,
   subject to the provisions of Section 9.

9. Deemed Consent.

    (a) Each request for consent, approval or waiver under this Note, for an amendment hereof of other matter,
        which is sent by the Company, shall be made in writing to the Agent on behalf of the Holders, and which
        the Agent shall forward to the Holders, and shall include all information necessary for Holder to make
        an informed decision as to whether to agree to such consent, approval, waiver or amendment, and shall
        include the following in capital, bold and block letters: “FIRST NOTICE – THIS IS A REQUEST FOR
        CONSENT, APPROVAL OR WAIVER UNDER THAT CERTAIN SECURED PROMISSORY NOTE
        BETWEEN YOU AS THE HOLDER AND iCap Pacific Income Fund 5, LLC, OR AN AMENDMENT
        THEREOF OR OTHER MATTER AS DESCRIBED HEREIN. THE FOLLOWING REQUEST
        REQUIRES A RESPONSE WITHIN TEN (10) DAYS OF RECEIPT.”

    (b) If the Holder does not approve or reject the proposed matter within ten (10) days of receipt of such notice
        and all necessary information, via delivery of the same to the Agent within such time period, for further
        distribution to the Company, the Company may request a consent or approval again by delivery of a
        notice including the following in capital, bold and block letters: “SECOND NOTICE – THIS IS A
        SECOND AND FINAL REQUEST FOR CONSENT, APPROVAL OR WAIVER UNDER THAT
        CERTAIN SECURED PROMISSORY NOTE BETWEEN YOU AS THE HOLDER AND iCap Pacific
        Income Fund 5, LLC, OR AN AMENDMENT THEREOF OR OTHER MATTER AS DESCRIBED

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         HEREIN. THE FOLLOWING REQUEST REQUIRES A RESPONSE WITHIN TEN (10) DAYS OF
         RECEIPT.

    (c) If the Holder does not approve or reject the proposed or requested consent, approval, waiver or
        amendment or other matter within ten (10) days of receipt of such second and final notice, via delivery
        of the same to the Agent within such time period, for further distribution to the Company, Holder shall
        be deemed to have approved, in writing, the proposed consent, approval, waiver or amendment or other
        matter as set forth in the notice, and the Company may effect the actions set forth therein in reliance on
        such consent.

10. Assignability. This Note shall be binding upon the Company and its successors and assigns, and shall inure
    to be the benefit of the Holder and its successors and assigns. Each transferee of this Note must be an
    “Accredited Investor” (as defined in the Subscription Agreement) and any transfer is subject to the terms
    and conditions thereof.

11. Governing Law; Venue; Attorney’s Fees. This Note shall be governed by and construed in accordance with
    the laws of the State of Delaware without regard to principles of conflicts of laws. ANY LEGAL SUIT,
    ACTION OR PROCEEDING ARISING OUT OF OR BASED UPON THIS NOTE, THE OTHER
    TRANSACTION DOCUMENTS OR THE CONTEMPLATED TRANSACTIONS SHALL BE
    INSTITUTED SOLELY IN THE FEDERAL COURTS OF THE UNITED STATES OF AMERICA OR
    THE COURTS OF THE STATE OF WASHINGTON, IN EACH CASE LOCATED IN KING COUNTY,
    WASHINGTON, AND EACH PARTY IRREVOCABLY SUBMITS TO THE PERSONAL
    JURISDICTION OF SUCH COURTS IN ANY SUCH SUIT, ACTION OR PROCEEDING. THE
    COMPANY AND THE HOLDER EACH HEREBY IRREVOCABLY WAIVES ANY RIGHT IT
    MAY HAVE, AND AGREES NOT TO REQUEST, A JURY TRIAL FOR THE ADJUDICATION
    OF ANY DISPUTE HEREUNDER OR IN CONNECTION WITH OR ARISING OUT OF THIS
    NOTE OR ANY TRANSACTIONS CONTEMPLATED HEREBY. Each party hereby irrevocably
    waives personal service of process and consents to process being served in any suit, action or proceeding in
    connection with this Note or any other agreement, certificate, instrument or document contemplated hereby
    or thereby by mailing a copy thereof via registered or certified mail or overnight delivery (with evidence of
    delivery) to such party at the address in effect for notices to it under this Note and agrees that such service
    shall constitute good and sufficient service of process and notice thereof. Nothing contained herein shall be
    deemed to limit in any way any right to serve process in any other manner permitted by law. The prevailing
    party in any action or dispute brought in connection with this Note or any other agreement, certificate,
    instrument or document contemplated hereby or thereby shall be entitled to recover from the other party its
    reasonable attorneys’ fees and costs.

12. Other Agreements. The Company, the Agent and the Holder shall be bound by the applicable terms of the
    Subscription Agreement, and, for such time as they are in effect, the Security Agreement and the Guaranty
    Agreement. The Subscription Agreement, the Security Agreement, the Guaranty Agreement, the Collateral
    Agent Agreement and this Note constitute the sole and entire agreement of the Company, the Agent and the
    Holder with respect to the subject matter contained herein and therein, and supersede all prior and
    contemporaneous understandings and agreements, both written and oral, with respect to such subject matter.

13. Remedies. The Company acknowledges that a breach by it of its obligations hereunder will cause irreparable
    harm to the Holder, by vitiating the intent and purpose of the transaction contemplated hereby. Accordingly,
    except as expressly set forth herein or in the Transaction Documents the Company acknowledges that the
    remedy at law for a breach of its obligations under this Note will be inadequate and agrees, in the event of a
    breach or threatened breach by the Company of the provisions of this Note, that the Holder shall be entitled,
    in addition to all other available remedies at law or in equity, and in addition to the penalties assessable
    herein, to an injunction or injunctions restraining, preventing or curing any breach of this Note and to enforce
    specifically the terms and provisions thereof, without the necessity of showing economic loss and without

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    any bond or other security being required. If default is made in the payment of this Note, the Company shall
    pay the Holder costs of collection, including reasonable attorneys’ fees.

14. Construction; Headings. This Note shall be deemed to be jointly drafted by the Company and the Holder
    and shall not be construed against any person as the drafter hereof. The headings of this Note are for
    convenience of reference and shall not form part of, or affect the interpretation of, this Note.

15. Usury. To the extent it may lawfully do so, the Company hereby agrees not to insist upon or plead or in any
    manner whatsoever claim, and will resist any and all efforts to be compelled to take the benefit or advantage
    of, usury laws wherever enacted, now or at any time hereafter in force, in connection with any action or
    proceeding that may be brought by the Holder in order to enforce any right or remedy under this
    Note. Notwithstanding any provision to the contrary contained in this Note, it is expressly agreed and
    provided that the total liability of the Company under this Note for payments which under Delaware law are
    in the nature of interest shall not exceed the maximum lawful rate authorized under applicable law (the
    “Maximum Rate”), and, without limiting the foregoing, in no event shall any rate of interest or default
    interest, or both of them, when aggregated with any other sums which under Delaware law in the nature of
    interest that the Company may be obligated to pay under this Note exceed such Maximum Rate. It is agreed
    that if the maximum contract rate of interest allowed by Delaware law and applicable to this Note is increased
    or decreased by statute or any official governmental action subsequent to the date hereof, the new maximum
    contract rate of interest allowed by law will be the Maximum Rate applicable to this Note from the effective
    date thereof forward, unless such application is precluded by applicable law. If under any circumstances
    whatsoever, interest in excess of the Maximum Rate is paid by the Company to the Holder with respect to
    indebtedness evidenced by this the Note, such excess shall be applied by the Holder to the unpaid principal
    balance of any such indebtedness or be refunded to the Company, the manner of handling such excess to be
    at the Holder’s election.

16. Severability. In the event that any provision of this Note is invalid or unenforceable under any applicable
    statute or rule of law (including any judicial ruling), then such provision shall be deemed inoperative to the
    extent that it may conflict therewith and shall be deemed modified to conform with such statute or rule of
    law. Any such provision which may prove invalid or unenforceable under any law shall not affect the validity
    or enforceability of any other provision of this Note.

                                           [Signature Page Follows]




                                                 Exhibit B – Page 6

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                                                                                        Pg 5451, Page
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             IN WITNESS WHEREOF, the Company has executed and delivered this Note on the Issue
    Date.

                                         iCap Pacific Income Fund 5, LLC



                                                  By: iCap Pacific NW Management, LLC

                                                  Its: Manager



                                                  By:      ______________________________

                                                  Name: ______________________________

                                                  Title:   ______________________________




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                                                                                Pg 5461, Page
                                                                                         of 630546
                                                   Exhibit A

                                          Demand Repayment Notice

 This is a Demand Notice pursuant to that certain Secured Promissory Note of iCap Pacific Income Fund 5,
 LLC, a Delaware limited liability company (the “Company”), issued to the undersigned (“Holder”) on
 ________________, 20___ in the original Principal Balance of $____________________ (the “Note”).
 Defined terms used herein shall have the meaning given to them in the Note. Pursuant to the provisions of
 the Note, Holder hereby demands prepayment of the following amount:



 Amount (Select One)


          Full repayment of all Principal Balance and all unpaid Interest (subject to discounts as set forth in
          the Note); OR

          Repayment of the following amount:            $_________________



 Payment Method (Select One)


          Via ACH transfer to:
              Account Name:                ____________________________
              ABA Routing Number:          ____________________________
              Account Number:              ____________________________
              Bank Name:                   ____________________________

              SWIFT CODE:                  ____________________________


          Via Check to the address of Holder as set forth in the Subscription Agreement.



 Name of Holder:



 Signature:



                          Title:   _______________________________________

                           Date:   _______________________________________




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                                                                                      Pg 5471, Page
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                                    EXHIBIT C

                      PLEDGE AND SECURITY AGREEMENT

                                    (Attached)




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                                PLEDGE AND SECURITY AGREEMENT

          This Pledge and Security Agreement (this “Agreement”), dated as of September 5, 2019 (the
 “Effective Date”), is entered into by and between iCap Pacific Income Fund 5, LLC, a Delaware limited
 liability company (the “Company”), iCap Holding 5, LLC, a Delaware limited liability company and a
 wholly owned subsidiary of the Company (“iCap Holding”) and MarketPlace Realty Advisors, LLC in its
 capacity as collateral agent (in such capacity “Agent”) for the benefit of the holders of promissory notes
 issued by the Company pursuant to an offering of up to $50,000,000 of promissory notes, with an over-
 allotment amount of an additional $25,000,000, of the Company (the “Notes”) pursuant to Regulation D
 promulgated under the Securities Act of 1933, as amended, commencing on or about September 5, 2019
 (each a “Holder” and collectively the “Holders”), who execute a counterpart signature page to the Collateral
 Agent Agreement, dated as of the Effective Date, between the Company, the Agent and the Holders for the
 benefit of the Holders (the “Collateral Agent Agreement”). Each of the Company, iCap Holding and each
 Holder may be referred to herein as a “Party” and collectively as the “Parties.” Defined terms used herein
 without definition shall have the meaning given to them in the Notes.

         WHEREAS, iCap Holding is or shall be a member or shareholder of certain subsidiaries of iCap
 Holding which shall hold real estate investment properties, the interests in which will be acquired with the
 proceeds of the Notes and the proceeds from which will be used to pay amounts due to the Holders pursuant
 to the Notes (the “Portfolio SPEs”), holding all of the Class A membership interests or shares of capital
 stock of such Portfolio SPEs (the “Pledged Interests”); and

         WHEREAS, iCap Holding has agreed to execute and deliver this Agreement pursuant to the terms
 of the Notes;

         NOW, THEREFORE, in consideration of the covenants, promises and representations set forth
 herein, and for other good and valuable consideration, the receipt and sufficiency of which is hereby
 acknowledged, and intending to be legally bound hereby, the parties agree as follows:

 1. PLEDGE. To secure the prompt payment and full and faithful performance of the obligations of the
    Company to the Holders pursuant to the Notes, whether direct, contingent, fixed or otherwise, now or
    hereafter from time to time arising pursuant to the Notes (collectively, the “Indebtedness”), iCap Holding
    hereby grants a security interest in and to, does hereby pledge and assign to, Holders, under Articles 8
    and 9 of the UCC (as defined below), all its right, title, share and interest in, to and in respect of (i) the
    Pledged Interests; (ii) together with only so much of any distribution, whether of cash or in kind, in
    connection with, relating to or in respect of the applicable Pledged Interests, whether any such
    distribution or payment is a distribution, is in partial or complete liquidation, or is the result of
    reclassification, readjustment or other changes in the capital structure of the entity issuing the same, or
    otherwise, and any and all subscriptions, warrants, options and other rights issued upon and/or in
    connection therewith; (iii) any and all substitutions, renewals, improvements and replacements of the
    Pledged Interests and additions thereto; and (iv) all proceeds arising from any of the foregoing. All of
    the foregoing items are referred to herein individually and/or collectively as the “Collateral.” Capitalized
    terms not otherwise defined herein or in the Notes shall have the meaning given them in the UCC. For
    purposes of this Agreement, “UCC” means the Uniform Commercial Code as the same may, from time
    to time, be in effect in the State of Delaware; provided, however, in the event that, by reason of
    mandatory provisions of law, any or all of the attachment, perfection or priority of Holders’ security
    interest in the Pledged Interests is governed by the Uniform Commercial Code as in effect in a
    jurisdiction other than the State of Delaware, the term “UCC” shall mean the Uniform Commercial Code
    as in effect in such other jurisdiction for purposes of the provisions hereof relating to such attachment,
    perfection or priority and for purposes of definitions related to such provisions.

 2. VOTING AND TRADING RIGHTS. If no Event of Default has occurred and is continuing, iCap

                                                  Exhibit C – Page 1

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     Holding may exercise any voting rights that iCap Holding may have as to the Pledged Interests. If an
     Event of Default has occurred and is continuing, iCap Holding shall deliver the Pledged Interests to such
     party as directed by the Agent on the direction of a Majority-in-Interest of the Noteholders pursuant to
     the Collateral Agent Agreement (the “Designated Party”), and thereafter Holders may exercise all voting
     rights as to any of the Pledged Interests and iCap Holding shall deliver to the Designated Party all notices,
     proxies and other information relating to the exercise of such rights received by iCap Holding promptly
     upon receipt and, at the request of Designated Party, shall execute and deliver to the Designated Party
     any proxies or other instruments which are, in the judgment of the Designated Party, necessary for
     Holders to exercise such voting rights, and a Majority-in-Interest of the Noteholders may direct the
     Agent to exercise the rights and pursue the remedies provided under Articles 8 and 9 of the Uniform
     Commercial Code.

 3. DUTY OF PLEDGEE. Agent, on behalf of the Holders, shall have no liability or duty, either before or
    after the occurrence of an Event of Default, to collect or enforce any of its rights against, the Pledged
    Interests. If the Agent or the Holders actually receive any notices requiring action with respect to
    Pledged Interests in Holders’ possession, Holders shall take reasonable steps to forward such notices to
    iCap Holding. Except as provided herein, iCap Holding is responsible for responding to notices
    concerning the Pledged Interests, voting the Pledged Interests, and exercising any rights and options,
    calls or conversions in respect of the Pledged Interests.

 4. REPRESENTATIONS AND WARRANTIES. iCap Holding represents and warrants to the Holders
    that:

         (a) The Pledged Interests do, or shall, constitute all of iCap Holding’s ownership interest in the
             Portfolio SPEs.

         (b) iCap Holding is a limited liability company duly organized, validly existing, and in good
             standing under the laws of the State of Delaware and has the limited liability company power
             and is duly authorized under all applicable laws, regulations, ordinances, and orders of public
             authorities to carry on its business in all material respects as it is now being conducted. The
             execution and delivery of this Agreement does not, and the consummation of the transactions
             contemplated hereby will not, violate any provision of iCap Holding’s organizational
             documents. iCap Holding has taken all action required by law, its organizational documents, or
             otherwise to authorize the execution and delivery of this Agreement.

         (c) The execution of this Agreement and the consummation of the transactions contemplated by this
             Agreement will not result in the breach of any term or provision of, constitute a default under,
             or terminate, accelerate or modify the terms of, any indenture, mortgage, deed of trust, or other
             material agreement or instrument to which iCap Holding is a party or to which any of its assets,
             properties or operations are subject.

         (d) This Agreement and all agreements and other documents executed by iCap Holding in
             connection herewith constitute the valid and binding obligation of iCap Holding, enforceable in
             accordance with its or their terms, except as may be limited by bankruptcy, insolvency,
             moratorium or other similar laws affecting the enforcement of creditors’ rights generally and
             subject to the qualification that the availability of equitable remedies is subject to the discretion
             of the court before which any proceeding therefore may be brought.

         (e) No consent, approval or authorization of any third party or any governmental body or officer is
             required for the valid and lawful execution and delivery of this Agreement, the pledge of a
             security interest in the Pledged Interests in favor of Holders or the valid and lawful exercise by
             Holders of remedies available to them under this Agreement or applicable law or of the voting

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             and other rights granted to it in this Agreement, except as may be required for the offer or sale
             of securities under applicable securities laws.

         (f) iCap Holding is the sole owner of the Pledged Interests, has the right to grant the security interest
             provided for herein to Holders and, to the knowledge of iCap Holding, has granted to Holders a
             valid and perfected first priority security interest in the Pledged Interests, free of all liens,
             encumbrances, transfer restrictions and adverse claims.

 5. COVENANTS. iCap Holding covenants and agrees that so long as this Agreement shall be in effect:

         (a) Provided that an Event of Default does not exist and is continuing, then the Company, iCap
             Holding and the Portfolio SPEs may make distributions to their respective members as they
             determine, subject to any limitations thereon as set forth in the limited liability company
             agreement of the Company. At any time that an Event of Default exists and is continuing, none
             of the Company, iCap Holding or the Portfolio SPEs shall make any distributions to their
             members, other than tax distributions (i.e., distributions in the amount of taxes payable by such
             members on the apportioned income of the entities) or as otherwise required by law.
             Distributions as referenced herein does not include Management Fees, origination fees, or other
             fees owed to affiliates of iCap Holding. The Company may cause the real estate owned by the
             Portfolio SPEs to be sold, encumbered, transferred, pledged, liened, or otherwise disposed of as
             it sees fit.

         (b) iCap Holding shall defend iCap Holding’s title to the Pledged Interests and the security interest
             of Holders against the claims of any person claiming rights in the Pledged Interests.

         (c) Without the prior written consent of a Majority-in-Interest of the Noteholders, delivered to the
             Agent pursuant to the Collateral Agent Agreement, (i) iCap Holding shall not sell, gift, pledge,
             exchange or otherwise transfer the Pledged Interests. In the event of any such sale, exchange or
             transfer consented to by Holders, iCap Holding shall upon receipt the proceeds of such sale,
             exchange or transfer to pay any such distribution with respect to the Pledged Interests to the
             Agent for further distribution to the Holders for application to the Indebtedness.

         (d) iCap Holding will pay and discharge when due all of its material obligations and liabilities
             (including, without limitation, tax liabilities) which if unpaid when due might by law give rise
             to a lien on the Pledged Interests, except where the same may be contested in good faith by
             appropriate proceedings.

         (e) At iCap Holding’s expense, do such further facts and execute and deliver such additional
             conveyances, certificates, instruments, legal opinions and other assurances as a Majority-in-
             Interest of the Noteholders may direct the Agent to reasonably request to protect, assure or
             enforce the interests, rights and remedies of the Holders under this Agreement.

         (f) Without the prior approval of Majority-in-Interest of the Noteholders, delivered to the Agent
             pursuant to the Collateral Agent Agreement, none of the Company, iCap Holding nor any of
             their subsidiaries shall (i) incur any leverage or borrowings on the their respective assets in
             excess of 25% of the total principal amount of Notes then issued and outstanding, or (ii) issue
             any promissory notes which are senior to the Notes if the principal amount of such senior
             promissory notes exceed 25% of the total principal amount of Notes then issued and
             outstanding.

 6. INDEMNIFICATION. Each Party shall indemnify and hold harmless the other Parties and such other
    Parties’ agents, beneficiaries, affiliates, representatives and their respective successors and assigns

                                                 Exhibit C – Page 3

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     (collectively, the “Indemnified Persons”) from and against any and all damages, losses, liabilities, taxes
     and costs and expenses (including, without limitation, attorneys’ fees and costs) resulting directly or
     indirectly from (a) any inaccuracy, misrepresentation, breach of warranty or nonfulfillment of any of the
     representations and warranties of such Party in this Agreement, or any actions, omissions or statements
     of fact inconsistent with in any material respect any such representation or warranty, (b) any failure by
     such Party to perform or comply with any agreement, covenant or obligation in this Agreement.

 7. TERMINATION. This Agreement shall automatically terminate and be of no further force or effect, and
    any security interest in the Pledged Interests shall automatically terminate and be released, as of the full
    payment of the Notes.

 8. EXPENSES. iCap Holding agrees that, following an Event of Default, iCap Holding will pay to the
    Agent, on behalf of and for further distribution to, the Holders upon demand the amount of any out-of-
    pocket expenses, including the fees and disbursements of counsel, that Holders incur in connection with
    the enforcement of this Agreement, including expenses incurred to preserve the value of the Pledged
    Interests, the sale or other disposition of any of the Pledged Interests, the exercise by Holders of any of
    its rights, or any action to enforce its rights under this Agreement.

 9. NOTICES. All notices, demands, requests, consents, approvals, and other communications required or
    permitted hereunder shall be in writing and, unless otherwise specified herein, if to a Holder shall either
    be sent to the Agent pursuant to the Collateral Agent Agreement, who shall thereafter forward such
    notices to the Holder to the addresses as set forth in the Collateral Agent Agreement, or sent directly to
    the Holder by iCap Holding or the Company to the addresses set forth in the Collateral Agent
    Agreement, and if to Company or iCap Holding shall be sent to the Collateral Agent, who shall
    thereafter forward such notices to the intended party. In the case of notices sent to a Holder, such
    notices shall be subject to the provisions of Section 11.

 10. AMENDMENTS. This Agreement may be amended at any time by the written consent of the Company,
     iCap Holding and the Agent following receipt by the Agent of the consent of a Majority-in-Interest of
     the Noteholders, subject to the provisions of Section 11.

 11. DEEMED CONSENT.

     (a) Each request for consent, approval or waiver under this Agreement, for an amendment hereof or
         other matter, which is sent by the Company or iCap Holding to the Agent on behalf of the Holders,
         and which the Agent shall forward to the Holders, shall be made in writing and shall include all
         information necessary for Holder to make an informed decision as to whether to agree to such
         consent or approval, and shall include the following in capital, bold and block letters: “FIRST
         NOTICE – THIS IS A REQUEST FOR CONSENT, APPROVAL OR WAIVER UNDER THAT
         CERTAIN PLEDGE AND SECURITY AGREEMENT BETWEEN iCap Pacific Income Fund 5,
         LLC, iCap Holding 5, LLC and MarketPlace Realty Advisors, LLC, OR AN AMENDMENT
         THEREOF OR OTHER MATTER AS DESCRIBED HEREIN. THE FOLLOWING REQUEST
         REQUIRES A RESPONSE WITHIN TEN (10) DAYS OF RECEIPT.”

     (b) If a Holder does not approve or reject the proposed or requested consent, approval, waiver or
         amendment within ten (10) days of receipt of such notice and all necessary information, via delivery
         of the same to the Agent within such time period, for further distribution to the Company, the
         Company or iCap Holding, as applicable, may request a consent or approval again by delivery of a
         notice including the following in capital, bold and block letters: “SECOND NOTICE – THIS IS A
         SECOND AND FINAL REQUEST FOR CONSENT, APPROVAL OR WAIVER UNDER THAT
         CERTAIN PLEDGE AND SECURITY AGREEMENT BETWEEN iCap Pacific Income Fund 5,
         LLC, iCap Holding 5, LLC and MarketPlace Realty Advisors, LLC, OR AN AMENDMENT

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         THEREOF OR OTHER MATTER AS DESCRIBED HEREIN. THE FOLLOWING REQUEST
         REQUIRES A RESPONSE WITHIN TEN (10) DAYS OF RECEIPT.

     (c) If a Holder does not approve or reject the proposed or requested consent, approval, waiver or
         amendment, or other matter, within ten (10) days of receipt of such second and final notice, via
         delivery of the same to the Agent within such time period, for further distribution to the Company,
         such Holder shall be deemed to have approved, in writing, the proposed or requested consent,
         approval, waiver or amendment, or other matter as set forth in the notice, and the Company, iCap
         Holding and the Agent may effect the actions set forth therein in reliance on such consent.

 12. GOVERNING LAW; VENUE; ATTORNEY’S FEES. This Agreement shall be governed by
     and construed in accordance with the laws of the State of Delaware without regard to principles of
     conflicts of laws. ANY LEGAL SUIT, ACTION OR PROCEEDING ARISING OUT OF OR BASED
     UPON THIS AGREEMENT, THE OTHER TRANSACTION DOCUMENTS OR THE
     CONTEMPLATED TRANSACTIONS SHALL BE INSTITUTED SOLELY IN THE FEDERAL
     COURTS OF THE UNITED STATES OF AMERICA OR THE COURTS OF THE STATE OF
     WASHINGTON, IN EACH CASE LOCATED IN KING COUNTY, WASHINGTON, AND EACH
     PARTY IRREVOCABLY SUBMITS TO THE PERSONAL JURISDICTION OF SUCH COURTS
     IN ANY SUCH SUIT, ACTION OR PROCEEDING. THE PARTIES EACH HEREBY
     IRREVOCABLY WAIVES ANY RIGHT IT MAY HAVE, AND AGREES NOT TO REQUEST,
     A JURY TRIAL FOR THE ADJUDICATION OF ANY DISPUTE HEREUNDER OR IN
     CONNECTION WITH OR ARISING OUT OF THIS AGREEMENT OR ANY
     TRANSACTIONS CONTEMPLATED HEREBY. Each Party hereby irrevocably waives personal
     service of process and consents to process being served in any suit, action or proceeding in connection
     with this Agreement or any other agreement, certificate, instrument or document contemplated hereby
     or thereby by mailing a copy thereof via registered or certified mail or overnight delivery (with evidence
     of delivery) to such party at the address in effect for notices to it under this Agreement and agrees that
     such service shall constitute good and sufficient service of process and notice thereof. Nothing
     contained herein shall be deemed to limit in any way any right to serve process in any other manner
     permitted by law. The prevailing party in any action or dispute brought in connection with this
     Agreement or any other agreement, certificate, instrument or document contemplated hereby or thereby
     shall be entitled to recover from the other party its reasonable attorneys’ fees and costs.

 13. OTHER AGREEMENTS. The Parties shall be bound by the applicable terms of the Subscription
     Agreement, and, for such time as they are in effect, the Note, this Agreement and the Guaranty
     Agreement. The Subscription Agreement, the Note, this Agreement and the Guaranty Agreement
     constitute the sole and entire agreement of the parties hereto and thereto with respect to the subject
     matter contained herein and therein, and supersede all prior and contemporaneous understandings and
     agreements, both written and oral, with respect to such subject matter.

 14. CONSTRUCTION; HEADINGS. This Agreement shall be deemed to be jointly drafted by the Parties
     and shall not be construed against any person as the drafter hereof. The headings of this Agreement are
     for convenience of reference and shall not form part of, or affect the interpretation of, this Agreement.

 15. SEVERABILITY. In the event that any provision of this Agreement is invalid or unenforceable under
     any applicable statute or rule of law (including any judicial ruling), then such provision shall be deemed
     inoperative to the extent that it may conflict therewith and shall be deemed modified to conform with
     such statute or rule of law. Any such provision which may prove invalid or unenforceable under any
     law shall not affect the validity or enforceability of any other provision of this Agreement.

 16. INTERPRETATION. The Parties agree that this Agreement shall be deemed to have been jointly and
     equally drafted by them, and that the provisions of this Agreement therefore shall not be construed

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     against a Party or Parties on the ground that such Party or Parties drafted or was more responsible for
     the drafting of any such provision(s). The Parties further agree that they have each carefully read the
     terms and conditions of this Agreement, that they know and understand the contents and effect of this
     Agreement and that the legal effect of this Agreement has been fully explained to its satisfaction by
     counsel of its own choosing.

 17. COUNTERPARTS. This Agreement may be executed in multiple counterparts, each of which shall be
     deemed an original and all of which taken together shall be but a single instrument. The execution and
     delivery of a facsimile or other electronic transmission of a signature to this Agreement shall constitute
     delivery of an executed original and shall be binding upon the person whose signature appears on the
     transmitted copy.

                                   [Signatures appear on following pages]




                                                Exhibit C – Page 6

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                                    EXHIBIT D

                            GUARANTY AGREEMENT

                                    (Attached)




 Exhibit D

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                                       GUARANTY AGREEMENT

 This Guaranty (this “Guaranty”) is made and entered into as of September 5, 2019 (the “Effective Date”)
 by iCap Holding 5, LLC, a Delaware limited liability company (“iCap Holding”), to and for the benefit of
 each of the holders (each, a “Holder”) of promissory notes (the “Notes”) issued by iCap Pacific Income
 Fund 5, LLC, a Delaware limited liability company and the sole member of iCap Holding (the “Company”)
 pursuant to an offering of up to $50,000,000 of promissory notes, with an over-allotment amount of an
 additional $25,000,000, of the Company pursuant to Regulation D promulgated under the Securities Act of
 1933, as amended, commencing on or about September 5, 2019 (the “Offering”). Defined terms used herein
 without definition shall have the meaning given to them in the Notes.

 WHEREAS, following the execution of this Guaranty, the Company shall issue certain Notes to the
 Holders, pursuant to a subscription agreement between the Company and the applicable Holder in
 connection with the Offering (the “Subscription Agreement”);

 WHEREAS, iCap Holding acknowledges the provisions of the Notes contemplate iCap Holding’s entering
 into this Guaranty and iCap Holding is financially interested in the Company and will receive certain
 benefits as a result of iCap Holding’s promises herein as a result of making this Guaranty for the benefit of
 the Holders; and

 WHEREAS, on the Effective Date, the Company and MarketPlace Realty Advisors, LLC in its capacity as
 collateral agent (in such capacity “Agent”), are entering into that certain Collateral Agent Agreement,
 pursuant to which the Agent shall have the power to enforce the rights of the Holders hereunder (the
 “Collateral Agent Agreement”);

 NOW, THEREFORE, in consideration of the covenants, promises and representations set forth herein, and
 for other good and valuable consideration, the receipt and sufficiency of which is hereby acknowledged, and
 intending to be legally bound hereby, iCap Holding agrees as follows:

 1. iCap Holding hereby unconditionally, absolutely and irrevocably guarantees the full and timely
    performance of all of the obligations of the Company under the Notes, including the due and punctual
    payment of the principal and interest of the Note and all money due or that may become due under the
    Notes, whether (a) according to the present terms of any of those documents or at any earlier or
    accelerated date or dates as provided therein, (b) pursuant to any extension of time or (c) pursuant to
    any amendment, modification or replacement of those documents hereafter made or granted, and
    whether the Company may be liable individually or jointly with others, or whether recovery upon such
    indebtedness may be or hereafter becomes unenforceable (collectively, “Obligations”).

 2. iCap Holding agrees that settlement of any claim by Holder against the Company, whether in any
    proceeding or not, and whether voluntarily or involuntarily, will not reduce the amount due under this
    Guaranty except to the extent of the amount actually paid by the Company or any other party and
    retained by Holder.

 3. Notwithstanding any other provision of this Guaranty, during the continuation of an Event of Default
    at a time when this Guaranty is in full force and effect, the Agent may enforce this guaranty against
    iCap Holding on behalf of the Holders, but only after attempting to collect or exhausting Agent’s efforts
    on behalf of the Holders to collect from the Company, in accordance with the provisions of the Notes.

 4. iCap Holding agrees that its obligation to make payment under the terms of this Guaranty shall not be
    impaired, modified, changed, released or limited in any manner by any impairment, modification,
    change, release, defense or limitation of the liability of the Company or of a receiver, trustee,


                                                Exhibit D – Page 1

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     debtor-in-possession or estate under any bankruptcy or receivership proceeding. If any payment made
     by the Company is reclaimed in a bankruptcy or receivership proceeding, iCap Holding shall pay to the
     Agent on behalf of the Holders the dollar amount of the amount reclaimed. iCap Holding further
     assigns to Holders all rights iCap Holding may have in any proceeding under the U.S. Bankruptcy Code
     or any receivership or insolvency proceeding until all indebtedness of the Company to Holders has been
     paid in full. This assignment includes all rights of iCap Holding to be paid by the Company even if
     those rights have nothing to do with this Guaranty. This assignment does not prevent the Agent on
     behalf of the Holders from enforcing iCap Holding’s obligations under this Guaranty in any way.

 5. iCap Holding is now adequately informed of the Company’s financial condition, and iCap Holding
    agrees to keep so informed. None of the Agent nor any Holder need provide iCap Holding with any
    present or future information concerning the financial condition of the Company or any other guarantor,
    and changes in the Company’s or iCap Holding’s financial condition shall not affect iCap Holding’s
    obligations under this Guaranty. iCap Holding has not relied on financial information furnished by any
    Holder or Agent, nor will iCap Holding do so in the future.

 6. iCap Holding represents and warrants to the Agent and the Holders as follows:

     (a) iCap Holding is a limited liability company duly organized, validly existing, and in good standing
         under the laws of the State of Delaware and has the limited liability company power and is duly
         authorized under all applicable laws, regulations, ordinances, and orders of public authorities to carry
         on its business in all material respects as it is now being conducted. The execution and delivery of
         this Guaranty does not, and the consummation of the transactions contemplated hereby will not,
         violate any provision of iCap Holding’s organizational documents. iCap Holding has taken all action
         required by law, its organizational documents, or otherwise to authorize the execution and delivery
         of this Guaranty.

     (b) The execution of this Guaranty and the consummation of the transactions contemplated by this
         Guaranty will not result in the breach of any term or provision of, constitute a default under, or
         terminate, accelerate or modify the terms of, any indenture, mortgage, deed of trust, or other material
         agreement or instrument to which iCap Holding is a party or to which any of its assets, properties or
         operations are subject.

     (c) This Guaranty and all agreements and other documents executed by iCap Holding in connection
         herewith constitute the valid and binding obligation of iCap Holding, enforceable in accordance with
         its or their terms, except as may be limited by bankruptcy, insolvency, moratorium or other similar
         laws affecting the enforcement of creditors’ rights generally and subject to the qualification that the
         availability of equitable remedies is subject to the discretion of the court before which any
         proceeding therefore may be brought.

     (d) No consent, approval or authorization of any third party or any governmental body or officer is
         required for the valid and lawful execution and delivery of this Guaranty or the valid and lawful
         exercise by the Agent on behalf of the Holders of remedies available to them under this Guaranty or
         applicable law.

     (e) iCap Holding is fully familiar with all the covenants, terms and conditions of the Notes.

 7. If an Event of Default occurs hereunder, the Agent on behalf of the Holders shall have all other remedies
    provided by law that do not conflict with the Note. iCap Holding agrees that (a) this Guaranty shall
    inure to the benefit of and may be enforced by the Agent on behalf of the Holders as set forth in the
    Notes, and (b) this Guaranty shall be binding upon and enforceable against iCap Holding and its


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     successors and assigns.

 8. This Guaranty shall automatically terminate and be of no further force or effect as of the full repayment
    of the Notes.

 9. All notices, demands, requests, consents, approvals, and other communications required or permitted
    hereunder shall be in writing and, unless otherwise specified herein, shall be sent to the addresses as
    set forth, and subject to the terms, in the Collateral Agent Agreement, and shall be subject to the
    provisions of Section 11.

 10. This Guaranty may be amended at any time by the written consent of iCap Holding and a Majority-in-
     Interest of the Noteholders (as defined in the Notes), subject to the provisions of Section 11.

 11. Deemed Consent.

     (a) Each request for consent, approval or waiver under this Guaranty, for an amendment hereof of other
         matter, which is sent by iCap Holding to the Agent on behalf of the Holders, shall be made in
         writing to Agent, who shall thereafter distribute such notice to the Holders and shall include all
         information necessary for a Holder to make an informed decision as to whether to agree to such
         consent or approval, and shall include the following in capital, bold and block letters: “FIRST
         NOTICE – THIS IS A REQUEST FOR CONSENT UNDER THAT CERTAIN GUARANTY
         AGREEMENT by iCap Holding 5, LLC TO AND FOR THE BENEFIT OF EACH OF THE
         HOLDERS OF PROMISSORY NOTES ISSUED BY iCap Pacific Income Fund 5 OR OTHER
         MATTER AS DESCRIBED HEREIN. THE FOLLOWING REQUEST REQUIRES A
         RESPONSE WITHIN TEN (10) DAYS OF RECEIPT.”

     (b) If a Holder does not approve or reject the proposed consent, approval or waiver, amendment of
         other matter within ten (10) days of receipt of such notice and all necessary information, via the
         delivery of a response to the Agent in such time frame, which the Agent shall thereafter forward to
         iCap Holding as set forth in the Collateral Agent Agreement, iCap Holding may request a consent
         or approval again by delivery of a notice including the following in capital, bold and block letters:
         “SECOND NOTICE – THIS IS A REQUEST FOR CONSENT UNDER THAT CERTAIN
         GUARANTY AGREEMENT by iCap Holding 5, LLC TO AND FOR THE BENEFIT OF EACH
         OF THE HOLDERS OF PROMISSORY NOTES ISSUED BY iCap Pacific Income Fund 5 OR
         OTHER MATTER AS DESCRIBED HEREIN. THE FOLLOWING REQUEST REQUIRES A
         RESPONSE WITHIN TEN (10) DAYS OF RECEIPT.”

     (c) If a Holder does not approve or reject the proposed consent, approval or waiver, amendment of
         other matter within ten (10) days of receipt of such second and final notice, in the manner as set
         forth in Section 11(b) such Holder shall be deemed to have approved, in writing, the proposed
         consent, approval or waiver, amendment of other matter as set forth in the notice, and iCap Holding
         may effect the actions set forth therein in reliance on such consent.

 12. This Guaranty shall be governed by and construed in accordance with the laws of the State of Delaware
     without regard to principles of conflicts of laws. ANY LEGAL SUIT, ACTION OR PROCEEDING
     ARISING OUT OF OR BASED UPON THIS GUARANTY, THE OTHER TRANSACTION
     DOCUMENTS OR THE CONTEMPLATED TRANSACTIONS SHALL BE INSTITUTED SOLELY
     IN THE FEDERAL COURTS OF THE UNITED STATES OF AMERICA OR THE COURTS OF
     THE STATE OF WASHINGTON, IN EACH CASE LOCATED IN KING COUNTY,
     WASHINGTON, AND EACH PARTY IRREVOCABLY SUBMITS TO THE PERSONAL
     JURISDICTION OF SUCH COURTS IN ANY SUCH SUIT, ACTION OR PROCEEDING. THE


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                                    EXHIBIT E

                       COLLATERAL AGENT AGREEMENT

                                    (Attached)




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          VXEMHFWWRVXFKWHUPV DQGSURYLGLQJQRWLFHWRWKH$JHQWRIVXFKGHWHUPLQDWLRQDQGWKH&RPSDQ\
         WKHUHDIWHUQRWFXULQJVXFK(YHQWRI'HIDXOWZLWKLQGD\V7KH$JHQWVKDOOGHOLYHUVXFKQRWLFHWR
         WKH&RPSDQ\ZLWKLQRQH  EXVLQHVVGD\WRWKHDGGUHVVDVVHWIRUWKLQ6HFWLRQ

         6HFWLRQ 3D\PHQWVWRWKH+ROGHUV

             D  3ULRUWRWKHGDWHRQZKLFKDGHFODUDWLRQRIDQ(YHQWRI'HIDXOW DVGHILQHGLQWKH1RWH 
                 RFFXUVSXUVXDQWWR6HFWLRQWKH&RPSDQ\VKDOOSD\DOODPRXQWVWRWKH+ROGHUVDVVHW
                 IRULQWKHDSSOLFDEOH1RWHIRUWKHDSSOLFDEOH+ROGHU

             E  )ROORZLQJ WKH RFFXUUHQFH RI DQ (YHQW RI 'HIDXOW SXUVXDQW WR WKH 1RWHV DOO DPRXQWV
                 UHFHLYHGE\+ROGHUVIRUWKHDFFRXQWRI&RPSDQ\XQGHUWKH1RWHVDIWHUDQ(YHQWRI'HIDXOW
                 ZKHWKHUE\SD\PHQWVHWRIIRURWKHUZLVHVKDOOEHDOORFDWHGUDWDEO\DPRQJWKH+ROGHUV

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                 (DFK+ROGHUVKDOOSURPSWO\UHPLWWRWKHRWKHU+ROGHUVXFKVXPVDVPD\EHQHFHVVDU\WR
                 HQVXUHWKHUDWDEOHUHSD\PHQWRIHDFK+ROGHU¶V'HEHQWXUH1RWZLWKVWDQGLQJWKHIRUHJRLQJ
                 D+ROGHUUHFHLYLQJDVFKHGXOHGSD\PHQWVKDOOQRWEHUHVSRQVLEOHIRUGHWHUPLQLQJZKHWKHU
                 WKHRWKHU+ROGHUDOVRUHFHLYHGLWVVFKHGXOHGSD\PHQWRQVXFKGDWHSURYLGHGKRZHYHULI
                 LW LV ODWHU GHWHUPLQHG WKDW D +ROGHU UHFHLYHG PRUH WKDQ LWV UDWDEOH VKDUH RI VFKHGXOHG
                 SD\PHQWVPDGHRQDQ\GDWHRUGDWHVWKHQVXFK+ROGHUVKDOOUHPLWWRWKHRWKHU+ROGHUVXFK
                 VXPVDVPD\EHQHFHVVDU\WRHQVXUHWKHUDWDEOHSD\PHQWRIVXFKVFKHGXOHGSD\PHQWVDV
                 LQVWUXFWHGE\$JHQW

         6HFWLRQ 'HFLVLRQ WR ([HUFLVH 5HPHGLHV 8SRQ WKH RFFXUUHQFH RI DQ (YHQW RI 'HIDXOW
         SXUVXDQWWRWKH1RWHV$JHQWVKDOOWDNHVXFKDFWLRQVDQGRQO\VXFKDFWLRQVDVD0DMRULW\LQ,QWHUHVW
         RIWKH1RWHKROGHUVPXWXDOO\DJUHHWRWDNHLQDFFRUGDQFHZLWKWKHGLUHFWLRQWKH1RWHKROGHUVSURYLGH
         WR$JHQWLQZULWLQJZLWKUHJDUGWRHQIRUFLQJWKHULJKWVDQGUHPHGLHVXQGHUWKH1RWHV1R+ROGHU
         VKDOOEHHQWLWOHGWRXQGHUWDNHDQ\(QIRUFHPHQW$FWLRQZLWKRXWWKHZULWWHQFRQVHQWRID0DMRULW\
         LQ,QWHUHVWRIWKH1RWHKROGHUV

         6HFWLRQ $SSOLFDWLRQRI3URFHHGVDIWHUDQ(YHQWRI'HIDXOW1RWZLWKVWDQGLQJDQ\WKLQJWR
         WKHFRQWUDU\LQWKH1RWHVDVDPRQJWKH$JHQWDQGWKH+ROGHUVWKHSURFHHGVRIWKH&ROODWHUDORU
         DQ\SDUWWKHUHRIDQGWKHSURFHHGVRIDQ\UHPHG\XQGHUWKH1RWHVDIWHUWKHRFFXUUHQFHDQGGXULQJ
         WKHFRQWLQXDQFHRIDQ(YHQWRI'HIDXOWVKDOOXSRQUHFHLSWE\WKH$JHQWEHSDLGWRDQGDSSOLHGDV
         IROORZV

             D  )LUVWWRWKHSD\PHQWRIWKHQRXWVWDQGLQJRXWRISRFNHWFRVWVDQGH[SHQVHVRIWKH$JHQW
                 LQFOXGLQJDOODPRXQWVH[SHQGHGWRSUHVHUYHWKHYDOXHRIWKH&ROODWHUDORIIRUHFORVXUHRU
                 VXLWLIDQ\DQGRIVXFKVDOHDQGWKHH[HUFLVHRIDQ\RWKHUULJKWVRUUHPHGLHVDQGRIDOO
                 SURSHU IHHV H[SHQVHV OLDELOLW\ DQG DGYDQFHV LQFOXGLQJ UHDVRQDEOH OHJDO H[SHQVHV DQG
                 DWWRUQH\V¶ IHHV LQFXUUHG RU PDGH XQGHU WKH 1RWHV RU WKLV $JUHHPHQW E\ WKH $JHQW
                  LQFOXGLQJLQGHPQLILFDWLRQFODLPVQRWRWKHUZLVHVDWLVILHGSXUVXDQWWRWKLV$JUHHPHQW 

             E  6HFRQGWRWKH+ROGHUV LQSURSRUWLRQWRVXFKFRVWVDQGH[SHQVHVWKHUHWRIRUHLQFXUUHGE\
                 HDFK LQFOXGLQJDOODPRXQWVH[SHQGHGWRSUHVHUYHWKHYDOXHRIWKH&ROODWHUDORIIRUHFORVXUH
                 RUVXLWLIDQ\DQGRIVXFKVDOHDQGWKHH[HUFLVHRIDQ\RWKHUULJKWVRUUHPHGLHVDQGRIDOO
                 SURSHU IHHV H[SHQVHV OLDELOLW\ DQG DGYDQFHV LQFOXGLQJ UHDVRQDEOH OHJDO H[SHQVHV DQG
                 DWWRUQH\V¶IHHVLQFXUUHGRUPDGHXQGHUWKH1RWHVRUWKLV$JUHHPHQW

             F  7KLUGWRWKH+ROGHUVUDWDEO\LQDQDPRXQWXSWRWKHVXPRIDOODFFUXHGLQWHUHVWRZLQJWR
                 WKH+ROGHUVRQWKH1RWHV

             G  )RXUWKWRWKH+ROGHUVUDWDEO\LQDQDPRXQWXSWRWKHVXPVRIWKHRXWVWDQGLQJSULQFLSDOLI
                 DQ\RZLQJWRWKH+ROGHUVRQWKH1RWHV

             H  )LIWKWRWKH+ROGHUVUDWDEO\ LQSURSRUWLRQWRDOOUHPDLQLQJREOLJDWLRQVRZLQJWRHDFK LQ
                 DQ DPRXQW XS WR WKH VXP RI DOO RWKHU RXWVWDQGLQJ DQG XQSDLG REOLJDWLRQV LQFOXGLQJ
                 LQGHPQLILFDWLRQFODLPVQRWRWKHUZLVHVDWLVILHGSXUVXDQWWRWKHSUHFHGLQJFODXVHV DQG

             I  6L[WKWR&RPSDQ\DVWKHFDVHPD\EHRULWVVXFFHVVRUVDQGDVVLJQVRUWRZKRPVRHYHU
                 PD\EHODZIXOO\HQWLWOHGWRUHFHLYHWKHVDPH

         6HFWLRQ 5HWXUQRI3D\PHQWV7RWKHH[WHQWDQ\SD\PHQWIRUWKHDFFRXQWRI&RPSDQ\LV
         UHTXLUHG WR EH UHWXUQHG DV D YRLGDEOH WUDQVIHU RU RWKHUZLVHWKH +ROGHUV VKDOO FRQWULEXWH WR RQH
         DQRWKHUDVLVQHFHVVDU\WRHQVXUHWKDWVXFKUHWXUQRISD\PHQWLVRQDSURUDWDEDVLV7RWKHH[WHQW

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         DQ\SURFHHGVRIWKH&ROODWHUDORUDQ\SDUWWKHUHRIDQGWKHSURFHHGVRIDQ\UHPHG\XQGHUWKH1RWHV
         DIWHUWKHGHFODUDWLRQDQGGXULQJWKHFRQWLQXDQFHRIDQ(YHQWRI'HIDXOWVKDOOEHUHFHLYHGE\DQ\
         +ROGHUVXFK+ROGHUVKDOOIRUZDUGWKHIXQGVWRWKH$JHQWDQGXSRQUHFHLSWE\WKH$JHQWWREH
         DSSOLHGDVVHWIRUWKLQ6HFWLRQ

         6HFWLRQ )RUHFORVXUH

             D  &UHGLW%LG%\+ROGHUV2QO\E\DJUHHPHQWRID0DMRULW\LQ,QWHUHVWRIWKH1RWHKROGHUV
                 VKDOOWKH+ROGHUVPDNHRUFDXVHWREHPDGHDFUHGLWELGDWDQ\IRUHFORVXUHVDOHRURWKHUVDOH
                 RIDQ\RIWKH&ROODWHUDORQEHKDOIRIWKH+ROGHUV,I+ROGHUVDUHWKHVXFFHVVIXOELGGHUVDW
                 WKHVDOHWKHQ D WKHDPRXQWWREHFUHGLWHGDJDLQVWWKHLUUHVSHFWLYH&ODLPVVKDOOEHDOORFDWHG
                 SURUDWDDPRQJWKH+ROGHUVDFFRUGLQJWRWKHEDODQFHVRIVXFK&ODLPVDQG E +ROGHUVVKDOO
                 WDNHWLWOHWRWKH&ROODWHUDOVRSXUFKDVHGWRJHWKHUHDFKKROGLQJDSURUDWDXQGLYLGHGLQWHUHVW
                 LQVXFK&ROODWHUDO7KHSDUWLHVVKDOOPXWXDOO\DJUHHDVWRWKHPRVWIDYRUDEOHGLVSRVLWLRQRI
                 DQ\&ROODWHUDOSXUFKDVHGZLWKDQ\VXFKFUHGLWELG

             E  &DVK%LGIRU$FFRXQWRI2QH+ROGHU1R+ROGHUVKDOOPDNHRUFDXVHWREHPDGHDFDVKELG
                 DW DQ\ IRUHFORVXUH VDOH RU RWKHU VDOH RI DQ\ RI WKH &ROODWHUDO ZLWKRXW WKH SULRU ZULWWHQ
                 FRQVHQWRID0DMRULW\LQ,QWHUHVWRIWKH1RWHKROGHUV,IDFDVKELGLVPDGHDQGLVVXFFHVVIXO
                 WKHQ D WKHSURFHHGVRIWKHVDOHVKDOOEHDOORFDWHGDVVHWIRUWKLQ6HFWLRQDQG E WKH
                 +ROGHUWKDWHQWHUHGWKHVXFFHVVIXOELGVKDOODFTXLUHWKH&ROODWHUDOVRSXUFKDVHGIRULWVRZQ
                 DFFRXQWDQGWKHRWKHU+ROGHUVVKDOO KDYH QR IXUWKHU LQWHUHVW LQWKDW&ROODWHUDOXSRQWKH
                 SD\PHQWWRVXFKRWKHU+ROGHUVRIWKHVKDUHVRIWKHSURFHHGVLQDFFRUGDQFHZLWK6HFWLRQ
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         6HFWLRQ ([FXOSDWLRQ,QFRQQHFWLRQZLWKDQ\H[HUFLVHRI(QIRUFHPHQW$FWLRQVKHUHXQGHU
         QHLWKHU$JHQWQRUDQ\+ROGHURUDQ\RILWVSDUWQHUVRUDQ\RIWKHLUUHVSHFWLYHGLUHFWRUVRIILFHUV
         HPSOR\HHVDWWRUQH\VDFFRXQWDQWVRUDJHQWVVKDOOEHOLDEOHDVVXFKIRUDQ\DFWLRQWDNHQRURPLWWHG
         E\LWRUWKHPH[FHSWIRULWVRUWKHLURZQJURVVQHJOLJHQFHRUZLOOIXOPLVFRQGXFWZLWKUHVSHFWWRLWV
         GXWLHVXQGHUWKLV$JUHHPHQW

         6HFWLRQ 'HOHJDWLRQRI'XWLHV(DFK+ROGHUDQG$JHQWPD\H[HFXWHDQ\RILWVSRZHUVDQG
         SHUIRUP DQ\ GXWLHV KHUHXQGHU HLWKHU GLUHFWO\ RU E\ RU WKURXJK DJHQWV RU DWWRUQH\VLQIDFW (DFK
         +ROGHUDQG$JHQWVKDOOEHHQWLWOHGWRDGYLFHRIFRXQVHOFRQFHUQLQJDOOPDWWHUVSHUWDLQLQJWRVXFK
         SRZHUVDQGGXWLHV1R+ROGHURU$JHQWVKDOOEHUHVSRQVLEOHIRUWKHQHJOLJHQFHRUPLVFRQGXFWRI
         DQ\DJHQWVRUDWWRUQH\VLQIDFWVHOHFWHGE\LWLIWKHVHOHFWLRQRIVXFKDJHQWVRUDWWRUQH\VLQIDFW
         ZDVGRQHZLWKRXWJURVVQHJOLJHQFHRUZLOOIXOPLVFRQGXFW

         6HFWLRQ ,QGHPQLILFDWLRQ

             D  7RWKHH[WHQWQRWUHLPEXUVHGE\&RPSDQ\RUIURPWKHDSSOLFDWLRQRI&ROODWHUDOSURFHHGV
                 SXUVXDQWWR6HFWLRQD+ROGHU WKH³,QGHPQLILHG+ROGHU´ VKDOOEHLQGHPQLILHGE\WKH
                 RWKHU +ROGHUV DQ ³,QGHPQLI\LQJ +ROGHU´  RQ D VHYHUDO EDVLV LQ SURSRUWLRQ WR HDFK
                 +ROGHU¶VSURUDWDVKDUHDQGHDFK,QGHPQLI\LQJ+ROGHUDJUHHVWRUHLPEXUVHWKH,QGHPQLILHG
                 +ROGHU IRU WKH ,QGHPQLI\LQJ +ROGHU¶V SUR UDWD VKDUH RI WKH IROORZLQJ LWHPV DQ
                 ³,QGHPQLILHG3D\PHQW´ 

                 L      DOOUHDVRQDEOHRXWRISRFNHWFRVWVDQGH[SHQVHVRIWKH,QGHPQLILHG+ROGHULQFXUUHG

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                         WKLV$JUHHPHQWDQGWKH1RWHVLQFOXGLQJUHDVRQDEOHOHJDOH[SHQVHVDQGDWWRUQH\V¶
                         IHHVDQG

                LL      IURP DQG DJDLQVW DQ\ DQG DOO OLDELOLWLHV REOLJDWLRQV ORVVHV GDPDJHV SHQDOWLHV
                         DFWLRQVMXGJPHQWVVXLWVFRVWVH[SHQVHVRUGLVEXUVHPHQWVRIDQ\NLQGRUQDWXUH
                         ZKDWVRHYHU ZKLFK PD\ EH LPSRVHG RQ LQFXUUHG E\ RU DVVHUWHG DJDLQVW WKH
                         ,QGHPQLILHG+ROGHULQDQ\ZD\UHODWLQJWRRUDULVLQJRXWRIWKLV$JUHHPHQWRUDQ\
                         DFWLRQ WDNHQ RU RPLWWHG E\ WKH ,QGHPQLILHG +ROGHU KHUHXQGHU SURYLGHG WKDW WKH
                         ,QGHPQLI\LQJ +ROGHU VKDOO QRW EH OLDEOH IRU DQ\ SRUWLRQ RI VXFK OLDELOLWLHV
                         REOLJDWLRQVORVVHVGDPDJHVSHQDOWLHVDFWLRQVMXGJPHQWVVXLWVFRVWVH[SHQVHV
                         RU GLVEXUVHPHQWV LI WKH VDPH UHVXOWV IURP WKH ,QGHPQLILHG +ROGHU¶V JURVV
                         QHJOLJHQFH RU ZLOOIXO PLVFRQGXFW RU IURP XQGHUWDNLQJ (QIRUFHPHQW $FWLRQV LQ
                         YLRODWLRQRI6HFWLRQ

             E  1RWZLWKVWDQGLQJ WKH IRUHJRLQJ WKH ,QGHPQLILHG +ROGHU VKDOO QRW EH UHLPEXUVHG RU
                 LQGHPQLILHGIRUDQ,QGHPQLILHG3D\PHQWH[FHSWWRWKHH[WHQWWKDWWKH,QGHPQLILHG+ROGHU
                 SDLGPRUHWKDQLWVUDWDEOHVKDUHRIVXFKSD\PHQW$OO,QGHPQLILHG3D\PHQWV DVVHWIRUWK
                 LQWKLV6HFWLRQ WRDQ,QGHPQLILHG+ROGHUDUHLQWHQGHGWREHSDLGUDWDEO\E\WKHRWKHU
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         6HFWLRQ $XWKRULW\(DFK3DUW\UHSUHVHQWVDQGZDUUDQWVWKDWLWKDVDOOQHFHVVDU\SRZHUDQG
         DXWKRULW\WRH[HFXWHGHOLYHUDQGSHUIRUPWKLV$JUHHPHQWLQDFFRUGDQFHZLWKWKHWHUPVKHUHRIDQG
         WKDWLWKDVDOOUHTXLVLWHSRZHUDQGDXWKRULW\WRRZQDQGRSHUDWHLWVSURSHUWLHVDQGWRFDUU\RQLWV
         EXVLQHVVDVQRZFRQGXFWHG

         6HFWLRQ $XWKRUL]DWLRQ (QIRUFHDELOLW\ (DFK 3DUW\ UHSUHVHQWV DQG ZDUUDQWV WKDW D  WKH
         H[HFXWLRQDQGGHOLYHU\RIWKLV$JUHHPHQWDQGWKHFRQVXPPDWLRQRIWKHWUDQVDFWLRQVFRQWHPSODWHG
         KHUHLQKDYHHDFKEHHQGXO\DXWKRUL]HGE\DOOQHFHVVDU\DFWLRQRQWKHSDUWRIVXFK3DUW\DQG E WKLV
         $JUHHPHQW KDV EHHQ GXO\ H[HFXWHG DQG GHOLYHUHG DQG FRQVWLWXWHV D OHJDO YDOLG DQG ELQGLQJ
         REOLJDWLRQ RI VXFK 3DUW\ HQIRUFHDEOHLQDFFRUGDQFHZLWKLWVWHUPVH[FHSWDVWKHHQIRUFHDELOLW\
         WKHUHRI PD\ EH OLPLWHG E\ EDQNUXSWF\ LQVROYHQF\ RU RWKHU VLPLODU ODZV RI JHQHUDO DSSOLFDWLRQ
         UHODWLQJWRRUDIIHFWLQJWKHHQIRUFHPHQWRIFUHGLWRUV¶ULJKWVRUE\JHQHUDOSULQFLSOHVRIHTXLW\

                                                 $UWLFOH9,     $*(17

         6HFWLRQ $SSRLQWPHQW3RZHUVDQG,PPXQLWLHV(DFK+ROGHULUUHYRFDEO\DXWKRUL]HV$JHQW
         WR WDNH VXFK DFWLRQ RQ VXFK +ROGHU¶V EHKDOI DQG WR H[HUFLVH VXFK SRZHUV KHUHXQGHU DV DUH
         VSHFLILFDOO\GHOHJDWHGWR$JHQWE\WKHWHUPVKHUHRIWRJHWKHUZLWKVXFKSRZHUVDVDUHUHDVRQDEO\
         LQFLGHQWDOWKHUHWR$JHQWXQGHUWDNHVWRSHUIRUPRQO\VXFKGXWLHVDVDUHH[SUHVVO\VHWIRUWKKHUHLQ
         DQGLQWKH2IIHULQJZKLFKVKDOOEHGHHPHGSXUHO\PLQLVWHULDOLQQDWXUHDQGQRRWKHUGXWLHVVKDOO
         EHLPSOLHGDQGLWPD\SHUIRUPVXFKGXWLHVE\RUWKURXJKLWVDJHQWVUHSUHVHQWDWLYHVRUHPSOR\HHV
         8QGHUQRFLUFXPVWDQFHVZLOOWKH$JHQWEHGHHPHGWREHDQHVFURZFRPSDQ\WUXVWFRPSDQ\RUD
         ILGXFLDU\WRDQ\ 3DUW\ RU DQ\ RWKHU SHUVRQ XQGHU WKLV $JUHHPHQW $JHQW VKDOO KDYHQR OLDELOLW\
         XQGHUDQGQRGXW\WRLQTXLUHDVWRWKHSURYLVLRQVRIDQ\DJUHHPHQWRWKHUWKDQWKLV$JUHHPHQW7KH
         $JHQWLVDXWKRUL]HGWRWDNHVXFKDFWLRQDQGWRH[HUFLVHVXFKSRZHUVJUDQWHGKHUHXQGHUXSRQWKH
         ZULWWHQUHTXHVWRUGLUHFWLRQRID0DMRULW\LQ,QWHUHVWRIWKH1RWHKROGHUVLQDFFRUGDQFHZLWKWKH
         WHUPV KHUHRI WRJHWKHU ZLWK VXFK SRZHUV DV DUH UHDVRQDEO\ LQFLGHQWDO WKHUHWR $W WKH ZULWWHQ


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         GLUHFWLRQRID0DMRULW\LQ,QWHUHVWRIWKH1RWHKROGHUV$JHQWVKDOOUHOHDVHDQ\LWHPVRI&ROODWHUDO
         DWDQ\WLPHZLWKRXWDIIHFWLQJRUGLPLQLVKLQJWKHOLDELOLW\RIWKH&RPSDQ\WRWKH+ROGHUVIRUDQ\
         UHPDLQLQJRUIXWXUHLQGHEWHGQHVV8SRQZULWWHQUHTXHVWE\D+ROGHU$JHQWZLOOSURPSWO\GHOLYHU
         WRVXFK+ROGHUFRSLHVRIDQ\VWDWHPHQWVRUQRWLFHVSURYLGHGWR$JHQWE\&RPSDQ\XQGHUWKH1RWHV
         $JHQWVKDOOQRWEHUHVSRQVLEOHWRDQ\+ROGHUIRUWKHH[HFXWLRQHIIHFWLYHQHVVJHQXLQHQHVVYDOLGLW\
         HQIRUFHDELOLW\ FROOHFWDELOLW\ RU VXIILFLHQF\ RI WKH 1RWHV RUIRU DQ\ UHSUHVHQWDWLRQV ZDUUDQWLHV
         UHFLWDOVRUVWDWHPHQWVPDGHWKHUHLQRUPDGHLQDQ\ZULWWHQRURUDOVWDWHPHQWRULQDQ\ILQDQFLDORU
         RWKHUVWDWHPHQWVLQVWUXPHQWVUHSRUWVFHUWLILFDWHVRUDQ\RWKHUGRFXPHQWVIXUQLVKHGRUGHOLYHUHG
         LQFRQQHFWLRQKHUHZLWKRUWKHUHZLWKE\$JHQWWRDQ\+ROGHURUE\RURQEHKDOIRI&RPSDQ\WR
         $JHQWRUDQ\+ROGHURUEHUHTXLUHGWRDVFHUWDLQRULQTXLUHDVWRWKHSHUIRUPDQFHRUREVHUYDQFHRI
         DQ\RIWKHWHUPVFRQGLWLRQVSURYLVLRQVFRYHQDQWVRUDJUHHPHQWVFRQWDLQHGKHUHLQRUWKHUHLQRUDV
         WRWKHXVHRIWKHSURFHHGVRIWKH1RWHV$JHQWVKDOOQRWEHUHVSRQVLEOHIRULQVXULQJWKH&ROODWHUDO
         RUIRUWKHSD\PHQWRIDQ\WD[HVDVVHVVPHQWVFKDUJHVRUDQ\RWKHUFKDUJHVRUOLHQVRIDQ\QDWXUH
         ZKDWVRHYHUXSRQWKH&ROODWHUDORURWKHUZLVHIRUWKHPDLQWHQDQFHRIWKH&ROODWHUDOH[FHSWLQWKH
         HYHQW$JHQWHQWHUVLQWRSRVVHVVLRQRIDSDUWRUDOORIWKH&ROODWHUDOLQZKLFKHYHQW$JHQWVKDOO
         SUHVHUYHWKHSDUWLQLWVSRVVHVVLRQ8QOHVVWKHRIILFHUVRI$JHQWDFWLQJLQWKHLUFDSDFLW\DVRIILFHU
         RI$JHQWRQ&RPSDQ\¶VDFFRXQWKDYHDFWXDONQRZOHGJHWKHUHRIRUKDYHEHHQQRWLILHGLQZULWLQJ
         WKHUHRIE\+ROGHUV$JHQWVKDOOQRWEHUHTXLUHGWRDVFHUWDLQRULQTXLUHDVWRWKHH[LVWHQFHRUSRVVLEOH
         H[LVWHQFH RI DQ\ (YHQW RI 'HIDXOW 1HLWKHU $JHQW QRU DQ\ RI LWV RIILFHUV GLUHFWRUV HPSOR\HHV
         DWWRUQH\V UHSUHVHQWDWLYHV RU DJHQWV VKDOO EH OLDEOH WR +ROGHUV IRU DQ\ DFWLRQ WDNHQ RU RPLWWHG
         KHUHXQGHURUXQGHUWKH1RWHVRULQFRQQHFWLRQKHUHZLWKRUWKHUHZLWKXQOHVVFDXVHGE\LWVRUWKHLU
         JURVV QHJOLJHQFH RU ZLOOIXO PLVFRQGXFW 1R SURYLVLRQ RI WKLV $JUHHPHQW RU WKH 1RWHV VKDOO EH
         GHHPHGWRLPSRVHDQ\GXW\RUREOLJDWLRQRQ$JHQWWRSHUIRUPDQ\DFWRUWRH[HUFLVHDQ\SRZHULQ
         DQ\MXULVGLFWLRQLQZKLFKLWVKDOOEHLOOHJDORUVKDOOEHGHHPHGWRLPSRVHDQ\GXW\RUREOLJDWLRQRQ
         $JHQWWRSHUIRUPDQ\DFWRUH[HUFLVHDQ\ULJKWRUSRZHULIVXFKSHUIRUPDQFHRUH[HUFLVH D ZRXOG
         VXEMHFW$JHQWWRDWD[LQDMXULVGLFWLRQZKHUHLWLVQRWWKHQVXEMHFWWRDWD[RU E ZRXOGUHTXLUH
         $JHQWWRTXDOLI\WRGREXVLQHVVLQDQ\MXULVGLFWLRQZKHUHLWLVQRWVRTXDOLILHG1R+ROGHUVKDOO
         KDYHDQ\ULJKWRIDFWLRQZKDWVRHYHUDJDLQVW$JHQWDVDUHVXOWRI$JHQWDFWLQJRUUHIUDLQLQJIURP
         DFWLQJXQGHUWKLV$JUHHPHQWRUWKH1RWHVLQDFFRUGDQFHZLWKWKHZULWWHQLQVWUXFWLRQVRID0DMRULW\
         LQ,QWHUHVW RI WKH 1RWHKROGHUV $JHQW VKDOO EH HQWLWOHG WR UHIUDLQ IURP H[HUFLVLQJ DQ\ SRZHU
         GLVFUHWLRQ RU DXWKRULW\ YHVWHG LQ LW XQGHU WKLV $JUHHPHQW RU WKH 1RWHV XQOHVV DQG XQWLO LW KDV
         REWDLQHGWKHZULWWHQLQVWUXFWLRQVRID0DMRULW\LQ,QWHUHVWRIWKH1RWHKROGHUV7KHDJHQF\KHUHE\
         FUHDWHGVKDOOLQQRZD\LPSDLURUDIIHFWDQ\RIWKHULJKWVDQGSRZHUVRIRULPSRVHDQ\GXWLHVRU
         REOLJDWLRQVXSRQ$JHQWLQLWVLQGLYLGXDOFDSDFLW\

         6HFWLRQ 5HOLDQFHE\$JHQW

             D  $JHQWPD\DWWKHH[SHQVHRI+ROGHUVFRQVXOWZLWKFRXQVHODQGDQ\RSLQLRQRUOHJDODGYLFH
                 RIVXFKFRXQVHOVKDOOEHIXOODQGFRPSOHWHDXWKRUL]DWLRQDQGSURWHFWLRQLQUHVSHFWRIDQ\
                 DFWLRQWDNHQQRWWDNHQRUVXIIHUHGE\$JHQWKHUHXQGHURUXQGHUWKH1RWHVLQDFFRUGDQFH
                 WKHUHZLWK $JHQW VKDOO KDYH WKH ULJKW DW DQ\ WLPH WR VHHN LQVWUXFWLRQV FRQFHUQLQJ WKH
                 DGPLQLVWUDWLRQRIWKH&ROODWHUDOIURPDQ\FRXUWRIFRPSHWHQWMXULVGLFWLRQ

             E  $JHQW PD\ UHO\ DQG VKDOO EH IXOO\ SURWHFWHG LQ DFWLQJ RU UHIUDLQLQJ WR DFW XSRQ DQ\
                 UHVROXWLRQ VWDWHPHQW FHUWLILFDWH LQVWUXPHQW RSLQLRQ UHSRUW QRWLFH UHTXHVW FRQVHQW
                 RUGHUERQGRURWKHUSDSHURUGRFXPHQWWKDWLWKDVQRUHDVRQWREHOLHYHWREHRWKHUWKDQ
                 JHQXLQHDQGWRKDYHEHHQVLJQHGRUSUHVHQWHGE\WKHSURSHUSDUW\RUSDUWLHVRULQWKHFDVH
                 RIFDEOHVWHOHFRSLHVDQGWHOH[HVWRKDYHEHHQVHQWE\WKHSURSHUSDUW\RUSDUWLHV,QWKH
                 DEVHQFHRILWVJURVVQHJOLJHQFHRUZLOOIXOPLVFRQGXFW$JHQWPD\FRQFOXVLYHO\UHO\DVWR
                 WKHWUXWKRIWKHVWDWHPHQWVDQGWKHFRUUHFWQHVVRIWKHRSLQLRQVH[SUHVVHGWKHUHLQXSRQDQ\

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                 FHUWLILFDWHV RU RSLQLRQV IXUQLVKHG WR $JHQW DQG FRQIRUPLQJ WR WKH UHTXLUHPHQWV RI WKH
                 1RWHV

             F  $JHQWVKDOOQRWEHXQGHUDQ\REOLJDWLRQWRH[HUFLVHDQ\RIWKHULJKWVRUSRZHUVJUDQWHGWR
                 $JHQWE\WKLV$JUHHPHQWRUWKH1RWHVDWWKHUHTXHVWRUZULWWHQGLUHFWLRQRID0DMRULW\LQ
                 ,QWHUHVWRIWKH1RWHKROGHUVXQOHVV$JHQWVKDOOKDYHEHHQSURYLGHGE\+ROGHUVZLWKVHFXULW\
                 DQGLQGHPQLW\VDWLVIDFWRU\WR$JHQWDJDLQVWWKHFRVWVH[SHQVHVDQGOLDELOLWLHVWKDWPD\EH
                 LQFXUUHGE\LWLQFRPSOLDQFHZLWKVXFKUHTXHVWRUGLUHFWLRQ

         6HFWLRQ 'HOHJDWLRQRI'XWLHV%\$JHQW$JHQWPD\H[HFXWHDQ\RIWKHSRZHUVKHUHRIDQG
         SHUIRUPDQ\GXW\KHUHXQGHUHLWKHUGLUHFWO\RUE\RUWKURXJKDJHQWVRUDWWRUQH\VLQIDFW$JHQWVKDOO
         EHHQWLWOHGWRDGYLFHRIFRXQVHOFRQFHUQLQJDOOPDWWHUVSHUWDLQLQJWRVXFKSRZHUVDQGGXWLHV$JHQW
         VKDOOQRWEHUHVSRQVLEOHIRUWKHQHJOLJHQFHRUPLVFRQGXFWRIDQ\DJHQWVRUDWWRUQH\VLQIDFWVHOHFWHG
         E\ LWLIWKHVHOHFWLRQ RIVXFK DJHQWVRU DWWRUQH\VLQIDFW ZDV GRQH ZLWKRXW JURVV QHJOLJHQFH RU
         ZLOOIXOPLVFRQGXFW

         6HFWLRQ 5LJKW WR ,QGHPQLW\ DQG 5HLPEXUVHPHQW (DFK +ROGHU MRLQWO\ DQG VHYHUDOO\
         DJUHHV D WRLQGHPQLI\DQGKROG$JHQW DQGDQ\3HUVRQDFWLQJRQEHKDOIRI$JHQW KDUPOHVVIURP
         DQG DJDLQVW DQG E  SURPSWO\ XSRQ UHFHLSW E\ HDFK +ROGHU RI $JHQW¶V VWDWHPHQW WR UHLPEXUVH
         $JHQWDFFRUGLQJWRVXFK+ROGHU¶VUDWDEOHVKDUHWRWKHH[WHQW$JHQWVKDOOQRWRWKHUZLVHKDYHEHHQ
         UHLPEXUVHGE\&RPSDQ\RQDFFRXQWRIDQGIRUDQ\DQGDOOOLDELOLWLHVREOLJDWLRQVORVVHVGDPDJHV
         SHQDOWLHV DFWLRQV MXGJPHQWV VXLWV FRVWV H[SHQVHV RU GLVEXUVHPHQWV RI DQ\ NLQG RI QDWXUH
         ZKDWVRHYHUZLWKUHVSHFWWR$JHQW¶VSHUIRUPDQFHRILWVGXWLHVXQGHUWKLV$JUHHPHQWDQGWKH1RWHV
         SURYLGHGKRZHYHUWKDWHDFK+ROGHUVKDOOEHMRLQWO\DQGVHYHUDOO\OLDEOHWR$JHQWWRWKHH[WHQWDQ\
         RWKHU+ROGHUKDVIDLOHGWRSD\LWVSURUDWDVKDUHRIDPRXQWVRZHGWR$JHQWDQGSURYLGHGIXUWKHU
         KRZHYHUWKDWQR+ROGHUVKDOOEHOLDEOHIRUWKHSD\PHQWWR$JHQWRIDQ\SRUWLRQRIVXFKOLDELOLWLHV
         REOLJDWLRQVORVVHVGDPDJHVSHQDOWLHVDFWLRQVMXGJPHQWVVXLWVFRVWVH[SHQVHVRUGLVEXUVHPHQWV
         UHVXOWLQJVROHO\IURP$JHQW¶VJURVVQHJOLJHQFHRUZLOOIXOPLVFRQGXFW6XFKUHLPEXUVHPHQWVKDOO
         QRWLQDQ\UHVSHFWUHOHDVH&RPSDQ\IURPDQ\OLDELOLW\RUREOLJDWLRQ,IDQ\LQGHPQLW\IXUQLVKHGWR
         $JHQWIRUDQ\SXUSRVHVKDOOLQWKHRSLQLRQRI$JHQWEHLQVXIILFLHQWRUEHFRPHLPSDLUHG$JHQW
         PD\FDOOIRUDGGLWLRQDOLQGHPQLW\DQGFHDVHRUQRWFRPPHQFHWRGRWKHDFWVLQGHPQLILHGDJDLQVW
         XQWLO VXFK DGGLWLRQDO LQGHPQLW\ LV IXUQLVKHG $JHQW¶V ULJKW WR LQGHPQLILFDWLRQ VKDOO VXUYLYH
         WHUPLQDWLRQRIWKLV$JUHHPHQWDQGWKHUHVLJQDWLRQRUUHPRYDORI$JHQW

         6HFWLRQ 5HVLJQDWLRQDQG$SSRLQWPHQWRI6XFFHVVRU$JHQW$JHQWPD\UHVLJQDWDQ\WLPH
         E\JLYLQJVL[W\  GD\V¶SULRUZULWWHQQRWLFHWKHUHRIWR+ROGHUVDQG&RPSDQ\8SRQDQ\VXFK
         QRWLFHD0DMRULW\LQ,QWHUHVWRIWKH1RWHKROGHUVPD\DSSRLQWDVXFFHVVRU$JHQW,QDGGLWLRQWKH
         SHUVRQRUHQWLW\VHUYLQJDV$JHQWPD\EHUHPRYHGRUUHSODFHGIURPWLPHWRWLPHE\D0DMRULW\LQ
         ,QWHUHVWRIWKH1RWHKROGHUVZLWKVXFKUHPRYDORUUHSODFHPHQWEHLQJHIIHFWLYHLPPHGLDWHO\XSRQ
         ZULWWHQQRWLFHWRWKH$JHQWDQG&RPSDQ\ZLWKDFRS\WRHDFK+ROGHU,I$JHQWVKDOOEHXQDEOHRU
         XQZLOOLQJWRVHUYHLQVXFKFDSDFLW\LWVVXFFHVVRUVKDOOEHQDPHGE\D0DMRULW\LQ,QWHUHVWRIWKH
         1RWHKROGHUV 8SRQ WKH DFFHSWDQFH RI DQ\ DSSRLQWPHQW DV DQ $JHQW KHUHXQGHU E\ D VXFFHVVRU
         $JHQWVXFKVXFFHVVRU$JHQWVKDOOWKHUHXSRQVXFFHHGWRDQGEHFRPHYHVWHGZLWKDOOWKHULJKWV
         SRZHUVSULYLOHJHVDQGGXWLHVRIWKHUHWLULQJ$JHQWDQGWKHUHWLULQJ$JHQWVKDOOEHGLVFKDUJHGIURP
         LWVGXWLHVDQGREOLJDWLRQVXQGHUWKLV$JUHHPHQW$IWHUDQ\UHWLULQJ$JHQW¶VUHVLJQDWLRQKHUHXQGHU
         DV $JHQW WKH SURYLVLRQV RI WKLV $JUHHPHQW VKDOO LQXUH WR LWV EHQHILW DV WR DQ\ DFWLRQV WDNHQ RU
         RPLWWHGWREHWDNHQE\LWZKLOHLWZDV$JHQWXQGHUWKLV$JUHHPHQW

         6HFWLRQ )LQDQFLQJ 6WDWHPHQWV 1RW 5HYLHZHG E\ $JHQW +ROGHUV DFNQRZOHGJH WKDW  
         $JHQWKDVQRWUHYLHZHGDQGKDVQRUHVSRQVLELOLW\RUREOLJDWLRQWRUHYLHZDQ\ILQDQFLQJVWDWHPHQWV

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         UHODWHGWRWKH&ROODWHUDODQG  ILOLQJILQDQFLDOVWDWHPHQWVDQGPDLQWDLQLQJDSHUIHFWHGVHFXULW\
         LQWHUHVWLQWKH&ROODWHUDODUHVROHO\WKHUHVSRQVLELOLWLHVRIWKH&RPSDQ\

         6HFWLRQ 1RWHV1RW5HYLHZHG+ROGHUVDFNQRZOHGJHWKDW$JHQWKDVQRWUHYLHZHGDQGKDV
         QRUHVSRQVLELOLW\RUREOLJDWLRQWRUHYLHZWKH1RWHV

         6HFWLRQ &RPSHQVDWLRQ&RPSDQ\VKDOOFRPSHQVDWH$JHQWDTXDUWHUO\IHHRIIRULWV
         VHUYLFHVDV$JHQWXQGHUWKLV$JUHHPHQWVXFKLQLWLDOIHHWREHSDLGRXWRIWKHSURFHHGVRIWKHILUVW
         &ORVLQJ RI WKH 2IIHULQJ DQG VKDOO UHLPEXUVH $JHQW IRU DOO FRVWV DQG IHHV LQFOXGLQJ UHDVRQDEOH
         DWWRUQH\¶VIHHV ZKHWKHURUQRWLQFXUUHGE\DQDWWRUQH\LQWKHHPSOR\RI$JHQW LQFXUUHGDVDUHVXOW
         RIWKHDXWKRULW\JLYHQ$JHQWXQGHUWKLV$JUHHPHQW&RPSDQ\VKDOOUHPLWWR$JHQWDOOVXFKFRVWV
         DQG IHHV LQFOXGLQJ UHDVRQDEOH DWWRUQH\¶V IHHV ZLWKLQ WHQ   GD\V RI &RPSDQ\¶V UHFHLSW RI D
         UHDVRQDEO\GHWDLOHGLQYRLFHIURP$JHQW$JHQWDJUHHVWKDWWKHKRXUO\UDWHIRUDQ\KRXUO\IHHVE\
         $JHQWSXUVXDQWWRWKLV6HFWLRQZLOOQRWH[FHHGSHUKRXUDQGZLOOEHLQYRLFHGLQWK
         RIDQKRXULQFUHPHQWV

                                          $UWLFOH9,, 0,6&(//$1(286

         6HFWLRQ 1RWLFHV

             D  $OO QRWLFHV WR EH VHQW E\ WKH &RPSDQ\ RU L&DS +ROGLQJ WR WKH +ROGHUV SXUVXDQW WR WKH
                 1RWHVWKH6HFXULW\$JUHHPHQWRUWKH*XDUDQW\VKDOOEHVHQWE\WKH&RPSDQ\WRWKH$JHQW
                 ZKLFKVKDOOWKHUHDIWHUGLVWULEXWHVXFKQRWLFHVWRWKH+ROGHUV$OOQRWLFHVWREHVHQWE\DQ\
                 +ROGHUWRWKH&RPSDQ\RUL&DS+ROGLQJSXUVXDQWWRWKH1RWHVWKH6HFXULW\$JUHHPHQWRU
                 WKH*XDUDQW\VKDOOEHVHQWE\VXFK+ROGHUWRWKH$JHQWZKLFKVKDOOWKHUHDIWHUGLVWULEXWH
                 VXFKQRWLFHVWRWKH&RPSDQ\RUL&DS+ROGLQJDVDSSOLFDEOH

             E  1RWZLWKVWDQGLQJ 6HFWLRQ  D  WKH 3DUWLHV DFNQRZOHGJH DQG DJUHH WKDW DQ\
                 FRPPXQLFDWLRQV ZLWK UHVSHFW WR D 'HPDQG 3D\PHQW DV GHILQHG LQ WKH 1RWHV  RU ZLWK
                 UHVSHFWWRDQ\GHIDXOWZKLFKLVQRWDQ³(YHQWRI'HIDXOW´PD\EHPDGHGLUHFWO\EHWZHHQ
                 WKH&RPSDQ\DQGWKHDSSOLFDEOH+ROGHUDQGPD\EHPDGHLQVXFKPDQQHUDVVHWIRUWKLQ
                 WKH 1RWH RU WKH 0HPRUDQGXP LQFOXGLQJ WKURXJK WKH &RPSDQ\¶V ZHEVLWH DW
                 ZZZLFDSHTXLW\FRPRULWVOLFHQVHGVRIWZDUHDSSOLFDWLRQ

             F  8QOHVVRWKHUZLVHSURYLGHGLQWKLV$JUHHPHQWDOOQRWLFHVRUGHPDQGVE\DQ\3DUW\UHODWLQJ
                 WRWKLV$JUHHPHQWRUDQ\RWKHUDJUHHPHQWHQWHUHGLQWRLQFRQQHFWLRQKHUHZLWKVKDOOEHLQ
                 ZULWLQJDQGVKDOOEH L GHOLYHUHGSHUVRQDOO\ LL VHQWE\DQDWLRQDOO\UHFRJQL]HGRYHUQLJKW
                 FDUULHU YLD RYHUQLJKW RU VHFRQG GD\ GHOLYHU\ RU LLL  VHQW YLD HPDLO ZLWK UHWXUQ UHFHLSW
                 UHTXHVWHGWRWKH3DUWLHVDVIROORZV

                 ,IWRWKH$JHQW

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             G  2WKHUWKDQWKRVHQRWLFHVDVVHWIRUWKLQ6HFWLRQ E QRWLFHDQGVKDOOEHGHHPHGWRKDYH
                 EHHQJLYHQ D ZKHQGHOLYHUHGE\KDQG E ZKHQUHFHLYHGE\WKHDGGUHVVHHLIVHQWE\D
                 QDWLRQDOO\UHFRJQL]HGRYHUQLJKWFRXULHU UHFHLSWUHTXHVWHG RU F XSRQUHFHLSWRIDUHWXUQ
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             H  7KH3DUWLHVKHUHWRPD\FKDQJHWKHDGGUHVVDWZKLFKWKH\DUHWRUHFHLYHQRWLFHVKHUHXQGHU
                 E\QRWLFHLQZULWLQJLQWKHIRUHJRLQJPDQQHUJLYHQWRWKHRWKHU

         6HFWLRQ 1R7KLUG3DUW\%HQHILFLDULHV2WKHUWKDQDVVSHFLILFDOO\VHWIRUWKKHUHLQWKHWHUPV
         DQGSURYLVLRQVRIWKLV$JUHHPHQWVKDOOEHIRUWKHVROHEHQHILWRIWKH3DUWLHVDQGWKHLUUHVSHFWLYH
         VXFFHVVRUV DQG SHUPLWWHG DVVLJQV DQG QR RWKHU SHUVRQ RU HQWLW\ VKDOO KDYH DQ\ ULJKW EHQHILW
         SULRULW\RULQWHUHVWXQGHURUEHFDXVHRIWKLV$JUHHPHQW

         6HFWLRQ +ROGHUV7KHUHODWLRQVKLSDPRQJWKH+ROGHUVLVDQGDWDOOWLPHVVKDOOUHPDLQVROHO\
         WKDWRIFR+ROGHUV+ROGHUVVKDOOQRWXQGHUDQ\FLUFXPVWDQFHVEHFRQVWUXHGWREHSDUWQHUVRUMRLQW
         YHQWXUHUV RI RQH DQRWKHU QRU VKDOO WKH +ROGHUV XQGHU DQ\ FLUFXPVWDQFHV EH GHHPHG WR EH LQ D
         UHODWLRQVKLS RI FRQILGHQFH RU WUXVW RU D ILGXFLDU\ UHODWLRQVKLS ZLWK RQH DQRWKHU RU WR RZH DQ\
         ILGXFLDU\GXW\WRRQHDQRWKHU+ROGHUVGRQRWXQGHUWDNHRUDVVXPHDQ\UHVSRQVLELOLW\RUGXW\WR
         RQHDQRWKHUWRVHOHFWUHYLHZLQVSHFWVXSHUYLVHSDVVMXGJPHQWXSRQRURWKHUZLVHLQIRUPHDFK
         RWKHURIDQ\PDWWHULQFRQQHFWLRQZLWK&RPSDQ\¶VSURSHUW\DQ\&ROODWHUDOKHOGE\DQ\+ROGHURU
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         VXFK PDWWHUV DQG DQ\ UHYLHZ LQVSHFWLRQ VXSHUYLVLRQ H[HUFLVH RI MXGJPHQW RU VXSSO\ RI
         LQIRUPDWLRQXQGHUWDNHQRUDVVXPHGE\DQ\+ROGHULQFRQQHFWLRQZLWKVXFKPDWWHUVLVVROHO\IRU
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         LQFOXGLQJ ZLWKRXW OLPLWDWLRQ IHHV DQG GLVEXUVHPHQWV RI FRXQVHO ILQDQFLDO DGYLVRUV DQG
         DFFRXQWDQWVLQFXUUHGLQFRQQHFWLRQZLWKWKLV$JUHHPHQWDQGWKHWUDQVDFWLRQVFRQWHPSODWHGKHUHLQ
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         DIIHFWWKHLQWHUSUHWDWLRQRIWKLV$JUHHPHQW

         6HFWLRQ 6HYHUDELOLW\ ,I DQ\ WHUP RU SURYLVLRQ RI WKLV $JUHHPHQW LV LQYDOLG LOOHJDO RU
         XQHQIRUFHDEOHLQDQ\MXULVGLFWLRQVXFKLQYDOLGLW\LOOHJDOLW\RUXQHQIRUFHDELOLW\VKDOOQRWDIIHFWDQ\
         RWKHU WHUP RU SURYLVLRQ RI WKLV $JUHHPHQW RU LQYDOLGDWH RU UHQGHU XQHQIRUFHDEOH VXFK WHUP RU
         SURYLVLRQ LQ DQ\ RWKHU MXULVGLFWLRQ 8SRQ VXFK GHWHUPLQDWLRQ WKDW DQ\ WHUP RU RWKHU SURYLVLRQ
         KHUHLQLVLQYDOLGLOOHJDORUXQHQIRUFHDEOHWKH3DUWLHVVKDOOQHJRWLDWHLQJRRGIDLWKWRPRGLI\WKLV
         $JUHHPHQWVRDVWRHIIHFWWKHRULJLQDOLQWHQWRIWKH3DUWLHVDVFORVHO\DVSRVVLEOHLQDPXWXDOO\
         DFFHSWDEOH PDQQHU LQ RUGHU WKDW WKH &RQWHPSODWHG 7UDQVDFWLRQV EH FRQVXPPDWHG DV RULJLQDOO\


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         FRQWHPSODWHGWRWKHJUHDWHVWH[WHQWSRVVLEOH

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         *XDUDQW\DQGWKHDSSOLFDEOHVXEVFULSWLRQDJUHHPHQWVFRQVWLWXWHWKHVROHDQGHQWLUHDJUHHPHQWRI
         WKH3DUWLHVZLWKUHVSHFWWRWKHVXEMHFWPDWWHUFRQWDLQHGKHUHLQDQGWKHUHLQDQGVXSHUVHGHDOOSULRU
         DQGFRQWHPSRUDQHRXVXQGHUVWDQGLQJVDQGDJUHHPHQWVERWKZULWWHQDQGRUDOZLWKUHVSHFWWRVXFK
         VXEMHFWPDWWHU

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         DVVLJQLWVULJKWVRUREOLJDWLRQVKHUHXQGHUZLWKRXWWKHSULRUZULWWHQFRQVHQWRIWKH&RPSDQ\7KH
         &RPSDQ\PD\QRWDVVLJQLWVULJKWVRUREOLJDWLRQVKHUHXQGHUXQOHVVDOO1RWHVKDYHEHHQSDLGLQIXOO

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             D  7KLV $JUHHPHQW PD\ RQO\ EH DPHQGHG PRGLILHG RU VXSSOHPHQWHG E\ DQ DJUHHPHQW LQ
                 ZULWLQJVLJQHGE\WKH&RPSDQ\WKH$JHQWDQGD0DMRULW\LQ,QWHUHVWRIWKH1RWHKROGHUV
                 SURYLGHG WKDW WKH 3DUWLHV DFNQRZOHGJH DQG DJUHH WKDW DGGLWLRQDO +ROGHUV PD\ MRLQ WKLV
                 $JUHHPHQWDVVHWIRUWKLQWKHLQWURGXFWRU\SDUDJUDSKKHUHWRDQGLQ6HFWLRQ E DQG
                 VXFKMRLQGHU V VKDOOQRWEHGHHPHGDQDPHQGPHQWRIWKLV$JUHHPHQW

             E  (DFK UHTXHVW IRU FRQVHQW DSSURYDO RU ZDLYHU XQGHU WKLV $JUHHPHQW IRU DQ DPHQGPHQW
                 KHUHRIRIRWKHUPDWWHUZKLFKLVVHQWE\WKH&RPSDQ\WRWKH$JHQWRQEHKDOIRIWKH+ROGHUV
                 VKDOOEHPDGHLQZULWLQJWR$JHQWZKRVKDOOWKHUHDIWHUGLVWULEXWHVXFKQRWLFHWRWKH+ROGHUV
                 DQGVKDOOLQFOXGHDOOLQIRUPDWLRQQHFHVVDU\IRUD+ROGHUWRPDNHDQLQIRUPHGGHFLVLRQDV
                 WRZKHWKHUWRDJUHHWRVXFKFRQVHQWRUDSSURYDODQGVKDOOLQFOXGHWKHIROORZLQJLQFDSLWDO
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                 LQIRUPDWLRQ YLD WKH GHOLYHU\ RI D UHVSRQVH WR WKH $JHQW LQ VXFK WLPH IUDPH ZKLFK WKH
                 $JHQW VKDOO WKHUHDIWHU IRUZDUG WR L&DS +ROGLQJ DV VHW IRUWK KHUHLQ L&DS +ROGLQJ PD\
                 UHTXHVW D FRQVHQW RU DSSURYDO DJDLQ E\ GHOLYHU\ RI D QRWLFH LQFOXGLQJ WKH IROORZLQJ LQ
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                 DPHQGPHQWRIRWKHUPDWWHUZLWKLQWHQ  GD\VRIUHFHLSWRIVXFKVHFRQGDQGILQDOQRWLFH
                 LQWKHPDQQHUDVVHWIRUWKLQ6HFWLRQ F VXFK+ROGHUVKDOOEHGHHPHGWRKDYHDSSURYHG


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                 LQ ZULWLQJWKH SURSRVHG FRQVHQWDSSURYDO RU ZDLYHUDPHQGPHQWRIRWKHUPDWWHU DV VHW
                 IRUWKLQWKHQRWLFHDQGWKHRWKHU3DUWLHVPD\HIIHFWWKHDFWLRQVVHWIRUWKWKHUHLQLQUHOLDQFH
                 RQVXFKFRQVHQW

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                 6WDWHRI'HODZDUHZLWKRXWUHJDUGWRSULQFLSOHVRIFRQIOLFWVRIODZV

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             G  (DFK3DUW\KHUHE\LUUHYRFDEO\ZDLYHVSHUVRQDOVHUYLFHRISURFHVVDQGFRQVHQWVWRSURFHVV
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                 RWKHUDJUHHPHQWFHUWLILFDWHLQVWUXPHQWRUGRFXPHQWFRQWHPSODWHGKHUHE\RUWKHUHE\E\
                 PDLOLQJDFRS\WKHUHRIYLDUHJLVWHUHGRUFHUWLILHGPDLORURYHUQLJKWGHOLYHU\ ZLWKHYLGHQFH
                 RIGHOLYHU\ WRVXFKSDUW\DWWKHDGGUHVVLQHIIHFWIRUQRWLFHVWRLWXQGHUWKLV*XDUDQW\DQG
                 DJUHHVWKDWVXFKVHUYLFHVKDOOFRQVWLWXWHJRRGDQGVXIILFLHQWVHUYLFHRISURFHVVDQGQRWLFH
                 WKHUHRI1RWKLQJFRQWDLQHGKHUHLQVKDOOEHGHHPHGWROLPLWLQDQ\ZD\DQ\ULJKWWRVHUYH
                 SURFHVVLQDQ\RWKHUPDQQHUSHUPLWWHGE\ODZ7KHSUHYDLOLQJSDUW\LQDQ\DFWLRQRUGLVSXWH
                 EURXJKWLQFRQQHFWLRQZLWKWKLV$JUHHPHQWRUDQ\RWKHUDJUHHPHQWFHUWLILFDWHLQVWUXPHQW
                 RUGRFXPHQWFRQWHPSODWHGKHUHE\RUWKHUHE\VKDOOEHHQWLWOHGWRUHFRYHUIURPWKHRWKHU
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         HDFK3DUW\VKDOOEHHQWLWOHGWRVSHFLILFSHUIRUPDQFHRIWKHWHUPVKHUHRILQDGGLWLRQWRDQ\RWKHU
         UHPHG\WRZKLFKVXFK3DUW\LVHQWLWOHGDWODZRULQHTXLW\,QWKHHYHQWWKDWVSHFLILFSHUIRUPDQFH
         LVJUDQWHGWRD3DUW\SXUVXDQWWRWKHWHUPVDQGFRQGLWLRQVKHUHLQVXFK3DUW\VKDOODOVREHHQWLWOHG
         WREHDZDUGHGLWVFRVWVDQGH[SHQVHV LQFOXGLQJUHDVRQDEOHDWWRUQH\V¶IHHVDQGH[SHQVHV LQFXUUHG
         VROHO\ LQ FRQQHFWLRQ ZLWK REWDLQLQJ VXFK VSHFLILF SHUIRUPDQFH WRJHWKHU ZLWK LQWHUHVW RQ VXFK
         DPRXQWVIURPWKHGDWHRIWKHFRPPHQFHPHQWRIVXFKSURFHHGLQJXQWLOWKHGDWHRISD\PHQWDWWKH
         SULPH OHQGLQJ UDWH DV SXEOLVKHG LQ 7KH :DOO 6WUHHW -RXUQDO LQ HIIHFW RQ WKH GDWH RI WKH
         FRPPHQFHPHQWRIVXFKSURFHHGLQJ

         6HFWLRQ 7HUPLQDWLRQ7KLV$JUHHPHQWVKDOOWHUPLQDWHXSRQWKHLUUHYRFDEOHSD\PHQWLQIXOO
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         VXFK SD\PHQW LQ IXOO RU FRQYHUVLRQ DQG WKHUHDIWHU QR 3DUW\ VKDOO KDYH DQ\ IXUWKHU ULJKWV RU
         REOLJDWLRQV KHUHXQGHU 1RWZLWKVWDQGLQJ WKH SULRU WHUPLQDWLRQ RI WKLV $JUHHPHQW WKH UHVSHFWLYH
         REOLJDWLRQVRI+ROGHUVWRLQGHPQLI\$JHQWDQGHDFKRWKHUVKDOOVXUYLYHXQWLODOODSSOLFDEOHVWDWXWH
         RIOLPLWDWLRQVSHULRGVZLWKUHVSHFWWRDFWLRQVWKDWPD\EHEURXJKWDJDLQVW$JHQWRU+ROGHUKDYH
         UXQ

         6HFWLRQ 5HLQVWDWHPHQW1RWZLWKVWDQGLQJDQ\SURYLVLRQRIWKLV$JUHHPHQWWRWKHFRQWUDU\
         WKHULJKWVDQGREOLJDWLRQVRIWKH3DUWLHVZLWKUHVSHFWWR&RPSDQ\VKDOOEHUHLQVWDWHGDQGUHYLYHGLI
         DQGWRWKHH[WHQWWKDWIRUDQ\UHDVRQDQ\SD\PHQWE\RURQEHKDOIRI&RPSDQ\LVUHVFLQGHGRU
         PXVWEHRWKHUZLVHUHVWRUHGE\DQ\3DUW\ZKHWKHUDVDUHVXOWRIDQ\SURFHHGLQJVLQEDQNUXSWF\RU
         UHRUJDQL]DWLRQ RU RWKHUZLVH DOO DV WKRXJK VXFK DPRXQW KDG QRW EHHQ SDLG 7R WKH H[WHQW DQ\
         SD\PHQWLVUHVFLQGHGRUUHVWRUHGWKHREOLJDWLRQVRIWKH&RPSDQ\XQGHUWKH1RWHVVKDOOEHUHYLYHG
         LQIXOOIRUFHDQGHIIHFWZLWKRXWUHGXFWLRQRUGLVFKDUJHIRUWKDWSD\PHQW

         6HFWLRQ 6XUYLYDO$OOFRYHQDQWVUHSUHVHQWDWLRQVDQGZDUUDQWLHVPDGHLQWKLV$JUHHPHQW
         VKDOOFRQWLQXHLQIXOOIRUFHDQGHIIHFWVRORQJDVDQ\REOLJDWLRQVUHPDLQRXWVWDQGLQJKHUHXQGHU

         6HFWLRQ &RXQWHUSDUWVDQG-RLQGHU

             D  7KLV $JUHHPHQW PD\ EH H[HFXWHG LQ FRXQWHUSDUWV HDFK RI ZKLFK VKDOO EH GHHPHG DQ
                 RULJLQDOEXWDOORIZKLFKWRJHWKHUVKDOOEHGHHPHGWREHRQHDQGWKHVDPHDJUHHPHQW$
                 VLJQHGFRS\RIWKLV$JUHHPHQWGHOLYHUHGE\IDFVLPLOHHPDLORURWKHUPHDQVRIHOHFWURQLF
                 WUDQVPLVVLRQVKDOOEHGHHPHGWRKDYHWKHVDPHOHJDOHIIHFWDVGHOLYHU\RIDQRULJLQDOVLJQHG
                 FRS\RIWKLV$JUHHPHQW

             E  2QHRUPRUH+ROGHUVPD\MRLQWKLV$JUHHPHQWDWRUIROORZLQJWKH(IIHFWLYH'DWHE\WKH
                 H[HFXWLRQRID&RXQWHUSDUW6LJQDWXUH3DJHDVDWWDFKHGKHUHWRSURYLGHGKRZHYHUWKDWVXFK
                 &RXQWHUSDUW6LJQDWXUH3DJHVKDOOQRWEHHIIHFWLYHXQOHVVDQGXQWLOWKH&RPSDQ\DFFHSWVWKH
                 DSSOLFDEOH SURSRVHG +ROGHU¶V VXEVFULSWLRQ IRU D 1RWH SXUVXDQW WR WKH 6XEVFULSWLRQ
                 $JUHHPHQWDQGFRXQWHUVLJQHGVXFK&RXQWHUSDUW6LJQDWXUH3DJH

                                        [Signatures appear on following pages]




                                                 ([KLELW(±3DJH
Y
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23-01243-WLH11   Doc 469   Filed 02/23/24   Entered 02/23/24 19:45:30 Exhibit
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                                                                                 of 630575
                            &RXQWHUSDUW\6LJQDWXUH3DJHWR&ROODWHUDO$JHQW$JUHHPHQW

                  %\H[HFXWLRQKHUHRIWKHXQGHUVLJQHG+ROGHUKHUHE\MRLQVLQDQGEHFRPHVD+ROGHUXQGHU
         WKDW FHUWDLQ &ROODWHUDO $JHQW $JUHHPHQW GDWHG DV RI 6HSWHPEHU   E\ DQG EHWZHHQ L&DS
         3DFLILF,QFRPH)XQG//&D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\ ³&RPSDQ\´ WKHKROGHUVRI
         WKH1RWHV DVGHILQHGLQVXFKWKHUHLQ DQG0DUNHW3ODFH5HDOW\$GYLVRUV//&LQLWVFDSDFLW\DV
         FROODWHUDODJHQW LQVXFKFDSDFLW\³$JHQW´  WKH³&ROODWHUDO$JHQW$JUHHPHQW´ 

                7KHXQGHUVLJQHG+ROGHUKDVUHFHLYHGDQGUHDGDFRS\RIWKH&ROODWHUDO$JHQW$JUHHPHQW
         DQG XQGHUVWDQGV LWV SURYLVLRQV +ROGHU KHUHE\ DGRSWV DQG DJUHHV WR EH ERXQG E\ DOO RI WKH
         SURYLVLRQVRIWKH&ROODWHUDO$JHQW$JUHHPHQWDQGDOORIWKHSURYLVLRQVRIWKH&ROODWHUDO$JHQW
         $JUHHPHQWDUHKHUHE\LQFRUSRUDWHGKHUHLQ

                 ,1:,71(66:+(5(2)WKH3DUWLHVKHUHWRKDYHFDXVHGWKLV&RXQWHUSDUW6LJQDWXUH3DJH
         WR&ROODWHUDO$JHQW$JUHHPHQWWREHH[HFXWHGDVRIWKHGDWHVHWIRUWKEHORZ
                 
                 
                 +ROGHU1DPHBBBBBBBBBBBBBBBBBBBBBBBB
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                 
                 6LJQDWXUH  BBBBBBBBBBBBBBBBBBBBBBBB
                 7LWOH     BBBBBBBBBBBBBBBBBBBBBBBB
                              (if applicable)
                 
                 'DWH      BBBBBBBBBBBBBBBBBBBBBBBB
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                                              $JUHHGDQGDFFHSWHG
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                                              L&DS3DFLILF,QFRPH)XQG//&
                                              
                                                   %\L&DS3DFLILF1:0DQDJHPHQW//&
                                                     ,WV0DQDJHU
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                                             %\ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             1DPHBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                             7LWOH BBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




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                                                                                                     of 630576
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                           Exhibit 




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                            iCap/Family Office Joint Investment
                            Summary Assumptions


                                                                            1. Sale of            2. Build-Out of




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                                                                          Investments              Investments
                            Investment Amount                         $    94,000,000.00      $     94,000,000.00




Doc 469
                            Management Fee                                         2.00%                     2.00%

                            Average Return on Investment (Expected)               33.26%                    33.26%
                            Average Annualized Return on Investment               24.26%                    24.26%
                            Average Investment Days                                  575                       575
                            Average Investment Months                                 19                        19




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                            Operating Reserve Balance                 $     5,000,000.00      $      5,000,000.00

                            Investment Period (in Years)                                  3                         3

                            Net Return on Investment                  $    62,614,521.46      $     72,671,522.06

                            Return on Investment                                  66.61%                    77.31%
                            Annualized Return on Investment                       13.32%                    15.46%

                            Preferred Interest Payment                                   0%                     0%




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                                                                                                                        Exhibit 1, Page 578
                            iCap/Family Office Joint Investment
                            Cash Flow Projections - As of November 8, 2016 (Sale of Investments)


                                                                    Apr. 2017      May. 2017        Jun. 2017        Jul. 2017        Aug. 2017        Sep. 2017        Oct. 2017        Nov. 2017        Dec. 2017        Jan. 2018        Feb. 2018        Mar. 2018           Apr. 2018           May. 2018           Jun. 2018           Jul. 2018        Aug. 2018
                            Beginning Cash:                       $ 30,798,192    $ 22,650,802     $ 13,862,810     $ 8,287,907      $ 8,523,954      $ 12,215,502     $ 6,860,370      $ 8,298,775      $ 14,722,986     $ 6,660,851      $ 11,383,539     $ 14,179,217     $     6,804,399     $     8,885,200     $ 12,014,642        $    7,976,270      $ 12,022,754
                            Deductions:
                               Management Fees                        (470,000)                -                -      (470,000)                  -                -      (470,000)                  -                -       (470,000)                 -                -         (470,000)                     -                   -         (470,000)                  -
                               Professional Fees                             -                 -                -             -                   -                -             -                   -                -              -                  -                -                -                      -                   -                -                   -
                               Expense Reimbursement                         -                 -                -             -                   -                -             -                   -                -              -                  -                -                -                      -                   -                -                   -
                               Distributions                                 -                 -                -             -                   -                -             -                   -                -              -                  -                -                -                      -                   -                -                   -




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                                     Total Monthly Deductions         (470,000)                -                -      (470,000)                  -                -      (470,000)                  -                -       (470,000)                 -                -         (470,000)                     -                   -         (470,000)                  -

                            Current AUM Portfolio:
                               Seattle Modern Living                         -         160,965          160,965         160,965           160,965          160,965         160,965           160,965         160,965           160,965          160,965         160,965             767,368             819,664                   -                   -                 -
                               Meridian Greens Holdings                      -               -                -               -                 -                -               -                 -               -                 -        2,291,054               -                   -                   -                   -                   -                 -
                               Ruby 62 Holdings                       (116,667)       (116,667)        (116,667)       (116,667)         (116,667)       2,455,194               -                 -               -                 -                -               -                   -                   -                   -                   -                 -
                               Ent. Ventures II                              -               -                -               -                 -                -               -           526,000               -                 -                -               -                   -                   -                   -                   -                 -




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                               Ent. Ventures IV                              -               -                -               -                 -                -               -                 -               -                 -                -               -                   -             647,524                   -                   -                 -
                               Barcelo Madison Park                  1,643,650               -                -               -                 -                -               -                 -               -                 -                -               -                   -                   -                   -                   -                 -
                               iCap Delridge Way, LLC                        -               -                -               -                 -           92,000         184,000           423,900               -                 -                -               -                   -                   -                   -                   -                 -
                               iCap Finn Hill                          385,990         385,990                -               -                 -          385,990         385,990           410,359               -           821,179                -               -                   -                   -                   -                   -                 -
                               iCap Campbell Way                             -               -          920,000               -                 -                -               -                 -               -                 -                -               -                   -                   -                   -                   -                 -
                               iCap Rhody Ridge, LLC                         -               -         (141,667)       (141,667)          (66,667)               -               -                 -               -                 -          143,750         287,500             287,500                   -             287,500             287,500           287,500
                               iCap Lake View                                -               -                -               -         1,317,481          439,160         439,160                 -         878,320           439,160                -         878,320             439,160                   -           1,781,085           1,664,596                 -
                               iCap Rhody Ridge                              -               -                -               -         1,347,869          449,290         449,290                 -         898,579           449,290                -         898,579             220,080                   -                   -                   -                 -
                               iCap Brislawn                                 -               -                -         220,833           220,833          411,358               -                 -               -                 -                -               -                   -                   -                   -                   -                 -
                               Mercer 36, LLC                          115,000         322,747                -               -                 -                -               -                 -               -                 -                -               -                   -                   -                   -                   -                 -
                               KBRI6, LLC                                    -               -                -         266,800           266,800        1,000,455               -                 -               -                 -                -               -                   -                   -                   -                   -                 -
                               23rd & Gilman, LLC                      214,632         214,632          318,122               -                 -                -               -                 -               -                 -                -               -                   -                   -                   -                   -                 -




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                               134th Street, LLC                             -               -                -               -                 -                -               -         4,902,986               -                 -                -               -                   -                   -                   -                   -                 -
                               Senza Sammamish, LLC                          -               -                -               -                 -                -               -                 -               -                 -          199,909         399,818             399,818             399,818             630,606             920,700                 -
                               iCap Finn Meadows                             -               -                -               -                 -                -               -                 -               -                 -                -               -             436,875             436,875             436,875             436,875         1,477,747
                               Senza Kenmore, LLC                            -               -                -               -                 -                -               -                 -               -                 -                -               -                   -                   -                   -             381,250           190,625
                               Pearl and Delores                             -         164,335          164,335         275,780           480,928                -               -                 -               -                 -                -               -                   -                   -                   -                   -                 -
                               Hayden Meadows, LLC                      80,006          80,006          120,008          40,003            80,006          250,456         289,000                 -               -                 -                -               -                   -                   -                   -                   -                 -
                               Lake Union Estates, LLC                       -               -                -               -                 -                -               -                 -               -                 -                -               -                   -             825,563             825,563             825,563                 -
                               Timberland, LLC                               -               -                -               -                 -                -               -                 -               -         3,322,095                -               -                   -                   -                   -                   -                 -
                                                                     2,322,610       1,212,008        1,425,097         706,047         3,691,548        5,644,868       1,908,405         6,424,211        1,937,865        5,192,688        2,795,678        2,625,182           2,550,801           3,129,442          3,961,628           4,516,484         1,955,872
                            Future AUM Investments:
                               Investment Placement #1             (10,000,000)              -                -                  -                -              -                  -                -              -                  -                -              -                     -                   -                 -                     -                -
                               Investment Placement #2                       -     (10,000,000)               -                  -                -              -                  -                -              -                  -                -              -                     -                   -                 -                     -                -
                               Investment Placement #3                       -               -       (7,000,000)                 -                -              -                  -                -              -                  -                -              -                     -                   -                 -                     -                -
                               Investment Placement #4                       -               -                -                  -                -    (11,000,000)                 -                -              -                  -                -              -                     -                   -                 -                     -                -
                               Investment Placement #5                       -               -                -                  -                -              -                  -                -    (10,000,000)                 -                -              -                     -                   -                 -                     -                -
                               Investment Placement #6                       -               -                -                  -                -              -                  -                -              -                  -                -    (10,000,000)                    -                   -                 -                     -                -
                               Investment Placement #7                       -               -                -                  -                -              -                  -                -              -                  -                -              -                     -                   -        (8,000,000)                    -                -
                               Investment Placement #8                       -               -                -                  -                -              -                  -                -              -                  -                -              -                     -                   -                 -                     -                -
                               Investment Placement #9                       -               -                -                  -                -              -                  -                -              -                  -                -              -                     -                   -                 -                     -                -
                               Investment Placement #10                      -               -                -                  -                -              -                  -                -              -                  -                -              -                     -                   -                 -                     -                -




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                               Investment Placement #11                      -               -                -                  -                -              -                  -                -              -                  -                -              -                     -                   -                 -                     -                -
                               Investment Placement #12                      -               -                -                  -                -              -                  -                -              -                  -                -              -                     -                   -                 -                     -                -
                               Investment Placement #13                      -               -                -                  -                -              -                  -                -              -                  -                -              -                     -                   -                 -                     -                -
                               Investment Placement #14                      -               -                -                  -                -              -                  -                -              -                  -                -              -                     -                   -                 -                     -                -
                               Investment Placement #15                      -               -                -                  -                -              -                  -                -              -                  -                -              -                     -                   -                 -                     -                -
                               Investment Placement #16                      -               -                -                  -                -              -                  -                -              -                  -                -              -                     -                   -                 -                     -                -
                               Investment Placement #17                      -               -                -                  -                -              -                  -                -              -                  -                -              -                     -                   -                 -                     -                -
                                                                   (10,000,000)    (10,000,000)      (7,000,000)                 -                -    (11,000,000)                 -                -    (10,000,000)                 -                -    (10,000,000)                    -                   -        (8,000,000)                    -                -
                               Total AUM Payoffs                    (7,677,390)     (8,787,992)      (5,574,903)        706,047         3,691,548       (5,355,132)      1,908,405         6,424,211       (8,062,135)       5,192,688        2,795,678       (7,374,818)          2,550,801           3,129,442          (4,038,372)         4,516,484         1,955,872
                            Ending Cash Account                   $ 22,650,802    $ 13,862,810     $ 8,287,907      $ 8,523,954      $ 12,215,502     $ 6,860,370      $ 8,298,775      $ 14,722,986     $ 6,660,851      $ 11,383,539     $ 14,179,217     $ 6,804,399      $     8,885,200     $ 12,014,642        $    7,976,270      $ 12,022,754        $ 13,978,625




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                                                                                                                                                                                                                                                                                                                     Exhibit 1, Page 579
                            iCap/Family Office Joint Investment
                            Cash Flow Projections - As of Novembe


                                                                    Sep. 2018           Oct. 2018           Nov. 2018           Dec. 2018           Jan. 2019       Feb. 2019           Mar. 2019           Apr. 2019          May. 2019           Jun. 2019           July 2019           Aug. 2019           Sept. 2019           Oct. 2019           Nov. 2019           Dec. 2019
                            Beginning Cash:                     $ 13,978,625        $    2,017,237      $     2,825,674     $     5,713,893     $    5,865,455    $ 15,549,218      $ 16,374,780        $     5,481,971    $     7,251,321     $    7,251,321      $    7,251,321      $     5,107,321     $     5,107,321      $    5,107,321      $ 17,963,321        $     5,963,321
                            Deductions:
                               Management Fees                                  -         (470,000)                     -                   -         (470,000)                 -                   -         (470,000)                    -                   -         (470,000)                     -                    -         (470,000)                     -                   -
                               Professional Fees                                -                -                      -                   -                -                  -                   -                -                     -                   -                -                      -                    -                -                      -                   -
                               Expense Reimbursement                            -                -                      -                   -                -                  -                   -                -                     -                   -                -                      -                    -                -                      -                   -
                               Distributions                                    -                -                      -                   -                -                  -                   -                -                     -                   -                -                      -                    -                -                      -                   -




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                                     Total Monthly Deductions                   -         (470,000)                     -                   -         (470,000)                 -                   -          (470,000)                   -                   -         (470,000)                     -                    -         (470,000)                     -                   -

                            Current AUM Portfolio:
                               Seattle Modern Living                         -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               Meridian Greens Holdings                      -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               Ruby 62 Holdings                              -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               Ent. Ventures II                              -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -




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                               Ent. Ventures IV                              -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               Barcelo Madison Park                          -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               iCap Delridge Way, LLC                        -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               iCap Finn Hill                                -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               iCap Campbell Way                             -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               iCap Rhody Ridge, LLC                    38,612             897,187                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               iCap Lake View                                -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               iCap Rhody Ridge                              -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               iCap Brislawn                                 -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               Mercer 36, LLC                                -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               KBRI6, LLC                                    -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               23rd & Gilman, LLC                            -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -




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                               134th Street, LLC                             -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               Senza Sammamish, LLC                          -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               iCap Finn Meadows                             -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               Senza Kenmore, LLC                            -             381,250             736,656                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               Pearl and Delores                             -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               Hayden Meadows, LLC                           -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                               Lake Union Estates, LLC                       -                   -             825,563             825,563             825,563         825,563            2,107,191           2,580,750                    -                   -                   -                   -                    -                   -                   -                   -
                               Timberland, LLC                               -                   -                   -                   -                   -               -                    -                   -                    -                   -                   -                   -                    -                   -                   -                   -
                                                                        38,612           1,278,437            1,562,219            825,563             825,563         825,563            2,107,191           2,580,750                    -                   -                   -                   -                    -                   -                   -                   -
                            Future AUM Investments:
                               Investment Placement #1                        -                     -        13,326,000                   -                  -                  -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -
                               Investment Placement #2                        -                     -                 -          13,326,000                  -                  -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -
                               Investment Placement #3                        -                     -                 -                   -          9,328,200                  -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -
                               Investment Placement #4                        -                     -                 -                   -                  -                  -                 -          14,658,600                    -                   -                 -                     -                    -                -                    -                     -
                               Investment Placement #5                        -                     -                 -                   -                  -                  -                 -                   -                    -                   -        13,326,000                     -                    -                -                    -                     -
                               Investment Placement #6                        -                     -                 -                   -                  -                  -                 -                   -                    -                   -                 -                     -                    -       13,326,000                    -                     -
                               Investment Placement #7                        -                     -                 -                   -                  -                  -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -
                               Investment Placement #8              (12,000,000)                    -                 -                   -                  -                  -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -
                               Investment Placement #9                        -                     -       (12,000,000)                  -                  -                  -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -
                               Investment Placement #10                       -                     -                 -         (14,000,000)                 -                  -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -




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                               Investment Placement #11                       -                     -                 -                   -                  -                  -       (13,000,000)                  -                    -                   -                 -                     -                    -                -                    -                     -
                               Investment Placement #12                       -                     -                 -                   -                  -                  -                 -         (15,000,000)                   -                   -                 -                     -                    -                -                    -                     -
                               Investment Placement #13                       -                     -                 -                   -                  -                  -                 -                   -                    -                   -       (15,000,000)                    -                    -                -                    -                     -
                               Investment Placement #14                       -                     -                 -                   -                  -                  -                 -                   -                    -                   -                 -                     -                    -                -          (12,000,000)                    -
                               Investment Placement #15                       -                     -                 -                   -                  -                  -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -
                               Investment Placement #16                       -                     -                 -                   -                  -                  -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -
                               Investment Placement #17                       -                     -                 -                   -                  -                  -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -
                                                                    (12,000,000)                    -         1,326,000            (674,000)         9,328,200                  -       (13,000,000)          (341,400)                    -                   -        (1,674,000)                    -                    -       13,326,000          (12,000,000)                    -
                               Total AUM Payoffs                    (11,961,388)         1,278,437            2,888,219            151,563          10,153,763         825,563          (10,892,809)          2,239,350                    -                   -        (1,674,000)                    -                    -       13,326,000          (12,000,000)                    -
                            Ending Cash Account                 $     2,017,237     $    2,825,674      $     5,713,893     $     5,865,455     $ 15,549,218      $ 16,374,780      $     5,481,971     $     7,251,321    $     7,251,321     $    7,251,321      $    5,107,321      $     5,107,321     $     5,107,321      $ 17,963,321        $     5,963,321     $     5,963,321




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                                                                                                                                                                                                                                                                                                                                Exhibit 1, Page 580
                            iCap/Family Office Joint Investment
                            Cash Flow Projections - As of Novembe


                                                                    Jan. 2020           Feb. 2020           Mar. 2020           Apr. 2020           May. 2019           Jun. 2020           July 2020           Aug. 2020           Sept. 2020           Oct. 2020        Nov. 2020         Dec. 2020         Jan. 2021         Feb. 2021        Mar. 2021         Apr. 2021
                            Beginning Cash:                     $    5,963,321      $ 16,154,121        $     5,154,121     $     5,154,121     $ 20,675,321        $    5,675,321      $ 21,666,521        $     4,852,921     $     4,852,921      $    4,852,921      $ 21,706,721     $ 41,695,721      $ 41,695,721      $ 41,225,721      $ 61,214,721     $ 61,214,721
                            Deductions:
                               Management Fees                        (470,000)                     -                   -         (470,000)                     -                   -         (470,000)                     -                    -         (470,000)                  -                 -       (470,000)                   -                -        (470,000)
                               Professional Fees                             -                      -                   -                -                      -                   -                -                      -                    -                -                   -                 -              -                    -                -               -
                               Expense Reimbursement                         -                      -                   -                -                      -                   -                -                      -                    -                -                   -                 -              -                    -                -               -
                               Distributions                                 -                      -                   -                -                      -                   -                -                      -                    -                -                   -                 -              -                    -                -               -




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                                     Total Monthly Deductions         (470,000)                     -                   -         (470,000)                     -                   -         (470,000)                     -                    -         (470,000)                  -                 -       (470,000)                   -                -       (470,000)

                            Current AUM Portfolio:
                               Seattle Modern Living                            -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               Meridian Greens Holdings                         -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               Ruby 62 Holdings                                 -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               Ent. Ventures II                                 -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -




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                               Ent. Ventures IV                                 -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               Barcelo Madison Park                             -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               iCap Delridge Way, LLC                           -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               iCap Finn Hill                                   -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               iCap Campbell Way                                -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               iCap Rhody Ridge, LLC                            -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               iCap Lake View                                   -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               iCap Rhody Ridge                                 -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               iCap Brislawn                                    -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               Mercer 36, LLC                                   -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               KBRI6, LLC                                       -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               23rd & Gilman, LLC                               -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -




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                               134th Street, LLC                                -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               Senza Sammamish, LLC                             -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               iCap Finn Meadows                                -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               Senza Kenmore, LLC                               -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               Pearl and Delores                                -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               Hayden Meadows, LLC                              -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               Lake Union Estates, LLC                          -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                               Timberland, LLC                                  -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                                                                                -                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -
                            Future AUM Investments:
                               Investment Placement #1                       -                    -                     -                -                    -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -
                               Investment Placement #2                       -                    -                     -                -                    -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -
                               Investment Placement #3                       -                    -                     -                -                    -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -
                               Investment Placement #4                       -                    -                     -                -                    -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -
                               Investment Placement #5                       -                    -                     -                -                    -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -
                               Investment Placement #6                       -                    -                     -                -                    -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -
                               Investment Placement #7              10,660,800                    -                     -                -                    -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -
                               Investment Placement #8                       -                    -                     -       15,991,200                    -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -
                               Investment Placement #9                       -                    -                     -                -                    -         15,991,200                    -                     -                    -                -                 -                   -                 -              -                   -                 -
                               Investment Placement #10                      -                    -                     -                -                    -                  -           18,656,400                     -                    -                -                 -                   -                 -              -                   -                 -




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                               Investment Placement #11                      -                    -                     -                -                    -                  -                    -                     -                    -       17,323,800                 -                   -                 -              -                   -                 -
                               Investment Placement #12                      -                    -                     -                -                    -                  -                    -                     -                    -                -        19,989,000                   -                 -              -                   -                 -
                               Investment Placement #13                      -                    -                     -                -                    -                  -                    -                     -                    -                -                 -                   -                 -     19,989,000                   -                 -
                               Investment Placement #14                      -                    -                     -                -                    -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -
                               Investment Placement #15                      -          (11,000,000)                    -                -                    -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -
                               Investment Placement #16                      -                    -                     -                -          (15,000,000)                 -                    -                     -                    -                -                 -                   -                 -              -                   -                 -
                               Investment Placement #17                      -                    -                     -                -                    -                  -          (35,000,000)                    -                    -                -                 -                   -                 -              -                   -                 -
                                                                    10,660,800          (11,000,000)                    -       15,991,200          (15,000,000)        15,991,200          (16,343,600)                    -                    -       17,323,800        19,989,000                   -                 -     19,989,000                   -                 -
                               Total AUM Payoffs                    10,660,800          (11,000,000)                    -       15,991,200          (15,000,000)        15,991,200          (16,343,600)                    -                    -       17,323,800        19,989,000                   -                 -     19,989,000                   -                 -
                            Ending Cash Account                 $ 16,154,121        $     5,154,121     $     5,154,121     $ 20,675,321        $     5,675,321     $ 21,666,521        $    4,852,921      $     4,852,921     $     4,852,921      $ 21,706,721        $ 41,695,721     $ 41,695,721      $ 41,225,721      $ 61,214,721      $ 61,214,721     $ 60,744,721




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                                                                                                                                                                                                                                                                                                                              Exhibit 1, Page 581
                            iCap/Family Office Joint Investment
                            Cash Flow Projections - As of Novembe


                                                                    May. 2021         Jun. 2021         July 2021        Aug. 2021        Sept. 2021         Oct. 2021        Nov. 2021         Dec. 2021         Jan. 2022         Feb. 2022         Mar. 2022
                            Beginning Cash:                     $ 60,744,721        $ 60,744,721      $ 76,735,921      $ 76,265,921     $ 76,265,921      $ 90,924,521      $ 90,454,521     $ 90,454,521      $ 110,443,521     $ 109,973,521     $ 156,614,521
                            Deductions:
                               Management Fees                                  -                 -       (470,000)                  -                 -       (470,000)                  -                 -        (470,000)                  -                 -
                               Professional Fees                                -                 -              -                   -                 -              -                   -                 -               -                   -                 -
                               Expense Reimbursement                            -                 -              -                   -                 -              -                   -                 -               -                   -                 -
                               Distributions                                    -                 -              -                   -                 -              -                   -                 -               -                   -                 -




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                                     Total Monthly Deductions                   -                 -       (470,000)                  -                 -       (470,000)                  -                 -        (470,000)                  -                 -

                            Current AUM Portfolio:
                               Seattle Modern Living                            -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               Meridian Greens Holdings                         -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               Ruby 62 Holdings                                 -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               Ent. Ventures II                                 -                 -                 -                -                 -                 -                -                 -                 -                 -                 -




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                               Ent. Ventures IV                                 -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               Barcelo Madison Park                             -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               iCap Delridge Way, LLC                           -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               iCap Finn Hill                                   -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               iCap Campbell Way                                -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               iCap Rhody Ridge, LLC                            -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               iCap Lake View                                   -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               iCap Rhody Ridge                                 -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               iCap Brislawn                                    -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               Mercer 36, LLC                                   -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               KBRI6, LLC                                       -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               23rd & Gilman, LLC                               -                 -                 -                -                 -                 -                -                 -                 -                 -                 -




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                               134th Street, LLC                                -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               Senza Sammamish, LLC                             -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               iCap Finn Meadows                                -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               Senza Kenmore, LLC                               -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               Pearl and Delores                                -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               Hayden Meadows, LLC                              -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               Lake Union Estates, LLC                          -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                               Timberland, LLC                                  -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                                                                                -                 -                 -                -                 -                 -                -                 -                 -                 -                 -
                            Future AUM Investments:
                               Investment Placement #1                          -              -                    -                -              -                    -                -               -                   -               -                   -
                               Investment Placement #2                          -              -                    -                -              -                    -                -               -                   -               -                   -
                               Investment Placement #3                          -              -                    -                -              -                    -                -               -                   -               -                   -
                               Investment Placement #4                          -              -                    -                -              -                    -                -               -                   -               -                   -
                               Investment Placement #5                          -              -                    -                -              -                    -                -               -                   -               -                   -
                               Investment Placement #6                          -              -                    -                -              -                    -                -               -                   -               -                   -
                               Investment Placement #7                          -              -                    -                -              -                    -                -               -                   -               -                   -
                               Investment Placement #8                          -              -                    -                -              -                    -                -               -                   -               -                   -
                               Investment Placement #9                          -              -                    -                -              -                    -                -               -                   -               -                   -
                               Investment Placement #10                         -              -                    -                -              -                    -                -               -                   -               -                   -




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                               Investment Placement #11                         -              -                    -                -              -                    -                -               -                   -               -                   -
                               Investment Placement #12                         -              -                    -                -              -                    -                -               -                   -               -                   -
                               Investment Placement #13                         -              -                    -                -              -                    -                -               -                   -               -                   -
                               Investment Placement #14                         -     15,991,200                    -                -              -                    -                -               -                   -               -                   -
                               Investment Placement #15                         -              -                    -                -     14,658,600                    -                -               -                   -               -                   -
                               Investment Placement #16                         -              -                    -                -              -                    -                -      19,989,000                   -               -                   -
                               Investment Placement #17                         -              -                    -                -              -                    -                -               -                   -      46,641,000                   -
                                                                                -     15,991,200                    -                -     14,658,600                    -                -      19,989,000                   -      46,641,000                   -
                               Total AUM Payoffs                                -     15,991,200                    -                -     14,658,600                    -                -      19,989,000                   -      46,641,000                   -
                            Ending Cash Account                 $ 60,744,721        $ 76,735,921      $ 76,265,921      $ 76,265,921     $ 90,924,521      $ 90,454,521      $ 90,454,521     $ 110,443,521     $ 109,973,521     $ 156,614,521     $ 156,614,521




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                                                                                                                                                                                                                                                          Exhibit 1, Page 582
                            iCap/Family Office Joint Investment
                            Cash Flow Projections - As of November 8, 2016 (Build Out of Investments)


                                                                    Apr. 2017       May. 2017        Jun. 2017           Jul. 2017           Aug. 2017        Sep. 2017           Oct. 2017           Nov. 2017        Dec. 2017           Jan. 2018        Feb. 2018        Mar. 2018           Apr. 2018           May. 2018           Jun. 2018           Jul. 2018           Aug. 2018
                            Beginning Cash:                       $ 24,032,892     $ 11,881,335     $ 8,089,176      $    1,130,200      $    1,362,081      $ 5,049,462      $    5,690,163      $     7,124,401     $ 13,544,444     $    5,478,142      $ 10,200,830     $ 17,455,876     $     5,081,058     $     7,161,859     $ 10,291,301        $    5,252,928      $     9,299,412
                            Deductions:
                               Management Fees                         (470,000)                -                -         (470,000)                     -                -         (470,000)                     -                -         (470,000)                  -                -          (470,000)                    -                   -         (470,000)                     -
                               Professional Fees                              -                 -                -                -                      -                -                -                      -                -                -                   -                -                 -                     -                   -                -                      -
                               Expense Reimbursement                          -                 -                -                -                      -                -                -                      -                -                -                   -                -                 -                     -                   -                -                      -
                               Distributions                                  -                 -                -                -                      -                -                -                      -                -                -                   -                -                 -                     -                   -                -                      -




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                                     Total Monthly Deductions          (470,000)                -                -         (470,000)                     -                -         (470,000)                     -                -         (470,000)                  -                -          (470,000)                    -                   -         (470,000)                     -

                            Current AUM Portfolio:
                               Seattle Modern Living                          -         160,965          160,965            160,965             160,965          160,965             160,965              160,965         160,965             160,965           160,965         160,965             767,368             819,664                    -                  -                    -
                               Meridian Greens Holdings                       -               -                -                  -                   -                -                   -                    -               -                   -         2,291,054               -                   -                   -                    -                  -                    -
                               Ruby 62 Holdings                        (116,667)       (116,667)        (116,667)          (116,667)           (116,667)       2,455,194                   -                    -               -                   -                 -               -                   -                   -                    -                  -                    -
                               Ent. Ventures II                               -               -                -                  -                   -                -                   -              526,000               -                   -                 -               -                   -                   -                    -                  -                    -
                               Ent. Ventures IV                               -               -                -                  -                   -                -                   -                    -               -                   -                 -               -                   -             647,524                    -                  -                    -




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                               Barcelo Madison Park                   1,643,650               -                -                  -                   -                -                   -                    -               -                   -                 -               -                   -                   -                    -                  -                    -
                               725 Broadway                                   -               -       (8,379,905)                 -                   -                -                   -                    -               -                   -                 -               -                   -                   -                    -                  -                    -
                               9041 48th                                 (4,167)         (4,167)          (4,167)            (4,167)             (4,167)          (4,167)             (4,167)              (4,167)         (4,167)                  -                 -               -                   -                   -                    -                  -                    -
                               Lofts @ Camas Meadows I                        -               -                -                  -                   -                -                   -                    -               -                   -         2,419,535               -                   -                   -                    -                  -                    -
                               Lofts @ Camas Meadows II                       -               -                -                  -                   -                -                   -                    -               -                   -         2,039,832               -                   -                   -                    -                  -                    -
                               TCG Investments                       (4,000,000)              -                -                  -                   -                -                   -                    -               -                   -                 -               -                   -                   -                    -                  -                    -
                               iCap Delridge Way, LLC                         -               -                -                  -                   -           92,000             184,000              423,900               -                   -                 -               -                   -                   -                    -                  -                    -
                               iCap Finn Hill                           385,990         385,990                -                  -                   -          385,990             385,990              410,359               -             821,179                 -               -                   -                   -                    -                  -                    -
                               iCap Campbell Way                              -               -          920,000                  -                   -                -                   -                    -               -                   -                 -               -                   -                   -                    -                  -                    -
                               iCap Rhody Ridge, LLC                          -               -         (141,667)          (141,667)            (66,667)               -                   -                    -               -                   -           143,750         287,500             287,500                   -              287,500            287,500              287,500
                               iCap Lake View                                 -               -                -                  -           1,317,481          439,160             439,160                    -         878,320             439,160                 -         878,320             439,160                   -            1,781,085          1,664,596                    -
                               iCap Rhody Ridge                               -               -                -                  -           1,347,869          449,290             449,290                    -         898,579             449,290                 -         898,579             220,080                   -                    -                  -                    -




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                               iCap Brislawn                                  -               -                -            220,833             220,833          411,358                   -                    -               -                   -                 -               -                   -                   -                    -                  -                    -
                               Mercer 36, LLC                           115,000         322,747                -                  -                   -                -                   -                    -               -                   -                 -               -                   -                   -                    -                  -                    -
                               KBRI6, LLC                                     -               -                -            266,800             266,800        1,000,455                   -                    -               -                   -                 -               -                   -                   -                    -                  -                    -
                               23rd & Gilman, LLC                       214,632         214,632          318,122                  -                   -                -                   -                    -               -                   -                 -               -                   -                   -                    -                  -                    -
                               134th Street, LLC                              -               -                -                  -                   -                -                   -            4,902,986               -                   -                 -               -                   -                   -                    -                  -                    -
                               Senza Sammamish, LLC                           -               -                -                  -                   -                -                   -                    -               -                   -           199,909         399,818             399,818             399,818              630,606            920,700                    -
                               iCap Finn Meadows                              -               -                -                  -                   -                -                   -                    -               -                   -                 -               -             436,875             436,875              436,875            436,875            1,477,747
                               Senza Kenmore, LLC                             -               -                -                  -                   -                -                   -                    -               -                   -                 -               -                   -                   -                    -            381,250              190,625
                               Pearl and Delores                              -         164,335          164,335            275,780             480,928                -                   -                    -               -                   -                 -               -                   -                   -                    -                  -                    -
                               Hayden Meadows, LLC                       80,006          80,006          120,008             40,003              80,006          250,456             289,000                    -               -                   -                 -               -                   -                   -                    -                  -                    -
                               Lake Union Estates, LLC                        -               -                -                  -                   -                -                   -                    -               -                   -                 -               -                   -             825,563              825,563            825,563                    -
                               Timberland, LLC                                -               -                -                  -                   -                -                   -                    -               -           3,322,095                 -               -                   -                   -                    -                  -                    -
                                                                     (1,681,557)      1,207,841       (6,958,975)           701,880           3,687,381        5,640,701           1,904,238            6,420,044        1,933,698          5,192,688         7,255,045        2,625,182           2,550,801           3,129,442           3,961,628          4,516,484            1,955,872
                            Future AUM Investments:
                               Investment Placement #1              (10,000,000)              -                  -                   -                   -              -                     -                   -              -                     -                -              -                     -                   -                 -                     -                   -
                               Investment Placement #2                        -      (5,000,000)                 -                   -                   -              -                     -                   -              -                     -                -              -                     -                   -                 -                     -                   -
                               Investment Placement #3                        -               -                  -                   -                   -     (5,000,000)                    -                   -              -                     -                -              -                     -                   -                 -                     -                   -
                               Investment Placement #4                        -               -                  -                   -                   -              -                     -                   -    (10,000,000)                    -                -              -                     -                   -                 -                     -                   -
                               Investment Placement #5                        -               -                  -                   -                   -              -                     -                   -              -                     -                -    (15,000,000)                    -                   -                 -                     -                   -
                               Investment Placement #6                        -               -                  -                   -                   -              -                     -                   -              -                     -                -              -                     -                   -        (9,000,000)                    -                   -




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                               Investment Placement #7                        -               -                  -                   -                   -              -                     -                   -              -                     -                -              -                     -                   -                 -                     -                   -
                               Investment Placement #8                        -               -                  -                   -                   -              -                     -                   -              -                     -                -              -                     -                   -                 -                     -                   -
                               Investment Placement #9                        -               -                  -                   -                   -              -                     -                   -              -                     -                -              -                     -                   -                 -                     -                   -
                               Investment Placement #10                       -               -                  -                   -                   -              -                     -                   -              -                     -                -              -                     -                   -                 -                     -                   -
                               Investment Placement #11                       -               -                  -                   -                   -              -                     -                   -              -                     -                -              -                     -                   -                 -                     -                   -
                               Investment Placement #12                       -               -                  -                   -                   -              -                     -                   -              -                     -                -              -                     -                   -                 -                     -                   -
                               Investment Placement #13                       -               -                  -                   -                   -              -                     -                   -              -                     -                -              -                     -                   -                 -                     -                   -
                               Investment Placement #14                       -               -                  -                   -                   -              -                     -                   -              -                     -                -              -                     -                   -                 -                     -                   -
                               Investment Placement #15                       -               -                  -                   -                   -              -                     -                   -              -                     -                -              -                     -                   -                 -                     -                   -
                               Investment Placement #16                       -               -                  -                   -                   -              -                     -                   -              -                     -                -              -                     -                   -                 -                     -                   -
                                                                    (10,000,000)     (5,000,000)                 -                   -                   -     (5,000,000)                    -                   -    (10,000,000)                    -                -    (15,000,000)                    -                   -        (9,000,000)                    -                   -
                               Total AUM Payoffs                    (11,681,557)     (3,792,159)      (6,958,975)           701,880           3,687,381          640,701           1,904,238            6,420,044       (8,066,302)         5,192,688         7,255,045      (12,374,818)          2,550,801           3,129,442          (5,038,372)         4,516,484            1,955,872




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                            Ending Cash Account                   $ 11,881,335     $ 8,089,176      $ 1,130,200      $    1,362,081      $    5,049,462      $ 5,690,163      $    7,124,401      $ 13,544,444        $ 5,478,142      $ 10,200,830        $ 17,455,876     $ 5,081,058      $     7,161,859     $ 10,291,301        $     5,252,928     $    9,299,412      $ 11,255,284




                                                                                                                                                                                                                                                                                                                                     Exhibit 1, Page 583
                            iCap/Family Office Joint Investment
                            Cash Flow Projections - As of Novembe


                                                                        Sep. 2018           Oct. 2018           Nov. 2018           Dec. 2018           Jan. 2019           Feb. 2019           Mar. 2019           Apr. 2019          May. 2019           Jun. 2019           July 2019           Aug. 2019           Sept. 2019           Oct. 2019           Nov. 2019           Dec. 2019           Jan. 2020
                            Beginning Cash:                         $ 11,255,284        $    6,293,896      $ 17,469,133        $     9,357,352     $    5,845,914      $     6,466,285     $     7,556,655     $     5,928,654    $     4,967,212     $     5,591,340     $    5,591,340      $     5,447,340     $     5,447,340      $    5,447,340      $ 24,966,340        $     5,966,340     $    5,966,340
                            Deductions:
                               Management Fees                                      -         (470,000)                     -                   -         (470,000)                     -                   -          (470,000)                   -                   -         (470,000)                     -                    -         (470,000)                     -                   -         (470,000)
                               Professional Fees                                    -                -                      -                   -                -                      -                   -                 -                    -                   -                -                      -                    -                -                      -                   -                -
                               Expense Reimbursement                                -                -                      -                   -                -                      -                   -                 -                    -                   -                -                      -                    -                -                      -                   -                -
                               Distributions                                        -                -                      -                   -                -                      -                   -                 -                    -                   -                -                      -                    -                -                      -                   -                -




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                                     Total Monthly Deductions                       -         (470,000)                     -                   -         (470,000)                     -                   -          (470,000)                   -                   -         (470,000)                     -                    -         (470,000)                     -                   -         (470,000)

                            Current AUM Portfolio:
                               Seattle Modern Living                             -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               Meridian Greens Holdings                          -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               Ruby 62 Holdings                                  -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               Ent. Ventures II                                  -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               Ent. Ventures IV                                  -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -




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                               Barcelo Madison Park                              -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               725 Broadway                                      -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               9041 48th                                         -                   -                   -                   -             264,808             264,808              264,808             264,808           624,128                      -                   -                   -                    -                   -                   -                   -                   -
                               Lofts @ Camas Meadows I                           -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               Lofts @ Camas Meadows II                          -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               TCG Investments                                   -          10,366,800                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               iCap Delridge Way, LLC                            -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               iCap Finn Hill                                    -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               iCap Campbell Way                                 -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               iCap Rhody Ridge, LLC                        38,612             897,187                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               iCap Lake View                                    -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               iCap Rhody Ridge                                  -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -




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                               iCap Brislawn                                     -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               Mercer 36, LLC                                    -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               KBRI6, LLC                                        -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               23rd & Gilman, LLC                                -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               134th Street, LLC                                 -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               Senza Sammamish, LLC                              -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               iCap Finn Meadows                                 -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               Senza Kenmore, LLC                                -             381,250             736,656                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               Pearl and Delores                                 -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               Hayden Meadows, LLC                               -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               Lake Union Estates, LLC                           -                   -             825,563             825,563             825,563             825,563            2,107,191           2,580,750                 -                      -                   -                   -                    -                   -                   -                   -                   -
                               Timberland, LLC                                   -                   -                   -                   -                   -                   -                    -                   -                 -                      -                   -                   -                    -                   -                   -                   -                   -
                                                                            38,612          11,645,237            1,562,219            825,563           1,090,371            1,090,371           2,371,999           2,845,558           624,128                      -                   -                   -                    -                   -                   -                   -                   -
                            Future AUM Investments:
                               Investment Placement #1                            -                     -        13,326,000                   -                     -                   -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -                -
                               Investment Placement #2                            -                     -                 -           6,663,000                     -                   -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -                -
                               Investment Placement #3                            -                     -                 -                   -                     -                   -                 -           6,663,000                    -                   -                 -                     -                    -                -                    -                     -                -
                               Investment Placement #4                            -                     -                 -                   -                     -                   -                 -                   -                    -                   -        13,326,000                     -                    -                -                    -                     -                -
                               Investment Placement #5                            -                     -                 -                   -                     -                   -                 -                   -                    -                   -                 -                     -                    -       19,989,000                    -                     -                -
                               Investment Placement #6                            -                     -                 -                   -                     -                   -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -       11,993,400




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                               Investment Placement #7                   (5,000,000)                    -                 -                   -                     -                   -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -                -
                               Investment Placement #8                            -                     -       (23,000,000)                  -                     -                   -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -                -
                               Investment Placement #9                            -                     -                 -         (11,000,000)                    -                   -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -                -
                               Investment Placement #10                           -                     -                 -                   -                     -                   -        (4,000,000)                  -                    -                   -                 -                     -                    -                -                    -                     -                -
                               Investment Placement #11                           -                     -                 -                   -                     -                   -                 -         (10,000,000)                   -                   -                 -                     -                    -                -                    -                     -                -
                               Investment Placement #12                           -                     -                 -                   -                     -                   -                 -                   -                    -                   -       (13,000,000)                    -                    -                -                    -                     -                -
                               Investment Placement #13                           -                     -                 -                   -                     -                   -                 -                   -                    -                   -                 -                     -                    -                -          (19,000,000)                    -                -
                               Investment Placement #14                           -                     -                 -                   -                     -                   -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -                -
                               Investment Placement #15                           -                     -                 -                   -                     -                   -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -                -
                               Investment Placement #16                           -                     -                 -                   -                     -                   -                 -                   -                    -                   -                 -                     -                    -                -                    -                     -                -
                                                                         (5,000,000)                    -        (9,674,000)         (4,337,000)                    -                   -        (4,000,000)         (3,337,000)                   -                   -          326,000                      -                    -       19,989,000          (19,000,000)                    -       11,993,400
                               Total AUM Payoffs                         (4,961,388)        11,645,237           (8,111,781)         (3,511,438)         1,090,371            1,090,371          (1,628,001)           (491,442)          624,128                      -          326,000                      -                    -       19,989,000          (19,000,000)                    -       11,993,400




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                            Ending Cash Account                     $     6,293,896     $ 17,469,133        $     9,357,352     $     5,845,914     $    6,466,285      $     7,556,655     $     5,928,654     $     4,967,212    $     5,591,340     $     5,591,340     $    5,447,340      $     5,447,340     $     5,447,340      $ 24,966,340        $     5,966,340     $     5,966,340     $ 17,489,740




                                                                                                                                                                                                                                                                                                                                                    Exhibit 1, Page 584
                            iCap/Family Office Joint Investment
                            Cash Flow Projections - As of Novembe


                                                                        Feb. 2020           Mar. 2020           Apr. 2020           May. 2019           Jun. 2020           July 2020           Aug. 2020           Sept. 2020           Oct. 2020        Nov. 2020         Dec. 2020         Jan. 2021         Feb. 2021        Mar. 2021         Apr. 2021        May. 2021         Jun. 2021
                            Beginning Cash:                         $ 17,489,740        $     5,489,740     $     5,489,740     $ 11,682,740        $     5,682,740     $ 36,332,540        $     5,521,140     $     5,521,140      $    5,521,140      $ 10,381,540     $ 23,707,540      $ 23,707,540      $ 23,237,540      $ 40,561,340     $ 40,561,340      $ 40,091,340     $ 58,808,322
                            Deductions:
                               Management Fees                                      -                   -          (470,000)                    -                   -         (470,000)                     -                    -         (470,000)                  -                 -       (470,000)                   -                -        (470,000)                 -                 -
                               Professional Fees                                    -                   -                 -                     -                   -                -                      -                    -                -                   -                 -              -                    -                -               -                  -                 -
                               Expense Reimbursement                                -                   -                 -                     -                   -                -                      -                    -                -                   -                 -              -                    -                -               -                  -                 -
                               Distributions                                        -                   -                 -                     -                   -                -                      -                    -                -                   -                 -              -                    -                -               -                  -                 -




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                                     Total Monthly Deductions                       -                   -          (470,000)                    -                   -         (470,000)                     -                    -         (470,000)                  -                 -       (470,000)                   -                -        (470,000)                 -                 -

                            Current AUM Portfolio:
                               Seattle Modern Living                                -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               Meridian Greens Holdings                             -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               Ruby 62 Holdings                                     -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               Ent. Ventures II                                     -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               Ent. Ventures IV                                     -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -




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                               Barcelo Madison Park                                 -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               725 Broadway                                         -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -     18,716,982                   -
                               9041 48th                                            -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               Lofts @ Camas Meadows I                              -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               Lofts @ Camas Meadows II                             -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               TCG Investments                                      -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               iCap Delridge Way, LLC                               -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               iCap Finn Hill                                       -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               iCap Campbell Way                                    -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               iCap Rhody Ridge, LLC                                -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               iCap Lake View                                       -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               iCap Rhody Ridge                                     -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -




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                               iCap Brislawn                                        -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               Mercer 36, LLC                                       -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               KBRI6, LLC                                           -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               23rd & Gilman, LLC                                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               134th Street, LLC                                    -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               Senza Sammamish, LLC                                 -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               iCap Finn Meadows                                    -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               Senza Kenmore, LLC                                   -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               Pearl and Delores                                    -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               Hayden Meadows, LLC                                  -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               Lake Union Estates, LLC                              -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                               Timberland, LLC                                      -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -              -                   -
                                                                                    -                   -                   -                   -                   -                   -                   -                    -                   -                -                 -                 -                 -                -                 -     18,716,982                   -
                            Future AUM Investments:
                               Investment Placement #1                            -                     -                 -                   -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -                -              -
                               Investment Placement #2                            -                     -                 -                   -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -                -              -
                               Investment Placement #3                            -                     -                 -                   -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -                -              -
                               Investment Placement #4                            -                     -                 -                   -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -                -              -
                               Investment Placement #5                            -                     -                 -                   -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -                -              -
                               Investment Placement #6                            -                     -                 -                   -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -                -              -




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                               Investment Placement #7                            -                     -         6,663,000                   -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -                -              -
                               Investment Placement #8                            -                     -                 -                   -         30,649,800                    -                     -                    -                -                 -                   -                 -              -                   -                 -                -              -
                               Investment Placement #9                            -                     -                 -                   -                  -           14,658,600                     -                    -                -                 -                   -                 -              -                   -                 -                -              -
                               Investment Placement #10                           -                     -                 -                   -                  -                    -                     -                    -        5,330,400                 -                   -                 -              -                   -                 -                -              -
                               Investment Placement #11                           -                     -                 -                   -                  -                    -                     -                    -                -        13,326,000                   -                 -              -                   -                 -                -              -
                               Investment Placement #12                           -                     -                 -                   -                  -                    -                     -                    -                -                 -                   -                 -     17,323,800                   -                 -                -              -
                               Investment Placement #13                           -                     -                 -                   -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -                -     25,319,400
                               Investment Placement #14                 (12,000,000)                    -                 -                   -                  -                    -                     -                    -                -                 -                   -                 -              -                   -                 -                -              -
                               Investment Placement #15                           -                     -                 -          (6,000,000)                 -                    -                     -                    -                -                 -                   -                 -              -                   -                 -                -              -
                               Investment Placement #16                           -                     -                 -                   -                  -          (45,000,000)                    -                    -                -                 -                   -                 -              -                   -                 -                -              -
                                                                        (12,000,000)                    -         6,663,000          (6,000,000)        30,649,800          (30,341,400)                    -                    -        5,330,400        13,326,000                   -                 -     17,323,800                   -                 -                -     25,319,400
                               Total AUM Payoffs                        (12,000,000)                    -         6,663,000          (6,000,000)        30,649,800          (30,341,400)                    -                    -        5,330,400        13,326,000                   -                 -     17,323,800                   -                 -     18,716,982       25,319,400




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                            Ending Cash Account                     $     5,489,740     $     5,489,740     $ 11,682,740        $     5,682,740     $ 36,332,540        $    5,521,140      $     5,521,140     $     5,521,140      $ 10,381,540        $ 23,707,540     $ 23,707,540      $ 23,237,540      $ 40,561,340      $ 40,561,340     $ 40,091,340      $ 58,808,322     $ 84,127,722




                                                                                                                                                                                                                                                                                                                                         Exhibit 1, Page 585
                            iCap/Family Office Joint Investment
                            Cash Flow Projections - As of Novembe


                                                                      July 2021         Aug. 2021        Sept. 2021         Oct. 2021        Nov. 2021         Dec. 2021         Jan. 2022         Feb. 2022         Mar. 2022
                            Beginning Cash:                         $ 84,127,722      $ 83,657,722      $ 83,657,722      $ 99,648,922      $ 99,178,922     $ 99,178,922      $ 107,174,522     $ 106,704,522     $ 166,671,522
                            Deductions:
                               Management Fees                          (470,000)                   -                 -       (470,000)                  -                 -        (470,000)                  -                 -
                               Professional Fees                               -                    -                 -              -                   -                 -               -                   -                 -
                               Expense Reimbursement                           -                    -                 -              -                   -                 -               -                   -                 -
                               Distributions                                   -                    -                 -              -                   -                 -               -                   -                 -




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                                     Total Monthly Deductions           (470,000)                   -                 -       (470,000)                  -                 -        (470,000)                  -                 -

                            Current AUM Portfolio:
                               Seattle Modern Living                              -                 -                 -                 -                -                 -                 -                 -                 -
                               Meridian Greens Holdings                           -                 -                 -                 -                -                 -                 -                 -                 -
                               Ruby 62 Holdings                                   -                 -                 -                 -                -                 -                 -                 -                 -
                               Ent. Ventures II                                   -                 -                 -                 -                -                 -                 -                 -                 -
                               Ent. Ventures IV                                   -                 -                 -                 -                -                 -                 -                 -                 -




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                               Barcelo Madison Park                               -                 -                 -                 -                -                 -                 -                 -                 -
                               725 Broadway                                       -                 -                 -                 -                -                 -                 -                 -                 -
                               9041 48th                                          -                 -                 -                 -                -                 -                 -                 -                 -
                               Lofts @ Camas Meadows I                            -                 -                 -                 -                -                 -                 -                 -                 -
                               Lofts @ Camas Meadows II                           -                 -                 -                 -                -                 -                 -                 -                 -
                               TCG Investments                                    -                 -                 -                 -                -                 -                 -                 -                 -
                               iCap Delridge Way, LLC                             -                 -                 -                 -                -                 -                 -                 -                 -
                               iCap Finn Hill                                     -                 -                 -                 -                -                 -                 -                 -                 -
                               iCap Campbell Way                                  -                 -                 -                 -                -                 -                 -                 -                 -
                               iCap Rhody Ridge, LLC                              -                 -                 -                 -                -                 -                 -                 -                 -
                               iCap Lake View                                     -                 -                 -                 -                -                 -                 -                 -                 -
                               iCap Rhody Ridge                                   -                 -                 -                 -                -                 -                 -                 -                 -




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                               iCap Brislawn                                      -                 -                 -                 -                -                 -                 -                 -                 -
                               Mercer 36, LLC                                     -                 -                 -                 -                -                 -                 -                 -                 -
                               KBRI6, LLC                                         -                 -                 -                 -                -                 -                 -                 -                 -
                               23rd & Gilman, LLC                                 -                 -                 -                 -                -                 -                 -                 -                 -
                               134th Street, LLC                                  -                 -                 -                 -                -                 -                 -                 -                 -
                               Senza Sammamish, LLC                               -                 -                 -                 -                -                 -                 -                 -                 -
                               iCap Finn Meadows                                  -                 -                 -                 -                -                 -                 -                 -                 -
                               Senza Kenmore, LLC                                 -                 -                 -                 -                -                 -                 -                 -                 -
                               Pearl and Delores                                  -                 -                 -                 -                -                 -                 -                 -                 -
                               Hayden Meadows, LLC                                -                 -                 -                 -                -                 -                 -                 -                 -
                               Lake Union Estates, LLC                            -                 -                 -                 -                -                 -                 -                 -                 -
                               Timberland, LLC                                    -                 -                 -                 -                -                 -                 -                 -                 -
                                                                                  -                 -                 -                 -                -                 -                 -                 -                 -
                            Future AUM Investments:
                               Investment Placement #1                            -                 -              -                    -                -               -                   -               -                   -
                               Investment Placement #2                            -                 -              -                    -                -               -                   -               -                   -
                               Investment Placement #3                            -                 -              -                    -                -               -                   -               -                   -
                               Investment Placement #4                            -                 -              -                    -                -               -                   -               -                   -
                               Investment Placement #5                            -                 -              -                    -                -               -                   -               -                   -
                               Investment Placement #6                            -                 -              -                    -                -               -                   -               -                   -




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                               Investment Placement #7                            -                 -              -                    -                -               -                   -               -                   -
                               Investment Placement #8                            -                 -              -                    -                -               -                   -               -                   -
                               Investment Placement #9                            -                 -              -                    -                -               -                   -               -                   -
                               Investment Placement #10                           -                 -              -                    -                -               -                   -               -                   -
                               Investment Placement #11                           -                 -              -                    -                -               -                   -               -                   -
                               Investment Placement #12                           -                 -              -                    -                -               -                   -               -                   -
                               Investment Placement #13                           -                 -              -                    -                -               -                   -               -                   -
                               Investment Placement #14                           -                 -     15,991,200                    -                -               -                   -               -                   -
                               Investment Placement #15                           -                 -              -                    -                -       7,995,600                   -               -                   -
                               Investment Placement #16                           -                 -              -                    -                -               -                   -      59,967,000                   -
                                                                                  -                 -     15,991,200                    -                -       7,995,600                   -      59,967,000                   -
                               Total AUM Payoffs                                  -                 -     15,991,200                    -                -       7,995,600                   -      59,967,000                   -




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                            Ending Cash Account                     $ 83,657,722      $ 83,657,722      $ 99,648,922      $ 99,178,922      $ 99,178,922     $ 107,174,522     $ 106,704,522     $ 166,671,522     $ 166,671,522




                                                                                                                                                                                                                                     Exhibit 1, Page 586
                            Calculated Return on Investment (Sale of Investments)


                                                                                                                                             Annualized     # of     Investment    Estimated
                            Investments in Projects:                 Investment Amount    Investment Return     Net Gain/Loss     ROI           ROI        Days         Date      Payoff Date
                              Seattle Modern Living              $         2,336,651.23   $       3,357,647    $ 1,020,995.30       43.69%        37.53%       425     4/1/2017      5/31/2018
                              Meridian Greens Holdings                     2,961,067.52           2,291,054    $ (670,013.18)      -22.63%       -24.80%       333     4/1/2017      2/28/2018
                              Ruby 62 Holdings                             3,252,662.57           2,455,194    $ (797,468.56)      -24.52%       -49.17%       182     4/1/2017      9/30/2017




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                              Ent. Ventures II                               674,462.08             526,000    $ (148,462.08)      -22.01%       -33.06%       243     4/1/2017     11/30/2017
                              Ent. Ventures IV                               621,490.74             647,524    $     26,032.98       4.19%         3.60%       425     4/1/2017      5/31/2018
                              Barcelo Madison Park                         1,420,274.28           1,643,650    $    223,375.45      15.73%       197.95%        29     4/1/2017      4/30/2017
                              iCap Delridge Way, LLC                         654,049.81             699,900    $     45,850.19       7.01%        10.53%       243     4/1/2017     11/30/2017
                              iCap Finn Hill                               4,193,989.32           2,775,497    $ (1,418,492.08)    -33.82%       -40.48%       305     4/1/2017      1/31/2018
                              iCap Campbell Way                            1,366,191.67             920,000    $ (446,191.67)      -32.66%      -132.45%        90     4/1/2017      6/30/2017




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                              iCap Rhody Ridge, LLC                        2,523,353.71           2,517,049    $     (6,304.71)     -0.25%        -0.16%       578     4/1/2017     10/31/2018
                              iCap Lake View                               4,571,539.05           8,276,443    $ 3,704,904.34       81.04%        51.18%       578     4/1/2017     10/31/2018
                              iCap Rhody Ridge                             3,281,697.75           4,712,977    $ 1,431,279.18       43.61%        40.40%       394     4/1/2017      4/30/2018
                              iCap Brislawn                                  446,783.00             853,024    $    406,241.46      90.93%       182.35%       182     4/1/2017      9/30/2017
                              Mercer 36, LLC                                 445,870.15             437,747    $     (8,122.93)     -1.82%       -11.08%        60     4/1/2017      5/31/2017
                              KBRI6, LLC                                   1,251,066.14           1,534,055    $    282,988.75      22.62%        45.36%       182     4/1/2017      9/30/2017
                              23rd & Gilman, LLC                           1,228,882.20             747,386    $ (481,496.40)      -39.18%      -158.90%        90     4/1/2017      6/30/2017
                              134th Street, LLC                            5,918,141.59           4,902,986    $ (1,015,155.29)    -17.15%       -25.77%       243     4/1/2017     11/30/2017
                              Senza Sammamish, LLC                         4,755,585.32           2,950,667    $ (1,804,918.48)    -37.95%       -28.50%       486     4/1/2017      7/31/2018
                              iCap Finn Meadows                            3,872,252.69           3,225,247    $ (647,005.99)      -16.71%       -11.80%       517     4/1/2017      8/31/2018




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                              Senza Kenmore, LLC                           2,193,657.51           1,689,781    $ (503,876.32)      -22.97%       -13.79%       608     4/1/2017     11/30/2018
                              Pearl and Delores                            1,143,130.16           1,085,378    $    (57,752.07)     -5.05%       -12.13%       152     4/1/2017      8/31/2017
                              Hayden Meadows, LLC                            899,160.23             939,484    $     40,323.98       4.48%         7.68%       213     4/1/2017     10/31/2017
                              Lake Union Estates, LLC                      6,817,318.83          10,466,878    $ 3,649,559.64       53.53%        25.74%       759     4/1/2017      4/30/2019
                              Timberland, LLC                              7,305,864.83           3,322,095    $ (3,983,770.03)    -54.53%       -65.26%       305     4/1/2017      1/31/2018
                              Investment Placement #1                     10,000,000.00          13,326,000    $ 3,326,000.00       33.26%        20.97%       579    4/30/2017     11/30/2018
                              Investment Placement #2                     10,000,000.00          13,326,000    $ 3,326,000.00       33.26%        20.97%       579    5/31/2017     12/31/2018
                              Investment Placement #3                      7,000,000.00           9,328,200    $ 2,328,200.00       33.26%        20.93%       580    6/30/2017      1/31/2019
                              Investment Placement #4                     11,000,000.00          14,658,600    $ 3,658,600.00       33.26%        21.04%       577    9/30/2017      4/30/2019
                              Investment Placement #5                     10,000,000.00          13,326,000    $ 3,326,000.00       33.26%        21.04%       577   12/31/2017      7/31/2019
                              Investment Placement #6                     10,000,000.00          13,326,000    $ 3,326,000.00       33.26%        20.97%       579    3/31/2018     10/31/2019
                              Investment Placement #7                      8,000,000.00          10,660,800    $ 2,660,800.00       33.26%        20.93%       580    6/30/2018      1/31/2020
                              Investment Placement #8                     12,000,000.00          15,991,200    $ 3,991,200.00       33.26%        21.00%       578    9/30/2018      4/30/2020
                              Investment Placement #9                     12,000,000.00          15,991,200    $ 3,991,200.00       33.26%        21.00%       578   11/30/2018      6/30/2020
                              Investment Placement #10                    14,000,000.00          18,656,400    $ 4,656,400.00       33.26%        21.00%       578   12/31/2018      7/31/2020
                              Investment Placement #11                    13,000,000.00          17,323,800    $ 4,323,800.00       33.26%        20.93%       580    3/31/2019     10/31/2020




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                              Investment Placement #12                    15,000,000.00          19,989,000    $ 4,989,000.00       33.26%        20.93%       580    4/30/2019     11/30/2020
                              Investment Placement #13                    15,000,000.00          19,989,000    $ 4,989,000.00       33.26%        21.00%       578    7/31/2019      2/28/2021
                              Investment Placement #14                    12,000,000.00          15,991,200    $ 3,991,200.00       33.26%        21.00%       578   11/30/2019      6/30/2021
                              Investment Placement #15                    11,000,000.00          14,658,600    $ 3,658,600.00       33.26%        20.93%       580    2/28/2020      9/30/2021
                              Investment Placement #16                    15,000,000.00          19,989,000    $ 4,989,000.00       33.26%        20.97%       579    5/31/2020     12/31/2021
                              Investment Placement #17                    35,000,000.00          46,641,000    $ 11,641,000.00      33.26%        21.04%       577    7/31/2020      2/28/2022
                                                                 $       284,135,142.38   $   356,149,663.84   $ 72,014,521.46      25.35%




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                                                                                                                                                                                  Exhibit 1, Page 587
                            Calculated Return on Investment (Build Out of Investments)



                                                                   Investment Amount                                                               Annualized    # of    Investment    Estimated
                            Investments in Projects:              (Based on Exit Value)       Investment Return       Net Gain/Loss     ROI           ROI       Days        Date      Payoff Date
                              Seattle Modern Living              $        2,698,643.26                3,357,647   $       659,003.27     24.42%        20.97%      425     4/1/2017      5/31/2018
                              Meridian Greens Holdings                    1,603,880.36                2,291,054           687,173.99     42.84%        46.96%      333     4/1/2017      2/28/2018
                              Ruby 62 Holdings                              604,892.02                2,455,194         1,850,301.98    305.89%       613.46%      182     4/1/2017      9/30/2017
                              Ent. Ventures II                              120,291.03                  526,000           405,708.97    337.27%       506.60%      243     4/1/2017     11/30/2017




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                              Ent. Ventures IV                              481,332.06                  647,524           166,191.66     34.53%        29.65%      425     4/1/2017      5/31/2018
                              Barcelo Madison Park                        1,913,200.14                1,643,650          (269,550.40)   -14.09%      -177.33%       29     4/1/2017      4/30/2017
                              725 Broadway                               15,253,677.96               18,716,982         3,463,304.04     22.70%         5.45%     1521     4/1/2017      5/31/2021
                              9041 48th                                     724,880.30                1,683,360           958,479.70    132.23%        61.09%      790     4/1/2017      5/31/2019
                              Lofts @ Camas Meadows I                     3,660,284.10                2,419,535        (1,240,749.10)   -33.90%       -37.16%      333     4/1/2017      2/28/2018
                              Lofts @ Camas Meadows II                    3,660,284.10                2,039,832        (1,620,452.10)   -44.27%       -48.53%      333     4/1/2017      2/28/2018
                              TCG Investments                             5,260,191.71               10,366,800         5,106,608.29     97.08%        61.31%      578     4/1/2017     10/31/2018




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                              iCap Delridge Way, LLC                        544,173.69                  699,900           155,726.31     28.62%        42.98%      243     4/1/2017     11/30/2017
                              iCap Finn Hill                              1,833,006.12                2,775,497           942,491.12     51.42%        61.53%      305     4/1/2017      1/31/2018
                              iCap Campbell Way                             229,125.77                  920,000           690,874.23    301.53%      1222.86%       90     4/1/2017      6/30/2017
                              iCap Rhody Ridge, LLC                       3,786,887.48                2,517,049        (1,269,838.48)   -33.53%       -21.18%      578     4/1/2017     10/31/2018
                              iCap Lake View                              5,063,679.41                8,276,443         3,212,763.98     63.45%        40.07%      578     4/1/2017     10/31/2018
                              iCap Rhody Ridge                            3,265,042.15                4,712,977         1,447,934.77     44.35%        41.08%      394     4/1/2017      4/30/2018
                              iCap Brislawn                                 687,377.30                  853,024           165,647.16     24.10%        48.33%      182     4/1/2017      9/30/2017
                              Mercer 36, LLC                                916,503.06                  437,747          (478,755.84)   -52.24%      -317.78%       60     4/1/2017      5/31/2017
                              KBRI6, LLC                                  1,346,113.87                1,534,055           187,941.02     13.96%        28.00%      182     4/1/2017      9/30/2017
                              23rd & Gilman, LLC                          1,587,841.55                  747,386          (840,455.75)   -52.93%      -214.66%       90     4/1/2017      6/30/2017




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                              134th Street, LLC                           8,038,775.74                4,902,986        (3,135,789.44)   -39.01%       -58.59%      243     4/1/2017     11/30/2017
                              Senza Sammamish, LLC                        2,268,345.08                2,950,667           682,321.76     30.08%        22.59%      486     4/1/2017      7/31/2018
                              iCap Finn Meadows                           2,291,257.65                3,225,247           933,989.04     40.76%        28.78%      517     4/1/2017      8/31/2018
                              Senza Kenmore, LLC                          1,306,016.86                1,689,781           383,764.33     29.38%        17.64%      608     4/1/2017     11/30/2018
                              Pearl and Delores                           1,518,645.57                1,085,378          (433,267.48)   -28.53%       -68.51%      152     4/1/2017      8/31/2017
                              Hayden Meadows, LLC                         2,886,297.26                  939,484        (1,946,813.06)   -67.45%      -115.58%      213     4/1/2017     10/31/2017
                              Lake Union Estates, LLC                     5,722,415.99               10,466,878         4,744,462.49     82.91%        39.87%      759     4/1/2017      4/30/2019
                              Timberland, LLC                             3,461,455.86                3,322,095          (139,361.07)    -4.03%        -4.82%      305     4/1/2017      1/31/2018
                              Investment Placement #1                    10,000,000.00               13,326,000         3,326,000.00     33.26%        20.97%      579    4/30/2017     11/30/2018
                              Investment Placement #2                     5,000,000.00                6,663,000         1,663,000.00     33.26%        20.97%      579    5/31/2017     12/31/2018
                              Investment Placement #3                     5,000,000.00                6,663,000         1,663,000.00     33.26%        21.04%      577    9/30/2017      4/30/2019
                              Investment Placement #4                    10,000,000.00               13,326,000         3,326,000.00     33.26%        21.04%      577   12/31/2017      7/31/2019
                              Investment Placement #5                    15,000,000.00               19,989,000         4,989,000.00     33.26%        20.97%      579    3/31/2018     10/31/2019
                              Investment Placement #6                     9,000,000.00               11,993,400         2,993,400.00     33.26%        20.93%      580    6/30/2018      1/31/2020
                              Investment Placement #7                     5,000,000.00                6,663,000         1,663,000.00     33.26%        21.00%      578    9/30/2018      4/30/2020
                              Investment Placement #8                    23,000,000.00               30,649,800         7,649,800.00     33.26%        21.00%      578   11/30/2018      6/30/2020
                              Investment Placement #9                    11,000,000.00               14,658,600         3,658,600.00     33.26%        21.00%      578   12/31/2018      7/31/2020
                              Investment Placement #10                    4,000,000.00                5,330,400         1,330,400.00     33.26%        20.93%      580    3/31/2019     10/31/2020




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                              Investment Placement #11                   10,000,000.00               13,326,000         3,326,000.00     33.26%        20.93%      580    4/30/2019     11/30/2020
                              Investment Placement #12                   13,000,000.00               17,323,800         4,323,800.00     33.26%        21.00%      578    7/31/2019      2/28/2021
                              Investment Placement #13                   19,000,000.00               25,319,400         6,319,400.00     33.26%        21.00%      578   11/30/2019      6/30/2021
                              Investment Placement #14                   12,000,000.00               15,991,200         3,991,200.00     33.26%        20.93%      580    2/28/2020      9/30/2021
                              Investment Placement #15                    6,000,000.00                7,995,600         1,995,600.00     33.26%        20.97%      579    5/31/2020     12/31/2021
                              Investment Placement #16                   45,000,000.00               59,967,000        14,967,000.00     33.26%        21.04%      577    7/31/2020      2/28/2022
                                                                 $      284,734,517.44    $      367,389,372.84   $ 82,654,855.40         29.03%




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                                                                                                                                                                                            Exhibit 1, Page 588
                            Calculated Return on Investment (Build Out of Investments)

                                                                   Investment Amount                                                               Annualized     # of    Investment    Estimated
                            Investments in Projects:              (Based on Cost Basis)       Investment Return       Net Gain/Loss     ROI           ROI        Days        Date      Payoff Date

                              Seattle Modern Living              $        2,295,238.48    $           3,357,647   $     1,062,408.06      46.29%        39.75%      425     4/1/2017      5/31/2018
                              Meridian Greens Holdings                    2,908,588.16                2,291,054          (617,533.82)    -21.23%       -23.27%      333     4/1/2017      2/28/2018
                              Ruby 62 Holdings                            2,622,020.38                2,455,194          (166,826.38)     -6.36%       -12.76%      182     4/1/2017      9/30/2017
                              Ent. Ventures II                              662,508.51                  526,000          (136,508.51)    -20.60%       -30.95%      243     4/1/2017     11/30/2017




23-01243-WLH11
                              Ent. Ventures IV                              610,475.98                  647,524            37,047.73       6.07%         5.21%      425     4/1/2017      5/31/2018
                              Barcelo Madison Park                        1,395,102.59                1,643,650           248,547.15      17.82%       224.23%       29     4/1/2017      4/30/2017
                              725 Broadway                               10,078,231.52               18,716,982         8,638,750.48      85.72%        20.57%     1521     4/1/2017      5/31/2021
                              9041 48th                                   1,350,343.19                1,683,360           333,016.81      24.66%        11.39%      790     4/1/2017      5/31/2019
                              Lofts @ Camas Meadows I                     1,755,056.77                2,419,535           664,478.23      37.86%        41.50%      333     4/1/2017      2/28/2018
                              Lofts @ Camas Meadows II                    1,754,471.43                2,039,832           285,360.57      16.26%        17.83%      333     4/1/2017      2/28/2018
                              TCG Investments                             5,364,738.87               10,366,800         5,002,061.13      93.24%        58.88%      578     4/1/2017     10/31/2018




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                              iCap Delridge Way, LLC                        642,458.01                  699,900            57,441.99       8.94%        13.43%      243     4/1/2017     11/30/2017
                              iCap Finn Hill                              4,119,658.73                2,775,497        (1,344,161.50)    -32.63%       -39.05%      305     4/1/2017      1/31/2018
                              iCap Campbell Way                           1,341,978.48                  920,000          (421,978.48)    -31.44%      -127.52%       90     4/1/2017      6/30/2017
                              iCap Rhody Ridge, LLC                       2,484,835.12                2,517,049            32,213.88       1.30%         0.82%      578     4/1/2017     10/31/2018
                              iCap Lake View                              4,490,517.11                8,276,443         3,785,926.28      84.31%        53.24%      578     4/1/2017     10/31/2018
                              iCap Rhody Ridge                            3,223,535.82                4,712,977         1,489,441.11      46.21%        42.80%      394     4/1/2017      4/30/2018
                              iCap Brislawn                                 438,864.61                  853,024           414,159.85      94.37%       189.26%      182     4/1/2017      9/30/2017
                              Mercer 36, LLC                                437,967.94                  437,747              (220.72)     -0.05%        -0.31%       60     4/1/2017      5/31/2017
                              KBRI6, LLC                                  1,228,893.34                1,534,055           305,161.55      24.83%        49.80%      182     4/1/2017      9/30/2017
                              23rd & Gilman, LLC                          1,207,102.57                  747,386          (459,716.77)    -38.08%      -154.45%       90     4/1/2017      6/30/2017




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                              134th Street, LLC                           5,813,253.65                4,902,986          (910,267.34)    -15.66%       -23.52%      243     4/1/2017     11/30/2017
                              Senza Sammamish, LLC                        4,671,301.50                2,950,667        (1,720,634.66)    -36.83%       -27.66%      486     4/1/2017      7/31/2018
                              iCap Finn Meadows                           3,803,624.28                3,225,247          (578,377.59)    -15.21%       -10.74%      517     4/1/2017      8/31/2018
                              Senza Kenmore, LLC                          2,154,779.05                1,689,781          (464,997.86)    -21.58%       -12.96%      608     4/1/2017     11/30/2018
                              Pearl and Delores                           1,122,870.32                1,085,378           (37,492.24)     -3.34%        -8.02%      152     4/1/2017      8/31/2017
                              Hayden Meadows, LLC                           883,224.30                  939,484            56,259.90       6.37%        10.92%      213     4/1/2017     10/31/2017
                              Lake Union Estates, LLC                     6,696,494.65               10,466,878         3,770,383.82      56.30%        27.08%      759     4/1/2017      4/30/2019
                              Timberland, LLC                             7,176,382.09                3,322,095        (3,854,287.29)    -53.71%       -64.27%      305     4/1/2017      1/31/2018
                              Investment Placement #1                    10,000,000.00               13,326,000         3,326,000.00      33.26%        20.97%      579    4/30/2017     11/30/2018
                              Investment Placement #2                     5,000,000.00                6,663,000         1,663,000.00      33.26%        20.97%      579    5/31/2017     12/31/2018
                              Investment Placement #3                     5,000,000.00                6,663,000         1,663,000.00      33.26%        21.04%      577    9/30/2017      4/30/2019
                              Investment Placement #4                    10,000,000.00               13,326,000         3,326,000.00      33.26%        21.04%      577   12/31/2017      7/31/2019
                              Investment Placement #5                    15,000,000.00               19,989,000         4,989,000.00      33.26%        20.97%      579    3/31/2018     10/31/2019
                              Investment Placement #6                     9,000,000.00               11,993,400         2,993,400.00      33.26%        20.93%      580    6/30/2018      1/31/2020
                              Investment Placement #7                     5,000,000.00                6,663,000         1,663,000.00      33.26%        21.00%      578    9/30/2018      4/30/2020
                              Investment Placement #8                    23,000,000.00               30,649,800         7,649,800.00      33.26%        21.00%      578   11/30/2018      6/30/2020
                              Investment Placement #9                    11,000,000.00               14,658,600         3,658,600.00      33.26%        21.00%      578   12/31/2018      7/31/2020
                              Investment Placement #10                    4,000,000.00                5,330,400         1,330,400.00      33.26%        20.93%      580    3/31/2019     10/31/2020




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                              Investment Placement #11                   10,000,000.00               13,326,000         3,326,000.00      33.26%        20.93%      580    4/30/2019     11/30/2020
                              Investment Placement #12                   13,000,000.00               17,323,800         4,323,800.00      33.26%        21.00%      578    7/31/2019      2/28/2021
                              Investment Placement #13                   19,000,000.00               25,319,400         6,319,400.00      33.26%        21.00%      578   11/30/2019      6/30/2021
                              Investment Placement #14                   12,000,000.00               15,991,200         3,991,200.00      33.26%        20.93%      580    2/28/2020      9/30/2021
                              Investment Placement #15                    6,000,000.00                7,995,600         1,995,600.00      33.26%        20.97%      579    5/31/2020     12/31/2021
                              Investment Placement #16                   45,000,000.00               59,967,000        14,967,000.00      33.26%        21.04%      577    7/31/2020      2/28/2022
                                                                 $      284,734,517.44    $      367,389,372.84   $ 82,654,855.40         29.03%




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                                                                                                                                                                                             Exhibit 1, Page 589
                            iCap Pacific NW Opportunity & Income Fund
                            Cash Flow Projection & Analysis - Updated 11/8/2016 (Sale of Investments)

                                                                                                    Actual/Projected
                                                                                                       Nov. 2016       Dec. 2016      Jan. 2017     Feb. 2017     Mar. 2017     Apr. 2017       May. 2017       Jun. 2017       Jul. 2017       Aug. 2017       Sep. 2017       Oct. 2017
                            Beginning Cash Balance:                                                      5,382,109      13,093,543    13,938,241    13,315,998    16,938,003    18,614,838      20,645,811      21,076,099      21,898,731      21,801,362      21,778,993      24,873,142
                            Deductions:
                                           Investor Interest Payments                                     (462,045)       (462,045)     (462,045)     (462,045)     (462,045)               -               -               -               -               -               -               -
                                           Debenture Payments                                                    -               -             -             -             -                -               -               -               -               -               -               -




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                                           Management Fees                                                       -               -      (231,023)            -             -                                                -                               -               -
                                           Computer Expenses                                                     -               -             -             -             -                -               -               -               -               -               -               -
                                           Dues & Subscriptions                                               (500)           (500)         (500)         (500)         (500)               -               -               -               -               -               -               -
                                           Meals & Entertainment                                                 -               -             -             -             -                -               -               -               -               -               -               -
                                           Professional Fees                                               (10,000)        (10,000)      (10,000)      (10,000)      (10,000)               -               -               -               -               -               -               -
                                           Rent & Office Expense                                              (500)           (500)         (500)         (500)         (500)               -               -               -               -               -               -               -




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                                           Project Costs (Draws, Loans, etc)                              (141,870)       (200,000)     (200,000)     (200,000)     (200,000)               -               -               -               -               -               -               -
                                           Salaries and Wages                                              (35,061)        (25,000)      (25,000)      (25,000)      (25,000)               -               -               -               -               -               -               -
                                                                           Total Monthly Expenses         (649,976)       (698,045)     (929,068)     (698,045)     (698,045)               -               -               -               -               -               -               -


                            AUM Payoffs:
                                           High Country Soundview Manor                                    (56,145)       (216,667)            -     1,325,500             -             -               -               -               -               -               -               -
                                           Wild Creek Estates                                                    -               -        82,800             -       328,308             -               -               -               -               -               -               -
                                           Seattle Modern Living                                           (68,401)     (2,100,000)            -             -             -             -         160,965         160,965         160,965         160,965         160,965         160,965
                                           Meridian Greens Holdings                                              -               -             -             -             -             -               -               -               -               -               -               -




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                                           9041 48th, LLC                                                        -               -             -             -       828,000             -               -               -               -               -               -               -
                                           Ruby 62 Holdings                                                (18,750)        (18,750)      (18,750)      (18,750)     (135,417)     (116,667)       (116,667)       (116,667)       (116,667)       (116,667)      2,455,194               -
                                           TCG Investments                                                       -         900,000             -             -             -             -               -               -               -               -               -               -
                                           725 Broadway                                                          -               -             -     1,724,799             -             -               -               -               -               -               -               -
                                           Steadman 170th                                                  690,000               -             -             -             -             -               -               -               -               -               -               -
                                           Denali Townhomes, LLC                                                 -               -             -             -             -             -               -               -               -               -               -               -
                                           Lyle 113th Ave, LLC                                                   -               -       124,775       301,510             -             -               -               -               -               -               -               -
                                           Sampson 45th Ave, LLC                                           118,000         118,000       118,000       118,000       118,000       118,000               -               -               -               -               -               -
                                           Lofts @ Camas Meadows I                                       1,650,000               -             -             -             -             -               -               -               -               -               -               -
                                           Columbia Property Mgmt.                                               -               -             -             -       850,000             -               -               -               -               -               -               -
                                           Ent. Ventures II                                                      -               -             -       483,000             -             -               -               -               -               -               -               -
                                           Ent. Ventures IV                                                      -               -             -             -             -             -               -               -               -               -               -               -
                                           Barcelo Madison Park                                                  -                             -             -             -     1,643,650               -               -               -               -               -               -
                                           Colpitts Development                                                  -       2,860,160             -             -             -             -               -               -               -               -               -               -
                                           Lofts @ Camas Meadows II                                      1,650,000               -             -             -             -             -               -               -               -               -               -               -
                                           iCap Delridge Way, LLC                                                -               -             -             -             -             -               -               -               -               -          92,000         184,000
                                           iCap Finn Hill                                                        -               -             -       385,990       385,990       385,990         385,990               -               -               -         385,990         385,990
                                           iCap Campbell Way                                                     -               -             -             -             -             -               -         920,000               -               -               -               -




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                                           Richland Acquisition I, LLC                                   2,034,000               -             -             -             -             -               -               -               -               -               -               -
                                           iCap Rhody Ridge, LLC                                                 -               -             -             -             -             -               -        (141,667)       (141,667)        (66,667)              -               -
                                                                                                                 -               -             -             -             -             -               -               -               -               -               -               -
                                                                               Total AUM Payoffs         8,361,410       1,542,743       306,825     4,320,049     2,374,881     2,030,973         430,288         822,631         (97,369)        (22,369)      3,094,149         730,955
                            Ending Cash Balance                                                         13,093,543      13,938,241    13,315,998    16,938,003    18,614,838    20,645,811      21,076,099      21,898,731      21,801,362      21,778,993      24,873,142      25,604,097




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                                                                                                                                                                                                                                                 Exhibit 1, Page 590
                            iCap Pacific NW Opportunity & Income Fund
                            Cash Flow Projection & Analysis - Updated 11/8/2016 (Sale of Investm

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                                                                                                        Nov. 2017       Dec. 2017       Jan. 2018       Feb. 2018       Mar. 2018       Apr. 2018       May. 2018       Jun. 2018       Jul. 2018       Aug. 2018       Sep. 2018       Oct. 2018
                            Beginning Cash Balance:                                                     25,604,097      27,125,321      27,286,286      28,268,430      30,864,199      31,312,664      32,367,532      33,834,720      34,122,220      34,409,720      34,697,220      34,735,832
                            Deductions:
                                           Investor Interest Payments                                               -               -               -               -               -               -               -               -               -               -               -               -
                                           Debenture Payments                                                       -               -               -               -               -               -               -               -               -               -               -               -




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                                           Management Fees                                                          -               -               -               -               -               -               -               -               -               -               -               -
                                           Computer Expenses                                                        -               -               -               -               -               -               -               -               -               -               -               -
                                           Dues & Subscriptions                                                     -               -               -               -               -               -               -               -               -               -               -               -
                                           Meals & Entertainment                                                    -               -               -               -               -               -               -               -               -               -               -               -
                                           Professional Fees                                                        -               -               -               -               -               -               -               -               -               -               -               -
                                           Rent & Office Expense                                                    -               -               -               -               -               -               -               -               -               -               -               -




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                                           Project Costs (Draws, Loans, etc)                                        -               -               -               -               -               -               -               -               -               -               -               -
                                           Salaries and Wages                                                       -               -               -               -               -               -               -               -               -               -               -               -
                                                                           Total Monthly Expenses                   -               -               -               -               -               -               -               -               -               -               -               -


                            AUM Payoffs:
                                           High Country Soundview Manor                                          -               -               -               -               -               -               -               -               -               -               -               -
                                           Wild Creek Estates                                                    -               -               -               -               -               -               -               -               -               -               -               -
                                           Seattle Modern Living                                           160,965         160,965         160,965         160,965         160,965         767,368         819,664               -               -               -               -               -
                                           Meridian Greens Holdings                                              -               -               -       2,291,054               -               -               -               -               -               -               -               -




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                                           9041 48th, LLC                                                        -               -               -               -               -               -               -               -               -               -               -               -
                                           Ruby 62 Holdings                                                      -               -               -               -               -               -               -               -               -               -               -               -
                                           TCG Investments                                                       -               -               -               -               -               -               -               -               -               -               -               -
                                           725 Broadway                                                          -               -               -               -               -               -               -               -               -               -               -               -
                                           Steadman 170th                                                        -               -               -               -               -               -               -               -               -               -               -               -
                                           Denali Townhomes, LLC                                                 -               -               -               -               -               -               -               -               -               -               -               -
                                           Lyle 113th Ave, LLC                                                   -               -               -               -               -               -               -               -               -               -               -               -
                                           Sampson 45th Ave, LLC                                                 -               -               -               -               -               -               -               -               -               -               -               -
                                           Lofts @ Camas Meadows I                                               -               -               -               -               -               -               -               -               -               -               -               -
                                           Columbia Property Mgmt.                                               -               -               -               -               -               -               -               -               -               -               -               -
                                           Ent. Ventures II                                                526,000               -               -               -               -               -               -               -               -               -               -               -
                                           Ent. Ventures IV                                                      -               -               -               -               -               -         647,524               -               -               -               -               -
                                           Barcelo Madison Park                                                  -               -               -               -               -               -               -               -               -               -               -               -
                                           Colpitts Development                                                  -               -               -               -               -               -               -               -               -               -               -               -
                                           Lofts @ Camas Meadows II                                              -               -               -               -               -               -               -               -               -               -               -               -
                                           iCap Delridge Way, LLC                                          423,900               -               -               -               -               -               -               -               -               -               -               -
                                           iCap Finn Hill                                                  410,359               -         821,179               -               -               -               -               -               -               -               -               -
                                           iCap Campbell Way                                                     -               -               -               -               -               -               -               -               -               -               -               -




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                                           Richland Acquisition I, LLC                                           -               -               -               -               -               -               -               -               -               -               -               -
                                           iCap Rhody Ridge, LLC                                                 -               -               -         143,750         287,500         287,500               -         287,500         287,500         287,500          38,612         897,187
                                                                                                                 -               -               -               -               -               -               -               -               -               -               -               -
                                                                               Total AUM Payoffs         1,521,224         160,965         982,144       2,595,769         448,465       1,054,868       1,467,187         287,500         287,500         287,500          38,612         897,187
                            Ending Cash Balance                                                         27,125,321      27,286,286      28,268,430      30,864,199      31,312,664      32,367,532      33,834,720      34,122,220      34,409,720      34,697,220      34,735,832      35,633,019




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                                                                                                                                                                                                                                                          Exhibit 1, Page 591
                            iCap Pacific NW Opportunity & Income Fund
                            Cash Flow Projection & Analysis - Updated 11/8/2016 (Sale of Investm

                                                                                                    A
                                                                                                        Nov. 2018       Dec. 2018       Jan. 2019       Feb. 2019       Mar. 2019       Apr. 2019       May. 2019       Jun. 2019
                            Beginning Cash Balance:                                                     35,633,019      35,633,019      35,633,019      35,633,019      35,633,019      35,633,019      35,633,019      35,633,019
                            Deductions:
                                           Investor Interest Payments                                               -               -               -               -               -               -               -               -
                                           Debenture Payments                                                       -               -               -               -               -               -               -               -




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                                           Management Fees                                                          -               -               -               -               -               -               -               -
                                           Computer Expenses                                                        -               -               -               -               -               -               -               -
                                           Dues & Subscriptions                                                     -               -               -               -               -               -               -               -
                                           Meals & Entertainment                                                    -               -               -               -               -               -               -               -
                                           Professional Fees                                                        -               -               -               -               -               -               -               -
                                           Rent & Office Expense                                                    -               -               -               -               -               -               -               -




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                                           Project Costs (Draws, Loans, etc)                                        -               -               -               -               -               -               -               -
                                           Salaries and Wages                                                       -               -               -               -               -               -               -               -
                                                                           Total Monthly Expenses                   -               -               -               -               -               -               -               -


                            AUM Payoffs:
                                           High Country Soundview Manor                                             -               -               -               -               -               -               -               -
                                           Wild Creek Estates                                                       -               -               -               -               -               -               -               -
                                           Seattle Modern Living                                                    -               -               -               -               -               -               -               -
                                           Meridian Greens Holdings                                                 -               -               -               -               -               -               -               -




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                                           9041 48th, LLC                                                           -               -               -               -               -               -               -               -
                                           Ruby 62 Holdings                                                         -               -               -               -               -               -               -               -
                                           TCG Investments                                                          -               -               -               -               -               -               -               -
                                           725 Broadway                                                             -               -               -               -               -               -               -               -
                                           Steadman 170th                                                           -               -               -               -               -               -               -               -
                                           Denali Townhomes, LLC                                                    -               -               -               -               -               -               -               -
                                           Lyle 113th Ave, LLC                                                      -               -               -               -               -               -               -               -
                                           Sampson 45th Ave, LLC                                                    -               -               -               -               -               -               -               -
                                           Lofts @ Camas Meadows I                                                  -               -               -               -               -               -               -               -
                                           Columbia Property Mgmt.                                                  -               -               -               -               -               -               -               -
                                           Ent. Ventures II                                                         -               -               -               -               -               -               -               -
                                           Ent. Ventures IV                                                         -               -               -               -               -               -               -               -
                                           Barcelo Madison Park                                                     -               -               -               -               -               -               -               -
                                           Colpitts Development                                                     -               -               -               -               -               -               -               -
                                           Lofts @ Camas Meadows II                                                 -               -               -               -               -               -               -               -
                                           iCap Delridge Way, LLC                                                   -               -               -               -               -               -               -               -
                                           iCap Finn Hill                                                           -               -               -               -               -               -               -               -
                                           iCap Campbell Way                                                        -               -               -               -               -               -               -               -




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                                           Richland Acquisition I, LLC                                              -               -               -               -               -               -               -               -
                                           iCap Rhody Ridge, LLC
                                                                                                                    -               -               -               -               -               -               -               -
                                                                               Total AUM Payoffs                    -               -               -               -               -               -               -               -
                            Ending Cash Balance                                                         35,633,019      35,633,019      35,633,019      35,633,019      35,633,019      35,633,019      35,633,019      35,633,019




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                                                                                                                                                                                                                            Exhibit 1, Page 592
                            iCap Pacific NW Opportunity & Income Fund
                            Cash Flow Projection & Analysis - Updated 11/8/2016 (Build Out of Investments)

                                                                                                        Actual/Projected
                                                                                                           Nov. 2016       Dec. 2016       Jan. 2017     Feb. 2017     Mar. 2017      Apr. 2017       May. 2017       Jun. 2017       Jul. 2017       Aug. 2017       Sep. 2017       Oct. 2017       Nov. 2017
                            Beginning Cash Balance:                                                          5,382,109       9,793,543      9,738,241     9,111,831     11,004,869    11,849,538        9,876,344     10,302,465       2,741,024        2,639,489      2,612,953       5,702,935        6,429,723
                            Deductions:
                                           Investor Interest Payments                                         (462,045)       (462,045)      (462,045)     (462,045)      (462,045)               -               -               -               -               -               -               -               -
                                           Debenture Payments                                                        -               -              -             -              -                -               -               -               -               -               -               -               -
                                           Management Fees                                                           -               -       (231,023)            -              -                                                -                               -               -                               -




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                                           Computer Expenses                                                         -               -              -             -              -                -               -               -               -               -               -               -               -
                                           Dues & Subscriptions                                                   (500)           (500)          (500)         (500)          (500)               -               -               -               -               -               -               -               -
                                           Meals & Entertainment                                                     -               -              -             -              -                -               -               -               -               -               -               -               -
                                           Professional Fees                                                   (10,000)        (10,000)       (10,000)      (10,000)       (10,000)               -               -               -               -               -               -               -               -
                                           Rent & Office Expense                                                  (500)           (500)          (500)         (500)          (500)               -               -               -               -               -               -               -               -
                                           Project Costs (Draws, Loans, etc)                                  (141,870)       (200,000)      (200,000)     (200,000)      (200,000)               -               -               -               -               -               -               -               -
                                           Salaries and Wages                                                  (35,061)        (25,000)       (25,000)      (25,000)       (25,000)               -               -               -               -               -               -               -               -




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                                                                               Total Monthly Expenses         (649,976)       (698,045)      (929,068)     (698,045)      (698,045)               -               -               -               -               -               -               -               -



                            AUM Payoffs:
                                           High Country Soundview Manor                                        (56,145)        (216,667)            -     1,325,500              -              -               -               -              -               -               -               -                -
                                           Wild Creek Estates                                                        -                -        82,800             -        328,308              -               -               -              -               -               -               -                -
                                           Seattle Modern Living                                               (68,401)      (2,100,000)            -             -              -              -         160,965         160,965        160,965         160,965         160,965         160,965          160,965
                                           Meridian Greens Holdings                                                  -                -             -             -              -              -               -               -              -               -               -               -                -
                                           9041 48th, LLC                                                            -                -        (4,167)       (4,167)        (4,167)        (4,167)         (4,167)         (4,167)        (4,167)         (4,167)         (4,167)         (4,167)          (4,167)
                                           Ruby 62 Holdings                                                    (18,750)         (18,750)      (18,750)      (18,750)      (135,417)      (116,667)       (116,667)       (116,667)      (116,667)       (116,667)      2,455,194               -                -
                                           TCG Investments                                                           -                -             -             -              -     (4,000,000)              -               -              -               -               -               -                -




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                                           725 Broadway                                                              -                -             -             -              -              -               -      (8,379,905)             -               -               -               -                -
                                           Steadman 170th                                                      690,000                -             -             -              -              -               -               -              -               -               -               -                -
                                           Denali Townhomes, LLC                                                     -                -             -             -              -              -               -               -              -               -               -               -                -
                                           Lyle 113th Ave, LLC                                                       -                -       124,775       301,510              -              -               -               -              -               -               -               -                -
                                           Sampson 45th Ave, LLC                                               118,000          118,000       118,000       118,000        118,000        118,000               -               -              -               -               -               -                -
                                           Lofts @ Camas Meadows I                                                   -                -             -             -              -              -               -               -              -               -               -               -                -
                                           Columbia Property Mgmt.                                                   -                -             -             -        850,000              -               -               -              -               -               -               -                -
                                           Ent. Ventures II                                                          -                -             -       483,000              -              -               -               -              -               -               -               -          526,000
                                           Ent. Ventures IV                                                          -                -             -             -              -              -               -               -              -               -               -               -                -
                                           Barcelo Madison Park                                                      -                              -             -              -      1,643,650               -               -              -               -               -               -                -
                                           Colpitts Development                                                      -       2,860,160              -             -              -              -               -               -              -               -               -               -                -
                                           Lofts @ Camas Meadows II                                                  -               -              -             -              -              -               -               -              -               -               -               -                -
                                           iCap Delridge Way, LLC                                                    -               -              -             -              -              -               -               -              -               -          92,000         184,000          423,900
                                           iCap Finn Hill                                                            -               -              -       385,990        385,990        385,990         385,990               -              -               -         385,990         385,990          410,359
                                           iCap Campbell Way                                                         -               -              -             -              -              -               -         920,000              -               -               -               -                -
                                           Richland Acquisition I, LLC                                       2,034,000               -              -             -              -              -               -               -              -               -               -               -                -
                                           iCap Rhody Ridge, LLC                                                     -               -              -             -              -              -               -        (141,667)      (141,667)        (66,667)              -               -                -
                                                                                                                     -               -              -             -              -              -               -               -              -               -               -               -                -
                                                                                   Total AUM Payoffs         5,061,410         642,743        302,658     2,591,083      1,542,714     (1,973,194)        426,121      (7,561,441)      (101,536)        (26,536)      3,089,982         726,788        1,517,057




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                            Ending Cash Balance                                                              9,793,543       9,738,241      9,111,831    11,004,869     11,849,538     9,876,344       10,302,465      2,741,024       2,639,489        2,612,953      5,702,935       6,429,723        7,946,780




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                                                                                                                                                                                                                                                                       Exhibit 1, Page 593
                       iCap Pacific NW Opportunity & Income Fund
                       Cash Flow Projection & Analysis - Updated 11/8/2016 (Build Out of Inve

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                                                                                                      Dec. 2017       Jan. 2018       Feb. 2018       Mar. 2018       Apr. 2018       May. 2018       Jun. 2018       Jul. 2018       Aug. 2018       Sep. 2018       Oct. 2018       Nov. 2018       Dec. 2018       Jan. 2019
                       Beginning Cash Balance:                                                         7,946,780       8,103,578       9,085,722       16,140,858     16,589,323       17,644,191     19,111,378      19,398,878      19,686,378      19,973,878      20,012,490      31,276,477      31,276,477      31,276,477
                       Deductions:
                                     Investor Interest Payments                                                   -               -               -               -               -               -               -               -               -               -               -               -               -               -
                                     Debenture Payments                                                           -               -               -               -               -               -               -               -               -               -               -               -               -               -
                                     Management Fees                                                              -               -               -               -               -               -               -               -               -               -               -               -               -               -




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                                     Computer Expenses                                                            -               -               -               -               -               -               -               -               -               -               -               -               -               -
                                     Dues & Subscriptions                                                         -               -               -               -               -               -               -               -               -               -               -               -               -               -
                                     Meals & Entertainment                                                        -               -               -               -               -               -               -               -               -               -               -               -               -               -
                                     Professional Fees                                                            -               -               -               -               -               -               -               -               -               -               -               -               -               -
                                     Rent & Office Expense                                                        -               -               -               -               -               -               -               -               -               -               -               -               -               -
                                     Project Costs (Draws, Loans, etc)                                            -               -               -               -               -               -               -               -               -               -               -               -               -               -
                                     Salaries and Wages                                                           -               -               -               -               -               -               -               -               -               -               -               -               -               -




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                                                                         Total Monthly Expenses                   -               -               -               -               -               -               -               -               -               -               -               -               -               -



                      AUM Payoffs:
                                     High Country Soundview Manor                                              -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     Wild Creek Estates                                                        -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     Seattle Modern Living                                               160,965         160,965         160,965         160,965         767,368          819,664              -               -               -               -               -                  -               -            -
                                     Meridian Greens Holdings                                                  -               -       2,291,054               -               -                -              -               -               -               -               -                  -               -            -
                                     9041 48th, LLC                                                       (4,167)              -               -               -               -                -              -               -               -               -               -                  -               -      264,808
                                     Ruby 62 Holdings                                                          -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     TCG Investments                                                           -               -               -               -               -                -              -               -               -               -      10,366,800                  -               -            -




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                                     725 Broadway                                                              -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     Steadman 170th                                                            -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     Denali Townhomes, LLC                                                     -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     Lyle 113th Ave, LLC                                                       -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     Sampson 45th Ave, LLC                                                     -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     Lofts @ Camas Meadows I                                                   -               -       2,419,535               -               -                -              -               -               -               -               -                  -               -            -
                                     Columbia Property Mgmt.                                                   -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     Ent. Ventures II                                                          -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     Ent. Ventures IV                                                          -               -               -               -               -          647,524              -               -               -               -               -                  -               -            -
                                     Barcelo Madison Park                                                      -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     Colpitts Development                                                      -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     Lofts @ Camas Meadows II                                                  -               -       2,039,832               -               -                -              -               -               -               -               -                  -               -            -
                                     iCap Delridge Way, LLC                                                    -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     iCap Finn Hill                                                            -         821,179               -               -               -                -              -               -               -               -               -                  -               -            -
                                     iCap Campbell Way                                                         -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     Richland Acquisition I, LLC                                               -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                     iCap Rhody Ridge, LLC                                                     -               -         143,750         287,500         287,500                -        287,500         287,500         287,500          38,612         897,187
                                                                                                               -               -               -               -               -                -              -               -               -               -               -                  -               -            -
                                                                             Total AUM Payoffs           156,798         982,144       7,055,136         448,465       1,054,868        1,467,187        287,500         287,500         287,500          38,612      11,263,987                  -               -      264,808




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                       Ending Cash Balance                                                             8,103,578       9,085,722      16,140,858       16,589,323     17,644,191       19,111,378     19,398,878      19,686,378      19,973,878      20,012,490      31,276,477      31,276,477      31,276,477      31,541,285




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                                                                                                                                                                                                                                                                                  Exhibit 1, Page 594
                            iCap Pacific NW Opportunity & Income Fund
                            Cash Flow Projection & Analysis - Updated 11/8/2016 (Build Out of Inve

                                                                                                        A
                                                                                                            Feb. 2019       Mar. 2019       Apr. 2019       May. 2019       Jun. 2019       July 2019       Aug. 2019       Sept. 2019       Oct. 2019       Nov. 2019       Dec. 2019        Jan. 2020       Feb. 2020       Mar. 2020
                            Beginning Cash Balance:                                                         31,541,285      31,806,093      32,070,901      32,335,709      32,959,837      32,959,837       32,959,837      32,959,837      32,959,837       32,959,837     32,959,837        32,959,837     32,959,837       32,959,837
                            Deductions:
                                           Investor Interest Payments                                                   -               -               -               -               -               -               -                -               -               -               -                -               -               -
                                           Debenture Payments                                                           -               -               -               -               -               -               -                -               -               -               -                -               -               -
                                           Management Fees                                                              -               -               -               -               -               -               -                -               -               -               -                -               -               -




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                                           Computer Expenses                                                            -               -               -               -               -               -               -                -               -               -               -                -               -               -
                                           Dues & Subscriptions                                                         -               -               -               -               -               -               -                -               -               -               -                -               -               -
                                           Meals & Entertainment                                                        -               -               -               -               -               -               -                -               -               -               -                -               -               -
                                           Professional Fees                                                            -               -               -               -               -               -               -                -               -               -               -                -               -               -
                                           Rent & Office Expense                                                        -               -               -               -               -               -               -                -               -               -               -                -               -               -
                                           Project Costs (Draws, Loans, etc)                                            -               -               -               -               -               -               -                -               -               -               -                -               -               -
                                           Salaries and Wages                                                           -               -               -               -               -               -               -                -               -               -               -                -               -               -




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                                                                               Total Monthly Expenses                   -               -               -               -               -               -               -                -               -               -               -                -               -               -



                            AUM Payoffs:
                                           High Country Soundview Manor                                              -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Wild Creek Estates                                                        -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Seattle Modern Living                                                     -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Meridian Greens Holdings                                                  -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           9041 48th, LLC                                                      264,808         264,808         264,808         624,128                  -               -               -                -               -               -               -                -               -               -
                                           Ruby 62 Holdings                                                          -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           TCG Investments                                                           -               -               -               -                  -               -               -                -               -               -               -                -               -               -




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                                           725 Broadway                                                              -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Steadman 170th                                                            -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Denali Townhomes, LLC                                                     -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Lyle 113th Ave, LLC                                                       -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Sampson 45th Ave, LLC                                                     -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Lofts @ Camas Meadows I                                                   -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Columbia Property Mgmt.                                                   -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Ent. Ventures II                                                          -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Ent. Ventures IV                                                          -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Barcelo Madison Park                                                      -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Colpitts Development                                                      -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Lofts @ Camas Meadows II                                                  -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           iCap Delridge Way, LLC                                                    -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           iCap Finn Hill                                                            -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           iCap Campbell Way                                                         -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           Richland Acquisition I, LLC                                               -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                           iCap Rhody Ridge, LLC
                                                                                                                     -               -               -               -                  -               -               -                -               -               -               -                -               -               -
                                                                                   Total AUM Payoffs           264,808         264,808         264,808         624,128                  -               -               -                -               -               -               -                -               -               -




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                            Ending Cash Balance                                                             31,806,093      32,070,901      32,335,709      32,959,837      32,959,837      32,959,837       32,959,837      32,959,837      32,959,837       32,959,837     32,959,837        32,959,837     32,959,837       32,959,837




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                                                                                                                                                                                                                                                                                             Exhibit 1, Page 595
                            iCap Pacific NW Opportunity & Income Fund
                            Cash Flow Projection & Analysis - Updated 11/8/2016 (Build Out of Inve

                                                                                                        A
                                                                                                            Apr. 2020       May. 2019       Jun. 2020       July 2020       Aug. 2020       Sept. 2020       Oct. 2020       Nov. 2020       Dec. 2020       Jan. 2021       Feb. 2021       Mar. 2021       Apr. 2021
                            Beginning Cash Balance:                                                         32,959,837       32,959,837     32,959,837      32,959,837       32,959,837      32,959,837      32,959,837       32,959,837     32,959,837      32,959,837      32,959,837       32,959,837     32,959,837
                            Deductions:
                                           Investor Interest Payments                                                   -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Debenture Payments                                                           -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Management Fees                                                              -               -               -               -               -                -               -               -               -               -               -               -               -




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                                           Computer Expenses                                                            -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Dues & Subscriptions                                                         -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Meals & Entertainment                                                        -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Professional Fees                                                            -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Rent & Office Expense                                                        -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Project Costs (Draws, Loans, etc)                                            -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Salaries and Wages                                                           -               -               -               -               -                -               -               -               -               -               -               -               -




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                                                                               Total Monthly Expenses                   -               -               -               -               -                -               -               -               -               -               -               -               -



                            AUM Payoffs:
                                           High Country Soundview Manor                                                 -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Wild Creek Estates                                                           -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Seattle Modern Living                                                        -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Meridian Greens Holdings                                                     -               -               -               -               -                -               -               -               -               -               -               -               -
                                           9041 48th, LLC                                                               -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Ruby 62 Holdings                                                             -               -               -               -               -                -               -               -               -               -               -               -               -
                                           TCG Investments                                                              -               -               -               -               -                -               -               -               -               -               -               -               -




Filed 02/23/24
                                           725 Broadway                                                                 -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Steadman 170th                                                               -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Denali Townhomes, LLC                                                        -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Lyle 113th Ave, LLC                                                          -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Sampson 45th Ave, LLC                                                        -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Lofts @ Camas Meadows I                                                      -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Columbia Property Mgmt.                                                      -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Ent. Ventures II                                                             -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Ent. Ventures IV                                                             -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Barcelo Madison Park                                                         -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Colpitts Development                                                         -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Lofts @ Camas Meadows II                                                     -               -               -               -               -                -               -               -               -               -               -               -               -
                                           iCap Delridge Way, LLC                                                       -               -               -               -               -                -               -               -               -               -               -               -               -
                                           iCap Finn Hill                                                               -               -               -               -               -                -               -               -               -               -               -               -               -
                                           iCap Campbell Way                                                            -               -               -               -               -                -               -               -               -               -               -               -               -
                                           Richland Acquisition I, LLC                                                  -               -               -               -               -                -               -               -               -               -               -               -               -
                                           iCap Rhody Ridge, LLC
                                                                                                                        -               -               -               -               -                -               -               -               -               -               -               -               -
                                                                                   Total AUM Payoffs                    -               -               -               -               -                -               -               -               -               -               -               -               -




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                            Ending Cash Balance                                                             32,959,837       32,959,837     32,959,837      32,959,837       32,959,837      32,959,837      32,959,837       32,959,837     32,959,837      32,959,837      32,959,837       32,959,837     32,959,837




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                                                                                                                                                                                                                                                                              Exhibit 1, Page 596
                            iCap Pacific NW Opportunity & Income Fund
                            Cash Flow Projection & Analysis - Updated 11/8/2016 (Build Out of Inve

                                                                                                        A
                                                                                                            May. 2021       Jun. 2021       July 2021       Aug. 2021       Sept. 2021       Oct. 2021       Nov. 2021       Dec. 2021       Jan. 2022       Feb. 2022       Mar. 2022
                            Beginning Cash Balance:                                                          32,959,837     51,676,819      51,676,819       51,676,819      51,676,819      51,676,819       51,676,819     51,676,819      51,676,819      51,676,819       51,676,819
                            Deductions:
                                           Investor Interest Payments                                                   -               -               -               -                -               -               -               -               -               -               -
                                           Debenture Payments                                                           -               -               -               -                -               -               -               -               -               -               -
                                           Management Fees                                                              -               -               -               -                -               -               -               -               -               -               -




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                                           Computer Expenses                                                            -               -               -               -                -               -               -               -               -               -               -
                                           Dues & Subscriptions                                                         -               -               -               -                -               -               -               -               -               -               -
                                           Meals & Entertainment                                                        -               -               -               -                -               -               -               -               -               -               -
                                           Professional Fees                                                            -               -               -               -                -               -               -               -               -               -               -
                                           Rent & Office Expense                                                        -               -               -               -                -               -               -               -               -               -               -
                                           Project Costs (Draws, Loans, etc)                                            -               -               -               -                -               -               -               -               -               -               -
                                           Salaries and Wages                                                           -               -               -               -                -               -               -               -               -               -               -




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                                                                               Total Monthly Expenses                   -               -               -               -                -               -               -               -               -               -               -



                            AUM Payoffs:
                                           High Country Soundview Manor                                               -                 -               -               -                -               -               -               -               -               -               -
                                           Wild Creek Estates                                                         -                 -               -               -                -               -               -               -               -               -               -
                                           Seattle Modern Living                                                      -                 -               -               -                -               -               -               -               -               -               -
                                           Meridian Greens Holdings                                                   -                 -               -               -                -               -               -               -               -               -               -
                                           9041 48th, LLC                                                             -                 -               -               -                -               -               -               -               -               -               -
                                           Ruby 62 Holdings                                                           -                 -               -               -                -               -               -               -               -               -               -
                                           TCG Investments                                                            -                 -               -               -                -               -               -               -               -               -               -




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                                           725 Broadway                                                      18,716,982                 -               -               -                -               -               -               -               -               -               -
                                           Steadman 170th                                                             -                 -               -               -                -               -               -               -               -               -               -
                                           Denali Townhomes, LLC                                                      -                 -               -               -                -               -               -               -               -               -               -
                                           Lyle 113th Ave, LLC                                                        -                 -               -               -                -               -               -               -               -               -               -
                                           Sampson 45th Ave, LLC                                                      -                 -               -               -                -               -               -               -               -               -               -
                                           Lofts @ Camas Meadows I                                                    -                 -               -               -                -               -               -               -               -               -               -
                                           Columbia Property Mgmt.                                                    -                 -               -               -                -               -               -               -               -               -               -
                                           Ent. Ventures II                                                           -                 -               -               -                -               -               -               -               -               -               -
                                           Ent. Ventures IV                                                           -                 -               -               -                -               -               -               -               -               -               -
                                           Barcelo Madison Park                                                       -                 -               -               -                -               -               -               -               -               -               -
                                           Colpitts Development                                                       -                 -               -               -                -               -               -               -               -               -               -
                                           Lofts @ Camas Meadows II                                                   -                 -               -               -                -               -               -               -               -               -               -
                                           iCap Delridge Way, LLC                                                     -                 -               -               -                -               -               -               -               -               -               -
                                           iCap Finn Hill                                                             -                 -               -               -                -               -               -               -               -               -               -
                                           iCap Campbell Way                                                          -                 -               -               -                -               -               -               -               -               -               -
                                           Richland Acquisition I, LLC                                                -                 -               -               -                -               -               -               -               -               -               -
                                           iCap Rhody Ridge, LLC
                                                                                                                      -                 -               -               -                -               -               -               -               -               -               -
                                                                                   Total AUM Payoffs         18,716,982                 -               -               -                -               -               -               -               -               -               -




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                            Ending Cash Balance                                                              51,676,819     51,676,819      51,676,819       51,676,819      51,676,819      51,676,819       51,676,819     51,676,819      51,676,819      51,676,819       51,676,819




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                                                                                                                                                                                                                                                              Exhibit 1, Page 597
                            iCap Northwest Opportunity Fund
                            Cash Flow Projection & Analysis - Updated 11/7/2016 (Sale of Investments)


                                                                                                    Nov. 2016       Dec. 2016       Jan. 2017     Feb. 2017     Mar. 2017       Apr. 2017       May. 2017     Jun. 2017     Jul. 2017     Aug. 2017     Sep. 2017     Oct. 2017
                            Beginning Cash Balance:                                                  3,791,793        3,389,435      2,981,484     6,736,761    10,473,297      11,341,753      11,113,607    11,474,044    11,655,228    11,784,507    15,077,142    17,206,579
                            Deductions:
                                           Investor Interest Payments                                   (391,282)      (391,282)      (391,282)     (391,282)     (391,282)       (391,282)       (391,282)     (391,282)     (391,282)     (391,282)     (391,282)     (391,282)
                                           Debenture Payments                                                  -              -              -             -             -               -               -             -             -             -             -             -




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                                           Management Fees                                               (14,593)        (3,879)      (168,733)       (7,047)       (2,203)       (216,502)              -             -      (217,855)            -             -      (217,855)
                                           Computer Expenses                                                   -              -              -             -             -               -               -             -             -             -             -             -
                                           Dues & Subscriptions                                                -              -              -             -             -               -               -             -             -             -             -             -
                                           Meals & Entertainment                                               -              -              -             -             -               -               -             -             -             -             -             -
                                           Professional Fees                                              (5,000)        (5,000)        (5,000)       (5,000)       (5,000)         (5,000)         (5,000)       (5,000)      (40,000)       (5,000)       (5,000)       (5,000)
                                           Rent & Office Expense                                               -              -              -             -             -               -               -             -             -             -             -             -




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                                           Project Costs (Draws, Loans, etc)                                   -              -              -             -             -               -               -             -             -             -             -             -
                                           Salaries and Wages                                            (25,000)       (25,000)       (25,000)      (25,000)      (25,000)        (25,000)        (25,000)      (25,000)      (25,000)      (25,000)      (25,000)      (25,000)
                                                                           Total Monthly Expenses       (435,875)      (425,161)      (590,015)     (428,329)     (423,485)       (637,784)       (421,282)     (421,282)     (674,137)     (421,282)     (421,282)     (639,137)


                            AUM Payoffs:
                                           iCap Lake View                                                     -                 -            -             -                -               -            -             -             -     1,317,481       439,160       439,160
                                           iCap Rhody Ridge                                                   -                 -            -             -                -               -            -             -             -     1,347,869       449,290       449,290
                                           iCap Brislawn                                                      -                 -            -             -                                             -             -       220,833       220,833       411,358
                                           iCap Northcreek                                                    -                 -    1,931,605             -             -               -               -             -             -             -             -             -




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                                           Mercer 36, LLC                                                     -                 -            -             -             -         115,000         322,747             -             -             -             -             -
                                           KBRI6, LLC                                                         -                 -            -             -             -               -               -             -       266,800       266,800     1,000,455             -
                                           313 Prospect Street                                                -                 -      489,956             -             -               -               -             -             -             -             -             -
                                           76th Ave SE Partners, LLC                                          -                 -            -             -       798,528               -               -             -             -             -             -             -
                                           Seward Park Partners, LLC                                          -                 -            -       751,522             -               -               -             -             -             -             -             -
                                           23rd & Gilman, LLC                                                 -                 -                    214,632       214,632         214,632         214,632       318,122             -             -             -             -
                                           134th Street, LLC                                                  -                 -            -             -             -               -               -             -             -             -             -             -
                                           Senza Sammamish, LLC                                               -                 -            -             -             -               -               -             -             -             -             -             -
                                           Belvidere Investors, LLC                                           -                        553,477             -             -               -               -             -             -             -             -             -
                                           Colpitts Sunset, LLC                                               -               -      1,330,252             -             -               -               -             -             -             -             -             -
                                           iCap Finn Meadows                                                  -               -              -             -             -               -               -             -             -             -             -             -
                                           Senza Kenmore, LLC                                                 -               -              -             -             -               -               -             -             -             -             -             -
                                           Pearl and Delores                                                  -               -              -             -             -                         164,335       164,335       275,780       480,928             -             -
                                           iCap Finn Hill, LLC                                                -               -              -       385,990       278,781               -               -             -             -             -             -             -
                                           Hayden Meadows, LLC                                           33,517          17,210         40,003        80,006             -          80,006          80,006       120,008        40,003        80,006       250,456       289,000
                                           Lake Union Estates, LLC                                            -               -              -             -             -               -               -             -             -             -             -             -
                                           Timberland, LLC                                                    -               -              -     2,732,716             -               -               -             -             -             -             -             -
                                                                                                              -               -              -             -             -               -               -             -             -             -             -             -




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                                                                               Total AUM Payoffs         33,517          17,210      4,345,292     4,164,865     1,291,942         409,637         781,720       602,466       803,416     3,713,917     2,550,719     1,177,450
                            Ending Cash Balance                                                      3,389,435        2,981,484      6,736,761    10,473,297    11,341,753      11,113,607      11,474,044    11,655,228    11,784,507    15,077,142    17,206,579    17,744,892




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                                                                                                                                                                                                                                           Exhibit 1, Page 598
                            iCap Northwest Opportunity Fund
                            Cash Flow Projection & Analysis - Updated 11/7/2016 (Sale of Investm


                                                                                                    Nov. 2017       Dec. 2017     Jan. 2018     Feb. 2018       Mar. 2018     Apr. 2018     May. 2018       Jun. 2018     Jul. 2018     Aug. 2018       Sep. 2018       Oct. 2018
                            Beginning Cash Balance:                                                 17,744,892      22,226,596    23,582,214    27,153,621      26,932,248    28,687,684    29,544,479      30,785,452    34,038,298    37,628,145      38,875,234      38,453,952
                            Deductions:
                                           Investor Interest Payments                                 (391,282)       (391,282)     (391,282)     (391,282)       (391,282)     (391,282)     (391,282)       (391,282)     (391,282)     (391,282)       (391,282)       (391,282)
                                           Debenture Payments                                                -               -             -             -               -             -             -               -             -             -               -               -




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                                           Management Fees                                                   -               -      (217,855)            -               -      (217,855)            -               -      (217,855)            -               -        (217,855)
                                           Computer Expenses                                                 -               -             -             -               -             -             -               -             -             -               -               -
                                           Dues & Subscriptions                                              -               -             -             -               -             -             -               -             -             -               -               -
                                           Meals & Entertainment                                             -               -             -             -               -             -             -               -             -             -               -               -
                                           Professional Fees                                            (5,000)         (5,000)       (5,000)       (5,000)         (5,000)       (5,000)       (5,000)         (5,000)       (5,000)       (5,000)         (5,000)         (5,000)
                                           Rent & Office Expense                                             -               -             -             -               -             -             -               -             -             -               -               -




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                                           Project Costs (Draws, Loans, etc)                                 -               -             -             -               -             -             -               -             -             -               -               -
                                           Salaries and Wages                                          (25,000)        (25,000)      (25,000)      (25,000)        (25,000)      (25,000)      (25,000)        (25,000)      (25,000)      (25,000)        (25,000)        (25,000)
                                                                           Total Monthly Expenses     (421,282)       (421,282)     (639,137)     (421,282)       (421,282)     (639,137)     (421,282)       (421,282)     (639,137)     (421,282)       (421,282)       (639,137)


                            AUM Payoffs:
                                           iCap Lake View                                                       -      878,320       439,160                -      878,320       439,160                -    1,781,085     1,664,596                -               -               -
                                           iCap Rhody Ridge                                                     -      898,579       449,290                -      898,579       220,080                -            -             -                -               -               -
                                           iCap Brislawn
                                           iCap Northcreek                                                   -               -             -             -               -             -             -               -             -             -                  -            -




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                                           Mercer 36, LLC                                                    -               -             -             -               -             -             -               -             -             -                  -            -
                                           KBRI6, LLC                                                        -               -             -             -               -             -             -               -             -             -                  -            -
                                           313 Prospect Street                                               -               -             -             -               -             -             -               -             -             -                  -            -
                                           76th Ave SE Partners, LLC                                         -               -             -             -               -             -             -               -             -             -                  -            -
                                           Seward Park Partners, LLC                                         -               -             -             -               -             -             -               -             -             -                  -            -
                                           23rd & Gilman, LLC                                                -               -             -             -               -             -             -               -             -             -                  -            -
                                           134th Street, LLC                                         4,902,986               -             -             -               -             -             -               -             -             -                  -            -
                                           Senza Sammamish, LLC                                              -               -             -       199,909         399,818       399,818       399,818         630,606       920,700             -                  -            -
                                           Belvidere Investors, LLC                                          -               -             -             -               -             -             -               -             -             -                  -            -
                                           Colpitts Sunset, LLC                                              -               -             -             -               -             -             -               -             -             -                  -            -
                                           iCap Finn Meadows                                                 -               -             -             -               -       436,875       436,875         436,875       436,875     1,477,747                  -            -
                                           Senza Kenmore, LLC                                                -               -             -             -               -             -             -               -       381,250       190,625                  -      381,250
                                           Pearl and Delores                                                 -               -             -             -               -             -             -               -             -             -                  -            -
                                           iCap Finn Hill, LLC                                               -               -             -             -               -             -             -               -             -             -                  -            -
                                           Hayden Meadows, LLC                                               -               -             -             -               -             -             -               -             -             -                  -            -
                                           Lake Union Estates, LLC                                           -               -             -             -               -             -       825,563         825,563       825,563             -                  -            -
                                           Timberland, LLC                                                   -               -     3,322,095             -               -             -             -               -             -             -                  -            -
                                                                                                             -               -             -             -               -             -             -               -             -             -                  -            -




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                                                                               Total AUM Payoffs     4,902,986       1,776,900     4,210,545       199,909       2,176,717     1,495,933     1,662,255       3,674,128     4,228,984     1,668,372                  -      381,250
                            Ending Cash Balance                                                     22,226,596      23,582,214    27,153,621    26,932,248      28,687,684    29,544,479    30,785,452      34,038,298    37,628,145    38,875,234      38,453,952      38,196,065




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                                                                                                                                                                                                                                          Exhibit 1, Page 599
                            iCap Northwest Opportunity Fund
                            Cash Flow Projection & Analysis - Updated 11/7/2016 (Sale of Investm


                                                                                                    Nov. 2018       Dec. 2018       Jan. 2019       Feb. 2019       Mar. 2019       Apr. 2019       May. 2019       Jun. 2019
                            Beginning Cash Balance:                                                 38,196,065      39,337,002      39,741,282      40,566,845      41,392,407      43,499,598      46,080,348      46,080,348
                            Deductions:
                                           Investor Interest Payments                                 (391,282)       (391,282)                 -               -               -               -               -               -
                                           Debenture Payments                                                -               -                  -               -               -               -               -               -




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                                           Management Fees                                                   -               -                                  -               -               -               -               -
                                           Computer Expenses                                                 -               -                  -               -               -               -               -               -
                                           Dues & Subscriptions                                              -               -                  -               -               -               -               -               -
                                           Meals & Entertainment                                             -               -                  -               -               -               -               -               -
                                           Professional Fees                                            (5,000)         (5,000)                 -               -               -               -               -               -
                                           Rent & Office Expense                                             -               -                  -               -               -               -               -               -




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                                           Project Costs (Draws, Loans, etc)                                 -               -                  -               -               -               -               -               -
                                           Salaries and Wages                                          (25,000)        (25,000)                 -               -               -               -               -               -
                                                                           Total Monthly Expenses     (421,282)       (421,282)                 -               -               -               -               -               -


                            AUM Payoffs:
                                           iCap Lake View                                                       -               -               -               -               -               -               -               -
                                           iCap Rhody Ridge                                                     -               -               -               -               -               -               -               -
                                           iCap Brislawn
                                           iCap Northcreek                                                   -               -               -               -               -               -                  -               -




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                                           Mercer 36, LLC                                                    -               -               -               -               -               -                  -               -
                                           KBRI6, LLC                                                        -               -               -               -               -               -                  -               -
                                           313 Prospect Street                                               -               -               -               -               -               -                  -               -
                                           76th Ave SE Partners, LLC                                         -               -               -               -               -               -                  -               -
                                           Seward Park Partners, LLC                                         -               -               -               -               -               -                  -               -
                                           23rd & Gilman, LLC                                                -               -               -               -               -               -                  -               -
                                           134th Street, LLC                                                 -               -               -               -               -               -                  -               -
                                           Senza Sammamish, LLC                                              -               -               -               -               -               -                  -               -
                                           Belvidere Investors, LLC                                          -               -               -               -               -               -                  -               -
                                           Colpitts Sunset, LLC                                              -               -               -               -               -               -                  -               -
                                           iCap Finn Meadows                                                 -               -               -               -               -               -                  -               -
                                           Senza Kenmore, LLC                                          736,656               -               -               -               -               -                  -               -
                                           Pearl and Delores                                                 -               -               -               -               -               -                  -               -
                                           iCap Finn Hill, LLC                                               -               -               -               -               -               -                  -               -
                                           Hayden Meadows, LLC                                               -               -               -               -               -               -                  -               -
                                           Lake Union Estates, LLC                                     825,563         825,563         825,563         825,563       2,107,191       2,580,750                  -               -
                                           Timberland, LLC                                                   -               -               -               -               -               -                  -               -
                                                                                                             -               -               -               -               -               -                  -               -




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                                                                               Total AUM Payoffs     1,562,219         825,563         825,563         825,563       2,107,191       2,580,750                  -               -
                            Ending Cash Balance                                                     39,337,002      39,741,282      40,566,845      41,392,407      43,499,598      46,080,348      46,080,348      46,080,348




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                                                                                                                                                                                                                        Exhibit 1, Page 600
                            iCap Northwest Opportunity Fund
                            Cash Flow Projection & Analysis - Updated 11/7/2016 - Build Out of Investments


                                                                                                    Nov. 2016     Dec. 2016       Jan. 2017     Feb. 2017     Mar. 2017       Apr. 2017       May. 2017     Jun. 2017     Jul. 2017     Aug. 2017     Sep. 2017     Oct. 2017
                            Beginning Cash Balance:                                                  3,791,793      3,389,435      2,981,484     6,736,761    10,473,297      11,341,753      11,113,607    11,474,044    11,655,228    11,784,507    15,077,142    17,206,579
                            Deductions:
                                           Investor Interest Payments                                 (391,282)      (391,282)      (391,282)     (391,282)     (391,282)       (391,282)       (391,282)     (391,282)     (391,282)     (391,282)     (391,282)     (391,282)
                                           Debenture Payments                                                -              -              -             -             -               -               -             -             -             -             -             -




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                                           Management Fees                                             (14,593)        (3,879)      (168,733)       (7,047)       (2,203)       (216,502)              -             -      (217,855)            -             -      (217,855)
                                           Computer Expenses                                                 -              -              -             -             -               -               -             -             -             -             -             -
                                           Dues & Subscriptions                                              -              -              -             -             -               -               -             -             -             -             -             -
                                           Meals & Entertainment                                             -              -              -             -             -               -               -             -             -             -             -             -
                                           Professional Fees                                            (5,000)        (5,000)        (5,000)       (5,000)       (5,000)         (5,000)         (5,000)       (5,000)      (40,000)       (5,000)       (5,000)       (5,000)
                                           Rent & Office Expense                                             -              -              -             -             -               -               -             -             -             -             -             -




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                                           Project Costs (Draws, Loans, etc)                                 -              -              -             -             -               -               -             -             -             -             -             -
                                           Salaries and Wages                                          (25,000)       (25,000)       (25,000)      (25,000)      (25,000)        (25,000)        (25,000)      (25,000)      (25,000)      (25,000)      (25,000)      (25,000)
                                                                           Total Monthly Expenses     (435,875)      (425,161)      (590,015)     (428,329)     (423,485)       (637,784)       (421,282)     (421,282)     (674,137)     (421,282)     (421,282)     (639,137)


                            AUM Payoffs:
                                           iCap Lake View                                                    -                -            -             -                -               -            -             -             -     1,317,481       439,160       439,160
                                           iCap Rhody Ridge                                                  -                -            -             -                -               -            -             -             -     1,347,869       449,290       449,290
                                           iCap Brislawn                                                     -                -            -             -                                             -             -       220,833       220,833       411,358
                                           iCap Northcreek                                                   -                -    1,931,605             -             -               -               -             -             -             -             -             -




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                                           Mercer 36, LLC                                                    -                -            -             -             -         115,000         322,747             -             -             -             -             -
                                           KBRI6, LLC                                                        -                -            -             -             -               -               -             -       266,800       266,800     1,000,455             -
                                           313 Prospect Street                                               -                -      489,956             -             -               -               -             -             -             -             -             -
                                           76th Ave SE Partners, LLC                                         -                -            -             -       798,528               -               -             -             -             -             -             -
                                           Seward Park Partners, LLC                                         -                -            -       751,522             -               -               -             -             -             -             -             -
                                           23rd & Gilman, LLC                                                -                -                    214,632       214,632         214,632         214,632       318,122             -             -             -             -
                                           134th Street, LLC                                                 -                -            -             -             -               -               -             -             -             -             -             -
                                           Senza Sammamish, LLC                                              -                -            -             -             -               -               -             -             -             -             -             -
                                           Belvidere Investors, LLC                                          -                       553,477             -             -               -               -             -             -             -             -             -
                                           Colpitts Sunset, LLC                                              -              -      1,330,252             -             -               -               -             -             -             -             -             -
                                           iCap Finn Meadows                                                 -              -              -             -             -               -               -             -             -             -             -             -
                                           Senza Kenmore, LLC                                                -              -              -             -             -               -               -             -             -             -             -             -
                                           Pearl and Delores                                                 -              -              -             -             -                         164,335       164,335       275,780       480,928             -             -
                                           iCap Finn Hill, LLC                                               -              -              -       385,990       278,781               -               -             -             -             -             -             -
                                           Hayden Meadows, LLC                                          33,517         17,210         40,003        80,006             -          80,006          80,006       120,008        40,003        80,006       250,456       289,000
                                           Lake Union Estates, LLC                                           -              -              -             -             -               -               -             -             -             -             -             -
                                           Timberland, LLC                                                   -              -              -     2,732,716             -               -               -             -             -             -             -             -
                                                                                                             -              -              -             -             -               -               -             -             -             -             -             -




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                                                                               Total AUM Payoffs        33,517         17,210      4,345,292     4,164,865     1,291,942         409,637         781,720       602,466       803,416     3,713,917     2,550,719     1,177,450
                            Ending Cash Balance                                                      3,389,435      2,981,484      6,736,761    10,473,297    11,341,753      11,113,607      11,474,044    11,655,228    11,784,507    15,077,142    17,206,579    17,744,892




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                                                                                                                                                                                                                                         Exhibit 1, Page 601
                            iCap Northwest Opportunity Fund
                            Cash Flow Projection & Analysis - Updated 11/7/2016 - Build Out of In


                                                                                                    Nov. 2017       Dec. 2017     Jan. 2018     Feb. 2018       Mar. 2018     Apr. 2018     May. 2018       Jun. 2018     Jul. 2018     Aug. 2018       Sep. 2018       Oct. 2018
                            Beginning Cash Balance:                                                 17,744,892      22,226,596    23,582,214    27,153,621      26,932,248    28,687,684    29,544,479      30,785,452    34,038,298    37,628,145      38,875,234      38,453,952
                            Deductions:
                                           Investor Interest Payments                                 (391,282)       (391,282)     (391,282)     (391,282)       (391,282)     (391,282)     (391,282)       (391,282)     (391,282)     (391,282)       (391,282)       (391,282)
                                           Debenture Payments                                                -               -             -             -               -             -             -               -             -             -               -               -




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                                           Management Fees                                                   -               -      (217,855)            -               -      (217,855)            -               -      (217,855)            -               -        (217,855)
                                           Computer Expenses                                                 -               -             -             -               -             -             -               -             -             -               -               -
                                           Dues & Subscriptions                                              -               -             -             -               -             -             -               -             -             -               -               -
                                           Meals & Entertainment                                             -               -             -             -               -             -             -               -             -             -               -               -
                                           Professional Fees                                            (5,000)         (5,000)       (5,000)       (5,000)         (5,000)       (5,000)       (5,000)         (5,000)       (5,000)       (5,000)         (5,000)         (5,000)
                                           Rent & Office Expense                                             -               -             -             -               -             -             -               -             -             -               -               -




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                                           Project Costs (Draws, Loans, etc)                                 -               -             -             -               -             -             -               -             -             -               -               -
                                           Salaries and Wages                                          (25,000)        (25,000)      (25,000)      (25,000)        (25,000)      (25,000)      (25,000)        (25,000)      (25,000)      (25,000)        (25,000)        (25,000)
                                                                           Total Monthly Expenses     (421,282)       (421,282)     (639,137)     (421,282)       (421,282)     (639,137)     (421,282)       (421,282)     (639,137)     (421,282)       (421,282)       (639,137)


                            AUM Payoffs:
                                           iCap Lake View                                                       -      878,320       439,160                -      878,320       439,160                -    1,781,085     1,664,596                -               -               -
                                           iCap Rhody Ridge                                                     -      898,579       449,290                -      898,579       220,080                -            -             -                -               -               -
                                           iCap Brislawn
                                           iCap Northcreek                                                   -               -             -             -               -             -             -               -             -             -                  -            -




Filed 02/23/24
                                           Mercer 36, LLC                                                    -               -             -             -               -             -             -               -             -             -                  -            -
                                           KBRI6, LLC                                                        -               -             -             -               -             -             -               -             -             -                  -            -
                                           313 Prospect Street                                               -               -             -             -               -             -             -               -             -             -                  -            -
                                           76th Ave SE Partners, LLC                                         -               -             -             -               -             -             -               -             -             -                  -            -
                                           Seward Park Partners, LLC                                         -               -             -             -               -             -             -               -             -             -                  -            -
                                           23rd & Gilman, LLC                                                -               -             -             -               -             -             -               -             -             -                  -            -
                                           134th Street, LLC                                         4,902,986               -             -             -               -             -             -               -             -             -                  -            -
                                           Senza Sammamish, LLC                                              -               -             -       199,909         399,818       399,818       399,818         630,606       920,700             -                  -            -
                                           Belvidere Investors, LLC                                          -               -             -             -               -             -             -               -             -             -                  -            -
                                           Colpitts Sunset, LLC                                              -               -             -             -               -             -             -               -             -             -                  -            -
                                           iCap Finn Meadows                                                 -               -             -             -               -       436,875       436,875         436,875       436,875     1,477,747                  -            -
                                           Senza Kenmore, LLC                                                -               -             -             -               -             -             -               -       381,250       190,625                  -      381,250
                                           Pearl and Delores                                                 -               -             -             -               -             -             -               -             -             -                  -            -
                                           iCap Finn Hill, LLC                                               -               -             -             -               -             -             -               -             -             -                  -            -
                                           Hayden Meadows, LLC                                               -               -             -             -               -             -             -               -             -             -                  -            -
                                           Lake Union Estates, LLC                                           -               -             -             -               -             -       825,563         825,563       825,563             -                  -            -
                                           Timberland, LLC                                                   -               -     3,322,095             -               -             -             -               -             -             -                  -            -
                                                                                                             -               -             -             -               -             -             -               -             -             -                  -            -




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                                                                               Total AUM Payoffs     4,902,986       1,776,900     4,210,545       199,909       2,176,717     1,495,933     1,662,255       3,674,128     4,228,984     1,668,372                  -      381,250
                            Ending Cash Balance                                                     22,226,596      23,582,214    27,153,621    26,932,248      28,687,684    29,544,479    30,785,452      34,038,298    37,628,145    38,875,234      38,453,952      38,196,065




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                                                                                                                                                                                                                                          Exhibit 1, Page 602
                            iCap Northwest Opportunity Fund
                            Cash Flow Projection & Analysis - Updated 11/7/2016 - Build Out of In


                                                                                                    Nov. 2018       Dec. 2018       Jan. 2019       Feb. 2019       Mar. 2019       Apr. 2019       May. 2019       Jun. 2019
                            Beginning Cash Balance:                                                 38,196,065      39,337,002      39,741,282      40,566,845      41,392,407      43,499,598      46,080,348      46,080,348
                            Deductions:
                                           Investor Interest Payments                                 (391,282)       (391,282)                 -               -               -               -               -               -
                                           Debenture Payments                                                -               -                  -               -               -               -               -               -




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                                           Management Fees                                                   -               -                                  -               -               -               -               -
                                           Computer Expenses                                                 -               -                  -               -               -               -               -               -
                                           Dues & Subscriptions                                              -               -                  -               -               -               -               -               -
                                           Meals & Entertainment                                             -               -                  -               -               -               -               -               -
                                           Professional Fees                                            (5,000)         (5,000)                 -               -               -               -               -               -
                                           Rent & Office Expense                                             -               -                  -               -               -               -               -               -




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                                           Project Costs (Draws, Loans, etc)                                 -               -                  -               -               -               -               -               -
                                           Salaries and Wages                                          (25,000)        (25,000)                 -               -               -               -               -               -
                                                                           Total Monthly Expenses     (421,282)       (421,282)                 -               -               -               -               -               -


                            AUM Payoffs:
                                           iCap Lake View                                                       -               -               -               -               -               -               -               -
                                           iCap Rhody Ridge                                                     -               -               -               -               -               -               -               -
                                           iCap Brislawn
                                           iCap Northcreek                                                   -               -               -               -               -               -                  -               -




Filed 02/23/24
                                           Mercer 36, LLC                                                    -               -               -               -               -               -                  -               -
                                           KBRI6, LLC                                                        -               -               -               -               -               -                  -               -
                                           313 Prospect Street                                               -               -               -               -               -               -                  -               -
                                           76th Ave SE Partners, LLC                                         -               -               -               -               -               -                  -               -
                                           Seward Park Partners, LLC                                         -               -               -               -               -               -                  -               -
                                           23rd & Gilman, LLC                                                -               -               -               -               -               -                  -               -
                                           134th Street, LLC                                                 -               -               -               -               -               -                  -               -
                                           Senza Sammamish, LLC                                              -               -               -               -               -               -                  -               -
                                           Belvidere Investors, LLC                                          -               -               -               -               -               -                  -               -
                                           Colpitts Sunset, LLC                                              -               -               -               -               -               -                  -               -
                                           iCap Finn Meadows                                                 -               -               -               -               -               -                  -               -
                                           Senza Kenmore, LLC                                          736,656               -               -               -               -               -                  -               -
                                           Pearl and Delores                                                 -               -               -               -               -               -                  -               -
                                           iCap Finn Hill, LLC                                               -               -               -               -               -               -                  -               -
                                           Hayden Meadows, LLC                                               -               -               -               -               -               -                  -               -
                                           Lake Union Estates, LLC                                     825,563         825,563         825,563         825,563       2,107,191       2,580,750                  -               -
                                           Timberland, LLC                                                   -               -               -               -               -               -                  -               -
                                                                                                             -               -               -               -               -               -                  -               -




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                                                                               Total AUM Payoffs     1,562,219         825,563         825,563         825,563       2,107,191       2,580,750                  -               -
                            Ending Cash Balance                                                     39,337,002      39,741,282      40,566,845      41,392,407      43,499,598      46,080,348      46,080,348      46,080,348




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                                                                                                                                                                                                                        Exhibit 1, Page 603
                            Purchased Projects - Step Up Basis (Sale of Investments)


                            Purchase Price:                       $ 93,158,399.92
                            Rounded:                              $ 94,000,000.00




23-01243-WLH11
                              Cash in Bank                          30,798,191.95
                              Investments:                                                      Step Up Basis
                                 Seattle Modern Living               1,386,153.00       3.70%    2,336,651.23




Doc 469
                                 Meridian Greens Holdings            1,756,570.50       4.69%    2,961,067.52
                                 Ruby 62 Holdings                    1,583,504.92       4.22%    2,669,329.23
                                 Ent. Ventures II                      400,105.77       1.07%      674,462.08
                                 Ent. Ventures IV                      368,682.00       0.98%      621,490.74
                                 Barcelo Madison Park                  842,538.00       2.25%    1,420,274.28
                                 iCap Delridge Way, LLC                387,996.76       1.03%      654,049.81
                                 iCap Finn Hill                      2,487,966.88       6.64%    4,193,989.32




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                                 iCap Campbell Way                     810,455.00       2.16%    1,366,191.67
                                 iCap Rhody Ridge, LLC               1,289,280.72       3.44%    2,173,352.71
                                 iCap Lake View                      2,711,937.70       7.23%    4,571,539.05
                                 iCap Rhody Ridge                    1,946,775.42       5.19%    3,281,697.75
                                 iCap Brislawn                         265,041.52       0.71%      446,783.00
                                 Mercer 36, LLC                        264,500.00       0.71%      445,870.15
                                 KBRI6, LLC                            742,160.00       1.98%    1,251,066.14
                                 23rd & Gilman, LLC                    729,000.00       1.94%    1,228,882.20
                                 134th Street, LLC                   3,510,772.00       9.36%    5,918,141.59
                                 Senza Sammamish, LLC                2,821,118.00       7.52%    4,755,585.32
                                 iCap Finn Meadows                   2,297,105.62       6.13%    3,872,252.69
                                 Senza Kenmore, LLC                  1,301,325.97       3.47%    2,193,657.51




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                                 Pearl and Delores                     678,130.00       1.81%    1,143,130.16
                                 Hayden Meadows, LLC                   533,401.66       1.42%      899,160.23
                                 Lake Union Estates, LLC             4,044,183.75      10.79%    6,817,318.83
                                 Timberland, LLC                     4,334,000.00      11.56%    7,305,864.83
                                                                    37,492,705.19               63,201,808.05




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                                                                                                                Exhibit 1, Page 604
                            Purchased Projects - Step Up Basis - Build Out of Investments


                            Purchase Price:                       $ 93,158,399.92
                            Rounded:                              $ 94,000,000.00




23-01243-WLH11
                              Cash in Bank                           24,032,891.56

                              Investments:                            Cost Basis                     Step Up Basis   Exit Value             Step Up Basis
                                 Seattle Modern Living                1,386,153.00           3.28%    2,295,238.48    11,778,000    3.86%    2,698,643.26
                                 Meridian Greens Holdings             1,756,570.50           4.16%    2,908,588.16     7,000,000    2.29%    1,603,880.36




Doc 469
                                 Ruby 62 Holdings                     1,583,504.92           3.75%    2,622,020.38     2,640,000    0.86%      604,892.02
                                 Ent. Ventures II                       400,105.77           0.95%      662,508.51       525,000    0.17%      120,291.03
                                 Ent. Ventures IV                       368,682.00           0.87%      610,475.98     2,100,733    0.69%      481,332.06
                                 Barcelo Madison Park                   842,538.00           1.99%    1,395,102.59     8,350,000    2.73%    1,913,200.14
                                 725 Broadway                         1,025,662.66           2.43%    1,698,326.52    30,000,000    9.82%    6,873,772.96
                                 9041 48th                              792,857.64           1.88%    1,312,840.19     3,000,000    0.98%      687,377.30
                                 Lofts @ Camas Meadows I              1,059,923.50           2.51%    1,755,056.77    15,975,000    5.23%    3,660,284.10




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                                 Lofts @ Camas Meadows II             1,059,570.00           2.51%    1,754,471.43    15,975,000    5.23%    3,660,284.10
                                 TCG Investments                        824,200.58           1.95%    1,364,738.87     5,500,000    1.80%    1,260,191.71
                                 iCap Delridge Way, LLC                 387,996.76           0.92%      642,458.01     2,375,000    0.78%      544,173.69
                                 iCap Finn Hill                       2,487,966.88           5.89%    4,119,658.73     8,000,000    2.62%    1,833,006.12
                                 iCap Campbell Way                      810,455.00           1.92%    1,341,978.48     1,000,000    0.33%      229,125.77
                                 iCap Rhody Ridge, LLC                1,289,280.72           3.05%    2,134,834.12    15,000,000    4.91%    3,436,886.48
                                 iCap Lake View                       2,711,937.70           6.42%    4,490,517.11    22,100,000    7.24%    5,063,679.41
                                 iCap Rhody Ridge                     1,946,775.42           4.61%    3,223,535.82    14,250,000    4.67%    3,265,042.15
                                 iCap Brislawn                          265,041.52           0.63%      438,864.61     3,000,000    0.98%      687,377.30
                                 Mercer 36, LLC                         264,500.00           0.63%      437,967.94     4,000,000    1.31%      916,503.06
                                 KBRI6, LLC                             742,160.00           1.76%    1,228,893.34     5,875,000    1.92%    1,346,113.87
                                 23rd & Gilman, LLC                     729,000.00           1.73%    1,207,102.57     6,930,000    2.27%    1,587,841.55
                                 134th Street, LLC                    3,510,772.00           8.31%    5,813,253.65    35,084,556   11.49%    8,038,775.74
                                 Senza Sammamish, LLC                 2,821,118.00           6.68%    4,671,301.50     9,900,000    3.24%    2,268,345.08




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                                 iCap Finn Meadows                    2,297,105.62           5.44%    3,803,624.28    10,000,000    3.27%    2,291,257.65
                                 Senza Kenmore, LLC                   1,301,325.97           3.08%    2,154,779.05     5,700,000    1.87%    1,306,016.86
                                 Pearl and Delores                      678,130.00           1.60%    1,122,870.32     6,628,000    2.17%    1,518,645.57
                                 Hayden Meadows, LLC                    533,401.66           1.26%      883,224.30    12,597,000    4.13%    2,886,297.26
                                 Lake Union Estates, LLC              4,044,183.75           9.57%    6,696,494.65    24,975,000    8.18%    5,722,415.99
                                 Timberland, LLC                      4,334,000.00          10.26%    7,176,382.09    15,107,231    4.95%    3,461,455.86
                                                                     42,254,919.57                   69,967,108.44   305,365,520            69,967,108.44




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                                                                                                                                                      Exhibit 1, Page 605
                            Investment Payoff Summary
                            As of November 8, 2016

                                                                                                   Actual
                                                                                                                     Investment              Annualized
                                       Project Name            Project Type      iCap Investment     iCap Return      Days Held     ROI         ROI       Payoff Date   Investment Date




23-01243-WLH11
                            Lake Sammamish Home 1, LLC      Single Family Lots   $    404,518.60   $    835,024.98         274     106.42%     141.77%     3/31/2015         6/30/2014
                            4422 Woodlawn, LLC                  Apartment        $    182,100.00   $    268,735.41         346      47.58%      50.19%      7/2/2015         7/21/2014
                            Woodlawn Ave Townhomes, LLC         Apartment        $    401,876.25   $    592,679.58         346      47.48%      50.09%      7/2/2015         7/21/2014
                            13th and Emerson, LLC              Townhomes         $    601,310.00   $    923,129.92         383      53.52%      51.00%     8/10/2015         7/23/2014




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                            Hillsboro Acquisition I, LLC       Commercial        $ 1,606,500.00    $ 1,777,012.23          102      10.61%      37.98%     8/31/2015         5/21/2015
                            Alamo NW, LLC                      Commercial        $ 1,396,404.14    $ 1,738,657.36          461      24.51%      19.41%     9/14/2015         6/10/2014
                            iCap Lake View, LLC             Single Family Lots   $ 1,037,011.42    $ 1,201,937.73          138      15.90%      42.06%     9/22/2015          5/7/2015
                            1st Ave NE Development, LLC        Townhomes         $    630,240.00   $ 1,061,631.89          491      68.45%      50.88%     10/2/2015         5/29/2014
                            Aloha Ventures, LLC                Townhomes         $    372,500.00   $    646,517.47         585      73.56%      45.90%    10/13/2015          3/7/2014
                            Volare Townhomes, LLC              Townhomes         $    916,221.50   $ 1,079,103.42          329      17.78%      19.72%     1/15/2016         2/20/2015
                            Capitol Hill Development, LLC       Apartment        $ 1,035,730.00    $ 1,717,524.63          481      65.83%      49.95%     2/29/2016         11/5/2014
                            BDR Yarrow Point II, LLC        Single Family Lots   $    725,000.00   $ 1,432,610.91          702      97.60%      50.75%     3/17/2016         4/15/2014




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                            Charlestown Street, LLC            Townhomes         $ 1,040,000.00    $ 1,466,392.26          453      41.00%      33.03%     6/15/2016         3/20/2015
                            KR3, LLC                        Single Family Lots   $    356,149.34   $    500,000.00         468      40.39%      31.50%      7/7/2016         3/27/2015
                            13th Avenue W, LLC                 Townhomes         $    525,000.00   $ 1,015,053.35          784      93.34%      43.46%      8/3/2016         6/11/2014
                            ENT Ventures I, LLC                 Apartment        $ 1,948,884.00    $ 2,531,472.56          613      29.89%      17.80%      9/2/2016        12/29/2014
                            Ankeny Building, LLC                Apartment        $ 1,704,500.00    $ 2,665,223.38          554      56.36%      37.14%     9/30/2016         3/26/2015
                            BDR Kirkland II, LLC            Single Family Lots   $    833,000.00   $ 1,678,742.88          853     101.53%      43.44%    10/27/2016         6/27/2014
                            BDR Medina, LLC                 Single Family Lots   $ 1,296,032.50    $ 2,362,705.55          738      82.30%      40.71%    10/31/2016        10/24/2014
                            13th & Emerson, LLC                Townhomes         $    957,600.00   $ 1,035,844.78           66       8.17%      45.19%    10/10/2015          8/5/2015
                            BDR Kirkland V, LLC             Single Family Lots   $ 1,246,000.00    $ 1,505,508.55          206      20.83%      36.90%     2/29/2016          8/7/2015
                            1756 N. 60th, LLC                  Townhomes         $    216,500.00   $    331,871.94         363      53.29%      53.58%     5/25/2016         5/28/2015
                                                                                 $ 19,433,077.75   $ 28,367,380.78         443      45.97%      37.92%
                                                                                                                                  Average




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                                                                                                                                                              Exhibit 1, Page 606
                            Investment Payoff Summary
                            As of November 8, 2016

                                                                                   Projected per Cash Flow before Fund buyout
                                                                                                                        Investment               Annualized
                                       Project Name           Project Type       iCap Investment       iCap Return       Days Held      ROI         ROI       Payoff Date   Investment Date




23-01243-WLH11
                            High Country Soundview Manor    Single Family Lots         2,143,744          1,325,500         1,047      -38.17%     -13.31%     2/28/2017         4/18/2014
                            Wild Creek Estates              Single Family Lots           419,356            411,108         1,075       -1.97%      -0.67%     3/31/2017         4/21/2014
                            9041 48th, LLC                     Townhomes                 775,998            828,000         1,065        6.70%       2.30%     3/31/2017          5/1/2014
                            TCG Investments                     Apartments             1,060,000          1,825,208           915       72.19%      28.80%    12/31/2016         6/30/2014




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                            725 Broadway                        Commercial             1,025,663          1,724,799           972       68.16%      25.60%     2/28/2017          7/2/2014
                            Steadman 170th                   Single Family Lot           560,340            690,000           831       23.14%      10.16%     11/8/2016         7/31/2014
                            Lyle 113th Ave, LLC              Single Family Lot           501,268            426,285           834      -14.96%      -6.55%     2/28/2017        11/17/2014
                            Sampson 45th Ave, LLC            Single Family Lot         1,677,760            708,000           861      -57.80%     -24.50%     3/31/2017        11/21/2014
                            Lofts @ Camas Meadows I            Townhomes               1,059,570          1,650,000           736       55.72%      27.63%    11/30/2016        11/25/2014
                            Columbia Property Mgmt.             Commercial             1,042,300            850,000           828      -18.45%      -8.13%     3/31/2017        12/24/2014
                            Colpitts Development             Single Family Lot         1,552,463          2,860,160           724       84.23%      42.47%    12/31/2016          1/7/2015




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                            Lofts @ Camas Meadows II           Townhomes               1,059,570          1,650,000           623       55.72%      32.65%    11/30/2016         3/18/2015
                            Richland Acquisition I, LLC        Townhomes               1,491,200          2,034,000           439       36.40%      30.26%    11/30/2016         9/18/2015
                            iCap Northcreek                 Single Family Lots         1,933,080          1,931,605           376       -0.08%      -0.07%     1/31/2017         1/21/2016
                            313 Prospect Street            Single Family Home            316,649            489,956           595       54.73%      33.57%     1/31/2017         6/16/2015
                            76th Ave SE Partners, LLC      Single Family Home            536,500            798,528           576       48.84%      30.95%     3/31/2017          9/2/2015
                            Seward Park Partners, LLC      Single Family Home            536,538            751,522           511       40.07%      28.62%     2/28/2017         10/6/2015
                            Belvidere Investors, LLC       Single Family Home            359,961            553,477           418       53.76%      46.94%     1/31/2017        12/10/2015
                            iCap Finn Hill, LLC             Single Family Lots           550,923            664,771           338       20.67%      22.32%     3/31/2017         4/27/2016
                            Colpitts Sunset LLC             Single Family Lots           893,779          1,330,252           392       48.83%      45.47%     1/31/2017          1/5/2016
                                                                                 $ 19,496,662.00    $ 23,503,170.23             708    20.55%      10.60%
                                                                                                                                      Average




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                                                                                                        Average                 575    33.26%      24.26%




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                                                                                                                                                                  Exhibit 1, Page 607
                                                                                         Exhibit 1, Page 608
                           Exhibit 




23-01243-WLH11   Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30   Pg 608 of 630
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


                            Filtered By
                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




23-01243-WLH11
                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї 725 Broadway, LLC        Colpitts Sunset, LLC       iCap B1, LLC             iCap B2, LLC              iCap Brislawn, LLC        iCap Campbell Way, LLC    iCap Delridge Way, LLC
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period    Sum of Current Period      Sum of Current Period    Sum of Current Period     Sum of Current Period     Sum of Current Period     Sum of Current Period
                            Assets                                1000-Checking: Umpqua                                                        $0.00                      $0.00                    $0.00                  $100.00                 $10,427.63                    $76.44                      $0.00
                                                                  1010-Checking: Chase Bank                                                    $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1012-Checking: Wells Fargo                                                   $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1015-Checking: Seaside Bank                                                  $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1020-Checking: Sponor Account                                             $553.01                    $121.85                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00




Doc 469
                                                                  1050-Unapplied Cash                                                          $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1051-Reinvestment Clearing Account                                           $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1060-Checking: East West Bank                                                $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1100-Accounts Receivable                                                     $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1200-iCap Vault, LLC                                                         $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1210-iCap Enterprises, Inc.                                                  $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1220-iCap PNW Fund 1R                                                        $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1225-iCap NW Fund 2R                                                         $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1226-iCap Pacific Income Fund 5R                                             $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1227-iCapPacific Income Fund 6R                                              $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1228-iCap EVO, LLC                                                           $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00




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                                                                  1229-iCap PNW Fund 2i                                                        $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1230-iCap Equity, LLC                                                        $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1231-iCap China Office                                                       $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1235-iCap Pacific Income Fund 4R                                             $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1240-Oceanaire, LLC                                                          $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1250-iCap Management, LLC                                                    $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1251-iCap Equity Real Estate Fund I, LLC                                     $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1252-iCap Investments, LLC                                                   $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1255-Suite 500 Company, Inc.                                                 $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1256-Altius Legal, LLC                                                       $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1260-Edge Construction, LLC                                                  $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1270-iCap PNW Management, LLC                                                $0.00                      $0.00                    $0.00              -$441,284.77                     $0.00                     $0.00                      $0.00
                                                                  1280-iCap B1, LLC                                                            $0.00                      $0.00                    $0.00              -$119,769.35                     $0.00                     $0.00                      $0.00
                                                                  1285-iCap B2, LLC                                                            $0.00                      $0.00              $119,769.35                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1290-Chris Christensen                                                       $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1300-Property & Equipment                                                    $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1310-Furniture                                                               $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1320-Computers & Software                                                    $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1330-Automobiles                                                             $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1340-Buildings & Improvements                                         $329,355.12                       $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00




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                                                                  1350-Work in Progress                                                 $406,394.58              $3,959,177.59                     $0.00                     $0.00                     $0.00                $26,549.38                      $0.00
                                                                  1355-Capitalized Interest                                                    $0.00              $474,055.48                      $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1360-Land                                                             $515,145.20              $3,263,737.12                     $0.00                     $0.00                     $0.00              $724,354.91                       $0.00
                                                                  1365-Land Development                                                        $0.00              $800,206.74                      $0.00                     $0.00                     $0.00              $137,320.40                       $0.00
                                                                  1370-Tenant Improvements                                                     $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1380-Intangible Assets - Branding                                            $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1381-Intangible Assets - Loan Costs                                          $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1385-Accumulated Depreciation                                          -$29,206.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1390-Organizational Costs                                                    $0.00                $10,740.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1391-Start Up Costs                                                          $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1395-Accumulated Amortization                                                $0.00                -$3,103.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00




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                                                                  1400-Equity Investments                                                      $0.00                      $0.00                    $0.00                     $0.00                     $0.00                     $0.00                      $0.00




                                                                                                                                                                                                                                                                     Exhibit 1, Page 609
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


                            Filtered By
                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




23-01243-WLH11
                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї 725 Broadway, LLC        Colpitts Sunset, LLC       iCap B1, LLC              iCap B2, LLC              iCap Brislawn, LLC        iCap Campbell Way, LLC    iCap Delridge Way, LLC
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period    Sum of Current Period      Sum of Current Period     Sum of Current Period     Sum of Current Period     Sum of Current Period     Sum of Current Period
                                                                  1500-Investment in Project                                                   $0.00                      $0.00             $3,325,865.00             $2,293,354.27                     $0.00                     $0.00                      $0.00
                                                                  1510-Payoff from Project                                                     $0.00                      $0.00            -$4,437,391.86            -$1,727,501.87                     $0.00                     $0.00                      $0.00
                                                                  1520-Basis Adjustment: Allocated Costs                                       $0.00                      $0.00               $853,409.15             $1,511,149.34                     $0.00                     $0.00                      $0.00
                                                                  1530-Income/Loss Allocation                                                  $0.00                      $0.00               $258,117.71            -$2,077,001.74                     $0.00                     $0.00                      $0.00
                                                                  1600-Commissions                                                             $0.00                      $0.00               $243,196.00                     $0.00                     $0.00                     $0.00                      $0.00




Doc 469
                                                                  1610-Debt Issuance Costs                                                     $0.00                      $0.00                $44,044.54                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1620-Management Fees                                                         $0.00                      $0.00                $60,801.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1630-Investor Interest                                                       $0.00                      $0.00               $751,781.59                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1700-A/A: Commissions                                                        $0.00                      $0.00              -$243,196.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1710-A/A: Debt Issuance Costs                                                $0.00                      $0.00               -$44,044.54                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1720-A/A: Management Fees                                                    $0.00                      $0.00               -$60,801.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1730-A/A: Investor Interest                                                  $0.00                      $0.00              -$751,781.59                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1740-A/A: NAV Discount                                                       $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1800-Prepaid Expenses                                                        $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1810-Employee Loan Receivable                                                $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1820-Security Deposit                                                        $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00




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                                                                  1840-Escrow Deposit                                                          $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  1900-Note Receivable                                                         $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                            Subtotal                                                                                                   $1,222,241.91             $8,504,935.78                $119,769.35              -$560,954.12                $10,427.63              $888,301.13                       $0.00
                            Liabilities                           2000-Accounts Payable                                                  -$11,521.68                      $0.00                     $0.00                     $0.00                -$2,173.28                   -$32.34                      $0.00
                                                                  2010-Investor Interest Payable                                               $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2100-Accrued Expenses                                                        $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2300-Loan from Sponsor                                                       $0.00               -$12,527.00                      $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2350-Escrow Deposit                                                          $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2450-Profit Sharing Plan Payable                                             $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2500-Note Payable: Alliant                                                   $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2501-Note Payable: SJ Fox Ridge, LLC                                         $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2502-Note Payable: Bob Walsh                                                 $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2503-Note Payable: T&L One, LLC                                              $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2504-Note Payable: Grogan/Blair                                              $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2505-Note Payable: Claus Mueller                                             $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2506-Note Payable: Yi Shan                                                   $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2507-Note Payable: Eric Fu & Ying Wu                                         $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2508-Note Payable: Weifan Peng                                               $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2509-Note Payable: Qing Wu                                                   $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2511-Note Payable: Eastside Fund, LLC                                        $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00




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                                                                  2512-Note Payable: Mike Gould                                                $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2513-Note Payable: Gould Trust                                               $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2515-Note Payable: SPS                                                       $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2516-Note Payable: Caifeng Yu                                                $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2520-Note Payable: David Straz Jr.                                           $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2530-Note Payable: Titan Securities                                          $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2550-Note Payable: Loan on Project                                           $0.00              -$699,500.00                      $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2551-Note Payable: Construction Holdback                                     $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2552-Note Payable: Interest Reserve                                          $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2553-Construction Holdback Clearing Account                                  $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2555-Note Payable: Loan on Project                                           $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00




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                                                                  2600-Debentures Payable                                                      $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00




                                                                                                                                                                                                                                                                      Exhibit 1, Page 610
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


                            Filtered By
                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




23-01243-WLH11
                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї 725 Broadway, LLC        Colpitts Sunset, LLC       iCap B1, LLC              iCap B2, LLC              iCap Brislawn, LLC        iCap Campbell Way, LLC    iCap Delridge Way, LLC
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period    Sum of Current Period      Sum of Current Period     Sum of Current Period     Sum of Current Period     Sum of Current Period     Sum of Current Period
                                                                  2610-NAV Discount                                                            $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  2700-Deferred Investment Deposit                                             $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                            Subtotal                                                                                                     -$11,521.68              -$712,027.00                      $0.00                     $0.00                -$2,173.28                   -$32.34                      $0.00
                            Owners Equity                         3060-Current Year Earnings                                                   $0.00                      $0.00              -$104,921.14             $1,508,392.34                    $88.64                 $8,292.72               -$103,878.78
                                                                  3100-Additional Paid in Capital                                              $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00




Doc 469
                                                                  3200-Members Equity                                                          $0.00                   $975.95                -$14,848.21               -$48,967.56                     $0.00                -$7,813.83                      $0.00
                                                                  3210-iCap Pacific NW Opportunity & Income Fund, LLC                     $72,187.78                      $0.00                     $0.00                     $0.00                     $0.00             -$888,869.70                 $103,878.78
                                                                  3220-iCap Northwest Opportunity Fund, LLC                                    $0.00            -$6,508,544.73                      $0.00                     $0.00            -$1,092,225.59                     $0.00                      $0.00
                                                                  3230-iCap EVO, LLC                                                           $0.00                      $0.00                     $0.00                     $0.00               -$46,927.00                     $0.00                      $0.00
                                                                  3240-iCap B2, LLC                                                            $0.00                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  3250-AUM Sponsor Capital                                                     $0.00            -$1,285,340.00                      $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  3260-iCap Pacific Income Fund 4R, LLC                               -$1,677,466.53                      $0.00                     $0.00                     $0.00                     $0.00                     $0.00                      $0.00
                                                                  3300-Members Contribution                                                    $0.00                      $0.00                     $0.00            -$2,055,303.88                     $0.00                     $0.00                      $0.00
                                                                  3400-Members Draw                                                            $0.00                      $0.00                     $0.00                 $5,000.00                     $0.00                     $0.00                      $0.00
                            Subtotal                                                                                                  -$1,605,278.75            -$7,792,908.78               -$119,769.35              -$590,879.10            -$1,139,063.95             -$888,390.81                       $0.00




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                                                                                                                                                                                                                                                                      Exhibit 1, Page 611
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


                            Filtered By
                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




23-01243-WLH11
                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї iCap Enterprises, Inc.       iCap Equity, LLC           iCap Equity Real Estate Fund I, LLC         iCap EVO, LLC            iCap Finn Hill, LLC         iCap Finn Meadows, LLC    iCap Investments, LLC
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period        Sum of Current Period      Sum of Current Period                       Sum of Current Period    Sum of Current Period       Sum of Current Period     Sum of Current Period
                            Assets                                1000-Checking: Umpqua                                                      $5,246.27              $1,989,980.03                                         $0.00                 $545.01                   $10,224.98                     $0.00                 $899.59
                                                                  1010-Checking: Chase Bank                                                        $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1012-Checking: Wells Fargo                                                       $0.00                  $1,000.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1015-Checking: Seaside Bank                                                      $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1020-Checking: Sponor Account                                                    $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00




Doc 469
                                                                  1050-Unapplied Cash                                                              $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1051-Reinvestment Clearing Account                                               $0.00                     -$0.01                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1060-Checking: East West Bank                                                    $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1100-Accounts Receivable                                                         $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1200-iCap Vault, LLC                                                             $0.00               $168,912.01                                        $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1210-iCap Enterprises, Inc.                                                      $0.00               $727,684.99                                        $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1220-iCap PNW Fund 1R                                                            $0.00            $3,443,560.48                                         $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1225-iCap NW Fund 2R                                                             $0.00               $174,764.47                                        $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1226-iCap Pacific Income Fund 5R                                                 $0.00                $14,957.70                                        $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1227-iCapPacific Income Fund 6R                                                  $0.00                $29,553.33                                        $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1228-iCap EVO, LLC                                                               $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00




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                                                                  1229-iCap PNW Fund 2i                                                            $0.00                   $125.00                                        $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1230-iCap Equity, LLC                                                   -$727,684.99                        $0.00                                  -$1,969.25                    $0.00                       $0.00                     $0.00             -$240,680.50
                                                                  1231-iCap China Office                                                           $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1235-iCap Pacific Income Fund 4R                                                 $0.00                $60,502.06                                        $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1240-Oceanaire, LLC                                                      -$43,320.33              $1,162,059.01                                         $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1250-iCap Management, LLC                                                        $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1251-iCap Equity Real Estate Fund I, LLC                                 $204,446.12                    $1,969.25                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1252-iCap Investments, LLC                                                       $0.00               $240,680.50                                        $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1255-Suite 500 Company, Inc.                                                     $0.00                   $235.50                                        $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1256-Altius Legal, LLC                                                           $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1260-Edge Construction, LLC                                               -$2,000.00                  $51,643.33                                        $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1270-iCap PNW Management, LLC                                            -$46,174.26                 -$14,273.05                                        $0.00               -$1,920.25                       $0.00                     $0.00             -$155,000.00
                                                                  1280-iCap B1, LLC                                                                $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1285-iCap B2, LLC                                                                $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1290-Chris Christensen                                                   $100,000.00                    $1,057.92                                       $0.00                    $0.00                       $0.00                     $0.00              $829,000.00
                                                                  1300-Property & Equipment                                                        $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1310-Furniture                                                                $604.13                       $0.00                                   $3,933.93                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1320-Computers & Software                                                        $0.00                $10,556.78                                        $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1330-Automobiles                                                                 $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1340-Buildings & Improvements                                                    $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00




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                                                                  1350-Work in Progress                                                            $0.00                      $0.00                                       $0.00                    $0.00                     $189.88                     $0.00                     $0.00
                                                                  1355-Capitalized Interest                                                        $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1360-Land                                                                        $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1365-Land Development                                                            $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1370-Tenant Improvements                                                         $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1380-Intangible Assets - Branding                                                $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1381-Intangible Assets - Loan Costs                                              $0.00                      $0.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1385-Accumulated Depreciation                                                -$604.13                -$10,556.78                                   -$3,933.93                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  1390-Organizational Costs                                                        $0.00                      $0.00                                 $40,085.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  1391-Start Up Costs                                                              $0.00                      $0.00                                 $79,995.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  1395-Accumulated Amortization                                                    $0.00                      $0.00                                -$27,074.00                     $0.00                       $0.00                     $0.00                     $0.00




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                                                                  1400-Equity Investments                                                          $0.00                    -$49.00                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00




                                                                                                                                                                                                                                                                                     Exhibit 1, Page 612
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


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                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




23-01243-WLH11
                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї iCap Enterprises, Inc.       iCap Equity, LLC          iCap Equity Real Estate Fund I, LLC        iCap EVO, LLC             iCap Finn Hill, LLC         iCap Finn Meadows, LLC    iCap Investments, LLC
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period        Sum of Current Period     Sum of Current Period                      Sum of Current Period     Sum of Current Period       Sum of Current Period     Sum of Current Period
                                                                  1500-Investment in Project                                                       $0.00               $501,693.50                                      $0.00            $3,154,072.00                        $0.00                     $0.00                     $0.00
                                                                  1510-Payoff from Project                                                         $0.00                     $0.00                                      $0.00           -$1,955,200.00                        $0.00                     $0.00                     $0.00
                                                                  1520-Basis Adjustment: Allocated Costs                                           $0.00                     $0.00                                      $0.00            $1,199,247.45                        $0.00                     $0.00                     $0.00
                                                                  1530-Income/Loss Allocation                                                      $0.00                     $0.00                                      $0.00           -$1,783,034.54                        $0.00                     $0.00                     $0.00
                                                                  1600-Commissions                                                                 $0.00            $1,051,500.49                                       $0.00                $85,800.00                       $0.00                     $0.00                     $0.00




Doc 469
                                                                  1610-Debt Issuance Costs                                                         $0.00                     $0.00                                      $0.00                $31,735.00                       $0.00                     $0.00                     $0.00
                                                                  1620-Management Fees                                                             $0.00                     $0.00                                      $0.00                $57,200.00                       $0.00                     $0.00                     $0.00
                                                                  1630-Investor Interest                                                           $0.00            $2,224,438.75                                       $0.00              $993,444.45                        $0.00                     $0.00                     $0.00
                                                                  1700-A/A: Commissions                                                            $0.00                     $0.00                                      $0.00               -$85,800.00                       $0.00                     $0.00                     $0.00
                                                                  1710-A/A: Debt Issuance Costs                                                    $0.00                     $0.00                                      $0.00               -$31,735.00                       $0.00                     $0.00                     $0.00
                                                                  1720-A/A: Management Fees                                                        $0.00                     $0.00                                      $0.00               -$57,200.00                       $0.00                     $0.00                     $0.00
                                                                  1730-A/A: Investor Interest                                                      $0.00                     $0.00                                      $0.00             -$993,444.45                        $0.00                     $0.00                     $0.00
                                                                  1740-A/A: NAV Discount                                                           $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  1800-Prepaid Expenses                                                            $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  1810-Employee Loan Receivable                                                    $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  1820-Security Deposit                                                            $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00




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                                                                  1840-Escrow Deposit                                                              $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  1900-Note Receivable                                                             $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                            Subtotal                                                                                                      -$509,487.19             $11,831,996.26                                  $91,036.75              $613,709.67                   $10,414.86                     $0.00              $434,219.09
                            Liabilities                           2000-Accounts Payable                                                            $0.00              -$166,483.89                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2010-Investor Interest Payable                                                   $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2100-Accrued Expenses                                                            $0.00                -$1,165.03                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2300-Loan from Sponsor                                                           $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2350-Escrow Deposit                                                              $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2450-Profit Sharing Plan Payable                                                 $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2500-Note Payable: Alliant                                                       $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2501-Note Payable: SJ Fox Ridge, LLC                                     -$23,105.78                       $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2502-Note Payable: Bob Walsh                                                     $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2503-Note Payable: T&L One, LLC                                         -$226,682.77                       $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2504-Note Payable: Grogan/Blair                                         -$112,844.36                       $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2505-Note Payable: Claus Mueller                                                 $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2506-Note Payable: Yi Shan                                                       $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00             -$127,062.90
                                                                  2507-Note Payable: Eric Fu & Ying Wu                                             $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00             -$101,600.00
                                                                  2508-Note Payable: Weifan Peng                                                   $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00              -$50,791.67
                                                                  2509-Note Payable: Qing Wu                                                       $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00              -$30,319.35
                                                                  2511-Note Payable: Eastside Fund, LLC                                            $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00




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                                                                  2512-Note Payable: Mike Gould                                                    $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2513-Note Payable: Gould Trust                                                   $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2515-Note Payable: SPS                                                           $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2516-Note Payable: Caifeng Yu                                                    $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00              -$20,038.71
                                                                  2520-Note Payable: David Straz Jr.                                               $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2530-Note Payable: Titan Securities                                              $0.00                     $0.00                                      $0.00           -$1,976,244.45                        $0.00                     $0.00                     $0.00
                                                                  2550-Note Payable: Loan on Project                                               $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2551-Note Payable: Construction Holdback                                         $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2552-Note Payable: Interest Reserve                                              $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2553-Construction Holdback Clearing Account                                      $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00
                                                                  2555-Note Payable: Loan on Project                                               $0.00                     $0.00                                      $0.00                     $0.00                       $0.00                     $0.00                     $0.00




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                                                                  2600-Debentures Payable                                                          $0.00          -$18,723,212.78                               -$187,908.43                      $0.00                       $0.00                     $0.00                     $0.00




                                                                                                                                                                                                                                                                                     Exhibit 1, Page 613
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


                            Filtered By
                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




23-01243-WLH11
                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї iCap Enterprises, Inc.       iCap Equity, LLC          iCap Equity Real Estate Fund I, LLC        iCap EVO, LLC            iCap Finn Hill, LLC         iCap Finn Meadows, LLC    iCap Investments, LLC
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period        Sum of Current Period     Sum of Current Period                      Sum of Current Period    Sum of Current Period       Sum of Current Period     Sum of Current Period
                                                                  2610-NAV Discount                                                                $0.00               $139,728.00                                      $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  2700-Deferred Investment Deposit                                                 $0.00                     $0.00                                      $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                            Subtotal                                                                                                      -$362,632.91            -$18,751,133.70                               -$187,908.43            -$1,976,244.45                       $0.00                     $0.00             -$329,812.63
                            Owners Equity                         3060-Current Year Earnings                                               $660,821.52              $1,084,851.16                                $182,838.21                  $107.00                   $28,495.75                     $0.00                     $0.00
                                                                  3100-Additional Paid in Capital                                          -$11,800.00                       $0.00                                      $0.00                    $0.00                       $0.00                     $0.00                     $0.00




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                                                                  3200-Members Equity                                                      $391,173.46                -$274,147.54                                -$21,935.78                    $0.00                       $0.00                     $0.00                 -$100.00
                                                                  3210-iCap Pacific NW Opportunity & Income Fund, LLC                              $0.00                     $0.00                                      $0.00                    $0.00              -$746,910.41                       $0.00                     $0.00
                                                                  3220-iCap Northwest Opportunity Fund, LLC                                        $0.00                     $0.00                                      $0.00                    $0.00              -$353,565.31                -$252,259.06                     $0.00
                                                                  3230-iCap EVO, LLC                                                               $0.00                     $0.00                                      $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  3240-iCap B2, LLC                                                                $0.00                     $0.00                                      $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  3250-AUM Sponsor Capital                                                         $0.00                     $0.00                                      $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  3260-iCap Pacific Income Fund 4R, LLC                                            $0.00                     $0.00                                      $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  3300-Members Contribution                                               -$116,446.12                -$180,000.00                                -$66,000.00                    $0.00                       $0.00                     $0.00                     $0.00
                                                                  3400-Members Draw                                                                $0.00            $2,235,898.81                                       $0.00                    $0.00                       $0.00                     $0.00                     $0.00
                            Subtotal                                                                                                       $923,748.86              $2,866,602.43                                  $94,902.43                 $107.00             -$1,071,979.97                -$252,259.06                 -$100.00




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                                                                                                                                                                                                                                                                                    Exhibit 1, Page 614
                            Balance Sheet by Entity by Period
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                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




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                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї iCap Lake View, LLC       iCap Management, LLC     iCap Northcreek, LLC     iCap Northwest Opportunity Fund, LLC     iCap Pacific Income Fund 4, LLC       iCap Pacific Income Fund 5, LLC
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period     Sum of Current Period    Sum of Current Period    Sum of Current Period                    Sum of Current Period                 Sum of Current Period
                            Assets                                1000-Checking: Umpqua                                                         $0.00                   $33.32                    $0.00                              $748,120.77                        $3,313,586.85                         $1,545,490.49
                                                                  1010-Checking: Chase Bank                                                     $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1012-Checking: Wells Fargo                                                    $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1015-Checking: Seaside Bank                                                   $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                         $109,092.56
                                                                  1020-Checking: Sponor Account                                                 $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00




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                                                                  1050-Unapplied Cash                                                           $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1051-Reinvestment Clearing Account                                            $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1060-Checking: East West Bank                                                 $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1100-Accounts Receivable                                                      $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1200-iCap Vault, LLC                                                          $0.00                    $0.00                    $0.00                                $2,145.10                                 $0.00                           -$7,057.50
                                                                  1210-iCap Enterprises, Inc.                                                   $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1220-iCap PNW Fund 1R                                                         $0.00                    $0.00                    $0.00                                   $14.74                                 $0.00                                 $0.00
                                                                  1225-iCap NW Fund 2R                                                          $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1226-iCap Pacific Income Fund 5R                                              $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1227-iCapPacific Income Fund 6R                                               $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1228-iCap EVO, LLC                                                            $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00




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                                                                  1229-iCap PNW Fund 2i                                                         $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1230-iCap Equity, LLC                                                         $0.00                    $0.00                    $0.00                             -$166,065.53                          -$60,502.04                           -$15,167.71
                                                                  1231-iCap China Office                                                        $0.00                    $0.00                    $0.00                                    $0.00                         $134,912.89                                   $0.00
                                                                  1235-iCap Pacific Income Fund 4R                                              $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1240-Oceanaire, LLC                                                           $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1250-iCap Management, LLC                                                     $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1251-iCap Equity Real Estate Fund I, LLC                                      $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1252-iCap Investments, LLC                                                    $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1255-Suite 500 Company, Inc.                                                  $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1256-Altius Legal, LLC                                                        $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1260-Edge Construction, LLC                                                   $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1270-iCap PNW Management, LLC                                                 $0.00                    $0.00                    $0.00                              -$45,600.84                          -$77,782.50                            -$2,189.30
                                                                  1280-iCap B1, LLC                                                             $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1285-iCap B2, LLC                                                             $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1290-Chris Christensen                                                        $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1300-Property & Equipment                                                     $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1310-Furniture                                                                $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1320-Computers & Software                                                     $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1330-Automobiles                                                              $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1340-Buildings & Improvements                                                 $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00




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                                                                  1350-Work in Progress                                                         $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1355-Capitalized Interest                                                     $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1360-Land                                                                     $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1365-Land Development                                                         $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1370-Tenant Improvements                                                      $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1380-Intangible Assets - Branding                                             $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1381-Intangible Assets - Loan Costs                                           $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1385-Accumulated Depreciation                                                 $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1390-Organizational Costs                                                     $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1391-Start Up Costs                                                           $0.00                    $0.00                    $0.00                               $21,667.56                           $27,042.50                            $77,628.28
                                                                  1395-Accumulated Amortization                                                 $0.00                    $0.00                    $0.00                               -$6,861.64                                 $0.00                                 $0.00




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                                                                  1400-Equity Investments                                                       $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00




                                                                                                                                                                                                                                                                             Exhibit 1, Page 615
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


                            Filtered By
                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




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                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї iCap Lake View, LLC       iCap Management, LLC     iCap Northcreek, LLC     iCap Northwest Opportunity Fund, LLC     iCap Pacific Income Fund 4, LLC       iCap Pacific Income Fund 5, LLC
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period     Sum of Current Period    Sum of Current Period    Sum of Current Period                    Sum of Current Period                 Sum of Current Period
                                                                  1500-Investment in Project                                                    $0.00                    $0.00                    $0.00                           $48,939,138.38                        $4,489,228.77                                  $0.00
                                                                  1510-Payoff from Project                                                      $0.00                    $0.00                    $0.00                          -$35,492,245.62                                 $0.00                                 $0.00
                                                                  1520-Basis Adjustment: Allocated Costs                                        $0.00                    $0.00                    $0.00                           $31,619,787.81                                 $0.00                                 $0.00
                                                                  1530-Income/Loss Allocation                                                   $0.00                    $0.00                    $0.00                          -$19,705,854.20                                 $0.00                                 $0.00
                                                                  1600-Commissions                                                              $0.00                    $0.00                    $0.00                            $5,476,347.74                         $691,835.30                           $153,646.48




Doc 469
                                                                  1610-Debt Issuance Costs                                                      $0.00                    $0.00                    $0.00                               $30,000.00                                 $0.00                                 $0.00
                                                                  1620-Management Fees                                                          $0.00                    $0.00                    $0.00                            $3,915,573.58                         $182,098.82                                   $0.00
                                                                  1630-Investor Interest                                                        $0.00                    $0.00                    $0.00                           $20,322,901.05                         $430,377.12                             $27,171.41
                                                                  1700-A/A: Commissions                                                         $0.00                    $0.00                    $0.00                           -$5,476,347.74                                 $0.00                                 $0.00
                                                                  1710-A/A: Debt Issuance Costs                                                 $0.00                    $0.00                    $0.00                              -$30,000.00                                 $0.00                                 $0.00
                                                                  1720-A/A: Management Fees                                                     $0.00                    $0.00                    $0.00                           -$3,915,573.58                                 $0.00                                 $0.00
                                                                  1730-A/A: Investor Interest                                                   $0.00                    $0.00                    $0.00                          -$20,322,901.05                                 $0.00                                 $0.00
                                                                  1740-A/A: NAV Discount                                                        $0.00                    $0.00                    $0.00                             -$627,653.49                                 $0.00                                 $0.00
                                                                  1800-Prepaid Expenses                                                         $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1810-Employee Loan Receivable                                                 $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  1820-Security Deposit                                                         $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00




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                                                                  1840-Escrow Deposit                                                           $0.00                    $0.00                    $0.00                            $1,800,000.00                                 $0.00                                 $0.00
                                                                  1900-Note Receivable                                                          $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                            Subtotal                                                                                                            $0.00                   $33.32                    $0.00                           $27,086,593.04                        $9,130,797.71                         $1,888,614.71
                            Liabilities                           2000-Accounts Payable                                                         $0.00                    $0.00                    $0.00                             -$473,217.99                          -$99,378.29                           -$15,955.44
                                                                  2010-Investor Interest Payable                                                $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2100-Accrued Expenses                                                         $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2300-Loan from Sponsor                                                        $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2350-Escrow Deposit                                                           $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2450-Profit Sharing Plan Payable                                              $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2500-Note Payable: Alliant                                                    $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2501-Note Payable: SJ Fox Ridge, LLC                                          $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2502-Note Payable: Bob Walsh                                                  $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2503-Note Payable: T&L One, LLC                                               $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2504-Note Payable: Grogan/Blair                                               $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2505-Note Payable: Claus Mueller                                              $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2506-Note Payable: Yi Shan                                                    $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2507-Note Payable: Eric Fu & Ying Wu                                          $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2508-Note Payable: Weifan Peng                                                $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2509-Note Payable: Qing Wu                                                    $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2511-Note Payable: Eastside Fund, LLC                                         $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00




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                                                                  2512-Note Payable: Mike Gould                                                 $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2513-Note Payable: Gould Trust                                                $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2515-Note Payable: SPS                                                        $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2516-Note Payable: Caifeng Yu                                                 $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2520-Note Payable: David Straz Jr.                                            $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2530-Note Payable: Titan Securities                                           $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2550-Note Payable: Loan on Project                                            $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2551-Note Payable: Construction Holdback                                      $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2552-Note Payable: Interest Reserve                                           $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2553-Construction Holdback Clearing Account                                   $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  2555-Note Payable: Loan on Project                                            $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00




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                                                                  2600-Debentures Payable                                                       $0.00                    $0.00                    $0.00                          -$46,783,563.77                       -$9,200,998.82                        -$1,933,726.34




                                                                                                                                                                                                                                                                             Exhibit 1, Page 616
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


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                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




23-01243-WLH11
                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї iCap Lake View, LLC       iCap Management, LLC     iCap Northcreek, LLC     iCap Northwest Opportunity Fund, LLC     iCap Pacific Income Fund 4, LLC       iCap Pacific Income Fund 5, LLC
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period     Sum of Current Period    Sum of Current Period    Sum of Current Period                    Sum of Current Period                 Sum of Current Period
                                                                  2610-NAV Discount                                                             $0.00                    $0.00                    $0.00                              $627,653.49                           $15,700.00                            $24,255.32
                                                                  2700-Deferred Investment Deposit                                              $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                            Subtotal                                                                                                            $0.00                    $0.00                    $0.00                          -$46,629,128.27                       -$9,284,677.11                        -$1,925,426.46
                            Owners Equity                         3060-Current Year Earnings                                                 $115.00               $138,451.84                    $0.00                            $1,442,084.58                                 $0.00                                 $0.00
                                                                  3100-Additional Paid in Capital                                               $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00




Doc 469
                                                                  3200-Members Equity                                                           $0.00             -$138,484.25                    $0.00                             -$168,215.31                                 $0.00                                 $0.00
                                                                  3210-iCap Pacific NW Opportunity & Income Fund, LLC                           $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  3220-iCap Northwest Opportunity Fund, LLC                             -$580,654.21                     $0.00             -$614,717.70                                    $0.00                                 $0.00                                 $0.00
                                                                  3230-iCap EVO, LLC                                                    -$729,945.00                     $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  3240-iCap B2, LLC                                                             $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  3250-AUM Sponsor Capital                                                      $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  3260-iCap Pacific Income Fund 4R, LLC                                         $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                                                                  3300-Members Contribution                                                     $0.00                    $0.00                    $0.00                                    $0.00                              -$100.00                                 $0.00
                                                                  3400-Members Draw                                                             $0.00                    $0.00                    $0.00                                    $0.00                                 $0.00                                 $0.00
                            Subtotal                                                                                                  -$1,310,484.21                   -$32.41             -$614,717.70                            $1,273,869.27                              -$100.00                                 $0.00




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                                                                                                                                                                                                                                                                             Exhibit 1, Page 617
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


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                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




23-01243-WLH11
                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї iCap Pacific Income Fund 6, LLC       iCap Pacific Northwest Opportunity & Income Fund, LLC        iCap Pacific NW Management, LLC     iCap PNW Opportunity & Income Fund 2i, LLC
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period                 Sum of Current Period                                        Sum of Current Period               Sum of Current Period
                            Assets                                1000-Checking: Umpqua                                                                     $0.00                                                 $333,915.44                           $21,290.51                                         $85.02
                                                                  1010-Checking: Chase Bank                                                                 $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1012-Checking: Wells Fargo                                                                $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1015-Checking: Seaside Bank                                                               $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1020-Checking: Sponor Account                                                             $0.00                                                        $0.00                               $0.00                                          $0.00




Doc 469
                                                                  1050-Unapplied Cash                                                                       $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1051-Reinvestment Clearing Account                                                        $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1060-Checking: East West Bank                                                             $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1100-Accounts Receivable                                                                  $0.00                                                        $0.00                           $2,090.00                                          $0.00
                                                                  1200-iCap Vault, LLC                                                                      $0.00                                                     -$190.60                          $88,749.97                                          $0.00
                                                                  1210-iCap Enterprises, Inc.                                                               $0.00                                                        $0.00                          $46,174.26                                          $0.00
                                                                  1220-iCap PNW Fund 1R                                                                     $0.00                                                        $0.00                       $2,069,054.06                                          $0.00
                                                                  1225-iCap NW Fund 2R                                                                      $0.00                                                      -$14.74                          $45,600.81                                          $0.00
                                                                  1226-iCap Pacific Income Fund 5R                                                          $0.00                                                        $0.00                          $16,304.38                                          $0.00
                                                                  1227-iCapPacific Income Fund 6R                                                           $0.00                                                        $0.00                            $200.00                                           $0.00
                                                                  1228-iCap EVO, LLC                                                                        $0.00                                                        $0.00                           $1,920.25                                          $0.00




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                                                                  1229-iCap PNW Fund 2i                                                                     $0.00                                                        $0.00                           $5,727.08                                          $0.00
                                                                  1230-iCap Equity, LLC                                                              -$29,553.33                                                -$3,443,560.46                          $14,272.41                                       -$125.00
                                                                  1231-iCap China Office                                                                    $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1235-iCap Pacific Income Fund 4R                                                          $0.00                                                        $0.00                          $77,781.91                                          $0.00
                                                                  1240-Oceanaire, LLC                                                                       $0.00                                                        $0.00                         $696,565.05                                          $0.00
                                                                  1250-iCap Management, LLC                                                                 $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1251-iCap Equity Real Estate Fund I, LLC                                                  $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1252-iCap Investments, LLC                                                                $0.00                                                        $0.00                         $155,000.00                                          $0.00
                                                                  1255-Suite 500 Company, Inc.                                                              $0.00                                                        $0.00                            $145.56                                           $0.00
                                                                  1256-Altius Legal, LLC                                                                    $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1260-Edge Construction, LLC                                                               $0.00                                                        $0.00                            $113.08                                           $0.00
                                                                  1270-iCap PNW Management, LLC                                                          -$200.00                                               -$2,069,054.06                               $0.00                                    -$5,727.08
                                                                  1280-iCap B1, LLC                                                                         $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1285-iCap B2, LLC                                                                         $0.00                                                        $0.00                         $441,284.77                                          $0.00
                                                                  1290-Chris Christensen                                                                    $0.00                                                        $0.00                         $211,945.92                                          $0.00
                                                                  1300-Property & Equipment                                                                 $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1310-Furniture                                                                            $0.00                                                        $0.00                          $87,456.60                                          $0.00
                                                                  1320-Computers & Software                                                                 $0.00                                                        $0.00                          $16,200.69                                          $0.00
                                                                  1330-Automobiles                                                                          $0.00                                                        $0.00                          $93,758.77                                          $0.00
                                                                  1340-Buildings & Improvements                                                             $0.00                                                        $0.00                               $0.00                                          $0.00




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                                                                  1350-Work in Progress                                                                     $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1355-Capitalized Interest                                                                 $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1360-Land                                                                                 $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1365-Land Development                                                                     $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1370-Tenant Improvements                                                                  $0.00                                                        $0.00                          $54,888.65                                          $0.00
                                                                  1380-Intangible Assets - Branding                                                         $0.00                                                        $0.00                          $37,748.38                                          $0.00
                                                                  1381-Intangible Assets - Loan Costs                                                       $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1385-Accumulated Depreciation                                                             $0.00                                                        $0.00                        -$180,153.00                                          $0.00
                                                                  1390-Organizational Costs                                                                 $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1391-Start Up Costs                                                                 $26,845.83                                                    $53,962.77                               $0.00                                          $0.00
                                                                  1395-Accumulated Amortization                                                             $0.00                                                  -$21,884.71                               $0.00                                          $0.00




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                                                                  1400-Equity Investments                                                                   $0.00                                                        $0.00                               $0.00                                          $0.00




                                                                                                                                                                                                                                                                       Exhibit 1, Page 618
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


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                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




23-01243-WLH11
                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї iCap Pacific Income Fund 6, LLC       iCap Pacific Northwest Opportunity & Income Fund, LLC        iCap Pacific NW Management, LLC     iCap PNW Opportunity & Income Fund 2i, LLC
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period                 Sum of Current Period                                        Sum of Current Period               Sum of Current Period
                                                                  1500-Investment in Project                                                                $0.00                                               $47,330,145.68                               $0.00                                          $0.00
                                                                  1510-Payoff from Project                                                                  $0.00                                              -$45,694,321.13                               $0.00                                          $0.00
                                                                  1520-Basis Adjustment: Allocated Costs                                                    $0.00                                               $39,437,394.52                               $0.00                                          $0.00
                                                                  1530-Income/Loss Allocation                                                               $0.00                                              -$18,817,974.15                               $0.00                                          $0.00
                                                                  1600-Commissions                                                                          $0.00                                                $5,161,820.31                               $0.00                                          $0.00




Doc 469
                                                                  1610-Debt Issuance Costs                                                                  $0.00                                                  $206,246.14                               $0.00                                          $0.00
                                                                  1620-Management Fees                                                                      $0.00                                                $4,445,773.23                               $0.00                                          $0.00
                                                                  1630-Investor Interest                                                                    $0.00                                               $26,865,287.03                               $0.00                                          $0.00
                                                                  1700-A/A: Commissions                                                                     $0.00                                               -$5,161,820.31                               $0.00                                          $0.00
                                                                  1710-A/A: Debt Issuance Costs                                                             $0.00                                                 -$206,246.14                               $0.00                                          $0.00
                                                                  1720-A/A: Management Fees                                                                 $0.00                                               -$4,445,773.23                               $0.00                                          $0.00
                                                                  1730-A/A: Investor Interest                                                               $0.00                                              -$26,865,287.03                               $0.00                                          $0.00
                                                                  1740-A/A: NAV Discount                                                                    $0.00                                                 -$843,456.15                               $0.00                                          $0.00
                                                                  1800-Prepaid Expenses                                                                     $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1810-Employee Loan Receivable                                                             $0.00                                                        $0.00                            $641.16                                           $0.00
                                                                  1820-Security Deposit                                                                     $0.00                                                        $0.00                          $49,080.01                                          $0.00




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                                                                  1840-Escrow Deposit                                                                       $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  1900-Note Receivable                                                                      $0.00                                                        $0.00                               $0.00                                          $0.00
                            Subtotal                                                                                                                  -$2,907.50                                                $16,264,962.41                       $4,053,841.28                                    -$5,767.06
                            Liabilities                           2000-Accounts Payable                                                                     $0.00                                                 -$409,406.29                            $806.15                                           $0.00
                                                                  2010-Investor Interest Payable                                                            $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2100-Accrued Expenses                                                                     $0.00                                                        $0.00                          -$6,582.92                                          $0.00
                                                                  2300-Loan from Sponsor                                                                    $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2350-Escrow Deposit                                                                       $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2450-Profit Sharing Plan Payable                                                          $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2500-Note Payable: Alliant                                                                $0.00                                                        $0.00                         -$36,058.91                                          $0.00
                                                                  2501-Note Payable: SJ Fox Ridge, LLC                                                      $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2502-Note Payable: Bob Walsh                                                              $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2503-Note Payable: T&L One, LLC                                                           $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2504-Note Payable: Grogan/Blair                                                           $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2505-Note Payable: Claus Mueller                                                          $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2506-Note Payable: Yi Shan                                                                $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2507-Note Payable: Eric Fu & Ying Wu                                                      $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2508-Note Payable: Weifan Peng                                                            $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2509-Note Payable: Qing Wu                                                                $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2511-Note Payable: Eastside Fund, LLC                                                     $0.00                                                        $0.00                               $0.00                                          $0.00




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                                                                  2512-Note Payable: Mike Gould                                                             $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2513-Note Payable: Gould Trust                                                            $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2515-Note Payable: SPS                                                                    $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2516-Note Payable: Caifeng Yu                                                             $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2520-Note Payable: David Straz Jr.                                                        $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2530-Note Payable: Titan Securities                                                       $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2550-Note Payable: Loan on Project                                                        $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2551-Note Payable: Construction Holdback                                                  $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2552-Note Payable: Interest Reserve                                                       $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2553-Construction Holdback Clearing Account                                               $0.00                                                        $0.00                               $0.00                                          $0.00
                                                                  2555-Note Payable: Loan on Project                                                        $0.00                                                        $0.00                               $0.00                                          $0.00




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                                                                  2600-Debentures Payable                                                                   $0.00                                              -$36,483,754.90                               $0.00                                          $0.00




                                                                                                                                                                                                                                                                       Exhibit 1, Page 619
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


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                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




23-01243-WLH11
                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї iCap Pacific Income Fund 6, LLC       iCap Pacific Northwest Opportunity & Income Fund, LLC        iCap Pacific NW Management, LLC      iCap PNW Opportunity & Income Fund 2i, LLC
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period                 Sum of Current Period                                        Sum of Current Period                Sum of Current Period
                                                                  2610-NAV Discount                                                                         $0.00                                                 $843,456.15                                 $0.00                                          $0.00
                                                                  2700-Deferred Investment Deposit                                                          $0.00                                                        $0.00                                $0.00                                          $0.00
                            Subtotal                                                                                                                        $0.00                                              -$36,049,705.04                          -$41,835.68                                          $0.00
                            Owners Equity                         3060-Current Year Earnings                                                                $0.00                                                $2,025,332.93                       -$4,031,617.13                                          $0.00
                                                                  3100-Additional Paid in Capital                                                           $0.00                                                        $0.00                                $0.00                                          $0.00




Doc 469
                                                                  3200-Members Equity                                                                       $0.00                                                 $259,669.63                         $2,793,749.99                                          $0.00
                                                                  3210-iCap Pacific NW Opportunity & Income Fund, LLC                                       $0.00                                                        $0.00                                $0.00                                          $0.00
                                                                  3220-iCap Northwest Opportunity Fund, LLC                                                 $0.00                                                        $0.00                                $0.00                                          $0.00
                                                                  3230-iCap EVO, LLC                                                                        $0.00                                                        $0.00                                $0.00                                          $0.00
                                                                  3240-iCap B2, LLC                                                                         $0.00                                                        $0.00                                $0.00                                          $0.00
                                                                  3250-AUM Sponsor Capital                                                                  $0.00                                                        $0.00                                $0.00                                          $0.00
                                                                  3260-iCap Pacific Income Fund 4R, LLC                                                     $0.00                                                        $0.00                                $0.00                                          $0.00
                                                                  3300-Members Contribution                                                                 $0.00                                                        $0.00                                $0.00                                        -$85.02
                                                                  3400-Members Draw                                                                         $0.00                                                    $3,504.06                            $4,727.00                                          $0.00
                            Subtotal                                                                                                                        $0.00                                                $2,288,506.62                       -$1,233,140.14                                        -$85.02




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                                                                                                                                                                                                                                                                        Exhibit 1, Page 620
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


                            Filtered By
                            Show: All financial cubes
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                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
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23-01243-WLH11
                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї iCap Rhody Ridge, LLC     iCap Steadman 170th, LLC    iCap Vault I, LLC          Oceanaire, LLC           Senza Kenmore, LLC       Senza Sammamish, LLC Subtotal
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period     Sum of Current Period       Sum of Current Period      Sum of Current Period    Sum of Current Period    Sum of Current Period    Sum of Current Period
                            Assets                                1000-Checking: Umpqua                                                         $0.00                       $0.00                $841,759.05                $2,729.73                 $100.01                     $0.00            $8,824,611.14
                                                                  1010-Checking: Chase Bank                                                     $0.00                       $0.00                      $0.00                 $141.06                     $0.00                    $0.00                 $141.06
                                                                  1012-Checking: Wells Fargo                                                    $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00                $1,000.00
                                                                  1015-Checking: Seaside Bank                                                   $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00              $109,092.56
                                                                  1020-Checking: Sponor Account                                                 $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00                 $674.86




Doc 469
                                                                  1050-Unapplied Cash                                                           $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00                    $0.00
                                                                  1051-Reinvestment Clearing Account                                            $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00                   -$0.01
                                                                  1060-Checking: East West Bank                                                 $0.00                       $0.00                 $82,553.98                    $0.00                    $0.00                    $0.00               $82,553.98
                                                                  1100-Accounts Receivable                                                      $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00                $2,090.00
                                                                  1200-iCap Vault, LLC                                                          $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00              $252,558.98
                                                                  1210-iCap Enterprises, Inc.                                                   $0.00                       $0.00                      $0.00               $43,320.33                    $0.00                    $0.00              $817,179.58
                                                                  1220-iCap PNW Fund 1R                                                         $0.00                       $0.00                   $190.60                     $0.00                    $0.00                    $0.00            $5,512,819.88
                                                                  1225-iCap NW Fund 2R                                                          $0.00                       $0.00                 -$2,145.00                    $0.00                    $0.00                    $0.00              $218,205.54
                                                                  1226-iCap Pacific Income Fund 5R                                              $0.00                       $0.00                  $7,057.50                    $0.00                    $0.00                    $0.00               $38,319.58
                                                                  1227-iCapPacific Income Fund 6R                                               $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00               $29,753.33
                                                                  1228-iCap EVO, LLC                                                            $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00                $1,920.25




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                                                                  1229-iCap PNW Fund 2i                                                         $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00                $5,852.08
                                                                  1230-iCap Equity, LLC                                                         $0.00                       $0.00               -$168,912.00           -$1,162,059.01                    $0.00                    $0.00           -$6,002,007.41
                                                                  1231-iCap China Office                                                        $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00              $134,912.89
                                                                  1235-iCap Pacific Income Fund 4R                                              $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00              $138,283.97
                                                                  1240-Oceanaire, LLC                                                           $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00            $1,815,303.73
                                                                  1250-iCap Management, LLC                                                     $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00                    $0.00
                                                                  1251-iCap Equity Real Estate Fund I, LLC                                      $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00              $206,415.37
                                                                  1252-iCap Investments, LLC                                                    $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00              $395,680.50
                                                                  1255-Suite 500 Company, Inc.                                                  $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00                 $381.06
                                                                  1256-Altius Legal, LLC                                                        $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00                    $0.00
                                                                  1260-Edge Construction, LLC                                                   $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00               $49,756.41
                                                                  1270-iCap PNW Management, LLC                                                 $0.00                       $0.00                -$88,746.07             -$696,565.05                    $0.00                    $0.00           -$3,644,517.23
                                                                  1280-iCap B1, LLC                                                             $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00             -$119,769.35
                                                                  1285-iCap B2, LLC                                                             $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00              $561,054.12
                                                                  1290-Chris Christensen                                                        $0.00                       $0.00                      $0.00              -$44,909.86                    $0.00                    $0.00            $1,097,093.98
                                                                  1300-Property & Equipment                                                     $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00                    $0.00
                                                                  1310-Furniture                                                                $0.00                       $0.00                      $0.00                $5,481.83                    $0.00                    $0.00               $97,476.49
                                                                  1320-Computers & Software                                                     $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00               $26,757.47
                                                                  1330-Automobiles                                                              $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00               $93,758.77
                                                                  1340-Buildings & Improvements                                                 $0.00                       $0.00                      $0.00              $962,335.93                    $0.00                    $0.00            $1,291,691.05




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                                                                  1350-Work in Progress                                                         $0.00                       $0.00                      $0.00                    $0.00             $195,460.00                     $0.00            $4,587,771.43
                                                                  1355-Capitalized Interest                                                     $0.00                       $0.00                      $0.00                    $0.00               $77,750.00                    $0.00              $551,805.48
                                                                  1360-Land                                                                     $0.00                       $0.00                      $0.00              $767,560.00            $1,324,354.41                    $0.00            $6,595,151.64
                                                                  1365-Land Development                                                         $0.00                       $0.00                      $0.00                    $0.00               $89,658.00                    $0.00            $1,027,185.14
                                                                  1370-Tenant Improvements                                                      $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00               $54,888.65
                                                                  1380-Intangible Assets - Branding                                             $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00               $37,748.38
                                                                  1381-Intangible Assets - Loan Costs                                           $0.00                       $0.00                      $0.00               $35,727.26                    $0.00                    $0.00               $35,727.26
                                                                  1385-Accumulated Depreciation                                                 $0.00                       $0.00                      $0.00             -$101,642.00                    $0.00                    $0.00             -$326,095.84
                                                                  1390-Organizational Costs                                                     $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00               $50,825.00
                                                                  1391-Start Up Costs                                                           $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00              $287,141.94
                                                                  1395-Accumulated Amortization                                                 $0.00                       $0.00                      $0.00              -$14,521.00                    $0.00                    $0.00              -$73,444.35




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                                                                  1400-Equity Investments                                                       $0.00                       $0.00                      $0.00                    $0.00                    $0.00                    $0.00                  -$49.00




                                                                                                                                                                                                                                                                         Exhibit 1, Page 621
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


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                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




23-01243-WLH11
                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї iCap Rhody Ridge, LLC     iCap Steadman 170th, LLC    iCap Vault I, LLC          Oceanaire, LLC            Senza Kenmore, LLC       Senza Sammamish, LLC Subtotal
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period     Sum of Current Period       Sum of Current Period      Sum of Current Period     Sum of Current Period    Sum of Current Period    Sum of Current Period
                                                                  1500-Investment in Project                                                    $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00          $110,033,497.60
                                                                  1510-Payoff from Project                                                      $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00          -$89,306,660.48
                                                                  1520-Basis Adjustment: Allocated Costs                                        $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00           $74,620,988.27
                                                                  1530-Income/Loss Allocation                                                   $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00          -$42,125,746.92
                                                                  1600-Commissions                                                              $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00           $12,864,146.32




Doc 469
                                                                  1610-Debt Issuance Costs                                                      $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00              $312,025.68
                                                                  1620-Management Fees                                                          $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00            $8,661,446.63
                                                                  1630-Investor Interest                                                        $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00           $51,615,401.40
                                                                  1700-A/A: Commissions                                                         $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00          -$10,967,164.05
                                                                  1710-A/A: Debt Issuance Costs                                                 $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00             -$312,025.68
                                                                  1720-A/A: Management Fees                                                     $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00           -$8,479,347.81
                                                                  1730-A/A: Investor Interest                                                   $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00          -$48,933,414.12
                                                                  1740-A/A: NAV Discount                                                        $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00           -$1,471,109.64
                                                                  1800-Prepaid Expenses                                                         $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00
                                                                  1810-Employee Loan Receivable                                                 $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                 $641.16
                                                                  1820-Security Deposit                                                         $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00               $49,080.01




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                                                                  1840-Escrow Deposit                                                           $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00            $1,800,000.00
                                                                  1900-Note Receivable                                                          $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00
                            Subtotal                                                                                                            $0.00                       $0.00                $671,758.06             -$202,400.78             $1,687,322.42                    $0.00           $83,229,458.73
                            Liabilities                           2000-Accounts Payable                                                         $0.00                       $0.00                -$30,126.00                -$8,888.81                    $0.00                    $0.00           -$1,216,377.86
                                                                  2010-Investor Interest Payable                                                $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00
                                                                  2100-Accrued Expenses                                                         $0.00                       $0.00                 $62,370.00                     $0.00                    $0.00                    $0.00               $54,622.05
                                                                  2300-Loan from Sponsor                                                        $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00              -$12,527.00
                                                                  2350-Escrow Deposit                                                           $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00
                                                                  2450-Profit Sharing Plan Payable                                              $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00
                                                                  2500-Note Payable: Alliant                                                    $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00              -$36,058.91
                                                                  2501-Note Payable: SJ Fox Ridge, LLC                                          $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00              -$23,105.78
                                                                  2502-Note Payable: Bob Walsh                                                  $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00
                                                                  2503-Note Payable: T&L One, LLC                                               $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00             -$226,682.77
                                                                  2504-Note Payable: Grogan/Blair                                               $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00             -$112,844.36
                                                                  2505-Note Payable: Claus Mueller                                              $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00
                                                                  2506-Note Payable: Yi Shan                                                    $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00             -$127,062.90
                                                                  2507-Note Payable: Eric Fu & Ying Wu                                          $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00             -$101,600.00
                                                                  2508-Note Payable: Weifan Peng                                                $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00              -$50,791.67
                                                                  2509-Note Payable: Qing Wu                                                    $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00              -$30,319.35
                                                                  2511-Note Payable: Eastside Fund, LLC                                         $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00




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                                                                  2512-Note Payable: Mike Gould                                                 $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00
                                                                  2513-Note Payable: Gould Trust                                                $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00
                                                                  2515-Note Payable: SPS                                                        $0.00                       $0.00                      $0.00           -$1,127,000.00                     $0.00                    $0.00           -$1,127,000.00
                                                                  2516-Note Payable: Caifeng Yu                                                 $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00              -$20,038.71
                                                                  2520-Note Payable: David Straz Jr.                                            $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00
                                                                  2530-Note Payable: Titan Securities                                           $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00           -$1,976,244.45
                                                                  2550-Note Payable: Loan on Project                                            $0.00                       $0.00                      $0.00                     $0.00             -$450,000.00                    $0.00           -$1,149,500.00
                                                                  2551-Note Payable: Construction Holdback                                      $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00
                                                                  2552-Note Payable: Interest Reserve                                           $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00
                                                                  2553-Construction Holdback Clearing Account                                   $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00
                                                                  2555-Note Payable: Loan on Project                                            $0.00                       $0.00                      $0.00                     $0.00                    $0.00                    $0.00                    $0.00




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                                                                  2600-Debentures Payable                                                       $0.00                       $0.00            -$1,053,340.13                      $0.00                    $0.00                    $0.00         -$114,366,505.17




                                                                                                                                                                                                                                                                          Exhibit 1, Page 622
                            Balance Sheet by Entity by Period
                            As of 2023-12-19 16:03:13 Pacific Standard Time/PST • Generated by Nickisha Haine


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                            Show: All financial cubes
                            Date Field: Created Date equals Custom (null to 12/31/2019)
                            Entity: Accounting Variable Name contains iCap, 725, UW, Senza, VH, Colpitts, Ocean
                            GL Account Type equals Balance Sheet
                            Ledger Type equals Transactional
                            Accounting Period: Accounting Period Name contains




23-01243-WLH11
                                                                                         ŶƚŝƚǇ͗ĐĐŽƵŶƚŝŶŐsĂƌŝĂďůĞEĂŵĞї iCap Rhody Ridge, LLC     iCap Steadman 170th, LLC    iCap Vault I, LLC         Oceanaire, LLC           Senza Kenmore, LLC       Senza Sammamish, LLC Subtotal
                            ^ƵďdǇƉĞϭј                         '>ĐĐŽƵŶƚ͗'>ĐĐŽƵŶƚEĂŵĞј                            Sum of Current Period     Sum of Current Period       Sum of Current Period     Sum of Current Period    Sum of Current Period    Sum of Current Period    Sum of Current Period
                                                                  2610-NAV Discount                                                             $0.00                       $0.00                     $0.00                    $0.00                    $0.00                    $0.00            $1,650,792.96
                                                                  2700-Deferred Investment Deposit                                              $0.00                       $0.00                     $0.00                    $0.00                    $0.00                    $0.00                    $0.00
                            Subtotal                                                                                                            $0.00                       $0.00            -$1,021,096.13           -$1,135,888.81             -$450,000.00                    $0.00         -$118,871,243.92
                            Owners Equity                         3060-Current Year Earnings                                                  $18.64                  $154,356.23                     $0.00            $1,083,404.04                   $18.64                   $18.64            $4,077,270.83
                                                                  3100-Additional Paid in Capital                                               $0.00                       $0.00                     $0.00                    $0.00                    $0.00                    $0.00              -$11,800.00




Doc 469
                                                                  3200-Members Equity                                                           $0.00                       $0.00                     $0.00             -$319,407.09                    $0.00                    $0.00            $2,451,649.46
                                                                  3210-iCap Pacific NW Opportunity & Income Fund, LLC                    -$13,349.10                 -$569,950.59                     $0.00                    $0.00                    $0.00                    $0.00           -$2,043,013.24
                                                                  3220-iCap Northwest Opportunity Fund, LLC                              -$61,547.12                        $0.00                     $0.00                    $0.00           -$1,237,366.05             $149,121.51           -$10,551,758.26
                                                                  3230-iCap EVO, LLC                                                            $0.00                       $0.00                     $0.00                    $0.00                    $0.00                    $0.00             -$776,872.00
                                                                  3240-iCap B2, LLC                                                             $0.00                -$271,204.26                     $0.00                    $0.00                    $0.00                    $0.00             -$271,204.26
                                                                  3250-AUM Sponsor Capital                                                      $0.00                       $0.00                     $0.00                    $0.00                    $0.00                    $0.00           -$1,285,340.00
                                                                  3260-iCap Pacific Income Fund 4R, LLC                                         $0.00                       $0.00                     $0.00                    $0.00                    $0.00                    $0.00           -$1,677,466.53
                                                                  3300-Members Contribution                                                     $0.00                       $0.00                     $0.00                 -$141.06                    $0.00                    $0.00           -$2,418,076.08
                                                                  3400-Members Draw                                                             $0.00                 $686,798.62                     $0.00               $29,800.70                    $0.00                    $0.00            $2,965,729.19
                            Subtotal                                                                                                     -$74,877.58                        $0.00                     $0.00              $793,656.59           -$1,237,347.41             $149,140.15            -$9,540,880.89




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                                                                                                                                                                                                                                                                        Exhibit 1, Page 623
                                                                                         Exhibit 1, Page 624
                           Exhibit 




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2017 Budget
TD Croshaw <td@icapequity.com>
Tue 1/24/2017 1257 PM
To:Chris Christensen <chris@icapequity.com>

    1 attachments (43 KB)
2017 - Management Budget.xlsx;


Looks like we are going to be in a signiﬁcant deﬁcit at the end of February and the ﬁrst of March.
January actuals are on the second tab, January was a bad month for us.
Thank you,

TD Croshaw / Controller, CPA, MBA
3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006
425-278-9030 x127 / icapequity.com


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




     23-01243-WLH11         Doc 469   Filed 02/23/24   Entered 02/23/24 19:45:30 Exhibit
                                                                                   Pg 6251, Page
                                                                                            of 630625
                                                                                         Exhibit 1, Page 626
                           Exhibit 




23-01243-WLH11   Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30   Pg 626 of 630
Budget
TD Croshaw <td@icapequity.com>
Fri 11/10/2017 318 PM
To:Chris Christensen <chris@icapequity.com>

    1 attachments (115 KB)
2017 - Management Budget.xlsx;


Chris,
Here is the updated budget. Please note on the tabs “Nov 17 Actual” and “Dec 17 Actual” are the
estimated budget amounts. As you can see we are signiﬁcantly in the Red for these two months.
                                                                                         months I
have estimated your payroll at $250k per year. This will net you $7,539.53 every two weeks and
have added this to the payroll expense. I have reduced your draw amount to zero in this assumption
since you will be on payroll. Please review and let me know if you have any questions or comments.
We are will not have enough money in the amount of $160k for both months so a total of $320k that
we will need to come up with.
Thank you,

TD Croshaw / Controller, CPA, MBA
3535 Factoria Blvd. SE, Suite 500
Bellevue, WA 98006
425-278-9030 x127 / icapequity.com


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     23-01243-WLH11          Doc 469   Filed 02/23/24   Entered 02/23/24 19:45:30 Exhibit
                                                                                    Pg 6271, Page
                                                                                             of 630627
                                                                                         Exhibit 1, Page 628
                           Exhibit 




23-01243-WLH11   Doc 469    Filed 02/23/24   Entered 02/23/24 19:45:30   Pg 628 of 630
RE: Fund 6 Financial Model
Andy Willett <andy@icapequity.com>
Tue 5/26/2020 918 AM
To:Jim Christensen <jim@icapequity.com>;Mike Olson <mike@icapequity.com>;Jonathan Siegel
<jonathan@icapequity.com>;Chris Christensen <chris@icapequity.com>
All,
I ran a few scenarios to test the model and also see how we could minimize the amount of capital we
needed to raise and still absorb F1 and F2 (I used $60M rather than $65M because of a fat ﬁnger). I
assumed a 3 year fund raise in all cases, and ran the model so that ending proﬁt was between $5M
and $8M. The chart below shows the results.

             % Zero Coupon
                     100%          75%       50%      
                                  $  $
  IRR        17% $ 310      340       380            9.0% Yield
                                  $  $
             16% $ 340      378       419            8.5%
                                  $  $
             15% $ 380      425       470            8.0%

My primary take-away (other than the #’s seem to make sense relative to each other meaning the
model is working) are that not making coupon payments makes a big difference in the amount of
money we need to raise, and that we’d be better off offering a higher yield with a zero coupon than a
lower yield with a coupon.

The other implication is that we’d have to ﬁnd fewer projects. The model predicts we’d need 1,056
projects in the $470M raise scenario vs. 959 in the $310M raise scenario.

The only strange behavior I saw with the model was when I tried running it assuming a 17% IRR,
100% zero coupon and an 8% yield (the best case scenario). I could not get the model to deliver a
solution with anything less than $15M in proﬁtability. This scenario showed a $260M raise and 906
projects.

Regardless of the scenario, the numbers look daunting to me. To give ourselves a shot, we have to
incent/force most, if not all, F1 and F2 investors to roll-over, and we have to incent/force most, if not
all, to not take a monthly payment – either by not offering an option with a coupon, or offering a
signiﬁcantly higher yield.

Andy
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Sent: Friday, May 22, 2020 11:20 AM
To: Mike Olson <mike@icapequity.com>; Andy Willett <andy@icapequity.com>; Jonathan Siegel
<jonathan@icapequity.com>; Chris Christensen <chris@icapequity.com>
Subject: Fund 6 Financial Model


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Hi everyone,
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Attached is the updated spreadsheet.
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Here are the main variables we have to work with:
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   1. New Fundraising $
   2. IRR
   3. Fundraising Period
   4. Interest rate (zero Coupon)

Assumption: $65M rollover investor

Here are some questions we want to answer:
   1. What is the maximum rollover Fund 6 can handle? If yes, then:
         a. Are the assumptions reasonable?
         b. What is the % of rollover to funds raised? Is it reasonable?
          c. Are there other scenarios that make sense that get us close to absorbing all more
             rollover investors?
         d. Etc.
       

Thanks,
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
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